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  Objectives were developed considering the historic and anticipated budget allocations for the
  Forest, as well as professional experience in implementing various resource programs and
  activities. Objectives can exceed or not meet an accomplishment based on numerous factors,
  including budget and staffing increases or decreases, changes in planning efficiencies, and
  unanticipated resource constraints.

  Standards
  The 2012 Planning Rule defines standards as “a mandatory constraint on project and activity
  decision-making, established to help achieve or maintain the desired condition or conditions, to
  avoid or mitigate undesirable effects, or to meet applicable legal requirements” (36 CFR
  219.7(3)(1)(iii)). Standards can be applied forestwide, or specific to a particular management
  area.

  Guidelines
  Guidelines are described in the 2012 Planning Rule as “a constraint on project and activity
  decision-making that allows for departure from its terms, so long as the purpose of the guidelines
  is met. Guidelines are established to help achieve or maintain a desired condition or conditions,
  to avoid or mitigate undesirable effects, or to meet applicable legal requirements” (36 CFR
  219.7(3)(1)(iv)). A guideline can be forestwide or specific to a management area.




  Figure 2. Regenerating aspen in an area burned in the 2013 Papoose Fire




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  Suitability of Lands
  Suitability determinations are required by the 2012 Planning Rule. The rule states, “Specific
  lands within a plan area will be identified as suitable for various multiple uses or activities based
  on the desired conditions applicable to those lands. The plan will also identify lands within the
  plan area as not suitable for uses that are not compatible with desired conditions for those lands.
  The suitability of lands need not be identified for every use and activity. Suitability
  identifications may be made after consideration of historic uses and of issues that have arisen in
  the planning process. Every plan must identify those lands that are not suitable for timber
  production.” (36 CFR 219.7(e)(1)(v))
  The identification of suitability of lands for a particular use in the forest plan indicates that the
  use may be appropriate but does authorize a specific commitment. Uses or activities may not
  occur in areas that are identified as not suitable for that use or activity. Subsequent site-specific
  analysis compliant with the National Environmental Policy Act must be done to prohibit an
  existing use or authorize a new use. Generally, Forest lands are suitable for uses and
  management activities appropriate for national forests, such as outdoor recreation or timber,
  unless identified as not suitable.

  Goals
  Goals can be included as optional plan components. Goals are broad statements of intent, other
  than desired conditions, typically related to process or interaction with the public. Goals are
  expressed in broad general terms, but do not include completion dates. (36 CFR 219.7(e)(2))

  Other Required Plan Content
  The 2012 Planning Rule also requires that plans include “other required content”
  (36 CFR 219.7(f)(1)) addressing the distinctive roles and contributions of the plan area (see
  below), a monitoring program (Chapter 4), priority watersheds (appendix G), and proposed and
  possible actions (appendix I).

  Optional Plan Content
  A plan may include additional content, such as potential management approaches or strategies
  and partnership opportunities or coordination activities 36 CFR 219.7(f)(2). Optional plan
  content can be changed through administrative changes.

  Management Approaches
  Management approaches are optional plan content (FSH 1909.12 22.4) that describes the
  principal strategies and program priorities the responsible official intends to use to carry out
  projects and activities developed under the plan. Management approaches can convey a sense of
  priority and focus among objectives and the likely management emphasis. They relate to desired
  conditions and may indicate the future course or direction of change while recognizing budget
  trends, program demands, and accomplishments.




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  Strategic Planning Framework
  The forest plan was developed based on a strategic framework that includes vision, strategy,
  tactical, monitoring, and adaptive management levels. Each level provides information to help
  resource managers determine how to maintain or appropriately adapt forest plan direction while
  continuing to maintain or move toward desired conditions.
  Forestwide goals present broad statements of intent, or vision, other than desired condition.
  These often look more like vision statements that all other direction tiers to. To incorporate the
  many uses on the Forest and manage the resources in a sustainable manner, three goals have been
  established to convey the intent of plan direction. The goals address sustainable ecosystems,
  watersheds and watershed health, social and economic contributions of the Forest to the
  surrounding communities, and connecting citizens to the land. The goal statements are numbered
  to allow for reference, not to indicate priority.

  Goal 1
  Maintain and restore sustainable, resilient terrestrial ecosystems
  Ecosystems are a barometer of the quality of land management practices. A natural variety of
  species, genetic composition, and ecological processes are key to providing the diversity needed
  for resiliency in the face of environmental disturbances and changes.
  Where appropriate in the next planning horizon, diversifying age classes and structure, seral
  stages, and habitat classes while providing for and maintaining habitat connectivity would
  provide multiple ecosystem benefits. Increased resilience to insect and disease outbreaks,
  responsiveness to warmer, drier weather patterns, and increased ecosystem services are just a few
  of the many benefits provided by sustainable, resilient ecosystems. Ecosystems are managed for
  connectivity across jurisdictional boundaries. Forest management to maintain and restore
  sustainable, resilient terrestrial ecosystems will also provide for connectivity of habitat across the
  landscape. Connectivity of habitats is an important component of ecological integrity and is
  conducive to making ecosystems more sustainable and resilient to natural disturbances and
  stressors. The Forest will continue to collaborate and cooperate with other agencies, units,
  partners, groups, state and local agencies, and individuals.
  Forest ecosystems vary by elevation and range from alpine tundra at the highest elevations to
  pinyon-juniper woodland and sagebrush ecosystems at the lowest elevations. Between the
  extremes are spruce-fir ecosystems, mixed conifer, and a small amount of Rocky Mountain
  Gambel oak.
  These ecosystems provide habitat for many species of mammals, birds, and reptiles. Amphibians
  and fish are found in the various wetland ecosystems that occur across the Forest.
  Commercial and noncommercial forest and wood products are provided to meet the needs of the
  public in a sustainable manner to provide for the needs of future generations.




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  Goal 2
  Protect and restore watershed health, water resources, aquatic ecosystems, and
  the systems that rely on them
  National forests that exist today were initially created under the guidance of the National Forest
  Reserve Act of 1891, which allowed the President of the United States to set aside forest reserves
  from land in the public domain. This Act provided for wise use of the lands that provide
  protection of timber at the headwaters of streams, reduce downstream flooding, and provide a
  summer-long water supply for irrigation in the arid West (Muhn 1992). Protecting and restoring
  watershed health reaffirms the Act that created today’s national forests.
  Water from National Forest System lands, including the Rio Grande National Forest, supports
  outdoor recreation, biological diversity, wildlife species and habitats, agricultural irrigation, and
  flood control. National forests provide clean, abundant water for municipal water supplies, and
  for local and regional aquifer systems.
  Opportunities for collaborative stewardship of watersheds emphasize the interrelated biological,
  economic, and social factors that affect these areas. Healthy and functioning watersheds
  contribute to overall resource health.




  Figure 3. Rio Grande headwaters near Stony Pass

  Goal 3
  Actively contribute to social and economic sustainability in the broader
  landscape and connect citizens to the land
  National Forest System lands contribute forest products and tourism opportunities that are
  important to national and local economies. They provide ecosystem services for current and
  future generations. These lands have been influenced by humans while protecting areas of tribal


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  importance and traditional uses and other areas of religious or cultural importance. Opportunities
  are available for individuals, partners, and organizations to be active participants in managing,
  monitoring, and implementing projects that achieve integrated resource management goals.
  National Forest System lands provide landscapes with scenic diversity that appear natural,
  recreational opportunities, and outdoor experiences that range from primitive to developed, with
  campgrounds and restrooms. Interpretive opportunities increase public knowledge, provide
  historical background, and promote connection of the current people to the past and their land.
  Designated areas, such as wilderness and wild, scenic, and recreational rivers, are maintained to
  protect resource integrity and avoid impacts associated with public use levels.
  Cultural resources, including areas acknowledged as traditional cultural properties and other
  significant areas identified in consultation with tribes and local communities, provide tangible
  links to historically rooted beliefs, customs, and practices. Cultural resources are managed in
  compliance with applicable laws, regulations, and policies. Heritage resource sites are managed
  and interpreted in compliance with all applicable laws and regulations. Historic resources are
  preserved and protected, and when eligible, nominated to the National Register of Historic
  Places.
  The 2012 Planning Rule defined ecosystem services to include provisioning services such as air,
  energy, fiber, minerals, and water; regulating services such as soil stabilization; and cultural
  services that include cultural heritage values and recreational experiences. The Forest strives to
  meet the demand for these services.
  National Forest System lands are used by private industry and other government organizations
  under special use authorization to provide services for the public that live or recreate around or
  on these lands. These uses include power generation and transmission, roads for access to the
  Forest and private inholdings, communication, water storage and transmission, as well as other
  uses.

  Distinctive Roles, and Contributions
  The Rio Grande National Forest is administered by the U.S. Forest Service and is one of 154
  national forests nationwide. The Forest is within the Rocky Mountain Region, which oversees
  national forests and grasslands in Colorado, Kansas, Nebraska, South Dakota, and Wyoming.
  There are 11 national forests and 4 national grasslands in the Rocky Mountain Region.
  The Rio Grande National Forest consists of approximately 1.83 million acres in south-central
  Colorado (Figure 4) and forms the backdrop for the San Luis Valley, one of the largest mountain
  basins in the world. The Forest is named for the Rio Grande, as the river’s headwaters originate
  within the Forest boundary. National Forest System lands provide water for municipal, industrial,
  and agricultural purposes, and the Forest was established in large part for the protection of these
  watersheds.




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  Figure 4. Location of the Rio Grande National Forest in Colorado

  The Forest Service, administered by the U.S. Department of Agriculture, is one of several public
  land management agencies in the area. Local Department of Interior agencies include the Bureau
  of Land Management, National Park Service, and U.S. Fish and Wildlife Service. All of the
  agencies work collaboratively across boundaries.
  State agencies also manage lands and resources in close proximity. Forest staff regularly
  collaborate with Colorado Parks and Wildlife in managing wildlife species and habitat, including
  elk and bighorn sheep. State agencies have the responsibility of enforcing hunting regulations
  and in determining big game population objectives and strategies to meet those objectives.
  Colorado Parks and Wildlife directs herd location and management related to the habitat
  management responsibilities of the Forest. Big game hunting is an important part of Colorado’s
  economy, which the national forests support.




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  The San Juan Mountains form the western boundary of the Forest. Elevation ranges from about
  7,800 feet in the foothills to more than 13,000 feet along the Continental Divide. The eastern
  boundary follows the Sangre de Cristo mountain range, where elevations exceed 14,000 feet.
  The San Luis Valley lies between the two mountain ranges. The valley contains very little
  National Forest System land. Most National Forest System lands are located in the Sangre de
  Cristo and San Juan mountain ranges on either side of the San Luis Valley.
  The range of ecosystems that occurs on the Forest is generally determined by elevation. At the
  highest elevations is alpine tundra, which transitions into spruce-fir forests, which is generally
  inhabited by Engelmann spruce and subalpine fir mixed with aspen. Vegetation in these
  ecosystems has been substantially altered by the recent spruce bark beetle infestation.
  Below the spruce-fir ecosystem are the mixed-conifer ecosystems, which occur in the transition
  zone between the higher elevation spruce-fir and the lower elevation pinyon-juniper. These
  ecosystems range from wet to drier ecosystem sites. They include a mix of conifer species, such
  as ponderosa pine, Douglas fir, white fir, Colorado blue spruce, and smaller amounts of aspen.
  Depending on site conditions, limber pine, bristlecone pine, and some pinyon pine or juniper can
  also be present.
  At lower elevations is the pinyon-juniper woodland ecosystem, which includes pinyon pine,
  Rocky Mountain juniper, and Utah juniper. These woodlands generally occur on warm, dry sites



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  on mountain slopes, mesas, plateaus, and ridges. Understory species include sparse perennial
  grasses, annual and perennial forbs, and sparse shrubs.
  Small amounts of Rocky Mountain Gambel oak shrubland ecosystems are present at the north
  end of the San Luis Valley near Poncha Pass. The Southern Rocky Mountain montane-subalpine
  grassland ecosystem includes Arizona fescue, Thurber fescue, and several other grasses, forbs,
  and sedges.
  The Forest occupies the headwaters of the Rio Grande, which flows nearly 2,000 miles from the
  Continental Divide in southwestern Colorado to the Gulf of Mexico. All public water supplies in
  the San Luis Valley use water that either wholly or partially originates on Forest lands.
  The Rocky Mountain riparian ecosystem includes numerous riparian types in the upper montane
  and subalpine zones. These systems are highly varied and generally consist of cottonwoods,
  willows, sedges, and other herbaceous vegetation, aspen, and conifers such as blue spruce,
  Engelmann spruce, and subalpine fir.
  The Forest provides habitat for many species of mammals, birds, reptiles, amphibians, and fish.
  Eight species are federally recognized as threatened or endangered animal species, including
  black-footed ferret, Canada lynx, Gunnison sage grouse, Mexican spotted owl, New Mexico
  meadow jumping mouse, southwestern willow flycatcher, Uncompahgre fritillary butterfly, and
  yellow-billed cuckoo.
  The Forest represents a large part of the core use area for Canada lynx within Colorado. Canada
  lynx were reintroduced into the state from 1999 to 2006. The vast majority of Canada lynx in
  Colorado remain and reproduce in the high-elevation spruce-fir zone in the southwestern part of
  the state.
  The various ecosystems provide clean air and water, recreation opportunities, and wood products
  for Forest visitors.
  Counties containing National Forest System lands include Alamosa, Archuleta, Conejos,
  Hinsdale, Mineral, Rio Grande, Saguache, and San Juan. Many counties are characterized by low
  population densities, high unemployment, and low per capita income.
  Colorado communities within these eight counties as well as Chaffee, Costilla, Fremont,
  Gunnison, Huerfano, La Plata, Montrose, and Park Counties, and New Mexico communities in
  Rio Arriba and Taos Counties, have strong socioeconomic ties to the Forest. Residents from local
  and surrounding communities rely on the Forest for gathering forest products such as firewood,
  and for recreational activities including hiking, camping, hunting, and more.
  Outdoor adventure in southwestern Colorado has a reputation for diversity and excellence. The
  Forest has diverse recreational opportunities from nonmotorized activities such as backpacking,
  hiking, fishing, snowshoeing, and skiing to motorized activities such as dirt biking, four-
  wheeling, and snowmobiling. Forest lands include a variety of developed recreation sites, many
  areas for dispersed recreation, recreation rentals, seven of the state’s 14,000-foot mountain peaks
  (fourteeners), and several other unit recreation areas.
  Because of the proximity to open spaces, natural settings, and easy access to year-round
  opportunities, communities surrounding the Forest have become increasingly attractive to new
  residents. Population projections indicate that this area of Colorado will continue to grow,
  increasing demands on Forest resources.


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  The jagged peaks of the Sangre de Cristo and San Juan Mountains surround the San Luis Valley.
  Whether viewing mountain scenery from roads or finding challenge on trails or rushing rivers,
  visitors discover solitude and self-reliance through uncrowded year-round recreation
  opportunities. The Forest’s recreation niche addresses solitude in every season. As recreation
  pressures increase in other parts of Colorado, the public lands surrounding the San Luis Valley
  maintain their remote spirit and traditional culture.
  More than 1,350 miles of trails traverse the Forest including the Colorado Trail, West Lost Trail,
  and the congressionally designated Continental Divide National Scenic Trail and Old Spanish
  National Historic Trail. An estimated 170 miles of the Continental Divide National Scenic Trail
  traverse the Forest, starting at the Forest boundary with the Gunnison National Forest and
  stretching to the New Mexico state line. Sections of the Old Spanish National Historic Trail,
  designated in 2002, follow trade routes used to transport supplies and slaves from Santa Fe to the
  California territory in the 1820s. The West Lost Trail on the Divide Ranger District is a
  designated national recreation trail.
  Colorado has the sixth-highest amount of National Forest System lands nationwide, with about
  14,471,800 acres of national forest and grasslands that provide places for recreation activities for
  residents and visitors. The Forest makes up 13 percent of National Forest System lands in the
  State of Colorado. For Colorado and most of the Rocky Mountains, tourism is a main source of
  income. The beautiful scenery provided by the Forest directly ties to local economic benefits.
  The Silver Thread and Los Caminos Antiguos Scenic Byways traverse the Forest along with a
  well-developed system of roads and trails. Many outfitter and guide services provide visitor
  opportunities to experience the Forest.
  The Rio Grande National Forest offers unique scenic experiences. Southwestern flora combine
  with the spectacular scenery of the central Rocky Mountains. To the east, the open floor of the
  San Luis Valley is surrounded by the rugged mountain peaks of the Sangre de Cristo range. To
  the north, high mountain peaks give way to gentler rolling hills covered in lodgepole pine that
  extend to the valley bottom. Looking west, the scattered mountain peaks are mixed with rolling
  hills, canyons, and open meadows. To the south, the valley is fairly flat, with several dominant,
  rounded mountains rising above the horizon.
  These characteristics offer visitors some of Colorado’s most beautiful scenery. The Sangre de
  Cristo range is home to several of Colorado’s 14,000-foot peaks, including Crestone Peak,
  Crestone Needles, Kit Carson, and Blanca Peak. The National Park Service manages Great Sand
  Dunes National Park and Preserve, which borders the Forest in the Sangre de Cristo range. The
  park is home to the tallest sand dunes in North America.
  Rio Grande Pyramid, North Clear Creek Falls, Bristol Head Mountain, the headwaters of the Rio
  Grande, and the La Garita, South San Juan, and Weminuche Wilderness areas are all in the
  western part of the Forest. Parks and open meadows contain a variety of plant and animal life
  and are home to a wide range of wildflowers.
  Historic scenic areas include the Bachelor Loop, near Creede, Colorado; the Bonanza Loop, near
  Villa Grove, Colorado; and the Cumbres and Toltec Scenic Railroad, near Antonito, Colorado.
  These areas provide a glimpse into the past and allow visitors to connect with local history.




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  Relationship to Other Guidance
  Management of National Forest System lands is directed from several levels. National and
  regional direction includes laws, executive orders, regulations, and Forest Service policies.
  Forest plans provide direction for managing resources at a project or site-specific level. The
  Forest contributes to national strategic guidance in the context of its unique combination of
  social, economic, and ecological conditions. This plan helps define the role of the Forest in
  advancing the agency’s national strategy and reflects the national goals. The plan is reflective of
  the mission of the Forest Service, which is “to sustain the health, diversity, and productivity of
  the Nation’s forests and grasslands to meet the needs of present and future generations.” The plan
  also considers direction from other applicable tribal, federal, state, and county plans and strives
  to incorporate these organizational goals through an “all lands” integrated approach that
  considers the broader landscape in which the plan operates.
  The goals and objectives outlined in the Forest Service’s 2015-2020 Strategic Plan were taken
  into account during revision of the forest plan. The additional laws, policies, regulations, and
  agency direction tiered to by this plan are listed in appendix H.
  Consultation with adjacent federal, state, and county land managers occurred during
  development of the plan, and collaborative efforts will continue as the plan is implemented.

  Rights and Interests
  The forest plan provides a strategic framework that guides future management decisions and
  actions. As such, forest plans do not create, authorize, or execute any ground-disturbing activity.
  The forest plan will not subject anyone to civil or criminal liability and will not create legal
  rights. Forest plans do not change existing permits or authorized uses. To change existing uses,
  for example, a subsequent decision would be needed.




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  Chapter 2. Forestwide Direction
  This chapter contains management direction that applies forestwide unless more restrictive
  direction is specified in Chapter 3. Forestwide direction include desired conditions, objectives,
  standards, guidelines, and land suitability determinations. Laws, regulations, policies, executive
  orders, and Forest Service directives (in Forest Service manuals and handbooks) are generally
  not contained in forest plan components.
  This chapter is organized with associated resource direction listed in alphabetical order under the
  most applicable goal. Most resource areas could be placed under multiple goals. Because the
  need for plan components and direction varies by resource, not every resource includes every
  plan component. Some resource sections may have only guidelines, while others have the full
  complement of desired conditions, objectives, standards, and guidelines.

  Goal 1
  Maintain and restore sustainable, resilient terrestrial ecosystems

  Aquatic and Terrestrial Nonnative Invasive Species and Noxious Weeds (NNIS)
  Nonnative invasive species and noxious weeds include plant and animal species that disrupt
  ecosystem integrity and displace habitat for native plants and animals. Integrated pest
  management approaches are applied when treating invasive plant species. These include
  effective prevention and education programs that combine mechanical, biological, cultural, and
  chemical methods of control.
  Nonnative invasive species and noxious weeds for both aquatic and terrestrial ecosystems are
  treated under the same program at the Forest level. The direction is combined and contained
  here; however, it is also applicable to water resources identified in Goal 2.

  Management Approaches
  Principal strategies and program priorities to reduce or control existing and new aquatic and
  terrestrial invasive species
  The risk of introducing and spreading nonnative plant and animal species and noxious weeds is
  minimized for all activities, as appropriate. The spread of nonnative invasive species and noxious
  weeds is mitigated in places where these species are already present. Special designated areas,
  including roadless and wilderness areas, will generally be prioritized for treatment.
  Information from partners, including the Colorado Department of Agriculture, is incorporated
  into the Invasive Species Action Plan, which identifies priority species, inventory and
  monitoring, and tools and techniques to address nonnative invasive species.
  Continued coordination and cooperation with Colorado Parks and Wildlife helps reduce the
  potential to introduce, and to control the spread of, aquatic invasive species. Effective prevention
  and control methods for aquatic nuisance species are shared with fishermen, rafters, and other
  water recreational users.
  Project implementation minimizes the extent of areas affected by existing populations and
  reduces the chance of introducing new species. Timely and effective revegetation of disturbed
  sites provides protection of soil and water resources that cannot be restored naturally.

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  All biological, cultural, and chemical tools are available to reduce or control nonnative invasive
  species and noxious weeds. Technological advances are incorporated into management practices
  when shown to be equivalent to, or more effective than, existing treatments.

  Desired Conditions
  DC-NNIS-1: Populations of aquatic and terrestrial nonnative invasive species do not occur or
  are low in abundance. Those that do occur do not disrupt ecosystem function. (Forestwide)
  DC-NNIS-2: Native ecosystems are resilient to invasion by nonnative invasive species.
  (Forestwide)

  Objectives
  OBJ-NNIS-1: Reduce terrestrial or aquatic nonnative invasive species on 5,000 acres over the
  next 15 years. (Forestwide)

  Fire Management (FIRE)
  This section provides guidance on the management of both wildfires and prescribed fires, as well
  as fuels treatment activities to meet various desired conditions and resource objectives. This
  guidance carries forward into the Forest spatial fire management plan that provides the strategic
  objectives and management requirements for managing wildfires. The spatial fire plan resides in
  the Wildland Fire Decision Support System, but as technology advances this may change over
  time.
  Wildland fire management is balanced between wildfire suppression and use of wildland fire,
  including both prescribed and natural ignitions, to regulate hazardous fuels and move or maintain
  forest ecosystems toward desired conditions. Wildland fire management assists in achieving
  ecosystem sustainability including the interrelated ecological, economic, and social components.

  Management Approaches
  Principal strategies and program priorities for wildfire, prescribedfire, andfuels management
  Fire suppression actions are taken to mitigate effects of wildfire to public safety, communities,
  and unique resource values, while allowing unplanned ignitions to play a natural role in fire­
  dependent ecosystems.
  Wildfire is recognized as a tool to accomplish multiple objectives. Wildfires caused by natural
  ignitions are managed for multiple resource objectives, including resource benefit when
  conditions are favorable.
  The use of appropriate and authorized hazardous fuels reduction tools, including but not limited
  to grazing, mechanical treatments, prescribed fire, or naturally ignited wildfires, to meet
  ecosystem needs and reduce vegetation build-up is intended to lower the risk to communities and
  other values from damage or loss from wildfire.
  Prescribed fire is an appropriate tool to dispose of slash and return nutrients and woody debris to
  soils while reducing hazardous fuels. This can be integrated into wildlife habitat and forage
  improvement, and seedbed preparation for natural regeneration.




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  Fire Management Zones
  Two strategic fire management zones were developed that closely correspond to management
  area boundaries. Additional direction may be needed depending on the site-specific conditions.
  Assigning strategic fire management zones supports decision-making prior to ignition by pre­
  assessing areas for wildland fire risks and benefits, for both prescribed fire and wildfire. Fire
  management zones include:
  •   Wildland fire management zone: resource restoration (WFMZ-R) and
  •   Wildland fire management zone: resource protection and benefit (WFMZ-PB).

  Wildland Fire Management Zone: Resource Restoration (WFMZ-R)
  This zone applies to Designated Wilderness, Recommended Wilderness, and Roadless
  Management Areas (MAs 1, 1.1, and 3). These areas represent a lower risk to resource values
  from wildfire. Conditions allow natural resources to benefit from wildland fire. Management of
  wildfire to meet resource objectives in this zone is the least constrained. Ecological restoration is
  accomplished by managing wildland fire under a wide range of weather, fuel moisture, and other
  environmental conditions that allow fire to play a natural role in the ecosystem. The use of
  prescribed fire to meet specific resource objectives is appropriate in this zone. All naturally
  occurring wildfires in these areas are managed primarily to restore and maintain the natural role
  of fire in the ecosystem with a minimal emphasis on suppression. However, if a wildfire ignites
  in an area of this zone where a community or infrastructure value is threatened, suppression
  action will be taken to mitigate the effects. Human-caused wildfires are managed using a full
  suppression strategy commensurate with the values at risk.

  Wildland Fire Management Zone: Resource Protection and Benefit (WFMZ-PB)
  This zone applies to all other areas of the Forest, including the General Forest and Rangeland
  and all Special Designation Management Areas (MAs 5, 4.1, 4.2, 4.21, 4.34, and 4.8). Current
  conditions may put some natural resource values at varying degrees of risk of damage from
  wildfire. Mechanical treatments and prescribed burning may be used to protect natural resource
  values before using wildfire under a wider range of weather, fuel moisture, and other
  environmental conditions. Wildfires that burn in this zone may benefit natural resources under
  certain conditions. All lightning-caused wildfires in these areas will be assessed on an individual
  basis for the most appropriate response based on values at risk and potential benefits to natural
  resources from wildfire. All human-caused unplanned wildfires are managed using a full
  suppression strategy commensurate with the values at risk.




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  Figure 6. West Fork Fire, June 2013

  Desired Conditions
  DC-FIRE-1: Wildland fire and fuels reduction treatments are used to create vegetation
  conditions that reduce threats to real property and infrastructure from wildfire. Fuel loads on
  lands adjacent to developed areas and communities are reduced. Lands adjacent to private
  property and infrastructure have defensible space and dispersed patterns of fuel conditions that
  would favorably modify wildfire behavior and reduce the rate of spread in and around
  communities at risk. (Forestwide)
  DC-FIRE-2: Natural ignitions play a natural role in ecosystem dynamics when and where there
  is no threat to human life or property. (Forestwide)

  Objectives
  Refer to Vegetation Management section.

  Standards
  S-FIRE-1: Unplanned human-caused ignitions will not be managed for resource benefit.
  (Forestwide)
  S-FIRE-2: Fire control lines will be rehabilitated to prevent use as trails and/or roads.
  (Forestwide)



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  Insects and Disease (INDS)
  Insects and disease can cause major disturbances to the ecological processes that shape the
  condition of forests. Insects and diseases play an important role in the natural cycles of forest
  growth and decline. Without the influence of change agents such as fire, insects, and disease, the
  forest would stagnate and eventually become homogeneous, with a resultant negative impact on
  biodiversity and resilience to disturbance. These change agents are an integral part of forest
  ecosystem processes, but still pose a challenge to forest management. The scale of the recent
  bark beetle outbreak has created significant management challenges that are addressed
  throughout this forest plan.
  Many plan components, including standards and guidelines associated with insects and disease
  management, are contained in other sections of this forest plan, including but not limited to
  Vegetation, Pollinators, and Wildlife, along with specific direction for management areas:
  Wilderness, Research Natural Areas, Colorado Roadless Areas, Dispersed and Developed
  Recreation, and Ski-based Resorts.

  Management Approaches
  Principal strategies and program priorities to address insects and disease that are not covered in
  other areas of the forest plan
  Vegetation in high-use recreation areas is managed to ensure public safety and improve forest
  health in alignment with the desired recreational setting.
  Integrated pest management techniques are employed to meet resource objectives. Treatment
  activities consider the values present and risks to adjacent lands, both public and private. Priority
  is given to areas where value to be protected exceeds the costs of protection. An example is
  recreation sites or areas of concentrated public use that are adjacent to subdivisions.
  Project activities are designed to minimize the risk of spreading existing infestations, while still
  providing habitat conditions for wildlife and plant species dependent on the presence of insects
  and disease.

  Range Management (RNG)
  Rangelands are all lands producing, or capable of producing, native forage for grazing and
  browsing animals, and lands that have been revegetated naturally or artificially to provide a
  forage cover that is managed like native vegetation. They include all grasslands, forb lands, and
  shrublands, and those forested lands that can, continually or periodically, naturally or through
  management, support an understory of herbaceous or shrubby vegetation that is forage for
  grazing or browsing animals. Rangelands on the Forest are naturally fragmented because of
  highly dissected mountain slopes and changes in vegetation as elevation changes.
  A forest plan identifies areas capable and suitable for livestock, and assigns standards and
  guidelines specific to range management for those areas.
  Rangeland capability is the potential of an area of land to produce resources, supply goods and
  services, and allow resource uses under an assumed set of management practices and at a given
  level of management intensity. Capability depends upon current resource condition and site
  conditions such as climate, slope, landform, soils and geology, as well as the application of
  management practices such as silviculture or protection from fire, insects, and disease.


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  Capability is the initial step in the determination of suitability. It is portrayed as a separate step
  for both reasons of clarity and because the actual product of “capability” often has utility in
  planning beyond its role in the determination of suitability.
  Rangeland suitability is a determination of the appropriateness of grazing on capable lands based
  on economic and environmental consequences and consideration of the alternative uses forgone
  if grazing is allowed.
  The 2002 amendment to the 1996 forest plan serves as this basis and projects a capacity for
  livestock grazing at 143,000 head months, including cattle and sheep. An estimated 581,556
  acres of land are considered capable and suitable for domestic livestock grazing on the Forest.
  Livestock-based agriculture is historically and culturally important in the San Luis Valley and
  southwestern Colorado. Agriculture, particularly farming and ranching, continues to be an
  important industry. Domestic livestock grazing contributes to the stability of the surrounding
  ranching community and its values are recognized as a part of the heritage, for contributions to
  food and fiber, and for maintenance of open space. While the range allotments on the Forest are
  not the exclusive source of feed for the permitted stock, they provide important high-elevation
  forage during the summer months. This forage supplements private and leased pasture, and
  allows the permittees to maintain current livestock numbers.

  Management Approaches
  Principal strategies and program priorities to address continued and sustained range
  management
  When allowable-use criteria, allotment management plan guidance, or annual operating
  instructions have been exceeded, all other solutions are extensively considered before removing
  livestock from the grazing unit or allotment. Damage from allowable use can result from many
  other factors including but not limited to flooding, recreation, and wildlife. None of these other
  factors should push use beyond what is allowed.
  Rangelands are managed to provide a wide variety of benefits, including forage for livestock and
  wildlife, a diversity of plant and animal communities, and high-quality water.
  Grazing administration will discourage livestock use in openings created by fire or timber
  harvest that would delay successful regeneration of the shrubs and trees, and in sensitive riparian,
  wetland, and spring ecosystems.
  Allotments may be vacated but are generally not closed except in extreme circumstances and
  conditions.
  Work is coordinated with cooperators, partners, and permittees to prioritize and restore upland
  ecosystems and rebuild important structural improvements.

  Desired Conditions
  DC-RNG-1: Domestic livestock grazing is managed to promote landscape diversity
  (composition, structure, and function) with both a spatial context (what species, what kind of
  structure, and what landscape patterns are natural for each ecosystem) and a diversity context
  (which seral stages and how many are natural for each ecosystem). (Forestwide)



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  DC-RNG-2: Forage, browse, and cover needs for wildlife and authorized livestock are in
  balance with available forage. (Forestwide)
  DC-RNG-3: Temporary forage is available for grazing within existing, permitted allotments in
  coordination with other resource needs, e.g., reforestation. (Forestwide)
  DC-RNG-4: Range improvements support ecologically sustainable grazing and benefits for
  wildlife when opportunities exist. New and replacement improvements are designed to benefit
  aquatic and terrestrial species. (Forestwide)

  Objectives
  OBJ-RNG-1: Restore 150 acres of upland ecosystems over the next 15 years. Restoration
  objectives will vary based on the ecosystem and condition of the areas. (Forestwide)

  Guidelines
  G-RNG-1: Develop site- and species-specific vegetation use and residue guidelines during
  rangeland planning, and document them in allotment management plans. In the absence of
  updated planning or an approved allotment management plan, the utilization and residue
  guidelines in Table 1 and Table 2 will apply. (Forestwide)

  Table 1. Utilization guidelines for rangeland condition
                               Satisfactory          Unsatisfactory
    Type of Management
                                (percent)              (percent)
   Season-long                      35                     20
   Fall and winter                  55                     35
   Deferred rotation                45                     25
   Rest rotation                    50                     35


  Table 2. Clary and Webster residue allowances for rangeland
                                Satisfactory          Unsatisfactory
   Season of Pasture Use
                                  (inches)              (inches)
   Spring                            3                      4
   Summer and fall                   4                      6


  G-RNG-2: Authorized grazing should not occur on an individual unit for the entire vegetative-
  growth period. This would be acceptable when the grazing system involves complete rest for that
  unit for two or more years after a full growing season treatment. (Forestwide)
  G-RNG-3: Authorized grazing in riparian management zones and groundwater-dependent
  ecosystems should be in compliance with residual stubble heights identified in Forest Service
  Technical Report INT-263, Managing Grazing ofRiparian Areas in the Intermountain Region
  (Clary and Webster 1989). (Forestwide)
  G-RNG-4: Authorized grazing in aspen stands should ensure sprouting and sprout survival to
  perpetuate the long-term persistence of the clones, unless elimination of the clone is planned.
  (Forestwide)


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  Land Suitability
  SUIT-RNG-l: Grazing in national forest wilderness areas is authorized by the Congressional
  Grazing Guidelines (108, P.L. 96-560, H.R. Report 96-617 dated 11/14/79). Grazing
  authorizations would be included as part of any legislation on Management Area 1.1a,
  Recommended Wilderness. Portions of the acres of recommended wilderness are included in
  grazing allotments.

  Soils (SOIL)
  Soils are a foundational and integral part of ecosystems and the services they provide. Soils
  provide ecosystem goods and services such as clean drinking water and forest products such as
  timber and firewood, and provide areas for cattle grazing and recreational opportunities. Healthy,
  sustainable soils will continue to provide these important ecosystem goods and services into the
  future. Effects of changes in temperature, and frequency and timing of weather events, can be
  mitigated in the short term if healthy soils are present. Soils have generally improved over time.
  Areas with needs for improvement still exist, but soils are mostly in acceptable or good condition
  in areas of high use and in excellent condition in designated roadless and wilderness areas.

  Management Approaches
  Principal strategies and program priorities to protect soil resources
  Forest programs use genetically appropriate, weed-free seed mixes for revegetation to avoid
  potential for increasing nonnative invasive species or noxious weeds. Nonnative annuals or
  sterile perennial species can also be used while native perennials become established.
  Forest programs identify and mitigate impacts to soil types that support edaphic plant species of
  conservation concern during project implementation. These soils include volcanic substrates such
  as ash-tuffs, latitic lava flows, rhyolite, and andesitic substrates. Sedimentary substrates
  supportive of edaphic species include calcareous substrates such as limestone and shale.
  Soil resources are best protected with site-specific, project-level design and analysis.

  Desired Conditions
  DC-SOIL-1: Occasional, intermittent, small-scale soil disturbance occurs, allowing propagation
  of plant species including some species of conservation concern. (Forestwide)

  Standards
  S-SOIL-1: Manage land treatments to limit severely burned, compacted, eroded, and displaced
  soil to no more than 15 percent of an activity area, as described in the Watershed Condition
  Handbook (2509.25, Region 2 Supplement). (Forestwide)

  Guidelines
  G-SOIL-1: Maintain soil and slope stability where ground-disturbing activities on soils with
  high erosion rates or mass movement potential are authorized. Where practical, do not authorize
  activities on soils with high mass movement potential. (Forestwide)




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  Species of Conservation Concern (SCC)
  Species of conservation concern (appendix D) are animals or plants known to occur in the
  planning area that the regional forester has determined that the best available scientific
  information indicates a substantial concern regarding the species’ ability to persist over the
  long-term (36 CFR 219.9). Many of the plan components that contribute to the maintenance or
  restoration of ecological conditions to contribute to maintaining a viable population of the
  species of conservation concern are also addressed in other sections including, but not limited to,
  Riparian Management Zones, Range Management, Native Animals and Plants, and Species o_f
  Conservation Concern. The full list of species of conservation concern, species considered but
  not carried forward, and necessary ecological conditions for the species are contained in
  appendix D.

  Management Approaches
  Principal strategies and program priorities assist in conservation of species of conservation
  concern
  Forest programs mitigate impacts to insect species that are listed as species of conservation
  concern and their habitat, or that are necessary to those species as pollinators or as food, from
  applications of insecticide or other pesticides. To inform project-level planning on avoiding
  impacts to these species, the range and distribution of at-risk insect species (threatened,
  endangered, proposed, or candidate species and species of conservation concern) are assessed.
  Forest programs mitigate impacts to plant species that are listed as species of conservation
  concern and their habitat, or that are necessary for those species as food (including grazing,
  forage, and nectar for pollinators) or cover, from herbicide or other pesticides.
  Forest programs mitigate impacts to fish and aquatic species that are listed as species of
  conservation concern and their habitat, or that are necessary for those species to maintain aquatic
  organism passage and minimize fragmentation of habitat, except when needed to protect
  populations from undesired nonnative fish.
  Forest programs provide education and awareness information regarding potential disease
  transmission between recreational pack goats and bighorn sheep at entry points to areas of
  known bighorn sheep use. Documented areas of overlapping pack goat and bighorn sheep are
  monitored over time.
  Education and outreach materials about boreal toads provide information regarding chytrid
  fungus. Where the fungus has been detected, the Forest will determine the need to implement
  decontamination procedures to protect boreal toads and other amphibians.

  Desired Conditions
  DC-SCC-1: Structure, composition, and function of sagebrush ecosystems meet the needs of
  associated species, including species of conservation concern. (Forestwide)
  DC-SCC-2: Structure, composition, and function of coniferous forests, including late seral
  forests, meet the needs of associated species, including species of conservation concern.
  (Forestwide)




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  DC-SCC-3: Structure, composition, and function of riparian areas, including streams, willow
  thickets, and cottonwood galleries, meet the needs of associated species, including species of
  conservation concern. (Forestwide)
  DC-SCC-4: Structure, composition, and function of aspen-dominated forests meet the needs of
  associated species, including species of conservation concern. (Forestwide)
  DC-SCC-5: Structure, composition, and function of alpine ecosystems, including cushion plant
  communities, snow willow, alpine fell fields, and talus slopes, meet the needs of associated
  species, including species of conservation concern. (Forestwide)
  DC-SCC-6: Snags and decaying wood processes meet the needs of associated species, including
  species of conservation concern. (Forestwide)
  DC-SCC-7: Structure, composition, and function of montane grasslands meet the needs of
  associated species, including species of conservation concern. (Forestwide)
  DC-SCC-8: Improve or maintain habitat for bighorn sheep. (Forestwide)
  DC-SCC-9: Maintain effective separation to reduce the likelihood of interaction and risk of
  disease transmission between domestic sheep and bighorn sheep on active grazing allotments.
  (Forestwide)

  Standards
  S-SCC-1: Maintain effective separation of domestic sheep and bighorn sheep on active grazing
  allotments to reduce the likelihood and risk of disease transmission. Effective separation is
  defined as spatial or temporal separation between bighorn sheep and domestic sheep, resulting in
  minimal risk of contact and subsequent transmission of respiratory pathogens between animal
  groups. (Forestwide)
  S-SCC-2: Do not authorize projects that will result in displacement of bighorn sheep during their
  reproductive period (generally April 15 to July 1). (Forestwide)
  S-SCC-3: Prohibit the use of recreational pack goats in the Sangre de Cristo Wilderness Area to
  eliminate potential interactions between pack goats and bighorn sheep. (Forestwide)
  S-SCC-4: Maintain effective separation between domestic goats used for vegetation
  management and bighorn sheep to reduce the likelihood of contact between animal groups.
  (Forestwide)




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  Figure 7. Ptarmigan reside in the high mountains, generally above timber line

  Guidelines
  G-SCC-1: To maintain or restore ecological conditions to contribute to maintaining a viable
  population of insects and plant species of conservation concern, minimize negative impacts to
  pollinators when applying pesticides. (Forestwide)
  G-SCC-2: To maintain or restore ecological conditions to contribute to maintaining a viable
  population of species of conservation concern, roads and other permanent ground-disturbing
  structures and other authorized activities should not degrade vegetation within 100 feet of where
  plants listed as species of conservation concern are known to occur, or within occupied habitat
  for the plains pocket mouse. Typical habitat includes barren or rocky areas but is not limited to
  alpine fell fields, alpine cushion plant communities, talus slopes at any elevation, rock fields,
  boulder gardens, cliff faces, recently disturbed soils, exposed shale, gypsum, volcanic, or adobe
  soils, and other sparsely vegetated areas within other ecosystems. (Forestwide)
  G-SCC-3: To maintain or restore ecological conditions to contribute to maintaining a viable
  population of species of conservation concern, reduce habitat fragmentation, and maintain
  structural conditions of sagebrush ecosystems through design of management activities, patch
  sizes should not be less than 5 acres. (Forestwide)
  G-SCC-4: To maintain or restore ecological conditions to contribute to maintaining a viable
  population of alpine-related species of conservation concern, avoid road construction and other
  permanent ground-disturbing activities within 100 feet of alpine fell and talus rock fields, and
  alpine bogs. (Forestwide)



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  G-SCC-5: To maintain or restore ecological conditions to contribute to maintaining a viable
  population for bat species of conservation concern, retain adequate access for bats and reduce
  disturbance to resident populations when considering mine or cave closures. (Forestwide).
  G-SCC-6: To maintain or restore ecological conditions to contribute to maintaining a viable
  population of northern pocket gophers, management activities in wetlands and riparian corridors
  should not cause a long-term decrease in the availability of forbs within 100 feet of occupied
  habitat. (Forestwide)

  Threatened, Endangered, Proposed, and Candidate Species (TEPC)
  Plan direction is designed to protect and recover animal and plant species that are listed as
  threatened or endangered under the Endangered Species Act, or those species that have been
  proposed or are candidates for listing. Threatened, endangered, proposed, and candidate species
  can occur anywhere on the Forest. These species can be influenced by direction that occurs
  throughout the forest plan, including but not limited to direction for wildlife, range management,
  and vegetation management.
  Eight of approximately 300 total species that are potentially affected by plan activities on the
  Forest are federally recognized as threatened or endangered species. These include black-footed
  ferret (endangered), Canada lynx (threatened), Gunnison sage grouse (threatened), Mexican
  spotted owl (threatened), New Mexico meadow jumping mouse (endangered), southwestern
  willow flycatcher (endangered), Uncompahgre fritillary butterfly (endangered), and yellow­
  billed cuckoo (threatened). None of these species currently have listed or proposed critical
  habitat on the Forest.
  Of the eight listed species, the Uncompahgre fritillary butterfly, Canada lynx, Gunnison sage
  grouse, and southwestern willow flycatcher are known to occur in the planning unit.

  Canada Lynx
  The 2008 Southern Rockies Lynx Amendment Record of Decision amended eight forest plans,
  including the Rio Grande’s forest plan. The direction prescribed in the 2008 Southern Rockies
  Lynx Amendment (appendix E) is incorporated, as modified below, into the current direction and
  would apply forestwide. Additional direction and modifications of the 2008 direction is needed
  to sufficiently address the continued recovery of Canada lynx due to the current habitat
  conditions associated with the spruce beetle outbreak in the spruce-fir ecosystem. This direction
  amends and modifies management direction related to salvage in the Southern Rockies Lynx
  Amendment, specifically VEG S1 and VEG S2.
  Even with higher levels of mortality due to spruce beetle infestation, high-quality lynx and
  snowshoe hare habitat persists, and vegetation management activities have the potential to
  benefit and adversely affect lynx and snowshoe hare habitat and populations (ILBT 2013, p. 71).
  Most vegetation management activities reduce canopy cover and horizontal cover in the
  understory, which could reduce snowshoe hare densities and habitat values for Canada lynx.
  The direction below is intended to encourage vegetation management in areas where habitat
  quality for lynx and snowshoe hare can be improved while retaining existing high-quality
  habitat. The overall goal is to maintain areas that support high densities of snowshoe hare while
  promoting vegetation management that restores habitat and landscape connectivity for lynx
  movement.

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  The Southern Rockies Lynx Amendment direction was developed prior to the 2012 Planning
  Rule. Standard VEG S7 is formatted to be consistent with the forest plan and similar to the
  Southern Rockies Lynx direction. The direction in the Southern Rockies Lynx Amendment is
  formatted differently than direction contained in this forest plan. Superscript numbers in the text
  refer to definitions contained in the Southern Rockies Lynx Amendment in appendix E.
  Standard VEG S7 (below) applies to salvage harvest activities conducted in conifer forests that
  have lynx habitat attributes, but no longer meet the definition for standard VEG S6 due to tree
  mortality and associated forest structural changes. These stands still provide high-quality lynx
  habitat and are characterized by dense horizontal cover, and include forest structure that provides
  cover and food for snowshoe hares, and foraging habitat, traveling, and hiding cover for Canada
  lynx. According to a recent study completed on the Forest (Squires et al. 2018), stands with
  Engelmann spruce and subalpine fir in the canopy, and subalpine fir in the subcanopy are
  disproportionality selected by lynx. Stands where standard VEG S7 would apply continue to
  support snowshoe hare and secondary prey species, such as red squirrels, particularly when live
  vegetation and horizontal structure is present.
  Salvage harvest in lynx habitat is prioritized as follows:
      1. Choose areas with good habitat restoration potential that currently exhibit poor-quality
         lynx habitat condition, (i.e., horizontal cover density less than 25 percent, subalpine fir is
         a minor component of the subcanopy, favorable site conditions, and best available
         science suggests that conditions could be improved through vegetation management);
      2. Choose areas that provide poor-quality lynx habitat and poor habitat restoration potential;
      3. All other areas based on overall project considerations and needs.
  Stands that are subject to VEG S7 represent high-quality habitat for lynx and are confined to the
  high probability lynx use area (95 percent areas) delineated in the Resource Selection Function
  model for the Forest (Squires et al. 2018). The High Probability Lynx Use Area Map is contained
  on the external drive of maps located in the back of the document. These areas are identified as
  having:
  •   Overstories that are predominantly live or dead Engelmann spruce and subalpine fir, or either
      species, with subcanopy layers dominated by subalpine fir, or a combination of either
      Engelmann spruce or aspen, or both; and
  •   Total live overstory canopy cover less than or equal to 40 percent; and
  •   Understory horizontal cover density from ground level to 3 meters above ground level is
      greater than or equal to 45 percent during winter foraging conditions for snowshoe hares.
  Openings in lynx habitat are areas with less than 25 percent total canopy closure. Areas with less
  than 25 percent horizontal cover are not considered suitable habitat.
  During salvage project design, late-successional forest patches that are expected to remain green
  or mostly green in the next 15 years are identified for retention during project implementation.
  Foresters and wildlife biologists determine the optimal landscape heterogeneity objectives that
  include retention, opening patch size, and configuration. Project objectives should be considered
  at a watershed or sub-watershed scale, using the best available science.
  Forest stands that meet the VEG S7 definition represent a disproportionately high value subset of
  the overall suitable habitat in a lynx analysis unit. Management prioritization provides limited

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  entry allowances into VEG S7 stands. A 7 percent allowance into VEG S7 stands is available for
  use within 15 years of the decision date for this forest plan. Suitable lynx habitat is defined as
  stands with understory horizontal cover density greater than 25 percent. Timber stands subject to
  VEG S7 in locations that are documented as occupied by lynx and may support reproduction
  (Ivan 2018) should be avoided where possible. If entry does occur, minimize further reduction in
  key habitat values.
  The VEG S7 standard is associated with a management prioritization focus that supports limited
  entry into VEG S7 stands while promoting forest restoration in stands that may be improved by
  understory regeneration. The prioritization focus for vegetation management activities for
  non-VEG S7 stand and non-hazard trees in the 95 percent lynx use area is as follows:
       1. Activities in stands with 0 to 24 percent horizontal cover density (unsuitable habitat) and
          high site potential for active habitat improvement;
       2. Activities in areas of 0 to 24 percent horizontal cover density (unsuitable habitat) with
          poor potential for further improvements in habitat values;
       3. Activities in areas of 25 to 44 percent horizontal cover density (suitable but not high
          quality).
  Hazard tree removal along open and administrative use roads, trails, and campgrounds is exempt
  from this direction. Removing hazard trees from these locations is done to maintain safety for the
  public and employees. This treatment may occur up to 250 feet from open and administrative use
  roads, trails, and campground boundaries.
  Dr. John Squires and colleagues with the Rocky Mountain Research Station focused their habitat
  modeling and mapping of Canada lynx use in spruce beetle-impacted forests on the Rio Grande
  National Forest to the areas known to consistently support lynx. Dr. Squires consulted State and
  Forest-level biologists before initiating the field study to ensure that the designated study area
  captured all primary lynx use areas on the Forest. The northern area of the Forest was deemed to
  support minimal consistent lynx use, both currently and historically following the reintroduction.
  Therefore, Dr. Squires and colleagues concluded that the northern portion of the Forest supported
  too few Canada lynx to capture enough individuals to inform reliable modeling and mapping
  products. Instead, they focused on the southern portion of the national forest for the field study,
  resource selection function modeling, and eventual delineation of the high probability lynx use
  area (95 percent area). Although the northern)portion of the Forest was not included in the field
  study and modeling exercise, it is noteworthy that the Southern Rockies Lynx Amendment
  management direction, except for VEG S1 and S2, still applies to mapped habitat and linkages
  across the remainder of the Forest, including the northern area. The U.S. Fish and Wildlife
  Service’s lead consultation biologist and author of the Biological Opinion for the forest plan was
  routinely engaged in discussions throughout the modeling exercise, the delineation of the 95
  percent probability use area, and development or adoption of appropriate lynx management
  direction in and outside the 95 percent area.

  Desired Conditions
  DC-TEPC-1: Maintain or improve habitat conditions that contribute to either stability or
  recovery, or both, for threatened, endangered, proposed, and candidate species. (Forestwide)




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  Desired conditions related to habitat for Canada lynx are specified in the Southern Rockies Lynx
  Amendment.

  (Standards}
  (S-TEPC-1:)The Southern Rockies Lynx Amendment direction (appendix E), as amended and
   modified by the forest plan record of decision, shall be applied. (Forestwide)
  (S-TEPC-2 (VEG S7):) Salvage activities in stands that represent high-quality lynx habitat may
   occur in up to 7 percent of the high-probability lynx use area (95 percent lynx use areas shown
   on the High Probability Lynx Use Area Map) that overlaps the suitable timber base 15 years from
   the date on the forest plan decision. Salvage activities in VEG S7 stands in combination with all
   vegetation management activities, including incidental damage resulting in either Stand Initiation
   Structural Stage conditions, a reduction of horizontal cover, or both, are tracked for 15 years
   from the decision date for this forest plan decision.
  (S-TEPC-3:) Southern Rockies Lynx Amendment standards VEG S1 and VEG S2 do not apply on
   lynx analysis units that have no overlap, either wholly or partially, with the high probability lynx
   use areas shown on the High Probability Lynx Use Area Map. All other management direction
   (excluding VEG S1 and VEG S2) in the Southern Rockies Lynx Amendment applies to areas
   outside of the high probability lynx use areas (95 percent use area).
  GUikeiine^
  (G-TEPC-1: To avoid or minimize adverse effects to listed species and their habitat, management
   actions should be designed with attention to threatened, endangered, proposed, or candidate
   species and their habitats. (Forestwide)

  Vegetation Management (VEG)
  The Forest provides a diverse landscape with a wide variety of vegetation communities. The
  majority of the Forest is in the spruce-fir ecosystem. Other vegetation types that dominate
  include the Southern Rocky Mountain montane-subalpine grassland and Rocky Mountain alpine
  turf, followed by mixed-conifer, dry, and pinyon-juniper woodland.
  Plan components contained in the section below cover the broad area of forest vegetation and
  management of forest vegetation. The direction includes plan components related to terrestrial
  ecosystem integrity, as well as the required timber harvest-related plan components, as described
  within Chapter 60 of Forest Service Handbook 1909.12. Most plan components in this section
  were designed using the natural range of variation described in the 1996 forest plan (appendix
  A), which was used to define the key ecosystem characteristics in the Terrestrial Ecosystem
  Assessment.
  Plan components that affect vegetation are also contained in other sections of this forest plan
  including, but not limited to, Fire, Insects and Disease, Minerals, Nonnative Invasive Species
  and Noxious Weeds, Range Management, Riparian Management Zones, Soils, Species o_f
  Conservation Concern, Visual Quality, Watersheds, and Wildlife. Specific direction is also
  contained for management areas: Wilderness, Dispersed and Developed Recreation, General
  Forest and Intermingled Rangelands, Roadless Areas, Scenic Byways and Scenic Railroads, and
  Special Interest Areas.



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  Project-level timber harvest objectives are formulated during site-specific analysis and are in
  compliance with forest plan direction presented here. In areas that are suitable for timber
  production, dead or dying trees are salvaged to recover the economic value of the wood while
  providing for ecosystem function. Management of ecosystem function includes, among other
  activities, retention of snags and downed woody material, and habitat management. In addition,
  snags are managed for public safety.
  Key ecosystem characteristics are defined in the 2012 Planning Rule as the dominant ecological
  components that describe the ecosystems and are relevant and meaningful for addressing
  ecological condition and integrity, as well as important land management concerns. Ecosystem
  integrity as related to vegetation is typically assessed by considering dominant ecosystem
  functions, composition, structure, and connectivity. Key ecosystem characteristics are
  measurable, qualitatively or quantitatively, and there is some type of data or means to distinguish
  and describe them. Key ecosystem characteristics have been identified and are listed below:
  •      Diversity of vegetation
  •      Late-successional and old-forest habitats
  •      Snags and downed woody material
  •      Landscape disturbance and patterns
  •      Rare communities and special habitats
  •      Connectivity.
  The forest and non-forested ecosystems as described in the assessment reports prepared during
  the forest plan revision process are listed in Table 3. Corporate vegetation databases classify
  forest areas by local cover types. A crosswalk between the ecosystems defined in Table 3 and the
  current distribution of local cover types is presented in Table 4.

  Table 3. Forest and non-forested ecosystems, as described in the assessment reports
                              Ecosystem                             National Forest System Acres   Percentage
      Spruce-fir forest mix                                                   929,645                  54
      Mixed conifer - wet                                                     42,718                    2
      Mixed conifer - dry                                                      94,925                   5
      Rocky Mountain alpine turf                                              191,800                  11
      Pinyon-juniper woodland (includes low elevation grasslands)             100,700                   6
      Rocky Mountain Gambel oak - mixed montane shrubland                      1,224               Less than 1
      Southern Rocky Mountain montane - subalpine grassland                   304,136                  18
      Rocky Mountain montane riparian                                          61932                   4
      Sagebrush shrubland                                                      5014                Less than 1
      Intermountain basins greasewood flat                                      128                Less than 1




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  Table 4. Crosswalk between ecosystems and FSVEG spatial local cover types
                           Ecosystem                                Local Cover Type in FSVEG Spatial
                                                                Spruce-fir forest (TSF)
                                                                Aspen forest (TAA)
   Spruce-fir forest mix
                                                                Aspen forest with softwoods present (TAA-SW)
                                                                Lodgepole pine forest (TLP)
                                                                Mixed conifer forest - cool-moist (TMC-CM)
   Mixed conifer - wet                                          Aspen forest (TAA)
                                                                Aspen forest with softwoods present (TAA-SW)
                                                                Mixed conifer forest - warm-dry (TMX-WD)
                                                                Ponderosa pine forest (TPP-Pp)
   Mixed conifer - dry
                                                                Mixed conifer forest - cool-dry (TMC-CD)
                                                                Bristlecone pine/limber pine forest (TBC_LI)
   Rocky Mountain alpine turf                                   Alpine vegetation (ALP)
   Pinyon-juniper woodland (include low elevation grasslands)   Pinyon-juniper woodland (TPJ)
                                                                Mountain shrubland (MT_SHR)
   Rocky Mountain Gambel oak - mixed montane shrubland          Semi-desert shrubland (DS_sHr)
                                                                Non-riparian willow (UP_SWI)
                                                                Mountain grassland (MT_GRA)
   Southern Rocky Mountain montane - subalpine grassland
                                                                Semi-desert grassland (DS_GRA)
   Rocky Mountain montane riparian                              Riparian vegetation (RIP)
   Sagebrush shrubland                                          Sagebrush shrubland (SSA)
   Intermountain Basins greasewood flat                         Not applicable


  Management Approaches
  Principal strategies and program priorities for timber and vegetation management
  Special forest products include materials that are not traditional timber and fiber products, such
  as sawtimber or house logs. Special forest products are permitted (or contracted) for removal
  from public lands for commercial, personal, Native American tribal, educational, or scientific
  purposes. Plan components in this section cover a variety of special forest products including but
  not limited to building rock, craft products, firewood, floral and greenery products, herb and
  vegetable products, landscaping products, medicinal and pharmaceutical products, wild berries
  and fruit, and wild edible mushrooms.
  The Forest continues to identify and map populations of Ligusticum porteri. Following mapping,
  the Forest will consider setting aside collection areas for tribal use and rotating the use of these
  areas over time.
  Vegetation treatments generally avoid alteration of the edge of natural openings.
  Competition for water, nutrients, and light among the trees is considered when choosing thinning
  methods, with the goal of restoring or maintaining genetic diversity. Frequency of thinning is
  dependent on species, financial efficiency, and growing conditions of the site, commonly
  measured by site index.
  Project-level planning uses criteria in appendix A to determine the presence of old forest. The
  habitat is assessed for quality and distribution and retained as necessary for vegetative diversity.
  Management-created openings are no longer considered openings when the trees reach a height
  and density that meet management objectives. The default criteria are when the minimum

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  stocking standards for the forest vegetation type on suitable lands are met and average height is
  6 feet or greater with at least a 70-percent distribution for conifer species, and 10 feet or greater
  with at least a 70-percent distribution for aspen. The criteria are validated and may be modified
  in accordance with local conditions.
  Forest vegetation management that results in meeting the needs or demand for forest product
  offerings for commercial, personal, or other use is done in a manner that supports one or more of
  the following:
   •   Maintains or improves ecosystem function, resilience, and sustainability,
   •   Supports a sustainable level of economic activity in the local timber industry,
   •   Provides economic or social support to local communities,
   •   Ensures current and future needs for American Indian tribal use, including that associated
       with special forest products (e.g., teepee poles),
   •   Uses, to the fullest extent practicable, potential products including saw timber, poles, top
       wood, or slash,
   •   Supports innovation in utilization, including conversion of cut tree mass into biofuels,
       pellets, biochar, or other useful products,
   •   Efficiently balances or reduces costs of implementation of treatment activities, and
   •   Anticipates climate-related change in plant succession, such as favoring heat- or drought­
       resistant tree species as leave trees.
  In areas suitable for timber production, dead or dying trees due to fire, insects, or disease are
  salvaged to recover the economic value of the wood while providing for ecosystem function.
  This will be the primary focus of the timber program for the first three years of the planning
  period.
  The scientifically defined silvicultural systems shown by forest cover type in Table 5 meet the
  management objectives for the landscape or individual stands of trees within a landscape setting.
  Both even-aged and uneven-aged management systems can be used and applied at scales ranging
  from a few acres to many hundreds of acres. These silvicultural systems are to be applied in a
  manner that will create conditions favorable for natural regeneration. Artificial regeneration will
  be considered when necessary to meet minimum stocking standards. The silvicultural systems
  identified in Table 5 can be used to convert uneven-aged stands to even-aged management and
  even-aged stands to uneven-aged management.




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  Table 5. Appropriate silvicultural system by cover type
        Forest Cover Type                    Even Aged                        Two Aged                       Uneven Aged
                                    Shelterwood, clearcut,            Irregular shelterwood,
                                                                                                       Group selection, single­
      Ponderosa pine                overstory removal, seed           shelterwood with
                                                                                                       tree selection
                                    tree                              reserves
                                    Shelterwood, clearcut,            Irregular shelterwood,
                                                                                                       Group selection, single­
      Mixed conifer                 overstory removal, seed           shelterwood with
                                                                                                       tree selection
                                    tree                              reserves
      Aspen                         Coppice1                          Coppice with standards2          Group selection3
                                    Shelterwood, clearcut,
      Lodgepole pine                overstory removal, seed           Irregular shelterwood            Group selection
                                    tree
      Engelmann spruce and          Shelterwood, clearcut,                                             Group selection, single­
                                                                      Irregular shelterwood
      subalpine fir                 overstory removal                                                  tree selection
  1 Coppice is a vegetation reproduction method with clearfelling or clearcutting. Clearfelling (clearcutting) stimulates sprouting from
     the residual roots.
  2 “Standards” are selected overstory trees reserved for a longer rotation at the time each crop of coppice material is cut.
  3 Use of group selection as an appropriate silvicultural system in aspen is currently under study to determine regeneration success,
     but is authorized on a test basis.


  Aspen is encouraged and promoted on the landscape. When regenerating aspen, treatments
  within seral aspen clones are prioritized with the following criteria:
  •     Identify stands with large standing and down dead basal area (about 20 percent dead) that are
        single-storied and showing signs of animal barking (gnawing and bark stripping) or disease.
        Multistoried stands that have several hundred sapling-size suckers per acre under them, or
        that show little sign of canker disease or animal barking, are lower priority for any
        management intervention.
  •     Identify conifer stands with a small minority of live aspen basal area (less than 20 percent
        live basal area). (Aspen is likely to disappear from these stands within several decades
        without intervention).
  •     Identify isolated clones and stands in areas frequented by animals and in riparian areas, and
        those at low elevations. Any stands in these situations that meet the criteria above should be
        given the highest priority for regeneration. (These stands will be at greatest risk of
        disappearing and will be the most difficult to regenerate successfully. Protection of treatment
        areas from browsing animals may be needed to achieve successful regeneration.)
  •     Identify stands that are more cost efficient and not impacted by frequent animal use to treat
        and contribute positively to the distribution of aspen.
  The size of uncut forest areas between openings is based on project-level management objectives
  for the landscape being analyzed.
  Carbon storage and sequestration potential are sustained through maintenance or enhancement of
  ecosystem biodiversity and function and managing for resilient forest adapted to a natural
  disturbance process and changing climates.




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  Desired Conditions
  DC-VEG-1: Commercial timber harvest occurs on lands identified as not suitable for timber to
  meet multiple use objectives and for safety and health. These harvests are not part of the
  regularly scheduled harvest program. These activities meet management direction and desired
  conditions and may provide other services and benefits. (Forestwide)
  DC-VEG-2: Habitat structure in Gambel oak communities provides for the needs of associated
  species. (Forestwide)
  DC-VEG-3: All development stages of the forested terrestrial ecosystems are well represented at
  the landscape scale and occur forestwide within the ranges identified in Table 6. (Forestwide)




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  Table 6. Current status and desired conditions of development and structural stages of
  the forested terrestrial ecosystems
  [Structural stage: 1T/2T, grass/shrub previously trees; 3A, sapling-pole 10 to 40 percent cover; 3B, sapling-pole 40 to
  70 percent cover; 3C, sapling-pole greater than 70 percent cover; 4a, mature 10 to 40 percent cover; 4B, mature 40
  to 70 percent cover; 4C, mature greater than 70 percent cover.]

                                                                                                       Desired
                                                                     Current          Desired
         Terrestrial           Development         Structural                                        Condition in
                                                                    Condition        Condition
         Ecosystem                Stage              Stage                                            Old Forest
                                                                  (percentage)     (percentage)
                                                                                                     (percentage)
                                   Young              1T/2T             8               5-10
                                  Mid-open             3A               19              5-10
       Ponderosa pine            Mid-closed           3B, C             5               5-10            10-15
                                Mature open            4A               49             40-50
                               Mature closed         4B, C              19             15-25
                                   Young              1T/2T             <1              5-10
                                  Mid-open             3A               6              10-15
      Warm-dry mixed
                                 Mid-closed           3B, C             8              10-15            15-20
         conifer
                                Mature open            4A               34             25-30
                               Mature closed         4B, C              52             25-35
                                   Young              1T/2T             8               5-10
                                  Mid-open             3A               10              5-10
      Cool-moist mixed
                                 Mid-closed           3B, C             22             15-20            20-30
           conifer
                                Mature open            4A               17             15-20
                               Mature closed         4B, C              43             30-40
                                   Young              1T/2T             0               5-10
                                  Mid-open             3A               12              5-10
   Cool-dry mixed conifer        Mid-closed           3B, C             24             15-20            15-20
                                Mature open            4A               25             30-40
                               Mature closed         4B, C              39             15-20
                                   Young              1T/2T             30              5-10
                                  Mid-open             3A               13              5-10
          Spruce-fir             Mid-closed           3B, C             7              10-15            25-35
                                Mature open            4A               27             20-25
                               Mature closed         4B, C              22             30-40
                                   Young              1T/2T             6
                                  Mid-open             3A               16
            Aspen                Mid-closed           3B, C             58
                                Mature open            4A               2
                               Mature closed         4B, C              19
                                   Young              1T/2T             1               5-10
                                  Mid-open             3A               47             10-15
        Pinyon-juniper
          woodland               Mid-closed           3B, C             38             10-15            20-30
                                Mature open            4A               5              20-30
                               Mature closed         4B, C              9              30-40



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  Objectives
  OBJ-VEG-1: Diversify the structure class distribution for various forest types by managing
  800 acres annually in years 4 and 5 of the planning period and 1,200 acres in years 6 through 20
  of the planning period, to work toward or maintain the desired conditions in Table 6.
  (Forestwide)
  OBJ-VEG-2: Annually restore 150 to 300 acres of dry mixed conifer and ponderosa pine areas
  to move these forest types toward a species composition and landscape pattern where fire can
  function in its natural role. (Forestwide)
  OBJ-VEG-3: Salvage harvest approximately 62,800 CCF (hundred cubic feet) of spruce-fir
  annually for the first 3 years of the planning period. (Forestwide)
  OBJ-VEG-4: Salvage harvest an estimated 20,000 CCF of spruce-fir annually during years 4
  and 5 of the planning period. (Forestwide)
  OBJ-VEG-5: Offer timber for sale at an average timber sale quantity of 8,000 CCF per year for
  years 4 and 5 of the planning period. Offer timber for sale at an average timber sale quantity of
  12,000 CCF per year for years 6 through 20. (Forestwide)
  OBJ-VEG-6: Identify and map a minimum of five select populations of ethnobotanically
  important plants for tribes in concert with the heritage, botany, and timber programs over the
  next 15 years. (Forestwide)
  OBJ-VEG-7: Average 100 acres of hazardous fuels reduction per year in areas adjacent to
  private development, critical infrastructure, or both over the next 15 years. (Forestwide)
  OBJ-VEG-8: Average 2,000 acres of fuels reduction per year using fire managed for resource
  benefit or prescribed fire on Forest lands over the next 15 years. (Forestwide)
  Specific to Oljectives OBJ-VEG-3, OBJ-VEG-4, and OBJ-VEG-5: Estimates of timber outputs
  may be larger or smaller on an annual basis, or over the life of the plan, ._f legal authorities,
  management eefficiencies, or unanticipated constraints change in the future.

  Standards
  S-VEG-1: Timber may not be harvested for the purpose of timber production on lands not suited
  for timber production. Timber harvest may occur on these lands for the following purposes:
  protecting other multiple-use values, protecting or enhancing biodiversity or wildlife habitat,
  scenic-resource management, research, or administrative studies consistent with geographic or
  management area direction, and salvage, sanitation, public health, or safety. (Forestwide)
  S-VEG-2: Timber shall not be harvested on lands where soil, slope, or other watershed
  conditions may be irreversibly damaged, as identified in project-specific findings. (Forestwide)
  S-VEG-3: Timber harvest shall be conducted to assure that the technology and knowledge exist
  to restock these areas adequately with trees within five years after final harvest. (Forestwide)
  Minimum restocking levels for suitable timber lands are defined in Table 7. Exceptions to these
  levels are allowed if supported by a project-specific determination of adequate restocking.
  Restocking levels for unsuitable timber lands must be specified with the silvicultural
  prescription. Project-specific determination of adequate stocking must be based on the plan’s


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  desired conditions and objectives applicable to the area and project and be consistent with all
  other applicable plan components. (Forestwide)

  Table 7. Minimum restocking level for suitable timber lands, by species
                                           Douglas     Lodgepole   Ponderosa      Other         Other
                  Spruce-Fir   Aspen
                                             Fir          Pine       Pine       Softwoods     Hardwoods
      Trees per
                     150         300         100          150          75           150           150
        acre


  S-VEG-4: Select harvest systems to achieve desired conditions and objectives or to meet
  site-specific project needs, not primarily for the greatest dollar return or timber output.
  S-VEG-5: Clearcutting may be used where it has been determined to be the optimum method,
  and other types of even-aged harvest shall be used only where determined to be appropriate
  following interdisciplinary review. Determinations shall be based on site-specific conditions and
  the desired conditions for vegetation, wildlife habitat, scenery, and other resources. (Forestwide)
  S-VEG-6: Openings larger than 40 acres may only be created under one of the following
  conditions:
  •     Proposals for larger openings have been approved by the regional forester, following a
        60-day public review,
  •     Areas harvested as a result of natural catastrophic conditions (including those resulting from
        fire, insects, diseases, and windstorms), or
  •     When the area that is cut does not meet the definition of openings. (Forestwide)
  S-VEG-7: The quantity of timber that may be sold per decade will be less than or equal to the
  sustained yield limit of 737,490 CCF per decade with the following exceptions: salvage or
  sanitation harvesting of timber stands that are substantially damaged by fire, windthrow, or other
  catastrophe or that are in imminent danger from insect or disease attack. Salvage harvest of trees
  substantially damaged by fire, windthrow, or other catastrophe or in imminent danger from insect
  or disease attack may be harvested over and above the sustained yield limit, consistent with
  desired conditions for terrestrial and aquatic ecosystems. (Forestwide)
  S-VEG-8: When there is a shortage of any special forest products for tribal use, commercial
  permits are issued only to the extent that tribal use can be accommodated. (Forestwide)

  Guidelines
  G-VEG-1: Snag densities (Table 8) are related to disturbance regimes of various forest systems.
  Snags suitable for nesting and denning (typically larger sizes) are present across the Forest,
  contributing to the diversity of forest structure and maintenance of habitat components important
  to the persistence of snag-associated wildlife species. Snags provide an important habitat
  component in the maintenance of habitat connectivity. Snag retention should represent a variety
  of snag heights. At least 50 percent of the retained snags should represent the larger size classes
  available. Where larger snags are not available, trend toward a greater number of smaller snags.
  Snags are not required to be maintained on every acre. (Forestwide)



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  Table 8. Recommended snags and downed wood for wildlife habitat and ecosystem
  processes
  [All quantities are based on an average per acre basis across the planning unit (the area planned for treatment as
  identified in a project-level decision document).]

                                                              Snags                                     Downed Wood1

          Forest Type             Minimum
                                                        Minimum/Acre            Minimum height
                                 diameter at                                                                Tons/Acre
                                                       in planning unit              (feet)
                                breast height
      Spruce-fir                      212                       6                        25                  10 to 15
      Mixed conifer                   212                    3 to 4                      25                   4 to 10
      Aspen                            10                       5                        25                   3 to 5
      Ponderosa pine                  212                       3                        25                   2 to 3
      Lodgepole pine                   10                       3                        15                   5 to 10
  1 Project implementation should focus on leaving larger and longer logs onsite in accordance with site capacity.
  2 At least 50 percent of the required snag numbers should represent the largest size classes available.


  G-VEG-2: Even-aged stands shall generally have reached or surpassed culmination of mean
  annual increment (achieving 95 percent of culmination of mean annual increment, as measured
  by cubic volume) prior to regeneration harvest, unless the following conditions have been
  identified during project development:
  •      When such harvesting would modify fire behavior to protect identified resource, social, or
         economic values
  •      When harvesting of stands will trend landscapes toward desired conditions
  •      When harvest uses uneven-aged silvicultural systems, thinning, or other intermediate stand
         treatments that do not regenerate even-aged or two-aged stands
  •      When harvest is for sanitation or salvage of timber stands that have been substantially
         damaged by fire, windthrow, or other catastrophe, or that are in imminent danger from insect
         or disease attack
  •      When harvest is on lands not suited for timber production and the type and frequency of
         harvest is due to the need to protect or restore multiple use values other than timber
         production. (Forestwide)
  G-VEG-3: To maintain scenic resources, even-aged harvest openings should be irregularly
  shaped and blend with the natural terrain to the extent practicable. (Forestwide)
  G-VEG-4: To maintain ecosystem conditions for continued persistence, permit the collection of
  species of conservation concern plants only for scientific, educational, or conservation purposes
  and only to the level that persistence of the species is maintained. (Forestwide)
  G-VEG-5: Old forest, or late-successional stage forest, is often deferred from harvest to
  maintain biotic diversity across the landscape. To maintain old forest components across the
  landscape and move toward desired conditions (defined in Table 6) prioritize retention of old
  forest stands as follows:
  •      Older stands that have not been manipulated are more desirable than younger ones.


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  •   Stands with limited use and access are better suited to maintain old forest conditions.
  •   Stands that provide habitat for threatened, endangered, or proposed species, species of
      conservation concern.
  •   Stands exhibiting a variety of attributes such as diverse canopy layers, decadence in live
      trees, standing or downed dead, or both, and patchiness.

  Land Suitability
  SUIT-VEG-l: Lands are identified as suitable for timber production in management area
  direction contained in Chapter 3. Even though lands may be identified as suitable for timber
  production, those lands may not be feasible for harvest. Feasibility is determined at the
  site-specific, project level. An estimated 499,936 acres of lands on the Forest have been
  determined as may be suitable for timber harvest.

  Wildlife and Plants (WLDF)
  Most of the wildlife species that inhabit the Forest are outside of the protections provided by the
  Endangered Species Act, as amended, and are not considered a species of conservation concern
  as defined in the 2012 Planning Rule. Plan components pertaining to these species are contained
  in this section. This direction maintains ecosystem integrity on a broad range of terrestrial
  habitats throughout the Forest, including all vegetation types. This includes all native species as
  well as any desirable nonnative species. Nearly all plan components have the potential to affect
  wildlife in some way.
  Habitat connectivity can be viewed as the degree to which landscapes facilitate or impede the
  movement of species and ecological processes among suitable habitat patches (Taylor et al.
  1993). Measurements for habitat connectivity involve both the physical attributes that might
  provide barriers to movement, such as roads and trails, and the vegetation or habitat structural
  changes and patterns that influence the ability of species to move across the landscape. Potential
  impacts from impaired connectivity can vary by species. Much of the Forest is bordered by
  public lands, and the landscape patterns contribute to the continuous nature of the landscape. For
  some species, such as Rocky Mountain elk, mule deer, and other game species, these landscape
  conditions will continue to facilitate historic game movement patterns within and among national
  forest lands and other public and private lands, including across state lines. Much of the land is
  designated wilderness or roadless, which will contribute to habitat connectivity and movement
  patterns for many species, particularly those that are sensitive to human disturbances. Additional
  protected areas occur on adjacent National Forest System lands as well as across state and
  administrative boundaries.
  Sections below include direction for wildlife and plant species on the Rio Grande National
  Forest. Also included in this section is direction for species of conservation concern and
  direction for threatened, endangered, proposed, and candidate species.

  Management Approaches
  Principal strategies and program priorities to protect wildlife resources in addition to strategies
  and approaches under species of conservation concern; and threatened, endangered, proposed,
  and candidate species; andfisheries



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  Within fiscal capacity, the Forest continues to participate in and support recovery and
  conservation efforts including but not limited to conservation agreements for Rio Grande
  cutthroat trout (RGCTCT 2013), Rio Grande chub and Rio Grande sucker (RGCSCT 2018),
  fens, pollinators, Uncompahgre fritillary butterfly, bats, watershed condition priorities, prairie
  dogs, avian monitoring and conservation, bighorn sheep, snow willow and alpine conservation,
  boreal toad, and unique and rare plant communities.
  The Forest maintains an early detection program for white-nose syndrome in bats, follows
  guidance from the Forest Service Rocky Mountain Regional Office, and continues to coordinate
  with partners and other agencies to protect bats from white-nose syndrome.
  Bat habitat needs are addressed through the Abandoned Mine Lands program. The Forest
  maintains existing partnerships and seeks additional partners for adequate underground
  assessments, as possible, prior to closure. When closing caves and mines, access for bats is
  retained and disturbance to resident bat populations is minimized. When maintaining or
  removing facilities or bridges, the potential for bat roost activity is assessed. Work is scheduled
  to reduce impacts to roosting bats.
  When raptors are known to occur in a project area, the Forest consults raptor guidance provided
  by Colorado Parks and Wildlife.
  During project analysis, address impacts to pollinators through project design, analysis, and
  implementation.
  Pollinator-friendly best management practices for Federal lands are implemented to improve
  pollinator habitat and protect these species when implementing management actions. Actions are
  not limited to the following:
       •   Design projects to maintain or improve pollinator habitat while meeting resource
           objectives,
       •   Include plants that are desirable to pollinator species in project seed mixtures,
       •   Mitigate impacts to pollinator insects when applying insecticide,
       •   Include creation and maintenance of pollinator habitat in project design, and
       •   Implement best management practices for pollinator habitat when managing roads.
  The Forest provides a focus on bird conservation by increasing the number of Naturewatch
  viewing sites and by participating in International Migratory Bird Day activities. Management
  activities consider habitats and species described in the Colorado Bird Conservation Plan.
  The Forest considers the impacts of actions on unique or rare plant community types, particularly
  those with a biodiversity significance ranking of B1 (outstanding) or B2 (very high) according to
  the Colorado Natural Heritage Program. In riparian areas and wetland ecosystems containing
  plants with G1, G2, S1, or S2 NatureServe plant community conservation ranks, impacts are
  considered with a focus on maintaining ecological integrity.
  Existing landscape patterns and local species concerns are used to identify and assess habitat
  connectivity at various spatial scales during design and analysis of forest management activities.
  A nest of hydrologic unit codes is used at various scales to assess connectivity patterns. Stream
  zones and topographic features are identified and used to facilitate movement across the


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  landscape. These areas serve multiple purposes, including providing aquatic and terrestrial
  habitat connectivity and areas for species movement in most landscape conditions.




  Figure 8. Great horned owl

  Desired Conditions
  DC-WLDF-1: Habitat conditions are suitable for resident and migratory birds and accommodate
  key life history requirements. (Forestwide)
  DC-WLDF-2: Habitat conditions for bats are suitable for reproduction and roosting.
  (Forestwide)
  DC-WLDF-3: Habitat connectivity is provided to facilitate species movement within and
  between daily home ranges, for seasonal movements, for genetic interchange, and for
  long-distance movements across boundaries. (Forestwide)
  DC-WLDF-4: Winter range habitat conditions provide the quantity, quality, and spatial
  arrangement of forage, cover, and security needed to support population objectives for mule deer,
  pronghorn, Rocky Mountain bighorn sheep, and Rocky Mountain elk. (Forestwide)
  DC-WLDF-5: Motorized and nonmotorized route travel, on and off existing roads, does not
  negatively affect ecological conditions necessary to maintain population objectives for big game
  species. (Forestwide)


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  DC-WLDF-6: Suitable nesting habitat for ground-nesting or low-level shrub-nesting birds is
  provided by dense, interior riparian willow habitat. (Forestwide)

  Objectives
  OBJ-WLDF-1: Develop and interpret at least one location identified in the Colorado Birding
  Trail over the next 15 years. (Forestwide)
  OBJ-WLDF-2: Maintain or improve an average of 500 acres of big game winter habitat
  annually over the next 15 years. (Forestwide)

  Standards
  S-WLDF-1: Do not allow rock climbing within one-half mile of active peregrine and prairie
  falcon nest sites generally from April 15 to July 31 and active golden eagle nest sites generally
  from December 15 to July 31. (Forestwide)

  Guidelines
  G-WLDF-1: To reduce stress at a critical point in the lifecycle of big game, restrict activities on
  winter range from approximately December 1 to April 15, as needed. (Forestwide)
  G-WLDF-2: To maintain habitat function, connectivity, and security for big game species, there
  should be no net gain in motorized and nonmotorized system routes where the system route
  density currently exceeds one linear mile per square mile or where the net gain would cause
  system route density to exceed one linear mile per square mile in areas mapped by Colorado
  Parks and Wildlife as important big game production areas, migration corridors, severe winter
  range, and winter concentration areas. Exception: This does not apply to administrative routes.
  (Forestwide)

  Goal 2
  Protect and restore watershed health, water resources, aquatic ecosystems, and
  the systems that rely on them

  Fisheries (FISH)
  Management direction is provided for individual resource areas. This direction has been
  integrated across resource areas. Plan components contained in this section cover the broad area
  of aquatic habitats that are present throughout the Forest and support all fisheries. Species of
  conservation concern (Rio Grande cutthroat trout, Rio Grande chub, and Rio Grande sucker), all
  other native species, and desired nonnative recreational species are included.
  Aquatic species include vertebrate and invertebrate animals that live in the water for most or all
  of their life cycle. Fisheries management focuses on fish species and the habitat components that
  are vital to their survival. Persistence of these species over time is dependent on an array of
  well-connected habitat conditions. Management activities can contribute to fragmentation and
  degradation of habitat for fish and other riparian-dependent species. Dam construction,
  introduction of nonnative invasive species, livestock grazing, road and facility construction, and
  vegetation management activities can change habitat conditions.



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  Many of the plan components that affect fisheries are also addressed in other sections including
  but not limited to Minerals, Aquatic and Terrestrial Nonnative Invasive Species and Noxious
  Weeds, Recreation, Riparian Management Zones, Soils, Watersheds, Wildlife, and Species of
  Conservation Concern. Specific direction for designated wilderness and designated and eligible
  wild, scenic, and recreational rivers is also provided.

  Management Approaches
  Principal strategies and program priorities to protectfish and aquatic resources
  Annually, the Forest works with signatories of the Conservation Agreements for Rio Grande
  Cutthroat Trout (RGCTCT 2013) and the Rio Grande Chub and Rio Grande Sucker (RGCSCT
  2018). Shared data are used to maintain and update species occurrences, and the fisheries activity
  period maps that are contained on the external drive of maps located in the back of this document
  facilitate consistent and effective implementation of the agreements for use during project-level
  analysis and in guidance specific to recreational dredging.
  The Forest coordinates with staff from Colorado Parks and Wildlife on fish stocking programs.
  This ensures benefits and reduces degrading effects on native and desired nonnative fish and
  aquatic species. The Forest provides Colorado Parks and Wildlife recreational fish stocking
  reports annually by June 15 or as they become available to Forest media outlets, including all
  district offices.

  Desired Conditions
  DC-FISH-1: Connectivity of habitat for native and desired nonnative fish and aquatic species is
  maintained or enhanced by the design and implementation of management actions. Populations
  are expanding into previously occupied habitat, and interconnectivity is maintained within
  metapopulations. To maintain sustainable populations, critical life stages are distributed and
  abundant. Habitat conditions are not a primary factor in species being proposed or listed under
  the Endangered Species Act or for adding species as a species of conservation concern.
  DC-FISH-2: Habitat and water quality in lakes and streams allow fish populations to thrive, and
  habitat is not fragmented by management activities.

  Objectives
  OBJ-FISH-1: Complete 10 fish connectivity projects (combination of removing barriers or
  constructing aquatic organism passage structures) over the next 15 years.
  OBJ-FISH-2: Maintain or restore structure, composition, or function of habitat for fisheries and
  other aquatic species along 30 miles of stream, with a focus on larger individual stream segments
  when possible over the next 15 years. (Forestwide)

  Standards
  S-FISH-1: When authorizing new surface diversions in fish-bearing waters, provide upstream
  and downstream passage designed for all fish species that are threatened, endangered, proposed
  or candidate species, and for species of conservation concern except when barriers are needed to
  protect from undesired nonnative fish. (Forestwide)




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  Figure 9. A pond above Pole Creek

  Guidelines
  G-FISH-1: New surface diversions should provide passage for native and desired nonnative
  aquatic species to maintain connectivity except when barriers are needed to protect from
  undesired nonnative fish. (Forestwide)
  G-FISH-2: Newly constructed perennial stream crossings and aquatic organism passages allow
  natural streamflow, and bidirectional movement of adult and juvenile fish and other wildlife.
  (Forestwide)
  G-FISH-3: Fisheries activity period maps (contained on the external drive of maps located in the
  back of this document) should be consulted during project development and design, including
  recreational dredging. Date ranges associated with stream classes identified on the map are listed
  in Table 9.




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  Table 9. Dates and species of fish by class of water body
    Water Body
                             Species                 Restricted Activity Period
      Class
                   Core and conservation Rio      Dates provided by Fisheries
         A
                   Grande cutthroat trout         Biologist
                   Recreational Rio Grande
         B                                        May 15 to June 30
                   cutthroat trout
                   Brown and brook trout          October 1 to December 31
         C
                   Rainbow trout                  April 1 to August 31
         D         No fish or any other species   None


  Fisheries activity period maps designate the class of a mapped waterbody (A, B, C, or D). They
  correspond with the restricted activity period in Table 9 and describe the locations of Class A
  water bodies and may specify special conditions. Except for uncoded water bodies, which do not
  appear on the maps, class is designated on the maps (contained on the external drive at the back
  of this document). Uncoded water bodies are Class D unless otherwise specified. When uncoded
  water bodies enter mapped Class A, B, or C water bodies, the portion of the uncoded water body
  1 mile upstream from the mouth is the same class as the mapped water body it enters. This is
  applied even if the unmapped water body is dry or frozen to the bottom at the time of
  implementation.
  Where unmapped water bodies enter a mapped Class A water body, the unmapped water body is
  Class A for the portion of the unmapped water body for a distance of 1 mile upstream from the
  mouth of the unmapped water body, including where the unmapped water body is dry or frozen
  to the bottom at the time of the project, and Class B for any other portion of the unmapped water
  body. Where an unmapped water body enters a mapped Class B water body, the unmapped water
  body is Class B for the portion of the unmapped water body for a distance of 1 mile upstream
  from the mouth of the unmapped water body, including where the unmapped water body is dry
  or frozen to the bottom at the time of the project, and Class C for any other portion of the
  unmapped water body. Where an unmapped water body enters a mapped Class C or D water
  body, the unmapped water body is Class C or D for all portions of the unmapped water body,
  respectively. Where an unmapped water body enters a fish-bearing lake, the unmapped water
  body is Class C, whether or not the fish-bearing lake appears on the activity period map(s).

  Groundwater-Dependent Ecosystems (GDE)
  Groundwater-dependent ecosystems are a vital component for the natural environment and can
  include fens, wetlands, seeps, springs, riparian areas, groundwater-fed streams and lakes, and
  aquifers. These are present throughout the Forest and vary in size and timing. These areas
  provide an important ecosystem component and provide later-season flows with cold water
  temperatures, help sustain the function of surface and subsurface aquatic ecosystems, and
  provide habitat important to the persistence of plant species of conservation concern.
  Areas that retain moisture and associated vegetation types have long been recognized as
  important for both ecosystem function and human benefits. Riparian areas and groundwater­
  dependent ecosystems such as wetlands, springs, aquifers, and fens provide ecosystem services
  that are necessary for the long-term health and well-being of both aquatic and upland areas.


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  Services provided by these areas are vital to the water supplies of downstream users. Services
  include stabilizing streambanks and reducing erosion, mitigating the impacts of floods,
  improving water quality by trapping sediment and other pollutants, and sustaining late season
  base flows. These areas are also vital to a wide variety of plants and animals. Aquatic and
  terrestrial species depend on the forage and cover provided in these habitat types, and many rare
  plants occur only in these ecosystems.

  Management Approaches
  Principal strategies and program priorities to protect groundwater-dependent resources
  Fens and watershed conditions that support healthy fens provide irreplaceable ecological
  functions. The Forest continues to inventory and evaluate fens, thereby enabling managers to
  maintain healthy watersheds and aquatic resources.
  The Forest continues to work with other agencies and adjacent landowners in the conservation of
  groundwater-dependent ecosystems.

  Desired Conditions
  DC-GDE-1: Identified groundwater-dependent ecosystems provide habitat for species of
  conservation concern and other native species. Fens continue to accumulate peat. (Forestwide)

  Standards
  S-GDE-1: Do not authorize management actions that alter the hydrology of groundwater­
  dependent habitat features. (Forestwide)

  Guidelines
  G-GDE-1: To maintain ecosystem diversity and function, design projects to avoid or mitigate
  negative impacts to the ecological services that groundwater-dependent ecosystems provide.
  (Forestwide)

  Riparian Management Zones (RMZ)
  Naiman et al. (2000) identifies that discoveries about the structure and dynamics of riparian
  zones have important implications for stream and watershed management. Forest plans must
  establish width(s) for riparian management zones around all lakes, perennial and intermittent
  streams, and open-water wetlands (USDA Forest Service 2015). The following guidance has
  been developed to help interdisciplinary teams become familiar with, and consistently apply,
  criteria to appropriately delineate riparian management zones, and analyze important
  considerations in developing appropriate management actions within, or that affect, riparian
  management zones. The intent is to ensure that interdisciplinary teams adequately consider
  riparian functions and ecological processes in both the delineation of riparian management zones
  and the determination of appropriate management actions within, or that affect, riparian
  management zones.
  Riparian areas represent the area where aquatic and terrestrial ecosystems interface. These
  important areas occur along streams, rivers, lakes, wetlands, and other waterbodies. These areas
  can be restored using passive and active management.
  Delineation and further definition of riparian management zones are contained in appendix F.

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  Desired Conditions
  DC-RMZ-1: Riparian areas and wetlands are healthy, fully functioning ecosystems that are
  resilient and able to withstand natural and human disturbances that include flood, fire, drought,
  changes in frequency and timing of weather events, recreation, and herbivory. Aquatic
  ecosystems, riparian ecosystems, and watersheds exhibit high ecological integrity. The
  vegetation consists of desirable native species and age classes and meets the needs of resident
  amphibians, fish, and migratory birds. Populations of riparian vegetation are diverse, vigorous,
  and self-perpetuating. Invasive species, including plants and animals, in riparian and wetland
  ecosystems are rare. There is sufficient vegetative cover to provide bank stability, trap and retain
  sediment, regulate temperature, and contribute to floodplain function. Riparian ecosystem
  composition, structure, and function can generally be restored and enhanced by beaver habitat.
  (Forestwide)
  DC-RMZ-2: Hydrologic regimes of riparian and wetland ecosystems contribute to appropriate
  channel and floodplain development, maintenance, and function. (Forestwide)

  Objectives
  OBJ-RMZ-1: Restore at least 300 acres of riparian or wetland areas over the next 15 years.
  (Forestwide)

  Standards
  S-RMZ-1: Management activities may have short-term impacts (generally less than 5 years) to
  composition, function, and structure of riparian areas and fish habitat. Over the long term
  (generally greater than 20 years), projects shall not impair connectivity, composition, function,
  and structure. (Forestwide)

  Guidelines
  G-RMZ-1: To maintain ecological integrity and connectivity, new system roads and
  infrastructure should not be constructed in the riparian management zone. (Forestwide)
  G-RMZ-2: To provide for the structural nesting habitat requirements for riparian-associated
  birds, design management activities to avoid healthy willow carrs. (Forestwide)

  Watershed (WA)
  Healthy, properly functioning watersheds are essential to forest health, water quality, water
  quantity, and a host of other functions and services. Watershed-specific direction contains both
  national and regional guidance as required by the 2012 Planning Rule (36 CFR 2190). Additional
  higher-level guidance is incorporated and followed to protect watersheds and their associated
  functions and services.
  Watersheds occur at multiple scales and range from the largest river basins that cover thousands
  of acres, such as the Rio Grande, to small streams with only a few acres of contributing area.
  Watersheds that are functioning properly have terrestrial, riparian, and aquatic ecosystems that
  capture, store, and release water, sediment, wood, and nutrients within their range of natural
  variability for these processes.




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  Many attributes define the condition, or health, of a watershed. These include, but are not limited
  to, physical and biological characteristics such as the timing and quantity of water flows, water
  quality, the amount of erosion and sedimentation, the stability of streambanks, stream channel
  dimensions such as width and depth, the condition of riparian vegetation, and the presence of
  native or desired nonnative aquatic species. The attributes that reflect the state of a watershed
  condition are continually changing because of natural disturbances (e.g., disease, floods, insect
  landslides, and wildfire), natural variability of ecological processes (e.g., flows and cycles of
  energy, nutrients, and water), climate variability, and human modifications.
  The watershed condition policy goal of the Forest Service is “to protect National Forest System
  watersheds by implementing practices designed to maintain or improve watershed condition,
  which is the foundation for sustaining ecosystems and the production of renewable natural
  resources, values, and benefits” (FSM 2520). The forest plan components listed below are
  designed to assist land managers in maintaining or improving watershed condition by focusing
  on the key physical and biological attributes and processes of watershed condition that will allow
  watersheds to be resilient in the face of both natural and human disturbances.

  Desired Conditions
  DC-WA-1: Physical channel characteristics are in dynamic equilibrium and are commensurate
  with the natural ranges of discharge and sediment load provided to a stream. Streams have the
  most probable form and the expected native riparian vegetation composition within the valley
  landforms that they occupy; they function correctly without management intervention.
  Historically disturbed and degraded stream channels recover through floodplain development
  and establishment of riparian vegetation, and demonstrate stable channel geomorphic
  characteristics. Beaver reintroduction, and the persistence of beaver habitat, can contribute to
  channel recovery and floodplain function. Upland areas function properly and do not contribute
  to stream-channel degradation. Roads, trails, and impervious surfaces minimally affect
  hydrologic processes within watersheds. The sediment regime within water bodies is within the
  natural range of variation. Elements of the sediment regime include the timing, volume, rate, and
  character of sediment input, storage, and transport. (Forestwide)
  DC-WA-2: Within the constraints of existing water rights decrees, the timing and magnitude of
  flood events is within the natural range of variation. Floodplains are accessible to water flow and
  sediment deposits. Overbank floods allow floodplain development and support healthy riparian
  and aquatic habitats. Floods also allow the propagation of flood-associated riparian plant and
  animal species. (Forestwide)
  DC-WA-3: State water quality standards are met, and State-classified water uses are supported
  for all federal water bodies. Water quality for those water bodies listed as impaired on the State
  of Colorado 303(d) list move toward fully supporting State-classified uses. (Forestwide)
  DC-WA-4: Aquifers maintain natural conditions of recharge, discharge, and groundwater quality,
  especially where they are important to surface features dependent on groundwater for their
  existence (including but not limited to caves, springs, seeps, lakes, riparian areas, wetland
  ecosystems, fens, and intermittent and perennial streams). (Forestwide)
  DC-WA-5: Watersheds provide clean, safe water suitable for public consumption after adequate
  and appropriate water treatment. (Forestwide)



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  Objectives
  OBJ-WA-1: Improve condition class on at least one identified priority watershed, as defined by
  the national Watershed Condition Framework within 5 years of the date on the forest plan
  decision. (Forestwide)
  OBJ-WA-2: Quantify minimum instream flows at new quantification points for stream reaches
  impacted by federal land acquisitions over the next 5 years. (Forestwide)

  Standards
  S-WA-1: Incorporate direction included in the National Core Best Management Practices
  (FS 990A) and Watershed Conservation Practices Handbook (FSH 2509.25), to develop project­
  specific best management practice prescriptions in project plans. (Forestwide)

  Guidelines
  G-WA-1: Maintain or restore water quality by assuring that activities meet State of Colorado
  water quality standards. Management activities in watersheds where State of Colorado 303(d)
  listed impaired water bodies exist should assist in achieving State water quality standards.
  (Forestwide)
  G-WA-2: Management actions should not cause long-term degradation to water resources,
  including lakes, streams, wetlands, and groundwater. Particular attention should be paid to public
  water supplies, sole source aquifers, and source water protection areas. (Forestwide)

  Goal 3
  Actively contribute to social and economic sustainability in the broader
  landscape and connect citizens to the land

  Air Quality (AIR)
  The Clean Air Act and subsequent amendments require Federal land managers to protect air
  quality related values in Class 1 areas and to protect human health and basic resource values in
  all areas. The La Garita, Weminuche, and nearby Great Sand Dunes Wilderness areas are
  classified as Class 1 areas where very little deterioration of air quality is allowed. Virtually all
  land management activities on the Forest occur outside the non-attainment boundaries. The
  greatest potential to affect air quality would be from smoke (wildfires, prescribed fires) and road
  dust.

  Desired Conditions
  DC-AIR-1: Air quality related values over Class 1 and Class II wilderness areas meet or exceed
  state standards. (Forestwide)

  Guidelines
  G-AIR-1: To protect water quality, oils and solvents should not be used for dust abatement
  measures. (Forestwide)




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  Areas of Tribal Importance (ATI)
  The San Luis Valley and the surrounding mountains are the ancestral homelands of several
  American Indian clans, bands, and tribes. Despite their removal by the U.S. Government in the
  late 1800s, several tribes maintain strong cultural and spiritual connections to the area. These
  include the Jicarilla Apache, Navajo, Southern Ute, and Ute Mountain Ute Tribes, as well as
  several Upper Rio Grande and Western Pueblos. Ceremonial and culturally important sites and
  traditional gathering areas exist on the Forest. Tribes affiliated with the area exhibit a continuing
  interest in the homeland-related traditions of their people and look to the Forest to aid in the
  maintenance and re-establishment of cultural connections to ancestral landscapes.
  Policy development and methods of consulting with tribes has evolved since the last forest plan
  was completed 20 years ago. Though not repeated here, the legal framework of Federal policy,
  case law, and Executive orders provides guidance and establishes standards for tribal authorities
  and uses of national forests as well as creates pathways to greater collaboration and connection
  between the Forest and the tribes at all management levels of the Forest Service.

  Management Approaches
  Principal strategies and program priorities to protect areas of tribal importance and spiritual
  connections to the area
  The Forest develops interpretive and educational exhibits and other media focusing on the
  history of forest lands in collaboration with tribes. This provides a greater understanding and
  appreciation of shared history, culture, and traditions.
  The Forest maintains meaningful relationships with tribes that are built on trust and works with
  tribes in developing interpretive and educational materials to aid in protecting areas of tribal
  importance.
  The Forest partners with interested tribes in determining the eligibility of Mount Blanca as a
  traditional cultural property for the National Register of Historic Places.
  The Forest develops a management plan to assist in maintaining cultural values, involving staff
  from the Bureau of Land Management San Luis Valley Field Office, Pike-San Isabel National
  Forest, interested tribes, U.S. Fish and Wildlife Service Sangre de Cristo Conservation Area, and
  other non-Federal partners.
  The Forest accommodates and facilitates traditional use of areas acknowledged as traditional
  cultural properties and other culturally important places that are essential to maintaining the
  continuing cultural identity of associated communities.
  In coordination with tribes, the Forest develops collaborative proposals and partnerships to
  implement projects of mutual benefit and economic development, or both, using federally
  authorized or advocated programs where available.
  The Forest consults with tribes at initial planning stages and during project design. Appropriate
  tribal perspectives, needs, and concerns, as well as traditional knowledge, are incorporated into
  project design and decisions, such as areas acknowledged as traditional cultural properties.
  Confidential and sensitive information, or both, regarding sacred sites is held in the strictest
  confidence.



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  Desired Conditions
  DC-ATI-1: Acknowledged traditional cultural properties are present for their cultural importance
  and are generally free of impacts from other uses. (Forestwide)
  DC-ATI-2: Access for tribal members is provided for the exercise of treaty rights and to allow
  opportunities to practice traditional, cultural, educational, and religious activities. (Forestwide)
  DC-ATI-3: Traditionally used resources are managed sustainably and are available for future
  generations. (Forestwide)

  Guidelines
  G-ATI-1: To protect areas of tribal importance, such as areas acknowledged as traditional
  cultural properties, minimize restoration and recreation activities and uses, as well as the
  development of new facilities and infrastructure, near these areas. (Forestwide)
  G-ATI-2: Purposeful excavation, photography, and destructive analysis of human remains, or
  any one of these, for educational purposes will be considered only by consulting tribes.

  Congressionally Designated Trails (CDT)
  Direction included in this section applies to the management of two congressionally designated
  trails on the Forest: the Continental Divide National Scenic Trail and the Old Spanish National
  Historic Trail, which were designated by Congress in 1978 and 2002, respectively.
  The National Trails System Act of 1968 authorized creation of a national trail system consisting
  of national scenic, historic, and recreation trails. National scenic and national historic trails may
  be designated only by an act of Congress, while national recreation trails are administratively
  designated by the Secretary of the Interior and the Secretary of Agriculture. Both congressionally
  designated trails that traverse the Forest are managed with a one-half-mile-wide corridor on
  either side of the trail, which is displayed on maps. Both trails overlie multiple management
  areas as they traverse the Forest. Forestwide trail guidance applies to the trails as well as the
  direction associated with the underlying management area. The most restrictive direction (either
  management area or trail direction) is applied in cases of conflict.
  Both trails are depicted to include a 1-mile-wide trail corridor (one-half mile on either side). The
  trail corridor and associated direction ensures the conservation of the nationally significant
  scenic, historic, natural, and cultural resources of the congressionally designed trails. The
  delineation and direction maximize the intended recreation opportunities along the entire lengths
  of the trails and provide land area on both sides of the designated trails to safeguard the character
  and protect the trails across different land designations.
  The trail corridor encompasses the resources, qualities, values, associated settings, and many
  uses of the trails. The one-mile-wide corridor addresses the foreground views from the trails.
  While this area may have been removed from the suitable timber base, the corridor is not to be
  viewed as an area free from active management. Trees may be cut and removed, and trail work
  and other resource management activities may be accomplished. The work completed in the trail
  corridor will be compliant not only with the forestwide trail direction provided below, but also
  with the management area direction that applies to each trail segment. Particularly in areas where
  trail segments occur in areas of more active management, this provides a greater opportunity to



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  increase connection of citizens to the land through interpretation of management actions along
  the route.

  Continental Divide National Scenic Trail
  The 3,100-mile-long Continental Divide National Scenic Trail follows the backbone of the
  Rocky Mountains from Canada to Mexico. The trail traverses portions of 20 national forests, 4
  national parks, and 13 Bureau of Land Management districts, as well as various private lands in
  Colorado, Idaho, Montana, New Mexico, and Wyoming. About 170 miles of the trail is routed
  through the Rio Grande National Forest, from its northern boundary with the Gunnison National
  Forest, to the New Mexico state line.
  The Forest Service is the lead agency responsible for management of the Continental Divide
  National Scenic Trail. Management of the trail is consistent with the nature and purposes of the
  trail as described in the 2009 Continental Divide National Scenic Trail Comprehensive Plan, and
  any revisions.

  Management Approach
  Principal strategies and program priorities to manage the Continental Divide National Scenic
  Trail
  The Forest encourages trail partners and volunteers to assist in the planning, development,
  maintenance, and management of the trail, consistent with the Continental Divide National
  Scenic Trail Comprehensive Plan.
  The Forest evaluates proposed relocations or new segment locations using defined optimal
  location criteria.
  Opportunities to acquire lands or rights-of-way in or adjacent to the Continental Divide National
  Scenic Trail corridor will be identified and pursued as feasible.
  Consistent signage is provided along the Continental Divide National Scenic Trail at road and
  trail crossings to identify the trail. Interpretive signs are provided at key entry points and at
  historic and cultural sites to orient visitors and enhance their experience.
  During emergencies, incident management teams are made aware of the Continental Divide
  National Scenic Trail as a resource to be protected. Fire suppression rehabilitation and long-term
  recovery of the Continental Divide National Scenic Trail corridor are identified as high priorities
  for incident management teams, burned area emergency recovery teams, and post-fire
  rehabilitation interdisciplinary teams.




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  Figure 10. The Continental Divide National Scenic Trail at Stony Pass

  Over time, appropriate carrying capacities will be established for specific segments of the
  Continental Divide National Scenic Trail by monitoring use and conditions. Appropriate
  management actions are taken to maintain or restore the nature and purposes of the trail if the
  results of monitoring or other information indicate a trend away from the desired conditions.
  To provide for user safety and health, adequate trail facilities are provided that accommodate the
  amount and types of use anticipated on any given trail segment. Minimal facilities are provided
  to preserve or promote a setting that appears natural.

  Old Spanish National Historic Trail
  The Old Spanish National Historic Trail was designated in 2002. Pioneered by Antonio Armijo in
  1829, the Old Spanish Trail was a trade network with several routes that carried woolens and
  slaves between Santa Fe and Los Angeles in trade for horses in Mexico’s California territory. The
  congressionally designated East Fork of the North Branch of the Old Spanish National Historic
  Trail runs through the Forest, generally following the west flanks of the Sangre de Cristo
  Mountains before winding up Saguache Creek and into the Gunnison Basin. Inventory and
  research have identified the Bunker Site as an archaeological site along the trail within the
  Forest.
  The Old Spanish National Historic Trail Comprehensive Administrative Strategy (December
  2017) guides management of the trail across six states and a variety of ownerships. Trail
  management and activities will be coordinated across and adjacent to unit and jurisdictional
  boundaries.



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  Management Approach
  Principal strategies and program priorities to manage the Old Spanish National Historic Trail
  The Forest develops appropriate measures to protect high-potential sites and segments from
  deterioration due to natural forces, visitor use, vandalism, and other impacts.
  The Forest coordinates with trail administrators, recreation staff, volunteers, and trail organizers
  to plan for, develop, maintain, and manage high-potential sites, segments, and segments under
  study for the Old Spanish National Historic Trail.
  Prominent access points along the Old Spanish National Historic Trail are signed to enhance user
  experience and safety.
  Federally recognized tribes, appropriate Federal, State, and local agencies, and trail
  administrators are consulted regarding planning and development activities for the Old Spanish
  National Historic Trail.

  Desired Conditions
  DC-CDT-1: Viewsheds from the Continental Divide National Scenic Trail have high scenic
  values. The foreground of the trail appears natural. (Forestwide)
  DC-CDT-2: The Continental Divide National Scenic Trail is a well-defined trail that provides
  for high-quality primitive hiking and horseback riding opportunities and other compatible
  nonmotorized trail activities, as well as motorized vehicle use expressly allowed by
  administrative regulations at the time of trail designation [16 USC 1246(c)], in a highly scenic
  setting along the Continental Divide. The significant scenic, natural, historic, and cultural
  resources along the trail corridor are conserved. Where possible, the trail provides visitors with
  expansive views of the natural landscapes along the Continental Divide. (Forestwide)
  DC-CDT-3: The Continental Divide National Scenic Trail can be accessed from multiple
  locations, allowing visitors to select the type of terrain, scenery, and trail length (e.g., ranging
  from long distance to day use) that best accommodates their desired outdoor recreation
  experience(s). Wild and remote backcountry segments provide opportunities for solitude,
  immersion in natural landscapes, and primitive outdoor recreation. Easily accessible trail
  segments complement local community interests and needs and help contribute to a sense of
  place. (Forestwide)
  DC-CDT-4: The Continental Divide National Scenic Trail is well maintained, signed, and
  passable. Alternative routes are made available in the case of temporary closures resulting from
  natural events, such as fire or flood, or land management activities. (Forestwide)
  DC-CDT-5: The landscape of the North Branch of the Old Spanish National Historic Trail is
  managed to maintain its nature and purpose while providing educational opportunities,
  promoting stewardship, providing opportunities for heritage tourism, and protecting traditional
  cultural properties. (Forestwide)

  Objectives
  OBJ-CDT-1: Restore or relocate one segment of the Continental Divide National Scenic Trail to
  improve scenic viewing opportunities and/or to provide for a nonmotorized experience over the
  next 15 years. (Forestwide)


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  Standards
  S-CDT-l: Do not authorize development of oil and gas, geothermal energy, or other leasable
  mineral resources within the Continental Divide National Scenic and the Old Spanish National
  Historic Trail corridor. (Forestwide)
  S-CDT-2: Do not authorize common variety mineral extraction (e.g., limestone, gravel, pumice,
  etc.) or disposal within the congressionally designated trail corridors. (Forestwide)

  Guidelines
  G-CDT-1: Forest health projects that result in short-term impacts to the scenic integrity of the
  Continental Divide National Scenic Trail and its corridor should apply mitigation measures,
  including but not limited to screening. (Forestwide)
  G-CDT-2: To promote a naturally appearing setting along the Continental Divide National
  Scenic Trail, the development of any new roads and trails within or across the trail corridor
  should minimize impacts to the scenic, natural, and experiential values of the trail. Exceptions
  are allowed on a limited basis if new routes are (a) required by law to provide access to private
  lands, (b) necessary for emergency protection of life and property, (c) reconnecting routes that
  were disconnected through a reroute of the Continental Divide National Scenic Trail to a more
  desirable location that meets the congressional intent, such as moving the trail off of a road
  system to a route near or on the actual Continental Divide, or (d) determined to be the only
  prudent and feasible option as indicated in the project-level purpose and need.

  Suitability
  SUIT-CDT-1: The Continental Divide National Scenic Trail and corridor is not suitable for oil
  and gas or geothermal energy development or other leasable mineral activity.
  SUIT-CDT-2: The Continental Divide National Scenic Trail and corridor is not suitable for
  common variety mineral extraction, including but not limited to limestone, gravel, and pumice.

  Cultural Resources (CR)
  The Forest contains cultural resources that demonstrate human occupation and use for at least the
  last 12,000 years. American Indian, Hispanic, and Euro-American communities continue to use
  the Forest for economic, social, recreational, and religious purposes. These include long-term,
  rural, land-based communities that use the Forest for subsistence purposes. An understanding of
  cultural resources and historic uses is important to understanding shared heritage and the social,
  economic, and ecological sustainability of the planning area, the State of Colorado, the Rocky
  Mountain region, and the Nation as a whole.
  Currently, about 2,099 cultural resources have been documented, including prehistoric and
  historic remains. About 18 percent of the Forest has been inventoried for cultural resources to
  some degree. Resources within the Forest represent processes and events important to the
  identity and history of both tribal groups and long-term, land-based communities. Cultural
  resources can contain a wealth of information for potential scientific research regarding social
  and ecological conditions and changes through time, including human successes and failures in
  coping with these transformations over the past 12,000 years. This information is valuable to
  managers making decisions regarding contemporary and future ecological management and for
  educating the public about the complex ecological sustainability of the Forest.

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  Management Approaches
  Principal strategies and program priorities to manage cultural resources
  Sites are protected from activities including, but not limited to, vegetation treatment and
  prescribed fire. Protection can require attention to avoid "islanding" of sites, which can occur
  from simply avoiding areas to reduce impacts from erosion, severe fire effects, and livestock
  grazing.
  The Forest develops and maintains partnerships to assist in meeting targets, maintaining facilities
  and infrastructure, completing monitoring, developing resource specific plans, mapping habitat
  and use, and more. Partnerships are encouraged with traditional communities, surrounding
  communities and governments, nonprofit groups, volunteers, professional organizations, schools,
  and any other interested individuals and groups.
  In compliance with Section 110 of the National Historic Preservation Act, the Forest completes a
  non-project inventory annually. The following prioritization is applied:
  •    Areas where eligible cultural resources are threatened or where ongoing impacts are
       unknown and need to be assessed.
  •    Areas indicated to have high cultural value or high density of cultural resources.
  •    Areas of importance to traditional communities.
  •    Areas where additional survey will contribute to a greater regional understanding of a
       specific management unit or special interest area.
  The Forest develops and maintains collaborative partnerships and volunteer efforts to assist the
  agency in researching and managing cultural resources. Partnerships focus on traditional
  communities, nonprofits, volunteers, professional organizations, and schools.
  The Forest develops management and preservation plans for administrative facilities and
  infrastructure that are significant cultural resources with special significance, or are sites that
  receive frequent visitor use.
  Areas that are acknowledged as traditional cultural properties or cultural landscapes, and other
  culturally significant areas identified by local communities, provide tangible links to historically
  rooted beliefs, customs, and practices. These resources are protected through consultation,
  traditional cultural practices, consulting parties, and project design.
  Cultural resources are integrated into all resource management decisions and align with the
  affirmative management, including protection, of significant cultural resources.
  The Forest develops a database of fire-sensitive sites, structures, and other resources to facilitate
  resource protection during fire management.
  The Forest provides opportunities for responsible officials and employees in the agency to
  receive training to gain a broader understanding of the unique legal relationship between the
  Federal Government and Indian tribes, and to learn about American Indian law, customs,
  traditions, and values.
  The Forest continues to identify and map populations of Ligusticum porteri. Following mapping,
  the Forest will consider setting aside collection areas for tribal use and rotating the use of these



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  areas over time. Consultation will assist in identifying other plants that are important to tribes.
  See also Vegetation Management section.
  The Forest continues to work with tribes to understand community needs and build respectful,
  collaborative relationships to achieve mutually desired conditions.
  Operation and maintenance plans for special use permits, including recreation residences eligible
  for inclusion on the National Register of Historic Places, include stipulations to ensure
  preservation of the historic characteristics of the site.

  Desired Conditions
  DC-CR-1: Interpretation and management of cultural resources connects the public to the past,
  to the land and its history. The Forest strives to identify, preserve, and protect cultural resources
  that have scientific, cultural, or social values, including areas acknowledged as traditional
  cultural properties and historic agency administrative buildings. Cultural and natural resources
  and historic uses that help sustain cultural communities and contribute to social and economic
  sustainability are preserved and maintained. Long-standing, land-based rural communities that
  have depended on the Forest are recognized and valued. Cultural resources are protected from
  natural forces, excessive visitor use, vandalism, and other impacts.

  Standards
  S-CR-1: Include applicable provisions in contracts, agreements, and special use permits as
  needed to protect cultural resources. (Forestwide)

  Guidelines
  G-CR-1: Preserve cultural artifacts in place, or curate when necessary. (Forestwide)

  Infrastructure (INFR)
  Access is necessary to provide a variety of uses and experiences. Structures are also necessary
  for the operation and management of the Forest as well as for public safety. The developed
  infrastructure within the Forest includes bridges, roads, trails, utility corridors, dams, and
  buildings for administrative, recreational, or special use purposes. An existing road system
  provides access to the recreating public as well as purchasers of forest products, owners of
  private land, contractors, and researchers, among others. Utility corridors (transmission lines)
  provide power and telecommunications access, as well as public safety. Maintained facilities
  include rental cabins, developed recreation sites, historic sites, and administrative sites.

  Management Approaches
  Principal strategies and program priorities to manage infrastructure
  Manage the Forest transportation system to reduce resource damage and address public safety.
  Facilities acquired through land donation, exchange, or purchase are not retained unless they
  serve a definitive purpose and funding is available for maintenance, or they are historically
  significant.
  Facilities are managed in compliance with the facilities master plan.



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  Closed or restricted use roads are available for administrative purposes upon approval by the
  responsible official. These roads are not displayed on the Forest Motor Vehicle Use Map.
  Designated roads, as displayed on the Forest Motor Vehicle Use Map, and newly constructed
  roads, are open to motorized vehicle use unless a document decision shows that:
  •    Motorized use conflicts with forest plan objectives,
  •    Motorized use is incompatible with the recreation opportunity spectrum class,
  •    Roads and trails will not be managed as open to public motorized use,
  •    Motorized use creates use conflicts that result in unsafe conditions unrelated to weather
       conditions,
  •    Physical characteristics of roads and trails are hazardous for motorized use,
  •    Roads and trails do not serve an existing or identified public need, or
  •    Financing is not available for maintenance necessary to protect resources.
  Motorized use is restricted on all areas that are not designated for motorized use on the Forest
  Motor Vehicle Use Map. Forest orders may also be used to close areas for various reasons.
  Over-the-snow motorized vehicle use is allowed unless specifically restricted.
  The impact of potential alterations in timing, magnitude, and duration of seasonal runoff is
  considered on infrastructure design and construction. Considerations include evaluations of
  climate change vulnerability assessment for infrastructure, including recreational infrastructure.
  Road use is managed with seasonal closures if:
  •    Use is causing unacceptable damage to soil and water resources due to weather or seasonal
       conditions,
  •    Use is causing unacceptable wildlife conflicts or habitat degradation,
  •    Use is resulting in unsafe conditions due to weather conditions,
  •    The road(s) serve a seasonal public or administrative need, or
  •    The area accessed has a seasonal need for protection.
  New trails are developed to expand recreation opportunities, ensure user safety, and disperse
  existing use. Trail construction is consistent with other resource objectives.
  The travel management process is followed during project-level design and analysis to move
  toward a sustainable Forest road system.

  Desired Conditions
  DC-INFR-1: The transportation system is commensurate with resource management needs,
  public safety, emergency access, and public access to use and enjoy the Forest. Road restrictions
  occur for resource management activities that protect, maintain, and enhance habitat, soil, and
  water objectives, among other values. (Forestwide)




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  Guidelines
  G-INFR-1: To blend with natural surroundings, construct or restore structures to blend with the
  natural surroundings wherever feasible and practicable. (Forestwide)

  Lands (LAND)
  The three primary functions of the Forest lands program are land survey and boundary
  management, land adjustments, and special uses, for both recreation and non-recreation.
  Boundary management ensures that the Forest secures and protects the rights, title, values, and
  interests of the American public on National Forest System lands. This includes the management
  of boundary lines within the Forest that border state, private, and other Federal agency lands, as
  well as secured rights-of-way for access to the Forest.

  Management Approaches
  Principal strategies and program priorities to manage the Forest lands program
  Land adjustments consolidate and improve management efficiency through real estate
  transactions including sales, purchases, exchanges, conveyances, and rights-of-way within and
  outside the proclaimed Forest boundary. Lands can be transferred to the Forest Service through
  purchase, exchange, or gifting to the agency. Regardless of the transfer method, the Forest
  Service can only acquire land from willing parties that meet the criteria. The types of land the
  agency prefers to acquire include:
  •   Lands within congressionally designated areas,
  •   Lands with water frontage, wetlands, and associated riparian ecosystems,
  •   Lands with habitat for endangered or threatened species,
  •   Lands with unique historical or cultural resources,
  •   Lands primarily of value for outdoor recreation purposes and lands needed for aesthetic
      protection,
  •   Key tracts that promote effective resource management,
  •   Lands that consolidate ownership and reduce miles of property lines and corners to be
      maintained, and
  •   Lands that maintain or stabilize economies of local governments.
  Manage special uses in a manner that protects natural resources, public health, and safety, and is
  consistent with management plans for National Forest System lands. Special uses are
  administered on the basis of sound resource management objectives and business principles.
  Existing and designated rights-of-way in the 1996 Land and Resource Management Plan are
  managed to maintain them for future construction and occupancy.
  Communication sites and utility lines are fully developed prior to authorization of new sites.
  New sites may be necessary to fill coverage gaps or meet public needs.
  Management activities in linear corridors should be consistent with direction for the management
  area the corridor passes through.



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  Land ownership patterns support land and resource goals and objectives, reduce future
  management costs, respond to community needs, protect critical resource areas, increase
  recreation opportunities, and improve legal access.
  The authorization and administration of special uses by individuals, companies, groups, and
  government entities protect natural resource values and public health and safety.

  Standards
  S-LAND-1: Bury electrical utility lines of 33 kilovolts or less, and telephone lines, unless scenic
  integrity objectives of the area can be met using an overhead line or burial is not technically
  feasible. (Forestwide)
  S-LAND-2: Do not authorize conflicting uses of activities in transportation and utility corridors.
  (Forestwide)

  Minerals (MIN)
  National Forest System lands are important storehouses of domestic minerals and energy
  resources. The search for and production of minerals and energy resources are authorized uses of
  National Forest System lands, except those lands formally withdrawn from mineral activities by
  acts of Congress or by executive authority. Mineral activities on National Forest System lands
  are facilitated in compliance with the national Mining and Mineral Policy Act and are consistent
  with the agency mission.
  Reference the Oil and Gas Stipulations Map contained on the external drive located at the back
  of this document.

  Management Approaches
  Principal strategies and program priorities to manage the minerals program
  The Forest administers minerals activities through a plan of operations, which includes permits
  as well as the reclamation and mitigation measures necessary to protect resources.
  The Abandoned Mine Lands Program addresses past mines that are no longer active. These lands
  can pose a hazard to the public, wildlife, and the environment. The program evaluates abandoned
  mines across the unit and the impacts of these. Mine closure decisions consider and assess needs
  related to other resources as well, such as wildlife. The program uses partners to evaluate and
  complete the process.
  Procedures assure protection of water quality and fish habitat. The list below addresses
  management of recreational dredging that occurs on the Forest.
       1. Limit use of the practice to outside of critical life-stage periods in streams that have Rio
          Grande cutthroat trout core conservation populations.
       2. The Forest geologist (or designated authority) will review the notice of intent prior to the
          commencement of activities.
       3. Where possible, retain existing instream and riparian vegetation and other features
          including but not limited to trees, bushes, shrubs, weeds, or tall grasses along
          streambanks, natural, large woody debris, and large boulders.



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     4. Operations should not change the stream channel to direct water flow into a streambank
        or cause bank erosion or destruction of the natural form or the stream channel.
     5. Whenever practical, prevent the release of silt, sediment, sediment-laden water, or any
        other deleterious substances into the watercourse.
      6. Keep equipment and machinery in good operating condition, power washed, and free of
         leaks, excess oil, and grease.
      7. Locate the point of discharge to the creek immediately downstream of the worksite to
         minimize disturbance to downstream populations and habitats.

  Guidelines
  G-MIN-1: Mining activities can be acknowledged when the activity does not cause substantial
  surface disturbance or unacceptable impacts to water quality or fish habitat. Aspects of operation
  will be contained in the notice of intent. A plan of operations will be required for any activities
  above the scope of a notice of intent. (Forestwide)

  Recreation Management (REC)
  Direction below applies to the recreation management program. The natural environment of the
  Forest offers settings for a wide range of high-quality recreation opportunities, including
  motorized and nonmotorized opportunities. The Forest provides a variety of summer and winter
  recreation opportunities that allow visitors to escape from urban environments and enjoy a range
  of experiences in a variety of rural to primitive settings. Outdoor recreation opportunities include
  hiking, biking, fishing, hunting, wildlife viewing, driving for pleasure, and the pursuit of spiritual
  values provided by the natural environment.

  Management Approaches
  Principal strategies and program priorities to manage recreation
  Relationships with partners, cooperators, and permittees are vital to the success of the recreation
  program, as are building, sustaining, and leveraging strategic relationships to sustain high-quality
  recreation settings and opportunities.
  Recreation development and travel routes are managed to be consistent with the recreation
  opportunity spectrum class designations.
  Available resources (e.g., time, budget, expertise) are strategically invested to support long-term
  recreation program goals. Developed recreation assets are aligned with projected facility
  budgets, partnership capabilities, and other re-investment strategies.
  Cooperators are encouraged to be involved in stewardship activities.




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  Figure 11. Backcountry skiers near Wolf Creek Pass

  Recreation special use permits are leveraged to accomplish recreation program goals and serve
  the public.
  Readily available off-site and on-site information about Forest recreation opportunities is
  available at fee campgrounds.
  When campground occupancy is less than 20 percent for at least one season, managers determine
  whether to close the campground, convert it to a dispersed site, or take other action.
  Trail development is coordinated with systems developed by municipalities, counties, states,
  other agencies, and partners to promote integration and connectivity. Loop trails are considered
  where feasible, particularly at low elevations.
  The Forest intends to consider using concessionaire operations when fees are charged at
  developed sites.
  When use exceeds the capacity of an area for a recreation opportunity spectrum class, the
  following actions will address the impacts or effects on the recreation setting: provide
  information to the public and restore the site, regulate use at the site, restrict the number of users,
  and close the site if necessary.

  Desired Conditions
  DC-REC-1: A variety of enduring recreation opportunities are available across a variety of
  settings that foster high-quality, year-round developed and dispersed experiences. Development
  of facilities and travel routes is consistent with the recreation opportunity spectrum class
  designations. Recreation facilities and programs incorporate universal design concepts and meet



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  current Federal accessibility guidelines unless doing so fundamentally alters the setting or
  character of the program. (Forestwide)
  DC-REC-2: Sites and facilities are designed to be long-lasting, require low maintenance, and
  incorporate “green” operations. The sites and facilities should also complement the natural
  setting. (Forestwide)

  Objectives
  OBJ-REC-1: Develop three trail connections between strategic community areas and National
  Forest System trails within 15 years. (Forestwide)

  Standards
  S-REC-1: Manage, rehabilitate, or close dispersed recreational use areas when:
  •   Use area condition reaches Frissell-Cole Class 4 or 5 (compromised natural environment), or
  •   Use conflicts substantially disrupt user experience, safety, or both, and closure is the only
      alternative (compromised human environment)
  S-REC-2: Dispersed camping is limited to 14 continuous days in any one location in any 30-day
  period. (Forestwide)

  Guidelines
  G-REC-1: To reduce use conflicts and resource damage, activities and projects should not be
  approved if they exceed the developed, appropriate threshold for the recreation opportunity
  spectrum capacity levels listed in Table 10. (Forestwide)
  G-REC-2: On lands that are snow-free, prohibit motorized and mechanized travel outside of
  designated travelways. Exemptions are only allowed by an order or permit signed by the Forest
  Supervisor or Regional Forester for administrative, emergency, law enforcement, or land
  management needs. (Forestwide)




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  Table 10. Recreation opportunity spectrum capacity levels
  [Capacity range is defined as follows: Very Low and Low apply to rock, mountain grass, and clearcuts 1 to 20 years
  old. Moderate applies to mountain grass, mature and pole-sized ponderosa pine, mature aspen, and shelterwood
  cuts 90 to 120 years old. Selection cut 1 to 20 years old and clearcuts 80 to 120 years old. High applies to mature
  and pole-sized spruce, pole-sized aspen, and clearcuts 20 to 80 years old; ROS, recreation opportunity spectrum;
  PAOT, persons at one time; M acres, 1,000 acres.]

       ROS Class/Capacity Range        Very Low             Low            Moderate            High
   Primitive
   Trail (PAOT/mile)                       0.5                1                2                3
   Area-wide (PAOT/M acres)                 1                2                 7                25
   Semi-primitive Nonmotorized
   Trail (PAOT/mile)                        2                3                 9                11
   Area-wide (PAOT/M acres)                 4                8                50                80
   Semi-primitive Motorized
   Trail (PAOT/mile)                        2                3                 9                11
   Area-wide (PAOT/M acres)                 4                8                10                40
   Roaded Natural
   Trail (PAOT/mile)                        2                3                 9                11
   Area-wide (PAOT/M acres)                40                80              1,200            2,500
   Rural
   Trail (PAOT/mile)                        2                3                 9                11
   Area-wide (PAOT/M acres)                500              800              5,000            7,500


  Scenery (SCNY)
  The Rio Grande National Forest provides a scenic backdrop and contributes to the identities of
  communities in and around the San Luis Valley. Managing scenic resources ensures quality
  sightseeing and recreation opportunities. Colorado tourism thrives on outdoor recreation and the
  beautiful scenery of the Rocky Mountains. The Scenic Integrity Objectives Map is contained on
  the external drive of maps located in the back of this document.

  Management Approaches
  Principal strategies and program priorities to manage scenery on the Forest
  The scenery management system provides a systematic approach for determining the relative
  value and importance of scenery on the Forest. Scenery management involves identifying scenic
  components, mapping these components, and assigning a value for aesthetics. Forest plan
  direction helps incorporate scenery as a part of ecosystems to determine trade-offs at the project
  level.
  Areas with low scenic integrity are rehabilitated to gain compliance with mapped scenic integrity
  levels.
  Forest Service constructs and maintains structures and building features consistent with the
  principles in the Built Environment Image Guide to complement the scenic character of the
  natural surroundings.


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  Management practices are designed to produce forest composition, structure, and patterns similar
  to those that would have occurred under natural disturbance regimes, where feasible.

  Desired Conditions
  DC-SCNY-1: Areas of high scenic quality are provided, especially in areas seen from roads and
  trails, developed recreation sites, administrative sites, and towns and cities near the Forest.
  (Forestwide)
  DC-SCNY-2: Vegetation treatments visually blend with existing scenic character. (Forestwide)
  DC-SCNY-3: The transition from Forest lands to adjacent lands with similar desired conditions
  does not exhibit abrupt changes in scenic quality. (Forestwide)

  Standards
  S-SCNY-1: Management activities are consistent with identified scenic integrity objectives.
  Short-term impacts, less than 5 years, that are inconsistent with the scenic integrity objectives
  may occur. Restoration activities designed to meet or exceed identified scenic integrity
  objectives should begin within 2 years of project completion (see the Scenic Integrity Objectives
  Map on the external drive of maps in the back of this document). (Forestwide)

  Guidelines
  G-SCNY-1: Design management activities to minimize impacts to valued scenic attributes and
  scenic character. Line, form, color, texture, size, shape, edge effect, and patterns of natural
  vegetation openings complement surrounding scenic character. (Forestwide)




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  Chapter 3. Management Area Specific Direction
  This chapter summarizes the physical, biological, social, and economic environments of the
  planning area and the effects of implementing each alternative on that environment.

  Management Areas (MA)
  Forest management provides direction for a mix of environments across the landscape. A forest
  plan divides National Forest System lands into areas with similar management emphasis and
  settings in much the same way that city zoning zones municipalities to permit or prohibit certain
  land uses.
  National Forest System lands within the Forest boundary have been divided into nine
  management areas, each with a different emphasis that is intended to direct management
  activities on that particular piece of land. Management area allocations are specific to the areas
  across the Forest with similar management needs and desired conditions.
  Management area categories are listed in Table 11 and the corresponding maps are contained on
  the external drive of maps located in the back of the document.

  Table 11. Management areas
   Management
                                                                                             Estimated
      Area                                Management Area Emphasis
                                                                                               Acres
     Number
        1         Designated Wilderness                                                       392,138
       1.1a       Recommended Wilderness                                                      40,052
        3         Roadless Areas                                                              519,798
       4.1       Special Designation: Special Interest Areas                                  26,939
       4.2       Special Designation: Research Natural Areas                                  23,861
       4.21      Special Designation: Scenic Byways and Railroads                             27,501
                 Special Designation: Eligible and Suitable Wild, Scenic, and Recreational
       4.34                                                                                   35,869
                 Rivers
       4.8       Special Designation: Ski-based Resorts                                        1,632
        5        General Forest and Rangeland                                                 837,269


  Overlapping Management Area Direction
  Overlapping management direction occurs when a special feature occurs within another
  management area; for example, when a research natural area occurs within a wilderness
  boundary. The direction related to wilderness is the most restrictive and is established by
  Congress. A research natural area that occurs within a wilderness area boundary is bound by all
  of the laws, regulations, policies, and forest plan direction that apply to wilderness as well as by
  direction related to the management of that individual research natural area.
  For Management Area 1.1 - Designated Wilderness, any management proposed in areas where
  other management areas overlap would be done in compliance with wilderness direction.
  Overlapping management areas are described below.



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  Approximately 11,482 acres of Management Area 4.2 - Special Designation: Research Natural
  Areas occur within the boundaries of designated wilderness. Regional foresters and station
  directors establish new research natural areas. These areas are used as a baseline for measuring
  ecological changes and as control areas for evaluation and monitoring. Research natural areas
  that overlap with designated wilderness include three areas in the Sangre de Cristo Mountains:
  the Mill Creek, Deadman Creek, and North Zapata Research Natural Areas. A portion of the Mill
  Creek Research Natural Area overlaps with recommended wilderness as well.
  An estimated 15,575 acres of designated wilderness is also managed as Management Area 4.34 -
  Special Designation: Eligible and Suitable Wild, Scenic, and Recreational Rivers. These areas
  would be managed to enhance or maintain the outstandingly remarkable features responsible for
  river designation while complying with wilderness practices and restrictions. Approximately
  161 acres of Management Area 4.34 overlap with Management Area 1.1a - Recommended
  Wilderness. Additionally, an estimated 483 acres of research natural area (Management Area
  4.34) overlap with special interest area (Management Area 4.1) and wilderness (Management
  Area 1). Management proposed on these acres would have to be in compliance with wilderness
  requirements if that area is carried forward in the analysis of wild, scenic, and recreational river
  direction and any direction for that specific special interest area.
  Approximately 7,313 acres of overlapping management area occurs with research natural areas
  (Management Area 4.2) and designated eligible and suitable wild, scenic, and recreational rivers
  (Management Area 4.34). Management activities that might occur in these areas would need to
  be in compliance with all management areas.
  Approximately 856 acres of recommended wilderness (Management Area 1.1a) overlap with
  Management Area 4.34 - Special Designation: Eligible and Suitable Wild, Scenic, and
  Recreational Rivers and Management Area 4.1 - Special Designation: Special Interest Areas.
  An estimated 2,947 acres of recommended wilderness (Management Area 1.1a) overlap with
  existing special interest areas (Management Area 4.1). Any activities or management proposed in
  this area would have to be done in compliance with wilderness practices and meet direction for
  that specific special interest area.
  Overlapping management areas also occur in Management Area 4.2 for research natural areas.
  As stated previously, the most restrictive management direction would apply when working in
  areas with overlapping direction. When this occurs, the most restrictive level of management
  would be the most constraining.
  Research natural areas also overlap with the acres designated as Colorado roadless areas. The
  5,018 acres overlap with roadless areas in the Finger Mesa Research Natural Area on the Divide
  Ranger District. If management were to occur on these acres, it would have to be compliant with
  both the direction for the research natural area and the roadless designation. Estimated acreage of
  management areas is listed in Table 11.




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  Figure 12. Rio Grande Pyramid in fall

  Management Area 1 - Wilderness

  Desired Conditions
  Wilderness is designated by Congress and managed in accordance with the Wilderness Act of
  1964. Management in these areas protects and perpetuates natural ecological processes and
  conditions. Natural ecological conditions in designated wilderness are not measurably affected
  by human use. Management of these area protects the overall wilderness character as described
  in the Wilderness Act. Approximately 23 percent of the Forest, 430,000 acres, is designated as
  wilderness. The La Garita, Sangre de Cristo, South San Juan, and Weminuche Wilderness areas
  all occur on the Rio Grande National Forest. All of these areas are jointly managed, and a lead
  forest is identified for each wilderness area. Each of the four wilderness areas has a specific
  wilderness plan to direct and guide management.
  Natural succession, influenced by natural processes and disturbances, occurs in all vegetation
  types. Structure, composition, function, and spatial distribution of vegetative types are the result
  of natural succession. Where no natural disturbance has occurred, vegetation is mostly in late-
  successional stages.
  Age and structure classes may vary where natural disturbance agents, such as fire or insects,
  have influenced the succession process. Plant species are native and indigenous to the immediate
  area. Populations of nonnative invasive plant species are limited, and ongoing management
  activities control existing populations and eradicate new species before they can become


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  established. Forage for wildlife, permitted livestock, and packstock is available in meadows and
  natural openings. Forage availability may be limited due to topography and short growing
  seasons. Human influences on vegetation is minimal. Timber harvest is prohibited, and this area
  is not included in the suitable timber base.
  Wildlife species are buffered from human influences. No nonnative animal species are
  introduced. Human influence on aquatic life and riparian areas and processes is minimal in most
  areas. The composition, structure, and function of aquatic ecosystems are minimally disturbed by
  human influence. Stocking is used as a tool to enhance threatened, endangered, and candidate
  species and to enhance recreational opportunities where stocking occurred prior to designation.
  Water impoundments, ditches, and diversions may be present in designated wilderness areas.
  Designated wilderness areas favor solitude; users are expected to be familiar with and use
  primitive skills in an environment that offers a high degree of risk and challenge. Success or
  failure is directly dependent on the ability, knowledge, and initiative of the visitor. Contact with
  other users or Forest Service personnel decreases with increasing distance from the entry portals.
  Near the entry portals, users may have contact with larger groups. Commercial permitting for
  day-use activities is allowed in high-use areas. Evidence of established campsites and base
  camps may be present. An element of discovery is maintained. The presence of interpretive
  signs, markers, and posts decreases with increasing distance from the entry portals, though cairns
  may be present. Near the entry portals, trails are marked at intersections to indicate routes.
  Evidence of cultural and historic sites may be present, and these sites may be signed and
  interpreted near entry points. Structures or facilities may be present but only as necessary for
  resource protection when less obtrusive measures were not successful in the past. Human
  influence on physical features, such as soil and geologic materials, is minimal. Outfitter-guides
  provide special use recreation services that fulfill identified public needs and support the
  recreational or wilderness purpose.
  Trails provide access for the primary mode of travel from entry portals. Trail systems favor user
  safety and comfort. Bridges may be present when needed for resource protection or user safety.
  The presence of constructed trails decreases with increasing distance from entry portals, and
  travel deep within wilderness is primarily cross-country with no established trails. User-created
  trails may exist but are not maintained or designated on maps or trail guides. Trails support
  wilderness experiences and preserve wilderness characteristics.
  Evidence of past mining activity may be present but is rare. Designated wilderness areas are
  withdrawn from locatable mineral entry and are legally unavailable for oil and gas leasing.
  Visibility is generally unimpaired. Smoke from wildfires may be visible. The scenic integrity
  ranges from very high to high, and the recreation opportunity spectrum class ranges from
  primitive to semi-primitive nonmotorized.
  Forestwide desired conditions applicable to wilderness are also contained in Chapter 2.

  Management Area Specific Management Approaches
  Existing trails are primitive and maintained to minimize resource damage. The following actions
  will be taken as needed:
  •   Reduce evidence of trails
  •   Eliminate duplicate routes

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  •    Remove trails from maps where repeated travel over the same route is to be discouraged.
  Signs are restricted to trail intersections. Bridges and other reminders of management control are
  generally limited to those needed for resource protection and user safety, and generally use
  native materials.
  Bridges are built for resource protection and user safety, not for user convenience, using native
  materials.
  Signage and other infrastructure is minimal and constructed of rustic, native, or natural­
  appearing materials.
  Eligible and listed historic structures are managed to be compatible with the wilderness setting.
  Campsites are maintained in Frissell-Cole Class 2 or 3.
  Fish stocking emphasizes a wild fishery, where species perpetuate themselves over time and are
  affected primarily by the forces of nature. Some high mountain lakes may be stocked to support
  indigenous threatened, endangered, and proposed species as well as species of conservation
  concern. Species of fish that are not indigenous to the area or that are exotic will not be stocked.
  Rockhounding activity must not exceed 50 pounds per person per day or interfere with existing
  rights, and specimens may only be collected for personal, noncommercial uses.
  Voice control or physical restraints are acceptable to prohibit pets from harassing wildlife or
  people.
  The Forest will consider the following to minimize human impacts in wilderness:
  •    Limit the number of private outfitter-guide camps
  •    Encourage the use of self-contained stoves or prohibit campfires
  •    Implement a permit system
  •    Implement party-size and pack-animal limitations
  •    Prohibit dogs or implement an on-leash requirement.
  Where appropriate, printed wilderness information is posted at trailheads outside of the
  wilderness boundary.
  Restoration activities (e.g., prescribed fire, active weed management) may be used in
  recommended wilderness areas to protect or enhance the wilderness characteristics.
  Significant historic structures can be considered as having cultural values and, when present,
  may be eligible for protection or restoration.

  Management Area Specific Standards
  S-MA 1-1: Protect and preserve wilderness values and character in congressionally designated
  wilderness, as well as in areas recommended for wilderness designation.
  S-MA 1-2: Activities permitted by special use permit within wilderness:
  •    Will involve minimal physical, visual, and noise disturbance
  •    Will not result in permanent structures, except for replacements or mandatory repairs to
       existing facilities previously authorized or allowed by statute

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  •   May exceed the group size limitation when the activity:
      ■ Will benefit the wilderness character
      ■ Is necessary for public health and human safety.
  S-MA 1-3: Group size may not exceed more than 15 people per group, with a maximum
  combination of people and stock not to exceed 25.
  S-MA 1-4: Unless justified by terrain, prohibit recreational livestock within 100 feet of lakes and
  streams.

  Management Area Specific Guidelines
  G-MA 1-1: Pristine management areas of a wilderness should not be changed to a lesser
  standard of naturalness in order to disperse recreation use from other parts of the wilderness.

  Management Area Specific Land Suitability
  SUIT-MA 1-1: Designated wilderness areas are not suitable for removal of salable mineral
  material including but not limited to sand, stone, and gravel.
  SUIT-MA 1-2: Wilderness areas are not included in the suitable timber base.
  SUIT-MA 1-3: Wilderness areas are not suitable for commercial use of non-timber forest
  products, including but not limited to firewood, posts, and boughs.
  SUIT-MA 1-4: Grazing is permitted.




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  Figure 13. Crestone Peak

  Management Area 1.1a - Recommended Wilderness
  These are areas that are recommended future inclusion in the National Wilderness Preservation
  System. The Forest Service only recommends these lands. Decisions to designate these lands as
  wilderness is made by the U.S. Congress. Congress, and ultimately the President, must establish
  legislation, through a wilderness bill, to officially designate a wilderness area.
  The specific areas being recommended include an estimated 40,052 acres located in the Sangre
  de Cristo range.

  Management Area Specific Desired Conditions
  Recommended wilderness areas preserve opportunities for inclusion in the National Wilderness
  Preservation System. The Forest maintains and protects the ecological and social characteristics
  that provide the basis for wilderness recommendations.


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  These areas are characterized by a natural environment where ecological process such as natural
  succession, wildfire, avalanches, insects, and disease function with limited human interaction.

  Management Area Specific Guidelines
  G-MA 1.1a-1: To maintain and protect wilderness characteristics, communications sites for
  public safety should be located outside of recommended wilderness areas unless no other
  alternative is available. Communications sites that need to be located in recommended
  wilderness should blend with the environment and be located away from system trails and
  developed use sites.
  G-MA 1.1a-2: To maintain and protect wilderness characteristics, new developed recreation
  facilities with provisions for user comfort, such as picnic tables, fire grills, and vault toilets,
  should not be installed.

  Management Area Specific Land Suitability Determinations
  SUIT-MA 1.1a-1: Recommended wilderness areas are not suitable for timber harvest.
  SUIT-MA 1.1a-2: Recommended wilderness areas are suitable for restoration activities where
  the outcomes will protect the wilderness characteristics of the area, as long as the ecological and
  social characteristics that provide the basis for wilderness recommendation are maintained and
  protected.
  SUIT-MA 1.1a-3: Recommended wilderness is not suitable for road construction or
  reconstruction.
  SUIT-MA 1.1a-4: Recommended wilderness areas are not suitable for removal of salable
  mineral materials, including but not limited to sand, gravel, and stone.
  SUIT-MA 1.1a-5: Mechanized transport and motorized use are not suitable in recommended
  wilderness.

  Management Area 3 - Colorado Roadless Areas
  Roadless areas emphasize protection of roadless area values and characteristics. The Colorado
  Roadless Rule was enacted on July 3, 2012. The Colorado Roadless Rule provided management
  direction to conserve 4.2 million acres of National Forest System lands statewide for roadless
  values, including approximately 519,798 acres in 53 areas of the Forest.
  The Colorado Roadless Rule is being wholly incorporated into forest plan direction. The areas
  designated in the Colorado Roadless Rule are contained in Table 12.




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  Table 12. Roadless areas in the Forest established by the 2012 Colorado Roadless Rule
                                           Includes                                        Includes
               Roadless Area Name         Upper Tier             Roadless Area Name       Upper Tier
                                            Acres                                           Acres
   Alamosa River                             Yes        Lake Fork                            Yes
   Antora Meadows-Bear Creek                 Yes        Lower East Bellows                   Yes
   Beartown                                  Yes        Middle Alder                         Yes
   Beaver Mountain                           Yes        Miller Creek                          No
   Bennett Mountain-Blowout-Willow
                                             Yes        Pole Creek                            No
   Creek-Lion Point-Greenie Mountain
   Big Buck-Kitty-Ruby                       Yes        Pole Mountain-Finger Mesa            Yes
   Box-Road Canyon                           Yes        Red Mountain                         Yes
   Bristol Head                              Yes        Ruby Lake                            Yes
   Butterfly                                  No        Sawlog                               Yes
   Chama Basin                               Yes        Sheep Mountain                       Yes
   Conejos River-Lake Fork                    No        Silver Lakes-Stunner                 Yes
   Copper Mountain-Sulphur                   Yes        Snowshoe Mountain                    Yes
   Cotton Creek                               No        Spectacle Lake                        No
   Crestone                                   No        Spruce Hole-Sheep Creek              Yes
   Cumbres                                   Yes        Stunner Pass-Dolores Canyon          Yes
   Deep Creek-Boot Mountain                  Yes        Sulphur Tunnel                        No
   Dorsey Creek                              Yes        Summit Peak-Elwood Pass              Yes
   Elkhorn Peak                              Yes        Taylor Canyon                        Yes
   Fourmile Creek                            Yes        Tewksberry                           Yes
   Fox Creek                                 Yes        Tobacco Lakes                        Yes
   Fox Mountain                              Yes        Trout Mountain-Elk Mountain          Yes
   Gibbs Creek                                No        Ute Pass                             Yes
   Gold Creek-Cascade Creek                  Yes        Wason Park                           Yes
   Hot Springs                                No        Wightman Fork-Upper Burro            Yes
   Indiana Ridge                             Yes        Wightman Fork-Lookout                Yes
   Kitty Creek                                No        Willow Mountain                      Yes
   La Garita                                 Yes


  The intent stated in the Colorado Roadless Rule “is to protect roadless values by restricting tree
  cutting, sale, and removal; road construction and reconstruction; and linear construction zones
  within Colorado Roadless Areas, with narrowly focused exceptions.” (Federal Register, vol. 77,
  no. 128, Tuesday July 3, 2012, pp. 39602-39612). Colorado roadless areas are included in
  Management Area 3 - Roadless. A detailed description of this management area and the
  accompanying direction is available in the 2012 Colorado Roadless Rule (36 CFR Part 294).
  Motorized and mechanized use can occur in these areas.

  Desired Conditions
  Colorado roadless areas are generally undeveloped parts of the Forest that provide a variety of
  settings at different elevations. They are managed to protect roadless characteristics and to

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  maintain plant and animal habitats that are shaped primarily through natural processes. These
  areas provide backcountry recreational experiences to the public in areas with less evidence of
  human activities.
  Landscapes in these areas are predominantly natural appearing and relatively undisturbed by
  humans. Natural processes within the context of the range of natural variability (insects, disease,
  and fire) are generally allowed to occur with minimal human intervention.
  The probability of experiencing solitude in these areas is high. Frequent opportunities for
  challenge and risk require a degree of self-reliance. Facilities are minimal and exist primarily for
  site protection. Recreational improvements, such as signs, may be present. Trailheads offer
  information and directional signage.
  Trails provide access for a wide range of challenging recreational opportunities including
  horseback riding, mountain bike riding, and motorized travel on designated routes. Hunting and
  fishing opportunities are available for those seeking a more remote experience.
  The number of miles of motorized and nonmotorized trails will not substantially change over the
  planning period. Activities meet the assigned recreation opportunity spectrum class and scenic
  integrity objectives.

  Management Area Specific Standards
  S-MA3-1: The Colorado Roadless Rule direction at 36 CFR 294 Subpart D will be followed.

  Management Area Specific Land Suitability Determinations
  SUIT-MA3-1: Areas designated as Colorado roadless upper tier are available for oil and gas
  leasing with no surface occupancy.

  Management Area 4 - Special Designations
  Management Area 4 emphasizes recreation and scenery. The five divisions represent areas that
  are designated for specific reasons that can include research; unique special areas; scenery; wild,
  scenic, and recreational rivers; and ski resorts.
  Features in these areas are often interpreted to increase public knowledge of the areas and the
  features that are present there as well as to connect people with the land and the natural
  environment.
  Some areas are included in the suitable timber base and are available for commercial timber
  harvest.

  Management Area 4.1 - Special Designation - Special Interest Areas

  Desired Conditions
  Special interest areas (Table 13) favor the protection or enhancement of unique characteristics
  that occur across the Forest. Special interest areas typically contain unique botanical, geologic,
  historical, scenic, or cultural areas and values. Education and interpretation of the characteristics
  for which the area was designated are encouraged and are accomplished in consultation with
  partners, private citizens, tribes, and other agencies.



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  Management Area Specific Management Approaches
  Facilities are designed to meet management objectives.
  Vegetation treatment may be used to maintain or enhance special or unique values of the area.
  Special use permits are appropriate for scientific or educational activities that are compatible
  with the values for which the area was created.
  Management plans explain and protect the values for which the area was created.
  Over-snow motorized travel is suitable in only three special interest areas, specifically the
  Bachelor Loop, Elephant Rocks, and Wagon Wheel Gap Experimental Station, and may be
  subject to timing restrictions to protect deer and elk winter range.

  Table 13. Special interest areas in Management Area 4.1
                                                                                                              Estimated
         Area Name                               Special Character and Features
                                                                                                                Acres
        Blowout Pass      This special interest area was designated because of geologic and scenic              1,260
       Special Interest   values This is an area of hydrothermally altered volcanic rock displays, with
            Area          vivid red, orange, and yellow soils in a rugged, highly eroded setting.
                          Elevation ranges from 10,000 to 12,124 feet, slopes are generally steep (30 to
                          80 percent).
                          Forested areas are Engelmann spruce, sub-alpine fir, and bristlecone pine.
                          This special interest area forms the headwaters of Jasper Creek and Burnt
                          Creek, which are naturally polluted by sulfates and free sulfuric acid present in
                          great abundance in the altered rock. Grasses and forbs are limited on open
                          slopes because of soil composition and erosion.
       Liberty/Duncan     The historic town sites of Duncan and Liberty and the associated mining               3,910
                          development represent one of the most intact historical sites within Colorado
                          and the Nation. Intermixed with these historic sites are prehistoric sites, which
                          are advancing the understanding of prehistoric use and habitation in the area.
                          This special interest area emphasizes the management and protection of the
                          historic and cultural values of this area over other uses.
        Chama Basin                                                                                             270
         Landslide
        Geologic Area
       Fremont Historic   The area includes several identified sites where members John Charles                 8,422
           Area           Fremont’s fourth expedition camped and traveled while snowbound in the La
                          Garita Mountains in 1848 and 1849. The area is generally above timberline.
                          The area has high recreational value due to the historic nature of the sites.
                          Books and guides about the expedition have been published, and a guide to
                          orienteering has been written for public use. Vehicle access is via Forest
                          Road 620, while Forest Trail 787 provides access to a well.
   Wagon Wheel Gap        This historic area presents evidence of the first watershed experiment                1,585
   Experiment Station     conducted in the United States, which dates from 1909 to 1926. Historic
                          features include the remains the experiment station headquarters, stream
                          houses where scientific measurements were taken, weirs, dumps, roads, and
                          a grave. Two watersheds were included.
       Elephant Rock      This area was designated for botanic and geologic values. Volcanic                    7,017
       Botanical Area     formations occur here from the Summer Coon volcano. It is habitat for the
                          rock-loving species Neoparrya lithophilia. Adjacent Bureau of Management
                          lands are designated as an Area of Critical Environmental Concern based on
                          unique geologic, scenic, and visual resources, and plants with special status.




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                                                                                                        Estimated
      Area Name                             Special Character and Features
                                                                                                          Acres
     Bachelor Loop    This area surrounds the Bachelor Loop, an interpretive auto tour, immediately       4,475
      Historic Area   north of Creede, Colorado. The landscape includes historic structures,
                      townsites, and views of the historic town of Creede. This special interest area
                      is on the steep slopes above Willow and Eat Willow Creek. The area near
                      lower Windy Gulch, which is not as steep, consists of open grass and forbs.


  Management Area Specific Guidelines
  G-MA4.1-1: Activities should meet the assigned recreation opportunity spectrum class and
  scenic integrity objectives.

  Management Area Specific Land Suitability
  SUIT-MA4.1-1: Grazing is permitted unless it is in conflict with the values for which that area
  was created.
  SUIT-MA4.1-2: These areas may be suitable for timber production.
  SUIT-MA4.1-3: These areas are available for oil and gas leasing with no surface occupancy.

  Management Area 4.2 - Special Designation - Research Natural Areas

  Desired Conditions
  Research natural areas (Table 14) preserve representative areas with important forest, shrubland,
  grassland, alpine, aquatic, geologic, or other natural environments. They may have special or
  unique characteristics, or scientific importance. The management emphasis of these areas focuses
  on protecting or enhancing unique or exemplary ecosystems designated for non-manipulative
  research, monitoring, and education.
  Research natural areas contribute to the preservation and maintenance of key elements of
  biological diversity at the genetic, species, population, community, and landscape levels. These
  areas are intended as baseline areas for measuring ecological changes, and as control areas for
  evaluation and monitoring.

  Management Area Specific Management Approaches
  Low impact uses such as camping, fishing, horseback riding, and hunting can occur unless
  otherwise restricted. Increases in recreation use that would threaten or interfere with the
  objectives or purposes for which a research natural area was established should be restricted.
  Trails created prior to establishing the area can continue to be used for recreation and scientific
  research or educational access, unless values for establishment of the area are threatened. No
  new trail construction should occur unless needed to correct resource damage from existing
  trails.
  Outbreaks of native insects and diseases should proceed without intervention unless they are a
  substantial threat to important resources outside of the research natural areas. Control methods
  for insect and disease outbreaks that minimize disturbance are used.
  Habitat manipulation may occur for the protection of threatened, endangered, and proposed
  species, or in locations where it is necessary to perpetuate or restore natural conditions.


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  Special uses that do not conflict with the values for which the research natural area was
  established may continue. Proposals for non-manipulative research should be approved by the
  station director and the district ranger before implementation.
  Comprehensive management plans should be developed in coordination with Forest Service
  Research personnel.
  Where feasible, undesirable nonnative plant and animal species should be managed.

  Table 14: Research natural areas in Management Area 4.2
       Area Name      Acres           Vegetation Zone              Mountain Range
   Mill Creek         2,555    Foothills, Montane, and Subalpine   Sangre de Cristo
   North Zapata       6,114    Montane, Subalpine, and Alpine      Sangre de Cristo
   Deadman Creek      4,777    Montane, Subalpine, and Alpine      Sangre de Cristo
   Spring Branch      4,053    Foothills and Montane               San Juan
   Hot Creek          1,773    Montane                             San Juan
   Finger Mesa        3,406    Alpine and Subalpine                San Juan
        Total acres   22,678

  Management Area Specific Standards
  S-MA4.2-1: Prohibit motorized and mechanized use, except when necessary for research or
  educational access.

  Management Area Specific Guidelines
  G-MA4.2-1: Activities should meet the assigned recreation opportunity spectrum class and
  scenic integrity objectives.

  Management Area Specific Land Suitability
  SUIT-MA4.2-1: Livestock grazing is permitted when it is not in direct conflict with the resource
  values that prompted establishment of the area. Permitted livestock grazing is allowed in the Hot
  Creek Research Natural Area. This area is part of the Hot Creek Allotment, which is under a
  valid grazing permit. The current permittees have agreed to avoid grazing the area inside of the
  boundary of the Hot Creek Research Natural Area.
  SUIT-MA4.2-2: Recreational livestock grazing is permitted unless it threatens the values for
  which the area was established.
  SUIT-MA4.2-3: These areas are not suitable for timber production.
  SUIT-MA4.2-4: These areas are available for oil and gas leasing with no surface occupancy.




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  Figure 14. All-terrain vehicle riders near Lookout Mountain on the Conejos Peak Ranger
  District

  Management Area 4.21 - Special Designation - Scenic Byways and Scenic
  Railroads

  Desired Conditions
  These areas are managed to protect or preserve the scenic and recreation values and uses in
  designated scenic byways and scenic railroad corridors while concurrently managing the
  multiple-use values of the landscape. This management prescription applies to the Silver Thread
  and Los Caminos Antiguos Scenic Byways, and the Cumbres and Toltec Scenic Railroad and
  National Historic Landmark.
  Multiple-use management activities such as commercial timber harvest, wildlife management,
  recreation activities, and mineral extraction are present but not dominant on the landscape.
  Features may be interpreted for the public. Facilities may be developed to enhance opportunities
  for viewing scenery and wildlife. Activities and interactions are managed to maintain the scenic
  beauty for which the area is designated.
  Opportunities for solitude are limited. Visitors can expect frequent contact with other visitors.
  Roads, recreation facilities, range improvements, and other developments are evident but are
  managed to be in harmony with the natural environment. Recreation facilities could include
  scenic overlooks, interpretive signs, and rest areas as appropriate. Developed campgrounds are
  situated off the main travelway. Trailheads are easily accessible, but also are situated off the main
  travelway.




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  Road systems are well signed, and roads are generally passable by passenger car. Motorized and
  nonmotorized activities, such as biking and horseback riding, are focused on the available trails
  and roads.
  Activities meet the assigned recreation opportunity spectrum classes and scenic integrity
  objectives.

  Management Area Specific Management Approaches
  Vegetation management maintains or enhances viewing opportunities.

  Management Area Specific Land Suitabiiity
  SUIT-MA4.21-1: These areas are suitable for timber production.
  SUIT-MA4.21-2: Grazing is permitted unless otherwise restricted.
  SUIT-MA4.21-3: These areas are available for oil and gas leasing with controlled surface use
  stipulations.

  Management Area 4.34 - Special Designation - Eligible and Suitable Wild, Scenic,
  and Recreational Rivers

  Desired Conditions
  Congress created the National Wild and Scenic Rivers System in 1968 (Public Law 90-542) to
  preserve selected rivers that have outstanding natural, cultural, and recreational values in a
  free-flowing condition for the enjoyment of present and future generations. The Wild and Scenic
  Rivers Act seeks to protect these rivers while at the same time acknowledging the benefits and
  necessity of appropriate developments within the river corridor. A detailed description of the
  application of the Wild and Scenic Rivers Act to the Forest is contained in appendix B.
  No river segments have been designated under the Wild and Scenic Rivers Act. The eligible and
  suitable river segments listed in Table 15, with the exception of Deadman Creek, were in the
  1996 forest plan. The outstandingly remarkable values identified in the 1996 forest plan remain
  applicable today. Segments of Medano and Little Medano Creeks have been removed from the
  inventory of eligible streams because they are now administered by the National Park Service
  (Great Sand Dunes National Park and Preserve Act of 2000).
  Management areas for eligible and suitable wild, scenic, and recreational river segments extend a
  minimum of one-quarter mile on either side of the mean high-water mark but may be larger to
  protect identified outstandingly remarkable values.
  Activities meet the assigned recreation opportunity spectrum class and scenic integrity
  objectives.
  Maps of all the rivers found to be eligible for recommendation are included on the external drive
  at the back of this document.
  Forest Service Handbook 1909.12, 2015-1, Chapter 80 prescribed the following desired
  conditions for all eligible or suitable river segments:




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  •   The outstandingly remarkable values that were identified for each eligible or suitable river
      segment are preserved or enhanced until the river segment is designated or released from
      consideration.
  •   The current free-flowing nature of all eligible or suitable river segments is preserved or
      enhanced until the river segment is designated or released from consideration.
  •   The water quality of all eligible or suitable river segments is preserved or enhanced until the
      river segment is designated or released from consideration.
  •   On all eligible or suitable river segments, the conditions that lead to classification as wild,
      scenic, or recreational are preserved or enhanced such that no segments are changed from
      wild to scenic or recreational, or from scenic to recreational.

  Management Area Specific Management Approaches
  A suitability analysis should be initiated when a proposed action threatens the free-flowing
  nature, outstandingly remarkable values, water quality, or scenic classification of an eligible or
  suitable river segment.
  The Forest will engage the local community on the status of eligible or suitable wild, scenic, and
  recreational river segments and include information on currently decreed federal reserved water
  rights in Colorado Water Division 3 (81CW183).

  Management Area Specific Standards
  S-MA4.34-1: Management actions preserve the classification, outstandingly remarkable values,
  and water quality of eligible and suitable river segments.
  S-MA4.34-2: Consistent with existing water rights decrees in Colorado Water Division 3
  (81CW183), the free-flowing nature of eligible and suitable river segments shall be preserved.
  S-MA4.34-3: For eligible and suitable river segments, the width of the management area may
  vary to protect outstanding values but will extend at least one-quarter mile on either side of the
  river segment.

  Management Area Specific Guidelines
  G-MA4.34-1: Management actions within the river corridors of eligible and suitable river
  segments shall be consistent with management direction contained in FSH 1909.12, Chapter 80,
  Section 84, or current direction.
  G-MA4.34-2: For eligible or suitable wild river segments:
  •   The recreation opportunity spectrum class is primitive
  •   The scenic integrity objective is very high.
  G-MA4.34-3: For eligible or suitable scenic river segments:
  •   The recreation opportunity spectrum class is semi-primitive motorized
  •   Activities will meet the adopted scenic integrity objective.
  G-MA4.34-4: For eligible or suitable recreational river segments:
  •   The recreation opportunity spectrum class is semi-primitive motorized

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  •     Activities will meet the adopted scenic integrity objective.

  Table 15. Eligible and suitable river segments for inclusion in the National Wild and
  Scenic Rivers System
                                               Length                                Outstandingly Remarkable
            Stream or River Name                            Acres       Status                                            Classification
                                               (miles)1                                       Values
      Archuleta Creek                            5.69        1,889      Eligible          Scenic, Recreational                 Scenic
                                                                                         Scenic, Recreational,
      Deadman Creek                              3.26        1,087      Eligible                                               Scenic
                                                                                          Historic, Biological
      East Fork Rio Chama                        3.18        1,078      Eligible          Scenic, Recreational                 Scenic
      Hansen Creek                               6.72        2,067      Eligible          Scenic, Recreational                  Wild
      Lower Rio de los Pinos                     4.50        1,364      Eligible     Scenic, Recreational, Historic            Scenic
      Lower Rio Grande                           4.42        1,081      Eligible     Scenic, Recreational, Historic        Recreational
      Rio Grande (Box Canyon)                    8.73        2,720      Eligible     Scenic, Recreational, Historic            Scenic
      Saguache Creek                             8.40        2,478      Eligible       Scenic, Historic, Cultural               Wild
      Toltec Creek                               2.88         525       Eligible     Scenic, Recreational, Historic             Wild
                                                                                         Scenic, Recreational,
      West Bellows Creek                         6.31        2,065      Eligible                                               Scenic
                                                                                               Geologic
      West Fork Rio Chama                        4.81        1,239      Eligible          Scenic, Recreational                 Scenic
                                                          South Fork Rio Grande
      South Fork Rio Grande (above Big
                                                 5.19        1,633      Eligible     Scenic, Recreational, Historic            Scenic
      Meadows Reservoir)
      South Fork Rio Grande (below Big
                                                 11.98       3,016      Eligible     Scenic, Recreational, Historic        Recreational
      Meadows Reservoir)
      South Fork Rio Grande Total                17.17       4,649         NA                       NA                           NA
                                                               Conejos River
      El Rito Azul                               3.80        1,168      Suitable     Scenic, Recreational, Wildlife             Wild
      North Fork Conejos River                   3.93        1,208      Suitable     Scenic, Recreational, Wildlife             Wild
      Middle Fork Conejos River                  4.59        1,411      Suitable     Scenic, Recreational, Wildlife             Wild
      Conejos River (Three Forks to
                                                 3.33        1,023      Suitable     Scenic, Recreational, Wildlife             Wild
      Platoro Reservoir)
      South Fork of the Conejos River            12.76       3,985      Suitable     Scenic, Recreational, Wildlife             Wild
      Conejos River below Platoro
                                                 12.54       3,539      Suitable     Scenic, Recreational, Wildlife        Recreational
      Reservoir
      Conejos River Total                       40.95       12,334         NA                       NA                           NA
      Wild Rivers Subtotal                      46.41       13,865         NA                       NA                           NA
      Scenic Rivers Subtotal                    41.67       13,075         NA                       NA                           NA
      Recreational River Subtotal               28.94        7,636         NA                       NA                           NA
      Rio Grande National Forest Total          117.02      34,576         NA                       NA                           NA
  1 Length, in miles, of the reaches has been updated from the 1996 forest plan to reflect the best available information; changes do
     not reflect alterations to the eligible or suitable river segments.




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  Management Area Specific Land Suitabiiity
  SUIT-MA4.34-1: Rivers or segments that are eligible and suitable and are designated as wild or
  scenic are not suitable for timber production.
  SUIT-MA4.34-2: Rivers or segments that are eligible for recreational status are suitable for
  timber production.
  SUIT-MA4.34-3: In designated wilderness, eligible and suitable wild rivers or segments are
  either legally withdrawn or administratively unavailable from mineral entry.
  SUIT-MA4.34-4: Eligible and suitable scenic rivers or segments are authorized for oil and gas
  leasing with a controlled surface use stipulation.

  Management Area 4.8 - Ski-based Resorts

  Desired Conditions
  These areas are managed for their existing or potential use as ski-based resort sites. Wolf Creek
  Ski Area is the only resort permitted on the Forest. This is an area of concentrated use where
  visitors can expect a high degree of interaction and many facilities associated with the ski resort
  industry.
  Protection of recreation resources and public safety, including management of insects and
  disease, is the primary focus. Project implementation in this area maintains the possibility of
  winter sports recreation. Resource management activities are designed and implemented to
  maintain or enhance existing resources.
  Development in the area will be consistent with the terms and conditions of the special use
  permit, including submission of a master development plan. These lands are withdrawn from
  locatable mineral entry.
  Facilities are designed and constructed to blend with the natural area. Line and form, indicating
  past activities, and geometric shapes associated with ski-trail and lift development should be
  “softened” as opportunities becomes available.
  Activities should meet the assigned recreation opportunity spectrum classes and scenic integrity
  objectives.

  Management Area Specific Management Approaches
  Vegetation management is included in resort management plans.

  Management Area Specific Land Suitabiiity
  SUIT-MA4.8-1: Grazing is permitted on a limited basis with the agreement and cooperation of
  the permit holder.
  SUIT-MA4.8-2: These areas are not suitable for timber production.
  SUIT-MA4.8-3: These areas are available for oil and gas leasing with no surface occupancy.




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  Management Area 5 - General Forest and Rangelands
  This management area combines several management areas that were designated in the 1996
  forest plan into one large area. A variety of management activities occur, including livestock
  grazing, management of wildlife habitat, developed and dispersed recreation, exploration and
  development of minerals and energy resources, and timber harvest. Characterized by forest and
  grassland communities, this area is managed with a multiple-use emphasis to achieve a variety of
  goals.

  Desired Conditions
  Vegetation management goals are met using a full range of silvicultural options. Harvest rotation
  periods vary depending on species, site, conditions, and management objectives. Timber
  management activities focus on a variety of management objectives, including but not limited to
  timber production, habitat management, restoration and maintenance, and management to meet
  stated recreation objectives, maintain vegetation cover for wildlife, and protect soil stability. All
  successional stages are represented.
  A full range of activities is present with an emphasis on the production of commercial wood
  products. These areas have a high potential for timber growth, and operations focus on wood
  production. Suitable forested areas are maintained with commercially valuable species at ages,
  densities, and sizes that allow growth rates and stand conditions that are conducive to providing a
  sustained yield of forest products.
  Landscape diversity is similar to natural conditions (composition, structure, and function) and
  includes consideration within a spatial context—for example: what species, what kind of stand
  structure, and what kind of landscape patterns are natural, by ecosystem. All succession stages
  are represented, including old forest. Mature stands are identified for old-forest characteristics
  (appendix A).
  Rangelands are composed of grassland ecosystems that maintain and improve desired vegetation
  conditions for livestock, wildlife, and recreational stock. These areas are characterized by a mix
  of grassland and forested ecosystems that features open meadows and other grasslands,
  intermixed with stands of aspens and conifers.
  Forested cover is interspersed with grassland areas and managed so that quality forage is readily
  available, depending upon site-specific conditions. Cover types on winter range areas frequently
  consist of lower-elevation pinyon-juniper communities, ponderosa pine, and warm-dry
  ecosystem types that may include Douglas fir, white fir, and aspen. Various shrub species such as
  mountain mahogany, sagebrush, rabbitbrush, gooseberry, and bitterbrush are interspersed with
  low-elevation grasses including fescues, squirrel tail, oat-grass, and needle and thread grass.
  Water sources provide water for both wildlife and livestock where it is a limiting factor on the
  landscape.
  Plant communities occur in a variety of successional stages to provide biological diversity of
  both plant and animal species. A variety of tools and methods is applied, including but not
  limited to timber harvest, prescribed burning, and planting.
  Watersheds, scenic resources, and wildlife habitat are restored in locations where past
  management actions have reduced resource effectiveness.



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  This area has a well-developed transportation system that provides access for recreation
  opportunities and management. The area has numerous designated roads that offer commercial
  access and roaded recreation opportunities, while roads with restricted access offer nonmotorized
  recreation opportunities.
  Access may be limited in some areas during the winter to reduce disturbance to wildlife.
  Vegetation management that occurs during the winter will have authorized access as needed.
  Access during other seasons is based on travel management objectives.
  Where feasible, mutual population objectives are established with Colorado Parks and Wildlife
  to provide maximum recreation opportunities while minimizing habitat and resource conflicts.
  Existing and potential partnerships strive to improve or enhance habitat and species numbers.
  Recreation opportunities and human disturbance are balanced to allow game species to
  effectively use resources while conserving energy reserves. Disturbance from motorized and
  mechanized activities is limited to areas mapped by Colorado Parks and Wildlife during the
  primary winter use period, generally from December 1 through April 15, or as needed. Winter
  weather conditions naturally increase secure habitat by limiting access; however, seasonal road
  restrictions or area restrictions are also used to attain the desired conditions.
  Viewing areas provide interpretation of the resources and management.
  Quality habitat provides for wildlife dispersion between undeveloped areas of the Forest.
  Livestock grazing is present. Grazing systems are managed to provide quality forage for use by
  big game species as well as livestock.
  Appropriate settings are offered that are suitable for a broad range of recreation opportunities.
  Dispersed and developed recreation areas are designated mostly along road corridors where
  opportunities for developed and undeveloped recreation can be managed as an integrated
  resource. These popular areas generally have access to water features or other natural attractions
  and offer a more social recreation experience with frequent visitor contacts.
  Insects and disease are managed to maintain the recreation resource.
  Summer homes, resorts, and organizational camps are present and managed to provide unique
  recreation opportunities. Developed recreation sites and facilities, such as campgrounds and
  picnic sites, are maintained and updated to meet customer needs. Management actions in
  dispersed sites maintain the natural characteristics that make the area popular.
  Forest visitors to these areas can expect to experience active forest management including timber
  harvest, livestock grazing, established infrastructure, and improvements. In timber harvest areas,
  stumps, logging slash, skid trails, and soil disturbance will be evident.
  Activities meet the assigned recreation opportunity spectrum classes and scenic integrity
  objectives.
  Opportunities exist for exploration and development of mineral and energy resources.
  Recreation facilities are improved on the basis of user demand. Users can expect to have a more
  social experience.




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  Management Area Specific Management Approaches
  Domestic livestock grazing is coordinated with vegetation management activities to ensure
  adequate regeneration of vegetation and prevent impacts on range improvements and natural
  barriers.
  Retrieval of game using off-road vehicles is authorized daily from 12 p.m. to 5 p.m. when
  conditions would not result in damage to resources, including soils and vegetation.
  Fire hazard is reduced by treating fuels consistently with other resource uses and needs.
  The operating and reclamation plan for locatable minerals contains strategies to avoid or mitigate
  impacts to winter range. New roads should not be constructed in locations with important forage
  and cover.
  Forage and cover is managed across the landscape to sustain ungulate populations and support
  population objectives.
  Livestock grazing strategies are designed and managed to provide the forage quantity and quality
  needed to sustain desired ungulate populations during the winter period.
  Motorized and mechanized travel is suitable only on designated routes.
  Communication sites and renewable energy development are also subject to project-specific
  environmental review.
  Vegetation treatments in developed recreation areas maintain or enhance recreation opportunities
  or contribute to visitor safety.
  Use conflicts are considered when scheduling vegetation manipulation projects.
  Fuels resulting from vegetation manipulation projects are treated commensurate with the risk of
  human-caused ignition.
  Additional restrictions on high-use dispersed-recreation sites are developed to protect sensitive
  natural resources.

  Management Area Specific Standards
  S-MA5-1: Off-road travel, including over-the-snow travel, is not allowed on big game winter
  range areas during the primary use seasons for big game (December 1 - April 15). Exceptions
  may be allowed under contract or special use authorizations.

  Management Area Specific Land Suitabiiity
  SUIT-MA5-1: Big game winter range is not suitable for off-road travel during big game primary
  use seasons. Exceptions made be made for permittees or contractual obligations.
  SUIT-MA5-2: This area is part of the suitable timber base.
  SUIT-MA5-3: This area is suitable for grazing.
  SUIT-MA5-4: These areas are suitable for oil and gas leasing with a no surface occupancy
  stipulation.




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  Figure 15. Bristlecone pinecone




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  Chapter 4. Monitoring
  Introduction
  Forest plan monitoring provides feedback for the Forest’s planning cycle by testing assumptions,
  tracking relevant conditions, and evaluating management implementation and effects of
  management practices. The monitoring program that is developed as part of the forest plan
  should be strategic, effective, and useful. Forest plan monitoring is an important part of the
  continuous improvement of the plan through the adaptive management process. Direction for
  monitoring and evaluation of forest plans is contained in 36 CFR 219.12, and in planning
  directives at 1909.12, Chapter 30.

  The Role of Monitoring under the 2012 Planning Rule
  The National Forest Management Act requires “continuous monitoring and assessment in the
  field” to evaluate “the effects of each management system to the end that it will not produce
  substantial and permanent impairment of the productivity of the land” (16 USC 1604(g)(3)(C)).
  The 2012 Planning Rule emphasizes a three-part iterative cycle of assessment, planning, and
  monitoring in a continuous feedback loop. Monitoring is intended to support the assessment
  process and evaluate plan implementation over time. This framework is designed to “inform
  integrated resource management and allows the Forest Service to adapt to changing conditions,
  including climate change, and improve management based on new information and monitoring”
  (219.5 (a)).

  Specific Requirements for Monitoring under the 2012
  Planning Rule
  A monitoring plan consists of monitoring questions and indicators that are designed to inform the
  management of resources on the Forest by testing relevant assumptions, tracking relevant
  changes, and measuring management effectiveness and progress toward achieving or maintaining
  the plan’s desired conditions or objectives. The monitoring program must also be coordinated
  with the Regional Forester and Forest Service State and Private Forestry and Research and
  Development (219.12 (a)(1)), and it should consider a broader-scale monitoring strategy to
  address monitoring questions at a geographic scale broader than one single national forest
  (219.12 (b)). Furthermore, in developing the monitoring plan, the responsible official should also
  provide opportunities for public participation, “taking into account the skills and interests of
  affected parties,” as well as the scope, methods, forum, and timing of those opportunities
  (219.4 (a)). This monitoring plan was informed by public input received throughout the
  development of the forest plan.
  Monitoring may involve evaluating if standards and guidelines are implemented (implementation
  monitoring), if management actions, standards, and guidelines are effective in achieving goals
  and objectives (effectiveness monitoring), the long-term trend, and condition of key resources
  (condition or surveillance monitoring). At a minimum, the plan monitoring program must contain
  one or more monitoring questions and associated indicators that address the following eight
  items (219.12[a][5][i-viii]):
       i.   The status of select watershed conditions,

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    ii.   The status of select ecological conditions including key characteristics of terrestrial and
          aquatic ecosystems,
   iii.   The status of focal species to assess the ecological conditions required under 219.9,
   iv.    The status of a select set of the ecological conditions required under 219.9 to contribute
          to the recovery of federally listed threatened and endangered species, conserve proposed
          and candidate species, and maintain a viable population of each species of conservation
          concern,
    v.    The status of visitor use, visitor satisfaction, and progress toward meeting recreation
          objectives,
   vi.    Measurable changes on the plan area related to climate change and other stressors that
          may be affecting the plan area,
   vii.   Progress toward meeting the desired conditions and objectives in the plan, including for
          providing multiple use opportunities, and
  viii.   The effects of each management system to determine that they do not substantially and
          permanently impair the productivity of the land (16 U.S.C. 1604(g)(3)(C)).
  A monitoring evaluation report will be produced and published every two years (219.12 (d)). It
  “must indicate whether or not a change to the plan, management activities, or the monitoring
  program, or a new assessment, may be warranted based on the new information^ [and] must be
  used to inform adaptive management of the plan area” (219.12 (d)(2)). The monitoring program
  and evaluation report are part of the administrative record (219.14 (b)), and the forest supervisor
  must document “how the best available scientific information was used to inform planning, the
  plan components, and other plan content, including the plan monitoring program”
  (219.13 (a)(4)).

  Best Available Scientific Information and Fiscal Constraints
  Evaluating ecosystem integrity and sustainability requires the synthesis and interpretation of
  high-quality data and information from multiple scales of social and ecological organization.
  While the 2012 Planning Rule directs national forests to use the best available scientific
  information for plan monitoring, it also recognizes the need to remain within the financial
  capabilities of the unit. To meet these goals, the proposed forest plan monitoring strategy
  supplements data and information collected by Forest staff using the best available scientific
  information available from Forest Service Research and partners, within existing staffing and
  budgetary limitations. The monitoring questions and indicators contained here rely heavily on
  federal, state, and other public partners. The protocols, data standards, and metadata from partner
  organizations were also considered in determining the best available scientific information. For
  example, reliance on the Forest Service Research’s Forest Inventory and Analysis program
  allows the Forest to use the longest continuous forest census and evaluate management in long­
  term trends observed in forest conditions. Datasets generated and maintained by partners that
  have been evaluated for applicability (Table 17) will inform future management, with minimal
  additional investment needed by the Forest.
  To evaluate trends and changes in terrestrial ecological conditions, the Forest will use data and
  spatial products from Forest Service Research’s Forest Inventory and Analysis program, the
  Remote Sensing Application Center’s Monitoring Trends in Burn Severity program, LANDFIRE


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  (Landscape Fire and Resource Management Planning Tools project), Forest Health Monitoring
  program, and Bird Conservancy of the Rockies. Forest Inventory and Analysis program data
  represent the most robust source of information available on the status and trends associated with
  forest conditions at landscape scales. While the Forest Inventory and Analysis program can be
  used to monitor broadscale trends in forest cover and composition across regions, it can also be
  used to track changes in fine-grain characteristics at the landscape scale, including measures of
  crown cover, stand density, snags, and downed woody material that are relevant for the
  conservation of threatened and endangered species, and species of conservation concern
  (Chojnacky 2000, Witt 2015). At the same time, “coarse-grain” changes in ecological conditions
  at landscape scales, such as structural connectivity and patch size and distribution, may be
  evaluated using new and existing spatial datasets and remote sensing products from the Remote
  Sensing Application Center, Forest Health Monitoring program, U.S. Geological Survey, and
  Forest Inventory and Analysis program. Monitoring trends and changes in Gunnison prairie dog
  distribution in montane ecosystems, for instance, can be efficiently accomplished by using
  National Agriculture Imagery Program aerial photography datasets (Sidle et al. 2002). Data
  collected by the Bird Conservancy of the Rockies also represents an important and scientifically
  robust source of information. Data on breeding bird occupancy and density is important for
  understanding trends associated with individual species. In consultation with Bird Conservancy
  of the Rockies, the Forest identified a suite of bird species for monitoring that can be used to
  infer changes in the structure, function, and composition of forest ecosystems.
  The Forest is also proposing to monitor ecological conditions in aquatic, riparian and wetland,
  and alpine systems using a variety of approaches. To monitor trends and changes in riparian
  vegetation and condition at the forest plan level, the Forest is proposing to use new products
  developed by the Washington Office of the Forest Service that were piloted during the
  assessment phase of the forest plan revision (Abood 2016). Information on key aquatic
  ecological conditions, such as streamflow and temperature, may also be acquired from the U.S.
  Geological Survey and generated through a broadscale strategy implemented in collaboration
  with Rocky Mountain Research Station’s NORWEST stream temperature monitoring program.
  Beavers are proposed as focal species for aquatic and riparian systems. After consulting with
  beaver and riparian systems experts at Utah State University, the Forest is proposing to monitor
  the number of subwatersheds (6th level or 12-digit Hydrologic Unit Code) with beaver activity
  over time. This is a cost-effective strategy that allows the Forest to track beaver presence and
  range expansion, identify potential areas where beaver introduction may be appropriate, and
  provide opportunities for citizen science and outreach. These approaches are complementary. For
  instance, information on trends in sedimentation, streamflow, riparian cover, and stream
  temperature are all particularly relevant for the management and conservation of many aquatic
  and riparian species of conservation concern, such as the Rio Grande cutthroat trout, Rio Grande
  chub, and Rio Grande sucker.
  The Forest is also proposing to use data from partners to track trends and conditions in climatic
  variability and ecological conditions in alpine ecosystems. For instance, monitoring data and
  products from the National Oceanic and Atmospheric Administration, Oregon State’s PRISM
  program, Natural Resources Conservation Service SNOTEL, National Phenology Network, and
  National Park Service Inventory and Monitoring Program can be used to monitor drought,
  long-term climatic change, atmospheric deposition, vegetative phenology, and alpine vegetation
  and conditions across the broader plan area.


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  Forest Monitoring Framework
  The proposed monitoring framework addresses each of the eight monitoring requirements, uses
  the best available scientific information, and is feasible to implement with existing resources. It
  is designed to promote iterative evaluation of plan components associated with social and
  ecological desired conditions, and to facilitate effective and efficient biennial reporting.
  The proposed monitoring framework is composed of the following elements.
  Goals are broad themes associated with core aspects of the Forest Service mission, including
  goals for social and ecological sustainability and resilience. Monitoring questions, plan
  components, and indicators are organized under these broad goals.
  Monitoring Requirement identifies which of the eight monitoring requirements a specific
  question and set of indicators addresses. In many cases, questions meet the requirements of two
  or more monitoring requirements.
  Monitoring Question is the plan-level monitoring question. Monitoring questions are priority
  questions of high relevance for forest planning and decision-making that can be used to test
  relevant assumptions, track relevant changes, and measure progress toward achieving desired
  conditions.
  Desired Conditions are select desired conditions that represent priority goals and approaches for
  maintaining or improving the resilience of social and ecological conditions within and across the
  broader landscape context of the forest plan area.
  Indicators are measurable attributes of social and ecological conditions that are used to answer
  monitoring questions and evaluate progress toward maintaining or achieving desired conditions.
  Data Source represents the data repositories or sources of information from which measures of
  indicators are derived at the time the plan was developed. New data sources will likely become
  available as technology evolves. Similarly, data sources that exist during development of the plan
  may become obsolete. The Forest recognizes the need for adaptive management of the
  monitoring plan itself, and will incorporate changes over time as appropriate.
  The data sources field also includes notes on forest responsibility, partner engagement, and
  broader scale monitoring. Where “forest responsibility” is noted, the Forest is the primary party
  responsible for collecting and interpreting this information. Where “partner engagement” is
  identified, the monitoring information is highly dependent on key partners and their ability to
  collect and interpret monitoring information. “Broader scale monitoring” indicates that this
  information may be better collected and evaluated at a scale larger than the Rio Grande National
  Forest. In most cases, broader-scale data sources are contingent on partnership information,
  including other federal, state, and non-governmental agencies.
  Frequency describes the timing and frequency of monitoring evaluation and reporting.
  Evaluation and reporting frequencies are determined by the frequency of data collection and/or
  the spatial and temporal variability of resources (i.e., it takes several years of data collection to
  establish a trend for many resources).
  Adaptive Management Questions: The Forest’s monitoring plan also includes adaptive
  management questions that are paired with most monitoring questions. These questions are
  intended to serve two primary functions. First, they highlight the relevancy of the monitoring


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  questions and data to land management decision-making. Without this lens it can be difficult to
  sift through volumes of data and analyses and identify salient, possibly actionable information
  and decision-points. Second, they offer some specific examples of ways that monitoring data
  may be used to identify needs to adapt our land management decisions. These needs may spring
  from information on changing conditions, stagnant conditions where the goal is to achieve some
  improvement, or new information about the status of natural resources on the Forest.
  These questions are not an exhaustive list of potential management applications. Instead, they
  highlight some realistic ways in which monitoring data might be interpreted, evaluated, and used
  by line officers and land managers to inform decision-making. They are also intended to
  stimulate the development of additional questions among Forest staff, and they may evolve over
  time.
  Finally, it is important to note that these questions are not intended to trigger, or require,
  decisions or management actions. Monitoring information is one piece of a larger puzzle that
  must be put together during land management decision-making processes; line officers will need
  to couple insights from monitoring data with other information, including resource availability,
  staffing capacity, multiple use priorities, and public opinion.




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Goal 1
Maintain and restore sustainable, resilient terrestrial ecosystems
Monitoring questions and indicators of measure for Goal 1 are contained in Table 16.

Table 16. Forest plan-level monitoring questions and indicators of measure for Goal 1
  Monitoring      Monitoring                                                                             Adaptive Management          Associated Plan
                                          Indicator                Data Source        Frequency
 Requirement      Question                                                                                    Questions                 Component
 4, 7          MQ1: What is the    Populations of:             •   Colorado Parks     2 years        •   Are there changes in            DC-VEG-3
               status and trend    •  Elk                          and Wildlife                          ungulate populations that       DC-WLDF-3
               of populations of                               •   Partnership                           are outside of expected         DC-WLDF-4
                                   •  Pronghorn
               Rocky Mountain                                      Engagement                            levels of fluctuation?
               elk, Rocky          •  Mule deer                                                                                          DC-WLDF-5
                                                                                                     •   If so, do they correlate
               Mountain bighorn    •  Rocky Mountain                                                                                     OBJ-WLDF-2
                                                                                                         with changes in habitat
               sheep, and             bighorn sheep                                                      conditions that might be        DC-SCC-7
               pronghorn                                                                                 addressed through               through 9
               primary use                                                                               management activities?
               areas?
 4, 7          MQ2: What is the    •   Trends in forage        •   Forest Service     4 years        •   Are there declines in           DC-RNG2
               status and trend        availability                Natural Resource                      forage availability and         DC-RNG-4
               of forage and       •   Acres of big game           Information                           amount of canopy cover          DC-WLDF-3
               cover for big           habitat maintained or       System (NRIS)                         that could impact key
               game species?                                                                                                             DC-WLDF-4
                                       improved                    (data from                            wildlife species?
                                                                   allotments in                                                         OBJ-WLDF-2
                                                                                                     •   If so, where are
                                                                   winter range)                         opportunities to address
                                                               •   Forest                                these through
                                                                   Responsibility                        management activities?
                                   •   Acres of cover and      •   Forest Health      Analysis and
                                       security habitat in         Monitoring         reporting
                                       mapped winter               program            only when
                                       range affected by       •   Fire data          significant
                                       disturbance/mortality                          disturbance/
                                                                                      mortality is
                                   •   Changes in crown        •   National
                                                                                      observed in
                                       cover in mapped             Agriculture
                                                                                      mapped
                                       winter range                Imagery Program
                                                                                      winter range
                                                               •   Partner
                                                                   Engagement




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  Monitoring      Monitoring                                                                                  Adaptive Management             Associated Plan
                                              Indicator                Data Source         Frequency
 Requirement      Question                                                                                         Questions                    Component
 4             f MQ3: What is the)    (Landscapej-levej)           •   Forest Service      Analysis and   •   (Are there changes)to the     f OC-WLOF-1)
               1 status and trend f   (jndjcators)_____                Activity Tracking   reporting           status of at-risk species      OC-WLOF34)
               (of key ecosystem)     Q fAcres/location)               System (FACTS)      every 2             that warrant additional      f OC-SCC-zF
               1 characteristics )~        (impacted by                spatial / FSVeg     years (or as        plan direction?
               (associated with)                                                           appropriate)                                     (OC-SCC-8)
                                           (disturbance and)       •   Forest Inventory                   •   fOo changes to lynx)____
               (species of '                                                                                                                  OC-SCC-6)
                                           (management actions)        and Analysis                           (habitat warrantadditional)
               (conservation)              ((i.e., in Lynx )____                                              (plan direction?)             f Southern Rockies)
                                                                       program.
               (concern,                   (Analysis Units/lynx)                                                                            f Lynx Amendment)
                                                                   •   Forest Health                      •   fOo changes to key)_____      1 OC-TEPC-l)
                 threatened and            (habitat))                  Monitoring                             (ecosystem characteristics)
                 endangered           Q fOistributionofold-)           program - aerial                       (for species of__
                 species, and
                                           (forest/late-1              surveys                                (conservation concern)
                 resident and              (successional)
                                                                   •   Monitoring                              warrant additional plan
                 migratory bird
                                           (conditions)                Trends in Burn                          direction?
                 species?
                                                                       Severity program,
                                                                       or fire layers
                                                                   •   Partnership
                                                                       Engagement
                                      •   Acres and extent of      •   National            2 years        •   Are there opportunities to
                                          Gunnison prairie dog         Agriculture                            improve habitat or to
                                          colonies                     Imagery Program                        reduce uses that may be
                                                                   •   Colorado Parks                         negatively impacting
                                                                       and Wildlife                           Gunnison prairie dog
                                                                       Health Program                         colonies?
                                                                   •   Partnership
                                                                       Engagement




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 Monitoring      Monitoring                                                                         Adaptive Management           Associated Plan
                                       Indicator               Data Source        Frequency
Requirement      Question                                                                                Questions                  Component
4             MQ 4: What is     •   Fine-scale             •   Forest Inventory   •   2 years                                    DC-WLDF-1
              the status and        indicators:                and Analysis                                                      DC-WLDF-4
              trend of          •   Number of live trees   •   Partnership                                                       DC-VEG-3
              ecosystem             per acre 15-20, >20        Engagement
              characteristics                                                                                                    DC-SCC-7
                                    in DBH (for all
              associated with                                                                                                    DC-SCC-8
                                    indicators,
              species of            forestwide and in                                                                            DC-SCC-6
              conservation          major types: aspen,                                                                          Southern Rockies
              concern,              spruce-fir, mixed                                                                            Lynx Amendment
              threatened and        conifer)                                                                                     DC-TEPC-1
              endangered
                                •   Number of live and
              species, and
                                    dead trees per acre
              resident and
                                    >15 inches DBH
              migratory bird
              species?          •   Percentage with
                                    <40, 40-70, >70
                                    percent live crown
                                    cover
                                •   Number of snags per
                                    acre 10-15, 15-20,
                                    >20-inch DBH
                                •   Number of pieces of
                                    coarse woody debris
                                    (CWD) per acre 5­
                                    10, >15 inches DBH,
                                    and >15 feet long;
                                    volume of CWD per
                                    acre
                                •   Mortality - net
                                    volume and
                                    percentage of dead
                                    vs. live
                                •   Number of              •   Abandoned Mine     •   2 years   •   Are abandoned mines
                                    abandoned mines            Lands program                        being inventoried for bat
                                    gated, and             •   CNHP                                 use and gated prior to
                                    maintained for bats                                             mine closure?
                                                           •   Partnership
                                                               Engagement                       •   What is the trend in
                                                                                                    white-nose syndrome?




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  Monitoring      Monitoring                                                                           Adaptive Management            Associated Plan
                                            Indicator              Data Source         Frequency
 Requirement      Question                                                                                  Questions                   Component
 8             MQ5: What are        •   Type, degree, and      •   Soil Disturbance    4 years     •   Are management                DC-SOIl-1
               the status and           extent of soil             Field Guide                         prescriptions, standards,
               trends of soil           disturbance and risk   •   National Soils                      guidelines, and
               productivity and         rating to determine        Information                         management approaches
               function?                the effect of soil         System (NASIS)                      effectively maintaining or
                                        disturbance on soil        database                            improving soil productivity
                                        productivity and                                               by reducing or minimizing
                                                               •   Soil Best
                                        hydrologic function                                            impacts to soil
                                                                   Management
                                                                                                       resources? If not, do they
                                                                   Practices
                                                                                                       need to be changed?
                                                                   monitoring
                                                               •   Forest
                                                                   Responsibility
 2, 6          MQ6: What are        •   Length, spatial        •   DRI/University of   2 years     •   Do drought trends fall
               the trends in            extent, severity of        Idaho Climate                       within expected ranges,
               climate including        drought (Palmer            Engine                              or if outlier events are
               drought and              Drought index,         •   Evaporative                         occurring, are there
               long-term climate        Evaporative Demand                                             management activities
                                                                   Demand
               change, and how          Drought Index)                                                 that should be considered
               are they affecting                                  Drought Index
                                                                                                       (e.g., reduction in animal
               vegetative                                          (WWA)                               unit months)? Do outlier
               phenology,                                      •   Partnership                         events warrant additional
               snowpack,                                           Engagement                          or plan direction?
               streamflow, and                                 •   Broader scale
               alpine
                                                                   monitoring
               vegetation?
                                    •   Long-term trends in    •   National Oceanic    10 years    •   Are longer-term climatic
                                        temperature and            and Atmospheric                     trends consistent with
                                         precipitation             Administration -                    those expected and
                                                                   National Centers                    underpinning current plan
                                                                   for Environmental                   content?
                                                                   Information                     •   If not, is there a need for
                                                                   (NCEI)                              additional or forest plan
                                                               •   DRI/University of                   direction?
                                                                   Idaho Climate
                                                                   Engine
                                                               •   Partner
                                                                   Engagement
                                                               •   Broader scale
                                                                   monitoring



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 Monitoring    Monitoring                                                                         Adaptive Management            Associated Plan
                                    Indicator              Data Source            Frequency
Requirement    Question                                                                                Questions                   Component
                            •   Snowpack/snow          •   USDA Natural
                                water equivalent           Resources
                                                           Conservation
                                                           Service -
                                                           SNOTEL
                                                       •   Partner
                                                           Engagement
                            •   Trends in streamflow   •   U.S. Geological        10 years
                                                           Survey
                            •   National Phenology     •   National               2 years     •    Do Extended Spring
                                Network [first bloom       Phenology                               Indices reflect conditions
                                index] Extended            Network                                 that fall within ranges
                                spring indices         •   Partner                                 expected during plan
                                                           Engagement                              development?
                                                       •   Broader scale                      •    If not, are there needs to
                                                           monitoring                              reconsider vegetation
                                                                                                   management or other
                                                                                                   management strategies?
                            •   Occupancy and          •   Uncompahgre            6 and 10    •    How is climate change or
                                trend of                   fritillary butterfly   years            other factors influencing
                                Uncompahgre                monitoring                              vulnerable alpine systems
                                fritillary butterfly       partnership                             such as snow willow, the
                                colonies               •   Partner                                 phenology of flowering
                                                           Engagement                              nectar plants, and
                                                                                                   occupancy of
                            •   Alpine vegetation      •   National Park          4 years          Uncompahgre fritillary
                                                           Service / Alpine                        butterfly colony sites?
                                                           Vegetation and
                                                           Soils (GLORIA)
                                                       •   Partner
                                                           Engagement




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  Monitoring      Monitoring                                                                               Adaptive Management            Associated Plan
                                            Indicator               Data Source         Frequency
 Requirement      Question                                                                                      Questions                   Component
 2, 6          MQ7: How are         •   Percentage cover of     •   Forest Inventory    Acquisition    •   Do key characteristics of     DC-SCC-1
               key                      different forest            and Analysis        every 5,           vegetation structure and      DC-SCC-2
               characteristics of       ecosystems                  program             reporting 6        composition fall within the   DC-SCC-3
               forest               •   Percent of different    •   Partnership         and 10             desired conditions, or are
               ecosystems                                                               years                                            DC-SCC-4
                                        structural classes in       Engagement                             changes trending in this
               (structure,                                                                                 direction?                    DC-SCC-5
                                        major forest
               composition,             ecosystems                                                     •   If not, what is the role of   DC-SCC-6
               function, and                                                                               climatic variability,         DC-VEG-1
               disturbance          •   Mortality: Number
                                        of snags per acre;                                                 management actions, and       DC-VEG-4
               regimes)                                                                                    disturbance frequencies
                                        net volume live vs
               changing over                                                                               and intensities in driving
                                        dead
               time, and are                                                                               these patterns?
               they within the      •   Regeneration:
                                        Number of saplings                                             •   Where are management
               natural range of
                                        per acre; species                                                  actions most likely to be
               variation?
                                        composition of                                                     effective for reducing the
                                        saplings in all                                                    potential severity of
                                        ecosystem                                                          disturbances and
                                                                                                           improving vegetative
                                    •   CWD: (Same as for
                                                                                                           conditions?
                                        MQ)
                                    •   Changes in fire         •   Landscape Fire
                                        regime condition            and Resource
                                        class                       Management
                                                                    Planning Tools
                                                                    project
                                                                    (LANDFIRE)
                                    •   Size and severity of    •   Monitoring          Reporting
                                        fires >1,000 acres          Trends in Burn      cycle after
                                        (net change in              Severity program    years with
                                        volume / Number of      •   Forest Service      fires larger
                                        live vs dead trees)         Activity Tracking   than 1,000
                                    •   Number and acres of         System (FACTS)      acres
                                        all fires                   Spatial
                                                                •   FSVeg
                                                                •   Partnership
                                                                    Engagement




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 Monitoring      Monitoring                                                                      Adaptive Management         Associated Plan
                                        Indicator                Data Source         Frequency
Requirement      Question                                                                             Questions                Component
                                •   Acres / location of      •   Forest Service      2 years                                OBJ-VEG-1
                                    vegetation                   Activity Tracking
                                    management in                System (FACTS)
                                    different forest types       Spatial
                                                             •   FSVeg
                                                             •   Forest
                                                                 Responsibility
                                •   Extent of insect         •   Forest Health
                                    mortality                    Monitoring
                                                                 program
                                                             •   Partnership
                                                                 Engagement
3             MQ 8: What is     •   Bird guilds              •   Bird Conservancy    2 years                                DC-WLDF-1
              the status and                                     of the Rockies                                             OBJ-WLDF-1
              trend of upland                                •   Partnership
              species?                                           engagement




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Goal 2
Protect and restore watershed health, water resources, aquatic ecosystems, and the systems that rely on them
Monitoring questions and indicators of measure for Goal 2 are contained in Table 17.

Table 17. Forest plan-level monitoring questions and indicators of measure for Goal 2
  Monitoring      Monitoring                                        Data Source and                        Adaptive Management             Associated Plan
                                           Indicator                                       Frequency
 Requirement      Question                                           Responsibility                             Questions                    Component
 7             MQ9: What is         •   Objectives identified   •     Projects             2 years
               the status of            in this plan, and             implemented on
               progress toward          progress status               the Forest
               meeting                  toward those            •     Forest
               objectives               objectives.                   responsibility
               identified in this
               plan?
 2, 4, 6       MQ10: What is        •   Stream temperature      •     Rocky Mountain       4 years     •   Do stream temperatures and      DC-SCC-3
               the status and                                         Research                             future projections point to     DC-FISH-1
               trend of aquatic                                       Station -                            areas where cold-water fish     DC-FISH-2
               ecosystem                                              NORWEST                              habitat may be maintained?
               conditions                                                                                                                  DC-GDE-1
                                                                •     Partner                          •   Coupling this with other
                                                                                                                                           DC-WA-1
                                                                      Engagement                           riparian vegetation condition
                                                                                                           data, are there restoration     DC-WA-3
                                                                •     Broader scale
                                                                      monitoring                           opportunities in these places   DC-NNIS-1
                                                                                                           that might be priorities?       DC-RNG-4
                                    •   Number of fish          •     Forest Service       2 years     •   Is the Forest achieving goals   DC-RNG-3
                                        barriers                      Activity T racking                   for improving fish habitat      DC-RMZ-4
                                        removed/improved              System                               connectivity, or is there a     DC-RMZ-2
                                                                      (FACTS) /                            need to increase this effort?
                                                                      fisheries reports
                                                                •     Forest
                                                                      Responsibility
                                    •   Macrobenthic            •     Forest staff         2-4 years   •   Do trends in macrobenthic
                                        invertebrates                 macro­                               invertebrate communities
                                                                      monitoring                           point to the need for
                                                                                                           adjusting management
                                                                                                           practices or implementing
                                                                                                           restoration activities?




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 Monitoring    Monitoring                                   Data Source and                     Adaptive Management              Associated Plan
                                   Indicator                                    Frequency
Requirement    Question                                      Responsibility                          Questions                     Component
                            •   Beaver                  •    HUC-12             2 years     •   Where other aquatic
                                presence/absence             watersheds or                      ecosystem indicators
                                                             stream reaches                     suggest potential restoration
                                                             with beaver                        needs, are beavers absent,
                                                             activity                           and if so, would beaver
                                                        •    Forest                             relocation be beneficial?
                                                             Responsibility
                            •   Presence/distribution   •     Colorado Parks    2 years     •   Are nonnative aquatic
                                of nonnative aquatic          and Wildlife /                    invasive species and
                                invasive species and          U.S. Geological                   pathogens such as chytrid
                                pathogens                     Survey-                           fungus spreading, and if so,
                            •   Acres/miles treated           Nonindigenous                     are there control efforts that
                                                              Aquatic Species                   could be considered?
                                                              (NAS)
                                                        •     Partnership
                                                              Engagement
                                                        •     Broader scale
                                                              monitoring
                            •   Trends in streamflow    •     U.S. Geological   4 years     •   Is there an increase in the
                                                              Survey                            number of impaired streams,
                                                        •     Colorado                          and if so, are there
                                                              Division of                       measures that can be
                                                              Water                             adopted to curb this
                                                              Resources                         increase?
                                                        •     Partnership                   •   Are there measures that
                                                              Engagement                        could be considered to
                                                                                                remedy this impairment?
                            •   Number of impaired      •     Colorado          2 years         Has progress been made in
                                streams (303d)                Department of                     removing streams from the
                                                              Public Health                     impaired list?
                                                              and
                                                                                            •   Do trends in
                                                              Environment
                                                                                                sedimentation/water quality,
                                                        •     Partnership                       stream temperature, or flow
                                                              Engagement                        warrant management actions
                                                                                                to conserve and protect Rio
                                                                                                Grande cutthroat, Rio
                                                                                                Grande chub, and Rio
                                                                                                Grande sucker?




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  Monitoring      Monitoring                                      Data Source and                        Adaptive Management             Associated Plan
                                          Indicator                                    Frequency
 Requirement      Question                                         Responsibility                             Questions                    Component
 2, 4, 6       MQ11: What is      •   Status of Rio Grande    •     Rio Grande         All           •   Is the overall goal of the      DC-SCC-3
               the status of          cutthroat trout, Rio          cutthroat trout,   populations       RGCT, RGS, and RGC
               populations of         Grande sucker, and            Rio Grande         monitored         Conservation Strategy (to
               fishes that are        Rio Grande chub               sucker, and Rio    every 5           provide for the long-term
               species of             conservation                  Grande chub        years             persistence of the species)
               conservation           populations                   conservation                         being met?
               concern?                                             team
                                                              •     Partnership
                                                                    Engagement
 1             MQ12: Is the       •   Number of projects      •     Forest Service     2 years       Are watershed conditions            DC-WA-1
               unit improving         completed in priority         Watershed                        improving in priority watersheds,   OBJ-WA-1
               condition in           watersheds                    Improvement                      or do additional management
               priority           •   Best management               Tracking (WIT)                   measures need to be considered
               watersheds?            practices monitoring    •     Monitoring                       to facilitate improvement?
                                                                    protocols rating
                                                                    system
                                                              •     Forest Service
                                                                    Watershed
                                                                    Condition
                                                                    Framework
                                                                    Classification
                                                                    and Assessment
                                                                    Tracking Tool
                                                                    (WCF-WCATT)
 2, 4          MQ13: What         •   Acres restored          •     Partnership        2 years       •   If multi-year declines in       DC-RMZ-1
               actions have                                         Engagement                            riparian/wetland vegetation    OBJ-RMZ-1
               been taken to                                                                              are observed at the Forest
               restore riparian                                                                           level, what is causing them,
               and wetland                                                                                and are planning or
               ecosystems?                                                                                management decisions
                                                                                                          needed to address them?
 3             MQ14: What is      •   Beaver                  •     Forest             2-4 years         Where other riparian and        DC-RMZ-1
               the status and                                       Responsibility                       wetland ecosystem               DC-WA-1
               trend of aquatic                               •     Number of HUC-                       indicators suggest potential
               and riparian                                         12 watersheds                        restoration needs, are
               focal species                                        with beaver                          beavers absent, and if so,
                                                                    activity                             would beaver relocation be
                                                                                                         beneficial?




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                                                                                                                           Rvsd Plan - 00000932
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Goal 3
Actively contribute to social and economic sustainability in the broader landscape and connect citizens to the
land
Monitoring questions and indicators of measure for Goal 3 are contained in Table 18.

Table 18. Forest plan-level monitoring questions and indicators of measure for Goal 3
  Monitoring      Monitoring                                                                            Sample Adaptive                Associated Plan
                                           Indicator                Data Source       Frequency
 Requirement      Question                                                                            Management Questions              Components
 7             MQ15: What are       •   Employment,             •   Forest Service    2 years     •    Does the Forest continue       OBJ-VEG-3
               the economic             income, and                 IMPLAN model                       to provide sufficient          OBJ-VEG-4
               contributions of         contribution to gross   •   Forest Service                     economic benefits to           OBJ-VEG-5
               the range, timber,       domestic product            Timber                             different communities
               recreation, and      •   Board feet of timber        Information                        through various program
               minerals                 sold or harvested           Manager (TIM)                      areas? If not, are there
               programs, and                                                                           programmatic changes
                                    •   Acres treated           •   Forest Service
               how are they                                                                            that could be considered?
                                                                    Activity
               changing over
                                                                    Tracking
               time?
                                                                    System
                                                                    (FACTS)
                                                                •   Forest
                                                                    responsibility
 2, 7          MQ16: What are       •   Number of               •   Colorado Parks    2 years     •    How do fish and wildlife       DC-FISH-1
               the economic             recreational                and Wildlife                       values contribute to the       DC-REC-1
               contributions of         user/activity days          annual data                        recreational pursuits of
               the wildlife and         related to hunting,                                            various communities in
               fisheries program        fishing, and wildlife                                          the San Luis Valley and
               to the local             viewing, and                                                   what are the benefits of
               economy and              economic                                                       these programs to
               how are they             contribution to local                                          agency goals such as
               changing over            counties                                                       Kids in the Woods, and
               time?                                                                                   helping to get people
                                    •   Number of special       •   Internal Forest
                                                                                                       outside?
                                        events hosted such          Service staff
                                        as Free Fishing Day,        data
                                        Migratory Bird Day,
                                        etc.




                                                                                                                                                  103

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  Monitoring      Monitoring                                                                    Sample Adaptive       Associated Plan
                                       Indicator               Data Source        Frequency
 Requirement      Question                                                                    Management Questions     Components
                                •   Number of viewing
                                    sites developed or
                                    maintained
 2, 7          MQ17: What is    •   Range condition        •   NRIS/ Forest       4-6 years                          DC-RNG-1
               the status and   •   Changes in number          Service Activity                                      DC-RNG-2
               trend of             of allotments with         Tracking                                              DC-RNG-3
               rangeland            active grazing             System
               health?                                                                                               DC-RNG-4
                                                               (FACTS)
                                •   Number of surveyed                                                               DC-NNIS-1
                                    allotments not         •   Forest
                                                               responsibility                                        DC-NNIS2
                                    meeting, moving
                                    toward, or meeting
                                    desired conditions
                                •   Acres of upland
                                    restored
                                •   Presence and extent    •   Forest Service     2 years
                                    of nonnative               Nonnative
                                    invasive species and       Invasive
                                    noxious weeds              Species (NNIS)
                                •   Acres noxious          •   Forest
                                    weeds treated              responsibility
 5             MQ18: What is    •   Miles of roads and     •   Forest Service     2 years                            DC-REC-1
               the status and       trails open year­          Infrastructure
               trend of roads       round or open              database
               and trails?          seasonally                 (INFRA)
                                •   Miles of roads and     •   Forest
                                    trails built and           responsibility
                                    decommissioned
                                •   Miles of roads and
                                    trails maintained by
                                    maintenance level
                                •   Miles of roads and
                                    trails maintained or
                                    improved to
                                    standard
                                •   Use of roads and       •   National Visitor   5 years
                                    trails                     Use Monitoring
                                                           •   Forest
                                                               responsibility


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                                                                                                            Rvsd Plan - 00000934
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 Monitoring      Monitoring                                                                                    Sample Adaptive             Associated Plan
                                            Indicator                 Data Source         Frequency
Requirement      Question                                                                                    Management Questions           Components
5             MQ19: What             •   Visitation on the        •   National Visitor   5 years         •    If and where trends in      DC-REC-1
              recreational               Forest                       Use Monitoring                          recreational satisfaction   DC-INFR-1
              activities are the     •   Changes in               •   Forest                                  and use are increasing or
              public                     demand/participation         responsibility                          decreasing?
              participating in,          in new activities                                               •    What factors or trends
              and what is their                                                                               are leading to this
                                     •   Percent satisfaction
              current                                                                                         change?
                                         for:
              satisfaction
                                         1. Very satisfied                                               •    What changes could be
              level?
                                         2. Somewhat                                                          made to improve current
                                              satisfied                                                       and future visitor
                                                                                                              satisfaction?
                                         3. Total
                                              satisfaction                                               •    How is the public
                                                                                                              contributing to the local
                                                                                                              community?
                                                                                                         •    Where are people coming
                                                                                                              from to use the Forest?
7             MQ20: Is the           •   Number of areas of       •   Heritage           Monitoring of                                    DC-DR-1
              Forest                     tribal importance,           Program            25 percent                                       DC-ATI-1
              preserving,                cultural resources           Managed to         of Priority
              protecting, and/or         and properties               Standard           Heritage
              restoring cultural         identified, preserved,       (HPMtS)            Assets
              resources,                 protected, or            •   Forest             (PHA) each
              including                  restored                     responsibility     year. All
              traditional cultural                                                       PHAs
              properties and                                                             monitored at
              landscapes?                                                                least once
                                                                                         every 5
                                                                                         years
7             MQ21: How is           •   Number and type of       •   Heritage           Annually                                         DC-CR-1
              the Forest                 outreach, education,         Program                                                             DC-ATI-1
              engaging visitors,         consultation,                Managed to                                                          DC-ATI-2
              local                      collaboration, and           Standard
              communities,                                                                                                                DC-ATI-3
                                         volunteer activities         (HPMtS)
              tribes, and                                             particularly
              partners to                                             Indicator 2, 3
              achieve desired                                         and 5.
              conditions, goals,                                  •   Forest
              and objectives                                          responsibility
              (i.e., through
              outreach,


                                                                                                                                                      105

                                                                                                                             Rvsd Plan - 00000935
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  Monitoring      Monitoring                                                                        Sample Adaptive       Associated Plan
                                            Indicator               Data Source       Frequency
 Requirement      Question                                                                        Management Questions     Components
               education,                                       •   Forest Service
               consultation, and                                    NatureWatch,
               collaboration)?                                      Interpretation
                                                                    and
                                                                    Conservation
                                                                    Education
                                                                    (NICE) reports
                                                                •   Partner
                                                                    engagement
 2, 7          MQ22: What            •   Acres and location     •   Forest Service    2 years                            DC-FIRE-1
               management                of fuel management         Activity                                             OBJ-VEG-1
               activities are            and restoration            Tracking                                             OBJ-VEG-2
               being                     treatments                 System
               implemented to                                                                                            OBJ-VEG-7
                                         (mechanical and            (FACTS)
               reduce the threat         prescribed fire)       •   Forest
               of wildland fire to                                  responsibility
               real property and
               infrastructure and
               restore forest
               ecosystems?
               MQ23: What are        •   Visibility             •   IMPROVE           2 years                            DC-AIR-1
               the conditions        •   Nitrates and sulfate       (Interagency
               and trends of             deposition                 Monitoring of
               visibility and air                                   Protective
               quality/                                             Visual
               deposition in                                        Environments)
               selected Class II                                •   U.S. Geological
               areas on the                                         Survey
               unit?
                                                                •   National
                                                                    Atmospheric
                                                                    Deposition
                                                                    Program
                                                                    (NADP)
                                                                •   Partnership
                                                                    Engagement




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                                                                                                                Rvsd Plan - 00000936
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   Adaptive Management
   The adaptive management process implements plan direction, analyzes the impacts, monitors,
   and then evaluates adjustments that may be necessary in a timely manner. Changes will be
   incorporated through interdisciplinary analysis and will include public involvement.
   To be more responsive to necessary changes in forest plan content, Forest staff will annually post
   proposed changes and the rationale for the changes, which could include monitoring results, on
   the Forest website. In conjunction with release of the changes, a stakeholder meeting would be
   held to discuss the changes proposed in detail followed by a comment period. Upon receiving
   and reviewing all comments, the responsible official would determine the proper authority to be
   used in making necessary changes to the forest plan content.
   Changes to plan components require a forest plan amendment that could use any of the approved
   authorities available at the time. Changes to optional plan content, corrections in clerical errors to
   any content (including plan components), changes needed to conform to new statutory or
   regulatory requirements for which there is no discretion, and other changes to plan content,
   excluding changes to the substance of plan components or to the application of plan components
   to specific areas, may be adjusted through an administrative change. This would be done in
   compliance with the 2012 Planning Rule (36 CFR 219.7(f)) and Forest Service direction from
   Forest Service Handbook 1909.12 21.5.




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   Glossary

   A
   Access
            Road or trail route over which a public agency claims a right-of-way for public use; a way of
            approach.
   Adaptive management
            An approach to natural resource management where actions are designed and executed and
            effects are monitored for the purpose of learning and adjusting future management actions, which
            improves the efficiency and responsiveness of management.
   Age class
            Age class is one of the intervals, commonly 10 years, into which the age range of trees is divided
            for classification or use. Age class distribution refers to the location and/or proportionate
            representation of different age classes in a forest.
   Air quality: Class I, II, and III areas
            The area classification scheme established by Congress to facilitate implementation of the
            prevention of significant deterioration of the air quality provisions of the Clean Air Act.
            Class I areas receive the highest degree of protection, with only a small amount of certain kinds
            of additional air pollution allowed.
            Mandatory Class I areas were designated by Congress and include international parks, national
            wilderness areas or national memorial parks larger than 5,000 acres, or national parks larger than
            6,000 acres, that were in existence (or authorized) on August 7, 1977. The 1990 amendments to
            the Clean Air Act specified that acreage added to these areas after 1977 must also receive Class
            I designation. Mandatory Class I areas may not be redesignated to any other classification.
            Congress initially designated all other attainment areas as Class II and allowed a moderate
            increase in certain air pollutants.
            No Class III areas, where a large amount of new air pollution would be allowed, were designated
            by Congress, but a process was established for redesignating Class II areas to the more
            protective Class I or the less protective Class III status. Only states or Native American governing
            bodies have authority to redesignate these areas, except as noted above.
   Air quality related values
            Resource that may be adversely affected by a change in air quality. The resource may include
            visibility or a specific scenic, cultural, physical, biological, ecological, or recreational resource.
            Values are specific for each designated wilderness area.
   Assessment
            For the purposes of land management planning at 36 CFR 219, an assessment is the
            identification and evaluation of existing information to support land management planning.
            Assessments are not decision-making documents, but provide current information on select
            topics relevant to the plan area in the context of their borders.




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   At-risk species
            A term used to collectively refer to the federally recognized threatened, endangered, proposed,
            and candidate species and species of conservation concern within the planning area.
   Aquatic ecosystem
            The stream channel, lake or estuary bed, water, biotic communities, and the habitat features that
            occur therein.



   B
   Basal area
            The cross-sectional area, in square feet, of a tree measured at breast height (4.5 feet). Basal
            area of an area is generally estimated in terms of square feet per acre.
   Best management practices
            Methods or techniques that have been determined to be the most effective and practical means
            of achieving an objective while making the optimum use of resources.
   Big game
            Those species of large mammals normally managed for sport hunting, generally including
            antelope, bighorn sheep, deer, elk, moose, and mountain goat.
   Big game winter range
            Big game winter range is where a population or portion of a population of animals uses the
            documented suitable habitat within this range annually, in substantial numbers only during the
            winter. Crucial winter range describes any portion of the range which has been documented as
            the determining factor in a population’s ability to maintain itself at a certain level over the long
            term.
   Biological diversity, or biodiversity
            The full variety of life in an area, including the ecosystem, plant, and animal communities, species
            and genes, and the processes through which individual organisms interact with one another and
            with their environment.
   Biotic
            Typically refers to living organisms in their ecological rather than their physiological relations.
   Browse
            The buds, shoots, and leaves of woody plants eaten by livestock or wild animals.



   C
   Canada lynx
            The Canada lynx (Lynx canadensis) is a North American mammal of the cat family, Felidae,
            which ranges across Canada and into Alaska as well as some parts of the northern United
            States, including Colorado.




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   Candidate species
            For species under the purview of the U.S. Fish and Wildlife Service (Service), a species for which
            the Service possesses sufficient information on vulnerability and threat to support a proposal to
            list as endangered or threatened, but for which no proposed rule has yet been published.
   Canopy
            The uppermost spreading, branchy layer of a forest.
   Canopy cover
            The proportion or percentage of the forest floor covered by the vertical projection of tree crowns.
   Capability (Rangeland)
            Rangeland capability is the potential of an area of land to produce resources, supply goods and
            services, and allow resource uses under an assumed set of management practices and at a
            given level of management intensity. Capability depends upon current resource and site
            conditions such as climate, slope, landform, soils, and geology, as well as the application of
            management practices, such as silviculture or protection from fire, insects, and disease.
            Capability is the initial step in the determination of suitability. It is portrayed as a separate step
            both for reasons of clarity and because the actual product of “capability” often has utility in
            planning beyond its role in the determination of suitability.
   Channel
            A passage, either naturally or artificially created, that periodically or continuously contains moving
            water, or that forms a connecting link between two bodies of water. River, creek, run, branch, and
            tributary are some of the terms used to describe natural channels, which may be single or
            braided. Canal and floodway are some of the terms used to describe artificial channels.
   Clearcut
            1. A stand in which essentially all trees have been removed in one operation to produce an
               even-aged stand. Depending on management objectives, a clearcut may or may not have
               reserve trees left to attain goals other than regeneration (see regeneration method two-aged
               methods).
            2.   A regeneration or harvest method that removes essentially all trees in a stand. A minor live
                 component of the stand may be retained for purposes other than regeneration. The retained
                 trees, referred to as leave trees, should generally comprise less than 10 percent of the
                 growing space of the stand.
   Climax
            The culminating stage in plant succession for a given site where the vegetation has reached a
            highly stable condition.
   Clone
            A group of plants (for example, aspen) growing in close association, derived by asexual
            reproduction from a single parent plant.
   Coarse woody debris
            Provides living spaces for a host of organisms and serves as long-term storage sites for moisture,
            nutrients, and energy. Coarse woody debris consists of any woody material greater than 3 inches
            in diameter and is derived from tree limbs, boles, roots, and large wood fragments and fallen
            trees in various stages of decay.



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   Code of Federal Regulations
           The listing of various regulations pertaining to management and administration of national forests
           and other Federal lands.
   Collaboration
           Working with someone to produce or create something.
   Commercial thinning
           An intermediate harvest of commercial-sized trees to meet a variety of management objectives
           including reducing stand density to improve tree growth, improving forest health, or to meet other
           stand structural or composition objectives.
   Confluence
           The point where two streams meet.
   Connectivity
           Ecological conditions that exist at several spatial and temporal scales that provide landscape
           linkages that permit the exchange of flow, sediments, and nutrients; the daily and seasonal
           movements of animals within home ranges; the dispersal and genetic interchange between
           populations; and the long distance range shifts of species, such as in response to fluctuations in
           climate.
   Conservation strategy
           A conservation strategy is a management scheme or plan to conserve or sustain particular
           ecosystem elements such as rare species or habitats. An example of a conservation strategy is to
           survey for potential habitats during project planning in order to protect known populations of a
           rare species through project-specific measures.
   Constraint
           A qualification of the minimum or maximum amount of an output or cost that could be produced or
           incurred in a given time period.
   Construction
           The displacement of vegetation, soil, rock, and the installation of human-made structures involved
           in the process of building a complete, permanent road facility. The activities occur at a location or
           corridor that is not currently occupied by a road.
   Coppice (Coppice with standards)
           Coppice is a vegetation reproduction method with clear felling or clearcutting. Clear felling
           stimulates sprouting from the residual roots. Standards are selected overstory trees reserved for
           a longer rotation at the time each crop of coppice material is cut.
   Corridor (utility or right-of-way)
           A linear strip of land defined for the present or future location of transportation or utility right-of-
           way within its boundaries.
           For the Continental Divide National Scenic Trail, the corridor includes one-half mile on either side
           of the trail.




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   Council on Environmental Quality
           An advisory council to the President established by the National Environmental Policy Act of
           1969. It reviews Federal programs for their effects on the environment, conducts environmental
           studies, and advises the President on environmental matters.
   Cover type
           The dominant vegetation in an area—^for example, aspen, ponderosa pine, or sedges.
   Critical habitat
           For a threatened or endangered species, (1) the specific areas within the geographical area
           occupied by the species, at the time it is listed under the Endangered Species Act, on which are
           found those physical or biological features (a) essential to the conservation of the species, and
           (b) which may require species management considerations or protection; and (2) specific areas
           outside of the geographical area occupied by the species at the time it is listed, upon a
           determination by the Secretary that such area are essential for the conservation of the species.
           Critical habitat is designated through rule making by the Secretary of the Interior or Commerce.

   Crown
           The upper part of a tree or other woody plant carrying the main branch system and foliage.
   Culmination of mean annual increment
           Mean annual increment of growth and culmination of mean annual increment of growth. Mean
           annual increment of growth is the total increment of increase of volume of a stand (standing crop
           plus thinnings) up to a given age divided by that age. Culmination of mean annual increment of
           growth is the age in the growth cycle of an even-aged stand at which the average annual rate of
           increase of volume is at a maximum. In land management plans, mean annual increment is
           expressed in cubic measure and is based on the expected growth of stands, according to
           intensities and utilization guidelines in the plan.
   Cultural landscapes
           Cultural resources that represent the combined works of nature and humans.
   Cultural resources
           An object or definite location of human activity, occupation, or use identifiable through field
           survey, historical documentation, or oral evidence. Cultural resources are prehistoric, historic,
           archaeological, or architectural sites, structures, places, or objects and traditional cultural
           properties. Cultural resources include the entire spectrum of resources for which the Heritage
           Program is responsible, from artifacts to cultural landscapes, without regard to eligibility for listing
           on the National Register of Historic Places.



   D
   Decadence
           A process, condition, or period of deterioration or decline.
   Deciduous
           A deciduous tree or shrub sheds its leaves annually.




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   Decommission
          Demolition, dismantling, removal, obliteration, and/or disposal of a deteriorated or otherwise
          unneeded asset or component, including necessary cleanup work. This action eliminates the
          deferred maintenance needs for the fixed asset. Decommissioning roads includes activities that
          result in the stabilization and restoration of unneeded roads to a more natural state.
   Designated road, trail, or area
          A National Forest System road or trail, or an area of National Forest System lands, that is
          designated for motor vehicle use pursuant to 36 CFR 212.51 on a motor vehicle use map (36
          CFR 212.1).
   Designated wilderness
          Designated wilderness refers to any area of land designated by Congress as part of the National
          Wilderness Preservation System that was established by the Wilderness Act of 1964.

   Desired condition
          A description of specific social, economic, and/or ecological characteristics of the plan area, or a
          portion of the plan area, toward which management of the land and resources should be directed.
          (36 CFR 219.7(e)(1)(i))
   Developed recreation
          Recreation that occurs at man-made developments such as campgrounds, picnic grounds,
          resorts, ski areas, trailheads, etc. Facilities might include roads, parking lots, picnic tables, toilets,
          drinking water, ski lifts, and buildings. Campgrounds and picnic areas are examples of developed
          recreation sites.
   Developed site
          Developed recreation sites are relatively small, distinctly defined areas where facilities are
          provided for concentrated public use, such as campgrounds and picnic areas.
   Diameter at breast height (dbh)
          The diameter of a standing tree measured at a point 4 feet 6 inches from ground level on the
          uphill side.
   Dispersed recreation
          Outdoor recreation that is spread out over the land and in conjunction with roads, trails, and
          undeveloped waterways. Activities are typically day-use oriented and include hunting, fishing,
          boating, hiking, off-road vehicle use, cross-country skiing, motorbiking, and mountain climbing.
   Disturbance
          Any relatively discrete event in time that disrupts ecosystem, watershed, community, or species
          population structure and/or function and changes resources, substrate availability, or the physical
          environment.
   Diversity
          The distribution and abundance of different plant and animal communities and species within an
          area. This term is not synonymous with “biological diversity.”
   Down or downed
          A tree or portion of a tree that is dead and lying on the ground.




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   Downed woody material or debris
          Woody material, from any source, that is dead and lying on the forest floor.



   E
   Easement
          A right afforded a person or agency to make limited use of another’s real property for access or
          other purposes.
   Ecological conditions
          The biological and physical environment that can affect the diversity of plant and animal
          communities, the persistence of native species, and the productive capacity of ecological
          systems. Ecological conditions include habitat and other influences on species and the
          environment. Examples of ecological conditions include the abundance and distribution of aquatic
          and terrestrial habitats, connectivity, roads, and other structural developments, human uses, and
          invasive species.
   Ecological integrity
          The quality or condition of an ecosystem when its dominant ecological characteristics (for
          example, composition, structure, function, connectivity, and species composition and diversity)
          occur within the natural range of variation and can withstand and recover from most perturbations
          imposed by natural environmental dynamics or human influences.
   Ecological process
          The actions or events that link organisms (including humans) and their environment, such as
          disturbance, successional development, nutrient cycling, carbon sequestration, productivity, and
          decay.
   Ecological sustainability
          The capability of ecosystems to maintain ecological integrity.
   Economic sustainability
          The capability of society to produce and consume or otherwise benefit from goods and services,
          including contributions to jobs and market and nonmarket benefits.
   Ecosystem
          A spatially explicit, relatively homogenous unit of the Earth that includes all interacting organisms
          and elements of the abiotic environment within its boundaries. Usually described in terms of its
          composition, structure, function, and connectivity.
   Ecosystem services
          The direct and indirect contributions of ecosystems to human well-being. They directly or
          indirectly support survival and quality of life. Ecosystem services can be categorized into types:
          Provisioning services - products obtained from ecosystems such as food, fresh water, wood,
          fiber, genetic resources, and medicines.
          Regulating services - benefits obtained from the regulation of ecosystem processes such as
          climate and natural hazards, water purification, waste management, pollination, and pest control.




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             Cultural services - nonmaterial benefits that people obtain from ecosystems such as spiritual
             enrichment, intellectual development, recreation, and aesthetic values.
          Supporting services - ecosystem services that are necessary for the production of all other
          ecosystem services. Examples include biomass production, production of atmospheric oxygen,
          soil formation and retention, nutrient cycling, water cycling, and provisioning of habitat.
   Edaphic
          Of, produced by, or influenced by the soil; related or caused by particular soil conditions, as of
          texture or drainage, rather than by physiographic or climatic factors.

   Edge
          The place where plant communities meet or where successional stages or vegetative conditions
          within plant communities come together.
   Endangered species
          Any species that the Secretary of Interior or the Secretary of Commerce has determined is in
          danger of extinction throughout all or a significant portion of its range.
   Endangered Species Act
          Public Law 93-205, approved in 1973 and since amended, the Endangered Species Act provides
          for the conservation of ecosystems upon which threatened and endangered species of fish,
          wildlife, and plants depend.
   Environmental Impact Statement
          A formal public document prepared to analyze the impacts on the environment of a proposed
          project or action and released for comment and review. It is prepared first in draft or review form
          and later in final form. An EIS must meet the requirements of the National Environmental Policy
          Act (NEPA), the Council on Environmental Quality (CEQ) guidelines, and directives of the agency
          responsible for the proposed project. An impact statement includes the following points: 1) the
          environmental impact of the proposed action, 2) any adverse impacts that cannot be avoided by
          the action, 3) the alternative courses of actions, 4) the relationships between local short-term use
          of the human environment and the maintenance and enhancement of long-term productivity, and
          5) a description of the irreversible and irretrievable commitment of resources, which would occur
          if the action were accomplished.
   Erosion
             Detachment or movement of the land surface by water, wind, ice, gravity, or other geological
             activity. Accelerated erosion is much more rapid than normal, natural, geologic erosion, primarily
             as a result of the influence of activities of man, animals, or natural catastrophes.
   Even-aged management
          The application of a combination of actions that results in the creation of stands in which trees of
          essentially the same age grow together. Managed even-aged forests are characterized by a
          distribution of stands of varying ages (and therefore, tree sizes throughout the forested area). The
          difference in age between trees forming the main canopy level of a stand generally does not
          exceed 20 percent of the age of the stand at harvest rotation age. Regeneration in a particular
          stand is obtained during a short period at or near the time that a stand has reached the desired
          age or size for regeneration and is harvested. Clearcut, shelterwood, or seed-tree cutting
          methods produce even-aged stands (36 CFR 219.3).




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   Executive order
              An order of regulation issued by the President or some administrative authority under his or her
              direction.



   F
   Facility
              Structures needed to support the management, protection, and use of the national forests,
              including buildings, utility systems, dams, and other construction features. There are three types
              of facilities: recreation, administrative, and permittee.
   Fen
              An ancient wetland ecosystem dependent on nutrient-rich local or regional groundwater flow
              systems maintaining perennial soil saturation and supporting continuous organic soil (i.e., peat)
              accumulation. (FS-990A)
   Fire management plan
              A plan that identifies and integrates all wildland fire management and related activities within the
              context of approved land and resource management plans. It defines a program to manage
              wildland fires (wildfire and prescribed fire). The plan is supplemented by operational plans,
              including but not limited to preparedness plans, preplanned dispatch plans, prescribed fire burn
              plans, and prevention plans. Fire management plans assure that wildland fire management goals
              and components are coordinated.
   Fire regime
              Description of the patterns of fire occurrences, frequency, size, severity, and sometimes
              vegetation and fire effects as well, in a given area or ecosystem. A fire regime is a generalization
              based on fire histories at individual sites. Fire regimes typically are described as cycles because
              some parts of the histories are repeated, and the repetitions can be counted and measured, such
              as fire return interval.
   Fire regime condition class
              Fire regime condition class is an expression of the departure of the current condition from the
              historical fire regime. It is derived from the historical fire regime and the current fire severity. It is
              used as a proxy for the probability of severe fire effects, e.g., the loss of key ecosystem
              components—soil, vegetation, structure—or alteration of key ecosystem processes—nutrient
              cycles, hydrologic regimes. The fire regime condition class is an index of ecosystem risks
              attributable to wildland fire.
   Fire suppression
              All the work and activities connected with fire-extinguishing operations, beginning with discovery
              and continuing until the fire is completely extinguished. The four fire suppression strategies are:
                      Monitor - the systematic process of observing, collecting, and recording fire-related
                      data, particularly with regard to fuels, topography, weather, fire behavior, fire effects,
                      smoke, and fire location. This may be done onsite, from a nearby or distant vantage point
                      in person or using a sensor, or through remote sensing (aircraft or satellite).
                       Confine - to restrict a wildfire to a defined area by using a combination of natural and
                       constructed barriers that will stop the spread of the fire under the prevailing and




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                    forecasted weather conditions until out. This means that “some action is or has been
                    taken” (line construction, bucket drops, etc.) to suppress portions of the fire perimeter.
                    Point zone protection - Point or zone protection involves protecting specific points from
                    the fire while not actively trying to line the entire fire edge. Points being protected may be
                    communities, individual homes, communication sites, areas of high resource value, etc.
                    Full suppression - a strategy to put the fire out as efficiently and effectively as possible,
                    while providing for firefighter and public safety. To complete a fireline around a fire to halt
                    fire spread, and cool down all hot spots that are an immediate threat to the control line or
                    outside the perimeter, until the lines can reasonably be expected to hold under
                    foreseeable conditions. Synonymous with “full perimeter containment” and “control.”
   Floodplain
            The flat area of land adjacent to a river channel that is composed of unconsolidated sediments
            (alluvium) deposited when the river overflows its banks at flood stages.
   Focal species
            A small subset of species whose status infers the integrity of the large ecological system to which
            it belongs and provides meaningful information regarding the effectiveness of the plan in
            maintaining or restoring the ecological conditions to maintain the diversity of plant and animal
            communities in the plan area.
   Forage
            All browse and herbaceous foods that are available to grazing animals.
   Forb
            Any herbaceous flowering plant other than grasses.
   Forest highway
            A designated forest road under the jurisdiction of, and maintained by, a public authority that is
            subject to the Highway Safety Act.
   Foreground
            A term used in scenery management to describe the portions of a view between the observer and
            as far as one-quarter to one-half mile distant.
   Forested land
            Land at least 10 percent occupied by forest trees of any size, or formed having had such tree
            cover and not currently developed for non-forest use. Lands developed for non-forest use include
            areas for crops, improved pasture, residential or administrative areas, improved roads of any
            width, and adjoining road clearing and power line clearing of any width.
   Forest health
            The perceived condition of a forest derived from concerns about such factors as its age,
            structure, composition, function, and vigor, presence of unusual levels of insects and diseases,
            and resilience to disturbance.
   Forest plan
            Source of management direction for an individual national forest that specifies activity and output
            levels for a period of time. Management direction in the plan is based on the issues identified at
            the time of the plan’s development.



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   Forest plan revision
          The process for revising a forest plan includes preliminary identification of the need to change the
          plan based on the assessment, development of a proposed plan, consideration of the
          environmental effects of the proposal and preparation of a draft environmental impact statement,
          providing an opportunity for the public to comment on the proposed plan, providing an opportunity
          for the public to object before the proposal is approved, and finally, approval of the plan and
          preparation of the final environmental impact statement.

   Fragmentation
          A process that occurs wherever a large, contiguous habitat is transformed into smaller patches
          that are isolated from each other by a landscape matrix unlike the original. This matrix can differ
          from the original habitat in either composition or structure. The crucial point is that it functions as
          either a partial or total barrier to dispersal for species associated with the original habitat. A clear
          threat to population persistence occurs when fragmentation isolates pairs and populations, as
          opposed to fragmentation within the home range of individual pairs.
   Fuel
          Organic material that will support the start and spread of a fire: duff, litter, grass, weeds, forbs,
          brush, trees, and dead wood materials.
   Fuel load
          The amount of fuel present expressed quantitatively in terms of weight of fuel per unit area. This
          may be available (consumable) fuel or total fuel and is typically dry weight.

   Fuels management
          The manipulation of vegetation for the purpose of changing the characteristics of a fire as it
          burns.
   Fuels reduction treatment
          Manipulation or removal of fuels to lessen potential damage and resistance to control (includes
          mechanical and prescribed fire treatments). Fuels reduction treatments result in a change in the
          amount, configuration, and spacing of live and dead vegetation, with the purpose of creating
          conditions that result in more manageable fire behavior and reduced severity during wildfires.
   Fuelwood
          Round, split, or sawed wood of general refuse material, which is cut into short lengths for burning
          as fuel.
   Functioning watershed
          A watershed that is functioning properly has five important characteristics (Williams et al. 1997):

               1.   They provide for high biotic integrity, which includes habitats that support adaptive animal
                    and plant communities that reflect natural processes.

               2.   They are resilient and recover rapidly from natural and human disturbances.

               3.   They exhibit a high degree of connectivity longitudinally along the stream, laterally across
                    the floodplain and valley bottom, and vertically between surface and subsurface flows.

               4.   They provide important ecosystem services, such as high-quality water, the recharge of
                    streams and aquifers, the maintenance of riparian communities, and the moderation of
                    climate variability and change.



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                 5.   They maintain long-term soil productivity.
             (From FS 977, Watershed Condition Framework, May 2011)



   G
   Game species
             Any species of wildlife or fish for which hunting seasons and bag limits have been established,
             and are normally harvested by hunters and fishermen.
   Geographic information system
             An information processing technology to input, store, manipulate, analyze, and display spatial
             resource data to support the decision-making processes of an organization. Generally, an
             electronic medium for processing map information.
   Goal
             A concise statement that describes a desired condition to be achieved sometime in the future. It
             is normally expressed in broad, general terms, and is timeless in that it has no specific date by
             which it is to be completed. Goal statements form the principal basis from which objectives are
             developed. (36 CFR 219.3)
   Grass/forb
             An early forest successional stage during which grasses and forbs are the dominant vegetation.
   Groundwater
             Water within the earth that supplies wells and springs. Specifically, water in the zone of saturation
             where all openings in soil and rock are filled. The upper surface level forms the water table.
   Group selection
             A method of regenerating uneven-aged stands in which trees are cut, in small groups, and new
             age classes are established. The width of groups is commonly approximately twice the height of
             the mature trees, with small openings providing suitable microclimates for shade-tolerant tree
             species to regenerate, and the larger openings providing suitable microclimates for more shade-
             intolerant tree species to regenerate.
   Guideline
             A constraint on project or activity decision-making that allows for departure from its terms, so long
             as the purpose of the guideline is met. Guidelines are intended to help achieve or maintain a
             desired condition or conditions, avoid or mitigate undesirable effects, or meet applicable legal
             requirements.



   H
   Habitat
             The natural environment of a plant or animal. In wildlife management, the major components of
             habitat are considered to be food, water, cover, and living space.




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   Herbaceous
              Of, denoting, or relating to herbs.
   Heritage resources
              Buildings, sites, areas, architecture, memorials, and objects having scientific, prehistoric, historic,
              or social values.
   Hibernacula
              Habitat niches where certain animals, e.g., bats, over-winter, such as caves, mines, tree hollows,
              or loose bark.
   Hydrologic unit code
              A sequence of numbers that identifies a hydrologic unit (such as rivers, river reaches, lakes, or
              drainage basins) which are nested drainage basins or watersheds.



  J
   Ignition
              The initiation of combustion.
   IMPLAN
              Acronym for the computer model used as an analysis tool to display social effects of various
              alternatives developed during the land management planning effort.
   INFRA
              INFRA is a collection of web-based data entry forms, reporting tools, and GIS tools that enable
              the Forest Service to manage and report accurate information about the inventory of constructed
              features and land units as well as the permits sold to the public and to partners.
   Infrastructure
              The facilities, utilities, and transportation system needed to meet public and administrative needs
              for operation, e.g., buildings, roads, and power supplies.
   Inholding
              Land within the proclaimed boundaries of a national forest that is owned by a private citizen, an
              organization, or an agency.
   Instream flow
              The volume of surface water in a stream system passing a given point at a given time.
   Interdisciplinary team
              A group of individuals with different training assembled to solve a problem or perform a task. The
              team is assembled out of recognition that no one scientific discipline is sufficiently broad enough
              to adequately solve the problem.
   Intermittent stream
              A stream or reach of stream channel that flows, in its natural condition, only during certain times
              of the year or in several years. Characterized by interspersed, permanent surface water areas



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          containing aquatic flora and fauna adapted to the relatively harsh environmental conditions found
          in these types of environments (Briggs 1996).
   Interpretation
           Explaining the meaning or significance of something.
   Invasive species
          Native species are those that have occurred, now occur, or may occur in a given area as a result
          of natural processes.
          Exotic (a.k.a. nonnative, foreign, or alien) species are those that live outside their native range
          and arrived there by human activity, either deliberate or accidental.
          Invasive species have the ability to thrive and spread aggressively outside their natural range.
          They affect both aquatic and terrestrial areas and can be plants, vertebrates, invertebrates, and
          pathogens.
   Invertebrate
          An animal lacking a spinal column.



   L
   Land exchange
          The conveyance of non-Federal land or interests to the United States in exchange for National
          Forest System land or interests in land.
   Landscape
          A defined area irrespective of ownership or other artificial boundaries, such as a spatial mosaic of
          terrestrial and aquatic ecosystems, landforms, and plant communities, repeated in similar form
          throughout such a defined area.
   Landscape scale
          A heterogeneous land area composed of a cluster of interacting ecosystems that are repeated in
          similar form throughout. Landscapes vary in size, from many thousands of acres to only a few
          kilometers in diameter.
   Landslide
          The moderately rapid to rapid downslope movement of soil and rock that may or may not be
          water saturated.
   Late-successional forest
          A stage of forest succession where the majority of trees are mature or overmature.
   Large woody debris
          Large pieces of relatively stable woody material located within the bankfull channel and appearing
          to influence bankfull flows.
          Single - A single piece that has a length equal to or greater than 3 meters or two-thirds of the
          wetted stream width and 10 centimeters in diameter one-third of the way from the base.
          Aggregate - Two or more clumped pieces, each of which qualifies as a single piece.



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            Rootwad - Rootmass or boles attached to a log less than 3 meters in length.
   Leasable minerals
            Those minerals or materials designated as leasable under the Minerals Leasing Act of 1920.
            They include coal, phosphate, asphalt, sulfur, potassium, sodium minerals, and oil and gas.
            Geothermal resources are also leasable under the Geothermal Steam Act of 1970.
   Lease
            A legal contract that provides for the right to develop and produce oil and gas resources for a
            specific period of time under certain agreed-upon terms and conditions.
   Leave tree
            A tree marked to be left standing in an area where it would otherwise be felled.
   Litter
            A surface layer of loose organic debris, consisting of freshly fallen or slightly decomposed organic
            materials.
   Locatable minerals
            Minerals or materials subject to claim and development under the Mining Law of 1872, as
            amended. Generally includes metallic minerals such as gold and silver, and other materials not
            subject to lease or sale, like some bentonites, limestone, talc, some zeolites, etc.
   Lynx analysis unit
            An area of at least the size used by an individual lynx, from about 25 to 50 square miles.



   M
   M
            1,000 units (thousands)
   Maintenance
            The upkeep of the entire Forest Development T ransportation Facility, including surfaces and
            shoulders, parking and side areas, structures, and such traffic control devices as are necessary
            for its safe and efficient use (36 CFR 212.1). Maintenance is not for the purpose of upgrading a
            facility, but to bring it to the originally constructed or subsequently reconstructed conditions.
   Maintenance level
            The level of service provided by, and maintenance required for, a specific road. For more
            information, see the entry for road maintenance level.
   Management action or activity
            An action or activity humans impose on a landscape for the purpose of managing natural
            resources.
   Management approach
            Management approaches describe the principal strategies and program priorities the responsible
            official intends to employ to carry out projects and activities developed under the plan. They can




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             convey a sense of priority and focus among objectives and likely management emphasis. They
             are optional plan content.
   Management area
             A land area identified within the planning are that has the same set of applicable plan
             components. A management area does not have to spatially contiguous.
   Management concern
             An issue, problem, or a condition that constrains the range of management practices identified by
             the Forest Service in the planning process. (36 CFR 219.3)
   Management direction
             A statement of multiple-use and other goals and objectives, the associated management
             prescriptions, and standards and guidelines for attaining them. (36 CFR 219.3)
   Management prescription
             Management practices and intensity selected and scheduled for application on a specific area to
             attain multiple use and other goals and objectives. (36 CFR 219.3)
   Mass movement
             Downslope unit movement of a portion of the land surface. A single landslide of the gradual,
             simultaneous downhill movement of the entire mass of loose earth material on a slope face.
   MBF
             One thousand board feet of timber.
   Mechanical treatment
             Mechanical vegetation treatment is any activity undertaken to modify the existing condition of the
             vegetation accomplished with mechanical equipment.
   Mechanized
             Provided with mechanical power.
   Mechanized transport
             Includes wheeled forms of transportation such as nonmotorized carts, wheelbarrows, bicycles,
             and any other nonmotorized, wheeled vehicles.
   Memorandum of understanding
             A legal agreement between the Forest Service and other agencies resulting from consultation
             between agencies that states specific measures the agencies will follow to accomplish a large or
             complex project. A memorandum of understanding is not a fund-obligating document.
   Metapopulation
             A group of populations separated by space but that consist of the same species. These spatially
             separated populations interact as individual members move from one population to another.
   Mineral
             Locatable - Hard rock minerals that are mined and processed for the recovery of metals. They
             may include certain nonmetallic minerals and uncommon varieties of mineral materials such as
             valuable and distinctive deposits of limestone or silica.



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            Leasable - Coal, oil, gas, phosphate, sodium, potassium, oil shale, sulfur, and geothermal
            resources.
            Salable (or mineral materials) - A collective term to describe common varieties of sand, gravel,
            stone, pumice, cinders, clay, and other similar materials. Common varieties do not include
            deposits of those materials that may be locatable. In general, these minerals are widely spread
            and are relatively low in unit value. They are generally used for construction materials and for
            road building purposes.
   Mineral entry
            Claiming public lands administered by the Forest Service under the Mining Law of 1872 for the
            purpose of exploiting minerals. May also refer to mineral exploration and development under the
            mineral leasing laws and Material Sale Act of 1947.

   Mineral withdrawal
            The exclusion of locatable mineral deposits from mineral entry on areas required for
            administrative sites by the Forest Service, and other areas highly valued by the public. Public
            lands withdrawn from entry under the General Mining Laws and/or the Mineral Leasing Laws.
   Minimum stocking standard
            The stocking that must be present on regenerated areas before a new stand can be considered
            established. Minimum stocking is generally stated in terms of number of trees per acre and tree­
            stem heights by species.
   Mining
            Extraction of valuable minerals or other geological materials from the earth.
   Mitigate, or mitigation
            To avoid, minimize, rectify, reduce, or compensate the adverse environmental impacts associated
            with an action.
   Modification
            A description in scenic quality objectives when activities may dominate, but must use naturally
            established form, color, and texture. These areas should appear natural when viewed in the
            background.
   Monitoring
            A systematic process of collecting information to evaluate effects of actions or changes in
            conditions or relationships.
   Montane
            Of or inhabiting mountainous country.
   Mosaic
            The intermingling of plant communities and their successional stages in such a manner as to give
            the impression of an interwoven design.
   Motorized vehicle
            Any vehicle which is self-propelled, other than: a) a vehicle operated on trails; and b) any
            wheelchair or mobility device, including one that is battery-powered, that is designed solely for
            use by a mobility-impaired person for locomotion and that is suitable for an indoor pedestrian
            areas (36 CFR 212.1).


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   Motorized equipment
          A machine that uses a motor, engine, or other nonliving power source. This includes, but is not
          limited to, machines such as chain saws, aircraft, snowmobiles, generators, motorboats, and
          motor vehicles. It does not include small battery- or gas-powered, hand-carried devices such as
          shavers, wristwatches, flashlights, cameras, stoves, or other similar small equipment.
   Motorized route
          A National Forest System road or trail that is designated for motorized use on a motor vehicle use
          map pursuant to 36 CFR 212.51.
   Motorized use
          The designation of roads, trails, and areas that are open to motor vehicle use as specified in the
          Federal Register / Vol. 70, No. 216 / Wednesday, November 9, 2005 / 36 CFR Parts 212, 251,
          261, Travel Management; Designated Routes and Areas for Motor Vehicle Use; Final Rule.
   Motor vehicle use map
          A map reflecting designated roads, trails, and areas open to motorized public use on an
          administrative unit or a ranger district of the National Forest System.
   Multiple use
          The management of all the various renewable surface resources of the national forests so that
          they are used in the combination that will best meet the needs of the American people; making
          the most judicious use of the land for some or all of these resources or related services over
          areas large enough to provide sufficient latitude for periodic adjustments in the use to conform to
          changing needs and conditions; that some lands will be used for less than all of the resources;
          and harmonious and coordinated management of the various resources, each with the other,
          without impairment of the productivity of the land, with consideration being given to the relative
          values of the various resources, and not necessarily the combination of uses that will give the
          greatest dollar return or the greatest unit output. (36 CFR 219.19)



   N
   National Environmental Policy Act (NEPA)
          A 1969 act declaring a national policy that encourages productive and enjoyable harmony
          between humankind and the environment, to promote efforts that will prevent or eliminate
          damage to the environment and biosphere and stimulate the health and welfare of humanity, to
          enrich the understanding of the ecological systems and natural resources important to the nation,
          and to establish a Council on Environmental Quality. (The Principal Laws Relating to Forest
          Service Activities, Agriculture Handbook No. 453, UsDA, Forest Service, 359 pp.) The NEPA
          process is an interdisciplinary process that concentrates decision-making around issues,
          concerns, alternatives, and the effects of alternatives on the environment. NEPA regulations are
          set out in Forest Service Handbook 1909.15.
   National Forest Management Act
          A law passed in 1976 as an amendment to the Forest and Rangeland Renewable Resources
          Planning Act, requiring the preparation of regional guides and forest plans, and the preparation of
          regulations to guide that development.




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   National Forest System lands
          All national forest lands reserved or withdrawn from the public domain of the United States, all
          national forest lands acquired through purchase, exchange, donation, or other means, the
          national grasslands and land utilization projects administered under title III of the Bankhead-
          Jones Farm Tenant Act (50 Stat. 525, 7 uSc 1010-1012), and other lands, waters, or interests
          therein which are administered by the Forest Service or are designated for administration through
          the Forest Service as a part of the system. 16 USC 1609(a).
   National Historic Preservation Act
          Extends the policy in the Historic Sites Act to State and local historical sites as well as those of
          national significance, expands the National Register of Historic Places, establishes the Advisory
          Council on Historic Preservation and the State Historic Preservation Officers, and requires
          agencies to designate Federal Preservation Officers. Section 106 directs all Federal agencies to
          take into account the effects of their undertakings (actions, financial support, and authorizations)
          on historic properties included in or eligible for the National Register. Section 110 establishes
          inventory, nomination, protection, and preservation responsibilities for federally owned historic
          properties.
   National Register of Historic Places
          The Nation’s official list of cultural resources worthy of preservation. Authorized under the
          National Historic Preservation Act of 1966, the National Register is part of a national program to
          coordinate and support public and private efforts to identify, evaluate, and protect our historic and
          archaeological resources. Properties listed in the Register include districts, sites, buildings,
          structures, and objects that are significant in American history, architecture, archaeology,
          engineering, and culture. The National Register is administered by the National Park Service.
   Native American Graves Protection and Repatriation Act (NAGPRA)
          Provides a process for museums and Federal agencies to return certain Native American cultural
          items—human remains, funerary objects, sacred objects, or objects of cultural patrimony—to
          lineal descendants, and culturally affiliated Indian tribes and Native Hawaiian organizations.
          NAGPRA includes provisions for unclaimed and culturally unidentifiable Native American cultural
          items, intentional excavation, and unanticipated discovery of Native American cultural items on
          Federal and Tribal lands, and penalties for noncompliance and illegal trafficking. The Act requires
          agencies and museums to identify holdings of such remains and objects and to work with
          appropriate Native American groups toward their repatriation. Permits for the excavation and/or
          removal of “cultural items” protected by the Act require Tribal consultation, as do discoveries of
          “cultural items” made during activities on Federal or Tribal lands.
   Natural range of variation
          The variation of ecological characteristics and processes over scales of time and space that are
          appropriate for a given management application. In contrast to the generality of historical ecology,
          the natural range of variation concept focuses on a distilled subset of past ecological knowledge
          developed for use by resource managers; it represents an elicit effort to incorporate a past
          perspective into management and conservation decisions. The pre-European influenced
          reference period considered should be sufficiently long, often several centuries long, to include
          the full range of variation produced by dominant natural disturbance regimes such as fire and
          flooding and should also include short-term variation and cycles in climate. The natural range of
          variation is a tool for assessing the ecological integrity and does not necessarily constitute a
          management target or desired condition. The natural range of variation can help identify key
          structural, functional, compositional, and connectivity characteristics, for which plan components
          may be important for either maintenance or restoration of such ecological conditions.




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   Nonmotorized activities
           Activities that do not incorporate the use of a motor, engine, or other nonliving power source. This
           includes such machines as aircraft, hovercraft, motorboats, automobiles, motor bikes,
           snowmobiles, bulldozers, chainsaws, rock drills, and generators.
   Notice of intent
           Written notice to announce the Forest Service’s intent to begin forest plan revision and prepare
           an environmental impact statement.



   O
   Objective
           A concise, measurable, and time-specific statement of a desired rate of progress toward a
           desired condition or conditions. Objectives should be based on reasonably foreseeable budgets.
   Old forest
           The overstory is dominated by late seral or climax species of a certain age and size, and has
           other characteristics such as snags, canopy layers, downed woody material, and trees with
           rotten, dead, or broken tops.
   Openings
           Meadows, clearcuts, and other areas of vegetation that do not provide cover.
   Osha
           Osha, also known as osha (Ligusticum porteri), is a perennial herb found in parts of the Rocky
           Mountains and northern Mexico, especially in the southwestern United States. Osha is strictly a
           mountain plant that requires partial shade. It is most commonly found in deep, moist soils rich in
           organic material.
   Outputs
           The goods, end products, or services that are purchased, consumed, or used directly by people.
           Goods, services, products, and concerns produced by activities that are measurable and capable
           of being used to determine the effectiveness of programs and activities in meeting objectives.
   Overstory
           That portion of a plant community consisting of the taller plants on the site; the forest or woodland
           canopy.
   Over-the-snow vehicle
           Vehicles that are designed for use over snow and that run on a track or tracks and/or a ski or
           skis, while in use over snow.



   P
   Party
           A group of people readily recognized as traveling together.




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   Perennial stream
          A stream or reach of a channel that flows continuously or nearly so throughout the year and
          whose upper surface is generally lower than the top of the zone of saturation in areas adjacent to
          the stream.
   Persons at one time (PAOT)
          A recreational capacity measurement term indicating the number of people who can use a facility
          or area at one time. Equal to five persons per family unit for camp and picnic grounds.
   Planned ignition
          The intentional initiation of a wildland fire by a hand-held, mechanical, or aerial device where the
          distance and timing between ignition lines or points and the sequence of igniting them is
          determined by environmental conditions (weather, fuel, topography), firing technique, and other
          factors that influence fire behavior and fire effects (see prescribed fire).
   Planning period
          The lifetime of the plan. The time interval within the planning horizon that is used to show
          incremental changes in yields, costs, effects, and benefits.
   Planning Rule
          The 2012 Planning Rule provides the overarching framework for individual forests and grasslands
          in the National Forest System to use in developing, amending, and revising land management
          plans, which are also known as forest plans. The planning rule identifies a framework for revising
          land management plans that consists of three phases: assessment, plan revision, and monitoring.
          The Forest Service is required by statute to have a national planning rule: the Forest and
          Rangeland Renewable Resources Planning Act of 1974, as amended by the National Forest
          Management Act of 1976, requires the Secretary of Agriculture to issue regulations under the
          principles of the Multiple-Use Sustained-Yield Act of 1960 for the development and revision of
          land management plans.
   Planning unit
          The area planned for treatment as identified in a project-level decision document. The overall
          area being analyzed.
   Plant community
          Any assemblage of plants that occur in the same area and form a distinct ecological unit.
   Pole or pole timber
          Smaller diameter trees larger than saplings that do not meet the specifications for sawtimber.
   Pre-commercial thinning
          Cutting non-sawtimber trees to meet a variety of management objectives including improving tree
          vigor, stand species composition, wildlife habitat, or reducing fuels.
   Prescribed fire
          Any fire ignited by management actions under certain, predetermined conditions to meet specific
          objectives related to hazardous fuels or habitat improvement. A written, approved prescribed fire
          plan must exist, and National Environmental Policy Act requirements must be met, prior to ignition
          (see planned ignition).




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   Prescription
          Management practices selected and scheduled for application on a specific area to attain goals
          and objectives.
   Preservation
          A scenic condition objective in which only ecological changes are allowed. Management
          activities, except for low impact recreation facilities, are prohibited. This objective applies mainly
          to wilderness, primitive areas, and areas with special classifications.
          Also, a technique of conservation that maintains the resource in or on the ground into perpetuity.
   Priority heritage asset
          A historic property that meets the criteria for a priority heritage asset with a current documented
          condition assessment and a recommended management use that realizes its agency and public
          benefit(s).
   Productive
          The ability of an area to provide goods and services and sustain ecological values.
   Project record
          The documents and materials considered in the making of a forest plan, plan revision, or plan
          amendment. Also known as the planning record.
   Proposed action
          In terms of the National Environmental Policy Act (NEPA), the project, activity, or decision that a
          Federal agency intends to implement or undertake, which is the subject of an environmental
          impact statement or environmental assessment.
   Public access
          Generally refers to a road or trail route over which a public agency claims right-of-way for public
          use.
   Public participation
          Meetings, conferences, seminars, workshops, tours, written comments, responses to survey
          questionnaires, and similar activities designed and held to obtain comments from the public about
          Forest Service planning.
   Proposed species
          Any species that is proposed by the U.S. Fish and Wildlife Service or National Marine Fisheries
          Service to be listed as threatened or endangered under the Endangered Species Act.



   R
   Range allotment
          Rangelands are managed as allotments and pastures. An allotment is a designated area of land
          available for permitted livestock grazing. Grazing is authorized for a specified number and kind of
          livestock. It is the basic land unit used to facilitate management of the range resource on National
          Forest System lands administered by the Forest Service.




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   Range condition
          The state of the plant community on a range site in relation to the potential natural community or
          the desired plant community for that site. It is typically rated in the general category of satisfactory
          or unsatisfactory.
   Ranger district
          Administrative subdivision of a national forest that is supervised by a district ranger who reports to
          the forest supervisor.
   Reclamation
          Returning disturbed lands to a form and productivity that will be ecologically balanced and in
          conformity with a predetermined land management plan.
   Recreation opportunity spectrum (ROS)
          Allocations that identify a variety of recreation experience opportunities categorized into six
          classes on a scale from primitive to urban. Each class is defined in terms of the degree to which it
          satisfies certain recreation experience needs, based on the extent to which the natural
          environment has been modified, the type of facilities provided, the degree of outdoor skills
          needed to enjoy the area, and the relative density of recreation use. The six classes are:
                     Primitive - Very high probability of experiencing solitude, self-reliance, and challenge;
                     natural landscape with natural processes allowed to function; very low interaction
                     between users; restrictions and controls not evident; access limited; generally cross­
                     country travel.
                     Semi-primitive nonmotorized - Good probability of experiencing solitude, self-reliance,
                     and challenges; natural primitive landscapes; some evidence of users; minimum subtle
                     controls; access by low standard trails and cross-country travel; natural processes
                     allowed to function with subtle vegetative alterations. Managed for nonmotorized use.
                     Semi-primitive motorized - Moderate probability for self-reliance and experiencing
                     solitude away from roads and trails); risk associated with motorized equipment;
                     predominantly natural landscapes; low concentration of users and interaction by users
                     along roads and trails; minimum but subtle restrictions; vegetative alterations visually
                     blend with the landscape. Existing routes are designated for off highway vehicles and
                     other high clearance vehicles. Mountain bikes and other mechanized equipment are
                     present.
                     Roaded natural - Low opportunity to avoid other users; little opportunity for risk or
                     challenge; substantial modified landscapes; moderate evidence and interaction of users;
                     controls and restrictions present; variety of motorized users and access; various shapes
                     and sizes of vegetative alterations that blend with the landscape. The road system is well
                     defined and can accommodate sedan travel.
                     Rural - Good opportunity to affiliate with others; facilities important; self-reliance of little
                     importance; altered landscapes but attractive; high interaction among users; obvious and
                     prevalent controls; extensive motorized use; vegetation maintained. Rural settings
                     represent most developed recreation sites.
                     Urban - Opportunity to affiliate with others important; outdoor skills associated with
                     competitive events; landscapes extensively changed with dominant structures; large
                     numbers of user interactions; intensive controls are numerous; motorized use prevalent,
                     including mass transit; vegetation planted and maintained. Highly developed ski areas
                     and resorts are examples of a typical urban setting on National Forest lands.




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   Recreation setting
          The social, managerial, and physical attributes of a place that, when combined, provide a distinct
          set of recreation opportunities. The Forest Service uses the recreation opportunity spectrum to
          define recreation settings and categorize them into six distinct classes: primitive, semi-primitive
          nonmotorized, semi-primitive motorized, roaded natural, rural, and urban.
   Recreation site
          A defined, public recreation area. The Forest Service uses two categories for recreation sites:
          dispersed and developed. Both types may have improvements needed to protect resources such
          as signs, road closure devices, bear resistant food storage devices, and/or sanitation facilities.
          Some recreation sites are designed and managed for overnight use and some are designed and
          managed for day-use only (e.g., interpretive signs at roadside pull-outs, trailheads at roadside
          pull-outs or at road restrictions, picnic areas or boat launches that are closed at night, ski areas
          that do not have overnight lodging).
          Developed sites have agency improvements made out of manmade materials that are intended
          to provide for public recreation and user comfort/convenience. Examples on National Forest
          Service lands include, but are not limited to, ski areas, campgrounds, sites with cabins, huts,
          lodges, recreation residences, visitor centers, and trailheads.
          Dispersed sites have minimal to no agency improvements made out of manmade materials.
          Dispersed sites may include outfitter camps or other primitive camping spots along a road, trail, or
          water body, or at a road closure.
   Reforestation
          Management activities used to increase or accelerate the establishment of forest cover to meet
          resource objectives.
   Regeneration
          Natural - A group or stand of young trees created from germination of seeds from trees on the
          site or sprouting from trees on the site.
          Artificial - A group or stand of young trees created by direct seeding or by planting seedlings or
          cuttings.
   Regeneration harvest
          Timber harvest system intended to create a new age class (see regeneration method).
   Regeneration method
          A cutting procedure by which a new age class is created. The major methods are clearcutting,
          seed-tree, shelterwood, selection, and coppice. Regeneration methods are grouped into four
          categories: coppice, even aged, two aged, and uneven aged.
   Rehabilitation
          1) Actions taken to protect or enhance site productivity, water quality, or other values for a short
             period of time.
          2) A short-term scenic condition objective used to restore landscapes containing undesirable
             visual or other resource impacts to the desired scenic or other acceptable quality level.
   Research natural area (RNA)
          Designated areas of land established by the Chief of the Forest Service under 36 CFR 251.23 for
          research and educational purposes and to typify important forest and range types of the Forest,



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          as well as other plant communities that have special or unique characteristics of scientific interest
          and importance.
   Resilience
          The ability of a system to recover from disturbance in the event that the disturbance exceeds the
          capacity of the system to resist changing. The concepts of resistance and resilience are jointly
          referred to as resilience.
   Resistance
          The capacity of ecosystems to tolerate disturbances without exhibiting significant change in
          structure and composition. The concepts of resistance and resilience are jointly referred to as
          resilience.
   Responsible official
          The Forest Service employee who has the delegated authority to make a specific decision. For
          example, the regional forester will select the preferred alternative for the forest plan.
   Restore/restoration
          Assisting the recovery of an ecosystem that has been degraded, damaged, or destroyed. It is an
          intentional activity that initiates or accelerates the recovery of an ecosystem with respect to its
          health, integrity, and sustainability.
   Revegetation
          The reestablishment and development of a plant cover. This may take place naturally through the
          reproductive processes of the existing flora or artificially through the direct action of reforestation
          or reseeding.
   Right-of-way
          Land authorized to be used or occupied for the construction, operation, maintenance, and
          termination of a project or facility passing over, upon, under, or through such land (36 CFR
          251.51). The privilege that one person or persons particularly described may have of passing
          over the land of another in some particular line (FSH 2709.12 05 10).
   Riparian area
          A riparian ecosystem is a transition area between the aquatic ecosystem and the adjacent
          terrestrial ecosystem, identified by soil characteristics or distinctive vegetation communities that
          require free or unbound water (FS-990A). Riparian areas may be associated with lakes,
          reservoirs, estuaries, hot springs, marshes, streams, bogs, wet meadows, and intermittent or
          permanent streams where free and unbound water is available. This habitat is transitional
          between true bottomland wetlands and upland terrestrial habitats, and while associated with
          watercourses, may extend inland or upland for considerable distances.
   Road
          A motor vehicle route more than 50 inches wide, unless identified and managed as a trail.
   Road construction, reconstruction
          Supervising, inspecting, and actual building and incurrence of all costs incidental to the
          construction or reconstruction of a road.
   Road corridor
          A strip of land between two points used by a road, or some future road whose exact location
          remains to be determined, generally with an indefinite width.


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   Road density
          The number of road miles per square mile of land (i.e., 1 mile/square mile is 1 mile of road within
          a given square mile). This includes the total density all roads.
   Road maintenance level
          Defines the level of service provided by, and maintenance required for, a specific road, consistent
          with road management objectives and maintenance criteria (FSH 7709.58, section 12.3). The
          maintenance levels are:
                  Maintenance level 1 - Intermittent service roads during the time they are closed to
                  vehicular traffic. The closure period is 1 year or longer. Basic custodial maintenance is
                  performed.
                  Maintenance level 2 - Roads open for use by high-clearance vehicles, minor traffic, no
                  warning signs. Passenger car traffic is not a consideration.
                  Maintenance level 3 - Roads open and maintained for a prudent driver in a standard
                  passenger car, low speed travel, warning signs provided. User comfort and convenience
                  are not considered priorities.
                  Maintenance level 4 - Roads that provide a moderate degree of user comfort and
                  convenience at moderate travel speeds, single or double lane, aggregate or paved
                  surface.
                  Maintenance level 5 - Roads that provide a high degree of user comfort and
                  convenience, single or double lane, generally paved surface, or aggregate-surfaced with
                  dust abatement.
   Rocky Mountain Region
          The Forest Service organizational unit consisting of Colorado, Wyoming, South Dakota,
          Nebraska, and Kansas. Also called Region 2.



   S
   Sacred site
          Per Executive Order 13007 - any specific, discrete, narrowly delineated location on Federal land
          that is identified by an Indian tribe, or Indian individual determined to be an appropriately
          authoritative representative of an Indian religion, as sacred by virtue of its established religious
          significance to, or ceremonial use by, an Indian religion; provided that the Indian tribe or
          appropriately authoritative representative of an Indian religion has informed the agency of the
          existence of such a site.
   Salvage harvest
          Removal of trees that are damaged, dead, or dying or being damaged by injurious agents other
          than competition between trees, such as insect and disease epidemics, wildfire, or storms, to
          recover timber before it loses its commercial value.
   Sanitation harvest
          Intermediate harvest to remove trees to improve stand health by stopping or reducing the actual
          or anticipated spread of insects and diseases.




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   Sawtimber
           Larger diameter trees of sufficient size and quality to be manufactured into dimensional lumber
           products. Species and minimum diameters of sawtimber trees are established by regional timber
           markets.
   Scale
           The degree of resolution at which ecological processes, structures, and changes across space
           and time are observed and measured.
   Scenic character
           A combination of the physical, biological, and cultural images that gives an area its scenic identity
           and contributes to its sense of place; scenic character provides a frame of reference from which
           to determine scenic attractiveness and to measure scenic integrity.
   Scenic condition
           Measurable standard for scenic resource management based on the acceptable degree of
           alteration of the characteristic landscape. The acceptable degree of alternation for a given
           landscape is dictated by the area’s scenic integrity objective.
   Scenic integrity objective
           Scenic integrity objectives serve as the desired conditions for the scenic resources and represent
           the degree of intactness of positive landscape attributes. Scenic integrity objectives are
           categorized into five levels. The highest ratings are given to those landscapes where valued
           landscape attributes will appear complete with little or no visible deviations. Lower ratings are
           given to those landscapes where modifications will be more evident.
                    Very high - Landscape is intact with changes resulting primarily through natural
                    processes and disturbance regimes.
                    High - Management activities are unnoticed, and the landscape character appears
                    unaltered.
                    Moderate - Management activities are noticeable but are subordinate to the landscape
                    character. The landscape appears slightly altered.
                    Low - Management activities are evident and sometimes dominate the landscape but
                    are designed to blend with surroundings by repeating line, form, color, and texture of
                    valued landscape character attributes. The landscape appears altered.
                    Very low - Human activities of vegetation and landform alterations may dominate the
                    original, natural landscape character but should appear as natural occurrences when
                    viewed at background distances.
   Scenic resource
           The composite of basic physiographic features, patterns, and land-use effects that typify a land
           unit and influence the scenic appeal the unit may have for visitors.
   Scoping
           Determination of the significant issues to be addressed in an environmental impact statement.
   Secure habitat
           An area where wildlife retreat for safety when disturbance in their usual range is intensified, such
           as by logging activities or during hunting seasons.



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   Sedge
           A grass-like plant with triangular stems and inconspicuous flowers, typically growing in wet
           ground.
   Sediment
           Material suspended in water or that has been deposited in streams and lakes.
   Seedling/sapling
           A forest successional stage in which trees are less than 5 inches in diameter.
   Seral
           The gradual supplanting of one community of plants by another, the sequence of communities
           being termed a sere and each stage seral (successional).
   Seral stage
           A phase in the sequential development of a climax community.
   Shrub/seedling
           A forest successional stage in which shrubs and seedling trees are the dominant vegetation.
   Silvicultural treatment
           A forest management activity such as thinning, harvesting, planting, pruning, prescribed burning,
           and site preparation that is designed to alter the establishment, growth, composition, health, and
           quality of forests and woodlands to meet the diverse needs and values of landowners and society
           on a sustainable basis.
   Silviculture
           The art and science of controlling the establishment, growth, composition, health, and quality of
           forests and woodlands to meet the diverse needs and values of landowners and society on a
           sustainable basis.
   Single-tree selection
           An uneven-aged method where individual trees of all size classes are removed more or less
           uniformly throughout the stand to promote growth of remaining trees and to provide space for
           regeneration.
   Slash
           Woody material left after logging, pruning, thinning, brush cutting, or other management activities
           and/or accumulating there as a result of storm, fire, or other damage.
   Slope
           The amount or degree of deviation from the horizontal or vertical.
   Slope stability
           The resistance of any inclined surface, as the wall of an open pit or cut, to failure by sliding or
           collapsing.
   Snag
           A standing, dead tree.




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   Social sustainability
             The capability of society to support the network of relationships, traditions, culture, and activities
             that connects people to the land and to one another and supports vibrant communities.
   Softwood
             A conventional term for timber and trees belonging to the evergreen group, such as pine, spruce,
             and fir.
   Soil productivity
             The capacity of a soil to support the growth of specified plants, plant communities, or a sequence
             of plant communities. Soil productivity may be expressed in terms of volume or weight/unit,
             area/year, percentage of plant cover, or other measures of biomass accumulation.
   Soil survey
             The systematic examination, description, classification, and mapping of soils in an area.
   Spatial
             Referring to the distance, interval, or area between or within things.
   Special area
             Area designated by law (by Congress) or statute or through administrative process (by the
             Secretary of Agriculture or a Forest Service official).
   Special interest area
             A type of management area designated by the forest supervisor for scenic, geologic, botanic,
             zoologic, paleontological, archaeological, historic, scenic, or recreational values, or combinations
             of these values. A special interest area is a type of special area designated through
             administrative process. Special interest areas are addressed in Forest Service Manuals 2360 and
             2372.
   Special use authorization or permit
             A permit, term permit, lease, or easement that allows occupancy, use, rights, or privileges of
             National Forest System land.
   Species
             Organisms that successfully reproduce among themselves and cannot reproduce successfully
             with other organisms.
   Stand
             A community of trees or other vegetation sufficiently uniform in composition, constitution, age,
             spatial arrangement, or condition to be distinguishable from adjacent communities that form a
             silvicultural or management entity.
   Standards and guidelines
             Principles specifying conditions or levels of environmental quality to be achieved.
                     Standard - a mandatory constraint on project and activity decision-making, established
                     to help achieve or maintain the desired condition or conditions, to avoid or mitigate
                     undesirable effects, or to meet applicable legal requirements. (36 CFR 219.7(e)(1 )(iii))
                     Standards are required criteria for the design of projects and activities. Design criteria are
                     the technical design details to ensure that projects and activities maintain or move toward


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                     the desired conditions, or at least to ensure that projects and activities do not preclude
                     their maintenance or attainment. Design criteria provide the sideboards (i.e., define the
                     limits) for projects and activities. Examples of other sources of constraints on the design
                     of projects and activities include congressional direction, oil and gas leasing stipulations,
                     regulations, timber sale contract clauses, and special use authorization standard clauses.
                     In addition, the responsible official may develop project-specific design criteria to
                     constrain a project. A standard differs from a guideline in that a standard is strict design
                     criterion, allowing no variation, whereas a guideline allows variation if the result would be
                     equally effective.
                     Guideline - a constraint on project and activity decision-making that allows for departure
                     from its terms, so long as the purpose of the guideline is met. Guidelines are established
                     to help achieve or maintain a desired condition or conditions, to avoid or mitigate
                     undesirable effects, or to meet applicable legal requirements. (36 CFR 219.7(e)(1 )(iv))
                     Guidelines are similar to standards in that they are design criteria for projects and
                     activities to help achieve the desired conditions and objectives, or at least to ensure that
                     projects or activities do not foreclose their maintenance or attainment. Guidelines differ
                     from standards in that they provide flexibility for compliance, while standards are concrete
                     limitations.
   Stewardship
             Caring for the land and associated resources and passing healthy ecosystems to future
             generations.
   Stipulation
             A provision that modifies standard lease rights and is attached to and made a part of the lease.
   Stocking
             Live trees per acre needed to meet resource objectives as identified in the forest plan or through
             other management decisions.
   Structural stage
             Any of several developmental stages of tree stands described in terms of tree age or size and
             density. In general, the habitat structural stages developed by the Forest Service Rocky Mountain
             Region staff are used. This classification has different structural stages based on tree size
             (diameter at breast height) and tree canopy cover percent.
   Structure
             The horizontal and vertical physical elements of forests and grasslands and the spatial
             interrelationships of ecosystems.
   Stubble
             The basal portion of plants remaining after the top portion has been harvested. Also, the portion
             of the plants, principally grasses, remaining after grazing is completed.
   Substrate
             The rock material varying in size from boulders to silt that is found in the bed of rivers and
             streams.
   Succession
             The sequential process of long-term plant community change and development that occurs
             following a disturbance.


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   Successional stage (seral stage)
          The relatively transitory communities that replace one another during development to potential
          natural community.
   Suitability (Rangeland)
          Rangeland suitability is a determination of the appropriateness of grazing on capable lands based
          on economic and environmental consequences and consideration of the alternative uses forgone
          if grazing is allowed.
   Suitability for timber production
          Lands that may be suited for timber production is a preliminary classification in the process of
          determining lands that are suited for timber production. This preliminary classification excludes
          National Forest System lands that are not suitable for timber production based on legal or
          technical reasons, such as lands where State, Executive order, or regulation prohibits timber
          production; lands that have been withdrawn from timber production; lands where timber harvest
          cannot be done without causing irreversible damage to soil, slope, or other watershed conditions;
          lands where there is no reasonable assurance of adequate restocking; and land that is not forest
          land.
   Suitable timber base
           Lands within the National Forest System that are capable, available, and suitable for timber
           production.
   Suppression
          The work of extinguishing a fire or confining fire spread.
   Surface water
          Water on the surface of the earth.
   Sustainability
          The capability to meet the needs of the present generation without compromising the ability of
          future generations to meet their needs.
   Sustained yield
          The amount of renewable resources that can be produced continuously at a given intensity of
          management.
          “Sustained yield of the several products and services” means the achievement and maintenance
          in perpetuity of a high-level annual or regular periodic output of the various renewable resources
          of the national forests without impairment of the productivity of the land. (36 CFR 219.3)
   Sustained yield limit
          The amount of timber, meeting applicable utilization standards that can be removed from a forest
          annually in perpetuity on a sustained yield basis. It is the volume that could be produced in
          perpetuity on lands that may be suitable for timber production. Calculation of the limit includes
          volume from lands that may be deemed not suitable for timber production after further analysis
          during the planning process. The calculation of sustained yield limit is not limited by land
          management plan desired condition, other plan components, or the planning unit’s fiscal
          capability and organizational capacity. The sustained yield limit is not a target but is a limitation
          on harvest, except when the plan allows for a departure.




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   T
   Talus
           The loose accumulation of fragmented rock material on slopes, especially at the base of a cliff.
   Temporary road
           A road necessary for emergency operations or authorized by contract, permit, lease, or other
           written authorization. Temporary roads are not included in a national forest’s transportation atlas.
   Terrestrial ecosystem
           A plant community that is not dependent on a perpetual source of water to grow.
   Thinning
           Intermediate treatment to reduce stand density or stocking levels to meet a variety of
           management objectives including increasing tree growth or vigor, improving stand health or
           species composition, reducing fuels, or improving wildlife habitat.
   Threatened and endangered species
           An endangered species is a plant or animal species listed under the Endangered Species Act that
           is in danger of extinction throughout all or a significant portion of its range. A threatened species
           is any species that is likely to become an endangered species within the foreseeable future
           throughout all or a significant portion of its range.
   Threshold
           The point or level of activity beyond which an undesirable set of responses begins to take place
           within a given resource system.
   Timber classification
           Forested land is classified under each of the land management alternatives according to how it
           relates to the management of the timber resource. The following are definitions of timber
           classifications:
                    Non-forested - Land that has never supported forests and land formerly forested where
                    use for timber production is precluded by development or other uses.
                    Forested - Land at least 10-percent stocked (based on crown cover) by forest trees of
                    any size, or formerly having had such tree cover and not currently developed for non­
                    forest use.
                    Suitable - Land to be managed for timber production on a regulated basis.
                    Unsuitable - Forest land withdrawn from timber use by statute or administrative
                    regulation (for example, wilderness), or identified as inappropriate for timber production in
                    the forest planning process.
   Timber harvest
           The removal of trees for wood fiber utilization and other multiple-use purposes.
   Timber production
           The purposeful growing, tending, harvesting, and regeneration of regulated crops of trees to be
           cut into logs, bolts, or other round sections for industrial or consumer use.




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           Managing land to provide commercial timber products on a regulated basis with planned,
           scheduled entries.
   Timber sale
           Selling of forest products with monetary value to meet forest plan objectives, including providing
           raw material for both commercial manufacturing and personal use.
   Trail
           A route 50 inches or less in width, or a route greater than 50 inches wide that is identified and
           managed as a trail.
   Traditional cultural property
           A property affiliated with traditional religious and cultural importance to a distinct cultural group,
           such as an American Indian tribe or Native Hawaiian group, that is eligible for the National
           Register of Historic Places because of its association with cultural practices or beliefs of a living
           community that (a) are rooted in that community’s history, and (b) are important in maintaining the
           continuing cultural identity of the community. Traditional cultural properties include built or natural
           locations, areas, or features considered sacred or culturally significant by a group or people.
           While traditional cultural properties are closely associated with Native American cultures, a site
           need not be associated with a Native American cultural group to qualify as a traditional cultural
           property for the purposes of the National Register of Historic Places.
   Travel management
           Providing for safe, environmentally responsible, and customer-responsive movement of vehicles
           and people to and through public lands.



   U
   Understory
           That portion of a plant community growing underneath the taller plants on the site.
   Uneven-aged management
           The application of a combination of actions needed to simultaneously maintain continuous
           high-forest cover, recurring regeneration of desirable species, and orderly growth and
           development of trees through a range of diameter or age classes to provide a sustained yield of
           forest products. Cutting is typically regulated by specifying the number or proportion of trees of
           particular sizes to retain within each area, thereby maintaining a planned distribution of size
           classes. Cutting methods that develop and maintain uneven-aged stands are single-tree and
           group selection. (36 CFR 219.3)
   Ungulate
           A hoofed animal.
   Unplanned ignition
           Fires caused by natural ignition (lightning) or human caused fires that are not prescribed fires
           (see wildfire).




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   V
   Vegetation management
          Activities designed primarily to promote the health of forest vegetation in order to achieve desired
          results. When vegetation is actively managed, it is manipulated or changed by humans to
          produce desired results. Where active management of vegetation is required, techniques are
          based on the latest scientific research and mimic natural processes as closely as possible.
          Vegetation management is the practice of manipulating the species mix, age, fuel load, and/or
          distribution of wildland plant communities within a prescribed or designated management area in
          order to achieve desired results.
   Viable population
          A population of plants or animals large enough and distributed in such a way as to ensure its
          continued existence, despite all the hazards to survival such as illness, predators, old age, etc.
          throughout its existing range within the planning area.
   Viewshed
          The visible portion of the landscape seen from viewpoints. Viewpoints can include residences,
          recreational facilities, and roads and trails.



   W
   Water right
          A property right granted by a State for the use of a portion of the public’s surface water resource
          obtained under applicable legal procedures.
   Watershed
          An area of land with a characteristic drainage network that contributes surface or groundwater to
          the flow at that point; a drainage basin or a major subdivision of a drainage basin.
   Wetlands
          Those areas that are inundated or saturated by surface or groundwater at a frequency and
          duration sufficient to support and that, under normal circumstances, do support, a prevalence of
          vegetation typically adapted for life in saturated soil conditions. Wetlands generally include
          swamps, marshes, bogs, and similar areas.” (40 CFR 122. 2)
   Wild, Scenic, and Recreational Rivers
          A river or section of a river designated under the 1968 Wild and Scenic Rivers Act as wild, scenic,
          or recreational. Rivers may be designated by Congress or, if certain requirements are met, the
          Secretaries of Interior or Agriculture, as appropriate. Once designated under the Act, rivers
          receive special management direction that ensures the maintenance of the free-flowing nature
          and the outstanding natural, cultural, and recreational values of the river segment. Under the Act,
          river segments are required to be classified as wild, scenic, or recreational:
                  Wild Rivers - Those rivers or sections of rivers that are free of impoundments and
                  generally inaccessible except by trail, with watersheds or shorelines essentially primitive
                  and waters unpolluted. These represent vestiges of primitive America.




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                      Scenic Rivers - Those rivers or sections of rivers that are free of impoundments, with
                      shorelines or watersheds still largely primitive and shorelines largely undeveloped, but
                      accessible in places by roads.
                      Recreational Rivers - Those rivers or sections of rivers that are readily accessible by
                      road or railroad, that may have some development along their shorelines, and that may
                      have undergone some impoundment or diversion in the past.
   Wilderness
              All lands included in the National Wilderness Preservation System by public law; generally
              defined as undeveloped Federal land retaining its primeval character and influence without
              permanent improvements or human habitation.
   Wildfire
              Unplanned ignitions or prescribed fires that have been declared wildfires. All wildfires will receive
              appropriate suppression action.
   Wildland fire
              A general term describing any nonstructural fire that occurs in the wildland. Wildland fires are
              categorized into two distinct types:
                      Wildfires - Unplanned ignitions or prescribed fires that are declared wildfires
                      Prescribed fires - Planned ignitions.
   Wildland-urban interface
              The line, area, or zone where structures and other human developments meet or intermingle with
              undeveloped wildland or vegetation fuels.
   Windthrow
              The act of trees being uprooted by the wind.
   Winter range
              An area used by deer and elk during the winter months, generally at lower elevations and/or
              south and west exposures.
   Withdrawal
              An action that restricts the use of public land and segregates the land from the operation of some
              or all of the public land and mineral laws. Withdrawals are also used to transfer jurisdiction of
              management of public lands to other Federal agencies.




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   Appendices

    Appendix A   Old Forest Criteria
    Appendix B   Wild, Scenic, and Recreational River Eligibility Determination Process
    Appendix C   Timber Suitability and Analysis
    Appendix D   Species of Conservation Concern Presence and Concern for Persistence
    Appendix E   Southern Rockies Lynx Amendment Direction
    Appendix F   Riparian Management Zones
    Appendix G   Priority Watersheds
    Appendix H   Relevant Federal Statutes, Regulations, Policies, and Agreements
    Appendix I   Proposed and Possible Actions
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   Appendix A. Old Forest Criteria
   The criteria used for determining old forests (Table 19) on the Rio Grande are based on the
   Regional Guidelines (with slight modifications), which are documented in a publication called
   “Old-Growth Forests in the Southwest and Rocky Mountain Regions Proceedings of a
   Workshop,” March 9-13, 1992, Portal, Arizona, General Technical Report RM-213.
   The old-forest characteristics for each cover type are as follows. To be identified as old forest,
   most of the characteristics need to be present.

   Ponderosa Pine
   •     Age greater than or equal to 175
   •     Large trees per acre (greater than or equal to 16” DBH) greater than or equal 10
   •     Rot + dead/broken tops per acre greater than or equal 1
   •     Snags (10” min DBH) greater than or equal 2

   Mixed Conifer
   •     Age greater than or equal 175
   •     Large trees per acre (greater than or equal 16” DBH) greater than or equal 10
   •     Rot + dead/broken tops per acre greater than or equal 1
   •     Snags (10” min DBH) greater than or equal 2
   •     Layers greater than or equal 2
   •     Downed Woody Material greater than or equal 5 tons per acre

   Spruce-Fir
   •     Age greater than or equal 200
   •     Large trees per acre (greater than or equal 16” DBH) greater than or equal 10
   •     Rot + dead/broken tops per acre greater than or equal 1
   •     Snags (10” min DBH) greater than or equal 2
   •     Layers greater than or equal 2
   •     Downed Woody Material greater than or equal 10 tons/acre

   Aspen
   •     Age greater than or equal 100
   •     Large trees per acre (greater than or equal 14” DBH) greater than or equal 10
   •     Rot plus dead/broken tops per acre greater than or equal 1

   Pinyon-Juniper
   •     Age greater than or equal 200



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   •     Large trees per acre (greater than or equal to 12-inch diameter at root collar (DRC)) greater
         than or equal to 30
   •     Rot + dead/broken tops per acre greater than or equal 1
   •     Snags (10” min DRC) greater than or equal 1

   Table 19. Criteria used to determine old forest
          Minimum         Ponderosa                                                            Pinyon-
                                        Spruce-Fir      Mixed Conifer       Aspen
          Attributes        Pine                                                               Juniper
             Age             175           200              175              100                 200
          DBH/DRC
                             16             16               16               14               12 (DRC)
           (inches)
        Large trees/ac
                             10             10               10               10                  30
        >= DBH/DRC
            Rot +
       dead/broken tops       1             1                 1                1                   1
           per acre
        Snags per acre        2             2                2                n/a                  1
       Layers (number)       n/a            2                2                n/a                 n/a
       Downed Woody
           Material          n/a            10               5                n/a                 n/a
         (tons/acre)




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   Appendix B: Wild, Scenic, and Recreational River Eligibility
   Determination Process
   Background
   The National Wild and Scenic Rivers System was created by Congress in 1968 (Public
   Law 90-542) to preserve certain rivers with outstanding natural, cultural, and recreational values
   in a free-flowing condition for the enjoyment of present and future generations. The Wild and
   Scenic Rivers Act is notable in that it seeks to protect these rivers while at the same time
   acknowledging the benefits and necessity of appropriate developments within the river corridor.
   To be designated under the Act, a river segment must meet two fundamental requirements: the
   river segment must be “free-flowing” as defined by Section 16(b) of the Act, and the river
   segment must have one or more outstandingly remarkable values (Section 1(b)).
   Rivers may be designated by Congress or, if certain requirements are met, the Secretaries of
   Interior or Agriculture, as appropriate. Once designated under the Act, rivers receive special
   management direction that ensures the maintenance of the free-flowing nature and the
   outstanding natural, cultural, and recreational values of the river segment. Under the Act, river
   segments are required to be classified as wild, scenic, or recreational:
   •     Wild Rivers - Those rivers or sections of rivers that are free of impoundments and generally
         inaccessible except by trail, with watersheds or shorelines essentially primitive and waters
         unpolluted. These represent vestiges of primitive America.
   •     Scenic Rivers - Those rivers or sections of rivers that are free of impoundments, with
         shorelines or watersheds still largely primitive and shorelines largely undeveloped, but
         accessible in places by roads.
   •     Recreational Rivers - Those rivers or sections of rivers that are readily accessible by road or
         railroad, that may have some development along their shorelines, and that may have
         undergone some impoundment or diversion in the past.
   Section 5(d)(1) of the Wild and Scenic Rivers Act requires that “consideration shall be given by
   all Federal agencies involved to potential national wild, scenic, and recreational river areas”
   during land management planning. To meet this requirement, Forest Service units conduct a
   systematic inventory of all river segments to determine if they meet the requirements for
   designation under the Act. In addition to studies initiated by land management agencies,
   Congress can direct the study of specific rivers (Section 5(a)). Rivers that have been inventoried
   and determined to meet the requirements of the Act, but that have not yet been designated, are
   considered to be either eligible or suitable (those that have been recommended to Congress and
   the President). These eligible and suitable segments are managed to maintain their free-flowing
   nature and outstandingly remarkable values until such time as they are designated under the Act
   or released from consideration.

   Wild and Scenic Rivers Act and the Rio Grande National Forest
   In 1975, Public Law 93-621 amended the original Wild and Scenic Rivers Act (PL 90-542) and
   directed that the three tributary forks of the Conejos River, as well as the main stem of the
   Conejos (excluding Platoro Reservoir) to its crossing of Highway 17 be studied for potential
   inclusion in the National Wild and Scenic Rivers System. In 1979, following substantial efforts,


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   recommendations regarding the Conejos River were made to the Secretary of Agriculture from
   the State of Colorado and the Forest Service. The recommended wild river segments were: El
   Rito Azul; the North, Middle, and South forks of the Conejos; as well as the main stem of the
   Conejos from Three Forks to Platoro Reservoir. Additionally, the main stem of the Conejos from
   the town of Platoro to the confluence with South Fork of the Conejos was recommended as a
   recreational river segment. No legislative action has yet been taken on these recommendations
   (USDA Forest Service 1982).
   During the 1996 revision of the forest plan, the Forest engaged in a systematic inventory and
   eligibility evaluation for all labeled rivers on U.S. Geological Survey 7.5-minute quadrangle
   maps. The eligibility evaluations from this process were combined with the results of the
   congressionally mandated Conejos River Study to develop a list of river segments that were
   potentially eligible for designation under the Wild and Scenic Rivers Act. These potentially
   eligible segments were included in the alternatives of the 1996 forest plan. The selected
   alternative, G, found that the river segments listed in Table 20 were eligible for inclusion in the
   National Wild and Scenic Rivers System. Further language within the 1996 forest plan directed
   that suitability determinations would be held in abeyance pending the proposal of significant
   actions that would impact the identified outstandingly remarkable values or the free-flowing
   nature of the river segments. Management areas and direction were developed for all eligible
   river segments that included the river and the lands within one-quarter mile on both sides of the
   mean high-water mark. The length, outstanding remarkable values, and designation of each of
   the rivers and streams are listed in Table 20.

   Narratives from the 1996 Wild and Scenic Rivers Act Evaluation
   The primary sources for these narratives are the original evaluation sheets, and in the case of the
   Conejos River recommended sections, the environmental impact statement (1982) with
   clarification in parentheses where needed. If additional comments are added, that is noted, and
   they would come from other material contained within the project record. The date of submission
   for each evaluation sheet is Conejos Peak Ranger District (December 21, 1992); Del Norte
   (Divide Ranger District (1992), Creede (Divide) Ranger District (February 12, 1993); and
   Saguache Ranger District (1992).

   Archuleta Creek
   Lower Terminus Location: 32N, 4E, S7; Upper Terminus Location: 33N, 3E, S34. This is a
   tributary of the Rio Chama and is 5.35 miles in length. This stretch includes the following
   features (outstandingly remarkable values): scenic and recreational. The probable classification
   is: Wild.

   East Fork Rio Chama
   Lower Terminus Location: 33N, 4E, S17; Upper Terminus Location: 33N, 4E, S5. This stream is
   a tributary to the Rio Chama and is 2.05 miles in length. This stretch is very scenic and includes
   the following features (outstandingly remarkable values): scenic and recreational. The probable
   classification is: Wild.




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   Hansen Creek
   Lower Terminus Location: 35N, 4E, S36; Upper Terminus Location: 35N, 4E, S8. This stream is
   a tributary to the South Fork Conejos River and is 6.35 miles in length. This is a very scenic and
   wild creek, untrammeled by man, and includes the following features (outstandingly remarkable
   values): scenic and recreational. The probable classification is: Wild.

   Little Medano Creek
   Lower Terminus Location: 26S, 73W, S1; Upper Terminus Location: 25S, 72W, S30. This
   segment is 2.95 miles in length. This stretch includes the following features (outstandingly
   remarkable values): geologic and fish (Rio Grande cutthroat trout present). The probable
   classification is: Scenic. Per the Grande Sand Dunes National Park and Preserve Act of 2000,
   this stream is now part of the Great Sand Dunes National Preserve, managed by the National
   Park Service.

   Rio de los Pinos (Lower)
   Lower Terminus Location: 32N, 6E, S20; Upper Terminus Location: 32N, 6E, S14. The total
   river stretch is 13.95 miles in length. Special features (outstandingly remarkable values) should
   be considered on the lower 7-mile stream stretch. This stretch includes the following features
   (outstandingly remarkable values): scenic, recreational, and fish (Rio Grande cutthroat trout).
   The probable classification is: Scenic.

   Rio Grande (Lower)
   Lower Terminus Location: 40N, 2E, S11 (Coller State Wildlife Area); Upper Terminus Location:
   40N, 2E, S30 (Blue Creek). The total river stretch is 5 miles. This stretch includes the following
   features (outstandingly remarkable values): scenic, recreational, geologic, and historic. The
   probable classification is: Recreational.

   Rio Grande (Box Canyon)
   Lower Terminus Location: 41N, 2W, S32 (Spring Creek); Upper Terminus Location: 40N, 4W,
   S13. The total river stretch is 11 miles in length and is within a box canyon. This stretch includes
   the following features (outstandingly remarkable values): scenic, recreational, fish, and historic.
   Five miles is within the Weminuche Wilderness. The probable classification is: Scenic.

   Saguache Creek
   Lower Terminus Location: 44N, 4E, S17; Upper Terminus Location: 43N, 3E, S4. The total river
   stretch is 7.8 miles in length. The stream runs from the confluence of the North, Middle, and
   South Forks of Saguache Creek to the Forest boundary. Outstanding features include a large
   amount of native fish habitat that is undisturbed as well as numerous remnants of Indian
   encampments. Also, the remains of a soldier were discovered where he had been buried in the
   bank. The area is relatively inaccessible. This stream includes the following features
   (outstandingly remarkable values): scenic, fish, historic, and cultural. The probable classification
   is: Wild.




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   Toltec Creek
   Lower Terminus Location: 32N, 6E, S22; Upper Terminus Location: 33N, 4E, S14. The creek
   goes through private land near Osier and the lower terminus is the New Mexico border on
   Carson National Forest. This stretch includes the following features (outstandingly remarkable
   values): scenic, recreational, and historic (due to train). The probable classification is: Wild.

   West Bellows Creek
   Lower Terminus Location: 41N, 1E, S13; Upper Terminus Location: 42N, 1E, S10. This stream
   is 10.75 miles in length, and the lower one-half mile is located on private land. From the Wheeler
   Geologic Area to the boundary with private land, highly scenic cliffs line this drainage. This
   stretch includes the following features (outstandingly remarkable values): scenic, recreational,
   geologic, and historic. The probable classification is: Scenic.

   West Fork Rio Chama
   Lower Terminus Location: 33N, 4E, S17; Upper Terminus Location: 33N, 3E, S1. This stream is
   a tributary to the Rio Chama and is 3.5 miles in length. This stretch includes the following
   features (outstandingly remarkable values): scenic and recreational. The probable classification
   is: Wild.

   Medano Creek (Upper)
   Lower Terminus Location: Sangre de Cristo Wilderness Boundary; Upper Terminus Location:
   25S, 72W, S19. This segment is 3.15 miles in length. This stretch includes the following features
   (outstandingly remarkable values): recreational, fish (Rio Grande cutthroat trout present), and
   historic. The probable classification is: Scenic. Per the Grande Sand Dunes National Park and
   Preserve Act of 2000, this stream is now part of the Great Sand Dunes National Preserve,
   managed by the National Park Service.

   Medano Creek (Lower)
   Lower Terminus Location: 26S, 73W, S12; Upper Terminus Location: Sangre de Cristo
   Wilderness Boundary. This segment of stream is 5.30 miles in length. This stretch includes the
   following features (outstandingly remarkable values): recreational, fish (Rio Grande cutthroat
   trout present), and historic. Due to the presence of the Medano Pass road, the probable
   classification is: Recreational. Per the Grande Sand Dunes National Park and Preserve Act of
   2000, this stream is now part of the Great Sand Dunes National Preserve, managed by the
   National Park Service.

   South Fork Rio Grande (Above Big Meadows Reservoir)
   Lower Terminus Location: Big Meadows Reservoir inflow at Weminuche Wilderness boundary;
   Upper Terminus Location: 38N, 1E, S21. This stream is a tributary of the Rio Grande and is 4.75
   miles in length. This stretch includes the following features (outstandingly remarkable values):
   scenic, recreational, and fish. The probable classification is: Scenic.

   South Fork Rio Grande (Below Big Meadows Reservoir)
   Lower Terminus Location: 40N, 3E, S34; Big Meadows Reservoir outflow. This stream is a
   tributary of the Rio Grande and is 13.9 miles in length, with 5.76 miles within private property

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   surrounded by National Forest System lands. This stretch includes the following features
   (outstandingly remarkable values): scenic, recreational, and fish. The probable classification is:
   Scenic.

   El Rito Azul
   El Rito Azul is the smallest of the three forks. Beginning at Blue Lake (11,643 feet in elevation)
   in the southwest corner of the drainage, El Rito Azul flows 3.5 miles to its confluence with the
   North and Middle Forks. At the confluence, the width of the channel averages 6 to 8 feet, and
   depth is rather shallow. The headwaters pass through an alpine area that is flatter and more open
   than the headwaters of the North and Middle Fork, but upon entering the subalpine zone, begin a
   steep descent to Three Forks (the junction of El Rito Azul with the North Fork and the Middle
   Fork of the Conejos River). El Rito Azul receives about 500 fisherman-days of use per year. The
   trout population consists of rainbow, brook, and cutthroat. Forest Trail 718 lies parallel to El Rito
   Azul and is used extensively by hikers and fishermen. Blue Lake covers about 40 surface acres
   and offers good fishing.

   North Fork Conejos River
   The North Fork originates in a glaciated alpine basin and flows 3.5 miles through a narrow U-
   shaped valley interspersed with grassy open parks and spruce-fir stands to Three Forks.
   Unobscured vistas of the peaks of the Continental Divide are common from the open parks along
   the trail that ascends the North Fork basin. During the spring, many ephemeral and perennial
   streams tumble off the steep southern slope to the North Fork below. Almost duplicating the size
   of the Middle Fork, the North Fork’s channel width at its mouth is about 16 to 18 feet. The
   consistently steep gradient allows few opportunities for the diversity of stream features found
   along the Middle Fork. The North Fork contains brook, cutthroat, and an occasional migrating
   brown trout. The gradient and stream characteristics inhibit high fish populations, although the
   stream depth allows natural fish reproduction. This section is free flowing, and adjacent land
   areas possess outstandingly remarkable values including scenic, recreational, fish, and wildlife.
   This section was recommended as Wild.

   Middle Fork Conejos River
   The Middle Fork, originating from Lake Ann (11,910 feet in elevation), contains a small
   population of Rio Grande cutthroat trout. Largest of the three forks, the Middle Fork is 4 miles
   long and the channel is about 18 feet wide at its mouth. The Middle Fork offers the most diverse
   streamflow characteristics of the three forks with an abundance of pools, riffles, and beaver
   ponds. The stream passes through alternating spruce-fir stands and extensive parks where elk and
   deer are occasionally seen. This section is free flowing, and adjacent land areas possess
   outstandingly remarkable values including scenic, recreational, fish, and wildlife. This section
   was recommended as Wild.

   Conejos River (Three Forks to Platoro Reservoir)
   From the confluence at Three Forks, the land becomes a broad, U-shaped glacial valley. The 2.6-
   mile streambed flattens as the river makes a straight run to Platoro Reservoir. The walls of the
   canyon are thick with spruce, fir, and occasional stands of aspen, dwindling as they approach the
   crest. Lesser tributaries drop hundreds of feet from the rock faces of the southern slopes to the
   glaciated valley below. Within this formation are examples of the Treasure Mountain tuff, a

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   densely welded quartz-latite ash flow. The bottom of this valley is open and park-like with
   vegetative cover consisting primarily of mountain bunchgrass, bluegrass, and some willow.

   South Fork of the Conejos River
   The headwaters of the South Fork start at Glacier Lake and tumble 12 miles to the confluence
   with the Conejos River. Glacier Lake (11,950 feet in elevation) releases the waters of the south
   Fork into an alpine glade rimmed on the west by Krummholz and on the east by a small, sturdy
   spruce-fir stand. In its alpine reaches, the South Fork jostles through random mounds of volcanic
   debris on a gentle gradient. Forced into pockets, the streamlets of the South Fork have created a
   number of small lakes, many so small one could cast a stone across. The trail (Forest Trail 724)
   winds its way up from the main Conejos and branches off to many lakes such as Twin Lakes,
   Green Lake, and Timber Lake.
   Time and the fertility of volcanic soils, snowmelt, and spring rains have given the South Fork a
   steep, narrow, rocky, timbered appearance. As the South Fork is enhanced by flows from its
   several tributaries, it becomes an erosional force slashing a canyon to the river. The canyon is
   narrow and at times hundreds of feet deep. Aspen and spruce avail themselves of the meager
   footing afforded by infrequent ledges. The V shape of the canyon prohibits traffic along the
   stream. The trail switches back up a neighboring slope amid Douglas fir, ponderosa pine, and
   eventually spruce and fir. Sloughing and mass soil movement affect the lower South Fork. The
   trees in spruce-fir stands have shallow, individual root systems; thus, neither species binds nor
   survives on the these rapidly moving slumping soils. The aspen, however, have relatively deep
   roots and reproduce by suckering. The tangle of radiating suckers retards soil motion and aids the
   stability of the individual trees.
   Stocking of rainbow trout in 1968, cutthroat trout in 1969, and brook trout in 1975 has resulted
   in a self-reproducing fishery. Brown trout already existing in the lower South Fork are residents
   of a previous stocking. The Division of Wildlife (Colorado Parks and Wildlife), through an
   agreement with the Forest Service, reintroduced bighorn sheep to the South Fork area in
   February 1978. This segment has 132 acres of commercial forest land in the Special Component
   (needs specially designed treatment of timber resources) and 886 acres of commercial forest land
   in the Deferred Component (withdrawn from timber utilization), with a potential harvest yield of
   10,000 board feet. There are no known endangered or threatened species.
   This section is free flowing, and adjacent land areas possess values including scenic,
   recreational, fish, and wildlife. The South Fork of the Conejos qualifies for a Wild classification
   by virtue of its limited accessibility and pristine nature.

   Conejos River below Platoro Reservoir
   The character of the Conejos River undergoes a dramatic transition below the reservoir. The river
   almost triples in size and supports a substantial tourist industry. The area along this segment of
   river received 42,500 visitor days of use in 1977. This segment supports brown, brook, cutthroat,
   and rainbow trout, western white and bluehead suckers (unknown what species this is referring
   to, likely incorrect). In this section, due to heavy stocking, is rainbow trout. In 1975, 22,500
   pounds of catchable rainbow trout were stocked between Platoro Reservoir and Mogote. The
   prevailing game fish species in this study area is the self-sustaining population of brown trout. In
   number, brown trout dominate the river.


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   The surrounding lands are primarily National Forest System lands that total 5,188 acres, with
   706 acres of private land located along the mainstem of the river between Platoro Reservoir and
   the mouth of the South Fork, and 1,616 acres located between the mouth of the South Fork and
   Highway 17. Access is provided from State Highway 17 to Platoro Reservoir by Forest Roads
   250 and 271. These roads provide access from Chama, New Mexico; and La Jara, Antonito, and
   Alamosa, Colorado. The potential harvest of 63,000 board feet of timber annually from 3,515
   acres of commercial forest land, classified as Special Component, is possible in this segment.
   This segment of the river flows southeasterly through a variety of landscapes before passing
   under Highway 17.
   In the upper 1.9 miles, the river leaves the restraints of Platoro Reservoir and flows into a narrow
   canyon, a dominant geologic feature. Diminutive grasses and occasional woody shrubs in the
   canyon derive what little nourishment is available from the cracks in the rock face or that portion
   of the canyon floor not inundated by the river. The vegetative types are characteristic of the
   subalpine/upper montane zones and can be described as hardy pioneer species of the mountain
   muhly-fescue type. The river flows swiftly, providing poor habitat for the trout population. Mix
   Lake Campground is located adjacent to the reservoir.
   For the next 2.9 miles, just above the community of Platoro, the canyon opens into a broad,
   glaciated valley about one mile across at the widest point. The valley walls rise sharply on both
   sides with a dense growth of Engelmann spruce and subalpine fir to the south, and aspen clones
   interspersed with conifer stands to the north. The vegetative variety adds visual texture to the
   valley walls. Bearing testimony to the relentless scouring of glaciers, the flat valley floor is
   dotted with drumlins, bare rounded rocks protruding from the alluvium rubble. Surrounding
   these masses are sedges and grasses that give this area a rolling park-like appearance. The river
   flows swiftly through many deep meanders; some are only a few feet from folding back on one
   another. The banks are lined with willow and low woody shrubs that provide niches for a variety
   of songbirds. Located at the head of the valley, primarily on the south bank of the river, is the
   community of Platoro. The community provides goods and services to a seasonal tourist trade
   between May 31 and November 1.
          Note: The Conejos Wild and Scenic River Study - final environmental impact statement
          initially determined 13.2 miles to be eligible, including most of the section described
          above; however, the 1982 Recommendation from the Secretary of Agriculture to the
          President of the United States (1982) eliminated 2 miles from the recommendation to
          avoid potential conflicts with private lands immediately below Platoro Reservoir.
   For the next 2.1 miles below the town of Platoro, the U-shaped valley constricts and turns
   abruptly south at the mouth through a narrow, vegetated canyon. The steep gradient enables fast­
   moving water to chisel through the rock strata, which impedes its descent to a lower meadow.
   Willow and a variety of grasses line the streambanks. The riparian vegetation is nearly
   continuous. The weathering of millennia has broken the harsh face of the Conejos Formation,
   providing ample organic material for spruce-fir and aspen stands.
   For the next 3.4 miles, the canyon opens into a rolling, glaciated plain about 1.5 miles wide. The
   river rambles at a quick, even pace through meanders near the center of the valley. Near the head
   of the valley, the Lake Fork tributary enters the main channel. Lake Fork Campground, located
   just above the confluence, provides fishing to recreationists adjacent to campsites. Grasses are
   abundant on the rolling meadows of the valley floor. Vegetation on the steeper, better drained


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   valley wall are spruce-fir and aspen overstory with millet, woodrush, sedge, tufted hairgrass,
   bluegrass, bluejoint reedgrass, yarrow, paintbrush, and junegrass understory. A bridge at the Lake
   Fork confluence provides access to Forest Service Roads 105 and 100, which lead to the
   headwaters of Saddle Creek and Lake Fork. Saddle Creek enters the Conejos from the west just
   below the bridge. During the summer under Forest Service permit, cattle are driven upriver by
   ranchers to feed in the upland meadows. Mule deer, elk, black bear, and bighorn sheep graze the
   lower meadows during the winter months but forage and rest in the high dense timber and forest
   openings during summer months. Marmots, chipmunks, coyotes, and rabbits also inhabit the
   lower meadows.
   For the lowest 2.9 miles, the river below Trail Creek flows through a steep-walled canyon cut
   into the Conejos Formation. Following a narrow, winding route, Forest Road 250 traverses the
   canyon rim to the Pinnacle. These pointed rock spires at the eastern lip of the canyon are an
   intrusive dike of harder rhyolite rock from which the softer, more easily weathered Conejos
   Formation broke away. Vegetation is restricted to lichen and various grasses. Occasional clumps
   of spruce and fir grow in areas where sufficient organic material exists. The western walls of the
   canyon provide adequate organic material for a spruce-fir stand interwoven with aspen glades.
   Although good fishing is available along the entire length of the river, fishing in this area is
   reputed to be the best. It has lighter fishing pressure than other parts of the lower river because of
   limited access from the road.

   Wild and Scenic Rivers Act and the Forest Plan Revision
   The Forest engaged in the revision of the 1996 forest plan under the final directives of the 2012
   Planning Rule. These directives state that when developing a plan or plan revision, the
   responsible official shall:
          Identify the eligibility o_f rivers for inclusion in the National Wild and Scenic Rivers
          System, unless a systematic inventory has been previously completed and documented,
          and there are no changed circumstances that warrant additional review. (36 CFR
          sec. 219.7(c)(2)(vi))
   Given that a systematic inventory of rivers was completed and documented concurrent with the
   1996 forest plan revision, the responsible official determined that no changed conditions existed
   and chose to limit the extent of the study process during the current revision to those river
   segments that were not previously inventoried.

   Segments Determined to be Eligible in the 1996 Forest Plan
   The river segments listed in Table 20 and elaborated on above as eligible for inclusion in the
   National Wild and Scenic Rivers System will be carried forward in the forest plan revision.
   These river segments will retain the same classification, outstandingly remarkable values, river
   segment termini, and management direction. The only exceptions will be those segments of
   Medano Creek and Little Medano Creek that are on lands now managed by the National Park
   Service, which will administer these river segments through the National Park Service land
   management planning process. Maps of all the rivers found to be eligible for recommendation
   are included on the external drive at the back of this document.




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   Table 20. Eligible rivers for inclusion in the National Wild and Scenic Rivers System from
   the 1996 Rio Grande forest plan
                              Length    DS (UTM,         US (UTM,         Outstandingly Remarkable
    River or Stream Name                                                                                     Designation
                              (miles)   Zone13N)         Zone13N)          Values (Specific Value)
                                         356016,          359841,
    Archuleta Creek              5.35                                          Scenic, Recreational            Scenic
                                         4106182          4100089
                                         362163,          362351,
    East Fork Rio Chama          2.05                                          Scenic, Recreational            Scenic
                                         4106170          4110553
                                         366267,          360459,
    Hansen Creek                 6.35                                          Scenic, Recreational             Wild
                                         4121079          4127444
                                                                           Scenic, Geologic, Fish (Rio
    Little Medano Creek1,2       2.95   See note 1,2     See note 1,2                                          Scenic
                                                                             Grande cutthroat trout)
    Rio de los Pinos                     381879,          376508,           Scenic, Recreational, Fish
                                 7.50                                                                          Scenic
    (Lower)                              4095041          4096178          (Rio Grande cutthroat trout)
                                         347066,          341649,             Scenic, Recreational,
    Rio Grande (Lower)           5.00                                                                        Recreational
                                         4177909          4181683              Geologic, Historic
                                                                           Scenic, Recreational, Fish,
    Rio Grande (Box                      312013,          300751,
                                 8.00                                     Historic (Within Box Canyon          Scenic
    Canyon)                              4183163          4177556
                                                                          and Weminuche Wilderness)
                                                                          Scenic, Fish, Historic, Cultural
                                         363847,          354709,               (Large amounts of
    Saguache Creek               7.80                                                                           Wild
                                         4213427          4208158         undisturbed native fish habitat
                                                                           and numerous cultural sites)
                                                                          Scenic, Recreational, Historic
                                         384913,          383112,
    Toltec Creek                 2.70                                     (Cumbres and Toltec Scenic            Wild
                                         4095006          4098089
                                                                                   Railroad)
                                                                             Scenic, Recreational,
                                         339637,          342950,           Geologic, Historic (Cliffs
    West Bellows Creek          10.75                                                                          Scenic
                                         4187358          4195670           below Wheeler Geologic
                                                                                     Area)
                                         362163,          359182,
    West Fork Rio Chama          3.50                                          Scenic, Recreational            Scenic
                                         4106170          4109807

                                                    Medano Creek1 ,2
    Medano Creek(Upper                                                       Recreational, Fish (Rio
                                 3.15   See note   1,2   See note   1,2                                        Scenic
    Reach)                                                                   Grande cutthroat trout)
    Medano Creek (Lower                                                      Recreational, Fish (Rio
                                 5.30   See note   1,2   See note   1,2                                      Recreational
    Reach)                                                                   Grande cutthroat trout)
         Medano Creek Total      8.45   See note   1,2   See note   1,2


                                                 South Fork Rio Grande
    South Fork Rio Grande                                                 Scenic, Recreational, Historic
                                         340081,          334268,
    (Above Big Meadows           4.75                                         (Within Weminuche                Scenic
                                         4155307          4152579
    Res.)                                                                         Wilderness)
    South Fork Rio Grande
                                         353377,          340855,
    (Below Big Meadows          13.90                                     Scenic, Recreational, Historic     Recreational
                                         4167424          4156351
    Res.)
     South Fork Rio Grande
                                18.65        -                -
                      Total

                                                     Conejos River




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                                   Length       DS (UTM,         US (UTM,         Outstandingly Remarkable
     River or Stream Name                                                                                              Designation
                                   (miles)      Zone13N)         Zone13N)          Values (Specific Value)
                                                                                  Scenic, Recreational, Wildlife
                                                 356317,          355621,             (Alpine ecosystem,
    El Rito Azul                       3.50                                                                                 Wild
                                                 4126928          4122627           recreational fishing and
                                                                                             hiking)
                                                                                  Scenic, Recreational, Wildlife
    North Fork Conejos                           356010,          351006,
                                       3.50                                        (Glaciated alpine basin with             Wild
    River                                        4126739          4128551
                                                                                       grassy open parks)
                                                                                 Scenic, Recreational, Wildlife
    Middle Fork Conejos                          356010,          350472,             (Diverse streamflow
                                       4.00                                                                                 Wild
    River                                        4126739          4126691        characteristics, beaver ponds,
                                                                                     elk and deer habitat)
    Conejos River (Three                                                          Scenic, Recreational, Wildlife
                                                 358768,          356327,
    Forks to Platoro                   2.60                                         (Glacial valley, Treasure               Wild
                                                 4130580          4126919
    Reservoir)                                                                            Mountain tuff)
                                                                                  Scenic, Recreational, Wildlife
                                                                                   (Alpine ecosystem, narrow
    South Fork of the                            369412,          359190,           and deep canyon, natural
                                      12.00                                          sloughing and mass soil                Wild
    Conejos River                                4120628          4124829
                                                                                     movement, recreational
                                                                                             fishery)
                                                                                  Scenic, Recreational, Wildlife
    Conejos River below                          369777,          365820,            (Recreational fishing,
                                      11.20                                                                            Recreational
    Platoro Reservoir3                           4120896          4134732          camping, glacial valley, few
                                                                                      irrigation diversions)
         Conejos River Total          36.80           -               -
        Wild Rivers Sub-total        42.45            -               -
     Scenic Rivers Sub-total         48.00            -               -
     Recreational River Sub­
                                      35.40           -               -
                        total
         Rio Grande National
                                    125.85            -               -
                 Forest Total
   1 Per the Great Sand Dunes National Park and Preserve Act of 2000, these streams are now part of the Great Sand Dunes National
      Preserve, managed by the National Park Service.
   2 The mileage division between the Scenic and Recreational Reaches is estimated based on the location of the Medano Pass Road;
      original documentation could not be found.
   3 The Conejos Wild and Scenic River Study - Final Environmental Impact Statement initially determined 13.2 miles to be eligible;
      however, the 1982 recommendation from the Secretary of Agriculture to the President of the United States (Block 1982)
      eliminated 2 miles from the recommendation to avoid potential conflicts with private lands immediately below Platoro Reservoir.




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   Inventory of River Segments Not Evaluated as Part of the 1996 Forest Plan
   A review of the inventory from the 1996 forest plan revision was conducted to determine those
   river segments that had been missed, or those that lacked sufficient documentation to determine
   the exact extent of the river segment that was evaluated. Initially, 34 stream segments were
   identified for review; however, four of these segments were not in the U.S. Geological Survey
   National Hydrography Dataset and were eliminated from consideration. One additional river
   segment, Osier Creek, which flows south to north and is tributary to the Rio de los Pinos
   (approximately 0.8 mile downstream from a separate Osier Creek that enters the Rio de los Pinos
   near Osier, Colorado), was identified during a review of the Carson National Forest Wild and
   Scenic River inventory. The 31 river segments that required inventory are listed in Table 21 and
   can be divided into 2 categories: 24 segments on National Forest System lands that were missed
   in the 1996 inventory, and 7 segments located on the Baca Mountain Tract, which were acquired
   as part of the Great Sand Dunes National Park and Preserve Act of 2000. These new segments on
   the Baca Tract were described in detail in the Baca Tract Environmental Assessment (USDA
   Forest Service and USDI National Park Service 2009).
   The 31 river segments listed in Table 21 were evaluated in accordance with the direction
   provided in section 82.7 of FSH 1909.12-2015-1. The evaluation of the river segments was
   conducted by a sub-group of those individuals participating as members of the forest plan
   revision.
   The process applied to the river segments listed in Table 21:
         1. Determination of the free-flowing condition for each river segment (82.71 - FSH
            1909.12-2015-1)
         2. Evaluation of outstandingly remarkable values (82.73 - FSH 1909.12-2015-1)
            o The State of Colorado was selected as the region of comparison for all outstandingly
                remarkable values.
         3. Preliminary classification of eligible river segments (82.8 - FSH 1909.12-2015-1)
            o This step determines if the eligible river segment should be wild, scenic, or
                recreational.
         4. Engagement with ranger district staff
            o The process and results of the newly evaluated segments were presented to ranger
               district staff members. This step was designed to solicit more local expertise on the
               river segments in question, and to give local resource professionals the opportunity to
               concur with, or modify, all parts of the eligibility evaluation.
         5. Delivery of the results of the preliminary evaluation to the responsible official
            o Under this evaluation, the responsible official has discretion over whether or not a
               river segment is eligible for inclusion in the National Wild and Scenic Rivers System.

   Recommendations to the Responsible Official
   The preliminary evaluation conducted by the interdisciplinary team resulted in a portion of
   Deadman Creek being recommended to the responsible official as eligible, with a scenic
   classification, for inclusion in the National Wild and Scenic Rivers System. The recommended
   reach is 3.3 miles long and is located on lands that were obtained as part of the Baca Mountain


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   Tract. The evaluated reach was determined to be free-flowing and contain the following
   outstandingly remarkable values:
   •   Scenery: An exceptional mature cottonwood and juniper gallery exists on the lower reaches.
   •   Fisheries: This is a Rio Grande cutthroat trout stream with exceptional habitat.
   •   Historic and Cultural: Unique features of the Old Spanish Trail exist within the river
       corridor.
   •   Other - Botanic: The mature cottonwood and juniper gallery represents a unique feature
       within the region of comparison. Additionally, there are occurrences of the plant species
       Draba smithii and Draba grayana; both are species of conservation concern and NatureServe
       Global Rank of G2 (Globally Imperiled), N2 (Nationally Imperiled) and S2 (Imperiled) in the
       State of Colorado.

   Updated Data for Eligible River Segments
   As part of the forest plan revision process, background data for the eligible river segments was
   updated to reflect the best available scientific information. Specifically, river segment lengths
   were updated to reflect the most recent National Hydrography Dataset issued by the U.S.
   Geological Survey. These updates do not reflect changes to the river segments determined to be
   eligible; rather, they reflect the improvement in data quality since 1996.
   Table 21 identifies river segments that were not included in the 1996 forest plan. The evaluation
   process identified segments that have outstandingly remarkable values (values). Four of the
   rivers are identified as having identified values and free-flowing conditions, which meets the
   criteria for determining eligibility of the river or segment. The values identified were then
   considered if the values were unique, rare, or exemplary features that, when compared with
   similar values at a regional or national scale, were significant.
   The values identified were not found to be significant when compared statewide, which was
   determined to be the scale for the region of comparison. The values identified for Cottonwood
   and Cat Creeks included fish, specifically Rio Grande cutthroat trout, a species included on the
   Regional Foresters’ species of conservation concern list. Many creeks and rivers on the Forest
   provide habitat for the species; therefore, this does not raise to the level of unique or rare.
   Likewise, historic and cultural values identified were tied to historic mining, which again does
   not raise to the unique or rare level for the Forest, nor the State of Colorado, which was the
   identified region of comparison.
   None of the segments were therefore carried forward as eligible for designation as wild, scenic,
   or recreational in the draft record of decision.




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Table 21. Preliminary evaluation for inclusion in the National Wild and Scenic Rivers System, river segments missed in the
1996 forest plan
                      Characteristic                                 Presence of Outstandingly Remarkable Values
                                                                                                                                     Preliminary
                                                                                                                         Other    Evaluation: Is the
                                                                                                            Historic
                                            Free-                                                                       Similar    river segment
   Segment                      Length                                                                        and
                  District                 Flowing     Scenery    Recreation   Geology    Fish   Wildlife                River-   eligible for WSR
    Name                        (miles)                                                                     Cultural
                                          Condition?                                                                    related       inclusion?
                                                                                                            Values
                                                                                                                        Values

                                                           Baca Mountain Tract Acquisition
 Alpine Creek    Saguache         2.9        Yes          No          No          No       No      No         Yes         No             No
 Cottonwood
                 Saguache         2.8        Yes          No          No          No      Yes      No         No          No             No
 Creek
 Deadman
                 Saguache         3.3        Yes          No          No          No      Yes      No         Yes        Yes        Yes, Scenic
 Creek
 Pole Creek      Saguache         4.4        Yes          No          No          No       No      No         Yes         No             No
 Short Creek     Saguache         2.4        Yes          No          No          No       No      No         No          No             No
 South
 Spanish         Saguache         2.4        Yes          No          No          No       No      No         No          No             No
 Creek
 Spanish
                 Saguache         5.4        Yes          No          No          No       No      No         No          No             No
 Creek

                                              Missed or not documented in the 1996 Eligibility Evaluation
                  Conejos
 Asiatic Creek                    2.1        Yes          No          No          No       No      No         No          No             No
                   Peak
 Bird Creek        Divide         1.9        Yes          No          No          No       No      No         No          No             No
                  Conejos
 Cat Creek                        3.9        Yes          No          No          No      Yes      No         No          No             No
                   Peak
                  Conejos
 Coal Creek                       1.2        Yes          No          No          No       No      No         No          No             No
                   Peak
                  Conejos
 Cropsy Creek                     1.7        Yes          No          No          No       No      No         No          No             No
                   Peak
 East Fork        Conejos
                                  0.9        Yes          No          No          No       No      No         No          No             No
 Navajo River      Peak



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                   Characteristic                                  Presence of Outstandingly Remarkable Values
                                                                                                                                  Preliminary
                                                                                                                      Other    Evaluation: Is the
                                                                                                         Historic
                                           Free-                                                                     Similar    river segment
  Segment                    Length                                                                        and
                  District                Flowing     Scenery   Recreation   Geology   Fish   Wildlife                River-   eligible for WSR
   Name                      (miles)                                                                     Cultural
                                         Condition?                                                                  related       inclusion?
                                                                                                         Values
                                                                                                                     Values
Flagstaff
                 Saguache      2.2          Yes         No         No          No      No       No         No          No              No
Creek
                  Conejos
Jarosa                         0.6          Yes         No         No          No      No       No         No          No              No
                   Peak
La Jara (north    Conejos
                             1.1 total      Yes         No         No          No      No       No         No          No              No
sections)          Peak
La Jara
                  Conejos
(south                       above          Yes         No         No          No      No       No         No          No              No
                   Peak
sections)
Little Red
                 Saguache      1.3          Yes         No         No          No      No       No         No          No              No
Creek
Merkt Creek      Saguache      2.2          Yes         No         No          No      No       No         No          No              No
Middle Fork
                 Saguache      1.5          Yes         No         No          No      No       No         No          No              No
Cotton Creek
Middle Fork
North
                 Saguache      2.1          Yes         No         No          No      No       No         No          No              No
Crestone
Creek
Middle Fork
                   Divide       2           Yes         No         No          No      No       No         No          No              No
Pole Creek
Middle Zapata     Conejos
                               3.1          Yes         No         No          No      No       No         No          No              No
Creek              Peak
North Fork
                 Saguache      1.3          Yes         No         No          No      No       No         No          No              No
Cedar Creek
North Fork
                   Divide      3.4          Yes         No         No          No      No       No         No          No              No
Pole Creek
North Fork
                  Conejos
South Zapata                   2.1          Yes         No         No          No      No       No         No          No              No
                   Peak
Creek
                  Conejos
Osier Creek                    0.8          Yes         No         No          No      No       No         No          No              No
                   Peak



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                      Characteristic                                Presence of Outstandingly Remarkable Values
                                                                                                                                   Preliminary
                                                                                                                       Other    Evaluation: Is the
                                                                                                          Historic
                                            Free-                                                                     Similar    river segment
   Segment                      Length                                                                      and
                 District                  Flowing     Scenery   Recreation   Geology   Fish   Wildlife                River-   eligible for WSR
    Name                        (miles)                                                                   Cultural
                                          Condition?                                                                  related       inclusion?
                                                                                                          Values
                                                                                                                      Values
 Peterson
                Saguache          3.1        Yes         No         No          No      No       No         No          No             No
 Creek
 Rock Creek     Saguache          0.1        Yes         No         No          No      No       No         No          No             No
 San Luis
                Saguache          2.1        Yes         No         No          No      No       No         No          No             No
 Creek
 South Fork
                Saguache          0.9        Yes         No         No          No      No       No         No          No             No
 Cedar Creek




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   Appendix C. Timber Suitability and Analysis
   Lands that May be Suited for Timber Production
   Lands that may be suited for timber production were determined using the criteria in the Land
   Management Planning Handbook FSH 1909.12 Chapter 60. These areas and associated acreage
   were determined by starting with the total area of the Rio Grande National Forest and removing
   areas that are not suited for timber production, listed below:
   •     In-holdings
   •     Level 2 through 5 roads
   •     Lands not suited for timber production because timber production is prohibited, or the lands
         are withdrawn from timber production:
         ■   Wilderness areas
         ■   Eligible wild rivers
         ■   Colorado roadless areas
         ■   Research natural areas
   •     Lands on which technology to harvest timber is not currently available without causing
         irreversible damage:
         ■   Certain soil map units having “high mass movement potential” were removed due to this
             criteria. The criteria differed based on geographic area.
             ■   In the Sangre de Cristo range, the following Soil Resource Inventory codes were
                 removed: 410S, 605Y, 625S, 670S, 704S, 835X.
             ■   On the west side (everywhere except the Sangre de Cristo range), soils were removed
                 using a field called mass movement potential, with the exception of those polygons in
                 the Cumbres area that have a Soil Resource Inventory of 139 or 151.
             ■   Note: In the 2000 amendment, Soil Types 460 and 750M were removed in only
                 particular locations. This was not done because the 460 code is no longer used and
                 because the locations where 750M was unsuitable had already been removed in prior
                  steps.
   •     Lands on which there is no reasonable assurance that lands can be adequately restocked
         within 5 years of final regeneration harvest:
         ■   Elevations above 11,000 feet with south and southwest aspects
         ■   Elevations below 9,500 feet with south and southwest aspects
         ■   Areas with greater than 33 percent rock
   •     Land that is not Forest land
         ■  Areas with less than 10 percent canopy cover of trees were removed in this step. Areas
            that were formerly occupied by trees but with low canopy cover due to recent disturbance
            were not removed if tree species were regenerating.
   •     Areas with nonindustrial species, such as limber pine, bristlecone pine, pinyon, and juniper.




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   •      True riparian areas (defined as an FSVeg spatial local type of RIP (riparian) and cover type
          of grass, forb, or cottonwood).
   The final area considered may be suitable for timber production is 499,936 acres.

   Sustained Yield Limit Calculations
   The sustained yield limit (SYL) is the amount of timber that can be produced on all lands that
   may be suitable for timber production, assuming all of these lands were managed to produce
   timber without considering other multiple uses or fiscal or organizational capability. The
   sustained yield limit was calculated using the Forest Vegetation Simulator (FVS, July 19, 2016,
   version), the Forest Service’s national forest growth and yield model. Site information from the
   stand exams collected over the last 20 years was used for this analysis. Sustained yield limit was
   calculated by the following strata, with the number of stands used in parentheses:
   •      Spruce-fir (405 stands)
   •     Aspen (103 stands)
   •      Lodgepole pine (59 stands)
   •      Ponderosa pine (64 stands)
   •      Mixed conifer (243 stands)
   Additional areas were also included separate from these main strata. This includes 1) 1M and 2S
   areas with low canopy cover (10 to 25 percent) that key out as grasslands or other non-timber
   types and which are not previously treed and 2) areas with low canopy cover (less than 25
   percent) that have had recent disturbance but were previously treed.
   Results from each stand were averaged together to get strata averages.
   The management system, rotation age/entry interval, and associated harvest volume (cubic feet
   per acre) that were used to determine the sustained yield limit are listed in Table 22.

   Table 22. Assumptions used for the sustained yield limit calculation
                                                Rotation Age /
                              Management                          Acres of May Be       Harvest Volume
               Strata                           Entry Interval
                                System                            Suitable Lands        (cubic feet/acre)
                                                   (years)
                            Uneven aged -
       Spruce-fir                                    160              165,756                2,932
                            Group Selection
                              Even aged -
       Lodgepole pine                                120              22,198                 2,697
                                Clearcut
                              Even aged -
       Aspen                                         120              114,979                2,178
                                Clearcut
                              Even aged -
       Mixed conifer                                 140              106,807                 1,569
                              Shelterwood
                            Uneven aged -
       Ponderosa pine       Individual Tree          30               18,542                  400
                               Selection
       Other - 1M and 2S                             200              20,211                  500
       Other - timber                                200              51,388                  1,000




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                                               Rotation Age /
                             Management                          Acres of May Be   Harvest Volume
             Strata                            Entry Interval
                               System                            Suitable Lands    (cubic feet/acre)
                                                  (years)
       Other - Rock -
                                 —                     —               55                 0
       Bare Soil


   Numerous adjustments were made in Forest vegetation simulations to determine the appropriate
   harvest volume. These adjustments included factoring in defect, using local merchantability
   specifications, adjusting the stand density maximum values, calibrating tree growth based on
   collected tree growth data, and capping tree size based on observed tree sizes. Mortality due to
   insects and disease, such as spruce beetle, spruce budworm, Douglas-fir beetle, mountain pine
   beetle and/or engraver beetles, and tent caterpillar, aspen disease, and wood borers was included.
   Additional details on Forest vegetation simulation assumptions are available on request.
   The estimated sustained yield limit is 7,374,937 cubic feet per year or 73,749 CCF per year.

   Lands that Are Suited for Timber Production
   The land suited for timber production under each alternative was defined using the criteria
   below. Starting with the may be suitable timber areas, the following areas were removed because
   timber production is not compatible with the desired conditions and objectives for these areas:
   •     Recommended wilderness, research natural areas, and wild rivers for the specific alternative
   •     National Scenic and Historic Trails - Continental Divide National Scenic Trail and Old
         Spanish Trail, including a one-half-mile corridor on each side of the trail
   •     National Recreation Trails - Lost Fork and West Lost Fork, including a one-half-mile
         corridor on each side of the trail
   •     Scenic rivers
   •     Current and proposed special interest areas
   •     Ski-based resorts
   •     Backcountry areas in any alternatives that have this.

   Two main timber suitability changes from the 1996 Rio Grande Revised Land and Resource
   Management Plan pertain to the Grassland Resource Production areas (Management Area 6.6)
   and Bighorn Sheep management areas. The Grassland Resource Production areas are being
   considered suitable for timber production, a change from the 1996 plan, where they were not
   suitable. In addition, most, but not all, of the Bighorn Sheep management areas in the 1996 plan
   were merged into the Big Game Winter Range management area (Management Area 5.41) and
   are now considered suitable for timber production as a result. The suitable timber base is
   approximately 471,896 acres.
   All areas of the suitable timber base were included because timber production is allowed and is
   consistent with the desired conditions and objectives for the area. However, some inclusions in
   the suitable timber base may not be currently feasible for timber production. This includes areas
   that are very difficult to reach (either because of distance or because they lack an appropriate



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   transportation system), areas that would require helicopter logging, cable yarding, and areas that
   are extremely isolated.
   Maps of the areas that are suitable for timber production under each alternative are contained on
   the external drive of maps located in the back of the document.




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   Appendix D. Species of Conservation Concern Presence and
   Concern for Persistence
   Background
   The 2012 Planning Rule and Forest Service Handbook 1909.12, Chapter 20, requires that species
   of conservation concern are identified for the planning area. More detailed analysis of these
   species is contained in Chapter 3 of the draft environmental impact statement for the forest plan.
   The 2012 Planning Rule requires the Forest Service to consider species that are known to occur
   in the planning area and that are established or are becoming established. We recognize that in
   practice, data on rare and declining species is often variable and incomplete, which complicates
   making confident presence/absence conclusions and introduces some potential risk for species
   not further considered for species of conservation concern status (or removing a species from the
   list).
   For the purposes of “known to occur,” we have elected to require a record for a species on the
   planning unit to qualify for species of conservation concern status. Species that exist close to the
   planning area but that have not been recorded on the planning area are not considered to be
   known to occur on the planning unit. Species that are thought to be present in the plan area but
   that have not been documented there are also not considered as known to occur. The species must
   be documented on National Forest System lands within the boundary of the Forest. Species
   identified as Forest species of conservation concern and rationale for inclusion are contained in
   Table 23. All information pertains to the planning area.
   The 2012 Planning Rule does not require the agency to consider those that are only transient or
   accidental, or that are well outside the existing range of the species. Only species that are
   considered established or are becoming established can be species of conservation concern.
   An overview for each species has been prepared and is available on the Forest’s website. For
   each species, the overview considers:
   •     Status
   •     Taxonomy
   •     Distribution, abundance, and trend in the planning area
   •     A brief description of the natural history and key ecosystem functions
   •     Overview of ecological conditions necessary for the recovery of federally listed threatened
         and endangered species, conservation of proposed and candidate species, and maintenance of
         viable populations of species of conservation concern
   •     Threats and other risk factors.
   Several criteria can be used to determine if a species is established. For plants, “established”
   means that it has roots in the ground or is otherwise attached to a substrate in the planning area,
   or has viable seeds in the seed bank produced by a plant that grew in the planning area in the last
   20 years or so. Seeds do not remain viable forever, at least not in a naturalistic outdoor setting;
   the presence of viable seeds is generally an indication that the plants that produced the seeds
   were alive no more than a few decades ago.



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   For wildlife species, the determination of what is “established” is less clear. Reproduction by
   animals on the planning unit would certainly be considered a sign of that species being
   established. Frequent presence on the Forest, even if the animal breeds elsewhere, would also be
   considered a sign of being established. A single record for a species in the planning area may or
   may not qualify it for species of conservation concern status, depending on the overall context of
   the available information for that species when considering the record.
   Occurrence data have been collected from multiple sources, including the Colorado Natural
   Heritage Program database (continually updated, the Forest Service acquires an updated copy
   once a year), herbarium records, mist-netting, sight and songbird surveys, and specialist reports.
   Information from more detailed assessments and other sources used in determining eligibility for
   status as a species of conservation concern is summarized in Table 23 and Table 24. Links are
   provided in digital versions of the tables to take readers to overview assessments that are
   available on the Forest website. Information contained below applies to the Forest unless stated
   otherwise.
   References for this content are contained in the Reeferences Cited section of the Final
   Environmental Impact Statement or in the species overviews that are linked below.
   Plan components associated with the identified species of conservation concern (Table 25) are
   listed as a plan component crosswalk.




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Table 23. Current species of conservation concern and evaluation criteria
                                                  Evidence of                               Substantial Concern About the Species Capability
   Category                Species
                                                  Occurrence                                          to Persist over the Long Term
                                                                        This species has undergone a severe, range-wide population decline over the past decade,
                                                                        estimated at 40-90 percent. (Cameron et al. 2011) The population on the Forest appears to
                                                                        have mirrored this decline, which is on-going. The U.S. Fish and Wildlife Service currently
                                            Located in 2016 by Rio      has this species under review for possible listing under Endangered Species Act. The
                                            Grande NF and USFS          subspecies occidentalis found in the Rocky Mountain Region has declined about 70-99
                  Western bumblebee
 Invertebrates                              Rocky Mountain Region       percent since the late 1990s. The main cause of declines is thought to be the effects of a
                  Bombus occidentalis
                                            staff members during        microsporidian Nosema bombi and an imported protozoan parasite from Europe. Other
                                            botany surveys.             causes of decline include land use changes and habitat loss, changes in nectar flora,
                                                                        grazing, poorly timed fire in suitable nesting habitat, changes to temperature and
                                                                        precipitation regimes, competition with honeybees, and effects of pesticides especially
                                                                        persistent neonicotinoids. All of these threats occur.
                                            Two records on the          As with many tundra relict species, changes in temperature and precipitation regimes could
                                            Forest from 2004, one in    be a threat, as temperatures warm, species can move north or uphill to cooler refuges. In
                                            Hinsdale County and one     the case of species that exist on tundra in the southern Rockies, moving uphill is not an
                      White-veined arctic   in Saguache County.         option as local populations already only survive on mountain tops. It is possible that warmer
 Invertebrates             butterfly        Records verified by         temperatures could lead to a loss of nectar plants to the butterfly, or the timing of the nectar
                        Oeneis bore         USGS Northern Prairie       bloom is changed relative to the life history needs of O. bore. Climate change vulnerability
                                            Wildlife Research           assessments in the vicinity of the Forest note that the white-veined arctic could be lost.
                                            Center. One record from
                                            1996.
                                            Boreal toads have been      Primary localized threats on the Forest involve chytrid fungus with four of five known sites
                                            reported at 10 sites in     testing positive. Other local concerns involve water and air quality factors, nonnative
                         Boreal toad        the past 20 years with      species, recreation management and perhaps fire and timber management in localized
  Amphibians
                       Anaxyrus boreas      the most recent             areas. Climate change vulnerability assessments for areas surrounding the Forest have
                                            observations occurring in   determined that this species is “highly vulnerable” to negative impacts from changes in
                                            2014.                       temperature are precipitation regimes.
                                                                        The primary threats to this species include reduction of stream flows, increased sediment
                                            Present in three stream     loads, and competition with and predation by nonnative fish. The limited remaining habitat
                       Rio Grande chub      segments; surveys by        for this species also renders the species at risk from stochastic events.
      Fish
                         Gila pandora       Colorado State              NatureServe ranks this species as “Critically Imperiled” and Colorado Parks and Wildlife
                                            University                  lists the species as “Tier 1, Species of Greatest Conservation Need”. Currently under review
                                                                        by the U.S. Fish and Wildlife Service for listing under the Endangered Species Act.




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                                        Evidence of                           Substantial Concern About the Species Capability
Category        Species
                                        Occurrence                                      to Persist over the Long Term
                                                          Some recorded presence contradicts dramatic decline over its historic range that is now
                                                          limited to small, isolated populations in the upper Rio Grande drainage in Colorado. Many of
                                                          these populations are not self-sustaining and very vulnerable to habitat degradation from a
                                                          variety of causes, competition and hybridization with nonnatives, over-utilization, and
                                                          stochastic events. The Climate Change Vulnerability Assessment for the Colorado Bureau
           Rio Grande cutthroat                           of Land Management described this species as having greatly increased vulnerability in its
                   trout          Present in 27 stream    physiological, thermal, and hydrological niches due to potential changes in temperature and
  Fish
           Oncorhynchus clarkii   segments and 2 lakes.   precipitation patterns. This species is wholly dependent upon human management to
                 virginalis                               survive. Under current conditions, if management activities were to cease, the subspecies
                                                          would be expected to resume a declining trend as a result of invasion of populations by
                                                          nonnative salmonids, stochastic environmental events, whirling disease, and the
                                                          demographic and genetic factors associated with small, isolated populations (Pritchard and
                                                          Cowley 2006). Species is ranked by Colorado Parks and Wildlife as Species of Greatest
                                                          Conservation Need Tier 1.
                                                          Competition with and predation by nonnative species are extensive threats to the health and
                                                          persistence of Rio Grande sucker populations. Nonnative predators include northern pike
                                                          and brown trout. The introduced white sucker tends to be well adapted to a variety of
            Rio Grande sucker     Currently known from
  Fish                                                    degraded environmental conditions, allowing it a competitive advantage on a spatial or
           Catostomus plebeius    nine stream segments.
                                                          temporal scale over the Rio Grande sucker. The larger white sucker competes with Rio
                                                          Grande sucker for available food sources (periphyton and macroinvertebrates), and also
                                                          has the ability to hybridize with Rio Grande sucker (Rees and Miller 2005).
                                                          Boreal owls are threatened by loss of nesting habitat and changes in prey base resulting
                                                          from substantially beetle killed spruce-fir habitat. Resulting in a reduction of closed canopy
                                                          habitat available. Dramatic change (90 percent) in spruce-fir landscape conditions suggest
                                                          potential declining habitat trend and species persistence.
               Boreal owl         Eleven records in the   Other risk factors that may affect species density and distribution are likely to include large-
 Birds                                                    scale stand replacement fire, and large-scale insect outbreaks.
            Aegolius funereus     past 20 years.
                                                          The Gunnison Basin Climate Change Vulnerability Assessment indicates that this species is
                                                          “Highly Vulnerable” to changes resulting from changes in temperature and precipitation
                                                          regimes. Colorado Natural Heritage Program S2 (Imperiled), Colorado Parks and Wildlife
                                                          Species of Greatest Conservation Need Tier 2.




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                                                  Evidence of                              Substantial Concern About the Species Capability
   Category               Species
                                                  Occurrence                                         to Persist over the Long Term
                                                                        Rangewide concerns for substantial declines in sagebrush and mountain shrub habitats.
                                                                        The primary concern regarding the persistence of Brewer’s sparrow is the continued decline
                                                                        of the species numbers in the area surrounding the Forest as well as pinyon juniper
                                                                        encroachment in the limited suitable sagebrush habitat. Trend estimates show significant
                                                                        decreases in relative abundance from 1966 to 2002. Detection frequencies during this
                                           Ten records in the past
                      Brewer’s sparrow                                  period on routes in southern and eastern Colorado declined. Sauer et al. (2011) report
      Birds                                10 years, most recently
                      Spizella breweri                                  significant declining trends of this species in the Southern Rockies/Colorado Plateau for the
                                           in 2014.                     period 1966-2010. In addition, the Climate Change Vulnerability Assessment for the
                                                                        Colorado Bureau of Land Management shows that the species may experience a “Greatly
                                                                        Increased” vulnerability” due to the impacts that changes in temperature and precipitation
                                                                        regimes may have on the species that influence the habitat features required by Brewer’s
                                                                        sparrow.
                                                                        Flammulated owls are threatened by loss of suitable nesting habitat. Replacement of open,
                                           Sixty-five records in the    old-growth ponderosa pine and mixed conifer forest with younger, high-density vegetation is
                      Fiammuiated owl      past 20 years, the most
      Birds                                                             considered detrimental to this species. Immediate threats include the loss of remaining
                      Otus flammeolus      recent observations in
                                                                        areas of open, mature forest habitat due to departure from historic fire regimes and
                                           2014.
                                                                        landscape scale disturbances such as stand replacement fire and bug infestations.
                                                                        Approximately 90 percent of the species habitat in the Southern Rockies is found on
                                                                        National Forest System lands. This species has experienced a decline in active nests over
                                                                        time. The loss of large nest trees in spruce-fir habitat is correlated with the impacts of
                                                                        beetles. A recent landscape study conducted in the San Juan Mountains of Colorado
                                           As of 2015, at least 15      suggests substantial changes in landscape structure and fragmentation of mature forest
                                           known active nesting         have occurred in this area between 1950 and 1993. Many factors contribute to the changed
                      Northern goshawk
      Birds                                territories, 3 historic      condition including fire exclusion and maturing stand conditions in ponderosa pine. If this
                      Accipiter gentiles
                                           territories, and 2 other     trend is representative of regional trends, goshawk habitat is probably declining in Region 2
                                           potential territories.       (Kennedy 2003). Increase in younger tree age classes and loss of older trees associated
                                                                        with beetle kill are also a concern. Extensive habitat changes due to impacts of the bark
                                                                        beetle raises questions about long-term persistence on the forest and surrounding area.
                                                                        Detections and nest territory occupancy has declined in recent years based on project work
                                                                        and monitoring.
                                                                        The concern for persistence of this species is based on a decline rangewide and forestwide.
                                                                        This species has experienced at least a 50 percent decline based on Rocky Mountain Bird
                  Oiive-sided flycatcher
      Bird                                 30 records                   Observatory/Bird Conservancy of the Rockies data. Similar patterns of decline are evident
                    Contopus cooperi
                                                                        on the Forest based on results of local Breeding Bird Survey results over the past decade.
                                                                        Primary species habitat on the Forest (spruce-fir) has experienced a 90 percent decline.
                                           Twenty-two records with      Local eyrie occupancy is declining. Delisted population is still monitored by the USFWS.
                                           at least 12 eyries           Recovery of this species in other areas does not appear to be mirrored on the Forest.
                    Peregrine faicon       identified, of which 6 are   Stochastic impacts from recreational climbing have potential to cause nesting failure. Due to
      Birds
                Falco peregrinus anatum    active eyries, 5 are         the small numbers of this species forestwide, even a small number of failed nests could
                                           recent or historic eyries,   result in the extirpation of the species.
                                           and 1 is potential.

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                                          Evidence of                               Substantial Concern About the Species Capability
Category          Species
                                          Occurrence                                          to Persist over the Long Term
                                                                In the Rocky Mountains, approximately 95 percent of occupied ptarmigan habitats are on
                                                                federal lands, 85 percent of which are National Forest System lands in Colorado and
                                                                Wyoming. Region 2 populations are isolated from nearest northerly populations by long
                                                                distances. As with many tundra relict species, changes in temperature and precipitation
                                                                regimes could be a threat, as temperatures warm, species can move north or uphill to cooler
                                                                refuges. In the case of species that exist on tundra in the southern Rockies, moving uphill is
            Southern White-tailed                               not an option as local populations already only survive on mountain tops. Warmer
                 ptarmigan                                      temperatures could lead to a loss of alpine tundra on the Forest. In this case, the Southern
 Birds                              26 records
             Lagopus leucurus                                   white-tailed ptarmigan could be lost from the Forest. Climate change vulnerability
                 altipetens                                     assessments for areas surrounding the Forest have determined that this species is “Highly
                                                                Vulnerable” to negative impacts from changes in temperature are precipitation regimes. The
                                                                species is under a 12-month review for possible Endangered Species Act listing by the U.S.
                                                                Fish and Wildlife Service due to concerns for the present or threatened destruction,
                                                                modification, or curtailment of the species’ habitat or range due to changes to temperature
                                                                and precipitation regimes. (Review is still ongoing as of May 16, 2017); State Tier 1 Species
                                                                of Greatest Conservation Need.
                                                                Marten is a closed canopy species therefore the 90 percent mortality in spruce-fir, due to
             American marten                                    beetle kill, creates a concern. This change in suitable habitat, including related declines in
Mammals                             Nine records
             Martes americana                                   associated prey species such as the red squirrel as documented by Colorado Parks and
                                                                Wildlife (Ivan 2017), creates a persistence concern for the species.
                                                                Concern for long-term persistence of this species stems from white-nose syndrome.
                                    Roost site records          Although not yet detected within Colorado, the disease continues to spread west. The
                                    include an underground
                                                                agency has measures in place to protect bat roosts and maternity sites from white-nose
                                    mine occurring at 8,941
                                                                syndrome, but it remains possible for the disease to infect colonies despite these measures.
                                    feet elevation. Acoustic
                                                                Based on patterns occurring elsewhere a loss of 80 to 90 percent of the affected bat species
              Fringed myotis        surveys have positively
Mammals                             identified the species at   could be realized which includes the potential loss of entire colonies. Protection and
             Myotis thysanodes
                                                                maintenance of roost sites is also a potential issue. Since only one colony occurs on the
                                    a low-elevation             Forest, extirpation remains possible. In addition, the Climate Change Vulnerability
                                    ponderosa pine stand in
                                                                Assessment for the Colorado Bureau of Land Management suggests that fringed myotis
                                    the Hot Creek RNA in
                                                                may experience a “slight Increase” in vulnerability due to changes in its’ hydrological niche
                                    2013.
                                                                and physical habitat due to changes in temperature regimes and precipitation patterns.
                                                                The persistence concern for this species is sylvatic plague, which often wipes out most if not
           Gunnison’s prairie dog   Eight known records in
Mammals                                                         all of infected colonies and often involving much larger populations than found on the
            Cynomys gunnisoni       two general areas.
                                                                Forest.
           Northern pocket gopher   Confirmed presence of       Stochastic human or natural events could extirpate this species due to the very small size of
Mammals     Thomomys talpoides      the vulnerable agrestis     the area occupied by this subspecies. The subspecies is also very rare across its range,
                   agrestis         subspecies (CNHP 2006)      which is limited to the San Luis Valley (endemic).
                                                                The concern for persistence is due to the limited habitat and very small area occupied by
            Plains pocket mouse     Two recent records
Mammals                                                         the species. Due to this small size, stochastic natural or human caused events could
           Perognathus flavescens   (CNHP)
                                                                extirpate this species.

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                                               Evidence of                           Substantial Concern About the Species Capability
   Category               Species
                                               Occurrence                                      to Persist over the Long Term
                                                                  Otters are threatened with extirpation mostly because they are already uncommon, and as
                                                                  such they are susceptible to stochastic events and human harassment. Relatively recent
                          River otter     Records from 2004 and
      Mammals                                                     records indicate otters may be recolonizing the valley after an extended absence, perhaps
                      Lontra canadensis   2010
                                                                  stimulated by state recovery efforts. Opportunities exist to support that re-establishment
                                                                  through ongoing special habitat management attention.




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                                                    Bighorn sheep populations have declined in Western North America from an estimated
                                                    500,000 at the onset of European settlement to an estimated 15,000 to 20,000 by 1960.
                                                    Numbers have increased since 1960 due to population translocations and augmentations
                                                    and other conservation efforts. The distribution of bighorn sheep is naturally fragmented due
                                                    to the patchy nature of preferred habitats, and bighorn sheep typically make seasonal
                                                    movements to alpine habitats in summer and lower elevation habitats or south-facing slopes
                                                    during the winter period.
                                                    The primary risk to persistence on the Forest is pathogen transmission between domestic
                                                    sheep and bighorn sheep, and subsequent disease outbreaks and population impacts.
                                                    Current and expected future domestic sheep grazing includes some risk of contact between
                                                    domestic sheep and bighorn sheep which can result in respiratory disease outbreaks in
                                                    bighorn sheep. Respiratory disease in bighorn sheep can result in all age die-offs which can
                                                    have lasting impacts on populations through suppressed lamb recruitment following disease
                                                    outbreaks. In-breeding, loss of alpine habitat due to changing temperature and precipitation
                                                    patterns, and unintentional human harassment can also represent added stressors further
                                                    impacting persistence of local herds and populations.
                                                    Despite the risks to bighorn sheep from domestic sheep, Forest bighorn sheep populations
                                                    have persisted for the past several decades. Colorado Parks and Wildlife has identified 12
                                                    Game Management Units that occur entirely or partially on the Forest. Several herds cross
                                                    administrative boundaries and occur on adjacent public or private lands during part of their
          Rocky mountain bighorn                    life cycles. Overall population estimates for the 12 herds total approximately 1,100
                  sheep                             individuals. The total population estimates have fluctuated from approximately 1,000 to
Mammals                            Known to occur
             Ovis canadensis                        1,500 animals during the past 30 years. Population die-offs due to disease have been
                canadensis                          observed or suspected in several herds during this time, and some herds have been
                                                    augmented via population translocations. Currently, several bighorn sheep herds are still
                                                    recovering from die-off events in the 1990’s. The presence of some type of respiratory
                                                    pathogen has been confirmed in 8 herds. Most herds are currently hunted with regulations
                                                    and population objectives established by Colorado Parks and Wildlife.
                                                    Among the herds whose Game Management Unit boundaries overlap the Forest, three
                                                    occur in areas where domestic sheep grazing is not currently permitted and is not
                                                    anticipated in the foreseeable future. These herds (S08, SO9, and S68, though S68) occur in
                                                    the Sangre de Cristo mountains on the eastern Forest boundary and account for an
                                                    estimated 40 percent of the forestwide bighorn sheep population. While long-distance
                                                    movements from other herds could potentially move pathogens into these herds, this is a
                                                    relatively low likelihood concern and these herds are considered secure based on
                                                    management actions under Forest authority.
                                                    Other Forest herds are at some risk of contact with domestic sheep and transmission of
                                                    pathogens is possible. Despite the risk to herds outside the Sangre de Cristo Mountains,
                                                    bighorn sheep are likely to persist due to the strongholds in the Sangre de Cristo mountains
                                                    and the absence of the domestic sheep grazing, the main threat to persistence.
                                                    Population management by Colorado Parks and Wildlife will contribute to the persistence of
                                                    bighorn sheep on the planning unit through establishing population objectives, managing
                                                    hunting opportunities and potentially through population augmentation via translocations.
                                                    Lastly, through collaborative monitoring with Colorado Parks and Wildlife and other partners



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                                                   Evidence of                                Substantial Concern About the Species Capability
   Category               Species
                                                   Occurrence                                           to Persist over the Long Term
                                                                          will help provide information on the effectiveness of management actions and help identify
                                                                          potential changes in management needed to support the persistence of bighorn sheep.
                                                                          Concern for the persistence stems from white-nose syndrome. Although not yet detected
                                                                          within Colorado, the disease continues to spread west. The agency has measures in place
                  Townsend’s big-eared                                    to protect bat roost and maternity sites from white-nose syndrome, but it remains possible
                           bat              Eleven records in the         for the disease to infect colonies despite these measures. An 80 to 90 percent loss of the
      Mammals
                 Corynorhinus townsendii    past 20 years.                species could be realized, including the loss of entire colonies. In addition, Climate change
                       townsendii                                         vulnerability assessments for the state indicate that this species may experience a slight
                                                                          increase in vulnerability due to changes in its physiological hydrological niche and physical
                                                                          habitat due to changes in temperature regimes and precipitation patterns.
                                                                          This species is found in rocky areas with a spruce-fir overstory, the approximately 90
                                                                          percent mortality of spruce is a threat to this species because of the resulting loss or
                                            Known from six                alteration of this species’ habitat from the loss of that canopy cover. Climate change
                    Black Canyon gilia
       Plants                               occurrences. Last             vulnerability assessments for areas surrounding the Forest indicate that this species is
                Aliciella penstemonoides
                                            observed in 1998.             moderately vulnerable to negative impacts from changes in temperature and precipitation
                                                                          regimes, particularly because there are limits to dispersal. Forest occurrences are small and
                                                                          isolated populations which are susceptible to genetic drift and stochastic events.
                                            This G1 species is
                                            known from two
                                            locations. Last observed      Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                       Stonecrop gilia      in 2016. Of the entire        species is extremely vulnerable to negative impacts from changes in temperature and
       Plants
                      Aliciella sedifolia   global distribution of this   precipitation regimes because of the loss of alpine habitat. Of the entire global distribution of
                                            species, two of the three     this species, two of the three occurrences are on the Forest.
                                            occurrences are on the
                                            Forest.
                                            Known from two
                                            occurrences. Both
                                            observed in 1986, aerial
                                            imagery indicates no
                                                                          Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                            evidence that the             bristlecone pine habitat of this species is highly vulnerable to negative impacts from
                  Brandegee milkvetch
       Plants                               bristlecone habitat at
                 Astragalus brandegeei                                    changes in temperature and precipitation regimes across Colorado. Isolated and small
                                            these two locations has
                                                                          Forest populations are susceptible to threats from genetic drift and stochastic events.
                                            changed, thus there is no
                                            evidence to assume that
                                            the species is no longer
                                            present.




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                                           Evidence of                               Substantial Concern About the Species Capability
Category          Species
                                           Occurrence                                          to Persist over the Long Term
                                     There are 22 known
                                     occurrences of this
                                                                 Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                     species last observed in
              Ripley’s milkvetch                                 species is extremely vulnerable to negative impacts from changes in temperature and
 Plants                              2016. The entire global
              Astragalus ripleyi                                 precipitation regimes. This vulnerability is due to likely reductions in suitable habitat as well
                                     distribution of this
                                                                 as alterations in the disturbance regime and its restriction to an uncommon geology.
                                     species is on or near the
                                     Forest.
                                                                 Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                                                 species is moderately vulnerable to negative impacts from changes in temperature and
                                                                 precipitation regimes that would result in the loss of the alpine portion of this species’
                                                                 habitat. Documented threats to this species include disturbance from vegetation
                                     Known from three
             Northern moonwort                                   management as well as sedimentation from roads. This species also occurs in spruce-fir
 Plants                              occurrences, most recent
            Botrychium pinnatum                                  and is threatened by the loss or alteration of that habitat from over story mortality. Aerial
                                     observation in 2003.
                                                                 imagery from 2016 indicates that the canopy cover of spruce at all 3 of the occurrences of
                                                                 this species have been lost. One of the occurrences consists of a single individual while the
                                                                 largest is only 75. Small and Isolated populations are susceptible to genetic drift and
                                                                 stochastic events.
                                     Known from a single
                                                                 This species is found in spruce-fir habitat which has undergone a 90 percent mortality event
                                     occurrence. Last
                                                                 resulting in a loss or alteration of this species’ habitat. Aerial imagery from 2016 indicates
                                     observation in 1995.
                                                                 that the canopy cover of spruce at this species’ single occurrence has been lost. Climate
                                     Aerial imagery shows
                                                                 change vulnerability assessments for areas surrounding the Forest indicate that the spruce­
              Least moonwort         that the habitat at this
 Plants                                                          fir, fen, and montane riparian habitats are moderately threatened by changes in temperature
             Botrychium simplex      occurrence is unchanged     and precipitation regimes. The single Forest occurrence consists of only 17 individuals.
                                     since 1995 and thus         Small and isolated populations are susceptible to threats from genetic drift and stochastic
                                     there is no evidence to     events. Species with single occurrences have particular persistence concerns because a
                                     assume the species is no
                                                                 single event can remove the species entirely.
                                     longer present.
                                                                 Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                                                 species is extremely vulnerable to negative impacts from changes in temperature and
                                                                 precipitation regimes, has a limited dispersal ability, is dependent on snow and ice, and has
                                     This G2 species is
                                                                 migration barriers. Additionally, climate change vulnerability assessments for areas
                                     known from three
           Downy Indian paintbrush                               surrounding the Forest indicate that the alpine habitat of this species is considered to be
 Plants                              locations, the most
             Castilleja puberula                                 highly vulnerable to negative impacts from changes in temperature and precipitation
                                     recent observation is
                                                                 regimes in southwest Colorado and this species is thus threatened by the loss of its alpine
                                     2006.
                                                                 habitat. One of the observations on the Forest is a few individuals scattered over a hundred
                                                                 acres. Small and isolated populations are susceptible to threats from genetic drift and
                                                                 stochastic events.




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                                                  Evidence of                               Substantial Concern About the Species Capability
   Category                Species
                                                  Occurrence                                          to Persist over the Long Term
                                            Known from three
                Dwarf alpine hawksbeard     locations, the most
      Plants                                                            This species is documented to be negatively impacted by domestic livestock grazing.
                      Crepis nana           recent observation in
                                            1998.
                   James’ cryptantha
                                            This species observed at    Threats to the species that substantiate concern for persistence include managed and
      Plants     Cryptantha cinerea var.
                                            two locations in2017.       unmanaged off-highway vehicle use.
                       pustulosa
                                                                        Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                                                        alpine habitat of this species is considered to be highly vulnerable to negative impacts from
                                            This species is known       changes in temperature and precipitation regimes in southwest Colorado and this species is
                       Weber's catseye
      Plants                                from a single observation   thus threatened by the loss of its alpine habitat. Small and Isolated populations are
                      Cryptantha weberi
                                            in 2005.                    susceptible to threats from genetic drift and stochastic events. Species with single
                                                                        occurrences have particular persistence concerns because a single event can remove the
                                                                        species entirely.
                                                                        This species is found in spruce-fir habitat which has undergone a 90 percent mortality event
                                                                        resulting in a loss or alteration of this species’ habitat. Aerial imagery from 2016 indicates
                                                                        that the canopy cover of spruce at the single occurrence of this species has been lost.
                                                                        Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                            Known from a single
                   Slender rock-brake                                   species is extremely vulnerable to negative impacts from changes in temperature and
      Plants                                occurrence. Last            precipitation regimes that may alter the cool moist dripping spring cliff habitat of this species.
                  Cryptogramma stelleri
                                            observation in 1988.
                                                                        There are dispersal and migratory barriers for this species. Small and isolated populations
                                                                        are susceptible to threats from genetic drift and stochastic events. Species with single
                                                                        occurrences have particular persistence concerns because a single event can remove the
                                                                        species entirely.
                                                                        This species is found in spruce-fir habitat which has undergone a 90 percent mortality event
                                                                        resulting in a loss or alteration of this species’ habitat. Aerial imagery from 2016 indicates
                                                                        that the canopy cover of spruce at the single occurrence of this species has been lost.
                                            Known from a single
                  Mountain bladder fern                                 Climate change vulnerability assessments for areas surrounding the Forest indicate that the
      Plants                                occurrence. Last
                  Cystopteris montana                                   spruce-fir habitat of this species is moderately threatened by changes in temperature and
                                            observation in 1986.
                                                                        precipitation regimes. Small and isolated populations are susceptible to threats from genetic
                                                                        drift and stochastic events. Species with single occurrences have particular persistence
                                                                        concerns because a single event can remove the species entirely.
                                                                        Vulnerability Assessments for areas surrounding the Forest assessed the alpine habitat of
                                                                        this species and determined that it is considered to be highly vulnerable to negative impacts
                                            There are three known
                                                                        from changes in temperature and precipitation regimes in southwest Colorado and this
                       Colorado larkspur    occurrences of this G2      species is threatened by the loss of its alpine habitat. Small and Isolated populations are
      Plants
                      Delphinium alpestre   species, the most recent
                                                                        susceptible to threats from genetic drift and stochastic events. Because small and isolated
                                            being in 1998.
                                                                        populations only occur in a certain area and have a smaller population, they are more
                                                                        susceptible to loss.



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                                            Evidence of                              Substantial Concern About the Species Capability
Category          Species
                                            Occurrence                                         to Persist over the Long Term
                                                                  Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                                                  species is extremely vulnerable to negative impacts from changes in temperature and
                                      This G2 species is
                                                                  precipitation regimes that may alter the alpine habitat of this species. The assessments
                                      known from three
               San Juan draba                                     indicate that the alpine habitat of this species is considered to be highly vulnerable to
 Plants                               locations and the most
               Draba graminea                                     negative impacts from changes in temperature and precipitation regimes in southwest
                                      recent observation is
                                                                  Colorado and this species is threatened by the loss of its alpine habitat. The species is
                                      from 2013.
                                                                  reliant on ice and snow. There are dispersal and migratory barriers for this species. Small
                                                                  and isolated populations are susceptible to threats from genetic drift and stochastic events.
                                      This G2 species is
                                      known from two locations
                                      and the most recent
                                      observation is from 1985.   Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                      Aerial imagery indicates    alpine habitat of this species is considered to be highly vulnerable to negative impacts from
                Gray’s draba          that the alpine scree       changes in temperature and precipitation regimes in southwest Colorado and this species is
 Plants                                                           threatened by the loss of its alpine habitat. Additional threats to this species include
               Draba grayana          slope where this species
                                      was observed is             recreation. The occurrences are small and isolated and are thus susceptible to threats from
                                      unaltered and thus there    genetic drift and stochastic events.
                                      is no evidence to
                                      assume the species is no
                                      longer present.
                                                                  Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                                                  alpine habitat of this species is considered to be highly vulnerable to negative impacts from
                                      G2 Species. There are       changes in temperature and precipitation regimes in southwest Colorado and this species is
                Smith's draba         12 occurrences the most     thus threatened by the loss of its alpine habitat. These assessments indicate that this
 Plants
                Draba smithii         recent observation was      species is extremely vulnerable to negative impacts from changes in seasonal precipitation
                                      in 2002.                    as well as threats from energy development, its restriction to specific geologic substrates,
                                                                  dispersal barriers, and migration barriers. Small and isolated populations are susceptible to
                                                                  threats from genetic drift and stochastic events.
                                                                  Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                      Species is known from       alpine habitat of this species is considered to be highly vulnerable to negative impacts from
           Colorado Divide whitlow­
                                      four occurrences; the       changes in temperature and precipitation regimes in southwest Colorado and this species is
 Plants             grass
                                      most recent observation     thus threatened by the loss of its alpine habitat. The species is reliant on ice and snow.
            Draba streptobrachia                                  There are dispersal and migratory barriers for this species. Small and isolated populations
                                      is from 2002.
                                                                  are susceptible to threats from genetic drift and stochastic events.




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                                                   Evidence of                               Substantial Concern About the Species Capability
   Category                Species
                                                   Occurrence                                          to Persist over the Long Term
                                             Known from a single
                                             observation in 1990.
                                             Aerial imagery indicates
                                                                          Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                             that the wet meadow
                                                                          low elevation riparian and wetland habitat of this species is highly susceptible to changes in
                  Philadelphia fleabane      habitat where this
      Plants                                                              temperature and precipitation regimes. Small and isolated populations are susceptible to
                 Erigeron philadelphicus     species was observed is
                                                                          threats from genetic drift and stochastic events. Species with single occurrences have
                                             unaltered and thus there
                                                                          particular persistence concerns because a single event can remove the species entirely.
                                             is no evidence to
                                             assume the species is no
                                             longer present.
                                             Known from a single
                                             occurrence in 1986.
                                             Analysis of aerial
                                             imagery indicates that       The single occurrence of this species is threatened by invasive plant species and impacts
                       Many-flowered gilia   the open woodland            from the management of those invaders. Small and isolated populations are susceptible to
      Plants
                      Ipomopsis multiflora   habitat of this occurrence   threats from stochastic events and genetic drift. Species with single occurrences have
                                             is unaltered and thus        particular persistence concerns because a single event can remove the species entirely.
                                             there is no evidence to
                                             assume the species is no
                                             longer present.
                                                                          This species and its aquatic and fen habitat are threatened by alterations in flow from
                                                                          development and diversion. Similarly, climate change vulnerability assessments for areas
                                             Known from four              surrounding the Forest indicate that the aquatic and fen habitat of this species is moderately
                  Spiny-spored quillwort
      Plants                                 occurrences. The most
                     Isoetes tenella                                      vulnerable to changes in temperature and precipitation regimes. The occurrences of this
                                             recent was from 2000.
                                                                          species on the Forest are small and isolated which are susceptible to threats from genetic
                                                                          drift and stochastic events.
                                                                          Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                                                          species and its fen habitat are extremely vulnerable to negative impacts from changes in
                                             Known from three
                      Colorado woodrush                                   temperature and precipitation. This species lives on the margins of fens and riparian
      Plants                                 occurrences, the most
                      Luzula subcapitata                                  habitats which are susceptible to negative impacts from small changes in hydrology. The
                                             recent in 2004.
                                                                          occurrences are small and isolated which are susceptible to threats from genetic drift and
                                                                          stochastic events
                  Colorado tansy aster       Known from four
                                                                          Threats include recreation and road construction/maintenance, pipeline construction, and
      Plants       Machaeranthera            occurrences. The most
                                                                          construction of radio towers.
                     coloradoensis           recent was from 1997.




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                                          Evidence of                                 Substantial Concern About the Species Capability
Category          Species
                                          Occurrence                                            to Persist over the Long Term
                                                                  Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                                                  species is extremely vulnerable to negative impacts from changes in temperature and
                                    Species was collected in
                                                                  precipitation regimes. These assessments indicate that the alpine habitat of this species is
                                    2003. The single
             House's sandwort                                     considered to be highly vulnerable to negative impacts from changes in temperature and
 Plants                             occurrence was from
            Minuartia macrantha                                   precipitation regimes in southwest Colorado and thus this species is threatened by the loss
                                    alpine habitat just east of
                                                                  of its alpine habitat. Small and isolated populations are susceptible to genetic drift and loss
                                    Stony Pass.
                                                                  from stochastic events. Species with single occurrences have particular persistence
                                                                  concerns because a single event can remove the species entirely.
                                    Species was collected in
                                                                  Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                    1998 and 1999, on rocky
                                                                  alpine habitat of this species is considered to be highly vulnerable to negative impacts from
             Parry's crazy-weed     slopes north of
 Plants                                                           changes in temperature and precipitation regimes in southwest Colorado and this species is
              Oxytropis parryi      Saguache and at the
                                                                  thus threatened by the loss of its alpine habitat. Small and isolated populations are
                                    head of Raspberry
                                                                  susceptible to negative impacts from genetic drift and stochastic events.
                                    Canyon.
                                                                  Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                    Single known occurred,
           West silver bladderpod                                 alpine habitat of this species is considered to be highly vulnerable to negative impacts from
 Plants                             documented summer
            Physaria scrotiformis                                 changes in temperature and precipitation regimes in southwest Colorado and this species is
                                    2017.
                                                                  thus threatened by the loss of its alpine habitat.
                                    There are three               Threats to the species include recreation and trail use. Occurrences are less than 100
             Southern Rocky
                                    occurrences of this           individuals. Small populations are susceptible to negative impacts from stochastic events,
 Plants     Mountain cinquefoil
                                    species, the most recent      particularly species like this one that live close to rivers, streams, trails, and roads where
            Potentilla ambigens
                                    observation is from 1998.     these events are more likely.
                                                                  The single occurrence is documented to be threatened by livestock grazing, wildlife
                                                                  damage, and recreation. Climate change vulnerability assessments for areas surrounding
                                    G2 species found in a         the Forest indicate that the high elevation fen habitat of this species is also threatened by
               Arizona willow       single location. Species      changes in temperature and precipitation resulting in changes in the hydrology. The single
 Plants
               Salix arizonica      was observed to be            occurrence of Arizona willow is isolated from other occurrences of the species. Isolated
                                    extant in 2016.               populations are subject to negative impacts from genetic drift. Species with single
                                                                  occurrences have particular persistence concerns because a single event can remove the
                                                                  species entirely.
                                                                  Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                                                  alpine habitat of this species is considered to be highly vulnerable to negative impacts from
             Tundra saxifrage       Known from a single           changes in temperature and precipitation regimes in southwest Colorado and this species is
 Plants     Saxifraga caespitosa    occurrence. Documented        thus threatened by the loss of its alpine habitat. The occurrence is isolated from other
              ssp. monticola        in 1998.                      populations of this species. Isolated populations are susceptible to negative impacts from
                                                                  genetic drift. Species with single occurrences have particular persistence concerns because
                                                                  a single event can remove the species.




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                                                Evidence of                            Substantial Concern About the Species Capability
   Category              Species
                                                Occurrence                                       to Persist over the Long Term
                                                                    Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                                                    alpine habitat of this species is considered to be highly vulnerable to negative impacts from
                                          G2 species known from a   changes in temperature and precipitation regimes in southwest Colorado and thus this
                      King's campion
      Plants                              single occurrence,        species is threatened by the loss of its alpine habitat. The occurrence is isolated from other
                       Silene kingii
                                          documented in 2005.       populations of this species. Isolated populations are susceptible to negative impacts from
                                                                    genetic drift. Species with single occurrences have particular persistence concerns because
                                                                    a single event can remove the species entirely.
                                                                    Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                                                    species and its high elevation fen habitat are threatened by changes in temperature and
                                          There is a single
                     Fine bog-moss                                  precipitation regimes. The population is small and isolated, and small and isolated
      Plants                              occurrence along Iron
                 Sphagnum angustifolium                             populations are subject to threats from genetic drift and stochastic events. Species with
                                          Creek in 2016.
                                                                    single occurrences have particular persistence concerns because a single event can
                                                                    remove the species.
                                                                    Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                                                    species is extremely vulnerable to negative impacts from changes in temperature and
                                          G2 species known from     precipitation regimes, particularly because it is dependent on ice and snow. These
                   Rothrock Townsend
                                          three occurrences. The    assessments indicate that the alpine habitat of this species is considered to be highly
      Plants              daisy
                                          species was known to be   vulnerable to negative impacts from changes in temperature and precipitation regimes in
                  Townsendia rothrockii
                                          extant in 2016.           southwest Colorado and this species is thus threatened by the loss of its alpine habitat.
                                                                    Additionally, the occurrences are small and isolated. Small and isolated populations are
                                                                    subject to threats from genetic drift and stochastic events.




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Table 24. Species considered early but after further review were not identified as species of conservation concern
                                         Evidence of
   Category          Species                                                Rationale for Not Including the Species as Draft SCC
                                         Occurrence
                   Leopard frog                            Locally this is primarily a lower-elevation species. Limited, but historical occurrence on
  Amphibian                           Not known to occur
                   Rana pipiens                            Forest. No known existing populations or occurrences.
               Grasshopper sparrow
                                                           Very limited occurrence in select locations in the San Luis Valley. Very limited, if any,
     Bird         Ammodramus          Not known to occur
                                                           potential habitat on Forest.
                   savannarum
                                                           Limited suitable habitat on the Forest and most occurrence records are peripheral, with
                  Sage sparrow
     Bird                              Known to occur      only one documented occurrence in 2004. Very limited ability to influence species
                 Amphispiza belli
                                                           through management actions.
                                                           Associated with primarily low-elevation open grasslands with rocky outcrops. Appears to
                   Golden eagle                            be secure, occupying these habitats where expected, and, in some cases, at relatively
     Bird                              Known to occur
                 Aquila chrysaetos                         high densities (up to 7 nesting eagles at locations). Also continues to enjoy protections
                                                           under the Bald and Golden Eagle Protection Act.
                  Burrowing owl                            No occurrence on Forest documented through continuous survey efforts, including high-
     Bird                             Not known to occur
                Athene cunicularia                         use areas such as prairie dog colonies.
                 Juniper titmouse                          Global and state rankings suggest species is secure globally and locally. No known
     Bird                              Known to occur
                Baeolophus griseus                         substantial conservation concern.
                 Ferruginous hawk                          Limited nesting occurrences are restricted to the valley floor. Very little if any potential
     Bird                             Not known to occur
                   Buteoregalis                            habitat.
                  Cassin’s finch                           Global and state rankings suggest species is secure globally and locally. No known
     Bird                              Known to occur
                Carpodacus cassinii                        substantial conservation concern.
                       Veery                               No reported occurrences under existing databases. Potential evidence of recent
     Bird                              Known to occur
                Catharus fuscescens                        breeding at one location. Presence is considered peripheral.
                 Mountain plover                           No occurrence documented through continuous survey efforts, including high-use areas
     Bird                             Not known to occur
               Charadrius montanus                         such as prairie dog colonies.
                  Northern harrier                         Nesting habitat and occurrences primarily restricted to the valley floor. The Forest has
     Bird                             Not known to occur
                  Circus cyaneus                           little potential habitat.
                                                           Survey efforts suggest the population is stable and secure statewide and locally. No
                    Black swift                            documented connection or concerns about effects of Forest uses and management as
     Bird                              Known to occur
                 Cypseloides niger                         primary risk factors. Unique species that may warrant other occasional monitoring
                                                           efforts.
                                                           No known substantial conservation concern. Distribution is widespread and rangewide
                  Prairie falcon
     Bird                              Known to occur      populations are thought to be stable. Cliff and outcrop breeding habitat is unchanged
                 Falco mexicanus
                                                           and secure.


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                                                 Evidence of
   Category                Species                                                  Rationale for Not Including the Species as Draft SCC
                                                 Occurrence
                          Pinyon jay
                                                                   No known substantial conservation concern. Limited management activity in available
      Bird               Gymnorhinus           Known to occur
                                                                   habitat. Global and state rankings suggest the species is secure.
                        cyanocephalus
                          Bald eagle                               No breeding or wintering confirmed and no clear evidence of concern for persistence.
      Bird                Haliaeetus           Known to occur      Species continues to enjoy important protections under the Bald and Golden Eagle
                        leucocephalus                              Protection Act.
                      Loggerhead shrike
      Bird                                     Known to occur      Occurrence is peripheral. Very few documented occurrences. Very little suitable habitat.
                      Lanius ludovicianus
                                                                   Fairly common to abundant nesting inhabitant in western Colorado, limited occurrences.
                       Virginia’s warbler                          Global and state ranking suggest the species is secure. High dispersal capability.
      Bird                                     Known to occur
                      Leiothlypis virginiae                        Shrubland habitats are limited in availability and stable on the Forest, no known
                                                                   substantial conservation concern.
                                                                   Breeding habitat consists of cliffs, caves, and rock crevices in alpine and tundra habitats
                    Brown-capped
                                                                   that is stable and secure. Some uncertainty about sensitivity of alpine habitat to changes
      Bird            rosy finch               Known to occur      to precipitation and temperature regimes. The species is fairly common. No known
                  Leucosticte australis
                                                                   substantial conservation concern.
                                                                   Occurrence is peripheral and primarily associated with lower elevation cottonwood
                      Lewis's woodpecker                           systems such as those along the Alamosa and Conejos River drainages. There are very
      Bird                                     Known to occur
                       Melanerpes lewis                            few documented observations over the past 20 years. Very little suitable habitat is
                                                                   available.
                   Band-tailed pigeon                              Migratory species. Occurrence is sporadic and seasonal with no known nesting
      Bird                                     Known to occur
                  Patagioenas fasciata                             occurrence.
                      Monarch butterfly
  Invertebrate                                Not known to occur   Limited available habitat.
                      Danaus plexippus
                        Theano alpine
  Invertebrate                                Not known to occur   Globally secure, moderate concern statewide. Not known to occur.
                       Erebia pawloskii
                 Colorado blue (butterfly)
  Invertebrate       Euphilotes rita          Not known to occur   Lower elevation, prairie species. Very limited habitat.
                      coloradensis
                        Alberta Arctic                             There are no records of this species occurrence. Bunchgrass habitat forestwide is not at
  Invertebrate                                 Known to occur
                        Oeneis alberta                             risk.
                  Gold-edge gem moth
  Invertebrate                                Not known to occur   Lower elevation species, limited habitat.
                   Schinia avemensis
                  Great Basin silverspot
  Invertebrate      Speyeria nokomis          Not known to occur   Lower elevation species, limited habitat.
                        nokomis


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                                          Evidence of
Category           Species                                                  Rationale for Not Including the Species as Draft SCC
                                          Occurrence
                                                            Individuals detected locally during acoustic bat surveys. Forest occupancy is limited with
                                                            a 5 occurrences reported over the past 20 years. Potential habitat loss a concern due to
                  Hoary bat                                 the loss of spruce habitat due to the impacts of spruce beetle. Abundant aspen forest
Mammal                                  Known to occur
              Lasiurus cinereus                             remains unaffected and available. Windfarms are a primary threat, but none occur or are
                                                            planned.
             Southern red-backed
                                                            Global and state rankings suggest species is secure in Colorado and locally. No known
Mammal               vole               Known to occur
                                                            substantial conservation concern.
               Myodes gapperi
                                                            Has experienced substantial population declines in Eastern and Midwestern states
                                                            affected by white-nose syndrome. White nose syndrome has not yet occurred in
               Little brown bat
Mammal                                  Known to occur      Colorado; therefore, there is currently no known substantial conservation concern. Plan
               Myotis lucifugus
                                                            components address regarding abandoned mine features for bat species prior to
                                                            closure.
              Big free-tailed bat                           Occurrence is peripheral. Very few documented occurrences, no known breeding or
Mammal                                  Known to occur
            Nyctinomops macrotis                            roosting areas on. Very little suitable habitat.
                                                            In Colorado, species remains common in available talus habitat. Quantity of talus
                                                            habitats remains stable. May be some concerns for effects of changes in temperature
               American pika
Mammal                                  Known to occur      and precipitation regimes to alpine habitats but uncertain at this time. No known
              Ochotona princeps
                                                            substantial conservation concern locally although occasional monitoring may be
                                                            warranted.
                Abert’s squirrel                            Widespread through the ponderosa pine zone. No known substantial conservation
Mammal                                  Known to occur
                Sciurus aberti                              concern.
                 Dwarf shrew
Mammal                                 Not known to occur   No occurrences or known habitat.
                 Sorex nanus
             Botta's pocket gopher
Mammal        Thomomys bottae          Not known to occur   Species considered secure locally. Limited available habitat.
                   pervagus
              Rydberg’s golden
                  columbine
 Plant                                 Not known to occur
           Aquilegia chrysantha var.
                   rydbergii
           Vierhapper’s/Alpine aster
 Plant         Aster alpinus var.       Known to occur      Too long a time has passed since observation for species to be known to occur.
                  vierhapperi
               Violet milkvetch
 Plant                                 Not known to occur
            Astragalus iodopetalus


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                                              Evidence of
   Category              Species                                                Rationale for Not Including the Species as Draft SCC
                                              Occurrence
                   Missouri milkvetch
      Plant     Astragalus missouriensis   Not known to occur
                     var. humistratus
                    Aztec milkvetch
      Plant                                Not known to occur
                  Astragalus proximus
                  Crandall’s rockcress
      Plant                                Not known to occur
                  Boechera crandallii
                  Narrowleaf grapefern
      Plant                                Not known to occur
                   Botrychium lineare
                  Winding mariposa lily
      Plant                                Not known to occur
                  Calochortus flexuosus
                  Lesser tussock sedge
      Plant                                Not known to occur
                     Carex diandra
                        Mud sedge
      Plant                                 Known to occur      Too long a time has passed since observation for species to be known to occur.
                       Carex limosa
                  Slender spiderflower
      Plant                                Not known to occur
                   Cleome multicaulis


                  Lesser yellow lady’s -
      Plant              slipper           Not known to occur
                 Cypripedium parviflorum
                   Wahatoya larkspur
      Plant                                Not known to occur
                  Delphinium robustum
                  Heil’s tansy mustard
      Plant                                Not known to occur
                  Descurainia kenheilii
                  Stream orchid, giant
      Plant           helleborine          Not known to occur
                   Epipactis gigantea
                 Brandegee's buckwheat
      Plant                                Not known to occur
                 Eriogonum brandegeei
                Colorado wild buckwheat
      Plant                                Not known to occur
                Eriogonum coloradense
                Whitebristle cottongrass
      Plant     Eriophorum altaicum var.    Known to occur      No concern for persistence.
                       neogaeum

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                                       Evidence of
Category          Species                                                Rationale for Not Including the Species as Draft SCC
                                       Occurrence
           Chamisso’s cottongrass
 Plant                              Not known to occur
           Eriophorum chamissonis
             Slender cottongrass
 Plant                              Not known to occur
             Eriophorum gracile
               Bill’s neoparrya                          Present, no conservation concern due to stable populations that are largely free of
 Plant                               Known to occur
             Neoparrya lithophila                        threats.
            Kotzebue’s grass of
 Plant          Parnassus           Not known to occur
            Parnassiakotzebuei
           Degener’s beardtongue
 Plant                              Not known to occur
            Penstemon degeneri
                                                         Taxonomy issues make it difficult to judge the rarity of the species, as taxonomists are
              Ice cold buttercup
 Plant                               Known to occur      uncertain if this is a distinct species or part of a large, more common species. No state
             Ranunculus karelinii
                                                         ranking because of taxonomic dispute.
               Sageleaf willow
 Plant                              Not known to occur
                Salix candida
               Autumn willow
 Plant                              Not known to occur
               Salix serissima
              Weber’s saw-wort
 Plant                              Not known to occur
              Saussurea weberi
            Pale blue-eyed grass
 Plant                              Not known to occur
            Sisyrinchium pallidum
              Baltic sphagnum
 Plant                              Not known to occur
             Sphagnum balticum
            Smooth Easter daisy
 Plant                              Not known to occur
            Townsendia glabella
             Lesser bladderwort
 Plant                              Not known to occur
              Utricularia minor
                                                         Occurrences are small and isolated and small and isolated populations are susceptible
            New Mexico cliff fern
 Plant                               Known to occur      to negative impacts from genetic drift and stochastic events. However, this is not enough
            Woodsia neomexicana
                                                         to substantiate a local concern for continued persistence.
                                                         Occurrences are small and isolated and small and isolated populations are susceptible
            Plummer’s cliff fern
 Plant                               Known to occur      to negative impacts from genetic drift and stochastic events. However, this is not enough
            Woodsia plummerae
                                                         to substantiate a local concern for continued persistence.


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Table 25. Crosswalk of species of conservation concern plan components
                                          Ecological Conditions Necessary to Maintain a Viable                Plan Components that Provide Ecological Conditions to
  Category            Species
                                                              Population                                                 Maintain a Viable Population
                                    Western bumblebee requires maintenance of habitat at known and
                                    potential sites by protection from pesticide use, detrimental livestock
                      Western       grazing, and conifer encroachment. Habitat requirements for this          G-SCC-1: To maintain ecological conditions to support a
                     bumblebee      species include the availability of nectar and pollen throughout the      viable population of species of conservation concern insects
 Invertebrates
                      Bombus        colony season (April - August) and a viability of underground nest        and plants, minimize negative impacts to pollinators when
                     occidentalis   sites and hibernacula. In addition, western bumblebee populations         applying pesticides.
                                    require habitats that are free from commercially raised pollinators to
                                    protect them from nonnative parasites.
                                                                                                              G-SCC-1: To maintain ecological conditions to support a
                                                                                                              viable population of species of conservation concern insects
                                    This species is dependent on monocot grasses, sedges, and rushes          and plants, minimize negative impacts to pollinators when
                 White-veined       growing on or near wet tundra bogs. It requires access to stable          applying pesticides.
 Invertebrates   arctic butterfly   temperatures or refuge uphill; although in many cases locally,            G-SCC-4: To maintain ecological conditions to support
                 Oeneis bore        moving uphill is not an option as populations already only survive on     alpine-related species of conservation concern, avoid road
                                    mountain tops.                                                            construction and other permanent ground-disturbing activities
                                                                                                              within 100 feet of alpine fell and talus rock fields, and alpine
                                                                                                              bogs.
                                                                                                              S-GDE-1: Do not authorize management actions that alter
                                                                                                              the hydrology of groundwater-dependent habitat features.
                                                                                                              G-GDE-1: To maintain ecosystem diversity and function,
                                                                                                              design projects to avoid or mitigate negative impacts to the
                                                                                                              ecological services that groundwater-dependent ecosystems
                                                                                                              provide.
                                                                                                              S-RMZ-1: Management activities may have short-term
                                                                                                              impacts (generally less than 5 years) to composition,
                                    Boreal toads require three main habitat components, all free from         function, and structure of riparian areas and fish habitat.
                                    chytrid fungus: 1) shallow wetlands for breeding, 2) terrestrial          Over the long term (generally greater than 20 years), projects
                                    habitats with vegetative cover for foraging, and 3) burrows for winter    shall not impair connectivity, composition, function, and
                 Boreal toad
 Amphibians                         hibernation. Wetland habitats constitute primary and breeding             structure.
                 Anaxyrus boreas    habitats; however, boreal toads may be found in terrestrial habitats      G-RMZ-1: To maintain ecological integrity and connectivity,
                                    during dispersal to and from breeding sites. In Colorado, they are        new system roads and infrastructure should not be
                                    known to occur from 7,500 to 12,000 feet in elevation.                    constructed in the riparian management zone.
                                                                                                              S-WA-1: Incorporate direction included in the National Core
                                                                                                              Best Management Practices and Watershed Conservation
                                                                                                              Practices Handbook, to develop project-specific best
                                                                                                              management practice prescriptions in project plans.
                                                                                                              G-WA-1: Maintain or restore water quality by assuring that
                                                                                                              activities meet State of Colorado water quality standards.
                                                                                                              Management activities in watersheds where State of
                                                                                                              Colorado 303(d) listed impaired water bodies exist should

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                                    Ecological Conditions Necessary to Maintain a Viable             Plan Components that Provide Ecological Conditions to
 Category       Species
                                                        Population                                              Maintain a Viable Population
                                                                                                     assist in achieving State water quality standards.
                                                                                                     G-WA-2: Management actions should not cause long-term
                                                                                                     degradation to water resources, including lakes, streams,
                                                                                                     wetlands, and groundwater. Particular attention should be
                                                                                                     paid to public water supplies, sole source aquifers, and
                                                                                                     source water protection areas.
                                                                                                     G-FISH-1: New surface diversions should provide passage
                                                                                                     for native and desired nonnative aquatic species to maintain
                                                                                                     connectivity except when barriers are needed to protect from
                                                                                                     undesired nonnative fish.
                                                                                                     G-FISH-2: Newly constructed perennial stream crossings
                                                                                                     and aquatic organism passages allow natural streamflow,
                                                                                                     and bidirectional movement of adult and juvenile fish and
                                                                                                     other wildlife.
                                                                                                     G-MIN-1: Mining activities can be acknowledged when the
                                                                                                     activity does not cause substantial surface disturbance or
                                                                                                     unacceptable impacts to water quality or fish habitat. Aspects
                                                                                                     of operation will be contained in the notice of intent. A plan of
                                                                                                     operations will be required for any activities above the scope
                                                                                                     of a notice of intent.
                                                                                                     S-GDE-1: Do not alter the hydrology of groundwater­
                                                                                                     dependent habitat features.
                                                                                                     G-GDE-1:Do not negatively impact the ecological services
                                                                                                     that groundwater-dependent ecosystems provide.
                                                                                                     S-RMZ-1: Activities should limit impacts to composition,
                                                                                                     function, and structure of riparian and fish habitat to 5 years
                                                                                                     and no longer than 20 years.
                                                                                                     G-RMZ-1: No new roads or infrastructure within the riparian
                              Rio Grande Chub require pools of small to moderate size in
                              perennial streams with a mix of cobble, gravel, and sand substrate.    management zones.
                              Habitat connectivity, a lack of nonnative piscivorous fish, habitat    S-WA-1: Follow watershed Best Management Practices and
            Rio Grande chub                                                                          Watershed Conservation Practices Handbook direction.
Fish                          resiliency from drought and negative impacts from fire, stable water
            Gila pandora                                                                             G-WA-1: Follow State of Colorado water quality standards; if
                              temperatures below 20 degrees Celsius, and streamflow are all
                              critical elements that are needed to maintain viable populations of    waterbody is a 3030(d) waterbody, activities should assist in
                                                                                                     achieving State standards.
                              Rio Grande chub.
                                                                                                     G-WA-2: Actions should not cause long-term damage to any
                                                                                                     water bodies.
                                                                                                     G-MIN-1: Mining activities should not cause unacceptable
                                                                                                     impacts to water quality or fish habitat.
                                                                                                     G-FISH-1: New surface diversions should provide passage to
                                                                                                     maintain connectivity except when barriers are needed to
                                                                                                     protect from undesired nonnative fish.
                                                                                                     G-FISH-2: Newly constructed perennial stream crossings

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                                            Ecological Conditions Necessary to Maintain a Viable                Plan Components that Provide Ecological Conditions to
  Category            Species
                                                                Population                                                 Maintain a Viable Population
                                                                                                                and aquatic organism passages allow natural streamflow,
                                                                                                                and bidirectional movement of adult and juvenile fish.
                                                                                                                G-FISH-3: Fisheries activity period maps should be
                                                                                                                consulted during project development and design, including
                                                                                                                recreational dredging. Date ranges associated with stream
                                                                                                                classes are identified.
                                                                                                                S-GDE-1: Do not alter the hydrology of groundwater­
                                                                                                                dependent habitat features.
                                                                                                                G-GDE-1: Do not negatively impact the ecological services
                                                                                                                that groundwater-dependent ecosystems provide.
                                                                                                                S-RMZ-1: Activities should limit impacts to composition,
                                                                                                                function, and structure of riparian and fish habitat to 5 years
                                                                                                                and no longer than 20 years.
                                      Populations of Rio Grande cutthroat trout require protection from         G-RMZ-1: No new roads or infrastructure within the riparian
                                      nonnative trout, introduced diseases, and habitat degradation of
                                                                                                                management zones.
                                      riparian areas and roads. Protection of Rio Grande cutthroat trout
                                                                                                                S-WA-1: Follow watershed Best Management Practices and
                                      from both nonnative trout and disease can be achieved by isolating
                                                                                                                Watershed Conservation Practices Handbook direction.
                                      populations using migration barriers. In some cases, a sufficient
                                                                                                                G-WA-1: Follow State of Colorado water quality standards; if
                                      natural or artificial barrier is present; otherwise, a barrier can be
                   Rio Grande                                                                                   waterbody is a 3030(d) waterbody, activities should assist in
                                      constructed. Aspects of habitat shown to be important for cutthroat       achieving State standards.
                 cutthroat trout      trout include availability of cover and number of deep pools,
      Fish
                 Oncorhynchus                                                                                   G-WA-2: Actions should not cause long-term damage to any
                                      availability of sediment-free spawning gravels and fry rearing habitat,
                 clarkii virginalis                                                                             water bodies.
                                      and relatively warm summer water temperatures (13 degrees Celsius
                                      up to a 22-degree Celsius maximum). To ensure viability, expansion        G-MIN-1: Mining activities should not cause unacceptable
                                      of existing Rio Grande cutthroat trout populations and establishment      impacts to water quality or fish habitat.
                                                                                                                G-FISH-1: New surface diversions should provide passage to
                                      of new populations can be achieved by translocating wild or
                                                                                                                maintain connectivity except where barriers are needed to
                                      hatchery-produced fish into suitable habitat or by creating conditions
                                                                                                                protect from undesired nonnative fish.
                                      that allow natural re-colonization.
                                                                                                                G-FISH-2: Newly constructed perennial stream crossings
                                                                                                                and aquatic organism passages allow natural streamflow,
                                                                                                                and bidirectional movement of adult and juvenile fish.
                                                                                                                G-FISH-3: Fisheries activity period maps should be
                                                                                                                consulted during project development and design, including
                                                                                                                recreational dredging. Date ranges associated with stream
                                                                                                                classes are identified.
                                                                                                                S-GDE-1: Do not alter the hydrology of groundwater­
                                      Rio Grande sucker requires pools of small to moderate size in             dependent habitat features.
                                      perennial streams with a mix of cobble, gravel, and sand substrate.       G-GDE-1:Do not negatively impact the ecological services
               Rio Grande sucker
                                      Habitat connectivity, lack of nonnative fish, drought and fire            that groundwater-dependent ecosystems provide.
      Fish        Catostomus
                                      protection, stable water temperatures below 25 degrees Celsius, and       S-RMZ-1: Activities should limit impacts to composition,
                    plebeius
                                      streamflow are all critical for preservation of Rio Grande sucker         function, and structure of riparian and fish habitat to 5 years
                                      populations.                                                              and no longer than 20 years.
                                                                                                                G-RMZ-1: No new roads or infrastructure within the riparian


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                                    Ecological Conditions Necessary to Maintain a Viable             Plan Components that Provide Ecological Conditions to
Category       Species
                                                        Population                                              Maintain a Viable Population
                                                                                                     management zones.
                                                                                                     S-WA-1: Foiiow watershed Best Management Practices and
                                                                                                     Watershed Conservation Practices Handbook direction.
                                                                                                     G-WA-1: Foiiow State of Coiorado water quaiity standards; if
                                                                                                     waterbody is a 3030(d) waterbody, activities shouid assist in
                                                                                                     achieving State standards
                                                                                                     G-WA-2: Actions shouid not cause iong-term damage to any
                                                                                                     water bodies
                                                                                                     G-MIN-1: Mining activities shouid not cause unacceptabie
                                                                                                     impacts to water quaiity or fish habitat.
                                                                                                     G-FISH-1: New surface diversions shouid provide passage to
                                                                                                     maintain connectivity except when barriers are needed to
                                                                                                     protect from undesired nonnative fish.
                                                                                                     G-FISH-2: Newiy constructed perenniai stream crossings
                                                                                                     and aquatic organism passages aiiow naturai streamfiow,
                                                                                                     and bidirectionai movement of aduit and juveniie fish.
                                                                                                     G-FISH-3: Fisheries activity period maps shouid be
                                                                                                     consuited during project deveiopment and design, inciuding
                                                                                                     recreationai dredging. Date ranges associated with stream
                                                                                                     ciasses are identified.
                                                                                                     G-VEG-1: Snag densities are reiated to disturbance regimes
                                                                                                     of various forest systems. Snags suitabie for nesting and
                                                                                                     denning (typicaiiy iarger sizes) are present across the Forest,
                                                                                                     contributing to the diversity of forest structure and
                                                                                                     maintenance of habitat components important to the
                                                                                                     persistence of snag-associated wiidiife species. Snags
                                                                                                     provide an important habitat component in the maintenance
                                                                                                     of habitat connectivity. Snag retention shouid represent a
                                                                                                     variety of snag heights. At ieast 50 percent of the retained
                               Boreai owis require access to nesting cavities in snags and primary   snags shouid represent the iarger size ciasses avaiiabie.
              Boreal owi                                                                             Where iarger snags are not avaiiabie, trend toward a greater
 Birds                         prey populations such as smaii mammais (voies, mice, squirrels) and
           Aegolius funereus                                                                         number of smaiier snags. Snags are not required to be
                               those habitats that support these species.
                                                                                                     maintained on every acre.
                                                                                                     S-VEG-4: Seiect harvest systems to achieve desired
                                                                                                     conditions and objectives or to meet site-specific project
                                                                                                     needs, not primariiy for the greatest doiiar return or timber
                                                                                                     output.
                                                                                                     S-VEG-5: Ciearcutting may be used where it has been
                                                                                                     determined to be the optimum method, and other types of
                                                                                                     even-aged harvest shaii be used oniy where determined to
                                                                                                     be appropriate foiiowing interdiscipiinary review.
                                                                                                     Determinations shaii be based on site-specific conditions and

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                                         Ecological Conditions Necessary to Maintain a Viable              Plan Components that Provide Ecological Conditions to
  Category            Species
                                                             Population                                               Maintain a Viable Population
                                                                                                           the desired conditions for vegetation, wildlife habitat,
                                                                                                           scenery, and other resources.
                                   Brewer’s sparrow requires sagebrush and mountain shrub habitats
                                   free of pinyon juniper encroachment. This species habitat must be
                                   resilient to changes in temperature and precipitation regimes.
                                   Brewer’s sparrow reiies on sagebrush habitat almost exclusively for
                                   breeding.                                                               G-SCC-3: Reduce habitat fragmentation and maintain
                Brewer’s sparrow   Brewer’s sparrow habitat can also include to a lesser extent            structural conditions of sagebrush ecosystems through
      Birds
                Spizella breweri   mountain mahogany, rabbitbrush, bunchgrass grasslands with              design of management activities. Patch sizes should not be
                                   shrubs, bitterbrush, ceanothus, manzanita, and large openings in        less than 5 acres.
                                   pinyon-juniper and black greasewood habitats. Brewer’s sparrows
                                   eat mostly small insects during the breeding season, including
                                   caterpillars, leaf beetles, weevils, grasshoppers, ants, and other
                                   insects and spiders.
                                                                                                           G-VEG-1: Snag densities are related to disturbance regimes
                                                                                                           of various forest systems. Snags suitable for nesting and
                                                                                                           denning (typically larger sizes) are present across the Forest,
                                                                                                           contributing to the diversity of forest structure and
                                                                                                           maintenance of habitat components important to the
                                                                                                           persistence of snag-associated wildlife species. Snags
                                                                                                           provide an important habitat component in the maintenance
                                                                                                           of habitat connectivity. Snag retention should represent a
                                                                                                           variety of snag heights. At least 50 percent of the retained
                                                                                                           snags should represent the larger size classes available.
                                                                                                           Where larger snags are not available, trend toward a greater
                                                                                                           number of smaller snags. Snags are not required to be
                                   Flammulated owls require suitable nesting habitat in open, old-         maintained on every acre.
                Fiammuiated owi    growth ponderosa pine and mixed conifer forest with younger, high-      G-VEG-5: Old forest, or late-successional stage forest, is
      Birds
                Otus flammeolus    density vegetation with large snags to provide nesting opportunities.   often deferred from harvest to maintain biotic diversity across
                                   Suitable habitat must also include access to abundant insect prey.      the landscape. To maintain old forest components across the
                                                                                                           landscape and move toward desired conditions, prioritize
                                                                                                           retention of old forest stands as follows:
                                                                                                            -Older stands that have not been manipulated are more
                                                                                                           desirable than younger ones.
                                                                                                            - Stands with limited use and access are better suited to
                                                                                                           maintain old forest conditions.
                                                                                                            - Stands that provide habitat for threatened, endangered, or
                                                                                                           proposed species, species of conservation concern.
                                                                                                            -Stands exhibiting a variety of attributes such as diverse
                                                                                                           canopy layers, decadence in live trees, standing or downed
                                                                                                           dead, or both, and patchiness.
                                                                                                           S-VEG-4: Select harvest systems to achieve desired

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                                      Ecological Conditions Necessary to Maintain a Viable               Plan Components that Provide Ecological Conditions to
Category       Species
                                                          Population                                                Maintain a Viable Population
                                                                                                         conditions and objectives or to meet site-specific project
                                                                                                         needs, not primarily for the greatest dollar return or timber
                                                                                                         output.
                                                                                                         S-VEG-5: Clearcutting may be used where it has been
                                                                                                         determined to be the optimum method, and other types of
                                                                                                         even-aged harvest shall be used only where determined to
                                                                                                         be appropriate following interdisciplinary review.
                                                                                                         Determinations shall be based on site-specific conditions and
                                                                                                         the desired conditions for vegetation, wildlife habitat,
                                                                                                         scenery, and other resources.
                                                                                                         G-VEG-1: Snag densities are related to disturbance regimes
                                                                                                         of various forest systems. Snags suitable for nesting and
                                                                                                         denning (typically larger sizes) are present across the Forest,
                                                                                                         contributing to the diversity of forest structure and
                                                                                                         maintenance of habitat components important to the
                                                                                                         persistence of snag-associated wildlife species. Snags
                                                                                                         provide an important habitat component in the maintenance
                                                                                                         of habitat connectivity. Snag retention should represent a
                                                                                                         variety of snag heights. At least 50 percent of the retained
                                                                                                         snags should represent the larger size classes available.
                                                                                                         Where larger snags are not available, trend toward a greater
                                Goshawks nest in a variety of habitat types throughout their range       number of smaller snags. Snags are not required to be
                                but seem to prefer unfragmented mature forests with large trees on       maintained on every acre.
                                moderate slopes with open understories. They nest in either              G-VEG-5: Old forest, or late-successional stage forest, is
                                coniferous, deciduous, or mixed-pine forests, depending on               often deferred from harvest to maintain biotic diversity across
           Northern goshawk     availability. Nest trees are typically one of the largest trees in the   the landscape. To maintain old forest components across the
 Birds
           Accipiter gentiles   nest area; most territories contain several alternative nest trees. On   landscape and move toward desired conditions, prioritize
                                the Forest, aspen is the most commonly selected nest tree, followed      retention of old forest stands as follows:
                                by ponderosa pine, Engelmann spruce, and lodgepole pine. Forest           -Older stands that have not been manipulated are more
                                types selected for nesting were aspen, mixed conifer, ponderosa          desirable than younger ones.
                                pine, and spruce-fir.                                                     - Stands with limited use and access are better suited to
                                                                                                         maintain old forest conditions.
                                                                                                          - Stands that provide habitat for threatened, endangered, or
                                                                                                         proposed species, species of conservation concern.
                                                                                                          -Stands exhibiting a variety of attributes such as diverse
                                                                                                         canopy layers, decadence in live trees, standing or downed
                                                                                                         dead, or both, and patchiness.
                                                                                                         S-VEG-4: Select harvest systems to achieve desired
                                                                                                         conditions and objectives or to meet site-specific project
                                                                                                         needs, not primarily for the greatest dollar return or timber
                                                                                                         output.
                                                                                                         S-VEG-5: Clearcutting may be used where it has been

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                                         Ecological Conditions Necessary to Maintain a Viable                 Plan Components that Provide Ecological Conditions to
  Category            Species
                                                             Population                                                  Maintain a Viable Population
                                                                                                              determined to be the optimum method, and other types of
                                                                                                              even-aged harvest shall be used only where determined to
                                                                                                              be appropriate following interdisciplinary review.
                                                                                                              Determinations shall be based on site-specific conditions and
                                                                                                              the desired conditions for vegetation, wildlife habitat,
                                                                                                              scenery, and other resources.
                                                                                                              G-VEG-1: Snag densities are related to disturbance regimes
                                                                                                              of various forest systems. Snags suitable for nesting and
                                                                                                              denning (typically larger sizes) are present across the Forest,
                                                                                                              contributing to the diversity of forest structure and
                                                                                                              maintenance of habitat components important to the
                                                                                                              persistence of snag-associated wildlife species. Snags
                                                                                                              provide an important habitat component in the maintenance
                                   Locally, olive-sided flycatchers are more commonly found at higher         of habitat connectivity. Snag retention should represent a
                                   elevations in spruce-fir forests, but they are less frequently observed    variety of snag heights. At least 50 percent of the retained
                                   in aspen/mixed coniferous, ponderosa pine, riparian, and                   snags should represent the larger size classes available.
                                   occasionally pinyon-juniper forests. Olive-sided flycatchers frequently    Where larger snags are not available, trend toward a greater
                 Olive-sided
                                   nest in early successional post-fire forests in all montane and            number of smaller snags. Snags are not required to be
      Bird        flycatcher
                                   subalpine forest types. Nests are most commonly found in live              maintained on every acre.
               Contopus cooperi
                                   coniferous trees. Olive-sided flycatchers are primarily aerial             S-VEG-4: Select harvest systems to achieve desired
                                   insectivores, foraging in forest openings, along edges, and over           conditions and objectives or to meet site-specific project
                                   forest canopies utilizing prominent perches, especially snags and          needs, not primarily for the greatest dollar return or timber
                                   dead-topped trees.                                                         output.
                                                                                                              S-VEG-5: Clearcutting may be used where it has been
                                                                                                              determined to be the optimum method, and other types of
                                                                                                              even-aged harvest shall be used only where determined to
                                                                                                              be appropriate following interdisciplinary review.
                                                                                                              Determinations shall be based on site-specific conditions and
                                                                                                              the desired conditions for vegetation, wildlife habitat,
                                                                                                              scenery, and other resources.
                                   Peregrine falcons utilize a wide variety of landscapes for foraging,
                                   but require prominent cliffs overlooking surrounding lowlands, often
                                   with water, for nesting free of human harassment and environmental         S-WLDF-1: Do not allow rock climbing within one-half mile of
                Peregrine falcon
                                                                                                              active peregrine and prairie falcon nest sites generally from
      Birds     Falco peregrinus   toxins from pesticides containing organochlorines. Prey items consist
                                                                                                              April 15 to July 31 and active golden eagle nest sites
                    anatum         nearly exclusively of living birds including white-throated swift,
                                                                                                              generally from December 15 to July 31.
                                   mourning dove, common nighthawk, rock dove, American robin, and
                                   a variety of other passerine species.
                                   The white-tailed ptarmigan is an alpine obligate, meaning they             G-SCC-4: To maintain ecological conditions to support
                Southern white­
                                   require these habitats for all life stages including breeding and brood­   alpine-related species of conservation concern, avoid road
                tailed ptarmigan                                                                              construction and other permanent ground-disturbing activities
      Birds                        rearing during summer, fall, and winter. Breeding habitats consist of
               Lagopus leucurus
                                   snow-free areas on gentle to moderate slopes where willow is a             within 100 feet of alpine fell and talus rock fields, and alpine
                    altipetens
                                   major component. Elevations vary by latitude, slope, and aspect,           bogs.

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                                     Ecological Conditions Necessary to Maintain a Viable               Plan Components that Provide Ecological Conditions to
Category       Species
                                                         Population                                                Maintain a Viable Population
                               ranging from 11,000 - 14,000 feet. Most territories are situated near
                               treeline early in the breeding season and encompass stands of
                               willows more than 1.6 feet tall that protrude above the snow. As the
                               snow melts and vegetation green-up occurs, territories extend
                               upslope to include areas with more rocks, increased herbaceous
                               vegetation, and less willow with rock cover exceeding 25 percent and
                               including rocks larger than 12 inches.
                                                                                                        G-VEG-5: Old forest, or late-successional stage forest, is
                                                                                                        often deferred from harvest to maintain biotic diversity across
                                                                                                        the landscape. To maintain old forest components across the
                                                                                                        landscape and move toward desired conditions, prioritize
                                                                                                        retention of old forest stands as follows:
                                                                                                         -Older stands that have not been manipulated are more
                                                                                                        desirable than younger ones.
                                                                                                         - Stands with limited use and access are better suited to
                                                                                                        maintain old forest conditions.
                               Habitat includes conifer-dominated forests and vegetation types
                                                                                                         - Stands that provide habitat for threatened, endangered, or
                               associated with late-successional stands of mesic coniferous forest,
                                                                                                        proposed species, species of conservation concern.
           American marten     especially those with complex physical structure near the ground.
Mammals                                                                                                  -Stands exhibiting a variety of attributes such as diverse
           Martes americana    Martens are generalized carnivores. Prey items including voles,
                                                                                                        canopy layers, decadence in live trees, standing or downed
                               shrews, red squirrels, snowshoe hare, and other small mammals
                                                                                                        dead, or both, and patchiness.
                               make up the bulk of marten winter diets in Colorado.
                                                                                                        S-TEPC-2 (VEG S7): Salvage activities in stands that
                                                                                                        represent high-quality lynx habitat may occur in up to 7
                                                                                                        percent of the high-probability lynx use area that overlaps the
                                                                                                        suitable timber base. Salvage activities in VEG S7 stands in
                                                                                                        combination with all vegetation management activities,
                                                                                                        including incidental damage resulting in either Stand Initiation
                                                                                                        Structural Stage conditions, a reduction of horizontal cover,
                                                                                                        or both, are tracked for 15 years from the decision date for
                                                                                                        the forest plan decision.
                                                                                                        G-VEG-1: Snag densities are related to disturbance regimes
                               Habitat requirements for fringed myotis include dry habitats where       of various forest systems. Snags suitable for nesting and
                               open areas (e.g., grasslands and deserts) are interspersed with          denning (typically larger sizes) are present across the Forest,
                               mature forests (typically ponderosa pine, pinyon-juniper, or oak),       contributing to the diversity of forest structure and
                               creating complex mosaics with ample edges and abundant snags.            maintenance of habitat components important to the
            Fringed myotis                                                                              persistence of snag-associated wildlife species. Snags
Mammals                        Caves, underground mines, and buildings are used for maternity,
           Myotis thysanodes                                                                            provide an important habitat component in the maintenance
                               nocturnal, and diurnal roosts, as well as hibernacula, while solitary
                               day and night roost sites may include bridges, rock crevices, and tree   of habitat connectivity. Snag retention should represent a
                               cavities in lower elevations. Hibernacula must be free of the fungus     variety of snag heights. At least 50 percent of the retained
                               that causes white-nose syndrome, Pseudogymnoascus destructans.           snags should represent the larger size classes available.
                                                                                                        Where larger snags are not available, trend toward a greater
                                                                                                        number of smaller snags. Snags are not required to be

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                                          Ecological Conditions Necessary to Maintain a Viable                Plan Components that Provide Ecological Conditions to
  Category            Species
                                                              Population                                                 Maintain a Viable Population
                                                                                                              maintained on every acre.
                                                                                                              S-VEG-4: Select harvest systems to achieve desired
                                                                                                              conditions and objectives or to meet site-specific project
                                                                                                              needs, not primarily for the greatest dollar return or timber
                                                                                                              output.
                                                                                                              S-VEG-5: Clearcutting may be used where it has been
                                                                                                              determined to be the optimum method, and other types of
                                                                                                              even-aged harvest shall be used only where determined to
                                                                                                              be appropriate following interdisciplinary review.
                                                                                                              Determinations shall be based on site-specific conditions and
                                                                                                              the desired conditions for vegetation, wildlife habitat,
                                                                                                              scenery, and other resources.
                                                                                                              G-SCC-5: To maintain habitat for bat SCC, retain adequate
                                                                                                              access for bats and reduce disturbance to resident
                                                                                                              populations when considering mine or cave closures.
                                                                                                              G-SCC-2: Roads and other ground-disturbing structures and
                                    Habitat requirements for Gunnison’s prairie dog include grasslands,
                                                                                                              other authorized activities should not occur within 100 feet of
               Gunnison’s prairie   semi-desert, and montane shrublands. The species is associated
                                                                                                              known occurrences.
                     dog            with intermountain valleys, benches, and plateaus that offer prairie­
  Mammals                                                                                                     G-SCC-3: To maintain viability of SCC, reduce habitat
                  Cynomys           like topography and vegetation. Gunnison prairie dogs can occupy
                                                                                                              fragmentation and maintain structural conditions of
                  gunnisoni         mesic plateaus and higher mountain valleys, as well as arid
                                                                                                              sagebrush ecosystems through design of management
                                    lowlands. Colonies must be free of sylvatic plague.
                                                                                                              activities. Patch sizes should not be less than 5 acres.
                                    Northern pocket gopher habitats include alpine, cropland/hedgerow,
                                    grassland/herbaceous, savanna, shrubland/chaparral,
                                    woodland/conifer, and mixed woodlands. It prefers deep soils along        G-SCC-6: To maintain or restore ecological conditions to
                Northern pocket     streams and in meadows and cultivated fields, but is also found in        contribute to maintaining a viable population of northern
                    gopher
  Mammals                           rocky soils and clay. They do not hibernate but may be inactive in        pocket gophers, management activities in wetlands and
                   Thomomys
                                    winter and midsummer for brief periods. Most burrowing activity           riparian corridors should not cause a long-term decrease in
               talpoides agrestis
                                    occurs in spring and fall when soil is loose. They must have access       the availability of forbs within 100 feet of occupied habitat.
                                    to a variety of food items including roots of forbs, cacti, grasses,
                                    stems, bulbs, tubers, and leaves.
                                    Habitat types include sandy soils, tallgrasses, rabbitbrush, and likely   G-SCC-2: Roads and other permanent ground-disturbing
                                    pinyon-juniper with sandy soils. This species requires protection         structures and other authorized activities should not degrade
                                    during vulnerable periods including nighttime as it is entirely           vegetation within 100 feet of where plants listed as species of
                                    nocturnal, and the species is inactive above ground from late autumn      conservation concern are known to occur, or within occupied
                 Plains pocket                                                                                habitat for the plains pocket mouse. Typical habitat includes
                                    to early spring, and evidently hibernates through much of the winter.
                     mouse                                                                                    barren or rocky areas but is not limited to alpine fell fields,
  Mammals                           It is generally confined to areas of sandy or sandy-loam soil,
                 Perognathus
                                    generally limited to loose, sandy soils and dunes with sparse             alpine cushion plant communities, talus slopes at any
                  flavescens
                                    vegetation cover. The species may occasionally occupy non-sandy           elevation, rock fields, boulder gardens, cliff faces, recently
                                    atypical habitats such as rocky soils in pinyon-juniper. Plains pocket    disturbed soils, exposed shale, gypsum, volcanic, or adobe
                                    mouse must also have access to food items consisting primarily of         soils, and other sparsely vegetated areas within other
                                    grass, forb, and sedge seeds.                                             ecosystems.

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                                     Ecological Conditions Necessary to Maintain a Viable               Plan Components that Provide Ecological Conditions to
Category       Species
                                                         Population                                                Maintain a Viable Population
                                                                                                        S-GDE-1: Do not authorize management actions that alter
                                                                                                        the hydrology of groundwater-dependent habitat features.
                                                                                                        G-GDE-1: To maintain ecosystem diversity and function,
                                                                                                        design projects to avoid or mitigate negative impacts to the
                                                                                                        ecological services that groundwater-dependent ecosystems
                                                                                                        provide.
                                                                                                        S-RMZ-1: Management activities may have short-term
                                                                                                        impacts (generally less than 5 years) to composition,
                                                                                                        function, and structure of riparian areas and fish habitat.
                                                                                                        Over the long term (generally greater than 20 years), projects
                                                                                                        shall not impair connectivity, composition, function, and
                                                                                                        structure.
                                                                                                        G-RMZ-1: To maintain ecological integrity and connectivity,
                                                                                                        new system roads and infrastructure should not be
                                                                                                        constructed in the riparian management zone.
                               River otters require stream-associated habitats with good water          G-RMZ-2: To provide for the structural nesting habitat
                               quality free of pollution, but lakes, reservoirs, beaver ponds, and      requirements for riparian-associated birds, design
                               floodplain wetlands may occur within seasonal home ranges. Valley        management activities to avoid healthy willow carrs.
                               streams are preferred to mountain streams due to lower gradients         S-WA-1: Incorporate direction included in the National Core
                               and higher productivity. An important physical habitat attribute other   Best Management Practices and Watershed Conservation
               River otter
Mammals                        than water is riparian vegetation, which provides security cover when    Practices Handbook, to develop project-specific best
           Lontra canadensis
                               they are feeding, denning, or moving on land. Riparian vegetation        management practice prescriptions in project plans.
                               also enhances otter habitat by stabilizing banks (which reduces soil     G-WA-1: Maintain or restore water quality by assuring that
                               erosion and protects water quality), contributing nutrients and          activities meet State of Colorado water quality standards.
                               invertebrates to aquatic systems, providing shading for fish habitat,    Management activities in watersheds where State of
                               and encouraging beaver activity.                                         Colorado 303(d) listed impaired water bodies exist should
                                                                                                        assist in achieving State water quality standards.
                                                                                                        G-WA-2: Management actions should not cause long-term
                                                                                                        degradation to water resources, including lakes, streams,
                                                                                                        wetlands, and groundwater. Particular attention should be
                                                                                                        paid to public water supplies, sole source aquifers, and
                                                                                                        source water protection areas.
                                                                                                        G-FISH-1: New surface diversions should provide passage
                                                                                                        for native aquatic species to maintain connectivity.
                                                                                                        G-FISH-2: Newly constructed perennial stream crossings
                                                                                                        and aquatic organism passages allow natural streamflow,
                                                                                                        and bidirectional movement of wildlife.
                                                                                                        G-MIN-1: Mining activities can be acknowledged when the
                                                                                                        activity does not cause substantial surface disturbance or
                                                                                                        unacceptable impacts to water quality or fish habitat. Aspects
                                                                                                        of operation will be contained in the notice of intent. A plan of



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                                          Ecological Conditions Necessary to Maintain a Viable               Plan Components that Provide Ecological Conditions to
  Category            Species
                                                              Population                                                Maintain a Viable Population
                                                                                                             operations will be required for any activities above the scope
                                                                                                             of a notice of intent.
                                                                                                             S-SCC-1: Maintain effective separation of domestic sheep
                                                                                                             and bighorn sheep on active grazing allotments to reduce the
                                                                                                             likelihood and risk of disease transmission. Effective
                                    Most local bighorn sheep populations occur in steep, mountainous         separation is defined as spatial or temporal separation
                                    terrain in the alpine and subalpine zones. However, several local        between bighorn sheep and domestic sheep, resulting in
                                    herds are also located in lower elevations within mixed-conifer and      minimal risk of contact and subsequent transmission of
                                    pinyon-juniper life zones. Common habitat themes for all bighorn         respiratory pathogens between animal groups.
                                    sheep include areas of high topographic relief, which provide and        S-SCC-2: Do not authorize projects that will result in
                Rocky mountain
                                    serve as escape terrain, water in close proximity to foraging areas,     displacement of bighorn sheep during their reproductive
                 bighorn sheep
  Mammals                           and forage consisting of grasses, forbs, and shrubs. Bighorn sheep       period (generally April 15 to July 1).
                Ovis canadensis                                                                              S-SCC-3: Prohibit the use of recreational pack goats in the
                                    must have effective separation from domestic sheep to protect from
                   canadensis
                                    respiratory illness. Effective separation is defined by science-based    Sangre de Cristo Mountains to eliminate potential
                                    estimates of bighorn sheep core herd range and movements across          interactions between pack goats and bighorn sheep.
                                    the landscape in relationship to domestic sheep grazing allotments.      S-SCC-4: Maintain effective separation between domestic
                                    Managing potential contact rates to an acceptable level ensures a        goats used for vegetation management and bighorn sheep to
                                    minimal risk of disease transmission.                                    reduce the likelihood of contact between animal groups.
                                                                                                             G-WLDF-1: To reduce stress at a critical point in the lifecycle
                                                                                                             of big game, restrict activities on winter range from
                                                                                                             approximately December 1 to March 31, as needed.
                                    This species forages in edge habitats along streams, adjacent to and
                                    within a variety of forested and non-forested habitats including semi­
                                    desert scrub, pinyon-juniper woodland, and ponderosa pine
                Townsend’s big­
                                    woodland. Roost sites at elevations of 10,000 feet indicates the         G-SCC-5: To maintain habitat for bat species of conservation
                   eared bat
                                    species may also occur in lodgepole pine and spruce-fir                  concern, retain adequate access for bats and reduce
  Mammals        Corynorhinus
                                    communities. More than 90% of its diet is composed of moths. Roost       disturbance to resident populations when considering mine
                  townsendii
                                    sites must be free of the fungus that causes white-nose syndrome,        or cave closures.
                  townsendii
                                    Pseudogymnoascus destructans, and typically include caves and
                                    mines, but the species has also been reported to utilize buildings,
                                    bridges, rock crevices, and hollow trees as roost sites.
                                    Aliciella penstemonoides grows in crevices, on narrow ledges, and
                                    on rimrock of vertical or near-vertical canyon walls in areas
                                    surrounded by spruce-fir forests. The records for the occurrences
                                                                                                             G-SCC-2 prohibits permanent ground disturbance within 100
               Black Canyon Qiiia   within the planning area describe the habitat as rhyolitic cliffs, in
                                                                                                             feet of this species. This guideline provides the ecological
      Plants        Aliciella       small cracks on south-facing igneous rock cliffs, and Ribes
                                                                                                             conditions this species needs by preventing artificial
                penstemonoides      cereum/Brickellia grandiflora habitat type on the southeast/east slope
                                                                                                             disturbances and thus maintains a viable population.
                                    of igneous rock walls. This species requires freedom from physical
                                    damage from salvage operations or anything else from management
                                    dealing with spruce die-off.



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                                       Ecological Conditions Necessary to Maintain a Viable                Plan Components that Provide Ecological Conditions to
Category        Species
                                                           Population                                                 Maintain a Viable Population
                                 Barren shallow slopes of light-colored (“grayish white”) rhyolite pea­
                                 gravel (%- to 1-inch diameter) in San Juan Mountains. Freedom from        G-SCC-2 prohibits permanent ground disturbance within 100
            Stonecrop gilia                                                                                feet of this species. This guideline provides the ecological
 Plants                          artificial physical damage from alpine recreation (off-road vehicle use
           Aliciella sedifolia                                                                             conditions this species needs by preventing artificial
                                 and off-trail hiking), sheep grazing, mining, nonnative species
                                                                                                           disturbances and thus maintains a viable population.
                                 invasion, and pollution. Refugia from climate change.
                                 Reported growing with bristlecone pine and fringed sage at 8,800
                                 feet reported in a meadow at 9,000 feet. However, notations on
              Brandegee                                                                                    G-SCC-2 prohibits permanent ground disturbance within 100
                                 collections outside of the planning area note that it’s been found on
               milkvetch                                                                                   feet of this species. This guideline provides the ecological
 Plants                          arid, sandy, or gravelly clay banks, flats and stony meadows, mostly
              Astragalus         in pinyon-juniper woodland, sometimes in oak brush, rarely in yucca­      conditions this species needs by preventing artificial
              brandegeei                                                                                   disturbances and thus maintains a viable population.
                                 grassland, most commonly on sandstone, occasionally on granitic or
                                 basaltic bedrock. Freedom from artificial disturbance.
                                                                                                           G-SCC-2 prohibits permanent ground disturbance within 100
                                 Has high habitat specificity to open areas in ponderosa pine forests      feet of this species. This guideline provides the ecological
           Riplev’s milkvetch    and Arizona fescue meadows on volcanic substrates. Requires               conditions this species needs by preventing artificial
 Plants                                                                                                    disturbances and thus maintains a viable population. OBJ-
           Astragalus ripleyi    appropriate disturbance following ponderosa forest natural range of
                                 variation, and freedom from artificial disturbance.                       VEG-2 indicates 150-300 acres of restoration annually in
                                                                                                           ponderosa forest including appropriate fire pattern.
                                 Closed canopy forests, moist grassy sites in open forests and
               Northern          meadows. This species typically occurs near streams and other sites       G-SCC-2 prohibits permanent ground disturbance within 100
              moonwort                                                                                     feet of this species. This guideline provides the ecological
 Plants                          where soil moisture is constant. Freedom from sedimentation from
              Botrvchium                                                                                   conditions this species needs by preventing artificial
                                 roads and vegetation management, especially with salvage following
               pinnatum                                                                                    disturbances and thus maintains a viable population.
                                 spruce die-off.
                                 Botrychium simplex is primarily a plant of open habitat, occurring in     G-SCC-2 prevents artificial disturbance within 100 feet no
                                 pastures, meadows, orchards, prairies, wetlands, fens, sand dunes,        matter the habitat in which least moonwort is found. S-GDE-1
            Least moonwort
                                 and in lake and stream edge vegetation. Most of these habitats are        and G-GDE-1 both provide the ecological conditions for
 Plants       Botrvchium
                                 at least temporarily wet and some (fens) are permanently saturated.       groundwater-dependent ecosystems and S-RMZ-1, as well
               simplex
                                 The single known occurrence in the planning area was found in the         as G-RMZ-1, provide structure composition and function of
                                 Engelmann spruce.                                                         riparian areas.
                                  Downy Indian paintbrush has been found on variable slopes (flat to
                                 >30%) between 10,700 and 13,100 feet in elevation in cold and dry         G-SCC-2 prohibits permanent ground disturbance within 100
             Downy Indian
                                 alpine tundra, fall fields, alpine meadows and grasslands, and at         feet of this species. This guideline provides the ecological
 Plants       paintbrush
                                 treeline with Krummholz bristlecone pines. Freedom from permanent         conditions this species needs by preventing artificial
           Castilleja puberula
                                 ground disturbance associated with recreation, wildlife, and domestic     disturbances and thus maintains a viable population.
                                 livestock concentration.
                                 Dwarf alpine hawksbeard is an alpine species that is found in             G-SCC-2 prohibits permanent ground disturbance within 100
              Dwarf alpine
                                 Colorado from 10,000-14,000 feet, typically on steep alpine scree         feet of this species. This guideline provides the ecological
 Plants       hawksbeard
                                 and talus slopes. Freedom from disturbance from domestic livestock        conditions this species needs by preventing artificial
              Crepis nana
                                 grazing.                                                                  disturbances and thus maintains a viable population.


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                                         Ecological Conditions Necessary to Maintain a Viable                   Plan Components that Provide Ecological Conditions to
  Category            Species
                                                             Population                                                    Maintain a Viable Population
               James’ cryptantha                                                                                G-SCC-2 prohibits permanent ground disturbance within 100
                                   Surveys in 2017 found this species in sandy areas, including sand
                  Cryptantha       dunes in pinyon-juniper woodlands on the Forest. Requires freedom            feet of this species. This guideline provides the ecological
      Plants
                 cinerea var.                                                                                   conditions this species needs by preventing artificial
                                   from managed and unmanaged off-highway vehicles.
                  pustulosa                                                                                     disturbances and thus maintains a viable population.
                                   Sparsely vegetated rocky areas, ash beds, cracks in rocks, and               G-SCC-2 prohibits permanent ground disturbance within 100
                Weber's catseye    steep slopes, sparsely vegetated andesite and agglomerate and                feet of this species. This guideline provides the ecological
      Plants
               Cryptantha weberi   volcanic ash deposits. Rocky soil often with sagebrush. 7,700-9,500          conditions this species needs by preventing artificial
                                   feet.                                                                        disturbances and thus maintains a viable population.
                                   Restricted to small microsites with thin mossy soils in shady
                 Slender rock­                                                                                  G-SCC-2 prohibits permanent ground disturbance within 100
                                   limestone cliffs near water in the shade of moist coniferous forests. A
                     brake                                                                                      feet of this species. This guideline provides the ecological
      Plants                       single occurrence known in the planning area is described as a moist
                 Cryptogramma                                                                                   conditions this species needs by preventing artificial
                                   ravine with a southwest exposure. Freedom from disturbance of any            disturbances and thus maintains a viable population.
                     stelleri
                                   kind.
                                   The habitat for Cystopteris montana is described as moist, rich soil in
                Mountain bladder   shady spruce-fir forests, at elevations ranging from 9,000 to 11,000         G-SCC-2 prohibits permanent ground disturbance within 100
                     fern                                                                                       feet of this species. This guideline provides the ecological
      Plants                       feet, north-facing, wet, rich Engelmann spruce forests. The habitat
                  Cystopteris                                                                                   conditions this species needs by preventing artificial
                                   for the single occurrence known in the planning area is described as
                   montana         “among rocks” at 9,020 feet. Freedom from disturbance of any kind.           disturbances and thus maintains a viable population.

                                   This species grows in alpine meadows and talus slopes from 10,800            G-SCC-2 prohibits permanent ground disturbance within 100
               Colorado larkspur
                                   to 14,300 feet in elevation. Known occurrences have low vegetative           feet of this species. This guideline provides the ecological
      Plants      Delphinium
                                   cover, and Colorado larkspur is typically the only plant species             conditions this species needs by preventing artificial
                   alpestre                                                                                     disturbances and thus maintains a viable population.
                                   present on steep and active talus slopes.
                                   The species is most often associated with the alpine tundra dry
                                   meadow, the alpine tundra fellfield community, and the alpine dwarf
                                   shrubland. Draba graminea appears to prefer volcanic substrates
                                                                                                                G-SCC-2 prohibits permanent ground disturbance within 100
                                   such as ash tuffs and andesitic and latitic lavas. It is not restricted to
                San Juan draba                                                                                  feet of this species. This guideline provides the ecological
      Plants                       those substrates and is found in gneiss and shale substrates as well.
                Draba graminea                                                                                  conditions this species needs by preventing artificial
                                   Overall, the species appears to most commonly occur on north­
                                                                                                                disturbances and thus maintains a viable population.
                                   facing slopes, tucked in protected, cool, more-or-less moist crevices
                                   located along rocky benches, ledges, and outcrops. Freedom from
                                   disturbance.
                                   Gravelly alpine slopes and fellfields. Elevation 11,500 to 14,000 feet.      G-SCC-2 prohibits permanent ground disturbance within 100
                  Gray’s draba     Collections on the Forest are mostly from various alpine crevices on         feet of this species. This guideline provides the ecological
      Plants
                 Draba grayana     barren rock face, fellfield talus crevices, but also bristlecone pine and    conditions this species needs by preventing artificial
                                   Engelmann spruce.                                                            disturbances and thus maintains a viable population.
                                   Talus slopes, in crevices and between rocks in shaded protected              G-SCC-2 provides protection from physical disturbance, S-
                 Smith's draba     sites with xeric and forested habitats. Elevation 8,000 to11,000 feet.       RMZ-1, G-RMZ-1 both protect the sites that may be
      Plants                       Typically the rocks are covered by abundant lichen and, in some
                 Draba smithii                                                                                  influenced by groundwater by providing structure
                                   cases, mosses. Draba smithii occurs on quartz porphyry and                   composition and function of riparian areas.
                                   volcanic-derived soils. Although directly part of the sparse vegetation

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                                      Ecological Conditions Necessary to Maintain a Viable               Plan Components that Provide Ecological Conditions to
Category        Species
                                                          Population                                                Maintain a Viable Population
                                of rock-dwelling communities, Draba smithii grows in various
                                Douglas-fir, blue spruce, bristlecone pine, and aspen communities -
                                and has even been found in association with alder and willow.
                                Requires freedom from disturbance and the presence of volcanically
                                derived soils and rocks within other habitat types.
            Colorado Divide     Grows in the alpine zone, typically in rock outcrops, at elevations      G-SCC-2 prohibits permanent ground disturbance within 100
             whitlow-grass      from 10,800 to 13,500 feet, on weathered rock and loose soil in the      feet of this species. This guideline provides the ecological
 Plants
                 Draba          alpine tundra, on scree margins, ridges, slopes, and fellfields.         conditions this species needs by preventing artificial
             streptobrachia     Requires freedom from disturbance.                                       disturbances and thus maintains a viable population.
                                Erigeron philadelphicus prefers moist to very wet conditions. It grows
              Philadelphia
                                in wet meadows and grassy openings, flood plains, lowland
                fleabane
 Plants                         woodlands, thickets, fields, stream banks, low pastures, wet
                Erigeron
                                roadsides, and seepage areas. It is found on a variety of soils but
             philadelphicus
                                requires soils that are moist and moderately well drained.
                                The habitat descriptions for the species are very general. The
                                element occurrence report states only that the occurrence was found
             Many-flowered                                                                               G-SCC-2 prohibits permanent ground disturbance within 100
                                in sandy soils with a southwestern exposure. Specimen labels for
                 gilia                                                                                   feet of this species. This guideline provides the ecological
 Plants                         collections outside the planning area indicate that the species has
              Ipomopsis                                                                                  conditions this species needs by preventing artificial
                                been found in open woodlands (pine, oak, juniper, pinyon-juniper),
               multiflora       disturbed areas (roadsides, barrow pits, disturbed area around mine,     disturbances and thus maintains a viable population.
                                parking lot), canyon bottoms, and sagebrush flats.
                                Isoetes tenella is an aquatic species that grows in shallow, cool,       G-SCC-2 prevents artificial disturbance within 100 feet no
                                oligotrophic water of slightly acidic lakes, ponds, and streams. It is   matter the habitat in which spiny-spored quillwort is found. S-
              Spiny-spored
                                generally completely submersed in the water. The element                 GDE-1 and G-GDE-1 both provide the ecological conditions
 Plants         quillwort       occurrence reports for the taxon within the planning area note that it   for groundwater-dependent ecosystems including fens, and
             Isoetes tenella
                                has been found growing in the bottom of a shallow pond, submersed        S-RMZ-1, as well as G-RMZ-1, provide structure composition
                                from shoreline to about 1.5 meters, and lake bottom.                     and function of riparian areas.
                                Luzula subcapitata is found in subalpine and alpine willow carrs,        G-SCC-2 prevents artificial disturbance within 100 feet no
                                subalpine and alpine bogs, banks of alpine streams and adjacent          matter the habitat in which Colorado woodrush is found. S-
               Colorado
                                grassy flats; mesic meadows and lakeshores; lacustrine wetlands;         GDE-1 and G-GDE-1 both provide the ecological conditions
 Plants        woodrush
                                alpine tundra; wet meadows; and upper subalpine lakeshores.              for groundwater-dependent ecosystems including fens and
           Luzula subcapitata
                                Reported elevation ranges from 10,500 feet to 13,810 feet. Freedom       S-RMZ-1, as well as G-RMZ-1, provide structure composition
                                from disturbance and persistence/preservation of habitat.                and function of riparian areas.
                                Predominantly found within a grassland cover type, but this species
                                occurs over a very broad elevation range (7,675 to 12,940 feet). It is
            Colorado tansy                                                                               G-SCC-2 prohibits permanent ground disturbance within 100
                                generally found on rocky, exposed soils of sedimentary or volcanic
                 aster          origin. Macrohabitats range from plains/park grassland to dry            feet of this species. This guideline provides the ecological
 Plants
            Machaeranthera                                                                               conditions this species needs by preventing artificial
                                grassland communities within life zones of pinyon-juniper woodlands
             coloradoensis                                                                               disturbances and thus maintains a viable population.
                                up to alpine fellfields and meadows. Freedom from physical
                                disturbance from roads, construction, and pipelines.

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                                         Ecological Conditions Necessary to Maintain a Viable                Plan Components that Provide Ecological Conditions to
  Category            Species
                                                             Population                                                 Maintain a Viable Population
                                                                                                             G-SCC-2 prohibits permanent ground disturbance within 100
               House's sandwort    Minuartia macrantha is found in alpine tundra cushion plant
                                                                                                             feet of this species. This guideline provides the ecological
      Plants      Minuartia        communities and rocky areas both above and below timberline, at
                                   elevations from 10,000 to 13,500 feet.                                    conditions this species needs by preventing artificial
                  macrantha
                                                                                                             disturbances and thus maintains a viable population.
                                   Oxytropis parryi is a montane to alpine species that occupies rocky
                                   slopes and saddles above timberline and open places in high-              G-SCC-2 prohibits permanent ground disturbance within 100
                 Parry's crazy­
                                                                                                             feet of this species. This guideline provides the ecological
      Plants         weed          montane parkland. The element occurrence report for the single
                                                                                                             conditions this species needs by preventing artificial
                Oxytropis parryi   occurrence in the planning area describes the habitat as grassy
                                                                                                             disturbances and thus maintains a viable population.
                                   slopes, coniferous covered tops, 9,400 to 9,800 feet elevation.
                                   Alpine tundra on the Rio Grande south of Stony Pass along the
                  West silver                                                                                G-SCC-2 prohibits permanent ground disturbance within 100
                                   Continental Divide. On San Juan National Forest, this species grows
                  bladderpod                                                                                 feet of this species. This guideline provides the ecological
      Plants                       on windswept, nearly barren exposures of Leadville limestone in a
                   Physaria                                                                                  conditions this species needs by preventing artificial
                                   matrix of Engelmann spruce islands and tundra at from 11,500 to           disturbances and thus maintains a viable population.
                  scrotiformis
                                   12,800 feet in elevation.
                                   The habitat for this species is described as moist meadows along
                Southern Rocky
                                   creeks, meadows of the yellow pine belt, and woods, slopes, and           G-SCC-2 prohibits permanent ground disturbance within 100
                   Mountain
                                   meadows. Most Colorado occurrences are on grassy or colluvial             feet of this species. This guideline provides the ecological
      Plants      cinquefoil
                                   slopes, but it may also occur in montane woods. Elevation range is        conditions this species needs by preventing artificial
                   Potentilla
                                   6,000 to 8,600 feet. Freedom from physical disturbance from trails        disturbances and thus maintains a viable population.
                  ambigens
                                   and roads.
                                   Salix arizonica is a subalpine species of high-elevation wet
                                   meadows, streamsides, and cienegas. Habitat often occurs as a
                                   narrow, linear strip associated with perennial water in seeps, springs,
                                   streamsides, and wet meadows. Plants are also sometimes found in          G-SCC-2 provides protection from physical disturbance. S-
                                   drier sites adjacent to forest edges or within the riparian zone where    RMZ-1 and G-RMZ-1 both protect the sites that may be
                 Arizona willow
      Plants                       subsurface channels provide moisture. Although it is not believed to      influenced by groundwater by providing structure
                 Salixarizonica
                                   be a strict substrate specialist, Salix arizonica is frequently           composition and function of riparian areas. G-RMZ-2
                                   associated with substrates of volcanic origin, and it appears to favor    specifically protects willow habitat.
                                   coarse-textured and well-watered soils, including those associated
                                   with alluvial deposits. Requires appropriate habitat and freedom from
                                   physical disturbance, including wildlife browsing.
                                   Habitat for tundra saxifrage is described as alpine tundra. The
                Tundra saxifrage   occurrence record for the planning unit describes the habitat as          G-SCC-2 prohibits permanent ground disturbance within 100
                    Saxifraga      alpine, 12,000 to 12,800 feet in elevation. Other reports within          feet of this species. This guideline provides the ecological
      Plants
                 caespitosa ssp.   Colorado list the habitat as alpine or alpine tundra, with elevation      conditions this species needs by preventing artificial
                   monticola       ranging from 11,000 to 14,064 feet. Requires freedom from physical        disturbances and thus maintains a viable population.
                                   disturbance.

                 King's campion    King’s campion is most commonly found in the alpine curly sedge
      Plants                                                                                                 G-SCC-2 prohibits permanent ground disturbance within 100
                                   cushion plant communities in areas with coarse soils. It generally
                  Silene kingii                                                                              feet of this species. This guideline provides the ecological
                                   grows mixed in with other plants rather than growing isolated on


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                                  Ecological Conditions Necessary to Maintain a Viable                  Plan Components that Provide Ecological Conditions to
Category      Species
                                                      Population                                                   Maintain a Viable Population
                            otherwise bare soil, even if that soil seems suitable. The plant may        conditions this species needs by preventing artificial
                            grow preferentially on limestone outcrops or limestone derived soils.       disturbances and thus maintains a viable population.
                            Elevation range 11,500 to 12,200 feet.
                            The habitat is a moss-dominated wetland type. It is typically
           Fine bog-moss    restricted to iron fens (high concentrations of Fe [iron] and other ions)   S-GDE-1 and G-GDE-2 provide protections and the
 Plants      Sphagnum       and highly acidic (pH below 5.8 and typically below 4.8). This habitat      presence of fen habitat. G-SCC-2 protects individuals of this
            angustifolium   occurs in the San Juan Mountain portion of the Forest. Requires             species from physical disturbance.
                            freedom from disturbance and the presence of iron fens.
              Rothrock      The habitat for this species would be considered an alpine sparse           G-SCC-2 prohibits permanent ground disturbance within 100
           Townsend daisy   forb cover type. Although this species apparently has a wide                feet of this species. This guideline provides the ecological
 Plants
             Townsendia     ecological amplitude and occurs elsewhere at lower elevations, the          conditions this species needs by preventing artificial
              rothrockii    known records on the Forest are all above 12,400 feet.                      disturbances and thus maintains a viable population.




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   Appendix E. Southern Rockies Lynx Amendment Direction
   Background
   The Southern Rockies Lynx Amendment was completed in 2008 and when signed it effectively
   amended forest plan direction for the Canada Lynx (Lynx canadensis) on eight existing forest
   plans in the Rocky Mountain Region of the U.S. Forest Service, including the Rio Grande. That
   direction and the implementing guidance are not proposed to be changed at this time.
   Supplemental guidance is included in the proposed forest plan that addresses the current
   conditions in the spruce-fir lynx habitat on the Forest.
   The direction is incorporated here and would apply to implementation of the proposed forest
   plan.

   Southern Rockies Lynx Amendment - Management Direction
   The management direction applies to lynx habitat on the following National Forests in the
   Southern Rockies Lynx Amendment area:
          Medicine Bow Routt National Forests (two separate
          Plans), Arapaho-Roosevelt National Forests,
          Grand Mesa, Uncompahgre and Gunnison National
          Forests, Pike-San Isabel National Forests,
          Rio Grande National Forest, San Juan National Forest,
          and White River National Forest.
   GOAL14
          Conserve the Canada lynx.
   ALL MANAGEMENT PRACTICES AND ACTIVITIES (ALL). The following
   objectives, standards, and guidelines apply to all management projects in lynx habitat in lynx
   analysis units (LAUs) in occupied habitat and in linkage areas, subject to valid existing rights.
   They do not apply to wildfire suppression, or to wildland fire use.
   Objective30 ALL O1
          Maintain26 or restore40 lynx habitat23 connectivity16 in and between LAUs21, and in
          linkage areas22.
   Standard44 ALL S1
          New or expanded permanent developments33 and vegetation management50 projects36
          must maintain26 habitat connectivity16 in an LAU21 and/or linkage area22.
   Guideline15 ALL G1
          Methods to avoid or reduce effects on lynx should be used when constructing or
          reconstructing highways18 or forest highways12 across federal land. Methods could
          include fencing, underpasses or overpasses.
   Standard44 LAU S1



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          Changes in LAU21 boundaries shall be based on site-specific habitat information and after
          review by the Forest Service Regional Office.
   VEGETATION MANAGEMENT ACTIVITIES AND PRACTICES (VEG). The following
   objectives, standards, and guidelines apply to vegetation management projects36 in lynx habitat
   within lynx analysis units (LAUs) in occupied habitat. With the exception of Objective VEG O3
   that specifically concerns wildland fire use, the objectives, standards, and guidelines do not apply
   to wildfire suppression, wildland fire use, or removal of vegetation for permanent developments
   such as mineral operations, ski runs, roads, and the like. None of the objectives, standards, or
   guidelines apply to linkage areas.
   Objective30 VEG O1
          Manage vegetation to mimic or approximate natural succession and disturbance processes
          while maintaining habitat components necessary for the conservation of lynx.
   Objective VEG O2
          Provide a mosaic of habitat conditions through time that support dense horizontal cover19,
          and high densities of snowshoe hare. Provide winter snowshoe hare habitat51 in both the
          stand initiation structural stage and in mature, multi-story conifer vegetation.
   Objective VEG O3
          Conduct fire use11 activities to restore40 ecological processes and maintain or improve
          lynx habitat.
   Objective VEG O4
          Focus vegetation management50 in areas that have potential to improve winter snowshoe
          hare habitat52 but presently have poorly developed understories that lack dense horizontal
          cover.
   Standard44 VEG S1
          Where and to what this applies: Standard VEG S1 applies to all vegetation
          management50 projects36 that regenerate38 forested stands, except for fuel treatment13
          projects36 within the wildland urban interface51 (WUI) as defined by HFRA17, subject to
          the following limitation:
                  Fuel treatment projects36 within the WUI51 that do not meet Standards VEG S1,
                  VEG S2, VEG S5, or VEG S6 shall occur on no more than 3 percent
                  (cumulatively) of lynx habitat on each administrative unit (a National Forest or
                  administratively combined National Forests). In addition, fuel treatment projects
                  may not result in more than three adjacent LAUs exceeding the standard.
          For fuel treatment projects36 within the WUI51 see guideline VEG G10.
          The standard: Unless a broad scale assessment has been completed that substantiates
          different historic levels of stand initiation structural stages45 limit disturbance in each
          LAU as follows:
          If more than 30 percent of the lynx habitat in an LAU is currently in a stand initiation
          structural stage that does not yet provide winter snowshoe hare habitat, no additional
          habitat may be regenerated by vegetation management projects36.

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   Standard VEG S2
          Where and to what this applies: Standard VEG S2 applies to all timber
          management47 projects36 that regenerate38 forests, except for fuel treatment13 projects36
          within the wildland urban interface51 (WUI) as defined by HFRA17, subject to the
          following limitation:
                  Fuel treatment projects36 within the WUI51 that do not meet Standards VEG S1,
                  VEG S2, VEG S5, or VEG S6 shall occur on no more than 3 percent
                  (cumulatively) of lynx habitat on each administrative unit (a National Forest or
                  administratively combined National Forests).
          For fuel treatment projects36 within the WUI51 see guideline VEG G10.
          The standard: Timber management47 projects36 shall not regenerate38 more than 15
          percent of lynx habitat on NFS lands within an LAU in a ten-year period. This 15
          percent includes the entire stand within an even-age regeneration area, and only the patch
          opening areas within group selections. Salvage harvest within stands killed by insect
          epidemics, wildfire, etc. does not add to the 15 percent, unless the harvest treatment
          would cause the lynx habitat to change to an unsuitable condition24.
   Standard VEG S5
          Where and to what this applies: Standard VEG S5 applies to all precommercial
          thinning35 projects, except for fuel treatment13 projects that use precommercial thinning as
          a tool within the wildland urban interface (WUI) as defined by HFRA, subject to the
          following limitation:
                   Fuel treatment projects within the WUI that do not meet Standards VEG S1, VEG
                   S2, VEG S5, or VEG S6 may occur on no more than three percent (cumulatively)
                   of lynx habitat on each administrative unit (a National Forest or administratively
                   combined National Forests) for the life of this amendment.
          For fuel treatment projects within the WUI see guideline VEG G10.
          The Standard: Precommercial thinning practices and similar activities intended to
          reduce seedling/sapling density are subject to the following limitations from the stand
          initiation structural stage45 until the stands no longer provide winter snowshoe hare
          habitat.
          Precommercial thinning35 may occur only:
           1. Within 200 feet of administrative sites, dwellings, or outbuildings; or
          2. For research studies39 or genetic tree tests evaluating genetically improved
             reforestation stock; or
          3.   For conifer removal in aspen, or daylight thinning5 around individual aspen trees,
               where aspen is in decline; or
          4. Based on new information that is peer reviewed and accepted by the regional/state
             levels of the Forest Service and FWS, where a written determination states:
               a) That a project is not likely to adversely affect lynx; or



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            b) That a project is likely to have short term adverse effects on lynx or its habitat, but
               would result in long-term benefits to lynx and its habitat.
         5. In addition to the above exceptions (and above and beyond the three percent
            limitation for fuels projects within the WUI51), precommercial thinning may occur
            provided that:
            a) The additional precommercial thinning does not exceed one percent of the lynx
               habitat in any LAU for the life of this amendment, and the amount and
               distribution of winter snowshoe hare habitat within the LAU must be provided
               through appropriate site-specific analysis and consultation; and
            b) Precommercial thinning in LAUs with more than 30 percent of the lynx habitat
               currently in the stand initiation structural stage45 is limited to areas that do not yet
               provide winter snowshoe hare habitat 52; and
            c) Projects are designed to maintain lynx habitat connectivity16 and provide
               snowshoe hare habitat over the long term; and
            d) Monitoring is used to determine snowshoe hare response.

         Exceptions 2 and 3 may not occur in any LAU in which VEG S1 is exceeded (i.e., more
         than 30 percent of LAU in stand initiation structural stage).
         Note: This standard is intended to provide snowshoe hare habitat while permitting some
         thinning, to explore methods to sustain snowshoe hare habitat over time, reduce
         hazardous fuels, improve forest health, and increase timber production. Project design
         must ensure any precommercial thinning provides an appropriate amount and distribution
         of snowshoe hare habitat with each LAU over time, and maintains lynx habitat
         connectivity within and between LAUs.
         Project design should focus on creating irregular shapes for the thinning units, creating
         mosaics of thinned and unthinned areas, and using variable density thinning, etc.
   Standard VEG S6
         Where and to what this applies: Standard VEG S6 applies to all vegetation
         management50 practices within multi-story mature or late successional conifer forests29,
         except for fuel treatment13 projects within the wildland urban interface (WUI) as defined
         by HFRA17, subject to the following limitation:
                Fuel treatment projects36 within the WUI51 that do not meet Standards VEG S1,
                VEG S2, VEG S5, or VEG S6 shall occur on no more than 3 percent
                (cumulatively) of lynx habitat on each administrative unit (a National Forest or
                administratively combined National Forests).
         For fuel treatment projects36 within the WUI51 see guideline VEG G10.
         The Standard: Vegetation management projects36 that reduce winter snowshoe hare
         habitat52 in multi-story mature or late successional conifer forests29 may occur only:
         1. Within 200 feet of administrative sites, dwellings, outbuildings, recreation sites, and
            special use permit improvements, including infrastructure within permitted ski area
            boundaries; or

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          2. For research studies38 or genetic tree tests evaluating genetically improved
             reforestation stock; or
          3. For incidental removal during salvage harvest41 (e.g., removal due to location of skid
             trails); or
          4. Where uneven-aged management (single tree and small group selection) practices are
             employed to maintain and encourage multi-story attributes as part of gap dynamics.
             Project design must be consistent with VEG O1, O2 and O4, except where impacts to
             areas of dense horizontal cover are incidental to activities under this exception (e.g.,
             construction of skid trails).
          Exceptions 2 and 4 may not occur in any LAU in which VEG S1 is exceeded.
   Guideline VEG G1
          Vegetation management50 projects36 should be planned to recruit a high density of
          conifers, hardwoods, and shrubs where such habitat is scarce or not available.
          Priority for treatment should be given to stem-exclusion, closed-canopy structural stage46
          stands to enhance habitat conditions for lynx or their prey (e.g. mesic, monotypic
          lodgepole stands). Winter snowshoe hare habitat52 should be near denning habitat6.
   Guideline VEG G4
          Prescribed fire34 activities should not create permanent travel routes that facilitate snow
          compaction. Constructing permanent firebreaks on ridges or saddles should be avoided.
   Guideline VEG G5
          Habitat for alternate prey species, primarily red squirrel37, should be provided in each
          LAU.
   Guideline VEG G10
          Fuel treatment projects36 within the WUI51 as defined by HFRA17 should be designed
          considering Standards VEG S1, S2, S5, and S6 to promote lynx conservation.
   Guideline VEG G11
          Denning habitat6 should be distributed in each LAU in the form of pockets of large
          amounts of large woody debris, either down logs or root wads, or large piles of small
          wind thrown trees (“jack-strawed” piles). If denning habitat appears to be lacking in the
          LAU, then projects36 should be designed to retain some coarse woody debris4, piles, or
          residual trees to provide denning habitat6 in the future.
   LIVESTOCK MANAGEMENT (GRAZ): The following objectives and guidelines apply to
   grazing projects in lynx habitat in lynx analysis units (LAUs) in occupied habitat. They do not
   apply to linkage areas.
   Objective30 GRAZ O1
          Manage livestock grazing to be compatible with improving or maintaining26 lynx
          habitat23.




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   Guideline15 GRAZ G1
          In fire- and harvest-created openings, livestock grazing should be managed so impacts do
          not prevent shrubs and trees from regenerating.
   Guideline GRAZ G2
          In aspen stands, livestock grazing should be managed to contribute to the long-term health
          and sustainability of aspen.
   Guideline GRAZ G3
          In riparian areas41 and willow carrs3, livestock grazing should be managed to contribute to
          maintaining or achieving a preponderance of mid- or late-seral stages28, similar to
          conditions that would have occurred under historic disturbance regimes.
   Guideline GRAZ G4
          In shrub-steppe habitats43, livestock grazing should be managed in the elevation ranges of
          forested lynx habitat in LAUs21, to contribute to maintaining or achieving a
          preponderance of mid- or late-seral stages, similar to conditions that would have occurred
          under historic disturbance regimes.
   HUMAN USE PROJECTS (HU): The following objectives and guidelines apply to human use
   projects, such as special uses (other than grazing), recreation management, roads, highways, and
   mineral and energy development, in lynx habitat in lynx analysis units (LAUs) in occupied
   habitat, subject to valid existing rights. They do not apply to vegetation management projects or
   grazing projects directly. They do not apply to linkage areas.
   Objective30 HU O1
          Maintain26 the lynx’s natural competitive advantage over other predators in deep snow, by
          discouraging the expansion of snow-compacting activities in lynx habitat23.
   Objective HU O2
          Manage recreational activities to maintain lynx habitat and connectivity16.
   Objective HU O3
          Concentrate activities in existing developed areas, rather than developing new areas in
          lynx habitat.
   Objective HU O4
          Provide for lynx habitat needs and connectivity when developing new or expanding
          existing developed recreation9 sites or ski areas.
   Objective HU O5
          Manage human activities, such as special uses, mineral and oil and gas exploration and
          development, and placement of utility transmission corridors, to reduce impacts on lynx
          and lynx habitat.
   Objective HU O6




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          Reduce adverse highway18 effects on lynx by working cooperatively with other agencies
          to provide for lynx movement and habitat connectivity16, and to reduce the potential for
          lynx mortality.
   Guideline15 HU G1
          When developing or expanding ski areas, provisions should be made for adequately sized
          inter-trail islands that include coarse woody debris4, so winter snowshoe hare habitat51 is
          maintained.
   Guideline HU G2
          When developing or expanding ski areas, lynx foraging habitat should be provided
          consistent with the ski area’s operational needs, especially where lynx habitat occurs as
          narrow bands of coniferous forest across mountain slopes.
   Guideline HU G3
          Recreation development and recreational operational uses should be planned to provide
          for lynx movement and to maintain the effectiveness of lynx habitat23.
   Guideline HU G4
          Remote monitoring of mineral and energy development sites and facilities should be
          encouraged to reduce snow compaction.
   Guideline HU G5
          A reclamation plan should be developed (e.g., road reclamation and vegetation
          rehabilitation) for closed mineral and energy development sites and facilities that promote
          the restoration of lynx habitat.
   Guideline HU G6
          Methods to avoid or reduce effects to lynx habitat connectivity16 should be used when
          upgrading unpaved roads to maintenance levels 4 or 527, where the result would be
          increased traffic speeds and volumes, or contribute to development or increases in human
          activity.
   Guideline HU G7
          New permanent roads should not be built on ridge-tops and saddles, or in areas identified
          as important for lynx habitat connectivity16. New permanent roads and trails should be
          situated away from forested stringers.
   Guideline HU G8
          Cutting brush along low-speed, low-traffic-volume roads25 should be done to the
          minimum level necessary to provide for public safety.
   Guideline HU G9
          If project level analysis determines that new roads adversely affect lynx, then public
          motorized use should be restricted. Upon project36 completion, these roads should be
          reclaimed or decommissioned, if not needed for other management objectives.



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   Guideline HU G10
         Designated over-the-snow routes or designated play areas should not expand outside
         baseline areas of consistent snow compaction1, unless designation serves to consolidate
         use and improve lynx habitat. This may be calculated on an LAU basis, or on a
         combination of immediately adjacent LAUs.
         This does not apply inside permitted ski area boundaries, to winter logging, to rerouting
         trails for public safety, to accessing private inholdings, or to access regulated by
         Guideline HU G12.
         Use the same analysis boundaries for all actions subject to this guideline.
   Guideline HU G11
         When developing or expanding ski areas and trails, consider locating access roads and lift
         termini to maintain and provide lynx security habitat10.
   Guideline HU G12
         Winter access for non-recreation special uses and mineral and energy exploration and
         development should be limited to designated routes8 or designated over-the- snow routes7.
   LINKAGE AREAS (LINK): The following objective, standard, and guidelines apply to all
   projects within linkage areas in occupied habitat, subject to valid existing rights.
   Objective30 LINK O1
         In areas of intermingled land ownership, work with landowners to pursue conservation
         easements, habitat conservation plans, land exchanges, or other solutions to reduce the
         potential of adverse impacts on lynx and lynx habitat.
   Standard44 LINK S1
         When highway18 or forest highway12 construction or reconstruction is proposed in linkage
         areas22, identify potential highway crossings.
   Guideline15 LINK G1
         National Forest System lands should be retained in public ownership.
   Guideline LINK G2
         Livestock grazing in shrub-steppe habitats43 should be managed to contribute to
         maintaining or achieving a preponderance of mid- or late-seral stages28, similar to
         conditions that would have occurred under historic disturbance regimes.


      1. Maps of the location and intensity of snow compacting activities and designated and
         groomed routes that occurred inside LAUs during the period of 1998 to 2000 constitute
         baseline snow compaction. Changes in activities and routes are to be monitored every
         five years after the decision.
      2. When fuels treatment and vegetation management project decisions are signed, report the
         following:



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            a) Acres of fuel treatment in lynx habitat by Forest and LAU, and whether the treatment
               is within or outside the WUI as defined by HFRA.
            b) Whether or not the fuel treatment met the vegetation standards or guidelines. If
               standard(s) were not met, report which standard(s) was not met, why it could not be
               met, and how many acres were affected.
            c) Application of exceptions in Standard VEG S5:
                For areas where any of the exceptions 1 through 5 listed in Standard VEG S5 were
                applied, report the type of activity, the number of acres, and the location (by unit, and
                LAU) and whether or not Standard VEG S1 was within the allowance.
            d) Application of exceptions in Standard VEG S6:
                For areas where any of the exceptions 1 through 4 listed in Standard VEG S6 were
                applied, report the type of activity, the number of acres, and the location (by unit, and
                LAU) and whether or not Standard VEG S1 was within the allowance.
            e) Total acres of lynx habitat treated under exemptions and exceptions to vegetation
               standards, to assure the 4.5 percent limit is not exceeded on any Forest over the life of
               the amendment (15 years).
         3. Application of guidelines:
            a) Summarize what guideline(s) was not followed and why.
            b) Document the rationale for deviations to guidelines.

   Lynx Amendment Glossary
   1 Area of consistent snow compaction - An area of consistent snow compaction is an area of land
   or water that during winter is generally covered with snow and gets enough human use that
   individual tracks are indistinguishable. In such places, compacted snow is evident most of the
   time, except immediately after (within 48 hours) snowfall.
   These can be areas or linear routes, and are generally found in or near snowmobile or cross­
   country ski routes, in adjacent openings, parks and meadows, near ski huts or plowed roads, or in
   winter parking areas. Areas of consistent snow compaction will be determined based on the
   acreage or miles used during the period 1998 to 2000.
   2 Broad scale assessment - A broad scale assessment is a synthesis of current scientific
   knowledge, including a description of uncertainties and assumptions, to provide an
   understanding of past and present conditions and future trends, and a characterization of the
   ecological, social, and economic components of an area. (LCAS)
   ^   Carr - Deciduous woodland or shrub land occurring on permanently wet, organic soil. (LCAS)
   4 Coarse woody debris - Any piece(s) of dead woody material, e.g., dead boles, limbs, and large
   root masses on the ground or in streams. (LCAS)
   5 Daylight thinning - Daylight thinning is a form of precommercial thinning that removes the
   trees and brush inside a given radius around a tree.




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   6 Denning habitat (lynx) - Denning habitat is the environment lynx use when giving birth and
   rearing kittens until they are mobile. The most common component is large amounts of coarse
   woody debris to provide escape and thermal cover for kittens.
   Denning habitat must be within daily travel distance of winter snowshoe hare habitat - the
   typical maximum daily distance for females is about three to six miles. Denning habitat includes
   mature and old growth forests with plenty of coarse woody debris. It can also include young
   regenerating forests with piles of coarse woody debris, or areas where down trees are jack-
   strawed.
   7 Designated over-the-snow routes - Designated over-the-snow routes are routes managed under
   permit or agreement or by the agency, where use is encouraged, either by on-the- ground
   marking or by publication in brochures, recreation opportunity guides or maps (other than travel
   maps), or in electronic media produced or approved by the agency.
   The routes identified in outfitter and guide permits are designated by definition; groomed routes
   also are designated by definition. The determination of baseline snow compaction will be based
   on the miles of designated over-the-snow routes authorized, promoted or encouraged during the
   period 1998 to 2000.
   8 Designated route - A designated route is a road or trail that has been identified as open for
   specified travel use.
   9 Developed recreation - Developed recreation requires facilities that result in concentrated use.
   For example, skiing requires lifts, parking lots, buildings, and roads; campgrounds require roads,
   picnic tables, and toilet facilities.
   10 Diurnal security habitat (lynx) - Places in lynx habitat that provide secure winter bedding sites
   in highly disturbed landscapes such as ski areas. Security habitat gives lynx the ability to retreat
   from human disturbance. Site characteristics and stand conditions make human access difficult
   and discourage human activity. Security habitats are sufficiently large to provide effective visual
   and acoustic insulation and to let lynx easily move away from any intrusion. Lynx security
   habitat must be in proximity to winter snowshoe hare habitat. (LCAS)
   11 Fire use - Fire use is the combination of wildland fire use and using prescribed fire to meet
   resource objectives. (NIFC) Wildland fire use is the management of naturally ignited wildland
   fires to accomplish resource management objectives in areas that have a fire management plan.
   The use of the term wildland fire use replaces the term prescribed natural fire. (Wildland and
   Prescribed Fire Management Policy, August 1998)
   12 Forest highway - A forest highway is a forest road under the jurisdiction of, and maintained by,
   a public authority and open to public travel (USC: Title 23, Section 101(a)), designated by an
   agreement with the FS, state transportation agency, and Federal Highway Administration.
   13 Fuel treatment - A fuel treatment is a type of vegetation management action that reduces the
   threat of ignition, fire intensity, or rate of spread, or is used to restore fire- adapted ecosystems.
   14 Goal - A goal is a broad description of what an agency is trying to achieve, found in a land
   management plan. (LCAS)




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   15 Guideline - A guideline is a particular management action that should be used to meet an
   objective found in a land management plan. The rationale for deviations may be documented, but
   amending the plan is not required. (LCAS modified)
   16 Habitat connectivity (I'ynx) - Cover (vegetation) in sufficient quantity and arrangement to
   allow for the movement of lynx. Narrow forested mountain ridges or shrub-steppe plateaus may
   serve as a link between more extensive areas of lynx habitat; wooded riparian communities may
   provide cover across open valley floors. (LCAS)
   17 HFRA (Healthy Forests Restoration Act) - Public Law 108-148, passed in December 2003.
   The HFRA provides statutory processes for hazardous fuel reduction projects on certain types of
   at-risk National Forest System and Bureau of Land Management lands. It also provides other
   authorities and direction to help reduce hazardous fuel and restore healthy forest and rangeland
   conditions on lands of all ownerships. (Modified from Forest Service HFRA web site.)
   18 Highway - The word highway includes all roads that are part of the National Highway System.
   (23 CFR 470.107(b))
   19 Horizontal cover - The visual obscurity provided by vegetation that extends to the ground or
   snow surface, primarily provided by tree stems and tree boughs, but may also be provided by
   shrubs, herbaceous vegetation, and landscape topography.
   21 LAU (Lynx Analysis Unit) - An LAU is an area of at least the size used by an individual
   lynx, from about 25 to 50 square miles (LCAS). An LAU is a unit for which the effects of a
   project would be analyzed; its boundaries should remain constant.
   22 Linkage area - A linkage area provides landscape connectivity between blocks of lynx habitat.
   Linkage areas occur both within and between geographic areas, where blocks of lynx habitat are
   separated by intervening areas of non-lynx habitat such as basins, valleys, or agricultural lands,
   or where lynx habitat naturally narrows between blocks. (LCAS updated definition approved by
   the Steering Committee 10/23/01)
   23 Lynx habitat - Lynx habitat occurs in mesic coniferous forest that experience cold, snowy
   winters and provide a prey base of snowshoe hare. In the southern Rocky Mountains, lynx
   habitat generally occurs between 8,000 and 12,000 feet in elevation. Primary vegetation consists
   of Engelmann spruce, subalpine fir, aspen-conifer mix and lodgepole pine on spruce-fir habitat
   types. On cool moist sites, Douglas-fir and aspen, when interspersed with subalpine forests, may
   also contribute to lynx habitat. Dry forest types (e.g., ponderosa pine, climax lodgepole pine) do
   not provide lynx habitat. (LCAS)
   24 Lynx habitat in an unsuitable condition -Lynx habitat in an unsuitable condition consists of
   lynx habitat in the stand initiation structural stage where the trees are generally less than ten to
   30 years old and have not grown tall enough to protrude above the snow during winter. Stand
   replacing fire, insect epidemics or certain vegetation management projects can create unsuitable
   conditions. Vegetation management projects that can result in unsuitable habitat include clearcuts
   and seed tree harvest, and sometimes shelterwood cuts and commercial thinning depending on
   the resulting stand composition and structure. (LCAS)
   25 Low-speed, low-trcjfic-volume road - Low speed is less than 20 miles per hour; low volume is
   a seasonal average daily traffic load of less than 100 vehicles per day.



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   26 Maintain - In the context of this decision, maintain means to provide enough lynx habitat to
   conserve lynx. It does not mean to keep the status quo.
   27 Maintenance level - Maintenance levels define the level of service provided by and
   maintenance required for a road. (FSH 7709.58, Sec 12.3) Maintenance level 4 is assigned to
   roads that provide a moderate degree of user comfort and convenience at moderate travel speeds.
   Most level 4 roads have double lanes and an aggregate surface. Some may be single lane; some
   may be paved or have dust abated. Maintenance level 5 is assigned to roads that provide a high
   degree of user comfort and convenience.
   Normally, level 5 roads have double lanes and are paved, but some may be aggregate surfaced
   with the dust abated.
   28 Mid-seral or later - Mid-seral is the successional stage in a plant community that is the
   midpoint as it moves from bare ground to climax. For riparian areas, it means willows or other
   shrubs have become established. For shrub-steppe areas, it means shrubs associated with climax
   are present and increasing in density.
   29 Multi-story mature or late successional forest - This stage is similar to the old multistory
   structural stage (see below). However, trees are generally not as old, and decaying trees
   may be somewhat less abundant.
   30 Objective - An objective is a statement in a land management plan describing desired resource
   conditions and intended to promote achieving programmatic goals. (LCAS)
   31 Old multistory structural stage - Many age classes and vegetation layers mark the old forest,
   multistoried stage. It usually contains large old trees. Decaying fallen trees may be present that
   leave a discontinuous overstory canopy. On cold or moist sites without frequent fires or other
   disturbance, multi-layer stands with large trees in the uppermost layer develop. (Oliver and
   Larson, 1996)
   32 Old growth - Old growth forests generally contain trees that are large for their species and the
   site, and are sometimes decadent with broken tops. Old growth often contains a variety of tree
   sizes, large snags, and logs, and a developed and often patchy understory.
   33 Permanent development - Any development that results in a loss of lynx habitat for at least the
   duration of a forest plan, approximately 15 years. Ski trails, parking lots, new permanent roads,
   structures, campgrounds, and many special use developments would be considered permanent
   developments.
   34 Prescribed fire - A prescribed fire is any fire ignited as a management action to meet specific
   objectives. A written, approved prescribed fire plan must exist, and NEPA requirements met,
   before ignition. The term prescribed fire replaces the term management ignited prescribed fire.
   (NWCG)
   35 Precommercial thinning - Precommercial thinning is mechanically removing trees to reduce
   stocking and concentrate growth on the remaining trees, and not resulting in immediate financial
   return. (Dictionary of Forestry)
   36 Project - All, or any part or number of the various activities analyzed in an Environmental
   Impact Statement, Environmental Analysis, or Decision Memo. For example, the vegetation
   management in some units or stands analyzed in an EIS could be for fuel reduction, and therefore


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   those units or stands would fall within the term fuel treatment project even if the remainder of
   the activities in the EIS are being conducted for other purposes, and the remainder of those units
   or stands have other activities prescribed in them. All units in an analysis do not necessarily need
   to be for fuel reduction purposes for certain units to be considered a fuel reduction project.
   37 Red squirrel habitat - Red squirrel habitat consists of coniferous forests of seed and cone­
   producing age that usually contain snags and downed woody debris, generally associated with
   mature or older forests.
   38 Regeneration harvest - The cutting of trees and creating an entire new age class; an even-age
   harvest. The major methods are clearcutting, seed tree, shelterwood, and group selective cuts.
   (Helms, 1998)
   39 Research - Research consists of studies conducted to increase scientific knowledge or
   technology. For the purposes of Standards VEG S5 and VEG S6, research applies to studies
   financed from the forest research budget (FSM 4040) and administrative studies financed from
   the NF budget.
   40 Restore, restoration - To restore is to return or re-establish ecosystems or habitats to their
   original structure and species composition. (Dictionary of Forestry)
   41 Riparian area - An area with distinctive soil and vegetation between a stream or other body of
   water and the adjacent upland; includes wetlands and those portions of floodplains and valley
   bottoms that support riparian vegetation. (LCAS)
   42 Salvage harvest - Salvage harvest is a commercial timber sale of dead, damaged, or dying
   trees. It recovers economic value that would otherwise be lost. Collecting firewood for personal
   use is not considered salvage harvest.
   43 Shrub steppe habitat - Shrub steppe habitat consists of dry sites with shrubs and
   grasslands intermingled.
   44 Standard - A standard is a required action in a land management plan specifying how to
   achieve an objective or under what circumstances to refrain from taking action. A plan must be
   amended to deviate from a standard.
   45 Stand initiation structural stage - The stand initiation stage generally develops after a stand­
   replacing disturbance by fire, insects or regeneration timber harvest. A new single-story layer of
   shrubs, tree seedlings, and saplings establish and develop, reoccupying the site. Trees that need
   full sun are likely to dominate these even-aged stands. (Oliver and Larson, 1996)
   46 Stem exclusion structural stage (Closed canopy structural stage) - In the stem exclusion
   stage, trees initially grow fast and quickly occupy all of the growing space, creating a closed
   canopy. Because the trees are tall, little light reaches the forest floor so understory plants
   (including smaller trees) are shaded and grow more slowly. Species that need full sunlight
   usually die; shrubs and herbs may become dormant. New trees are precluded by a lack of
   sunlight or moisture. (Oliver and Larson, 1996)
   47 Timber management - Timber management consists of growing, tending, commercially
   harvesting, and regenerating crops of trees.




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   48 Uneven-aged timber management - Uneven-aged management develops a stand with trees of
   three or more distinct age classes, either intimately mixed or in small groups of 2 acres or less
   (based on The Dictionary of Forestry Helms, 1998). Group openings do not exceed 20 percent of
   the stand in a single entry, but individual tree selection can occur throughout an entire stand or
   between the groups.
   49 Understory re-initiation structural stage - In the understory re-initiation stage, a new age
   class of trees gets established after overstory trees begin to die, are removed, or no longer fully
   occupy their growing space after tall trees abrade each other in the wind. Understory seedlings
   then re-grow and the trees begin to stratify into vertical layers. A low to moderately dense
   uneven-aged overstory develops, with some small shade- tolerant trees in the understory. (Oliver
   and Larson, 1996)
   50 Vegetation management - Vegetation management changes the composition and structure of
   vegetation to meet specific objectives, using such means as prescribed fire or timber harvest. For
   the purposes of this decision, the term does not include removing vegetation for permanent
   developments like mineral operations, ski runs, roads and the like, and does not apply to fire
   suppression or to wildland fire use.
   51 Wildland urban interface (WUI) - Use the definition of WUI found in the Healthy Forests
   Restoration Act. The full text can be found at HFRA § 101. Basically, the wildland urban
   interface is the area adjacent to an at-risk community that is identified in the community wildfire
   protection plan. If there is no community wildfire protection plan in place, the WUI is the area
   0.5 mile from the boundary of an at-risk community; or within 1.5 miles of the boundary of an
   at-risk community if the terrain is steep, or there is a nearby road or ridgetop that could be
   incorporated into a fuel break, or the land is in condition class 3, or the area contains an
   emergency exit route needed for safe evacuations. (Condensed from HFRA. For full text see
   HFRA § 101.)
   52 Winter snowshoe hare habitat - Winter snowshoe hare habitat consists of places where young
   trees or shrubs grow densely - thousands of woody stems per acre - and tall enough to protrude
   above the snow during winter, so snowshoe hare can browse on the bark and small twigs
   (LCAS). Winter snowshoe hare habitat develops primarily in the stand initiation, understory
   reinitiation and old forest multistoried structural stages.




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   Appendix F. Riparian Management Zones
   Background
   Naiman et al. (2000) identifies that discoveries about the structure and dynamics of riparian
   zones have extended the scope of understanding about this portion of the landscape and have
   important implications for stream and watershed management. Forest plans must establish
   width(s) for riparian management zones around all lakes, perennial and intermittent streams, and
   open water wetlands (USDA Forest Service 2015). The following guidance has been developed
   to assist interdisciplinary teams in becoming familiar with and consistently applying criteria to:
   (1) appropriately delineate riparian management zones; and (2) analyze important considerations
   in developing appropriate management actions within or affecting riparian management zones.
   The objective is to ensure that interdisciplinary teams adequately consider riparian functions and
   ecological processes in both the delineation of riparian management zones and determination of
   appropriate management actions within or affecting riparian management zones.

   Overview of the Riparian Management Zone Delineation Guidance
   Aquatic and riparian systems are easily affected by land management activities on the
   surrounding hillslopes. Riparian management zones provide both a linkage and transitional
   habitat between hillslopes and upland terrestrial habitats and the aquatic habitats within stream
   channels.
   In general, there is little controversy over the need to define riparian management zones in order
   to maintain riparian functions and ecological processes. The controversy is over the width of the
   riparian management zone, the extent and type of management activities that can occur within
   them, and the purposes for those activities. Management activities that occur within, or adjacent
   to, a riparian management zone are subject to specific goals, objectives, standards and
   guidelines. Forest plans and the associated management direction regulate two major features of
   riparian management zones: (1) their width; and (2) the kind and amount of activity that can take
   place within or influence them (Spence et al. 1996, Quigley and Arbelbide 1997, USDA 2015).
   Riparian zones are among the most complex ecological systems and also among the most
   important for maintaining the vitality of the landscape and its rivers (Naiman et al. 2000).
   Evaluating the effectiveness of riparian management zones to manage for riparian functions and
   ecological processes is difficult because of the complexities of such areas, the extended time over
   which impacts can occur; and the resiliency and rate of recovery. The riparian management zone
   should be designed to maintain riparian functions and ecological processes with consideration of
   multiple scales (stream reach, sub-watershed, and watershed scale).

   Riparian Management Zone Delineation Criteria for the Rio Grande National
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   General Criteria
   The following are criteria to be used to delineate riparian management zones for perennial and
   intermittent streams, ponds, lakes, reservoirs, and wetlands on the Forest.
          I.      Forested Fish Bearing Streams*


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   Perennial streams (and intermittent streams providing seasonal rearing and spawning habitat) -
   In the absence of local field data, 300-foot slope distance from the ordinary high water mark, OR
   flood-prone width, OR two site-potential tree heights, OR to the outer edges of riparian
   vegetation, whichever is greatest, OR defined based on a site-specific analysis by a qualified
   specialist with expertise in the field of riparian function and ecological processes.
          II.    F orested N on-F ish B earing Streams *
   In the absence of local field data, 150-foot slope distance from the ordinary high water mark, OR
   flood-prone width, OR one site-potential tree height, OR to the outer edge of riparian vegetation,
   whichever is greatest, OR defined based on a site-specific analysis by a qualified specialist with
   expertise in the field of riparian function and ecological processes.
          III.    Ponds, Lakes, Reservoirs, and Wetlands*
   In the absence of local field data, 150-foot slope distance from the ordinary high water mark, OR
   outer edge of seasonally saturated soils, OR outer edge of riparian vegetation, OR one site­
   potential tree height, whichever is greatest, OR defined based on a site-specific analysis by a
   qualified specialist with expertise in the field of riparian function and ecological processes.
          IV.    Intermittent and Non-Forested Streams*
   In the absence of local field data, the outer edge of the riparian vegetation, OR 100-foot slope
   distance, OR one site-potential tree height whichever is greatest, OR defined based on a site­
   specific analysis by a qualified specialist with expertise in the field of riparian function and
   ecological processes.
   *Note: Sediment delivery distances vary based upon the combination of proposed management
   actions and the inherent site characteristics. Because sediment delivery distances may exceed the
   selected option, riparian management zones may need to be adjusted to avoid or minimize
   delivery to the associated water body under any option.

   Step-Down Process for Riparian Management Zone Delineation
   Effective use of the riparian management zone delineation requires a full understanding of the
   selection criteria options within each of the four categories.
   Delineating a riparian management zone requires two decisions to be made. First, the area needs
   to be correlated with one of the four Categories (I, II, III, or IV). The second decision is
   identifying which option, or criteria, within that category to use.
   The decision as to which option or criteria should be chosen should occur through discussions
   with the interdisciplinary team, resource specialists, and/or the line officer. In general,
   determining the level of analysis that best suits the needs of the project will be driven by the
   potential effects of the project, baseline conditions, management direction, and issues associated
   with the project/area of interest that were identified through scoping, the work of the
   interdisciplinary team, or the line officer.
   Written documentation of the chosen riparian management zone delineation option within a
   category, and the rationale behind the choice, should be included in record documentation for the
   project.




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   The options within a given category have varying levels of associated analysis that are involved
   with delineating the riparian management zone. Category IV, Non-forested Streams, differs from
   the other Categories in that it does not designate a set distance and therefore has two options
   rather than three.

   Option 1
   In lieu of field data, selection of the first option provides a conservative boundary—generally in
   excess of two site-potential tree heights in the case of the 300-foot slope distance, and greater
   than one site-potential tree height in the case of the 150-foot slope distance—that would be
   expected to account for most riparian processes including stream shading, large woody debris
   recruitment, fine organic litter input, bank stabilization, sediment filtration, windthrow, riparian
   microclimate and productivity, and wildlife habitat. Again, selection of this option is expected to
   provide land managers with the option of delineating a riparian management zone in the absence
   of field confirmation, with the expectation that the distances would account for most riparian
   functions and ecological processes in a system.

   Option 2
   The second criteria option, which is used similarly in Categories I-IV, requires field verification
   of certain site characteristics and provides a more site-based delineation of a riparian
   management zone boundary for a specific location. Depending on which category (I, II, III, or
   IV) is involved, options include use of site-potential tree height or riparian vegetation, whichever
   is greatest given the category.
   Site-potential tree height is spoken to in the literature and correlated with the protection of
   riparian functions and ecological processes such as stream shading, LWD recruitment, fine
   organic litter input, bank stabilization, sediment filtration, windthrow, riparian microclimate and
   productivity, and wildlife habitat (Spence et al. 1996, Quigley and Arbelbide 1997).
   Riparian vegetation is defined through classification of the vegetation associated with the aquatic
   habitat and its outer extent (see glossary), and it generally influences riparian processes such as
   fine organic litter input, bank stabilization, sediment filtration, stream shading, and wildlife
   habitat.
   Option 2 requires the use of certain field data to be collected from the project area and analyzed
   to determine the boundary of the riparian management zone. It is considered an option requiring
   potentially less than a site-specific analysis (Option 3), but it is more appropriately tied to the
   landscape than a default distance might be (Option 1).

   Option 3
   The third option, which is used in Categories I-IV, is the use of a site-specific analysis to define
   the riparian management zone. This option requires potentially the most analysis of the three
   options. When defining the riparian management zone, the specialist conducts an on-site analysis
   of the riparian functions and ecological processes associated with the stream, pond, lake,
   reservoir or wetland, and defines the riparian management zone based on the distance that best
   encompasses the extent of those functions and processes. The value gained from this effort is a
   site-specific riparian management zone delineation appropriate to the functions and processes
   between upland terrestrial habitats and adjacent aquatic habitats for that area. This information


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   potentially provides more opportunities for project design because the existing condition is better
   known, and therefore effects of actions can be better assessed, and projects can be more
   responsive to needs of the aquatic ecosystem.
   In summary, riparian management zone delineation is set up in a manner that provides flexibility
   for different levels of analysis that, regardless of the option chosen, will provide for riparian
   functions and ecological processes. The decision on which option to use must involve
   considerations of the project in regard to potential effects, baseline conditions, and issues and
   their relationship to riparian functions and ecological process.
   The effectiveness of delineating an accurate riparian management zone provides decision-makers
   with the information necessary for sound decisions regarding management activities within a
   watershed. With an understanding of the riparian functions and ecological processes of a system,
   and the means by which actions may affect them, decision makers are provided an opportunity to
   design activities to maintain or restore listed fish species, their habitats, and other SWRA
   resources.

   Site-Potential Tree Heights for Use in Identifying Riparian Management Zones
   When planning and implementing vegetation management projects, distances equivalent to one
   or two site-potential tree heights may be used to determine riparian management zone
   boundaries, provided a site visit has been completed. Current conditions and dominant potential
   vegetation group (PVG) for the site/project area must be verified in the field.
   Once the dominant PVG has been field-verified, the site-potential tree height criteria in Table 26
   will be used to determine riparian management zone widths in the management units. See the
   glossary in this appendix for definitions of site-potential tree height, site tree, and seral tree
   species. For more information about forested vegetation and PVGs, refer to appendix C of this
   forest plan.

   Table 26. Site potential tree height by potential vegetation group
   [Rounded average calculated from all available 1,044 stand exams from the Forest during 1995-2015.]

                                                        1 Site Tree Height    2 Site Tree Height
        Potential Vegetation Group            Age
                                                               (feet)                (feet)
    1 - Aspen forest, with and without
                                              100               60                    120
    softwoods
    2 - Bristlecone pine / Limber pine        100               50                    100
    3 - Lodgepole pine                        100               60                    120
    4 - Mixed conifer (cool-dry)              100               60                    120
    5 - Mixed conifer (cool-moist)            100               65                    130
    6 - Mixed conifer (warm-dry)              100               60                    120
    7 - Pinyon-juniper                        100               20                    45
    8 - Ponderosa pine                        100               60                    120
    9 - Spruce-fir                            100               85                    170




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   References Cited
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     Pacific coastal rain forest. Bioscience. November 2000 vol. 50, no. 11, pp. 996-1011.
   Quigley, T.M., and S.J. Arbelbide (eds.) 1997. An assessment of ecosystem components in the
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     GTR-405, 1997): An Ecosystem Approach to Salmonid Conservation (NMFS TR-4501-96-
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     January 30, 2015.




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   Appendix G. Priority Watersheds
   Background
   The Forest Service uses the Watershed Condition Framework to asses and characterize the health
   and condition of subwatersheds (6th level or 12-digit hydrologic unit code). The Watershed
   Condition Framework employs a nationally consistent reconnaissance-level approach for
   classifying watershed condition, using a comprehensive set of 12 indicators that are surrogate
   variables representing the underlying ecological, hydrologic, and geomorphic functions and
   processes that affect watershed condition. Primary emphasis is on aquatic and terrestrial
   processes and conditions that Forest Service management activities can influence (USDA Forest
   Service 2011).
   Watershed condition classification is the process of describing watershed condition in terms
   of discrete categories (or classes) that reflect the level of watershed health or integrity. The
   outcome of the classification process is to place each 6th level watershed into one of the
   classes described below:
   •     Class 1: Watersheds that are functioning properly exhibit high geomorphic, hydrologic, and
         biotic integrity relative to their natural potential condition.
   •     Class 2: Watersheds that are functioning at-risk exhibit moderate geomorphic, hydrologic,
         and biotic integrity relative to their natural potential condition.
   •     Class 3: Watersheds that have impaired function exhibit low geomorphic, hydrologic, and
         biotic integrity relative to their natural potential condition.
   A discussion of watershed conditions and trends specific to the Rio Grande National Forest is
   contained in the Watershed Resources section of the environmental impact statement associated
   with this forest plan revision. Following classification, priority watersheds are selected, and
   watershed restoration action plans are developed to focus efforts that treat whole watersheds with
   an integrated set of watershed-scale restoration activities.
   Further information on the Watershed Condition Framework is contained in Forest Service
   publication FS-977 (USDA Forest Service 2011). Additional information, maps, and
   documentation are available at the Forest Service watershed webpage.

   Priority Watersheds
   The 2012 Planning Rule requires land management plans to:
   (i)      Identify watershed(s) that are a priority for maintenance or restoration; (36 CFR
            219.7(f)(1)).
   Identification of priority watersheds is done to focus effort on the integrated restoration of
   watershed conditions in these areas. Priority watersheds are those watersheds where plan
   objectives for restoration would concentrate on maintaining or improving watershed condition.
   However, selection of priority watersheds does not preclude watershed restoration efforts in
   other areas. The identification of priority watersheds is intended to be helpful to Forest Service
   managers as they schedule work after plan approval, especially in circumstances of limited
   budgets and resources. Changes as to which watersheds in the plan are “priority” are made by
   administrative change (sec. 21.5 of FSH 1909.12) (USDA Forest Service 2012).

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   The Rio Grande National Forest has identified the following priority watersheds:
   •     Archuleta Creek (130201020202)
   •     Headwaters Rio Chama (130201020201)21
   •     Middle Fork Carnero Creek (130100040401).

   References Cited
   USDA Forest Service. 2011. Watershed condition framework: A. framework for assessing and
     tracking changes to watershed condition. FS-977. 34 pp. Accessed August 8, 2017, at
     https://www.fs.fed.us/sites/default/files/Watershed Condition Framework.pdf
   USDA Forest Service. 2012. Forest Service Handbook 1909.12: Land Management Planning
     Handbook, chapter 20. 134 pp.




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   Appendix H. Relevant Federal Statutes, Regulations, Policies,
   and Agreements
   Management direction in the Forest Service Directive System, including the Forest Service
   manuals and handbooks, is part of the forest plan management direction and is not repeated in
   the forest plan directions. Management direction also includes applicable laws, regulations, and
   policies, although they are not restated in this forest plan.
   Direction for managing National Forest System land comes from a variety of levels. National
   and regional direction includes laws, Executive orders, regulations, and Forest Service policies.
   The hierarchy of management direction from national and regional direction to the site-specific,
   project-level direction used in implementing the forest plan is illustrated in Figure 16.

          National and Regional
          Management Direction

     Laws, Code of Federal Regulation,
                   etc.

                      Foresbwide Management
                             Bwection

                    Desired Conditio ns, Objectives,
                      Land Suitability, Standards,
                    Guidelines, and Managemert
                                  Practices
                   ----------------------------- ■   ManagementAreaDirection

                                                     Integrated Desired Conditions
                                                        Management Practices

                                                                      Site-specific, Project level Decisions

                                                                       Project level analysis and decisions
                                                                    (Decision Memos, Decision Notices, and
                                                                              Records of Decision)


   Figure 16. Hierarchy of national forest management direction




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   Federal Statutes
   Applicable Federal statutes that forest management must be in compliance with are listed in
   Table 27.

   Table 27. Federal Statutes applicable to forest management
                                 Title                                         Initiation/Expiration
    Agriculture Appropriations Act                             May 23, 1908
    Alaska National Interest Lands Conservation Act            December 2, 1980
    American Indian Religious Freedom Act                      August 11, 1978
    American with Disabilities Act                             1990
    Anderson-Mansfield Reforestation and Revegetation Act      October 11, 1949
    Antiquities Act                                            June 8, 1906
    Architectural Barriers Act                                 1968
    Bankhead-Jones Farm Tenant Act                             July 22, 1937
    Bald and Golden Eagle Protection Act                       June 8, 1940, amended 1962
    Cabin Fee Act                                              December 22, 2014
    Carson-Foley Act of 1968 (PL 92-516)
    Clarke McNary Act                                          June 7, 1924
    Clean Air Act                                              July 14, 1955
                                                               August 7, 1977; Amendments of 1977 and
    Clean Air Act
                                                               1990
    Clean Water Act as amended                                 1948; amended in 1972, 1977, 1981, and 1987
    Color of Title Act                                         December 22, 1928
    Cooperative Forestry Assistance Act                        July 1, 1978
    Department of Agriculture Organic Act                      August 3, 1956
    Disaster Relief Act                                        May 22, 1974
    Emergency Flood Prevention Act (Agricultural Credit Act)   August 4, 1978
    Endangered Species Act as amended                          December 28, 1973
    Energy Policy Act                                          August 8, 2005
    Energy Security Act                                        June 30, 1980
    Executive Order 13112                                      1999
    Executive Order 13195                                      January 18, 2001
    Federal Advisory Committee Act                             October 6, 1972
    Federal Aid Highway Act
    Federal Cave Resources Protection Act                      November 18, 1988
    Federal Insecticide Rodenticide, and Fungicide Act         October 21, 1972
    Federal Land Exchange Facilitation Act                     August 20, 1988
    Federal Land Policy and Management Act                     October 21, 1976
    Federal Lands Recreation Enhancement Act                   2004
    Federal Noxious Weed Act                                   January 3, 1975
    Federal Power Act                                          June 10, 1920
    Federal Records Act                                        September 5, 1950
    Federal-State Cooperation for Soil Conservation Act        December 22, 1944


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                                 Title                                         Initiation/Expiration
                                                               July 9, 1956, as amended (Water Quality Act of
    Federal Water Pollution Control Act                        1965, Clean Water Restoration Act of i966)
    Federal Water Project Recreation Act                       July 9, 1965
    Fish and Wildlife Conservation Act                         September 15, 1960
    Fish and Wildlife Coordination Act                         March 10, 1934
    Forest and Rangeland Renewable Resources Planning Act      August 17, 1974
    Freedom of Information Act                                 November 21, 1974
    General Exchange Act                                       March 20,2922
    Granger-Thye Act                                           April 24, 1950
    Healthy Forest Restoration Act                             April 7, 1989
    Highway Safety Act                                         September 9, 1966
    Historic and Archaeological Data Preservation Act          May 24, 1974
    Historical Sites Act                                       August 21, 1935
    Knutson-Vandenberg Act                                     June 9, 1930
    Land Acquisition Act                                       March 3, 1925
    Land Acquisition-Declaration of Taking Act                 February 26, 1931
    Land and Water Conservation Fund Act                       September 3, 1964
    Law Enforcement Authority Act                              March 3, 1905
    Migratory Bird Treaty Act                                  1918
    Mineral Leasing Act                                        February 25, 1920, as amended
    Mineral Leasing for Acquired Lands Act                     August 11, 1955
    Mineral Materials Act                                      July 31, 1947
    Multiple-Use Sustained Yield Act                           June 12, 1960
    National Environmental Policy Act                          January 1, 1970
    National Energy Conservation Policy Act                    1978
    National Forest Management Act                             October 22, 1976
    National Forest Roads and Trails Act                       October 13, 1964
    National Forest Ski Area Permit Act                        1986
    National Historic Preservation Act                         October 15, 1966, as amended
    National Trails System Act                                 October 2, 1968
    National American Graves Protection and Repatriation Act   January 23, 1990
    Occupancy Permits Act                                      March 4, 1915
    Organic Administration Act                                 June 4, 1897
    Pipelines Act                                              February 25, 1920
    Public Lands Surveys Act                                   August 30, 1899
    PL 102-575                                                 October 30 1992
    Real Property Quiet Title Action Act                       October 25, 1992
    Rehabilitation Act                                         1973, as amended
    Renewable Resources Improvement Act                        June 30, 1978
    Research Grants Act                                        September 6 ,1958
    Right of Eminent Domain Act                                August 1, 1888
    Rural Development Act                                      August 30, 1972



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                                 Title                                            Initiation/Expiration
    Safe Drinking Water Act                                       November 16, 1977, and Amendments
    Secure Rural Schools and Community Self-Development Act       2000
    Sikes Act                                                     September 16, 1960
    Sisk Act                                                      December 4, 1967
    Small T racts Act                                             January 12, 1983
    Soil and Water Resources Conservation Act                     November 18, 1977
    Solid Waste Disposal (Resources Conservation and
                                                                  October 21, 1976
    Recovery Act) Act
    Supplemental National Forest Reforestation Fund Act           September 19, 1972
    Surface Mining Control and Reclamation Act                    August 3, 1977
    Surface Transportation Assistance Act                         1978
    The Act                                                       November 16,1973
    The Act                                                       May 26, 2000
    The Wilderness Act                                            1964
    Timber Export Act                                             March 4, 1917
    Timber Exportation Act                                        April 12, 1926
    Title Adjustment Act                                          April 28, 1930
    Toxic Substances Control Act                                  October 11, 1976
    Transfer Act                                                  February 1, 1905
    Uniform Federal Accessibility Standards                       1968
    Uniform Relocation Assistance and Land Acquisition Policies
                                                                  January 2, 1971
    Act
    U.S. Criminal Code (Title 18 USC Chapter 91- Public Lands)    June 25, 1948
    Volunteers in the National Forests Act                        May 18, 1972
    Water Quality Improvement Act                                 April 3, 1965
    Water Resources Planning Act                                  July 22, 1965
    Watershed Protection and Flood Prevention Act                 August 4, 1954
    Wild and Scenic Rivers Act                                    October 2, 1968
    Wildfire Suppression Assistance Act                           2003
    Wilderness Act                                                September 3, 1964
    Wood Residue Utilization Act                                  December 19, 1980
    Youth Conservation Corps Act                                  August 13, 1970




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   Regulations
   The Forest also abides by regulations listed in Table 28 as they pertain to the Forest Service.

   Table 28. Regulations applicable to forest management
           CFR                                                     Title
    36 CFR 60          National Register of Historic Places
    36 CFR 63          Determinations of Eligibility for Inclusion in the National Register of Historic Places
    36 CFR 68          Secretary of the Interior’s Standards for the Treatment of Historic Places
    36 CFR 79          Curation of Federally Owned and Administered Archeological Collections
    36 CFR 212         Forest Development Transportation System
    36 CFR 213         Administration Under Bankhead-Jones Act
    36 CFR 219         Planning Rule
    36 CFR 220         National Environmental Policy Act
    36 CFR 221         Timber Management Planning
    36 CFR 223         Sale and Disposal of National Forest System Timber
    36 CFR 228         Minerals
    36 CFR 241         Fish and Wildlife
    36 CFR 251         Land Uses
    36 CFR 254         Landownership Adjustments
    36 CFR 261         Prohibitions
    16 U.S.C. 470ii    Protection of Archeological Resources
    P.L. 114-35        Cave Resources Protection Act
    36 CFR 291         Occupancy and Use of Developed Sites and Area of Concentrated Public Use
    36 CFR 293         Wilderness Primitive Areas
    36 CFR 294         Special Areas
    36 CFR 295         Use of Motor Vehicles off Forest Development Roads
    36 CFR 296         Archeological Resources Protection Act Uniform Regulations
    36 CFR 297         Wild and Scenic Rivers
    36 CFR 800         Advisory Council on Historic Preservation
    36 CFR 1222-1238   Federal Records Act Uniform Regulations
    40 CFR 121-135     Watersheds Programs
    40 CFR 1500-1508   Council on Environmental Quality
                       Guidance for Implementation of Federal Wildland Fire Management Policy (2009)
    P.L. 108-148       The Healthy Forest Restoration Act
                       Interagency Prescribed Fire Planning and Implementation Procedures Guide (2014)
    NFES 2724          Interagency Standards for Fire and Fire Aviation Operations
    PMS 484            National Cohesive Wildland Fire Management Strategy (2014)
    43 CFR Part 10     Native American Graves Protection and Repatriation Act
    43 CFR 8340        Off-road Vehicles
    42 U.S.C. 7401     National Ambient Air Quality Standards
    NFPA 70            National Electrical Code
    NFPN70B            National Fire Code



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               CFR                                               Title
                         USDA Forest Service National Fire Plan (2000)
       2000              Uniform Building Code
       7 CFR 15e         Enforcement of Nondiscrimination
                         Nondiscrimination on the Basis of disability by Public Accommodation and in
       28 CFR 36
                         Commercial Facilities


   Executive Orders
   Executive orders applicable to forest management are recorded in Table 29.

   Table 29. Applicable Executive orders
         Executive
           Order                                 Title
          Number
       11593         Protection and Enhancement of the Cultural Environment
       11990         Protection of Wetlands
       11644/11989   Use of Off-Road Vehicles
       11988         Floodplain Management
       12088         Federal Compliance with Pollution Control Standards
       12898         Environmental Justice
       12962         Recreational Fisheries
       13007         Indian Sacred Sites
       13112         Invasive Species, as amended
       13195         Trails for America in the 21s‘ Century
       13287         Preserve America


   Policies and Guidelines
   The forest plan will follow all applicable policies and guidelines, including:
   •     Forest Service Heritage Strategy
   •     All Forest Service Manuals
   •     All Forest Service Handbook
   •     Secretary of the Interior’s Standards Guidelines for Archeology and Historic Preservation
   •     USDA Forest Service Strategic Plan: FY2015-2020 or most current version.

   State and Local Direction
   State and local direction applicable to forest management:
   •     Colorado Air Quality Protection Act
   •     Water Division 3, Water Decrees forestwide




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      Memorandum of Understanding 14-MU-11132400-004 between the Forest Service and the
      Natural Resource Conservation Service for permitting and operating SNOTEL, SCAN, and
      manual snow survey sites
      Memorandum of Understanding 14-MU-11020000-053 between the Forest Service and the
      State of Colorado Department of Public Health and Environment for management of water
      quality in State of Colorado define Source Water Assessment Areas on National Forest
      Systems lands in Colorado
      Memorandum of Understanding 15-MU-11020000-072 between the Forest Service and the
      State of Colorado Department of Natural Resources and the Colorado Water Conservation
      Board to establish a framework for the parties to work together in a cooperative manner on
      issues regarding the management of water and water uses on National Forest System lands in
      Colorado.




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   Appendix I. Proposed and Possible Actions
   Introduction
   In compliance with 36 CFR 219.12, this appendix describes proposed and probable actions that
   may take place on the Rio Grande National Forest at the project level over the next 3 to 5 years.
   These projects implement the forest plan and work to maintain exiting conditions or achieve
   desired conditions described in the forest plan. Included are items such as program strategies;
   inventories, assessment, resource analysis and other planning needs; and ongoing work with
   partners and cooperating agencies anticipated during the next 3 to 5 years.
   The listed proposed and probable management practices are not intended to be all-inclusive, nor
   are they intended to be decisions or commitments, but simply projections of what actions may
   take place in the future. A plan amendment is not required to change or modify any proposed or
   possible actions. The list of the actions can be updated at any time through an administrative
   change to the plan. More information may be found under plan objectives and management
   approaches.

   Goal 1
   Maintain and restore sustainable, resilient terrestrial ecosystems

   Terrestrial Ecosystems
   •     Maintain and restore habitat connectivity where appropriate to improve adaptive capacity of
         native plants and animals. Collaborate with partners to establish priority locations for
         maintaining and restoring habitat connectivity.
   •     Restore fire to the landscape where conditions are appropriate.
   •     Monitor insect and disease infestations and treat epidemic outbreaks.
   •     Thin and use wildfire to restore or maintain habitat when appropriate.
   •     Focus invasive species treatments on high priority invasive species and infestations as
         identified in the most recent version of the invasive species action plan. Prioritize areas such
         as wilderness, research natural areas, botanical areas, wild, scenic and recreational areas, and
         aquatic and riparian areas to maintain the integrity of native species and ecosystems. Promote
         early detection and rapid response as an effective approach to minimize spread.

   Range
   •     Review active allotment management plans on a regular basis.
   •     Maintain and replace fencing, water, and other range improvements.

   Species of Conservation Concern
   •     Map populations of insect species that are species of conservation concern or threatened,
         endangered, proposed, or candidate species so that interdisciplinary teams can use the
         information to design projects to avoid impacts to these species.




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   Threatened, Endangered, Proposed, and Candidate Species
   •   Evaluate and update current lynx linkage areas with partners to provide the desired habitat
       connectivity functions, as practical and needed based on available resources.

   Wildlife
   •   Increase the number of Naturewatch viewing sites that focus on bird conservation; participate
       in events for International Migratory Bird Day.
   •   Establish a maintenance program for existing bat gates.

   Soils
   •   Map soil types that support edaphic plant species of conservation concern. Include volcanic
       substrates such as ash-tuffs, latitic lava flows, rhyolite, and andesitic substrates. Sedimentary
       substrates supportive of edaphic species include calcareous substrates such as limestone and
       shale.

   Fire
   •   Assess burned areas to determine suitable and effective emergency stabilization and
       rehabilitation needs to meet current and anticipated environmental conditions.
   •   Implement fuels management activities to protect unique features, reduce fire behavior to an
       acceptable level, or replicate natural disturbance regimes within the constraints of the
       management area for the proposal.

   Timber Management
   • In areas suitable for timber production, salvage dead or dying trees (due to fire, insects,
       disease) to recover the economic value of the wood while providing for ecosystem function.
       This will be the primary focus of the timber program for the first 3 years of the planning
       period.
   •   The majority of the timber harvest in the next 3 to 5 years is anticipated to be salvaged to
       recover the economic value of the beetle-killed trees (Table 30).
   •   Planned management activity under alternative B Modified is shown in Table 31.




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   Table 30. Planned timber sale program (annual average volume output)
   [Based on average base funding and an estimated sustained yield limit of 73.7 MCCF]

                                  1st Decade - Years          1st Decade - Years       1st Decade - Years
                                                                                                                     2nd Decade
                                         1 -3                      4 and 5                   6 - 10
     Alternative B Modified        CCF             MBF          CCF        MBF           CCF          MBF           CCF      MBF
         Timber Products                                  Does not include salvage or sanitation volumes
                                                               Lands suitable for timber production
    A1. Sawtimber                    0              0          5,600       2,464        8,400         3,696         8,400    3,696
    A2. Other products               0                         2,400                    3,600                       3,600
    C. Projected Timber Sale
                                     0              0          8,000       2,464        12,000        3,696         12,000   3,696
    Quantity (A1 + A2)
    Other Estimated Wood
                                                        Does not meet timber product utilization standards
    Products
                                   CCF            Tons          CCF        Tons          CCF          Tons          CCF      Tons
    D. Fuelwood                    7,200          8,600        7,200       8,600        7,200         8,600         7,200    8,600
    E. Projected Wood Sale
                                   7,200                       15,200                   19,200                      19,200
    Quantity (C + D)
                                   CCF             MBF          CCF        MBF           CCF          MBF           CCF      MBF
    F. Estimated Salvage
                                  62,800       31,400         20,000      10,000             0          0             0        0
    Volume
    G. Total Volume
                                  70,000                      35,200                    19,200                      19,200
    including Salvage (E + F)


   Table 31. Planned management activity under alternative B Modified - annual average per
   decade
                                          1st Decade            1st Decade          1st Decade
          Forest Cover Type/                                                                            2nd Decade
                                         (years 1 - 3)         (years 4 - 5)       (years 6 - 10)
         Management Practice                                                                              (acres)
                                            (acres)               (acres)             (acres)
    Spruce-Fir - Salvage Sales              6,280                  2000                  0                     0
    Ponderosa Pine and Mixed
    Conifer (thinning, uneven­
    aged management, and
                                              0                    800                 1,200                  1,200
    shelterwood treatments) and
    Aspen (regeneration
    harvests)
    Ponderosa Pine and Mixed
                                             700                                        800                   800
    Conifer Prescribed Burns
    Spruce-Fir Prescribed Burns
                                             190                                         0                     0
    (piles)
    Grasslands Prescribed Burns              100                                        100                   100
    Pinyon-Juniper Prescribed
                                              50                                        50                     50
    Burns




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   Goal 2
   Protect and restore watershed health, water resources, aquatic ecosystems, and
   the systems that rely on them

   Aquatic and Riparian Ecosystems
   •   Use vegetation treatments to restore the structure, function, and composition of riparian areas
       and meadows where encroachment is impacting meadow fUnction.
   •   Restore nonfunctioning or functioning at-risk riparian areas so they are in, or are moving
       toward, proper functioning condition.
   •   Maintain and restore habitat connectivity where appropriate to improve adaptive capacity of
       plants and animals. Collaborate with partners to establish priority locations for maintaining
       and restoring habitat connectivity.
   •   Restore degraded spring sites back to functional habitat for spring-dependent species.
   •   Reconstruct or restore riparian function to springs identified as not in proper functioning
       condition.

   Water, Soils, and Watersheds
   •   Plan and implement improvement activities in priority watersheds that are functionally at risk
       or impaired.
   •   Update the priority watershed list to reflect actual needs on the ground.
   •   Maintain and restore the connections of floodplains, channels, and water tables to distribute
       flood flows and sustain diverse habitats.
   •   Implement resource improvement projects that are beneficial for maintaining and improving
       soil conditions and productivity, and water quantity and quality.
   •   Complete on-site investigations and refinement of maps for soil-disturbing projects that
       require site-specific, precise, and highly detailed soil information that is beyond the scale of
       the current soil surveys.

   Goal 3
   Actively contribute to social and economic sustainability in the broader
   landscape and connect citizens to the land

   Local Communities
   •   Work to maintain and expand contracting and partnering opportunities with local
       governments, businesses, and organizations. Develop partnerships that leverage different
       sources of funding to support opportunities to contribute to economic and social
       sustainability of local communities.

   Recreation
   •   Engage cooperators in stewardship activities and framework design.




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   •     Furnish readily available offsite and onsite information about recreation opportunities at fee
         campgrounds.
   •     Coordinate trail development with trail systems developed by municipalities, counties, states,
         other Federal agencies, and partners to allow for integration and connectivity.

   Scenery
   •     In all vegetation treatment and fuel reduction projects, consider improving scenery resources,
         especially in area that do not meet established scenery objectives.

   Cultural Resources
   •     Protect fire-sensitive sites from activities that may include vegetation treatment, including
         prescribed fire and thinning, in and adjacent to site boundaries provided that appropriate
         protective measures are in place. Erosion, severe fire effects, and livestock congregation can
         result from “islanding” if sites are only avoided and not treated.
   •     Synthesize, interpret, and share cultural resource findings with the scientific community and
         public through prehistoric and historic contexts, formal presentations, publications, and
         educational venues.
   •     Annually complete non-project inventory to uphold the Section 110 mandate of the National
         Historic Preservation Act by prioritizing the following:
         ■   Areas where eligible cultural resources are threatened, or ongoing impacts are unknown
         ■   Areas indicated to have high cultural value or high density of cultural resources
         ■   Areas of importance to traditional communities
         ■   Areas where additional survey will contribute to a greater regional understanding of a
             specific management unit or special interest area.
   •     Develop and maintain collaborative partnerships and volunteer efforts to assist the Forest
         Service in researching and managing its cultural resources. Develop partnerships with
         traditional communities, nonprofits, volunteers, professional organizations, and schools.
   •     Develop management and preservation plans for administrative facilities and infrastructure
         that are significant cultural resources with special significance, or are sites that receive heavy
         visitor use.
   •     Encourage volunteer participation in cultural resource conservation activities such as
         research, site stabilization, conservation, and interpretation.
   •     Engage local communities in cultivating economic development opportunities for heritage
         tourism.
   •     Develop a database of fire-sensitive sites, structures, and other resources to facilitate resource
         protection during fire management.
   •     Provide opportunities for line officers and Forest Service employees to receive training to
         gain a broader understanding of the unique legal relationship between the Federal
         Government and Indian tribes, and to learn about American Indian law, customs, traditions,
         and values.
   •     Through consultation, identify other plants that may be important to tribes.


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   •   Identify osha populations.
   •   Work to understand the community needs of tribes and build respectfUl, collaborative
       relationships to achieve mutually desired conditions.
   •   Maintain the current heritage database.
   •   Properly preserve historic documents, such as photographs and maps, and make them
       available for research and interpretation.
   •   Cultivate economic development opportunities for heritage tourism in coordination with local
       communities.

   Areas of Tribal Importance
   •   Develop interpretive and educational exhibits or other media that focus on the history of
       Forest lands in collaboration with tribes to provide the public with a greater understanding
       and appreciation of our shared history, culture, and traditions.
   •   Develop an interpretive and educational site to help prevent vandalism at the Natural Arch.
   •   Develop interpretive and educational site materials in concert with tribes that can aid in
       protecting areas of tribal importance.
   •   Develop a management plan to assist in maintaining cultural values associate with Mount
       Blanca, involving staff from the San Luis Valley, Bureau of Land Management, Pike-San
       Isabel National Forest, interested tribes, the U.S. Fish and Wildlife Service Sangre de Cristo
       Conservation Area, and other non-Federal partners.
   •   Identify, evaluate, and protect areas acknowledged as traditional cultural properties and work
       with associated communities to collaboratively manage areas acknowledged as traditional
       cultural properties by developing programmatic agreements, management plans, memoranda
       of understanding, or other management tools.

   Congressionally Designated Trails (CDT)
   •   Provide appropriate signage at prominent access points along the Old Spanish National
       Historic Trail to enhance trail user experience and safety.
   •   Identify and pursue opportunities to acquire lands or rights-of-way in or adjacent to the
       Continental Divide National Scenic Trail corridor.
   •   Provide consistent signage along the trail corridor at road and trail crossings to adequately
       identify the trail and provide interpretive signs at key trail entry points and limited historic
       and/or cultural sites to orient visitors and enhance the visitor experience.
   •   Establish appropriate carrying capacities for specific segments of the Continental Divide
       National Scenic Trail, monitoring use and conditions, while taking appropriate management
       actions to maintain or restore the nature and purposes of the trail if the results of the
       monitoring or other information indicate a trend away from the desired condition.

   Infrastructure
   •   Manage all facilities according to the current Facilities Master Plan.




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   •     When necessary, develop new trails to expand the range of recreation opportunities, ensure
         user safety, and disperse existing use into different areas to be consistent with other resource
         objectives.
   •     Manage road use by seasonal closure if:
         ■ Use is causing unacceptable damage to soil and water resources due to weather or
           seasonal conditions
         ■ Use is causing unacceptable wildlife conflicts or habitat degradation
         ■ Use is resulting in unsafe conditions due to weather conditions
         ■ The road(s) serves a seasonal public or administration need
         ■ The area accessed has a seasonal need for protection or non-use.
   •     Inspect dams on National Forest System lands to ensure public safety and comply with all
         appropriate laws and regulations. Assure that high- and moderate-hazard dams have current
         Emergency Preparedness Plans.
   •     Inspect facilities with potable water use to ensure public safety and comply with all
         appropriate laws and regulations.




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   Appendix J. Mineral Leasing Stipulations and Lease Forms
   This appendix contains the resource-protection stipulations that would be attached to the
   standard lease form R2-FS-2820-13 (92), which is included below. These protections are visually
   depicted on the Oil and Gas Stipulations Map found on the external drive at the back of the forest
   plan document.
   The standard lease form (R2-FS-2820-13 (92)) is included. The “Notice for Land of the National
   Forest System Under Jurisdiction of the Department of Agriculture” is attached to every lease
   issued through the Bureau of Land Management. Immediately following the notice are the
   stipulations that would be applied on the ground.




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   USDA Forest Service

                   NOTICE FOR LANDS OF THE NATIONAL FOREST SYSTEM
                                UNDER JURISDICTION OF
                             DEPARTMENT OF AGRICULTURE
   The permittee/lessee must comply with all the rules and regulations of the Secretary of Agriculture
   set forth at Title 36, Chapter II, of the Code of Federal Regulations governing the use and
   management of the National Forest System (NFS) when not inconsistent with the rights granted
   by the Secretary of Interior in the permit. The Secretary of Agriculture’s rules and regulations must
   be complied with for (1) all use and occupancy of the NFS prior to approval of an exploration plan
   by the Secretary of the Interior, (2) uses of all existing improvements, such as forest development
   roads, within and outside the area permitted by the Secretary of the Interior, and (3) use and
   occupancy of the NFS not authorized by an exploration plan approved by the Secretary of the
   Interior.
   All matters related to this stipulation are to be addressed to:
   District Ranger, (Unit)
   (Street Address)
   (City, State Zip)
   (Phone number)
   who is the authorized representative of the Secretary of Agriculture.

                                                  NOTICE
   CULTURAL AND PALEONTOLOGICAL RESOURCES - The FS is responsible for assuring that
   the leased lands are examined to determine if cultural resources are present and to specify
   mitigation measures. Prior to undertaking any surface-disturbing activities on the lands covered
   by this lease, the lessee or operator, unless notified to the contrary by the FS, shall:
         1. Contact the FS to determine if a site specific cultural resource inventory is required. If a
            survey is required, then:
         2. Engage the services of a cultural resource specialist acceptable to the FS to conduct a
            cultural resource inventory of the area of proposed surface disturbance. The operator may
            elect to inventory an area larger than the area of proposed disturbance to cover possible site
            relocation which may result from environmental or other considerations. An acceptable
            inventory report is to be submitted to the FS for review and approval at the time a surface
            disturbing plan of operation is submitted.
         3. Implementation mitigation measures required by the FS and BLM to preserve or avoid
            destruction of cultural resource values. Mitigation may include relocation of proposed
            facilities, testing, salvage, and recordation or other protective measures. All costs of the
            inventory and mitigation will be borne by the lessee or operator, and all data and materials
            salvaged will remain under the jurisdiction of the U.S. Government as appropriate.
   The lessee or operator shall immediately bring to the attention of the FS and BLM any cultural or
   paleontological resources or any other objects of scientific interest discovered as a result of surface
   operations under this lease and shall leave such discoveries intact until directed to proceed by FS
   and BLM.



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   R2-FS-2820-13 (92)                                         Lease Number:
                                                                                      FS Parcel No.:_________________

   ENDANGERED OR THREATENED SPECIES - The FS is responsible for assuring that the leased
   land is examined prior to undertaking any surface-disturbing activities to determine effects upon
   any plant or animal species listed or proposed for listing as endangered or threatened, or their
   habitats. The findings of this examination may result in some restrictions to the operator’s plans
   or even disallow use and occupancy that would be in violation of the Endangered Species Act of
   1973 by detrimentally affecting endangered or threatened species or their habitats.
   The lessee/operator may, unless notified by the FS that the examination is not necessary, conduct
   the examination on the leased lands at his discretion and cost. This examination must be done by
   or under the supervision of a qualified resource specialist approved by the Forest Service. An
   acceptable report must be provided to the FS identifying the anticipated effects of a proposed
   action on endangered or threatened species or their habitats.




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   USDA Forest Service

   No Surface Occupancy Stipulation

   Bighorn Sheep Habitat
   No surface occupancy or use is allowed on the lands described below. The maps were
   developed based on management areas described in the 1996 Land and Resource Management
   Plan and may vary based on current mapping. The most current maps from Colorado Parks and
   Wildlife should be used in determining where this stipulation applies on the ground.
   For the purpose of: Protecting habitat important to bighorn sheep.
   Bighorn sheep exhibit high fidelity to certain locations used for lambing, feeding, and watering.
   The Colorado Department of Park and Wildlife regularly updates maps for these locations. The
   no surface occupancy stipulation would not allow disturbances on these sites important for
   wildlife.
   Any changes: Waivers, exceptions, or modifications (WEMs) to this stipulation will be
   considered
   •     only at the time operations are proposed,
   •     will be subject to the land management plan in effect at the time of consideration, and
   •     will be subject to applicable regulations and environmental compliance requirements.
   Granting of a WEM is a discretionary action that the operator should not routinely expect. The
   Forest Service reserves the right to impose other stipulations in the same area of this leasehold if
   a WEM is granted.
   Why this Stipulation is Necessary for Resource Protection: Oil and gas activities, including
   field development, could impact herd calving, movements, and feeds causing the sheep to
   relocate to less favorable sites. For these reasons, no surface occupancy will be allowed so as to
   protect these habitats.
   This stipulation is consistent with the forest plan because it protects an important aspect of
   biodiversity and achieves the goals of wildlife management.
   This stipulation is appropriate because standard lease terms alone allow occupancy. Timing
   limitations would only protect the animals during birthing season, but a field development could
   still occur and temporarily or permanently displace bighorn sheep from these areas.




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   Watersheds of Concern and High Concern
   No surface occupancy or use is allowed on the lands described below (legal subdivision or
   other description)
   •   All of portions of Section, Township, Range                      as shown on the attached map
       which becomes a part hereof.
   For the purpose of:
   Protection and restoration of the                           watershed (Number) that
   has been damaged through past surface disturbance.
   Conditions under which a waiver of this stipulation would be considered:
       1. A site-specific watershed analysis determines that the watershed is actually not a
          watershed of concern, the no surface occupancy could be waived. Other resource
          stipulations may still apply.
       2. Total surface disturbance in the watershed has been reduced and restoration has occurred
          to bring the watershed within acceptable limits.
   Any changes: Waivers, exceptions, or modifications (WEMs) to this stipulation will be
   considered
   •   only at the time operations are proposed,
   •   will be subject to the land management plan in effect at the time of consideration, and
   •   will be subject to applicable regulations and environmental compliance requirements.
   Granting of a WEM is a discretionary action that the operator should not routinely expect. The
   Forest Service reserves the right to impose other stipulations in the same area of this leasehold if
   a WEM is granted.




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   Special Interest Areas and the Continental Divide National Scenic Trail
   No surface occupancy or use is allowed on the lands described below.
   For the purpose of: Protecting unique and special areas of botanic, geologic, historic, scenic or
   cultural values. This stipulation would be applied to the following areas:
   •     Management Area 4.1
   •     The Continental Divide National Scenic Trail and corridor.
   Any changes: Waivers, exceptions, or modifications (WEMs) to this stipulation will be
   considered
   •     only at the time operations are proposed,
   •     will be subject to the land management plan in effect at the time of consideration, and
   •     will be subject to applicable regulations and environmental compliance requirements.
   Granting of a WEM is a discretionary action that the operator should not routinely expect. The
   Forest Service reserves the right to impose other stipulations in the same area of this leasehold if
   a WEM is granted.
   Exceptions may be allowed if the lessee can demonstrate that the integrity of the special area
   would not be impaired by development.
   Why This Stipulation is Needed to Protect Resource Values: This stipulation is consistent with
   the management areas direction for Management Area 4.1, Special Designation - Special Interest
   Areas. This stipulation is necessary so that unique and special resources may be protected from
   ground-disturbing activities associated with development.




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   Soils having Mass Movement Potential
   No surface occupancy or use is allowed on the lands described below:
   •   Soils with mass movement potential.
   For the purpose of: Protecting long-term soil productivity ad ecosystem sustainability. Areas
   with high mass movement potential have been mapped and are identified within the soil resource
   inventories for the Rio Grande National Forest.
   Any changes: Waivers, exceptions, or modifications (WEMs) to this stipulation will be
   considered
   •   only at the time operations are proposed,
   •   will be subject to the land management plan in effect at the time of consideration, and
   •   will be subject to applicable regulations and environmental compliance requirements.
   Granting of a WEM is a discretionary action that the operator should not routinely expect. The
   Forest Service reserves the right to impose other stipulations in the same area of this leasehold if
   a WEM is granted.
   This stipulation may be waived if an on-site investigation by an interdisciplinary team concludes
   that operations may be carried out without undue risk to soil and water resources.
   Why This Stipulation is Needed to Protect Resource Values: This stipulation is necessary to
   protect sensitive soils and ecosystem from a mass failure (landslides). This stipulation prohibits
   ground-disturbing activity. Standard lease terms are inadequate because they would allow
   occupancy and associated ground-disturbing activities. Any physical disturbances to the surface
   soils from roads, earthmoving, or pad construction might result in a mass movement, a reduction
   of soil productivity, and increased sedimentation. The no surface occupancy stipulation would
   not allow occupancy and would maintain productivity while allowing leases.
   This stipulation is consistent with the land management plan which must manage the land so that
   long-term soil productivity is not damaged or impaired. It is consistent with other management
   activities such as timber activities. These soils were excluded from the suitable timber base.




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   Research Natural Areas
   No surface occupancy or use is allowed on the lands described below:
   •     Management Area 4.2 - Special Designation - Research Natural Areas.
   For the purpose of: Protection of important biotic and abiotic components of ecosystems.
   Any changes: Waivers, exceptions, or modifications (WEMs) to this stipulation will be
   considered
   •     only at the time operations are proposed,
   •     will be subject to the land management plan in effect at the time of consideration, and
   •     will be subject to applicable regulations and environmental compliance requirements.
   Granting of a WEM is a discretionary action that the operator should not routinely expect. The
   Forest Service reserves the right to impose other stipulations in the same area of this leasehold if
   a WEM is granted.
   Why This Stipulation is Needed to Protect Resource Values: This stipulation is consistent
   with Management Area 4.2 direction. These areas emphasize protection of important natural
   areas for research and scientific study. Activities other than research and study are limited to
   those that are non-destructive of the natural vegetation and do not allow roads or facilities. No
   surface occupancy is appropriate because it will not allow occupancy in these natural areas,
   thereby protecting areas for study. Standard lease terms or other stipulations would be inadequate
   because occupancy would be allowed, disturbing and impacting natural functions of the
   ecosystem. Under no surface occupancy, leasing would be allowed while protecting other
   resources.




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   Alpine Areas
   No surface occupancy or use is allowed on the lands described below:
   For the purpose of: To protect fragile ecosystems that are not reclaimable and highly visible.
   Areas on Alpine Slope Landtype Association shall not have occupancy so that these fragile
   ecosystems may be protected from disturbances. Reclamation of alpine areas has proven very
   difficult, if not impossible, on these ecosystems.
   Any changes: Waivers, exceptions, or modifications (WEMs) to this stipulation will be
   considered
   •   only at the time operations are proposed,
   •   will be subject to the land management plan in effect at the time of consideration, and
   •   will be subject to applicable regulations and environmental compliance requirements.
   Granting of a WEM is a discretionary action that the operator should not routinely expect. The
   Forest Service reserves the right to impose other stipulations in the same area of this leasehold if
   a WEM is granted.
   Why This Stipulation is Needed to Protect Resource Values: Alpine areas are defined by
   landtype associations. The “Kobresia on Alpine Summits” ecological land unit association are
   high-elevation tundra areas having sedges, forbs, and shrub vegetation on shallow soils. Soils are
   strongly acidic, and have poor revegetation potential due to shallow rooting depth. This
   ecological unit is in a harsh climatic regime characterized by high winds, cold temperatures, 30
   to 50 inches of precipitation per year, and a very short growing season.
   The no surface occupancy stipulation is the most appropriate stipulation to protect these fragile
   ecosystems. Surface disturbances of any kind would be difficult, if not impossible, to reclaim.
   No surface occupancy is consistent with the overall concept of ecosystem management to protect
   sensitive resources and assure long-term productivity and sustainability of the land.
   Standard lease terms, controlled surface use or timing limitations would allow occupancy, but
   would disturb these ecosystems. No surface occupancy allows these lands to be leased, while
   protecting and sustaining these fragile ecosystems.




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   Ski Resorts
   No surface occupancy or use is allowed on the lands described below.
   For the purpose of: To protect existing or potential winter sports sites. This stipulation would be
   applied to the following areas:
   •     Management Area 4.8 - Ski-based Resorts.
   Any changes: Waivers, exceptions, or modifications (WEMs) to this stipulation will be
   considered
   •     only at the time operations are proposed,
   •     will be subject to the land management plan in effect at the time of consideration, and
   •     will be subject to applicable regulations and environmental compliance requirements.
   Granting of a WEM is a discretionary action that the operator should not routinely expect. The
   Forest Service reserves the right to impose other stipulations in the same area of this leasehold if
   a WEM is granted.
   Why This Stipulation is Needed to Protect Resource Values: This stipulation is consistent
   with the management area direction for Management Area 4.8 - Ski-based resorts. No surface
   occupancy is the appropriate stipulation because the mineral estate is available to be leased,
   while the integrity of the ski area as a recreational place is maintained throughout four seasons.
   Timing limitations, controlled surface use, and standard lease terms would allow occupancy, and
   may create conflicts with four-season use or summer maintenance activities.
   This stipulation is consistent with other activities allowed or restricted in such areas. For
   example, these lands are to be recommended for withdrawal from locatable mineral entry with
   every new master development plan. Alpine ski area lands are included as suited for timber
   production, which is a change from the 1996 forest plan. Tree removal can occur on these areas,
   specifically for ski area expansion, safety, aesthetics, and vistas.




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                                                                                 Rio Grande National Forest
                                                                                    Land Management Plan

   Slopes of 40 Percent or More
   No surface occupancy or use is allowed on the lands described below:
   •   Any area within the leasehold what has slope of 40 percent of more falls under the
       jurisdiction of this stipulation.
   For the purpose of: To protect soil resources from excessive soil erosion, to reduce potential
   impacts to fisheries, to minimize sedimentation, and to reduce visual impacts from roads on steep
   slopes.
   Any changes: Waivers, exceptions, or modifications (WEMs) to this stipulation will be
   considered
   •   only at the time operations are proposed,
   •   will be subject to the land management plan in effect at the time of consideration, and
   •   will be subject to applicable regulations and environmental compliance requirements.
   Granting of a WEM is a discretionary action that the operator should not routinely expect. The
   Forest Service reserves the right to impose other stipulations in the same area of this leasehold if
   a WEM is granted.
   The lease may use existing roads on such slopes to access gentler terrain. If new roads are
   needed through an area of 40 percent slopes or greater, than an on-site investigation will be
   conducted by various Forest resource specialists such as a hydrologist, soil scientist, engineer,
   landscape architect, and others. Approval may or may not be given depending on the potential
   resource impacts estimated by the resource specialists.
   Why This Stipulation is Needed to Protect Resource Values: This stipulation is consistent
   with the forest plan which has direction from maintaining soil productivity and protection water
   quality. This stipulation is not defined by a management area as steep slopes may occur
   anywhere. Visual impacts are also reduced by this stipulation since many of the steep slopes on
   the Forest would require full bench road construction which would be highly visible.
   This stipulation is consistent with other activities allowed or restricted on steep slopes.




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   USDA Forest Service

   Timing Limitation Stipulation

   Deer and Elk Winter Range
   No surface occupancy is allowed during the following time periods. This stipulation does not
   apply to operation and maintenance of production facilities: From December 1 through April 15.
   No surface occupancy or use is allowed on the lands described below: (legal subdivision or
   other description).
   This stipulation is applied to all lands defined on maps provided by Colorado Parks and Wildlife.
   For the purpose of: Keep disturbance to acceptable levels, limit activities to periods of time
   when animals are not concentrated on these critical winter ranges.
   Any changes: Waivers, exceptions, or modifications (WEMs) to this stipulation will be
   considered
   •     only at the time operations are proposed,
   •     will be subject to the land management plan in effect at the time of consideration, and
   •     will be subject to applicable regulations and environmental compliance requirements.
   Granting of a WEM is a discretionary action that the operator should not routinely expect. The
   Forest Service reserves the right to impose other stipulations in the same area of this leasehold if
   a WEM is granted.
   This stipulation may be waived after environmental analysis reveals that big-game animals are
   not in the area. This determination depends highly on the type of winter, snowfall amounts, and
   big-game herd movements and patterns.
   Why this Stipulation is Necessary for Resource Protection: This stipulation is consistent with
   management direction for big game winter range, which emphasizes habitat management for
   deer, elk, pronghorn, and bighorn sheep. The Timing Limitation Stipulation is appropriate
   because it will minimize impacts during the critical winter period from December 1 through
   April 15. Standard lease terms alone would not allow adequate time periods for protection of the
   elk winter range. Occupancy would be allowed in these areas during between April 16 through
   November 30.




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                                                                                Rio Grande National Forest
                                                                                   Land Management Plan

   Controlled Surface Use Stipulation

   For Soils Having Moderate Mass Movement Potential
   On the lands described below: Legal description.
   Surface occupancy or use is subject to the following special operating restraints: Areas
   mapped with this stipulation have a moderate mass movement potential, which means they may
   be subject to landslides, earthflows, debris avalanches, and block slippage. Because of this
   possibility, occupancy (drill pads and access roads) will only be allowed after an on-site review
   by soil, water, and engineering specialists of the proposed well location. The specialists may
   approve the proposed location or require a new location.
   For the purpose of: To protect soil, water, and fisheries resources from mass failure (landslides).
   Soil units having moderate mass movement potential have been identified. Soil resource
   inventories identify these areas and can be used to identify areas having moderate mass
   movement potential.
   Any changes: Waivers, exceptions, or modifications (WEMs) to this stipulation will be
   considered
   •   only at the time operations are proposed,
   •   will be subject to the land management plan in effect at the time of consideration, and
   •   will be subject to applicable regulations and environmental compliance requirements.
   Granting of a WEM is a discretionary action that the operator should not routinely expect. The
   Forest Service reserves the right to impose other stipulations in the same area of this leasehold if
   a WEM is granted.
   Why this Stipulation is Necessary for Resource Protection: Areas mapped with this
   stipulation have a moderate mass movement potential, which means they may be subject to
   landslides, earthflows, debris avalanches, and block slippage. Because of this possibility,
   occupancy (drill pads and access roads) will only be allowed after an on-site review of the
   proposed location. The specialists that conduct the review may approve the proposed location or
   suggest a new acceptable location. The review team may consist of resource specialists such as
   hydrologists, soil scientists, geotechnical engineers, and landscape architects.
   This stipulation is necessary because proposed well locations may need to be moved more than
   200 meters in order to keep mass movement risks minimized.
   The controlled surface use stipulation is consistent with the intent of the land management plan,
   which has goals of maintaining soil productivity, ecosystems sustainability, and protecting water
   quality. No surface occupancy would be overly restrictive since many areas within the stipulated
   area can have occupancy. Standard lease terms would be inappropriate because they would not
   describe the specific restrictions and limitations to development.




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   USDA Forest Service



   For Scenic Resource Areas
   On the lands described below:
   Surface occupancy or use is subject to the following special operating restraints: These
   areas have high scenic and recreational values that may require screening or buffering, or site
   relocation to meet landscape character through the use of line, form, color, and texture.
   Relocation of proposed well sites may require distances greater than 200 meters.
   A computer-generated perspective may be required by the authorized officer as part of the visual
   impact assessment. In addition, an on-site investigation will be required by a qualified landscape
   architect as part of the site-specific environmental analysis.
   This stipulation is applied to the following areas, unless a more restrictive stipulation applies:
   •     Management Area 4.21 - Special Designation - Scenic Byways and Scenic Railroads
   •     Management Area 4.34 - Special Designation - Eligible and Suitable Wild, Scenic, and
         Recreational Rivers.
   For the purpose of: Protecting visual resources.
   Any changes: Waivers, exceptions, or modifications (WEMs) to this stipulation will be
   considered
   •     only at the time operations are proposed,
   •     will be subject to the land management plan in effect at the time of consideration, and
   •     will be subject to applicable regulations and environmental compliance requirements.
   Granting of a WEM is a discretionary action that the operator should not routinely expect. The
   Forest Service reserves the right to impose other stipulations in the same area of this leasehold if
   a WEM is granted.
   Why this Stipulation is Necessary for Resource Protection: This stipulation is necessary
   because proposed well locations may need to be moved more than 200 meters in order to protect
   scenic resources.
   The controlled surface use stipulation is consistent with management area prescriptions 4.21 and
   4.34 of the land management plan. No surface occupancy would be overly restrictive since many
   areas within the stipulated area can have occupancy. Standard lease terms would be inadequate
   because they would generally allow relocations of approximately 200 meters, and this limited
   distance may not protect the scenic resources.




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                                            USDA fl
                                            United States Department of Agriculture
                                            Forest Service
                                            Rio Grande National Forest
                                            1803 W. Highway 160
                                            Monte Vista, CO 81144
                                            www.fs.usda.gov/main/riogrande/

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                                                     Rio Grande National Forest
                                                        Land Management Plan
                                             Fisheries Activity Period Map -West
                                                                                        Case 1:21-cv-02994-REB Document 24-5 Filed 06/21/22 USDC Colorado Page 253 of 422




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                                             Locations and Details of Water Bodies
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     Any person who carries out an activity within the Rio Grande National Forest must use all of the following
    information to determine the Class of water body applicable to the activity location: the provisions and the
                                                                                                                                                                                                                                            CD
 applicable RGNF Map. including the associated map legend and its tables. The table below describes each of the
   types of water bodies with specific details on each Class A water bodies. Where water body Classes appear to
    overlap on the map or when the water body Class indicated by the map differs from the map legend and its
                     tables, the water body Class indicated in the map legend and tables will apply.                                                                                                                                                     cn
                                     Water Body
                                                                                                                                                                                                                                                         (D
           Water Body                  Class            Location                             Restricted Activity Period
BigSprings Creek                        A         Saguache RD           recommended by Fisheries Biologist                                                                                                                                               CD
Cave Creek                               A        Saguache RD           recommended by Fisheries Biologist
Cross Creek                              A        Saguache RD           recommended by Fisheries Biologist                                                                                                                                               CZ)
East Middle Creek                        A        Saguache RD           recommended by Fisheries Biologist
East Pass Creek                          A        Saguache RD           recommended by Fisheries Biologist
Jack's Creek                             A        Saguache RD           recommended by Fisheries Biologist
Middle Fork Carnero Creek                A        Saguache RD           recommended by Fisheries Biologist
Miner's Creek                            A        Saguache RD           recommended by Fisheries Biologist
Prong Creek                              A        Saguache RD           recommended by Fisheries Biologist
South Fork Carnero Creek                 A        Saguache RD           recommended by Fisheries Biologist
West Alder Creek                         A        Divide RD             recommended by Fisheries Biologist
Whale Creek                              A        Saguache RD           recommended by Fisheries Biologist
Class B                                  B        all                   Rio Grande Cutthroat Trout (May 15-June 30)
                                                                        Brown Trout and Brook Trout (Oct 1 - Dec 31); Rainbow
Class C                                  C        all                   Trout (April 1-Aug 31)
Class D                                  D        all                   none




                                                                                                                                                                                                                                            Class A- see
                                                                                                                                                                                                                                            Conservation



                                                                                                                                                                                                                                            Class B - RGCT
                                                                                                                                                                                                                                            Recreational
                                                                                                                                                                                                                                            Stream and
                                                                                                                                                                                                                                            Lake



                                                                                                                                                                                                                                            Class C - Non­
                                                                                                                                                                                                                                            native Stream
                                                                                                                                                                                                                                            and Lake
                                                                                                                                                                                                                                            Recreational


                                                                                                                                                                                                                                                  Class D Stream
                                                                                                                                                                                                                                                  - None

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                                                                            Rio Grande National Forest
                                                                                Land Management Plan
                                                                    Fisheries Activity Period Map - East
                                                                     Case 1:21-cv-02994-REB Document 24-5 Filed 06/21/22 USDC Colorado Page 255 of 422




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                                                                                                                                                                                                                       Class C - Non­
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                                                                                                                                                                                                                          Class D Stream
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Revision Team                        product accuracy may vary. They may be: developed from sources of differing accuracy accurate only al certain scales based dn
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                                     local public agencies or the public in general as required by policy oi regulation. Previous recipients of the products may not be notified
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Draft Plan                                                                                         Final Plan                                                                                    Comparison
DC-SCNY-1: Areas of high scenic quality are provided, especially in areas seen from                DC-SCNY-1: Areas of high scenic quality are provided, especially in areas seen from roads
roads and trails, developed recreation sites, administrative sites, and towns and                  and trails, developed recreation sites, administrative sites, and towns and cities near the
cities near the Forest. (Forestwide)                                                               Forest. (Forestwide)                                                                          No change.
DC-SCNY-2: Views reflect naturally appearing forested stands consistent with the
area's natural range of variability. Recent vegetation treatments visually blend with              DC-SCNY-2: Vegetation treatments visually blend with existing scenic character.
existing scenic character. (Forestwide)                                                            (Forestwide)                                                                                  Revised to only include the second half of the draft DC.
DC-SCNY-3: The transition from Forest lands to adjacent lands with similar desired
conditions is seamless and does not exhibit abrupt changes in visual or ecological                 DC-SCNY-3: The transition from Forest lands to adjacent lands with similar desired            Revised, with "is seamless" deleted and "visual or ecological integrity" changed
integrity. (Forestwide)                                                                            conditions does not exhibit abrupt changes in scenic quality. (Forestwide)                    to "scenic quality".
OBJ-SCNY-1: Over the planning period, meet or improve scenic integrity and stability
through vegetation management within two watersheds (hydrologic unit code level
6). (Forestwide)                                                                                                                                                                                 Objective deleted.

OBJ-SCNY-2: Over the planning period, improve five facilities or built features into
compliance with the principles in the Built Environment Image Guide. (General
Forest Geographic Area, Specially Designated Geographic Area)                                                                                                                                    Objective deleted.
S-SCNY-1: Facility and infrastructure projects that require exterior lighting for safety
must employ “dark sky preservation” techniques to reduce excess light pollution and
preserve valued views of night skies. (General Forest Geographic Area, Specially
Designated Geographic Area)                                                                                                                                                                      Standard deleted.

S-SCNY-2: Management activities will achieve identified scenic integrity objectives, or            S-SCNY-1: Management activities are consistent with identified scenic integrity objectives.   Standard re-worded so that management activities need only be consistent with
improve existing scenic integrity in support of achieving the mapped scenic integrity              Short-term impacts, less than 5 years, that are inconsistent with the scenic integrity        the identified scenic integrity objectives. Duration of acceptable short term
objective. Short term impacts inconsistent with the scenic integrity objectives may                objectives may occur. Restoration activities designed to meet or exceed identified scenic     impacts clarified/adjusted from "3 to 5 years" to "less than 5 years". New
occur for a duration of 3 to 5 years. (Forestwide)                                                 integrity objectives should begin within 2 years of project completion. (Forestwide)          language added regarding restoration activities.
G-SCNY-1: Limit management activities that impact valued scenic attributes and
mitigate effects on visual characteristics of the surrounding landscape, including line,           G-SCNY-1: Design management activities to minimize impacts to valued scenic attributes
form, color, texture, size, shape, edge effect, and patterns of natural vegetation                 and scenic character. Line, form, color, texture, size, shape, edge effect, and patterns of
openings. (Forestwide)                                                                             natural vegetation openings complement surrounding scenic character. (Forestwide)             Guideline re-worded.
G-SCNY-2: Rehabilitate areas with low scenic integrity to support achievement of the
mapped scenic integrity objectives and long-term management and stewardship of                     Rehabilitate areas with low scenic integrity to gain compliance with mapped scenic
valued scenic character. (Forestwide)                                                              integrity levels.                                                                             Guideline deleted, but similar language in a new management approach.
G-SCNY-3: Design utility and transmission line corridors to visually blend with the
existing character consistent with the mapped scenic integrity objective.
(Forestwide)                                                                                                                                                                                     Guideline deleted.
MA-SCNY-1: Reinforce the Forest Service identity by constructing, restoring, and
maintaining structures and built features consistent with the principles of the Built              Retain the Forest Service identity by constructing, reinforcing, and maintaining structures
Environment Image Guide to complement the scenic character of the natural                          and building features consistent with the principles in the Built Environment Image Guide
surroundings. (Forestwide)                                                                         to complement the scenic character of the natural surroundings.                               Slightly re-worded.
MA-SCNY-2: Design management practices to produce forest composition, structure,                   Design management practices to produce forest composition, structure, and patterns
and patterns similar to those that would have occurred under natural disturbance                   similar to those that would have occurred under natural disturbance regimes, where
regimes. (General Forest Geographic Area)                                                          feasible.                                                                                     Slightly re-worded.

                                                                                                   The scenery management system provides a systematic approach for determining the
                                                                                                   relative value and importance of scenery on the Forest. Scenery management involves
                                                                                                   identifying scenic components, mapping these components, and assigning a value for
                                                                                                   aesthetics. Forest plan direction helps incorporate scenery as a part of ecosystems to
                                                                                                   determine trade-offs at the project level.                                                    MA added.




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        The Rio Grande National Forest provides a scenic backdrop and contributes to the
        identities of communities in and around the San Luis Valley. Managing scenic resources
        ensures quality sightseeing and recreation opportunities. Colorado tourism thrives on
        outdoor recreation and the beautiful scenery of the Rocky Mountains.                     MA added.




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Draft Plan                                                                                            Final Plan                                                                                         Comparison

                                                                                                      DC-REC-1: A variety of enduring recreation opportunities are available across a variety of         Re-worded. New language added - "Development of facilities and travel routes is
                                                                                                      settings that foster high-quality, year-round developed and dispersed experiences.                 consistent with the recreation opportunity spectrum class designations.
                                                                                                      Development of facilities and travel routes is consistent with the recreation opportunity          Recreation facilities and programs incorporate universal design concepts and
DC-REC-1: A variety of enduring recreation opportunities (i.e., trails, campgrounds,                  spectrum class designations. Recreation facilities and programs incorporate universal design       meet current Federal accessibility guidelines unless doing so fundamentally alters
and day-use areas) are available across a variety of resilient settings that foster high-             concepts and meet current Federal accessibility guidelines unless doing so fundamentally           the setting or character of the program." This language was originally in S-REC-1
quality, year-round developed and dispersed experiences. (Forestwide)                                 alters the setting or character of the program. (Forestwide)                                       and S-REC-2.
DC-REC-2: Sustainable, persistent and changing needs of the Forest are addressed.
(Forestwide)                                                                                                                                                                                             DC deleted.
DC-REC-3: Relationships with cooperators are long lasting and sustainable and are
leveraged to accomplish Forest goals. (Forestwide)                                                                                                                                                       DC deleted.
DC-REC-4: Use conflicts among users are infrequent. (Forestwide)                                                                                                                                         DC deleted.
DC-REC-5: Sites and facilities are designed to be long-lasting, require low                           DC-REC-2: Sites and facilities are designed to be long-lasting, require low maintenance, and
maintenance, and incorporate “green” operations. The sites and facilities should also                 incorporate “green” operations. The sites and facilities should also complement the natural
complement the natural setting. (Forestwide)                                                          setting. (Forestwide)                                                                              No change.

OBJ-REC-1: Over the planning period, develop two to three trail connections between                   OBJ-REC-1: Develop three trail connections between strategic community areas and                   Objective changed from "two to three" to "three" trail connections. Time frame
strategic community areas and National Forest System trails. (Forestwide)                             National Forest System trails within 15 years. (Forestwide)                                        changed from "over the planning period" to "within 15 years".
S-REC-1: Recreation development and travel routes shall be consistent with the                                                                                                                           Standard deleted, but similar language added to DC-REC-1 and management
recreation opportunity spectrum class designations. (Forestwide)                                                                                                                                         approaches.

S-REC-2: Provide for universal accessibility at recreation sites and trails unless doing so
fundamentally alters the setting or character of the program. (Forestwide)                                                                                                                               Standard deleted, but language added to DC-REC-1.
S-REC-3: Close, rehabilitate, or otherwise mitigate dispersed sites when:
• Campsite condition reaches Frissell-Cole Class 4 or 5                                               S-REC-1: Manage, rehabilitate, or close dispersed recreational use areas when:
• Site occupancy does not meet the adopted scenic integrity objective                                 • Use area condition reaches Frissell-Cole Class 4 or 5 (compromised natural environment),
• User conflicts substantially disrupt user experience and/or safety and closure is the               or
only alternative                                                                                      • User conflicts substantially disrupt user experience, safety, or both, and closure is the only   Revised and re-worded standard. Bullets related to site occupancy/scenic
• Unacceptable environmental damage is occurring. (Forestwide)                                        alternative (compromised human environment)                                                        integrity objective and unacceptable environmental damage deleted. Revised
                                                                                                                                                                                                         standard to use the term "dispersed recreational use areas".
S-REC-4: Camping will be limited to 14 continuous days in any one location within a 30                S-REC-2: Do not allow campsites to be established for more than 14 consecutive days in any
day period. (Forestwide)                                                                              30-day period. (Forestwide)                                                                        Re-worded standard.

G-REC-1: Manage winter recreation activities within lynx analysis units such that lynx
habitat connectivity is maintained or improved where needed. (Forestwide)                                                                                                                                Guideline deleted.
G-REC-2: Manage recreation within the capacity for the recreation opportunity
spectrum objective, as shown in Table 9. This table assists in developing appropriate                 G-REC-1: To reduce user conflicts and resource damage, activities and projects should not
thresholds for considering recreational permitted uses and wilderness use.                            be approved if they exceed the developed, appropriate threshold for the recreation
(Forestwide)                                                                                          opportunity spectrum capacity levels listed in Table 10.                                           Guideline re-worded and purpose added.
MA-REC-1: Strategically invest available resources (e.g., time, budget, expertise) to
support long-term recreation program goals. Developed recreation assets are aligned                   Available resources (e.g., time, budget, expertise) are strategically invested to support long­
with projected facility budgets, partnership capabilities, and other re-investment                    term recreation program goals. Developed recreation assets are aligned with projected
strategies. (Forestwide)                                                                              facility budgets, partnership capabilities, and other re-investment strategies.                    Slight re-wording.
MA-REC-2: Engage cooperators in stewardship activities and framework design.
(Forestwide)                                                                                          The Forest intends to encourage cooperators to be involved in stewardship activities.              Re-worded management approach and deleted reference to framework design.
MA-REC-3: Leverage recreation special use permits to accomplish recreation program                    Recreation special use permits are leveraged to accomplish recreation program goals and
goals and best serve the public. (Forestwide)                                                         serve the public.                                                                                  Slight re-wording, with "best" deleted.
MA-REC-4: At fee campgrounds, furnish readily available offsite and onsite                            Readily available off-site and on-site information about Forest recreation opportunities is
information about recreation opportunities. (Forestwide)                                              available at fee campgrounds.                                                                      Slight re-wording.




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MA-REC-5: When campground occupancy is less than 20 percent for at least one
season, the site should be examined to decide whether to close the campground,                   When campground occupancy is less than 20 percent for at least one season, a decision will
convert it to a concentrated dispersed site, or take other action. (Forestwide)                  be made to close the campground, convert it to a dispersed site, or take other action.          Slight re-wording.

MA-REC-6: Trail development shall be coordinated with trail systems developed by                 Trail development is coordinated with systems developed by municipalities, counties,
municipalities, counties, states, other Federal agencies, and partners to allow for              states, other agencies, and partners to promote integration and connectivity. Loop trails are   Re-worded. Additional loop trail direction from MA-REC-7 added to this
integration and connectivity. (Forestwide)                                                       considered where feasible, particularly at low elevations.                                      management approach.
MA-REC-7: Loop trails should be considered for trail networks, especially those at low
elevations, for year-round use, and should be associated with campgrounds or other                                                                                                               Management approach deleted, but some of the language added to management
attractions. (Forestwide)                                                                                                                                                                        approach above.
MA-REC-8: Base the availability of outfitter-guide special use permits on a capacity
study. Prohibit new permits when capacity has been met for a certain special use
authority. (Forestwide)                                                                                                                                                                          Management approach deleted.
MA-REC-9: Consider the use of concessionaire operations when attempting to charge                The Forest intends to consider using concessionaire operations when fees are charged at
a fee at a developed site. (Forestwide)                                                          developed sites.                                                                                Slight re-wording.
MA-REC-10: If use exceeds the area capacity for a given recreation opportunity
spectrum class, the following management actions should be employed to address the
impacts or effects on the recreation setting:
1. Inform the public and restore the site
2. Regulate use                                                                                  When use exceeds the capacity of an area for a recreation opportunity spectrum class, the
3. Restrict the number of users                                                                  following actions will address the impacts or effects on the recreation setting: Provide
4. Close the area or site. (Forestwide)                                                          information to the public and restore the site, regulate use at the site, restrict the number
                                                                                                 of users, and finally close the site.                                                           Slight re-wording.

                                                                                                 Relationships with partners, cooperators, and permittees are vital to the success of the
                                                                                                 recreation program, as are building, sustaining, and leveraging strategic relationships to
                                                                                                 sustain high-quality recreation settings and opportunities.                                     New management approach.
                                                                                                 Recreation development and travel routes are managed to be consistent with the                  New management approach, but language similar to deleted standard and also
                                                                                                 recreation opportunity spectrum class designations.                                             present in DC-REC-1.




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                                                                                                                                                                                                       Guideline re-written. More broadly covers mining activities and not just
                                                                                                     G-MIN-1: Mining activities can be acknowledged when the activity does not cause                   recreational dredging. Revised version is has additional focus on unacceptable
G-MIN-1: Recreational dredging does not cause substantial surface disturbance.                       substantial surface disturbance or unacceptable impacts to water quality or fish habitat.         impacts to water quality or fish habitat. New language added - "Aspects of
Activities in or near streams are conducted to maintain water quality and avoid                      Aspects of operation will be contained in the notice of intent. A plan of operations will be      operation will be contained in the notice of intent. A plan of operations will be
impacts to fish habitat. (Forestwide)                                                                required for any activities above the scope of a notice of intent. (Forestwide)                   required for any activities above the scope of a notice of intent."

                                                                                                     Management Approach:
G-MIN-2: To protect water quality and fish habitat in recreational dredging:                         Procedures assure protection of water quality and fish habitat. The list below addresses
1. Limit the use of the practice to outside of critical life-stage periods in streams that           management of recreational dredging that occurs on the Forest.
have Rio Grande cutthroat trout core conservation populations.                                       1. Limit use of the practice to outside of critical life-stage periods in streams that have Rio
2. The Forest geologist (or designated authority) will review the notice of intent prior             Grande cutthroat trout core conservation populations.
to the commencement of activities.                                                                   2. The Forest geologist (or designated authority) will review the notice of intent prior to
3. Where possible, retain existing instream and riparian vegetation and other                        the commencement of activities.
features, including but not limited to trees, bushes, shrubs, weeds, or tall grasses                 3. Where possible, retain existing instream and riparian vegetation and other features
along streambanks, natural, large wood debris, and large boulders.                                   including but not limited to trees, bushes, shrubs, weeds, or tall grasses along
4. Operations should not change the stream channel to direct water flow into a                       streambanks, natural, large woody debris, and large boulders.
streambank or cause bank erosion or destruction of the natural form or the stream                    4. Operations should not change the stream channel to direct water flow into a
channel.                                                                                             streambank or cause bank erosion or destruction of the natural form or the stream
5. Whenever practical, prevent the release of silt, sediment, sediment-laden water,                  channel.
or any other deleterious substances into the watercourse.                                            5. Whenever practical, prevent the release of silt, sediment, sediment-laden water, or any
6. Keep equipment and machinery in good operating condition, power washed, and                       other deleterious substances into the watercourse.
free of leaks, excess oil, and grease.                                                               6. Keep equipment and machinery in good operating condition, power washed, and free of
7. Locate the point of discharge to the creek immediately downstream of the                          leaks, excess oil, and grease.
worksite to minimize disturbance to downstream populations and habitats.                             7. Locate the point of discharge to the creek immediately downstream of the worksite to
(Forestwide)                                                                                         minimize disturbance to downstream populations and habitats.
                                                                                                                                                                                                       Guideline changed to a management approach. Slight re-wording at beginning.

G-MIN-3: Follow instream activity maps (Appendix H). Carry out activities during
conditions of low flow, when trout redds (spawning sites with potential eggs and
larval fish present in the gravel) are not present, and when there is the least risk to
fish and wildlife populations and habitat. (Forestwide)                                                                                                                                                Guideline deleted.

G-MIN-4: All motorized vehicles (cars, trucks, jeeps, off-road vehicles) are restricted
to motorized trails or legally open roads. This reduces impacts to vegetation and
minimizes erosion, stream turbidity, and sedimentation. (Forestwide)                                                                                                                                   Guideline deleted.
G-MIN-5: Contain all fuel-operated tools (generators, etc.) in a spill tray during
operation, maintenance, and refueling. Do not refuel or service equipment within
100 feet of a stream. (Forestwide)                                                                                                                                                                     Guideline deleted.

G-MIN-6: Operate machinery and tools from the bank of the stream to minimize
impacts and to better enable mitigation of sedimentation. (Forestwide)                                                                                                                                 Guideline deleted.




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G-MIN-7: Upon completion of the operations:
1. Restore all disturbed in-channel or active floodplain habitats upon completion of
operations to a condition that is enhanced from their original state.
2. Remove all equipment, supplies, and nonbiodegradable materials from the site.
3. Remove all plants, animals, or mud and drain all water from equipment prior to
leaving the site. (Forestwide)
                                                                                                                                                                                             Guideline deleted.

                                                                                               Administer minerals activities through a plan of operations, which includes permits as well   MA added, though this language was in the introductory section of the minerals
                                                                                               as the reclamation and mitigation measures necessary to protect resources.                    section in the draft plan.

                                                                                               The Abandoned Mine Lands Program addresses past mines that are no longer active.
                                                                                               These lands can pose a hazard to the public, wildlife, and the environment. The program
                                                                                               evaluates abandoned mines across the unit and the impacts of these. Mine closure
                                                                                               decisions consider and assess needs related to other resources as well, such as wildlife.
                                                                                               The program uses partners to evaluate and complete the process.                               MA added.




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Draft Plan                                                                                             Final Plan                                                                                     Comparison
DC-LAND-1: Utility corridors and transmission lines are designed to blend with the
existing character of the landscape. (Forestwide)                                                                                                                                                     DC deleted.

DC-LAND-2: Occupancy of electronic sites is consolidated wherever possible and
compatible.
• Blend with the existing character of the landscape
• Consolidate occupancy with electronic sites wherever possible and compatible.
(Forestwide)
                                                                                                                                                                                                      DC deleted.

OBJ-LAND-1: Over the planning period, acquire a minimum of 100 acres through land
acquisitions from willing sellers within the Forest. (Forestwide)                                                                                                                                     Objective deleted.
OBJ-LAND-2: Over the planning period, resolve six trespass or encroachment cases.
(Forestwide)                                                                                                                                                                                          Objective deleted.

S-LAND-1: Bury electrical utility lines of 33 kilovolts or less, and telephone lines, unless
one or more of the following applies:
• Scenic integrity objectives of the area can be met using an overhead line
• Burial is not feasible due to geologic hazards or unfavorable geologic conditions
• Burial would result in greater long-term site disturbance                                            S-LAND-1: Bury electrical utility lines of 33 kilovolts or less, and telephone lines, unless
• Burial is not technically feasible. (Forestwide)                                                     scenic integrity objectives of the area can be met using an overhead line or burial is not
                                                                                                       technically feasible. (Forestwide)                                                             Bullet points/exceptions were simplified.
S-LAND-2: Do not authorize conflicting uses of activities in transportation and utility                S-LAND-2: Do not authorize conflicting uses of activities in transportation and utility
corridors. (Forestwide)                                                                                corridors. (Forestwide)                                                                        No change.
MA-LAND-1: Conserve existing and designated inventoried rights-of-way that are
identified in the 1996 forest plan to protect them for future construction and                         Existing and designated rights-of-way in the 1996 Land and Resource Management Plan are
occupancy. (Forestwide)                                                                                managed to maintain them for future construction and occupancy.                                Slight rewording.

MA-LAND-2: Design utility corridors and transmission lines to be fully developed prior
to authorizing new sites, unless new sites are determined to be necessary to fill                      Design communication sites and utility lines to be fully developed prior to authorizing new    Slight rewording. "Utility corridors and transmission lines" changed to
coverage gaps (i.e., cell towers) or to meet public needs (Forestwide).                                sites. New sites may be necessary to fill coverage gaps or meet public needs.                  "Communication sites and utility lines".
MA-LAND-3: To the extent possible, management activities in linear corridors should                                                                                                                   Clarified that management activities in linear corridors should be consistent with
be compatible with the desired condition for the individual management areas                           Management activities in linear corridors should be consistent with direction for the          all direction for a management area it passes through, not just the desired
through which corridors pass. (Forestwide)                                                             management area the corridor passes through.                                                   condition.
MA-LAND-4: The land ownership pattern supports land and resource goals and
objectives, reduces future management costs, responds to urban and community                           Land ownership patterns support land and resource goals and objectives, reduce future
needs, protects critical resource areas, increases recreation opportunities, and                       management costs, respond to community needs, protect critical resource areas, increase
improves legal public access. (Forestwide)                                                             recreation opportunities, and improve legal access.                                            Slight re-wording with "urban" and "public" deleted.

MA-LAND-5: The survey program and land status records facilitate the resolution of
land ownership cases related to title claims, trespass, and unauthorized uses and to
protect public access and achieve effective management. (Forestwide)                                                                                                                                  MA deleted.
MA-LAND-6: The authorization and administration of special uses by individuals,
companies, groups, and government entities protects natural resource values and                        The authorization and administration of special uses by individuals, companies, groups, and
public health and safety. (Forestwide)                                                                 government entities protect natural resource values and public health and safety.              No change.
MA-LAND-7: Adhere to specific management area stipulations related to suitability.
(Forestwide)                                                                                                                                                                                          MA deleted.




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        Manage special uses in a manner that protects natural resources, public health, and safety,
        and are consistent with management plans for National Forest System lands. Special uses
        are administered on the basis of sound resource management objectives and business
        principles.                                                                                   MA added.

        Land adjustments consolidate and improve management efficiency through real estate
        transactions including sales, purchases, exchanges, conveyances, and rights-of-way within
        and outside the proclaimed Forest boundary. Lands can be transferred to the Forest Service
        through purchase, exchange, or gifting to the agency. Regardless of the transfer method,
        the Forest Service can only acquire land from willing parties that meet the criteria. The
        types of land the agency prefers to acquire include:
        • Lands within congressionally designated areas,
        • Lands with water frontage, wetlands, and associated riparian ecosystems,
        • Lands with habitat for endangered or threatened species,
        • Lands with unique historical or cultural resources,
        • Lands primarily of value for outdoor-recreation purposes and lands needed for aesthetic
        protection,
        • Key tracts that promote effective resource management,
        • Lands that consolidate ownership and reduce miles of property lines and corners to be
        maintained, and
        • Lands that maintain or stabilize economies of local governments.
                                                                                                      MA added.




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DC-INFR-1: Safe, accessible, functionally efficient, aesthetically pleasing, energy­
efficient, and cost-effective buildings and related facilities (owned, operated,
occupied, or authorized by the Forest Service) needed to achieve resource
management objectives are maintained or constructed. (General Forest Geographic
Area, Specially Designated Geographic Area)                                                                                                                                                                                                        DC deleted.

DC-INFR-2: Discharges from all wastewater disposal facilities owned and operated by
the Forest Service, or that are under special-use permit from the Forest Service,
comply with applicable Federal or State water quality and effluent discharge
standards. (General Forest Geographic Area, Specially Designated Geographic Area)                                                                                                                                                                  DC deleted.
DC-INFR-3: The road system provides access for the public to use and enjoy the
Forest. Road construction is limited, and the amount of reconstruction is
commensurate to the needs of resource management. Road closure may occur in
areas to enhance wildlife and fisheries habitat, soil, and watershed resources,         DC-INFR-1: The transportation system is commensurate with resource management needs, public safety, emergency access, and public access to use and         DC reworded. Changed to apply Forestwide. "Road construction is limited" was
among other values. (General Forest Geographic Area, Specially Designated               enjoy the Forest. Road restrictions occur for resource management activities that protect, maintain, and enhance habitat, soil, and water objectives,      removed. "Road closure" changed to "Road restrictions". New references to
Geographic Area)                                                                        among other values. (Forestwide)                                                                                                                           public safety and emergency access added.

DC-INFR-4: Trail systems will offer a wide range of recreation opportunities, both
motorized and nonmotorized. Consider a wide range of barrier-free opportunities
for all new construction and rehabilitation proposals. (Forestwide)                                                                                                                                                                                DC deleted.

                                                                                                                                                                                                                                                   Objective deleted. There is a management approach in Scenery that reads:
                                                                                                                                                                                                                                                   The Forest Service identity is retained by constructing, reinforcing, and
OBJ-INFR-1: Over the planning period, improve five facilities or built features to be                                                                                                                                                              maintaining structures and building features consistent with the principles in the
visually consistent with principles of the Built Environment Image Guide. (General                                                                                                                                                                 Built Environment Image Guide to complement the scenic character of the natural
Forest Geographic Area, Specially Designated Geographic Area)                                                                                                                                                                                      surroundings
G-INFR-1: Wherever feasible and practicable, construct or restore structures to         G-INFR-1: To blend with natural surroundings, construct or restore structures to blend with the natural surroundings wherever feasible and practicable.
blend with the natural surroundings. (Forestwide)                                       (Forestwide)                                                                                                                                               Slight rewording.

MA-INFR-1: Do not retain facilities acquired by land donation, exchange, or purchase
unless they serve a definite future purpose and funding is available for their          Facilities acquired through land donation, exchange, or purchase are not retained unless they serve a definitive purpose and funding is available for
maintenance, or they are determined to be historically significant. (Forestwide)        maintenance, or they are historically significant.                                                                                                         Slight rewording.
MA-INFR-2: Manage all facilities according to the current Facilities Master Plan.
(Forestwide)                                                                            The Forest intends to manage all current facilities in compliance with the facilities master plan.                                                         Slight rewording.
MA-INFR-3: Closed or restricted roads may be used for administrative purposes if        Closed or restricted use roads are available for administrative purposes upon approval by the responsible official. These roads are not displayed on the   Reworded and added language regarding these roads not being displayed on the
the use is approved by the responsible official. (Forestwide)                           Forest motor vehicle use map.                                                                                                                              Forest motor vehicle use map.



MA-INFR-4: Designated travelways, as displayed on the Forest motor vehicle use
map, and newly constructed travelways are open to motorized vehicle use unless a
documented decision shows that:
• Motorized use conflicts with forest plan objectives,                                  Designated roads, as displayed on the Forest motor vehicle use map, and newly constructed roads are open to motorized vehicle use unless a document
• Motorized use is incompatible with the recreation opportunity spectrum class,         decision shows that:
• Travelways are in areas closed to motorized use and are not designated routes,        • Motorized use conflicts with forest plan objectives,
• Motorized use creates user conflicts that result in unsafe conditions unrelated to    • Motorized use is incompatible with the recreation opportunity spectrum class,
weather conditions,                                                                     • Roads and trails will not be managed as open to public motorized use,
• Physical characteristics of travelways are hazardous for motorized use,               • Motorized use creates user conflicts that result in unsafe conditions unrelated to weather conditions,
• Travelways do not serve an existing or identified future public need, or              • Physical characteristics of roads and trails are hazardous for motorized use,
• Financing is not available for maintenance necessary to protect resources.            • Roads and trails do not serve an existing or identified public need, or
(Forestwide)                                                                            • Financing is not available for maintenance necessary to protect resources.                                                                               Changed "travelways" to "roads". In bullets, "travelways" changed to "roads and
                                                                                                                                                                                                                                                   trails". 3rd bullet clarified.
MA-INFR-5: On all lands except designated travelways, motorized use is restricted
unless the motor vehicle use map or a forest order indicates that such use is
specifically allowed. Over-the-snow motorized vehicle use on snow is allowed unless
specifically restricted. (General Forest Geographic Area, Specially Designated          Motorized use is restricted on all areas not designated for motorized use on the Forest motor vehicle use map. Forest orders may also be used to close
Geographic Area)                                                                        areas for various reasons. Over-the-snow motorized vehicle use is allowed unless specifically restricted.                                                  Reworded.




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MA-INFR-6: To protect resource values and provide for public education, allowable
modes of travel should be clearly signed at trailheads and/or identified on the motor
vehicle use map. (General Forest Geographic Area, Specially Designated Geographic
Area)                                                                                                                                                                                                                                              MA deleted.

MA-INFR-7: When necessary, new trails are developed to expand the range of
recreation opportunities, ensure user safety, and disperse existing use into different   New trails are developed to expand recreation opportunities, ensure user safety, and disperse existing use. Trail construction is consistent with other
areas to be consistent with other resource objectives. (Forestwide)                      resource objectives.                                                                                                                                      Slight rewording.
MA-INFR-8: Manage road use by seasonal closure if:
• Use is causing unacceptable damage to soil and water resources due to weather or
seasonal conditions                                                                      Manage road use with seasonal closures if:
• Use is causing unacceptable wildlife conflicts or habitat degradation                  • Use is causing unacceptable damage to soil and water resources due to weather or seasonal conditions,
• Use is resulting in unsafe conditions due to weather conditions                        • Use is causing unacceptable wildlife conflicts or habitat degradation,
• The road(s) serve a seasonal public or administration need                             • Use is resulting in unsafe conditions due to weather conditions,
• The area accessed has seasonal need for protection or non-use. (General Forest         • The road(s) serve a seasonal public or administrative need, or
Geographic Area, Specially Designated Geographic Area)                                   • The area accessed has a seasonal need for protection.
                                                                                                                                                                                                                                                   Slight rewording to last bullet.

MA-INFR-9: Consider the impact of potential alterations in timing, magnitude, and        Consider the impact of potential alterations in timing, magnitude, and duration of seasonal runoff on infrastructure design and construction.             Re-worded with "peak flows" changed to "seasonal runoff". Added language
duration of peak flows on infrastructure design and construction. (Forestwide)           Considerations include evaluations of climate change vulnerability assessment for infrastructure, including recreational infrastructure.                  regarding climate change vulnerability assessment.

MA-INFR-10: All dams on National Forest System land are inspected to ensure public
safety and comply with all appropriate laws and regulations. High- and moderate­
hazard dams have current Emergency Preparedness Plans. (Forestwide)                                                                                                                                                                                MA deleted.

MA-INFR-11: Facilities with potable water use are inspected to ensure public safety
and comply with all appropriate laws and regulations. (Forestwide)                                                                                                                                                                                 MA deleted.

                                                                                                                                                                                                                                                   Re-worded. Revised management approach speaks to how the transportation
MA-INFR-12: The transportation system is designed to minimize resource damage.                                                                                                                                                                     system is managed (vs designed), speaks to reducing resource damage, rather
(General Forest Geographic Area, Specially Designated Geographic Area)                   The Forest transportation system is managed to reduce resource damage and address public safety.                                                          than minimizing resource damage, and adds in lanuage regarding public safety.
MA-INFR-13: Consider the travel analysis process during project-level analysis to
move toward a sustainable road system. (General Forest Geographic Area, Specially                                                                                                                                                                  Re-worded with the travel management process followed (vs considered) during
Designated Geographic Area)                                                              The travel management process is followed during project-level design and analysis to move toward a sustainable Forest road system.                       both project-level design and analysis.




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OBJ-FP-1: Over the planning period, identify and map a minimum of five select                     OBJ-VEG-6: Identify and map a minimum of five select populations of ethnobotanically            Forest Products section was eliminated. This objective was moved to the VEG
populations of osha and other ethnobotanically important plants for tribes in concert             important plants for tribes in concert with the heritage, botany, and timber programs over      section. Time frame changed from the planning period to 15 years and specific
with the heritage, botany, and timber programs. (Forestwide)                                      the next 15 years. (Forestwide)                                                                 reference to osha removed.
S-FP-1: When there is a shortage of any special forest products for tribal use,
commercial permits are issued only to the extent that the tribal use can be                       S-VEG-8: When there is a shortage of any special forest products for tribal use, commercial     Forest Products section was eliminated. This standard was moved to the VEG
accommodated. (Forestwide)                                                                        permits are issued only to the extent that tribal use can be accommodated. (Forestwide)         section

                                                                                                  Management Approaches
                                                                                                  Special forest products include materials that are not traditional timber and fiber products,
                                                                                                  such as sawtimber or house logs. Special forest products are permitted (or contracted) for
G-FP-1: Special forest products, including but not limited to firewood, building rock,            removal from public lands for commercial, personal, Native American tribal, educational, or
herb and vegetable products, medicinal and pharmaceutical products, wild edible                   scientific purposes. Plan components in this section cover a variety of special forest
mushrooms, wild berries and fruit, landscaping products, craft products, and floral and           products, including but not limited to firewood, building rock, herb and vegetable products,
greenery products, are available. Plants include trees, shrubs, water plants, forbs,              medicinal and pharmaceutical products, wild edible mushrooms, wild berries and fruit,
grasses, mosses, lichens, and fungi. Plant parts include leaves, boughs, bark, bulbs,             landscaping products, craft products, and floral and greenery products.                         Forest Products section was eliminated. This guideline was re-worded, moved to
corms, seeds, nuts, and fruits. (Forestwide)                                                                                                                                                      the VEG section, and changed to a management approach.



                                                                                                  Management approach in cultural resources:
                                                                                                  Populations of Ligusticum porteri will be mapped (see also Vegetation Management
                                                                                                  section). When identifying and mapping Ligusticum porteri, consider setting aside collection
                                                                                                  areas for traditional use. Use of these areas should be rotated over time. Consultation will
                                                                                                  assist in identifying other plants that are important to tribes.
MA-FP-1: When identifying and mapping for select populations of osha, it is expected                                                                                                              Forest Products section was eliminated but this management approach is covered
that private and rotating collection areas would be set aside for tribal use behind               Management approach in the VEG section:                                                         by a management approach in cultural resources and a management approach in
closed gates for privacy during ceremony. Areas would change through time.                        Continues to identify and map populations of Ligusticum porteri. Following mapping,             the VEG section. Reference to "behind closed gates for privacy during ceremony"
(Forestwide)                                                                                      consider setting aside collection areas for tribal use and rotate use of the areas over time.   deleted.
MA-FP-2: The gathering of forest products meets sustainable limits of the resource.
These uses may require a permit. (Forestwide)                                                                                                                                                     MA deleted.

MA-FP-3: The needs of people from the San Luis Valley and surrounding areas are
recognized, and the Forest Service strives to meet their needs for forest and wood
products while protecting those resources for future generations. (Forestwide)                                                                                                                    MA deleted.
MA-FP-4: Provide tribes with trees, parts of trees, or forest products for traditional
and cultural purposes free of charge without requiring a permit. Uses must be
noncommercial. (Forestwide)                                                                                                                                                                       MA deleted.




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Draft Plan                                                                                         Final Plan                                                                                     Comparison
DC-FIRE-1: Major vegetation types reflect little or no departure from historic natural
range of variation of fire frequency and intensity (e.g., reflects Fire Regime Condition
Class 1). (Forestwide)                                                                                                                                                                            DC deleted.

                                                                                                   DC-FIRE-1: Wildland fire and fuels reduction treatments are used to create vegetation
                                                                                                   conditions that reduce threats to real property and infrastructure from wildfire. Fuel loads
                                                                                                   on lands adjacent to developed areas and communities are reduced. Lands adjacent to
DC-FIRE-2: Fuels on lands adjacent to developed areas and communities are                          private property and infrastructure have defensible space and dispersed patterns of fuel
maintained at levels where wildfires would not result in damage to property, thereby               conditions that would favorably modify wildfire behavior and reduce the rate of spread in      DC-FIRE-2, DC-FIRE-3, and DC-FIRE-4 combined with wording changes into the
providing a safer environment for firefighters and the public. (Forestwide)                        and around communities at risk. (Forestwide)                                                   revised DC-FIRE-1.

                                                                                                   DC-FIRE-1: Wildland fire and fuels reduction treatments are used to create vegetation
                                                                                                   conditions that reduce threats to real property and infrastructure from wildfire. Fuel loads
                                                                                                   on lands adjacent to developed areas and communities are reduced. Lands adjacent to
DC-FIRE-3: Wildland fire and fuels reduction treatments create vegetation conditions               private property and infrastructure have defensible space and dispersed patterns of fuel
that reduce the threat to real property and infrastructure from wildfire. (General                 conditions that would favorably modify wildfire behavior and reduce the rate of spread in      DC-FIRE-2, DC-FIRE-3, and DC-FIRE-4 combined with wording changes into the
Forest Geographic Area, Specially Designated Geographic Area)                                      and around communities at risk. (Forestwide)                                                   revised DC-FIRE-1.

                                                                                                   DC-FIRE-1: Wildland fire and fuels reduction treatments are used to create vegetation
                                                                                                   conditions that reduce threats to real property and infrastructure from wildfire. Fuel loads
DC-FIRE-4: Lands adjacent to private property and infrastructure have defensible                   on lands adjacent to developed areas and communities are reduced. Lands adjacent to
space and dispersed patterns of fuel conditions that favorably modify wildfire                     private property and infrastructure have defensible space and dispersed patterns of fuel
behavior and reduce the rate of wildfire spread in and around communities at risk.                 conditions that would favorably modify wildfire behavior and reduce the rate of spread in      DC-FIRE-2, DC-FIRE-3, and DC-FIRE-4 combined with wording changes into the
(Forestwide)                                                                                       and around communities at risk. (Forestwide)                                                   revised DC-FIRE-1.

DC-FIRE-5: Unplanned natural ignitions play their natural role in ecosystem dynamics               DC-FIRE-2: Natural ignitions play a natural role in ecosystem dynamics when and where
when and where they do not threaten human life and property. (Forestwide)                          there is no threat to human life or property. (Forestwide)                                     Slight re-wording. "Unplanned" deleted.
OBJ-FIRE-1: Over the life of the plan, complete an average of 100 acres of hazardous
fuels reduction per year in areas adjacent to private development and/or critical                  OBJ-VEG-7: Average 100 acres of hazardous fuels reduction per year in areas adjacent to        Objective moved to VEG section. Timeframe changed from "over the life of the
infrastructure. (Forestwide)                                                                       private development, critical infrastructure, or both over the next 15 years. (Forestwide)     plan" to 15 years.
OBJ-FIRE-2: Over the life of the plan, complete an average of 2,000 acres of fuels                                                                                                                Objective moved to VEG section. Timeframe changed from "over the life of the
reduction and resource enhancement per year using fire managed for resource                        OBJ-VEG-8: Average 2,000 acres of fuels reduction per year using fire managed for              plan" to 15 years. Revised objective is focused on fuels reduction and does not
benefit and/or prescribed fire on Forest lands. (Forestwide)                                       resource benefit or prescribed fire on Forest lands over the next 15 years. (Forestwide)       include "resource enhancement".
S-FIRE-1: All unplanned human-caused ignitions will be suppressed in the safest and
most effective manner possible. (General Forest Geographic Area, Specially                         S-FIRE-1: Unplanned human-caused ignitions will not be managed for resource benefit.
Designated Geographic Area)                                                                        (Forestwide)                                                                                   Standard re-worded and changed to apply Forestwide.
S-FIRE-2: Fire control lines will be rehabilitated to prevent their use as trails and/or           S-FIRE-2: Fire control lines will be rehabilitated to prevent use as trails and/or roads.
roads. (Forestwide)                                                                                (Forestwide)                                                                                   No change.
G-FIRE-1: The construction of fire control lines with heavy equipment should be
authorized only when necessary for the protection of life, property, and sensitive
resources. (General Forest Geographic Area, Roadless Geographic Area, Specially
Designated Geographic Area)                                                                                                                                                                       Guideline deleted.
MA-FIRE-1: Where unplanned natural ignitions are allowed to play their natural role
in the ecosystem, those wildfires are managed to accomplish resource objectives
without unnecessarily risking or jeopardizing the ability of the site to sustain
ecosystems. (Forestwide)                                                                                                                                                                          MA deleted.




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MA-FIRE-2: Wildland fire management is balanced between fire suppression and use
of wildland fire (including both prescribed fire and natural ignitions) to regulate fuels
and maintain forest ecosystems in desired conditions, and help achieve ecosystem
sustainability, including its interrelated ecological, economic, and social components.
(Forestwide)                                                                                                                                                                                         MA deleted.

MA-FIRE-3: Use appropriate and authorized tools, including but not limited to                       The use of appropriate and authorized hazardous fuels reduction tools, including but not
grazing, mechanical treatment, prescribed fire, or naturally occurring unplanned                    limited to grazing, mechanical treatments, prescribed fire, or naturally ignited wildfires, to
wildfires to meet ecosystem needs, and reduce vegetation build-up to lower the risk                 meet ecosystem needs and reduce vegetation build-up is intended to lower the risk to
to communities and other values from damage or loss from wildfires. (Forestwide)                    communities and other values from damage or loss from wildfire.                                  Slight re-wording.
MA-FIRE-4: Use prescribed fire to dispose of slash, return inorganic and organic
chemicals in the foliage and small woody debris to the soils, reduce hazardous fuel                 Prescribed fire is an appropriate tool to dispose of slash and return nutrients and woody
loadings, and create seedbeds for natural regeneration where feasible and                           debris to soils while reducing hazardous fuels. This can be integrated into wildlife habitat
appropriate. (Forestwide)                                                                           and forage improvement, and seedbed preparation for natural regeneration.                        Re-worded.

MA-FIRE-5: Manage unplanned natural ignitions for multiple objectives (including                    Wildfire is recognized as a tool to accomplish multiple objectives. Wildfires caused by
resource benefit) in fire-adapted ecosystems when conditions are favorable to                       natural ignitions are managed for multiple resource objectives, including resource benefit
achieve desired resource benefits and protect values at risk. (Forestwide)                          when conditions are favorable.                                                                   Re-worded.

MA-FIRE-6: Take suppression actions to mitigate the threats from unplanned natural                  Fire suppression actions are taken to mitigate effects of wildfire to public safety,
ignitions to public safety, communities, and unique resource values while allowing                  communities, and unique resource values, while allowing unplanned ignitions to play a
the wildfire to play its natural role in fire-dependent ecosystems. (Forestwide)                    natural role in fire-dependent ecosystems.                                                       Slight re-wording.

MA-FIRE-7: Implement fire management activities to minimize impacts to important
and/or unique values within the management area(s) where they occur. (Forestwide)                                                                                                                    MA deleted.



MA-FIRE-8: Fuels management activities may be implemented to protect unique                                                                                                                          MA deleted, though this is listed in Appendix I - Proposed and Possible Actions:
features, reduce fire behavior to an acceptable level, or replicate natural disturbance                                                                                                              • Implement fuels management activities to protect unique features, reduce fire
regimes within the constraints of the management area where the management                                                                                                                           behavior to an acceptable level, or replicate natural disturbance regimes within
activity is proposed. (Forestwide)                                                                                                                                                                   the constraints of the management area for the proposal.

MA-FIRE-9: Include evaluations for immediate suppression, management for
resource benefit, or a combination of both actions for wildland fire response on fires
occurring on the Forest, in communication with resource advisors. (Forestwide)                                                                                                                       MA deleted.

                                                                                                                                                                                                     MA deleted, though this is listed in Appendix I - Proposed and Possible Actions:
MA-FIRE-10: Burned areas will be assessed to determine suitable and effective                                                                                                                        • Assess burned areas to determine suitable and effective emergency
emergency stabilization and rehabilitation needs to meet current and anticipated                                                                                                                     stabilization and rehabilitation needs to meet current and anticipated
environmental conditions. (Forestwide)                                                                                                                                                               environmental conditions.
MA-FIRE-11: Rehabilitation and restoration activities will be evaluated to assess
effectiveness of treatments. (Forestwide)                                                                                                                                                            MA deleted.




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Draft Plan                                                                                         Final Plan                                                                                 Comparison

                                                                                                   DC-CR-1: Interpretation and management of cultural resources connects the public to the
                                                                                                   past, to the land and its history. The Forest strives to identify, preserve, and protect
                                                                                                   cultural resources that have scientific, cultural, or social values, including areas
                                                                                                   acknowledged as traditional cultural properties and historic agency administrative
                                                                                                   buildings. Cultural and natural resources and historic uses that help sustain cultural
DC-CRT-1: Significant cultural resources (e.g., buildings, sites, districts, structures,           communities and contribute to social and economic sustainability are preserved and
and objects), including areas acknowledged as traditional cultural properties, having              maintained. Long-standing, land-based rural communities that have depended on the
scientific, cultural, or social values, are identified, preserved, protected, and/or               Forest are recognized and valued. Cultural resources are protected from natural forces,
restored for their cultural importance. (Forestwide)                                               excessive visitor use, vandalism, and other impacts.                                       One of several draft DCs re-worded and combined into 1 revised DC.

DC-CRT-2: Cultural resources provide educational opportunities that connect people,
past and present, to the land and its history. Through positive heritage experiences
provided by interpretive sites, historic standing structures, and other materials, the
public has an appreciation for the history of the region and develops an awareness of                                                                                                         First part of draft DC was re-worded and combined into the 1 revised DC. Second
preservation efforts. (Forestwide)                                                                                                                                                            part of draft DC was deleted.

DC-CRT-3: Historic Agency administrative buildings reflect agency history, identity,                                                                                                          This DC was deleted. Revised DC-CR-1 states "The Forest strives to identify,
and function, and where appropriate are available for public use. Restored historic                                                                                                           preserve, and protect cultural resources that have scientific, cultural, or social
buildings placed on the Agency facility rental program add to Forest recreation                                                                                                               values, including areas acknowledged as traditional cultural properties and
program capacity and diversity and generate revenue. (Forestwide)                                                                                                                             historic agency administrative buildings."
DC-CRT-4: Heritage-based recreation opportunities are connected with other
recreation opportunities, such as trails. (Forestwide)                                                                                                                                        DC deleted.

                                                                                                   DC-CR-1: Interpretation and management of cultural resources connects the public to the
                                                                                                   past, to the land and its history. The Forest strives to identify, preserve, and protect
                                                                                                   cultural resources that have scientific, cultural, or social values, including areas
                                                                                                   acknowledged as traditional cultural properties and historic agency administrative
                                                                                                   buildings. Cultural and natural resources and historic uses that help sustain cultural
DC-CRT-5: Cultural and natural resources and historic uses that help sustain cultural              communities and contribute to social and economic sustainability are preserved and
communities and contribute to social and economic sustainability are preserved. The                maintained. Long-standing, land-based rural communities that have depended on the
uniqueness of long-standing, land-based rural communities that have depended on                    Forest are recognized and valued. Cultural resources are protected from natural forces,
the Forest for generations is recognized and valued. (Forestwide)                                  excessive visitor use, vandalism, and other impacts.                                       One of several draft DCs re-worded and combined into 1 revised DC.

                                                                                                   DC-CR-1: Interpretation and management of cultural resources connects the public to the
                                                                                                   past, to the land and its history. The Forest strives to identify, preserve, and protect
                                                                                                   cultural resources that have scientific, cultural, or social values, including areas
                                                                                                   acknowledged as traditional cultural properties and historic agency administrative
                                                                                                   buildings. Cultural and natural resources and historic uses that help sustain cultural
                                                                                                   communities and contribute to social and economic sustainability are preserved and
                                                                                                   maintained. Long-standing, land-based rural communities that have depended on the
DC-CRT-6: Cultural resources and historic uses that help sustain cultural communities              Forest are recognized and valued. Cultural resources are protected from natural forces,
and contribute to social and economic sustainability are preserved. (Forestwide)                   excessive visitor use, vandalism, and other impacts.                                       One of several draft DCs re-worded and combined into 1 revised DC.




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                                                                                                DC-CR-1: Interpretation and management of cultural resources connects the public to the
                                                                                                past, to the land and its history. The Forest strives to identify, preserve, and protect
                                                                                                cultural resources that have scientific, cultural, or social values, including areas
                                                                                                acknowledged as traditional cultural properties and historic agency administrative
                                                                                                buildings. Cultural and natural resources and historic uses that help sustain cultural
                                                                                                communities and contribute to social and economic sustainability are preserved and
                                                                                                maintained. Long-standing, land-based rural communities that have depended on the
DC-CRT-7: Significant cultural resources have no deterioration from natural forces,             Forest are recognized and valued. Cultural resources are protected from natural forces,
visitor use, vandalism, and other impacts. (Forestwide)                                         excessive visitor use, vandalism, and other impacts.                                         One of several draft DCs re-worded and combined into 1 revised DC.
S-CRT-1: Include provisions in applicable contracts, agreements, and special use
permits for National Register-listed or eligible properties to protect cultural                 S-CR-1: Include applicable provisions in contracts, agreements, and special use permits as   Standard re-worded and expanded to apply "as needed" instead of only for
resources. (Forestwide)                                                                         needed to protect cultural resources. (Forestwide)                                           National Register-listed or eligible properties.
G-CRT-1: Preserve cultural artifacts in place, or curated when necessary, following
current standards. (Forestwide)                                                                 G-CR-1: Preserve cultural artifacts in place, or curate when necessary. (Forestwide)         "Following current standards" deleted.

MA-CRT-1: Protect fire-sensitive sites from activities that may include vegetation
treatment, including prescribed fire and thinning, in and adjacent to site boundaries           Protect sites from activities including, but not limited to, vegetation treatment and
provided that appropriate protective measures are in place. Erosion, severe fire                prescribed fire. Protection can require attention to avoid "islanding" of sites, which can
effects, and livestock congregation can result from “islanding” if sites are only               occur from simply avoiding areas to reduce impacts from erosion, severe fire effects, and
avoided and not treated. (Forestwide)                                                           livestock grazing.                                                                           MA reworded. Expanded to include more than just fire-sensitive sites.
                                                                                                                                                                                             MA deleted, but language included in Appendix I - Proposed and Possible
                                                                                                                                                                                             Actions:
MA-CRT-2: Cultural resource findings are synthesized, interpreted, and shared with                                                                                                           • Synthesize, interpret, and share cultural resource findings with the scientific
the scientific community and public through prehistoric and historic contexts, formal                                                                                                        community and public through prehistoric and historic contexts, formal
presentations, publications, and educational venues. (Forestwide)                                                                                                                            presentations, publications, and educational venues.



                                                                                                In compliance with Section 110 of the National Historic Preservation Act, the Forest
MA-CRT-3: Complete non-project inventory annually to uphold the Section 110                     intends to complete non-project inventory annually. The following prioritization will be
mandate of the National Historic Preservation Act by prioritizing the following:                applied:
• Areas where eligible cultural resources are threatened or ongoing impacts are                 • Areas where eligible cultural resources are threatened or ongoing impacts are unknown
unknown and need to be assessed                                                                 and need to be assessed.
• Areas indicated to have high cultural value or high density of cultural resources             • Areas indicated to have high cultural value or high density of cultural resources.
• Areas of importance to traditional communities                                                • Areas of importance to traditional communities.
• Areas where additional survey will contribute to a greater regional understanding             • Areas where additional survey will contribute to a greater regional understanding of a
of a specific management unit or special interest area. (Forestwide)                            specific management unit or special interest area.
                                                                                                                                                                                             Slight re-wording.

                                                                                                Partnerships are developed and maintained to assist in meeting targets, maintaining
                                                                                                facilities and infrastructure, completing monitoring, developing resource specific plans,
                                                                                                mapping habitat and use, and more. Partnerships are encouraged with traditional              MA slightly re-worded. New language added at beginning:
                                                                                                communities, surrounding communities and governments, nonprofit groups, volunteers,          Partnerships are developed and maintained to assist in meeting targets,
                                                                                                professional organizations, schools, and any other interested individuals and groups.        maintaining facilities and infrastructure, completing monitoring, developing
MA-CRT-4: Collaborative partnerships and volunteer efforts are developed and                    Collaborative partnerships and volunteer efforts will continue to be maintained and          resource specific plans, mapping habitat and use, and more. Partnerships are
maintained to assist the Forest Service in researching and managing its cultural                developed to assist the agency in researching and managing cultural resources.               encouraged with traditional communities, surrounding communities and
resources. Develop partnerships with traditional communities, nonprofits,                       Partnerships will focus on traditional communities, nonprofits, volunteers, professional     governments, nonprofit groups, volunteers, professional organizations, schools,
volunteers, professional organizations, and schools. (Forestwide)                               organizations, and schools.                                                                  and any other interested individuals and groups.




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MA-CRT-5: Develop research questions in concert with those put forth in Colorado
Prehistory: A Context for the Rio Grande Basin (Martorano et al. 1999) and Colorado
History: A Context for Historical Archaeology (Church et al. 2007), or more current
content. (Forestwide)                                                                                                                                                                                 MA deleted.

MA-CRT-6: Develop management and preservation plans for administrative facilities                  The Forest intends to develop management and preservation plans for administrative
and infrastructure that are significant cultural resources with special significance, or           facilities and infrastructure that are significant cultural resources with special significance,
are sites that receive heavy visitor use. (Forestwide)                                             or are sites that receive frequent visitor use.                                                    Slight re-wording.

MA-CRT-7: Areas acknowledged as traditional cultural properties, cultural
landscapes, and other culturally significant areas identified by local communities                 Areas that are acknowledged as traditional cultural properties or cultural landscapes, and
provide tangible links to historically rooted beliefs, customs, and practices. These               other culturally significant areas identified by local communities, provide tangible links to
resources are protected through consultation, traditional cultural practitioners,                  historically rooted beliefs, customs, and practices. These resources are protected through
consulting parties, and project design. (Forestwide)                                               consultation, traditional cultural practices, consulting parties, and project design.              Slight re-wording.
MA-CRT-8: Volunteers participate in cultural resource conservation activities such as
research, site stabilization, conservation, and interpretation. Cultural resource                                                                                                                     MA deleted, but some of the language is included in Appendix I - Proposed and
programs, interpretive presentations, or publications provide the public with                                                                                                                         Possible Actions:
opportunities to learn about, understand, and experience the history of the Forest.                                                                                                                   • Encourage volunteer participation in cultural resource conservation activities
(Forestwide)                                                                                                                                                                                          such as research, site stabilization, conservation, and interpretation.
                                                                                                                                                                                                      MA deleted, but similar language is included in Appendix I - Proposed and
                                                                                                                                                                                                      Possible Actions:
MA-CRT-9: Local communities are engaged in cultivating economic development                                                                                                                           • Cultivate economic development opportunities for heritage tourism in
opportunities for heritage tourism. (Forestwide)                                                                                                                                                      coordination with local communities.
MA-CRT-10: The Heritage Program is integrated into all resource management
decisions and aligns with the affirmative management (including protection) of                     Cultural resources are integrated into all resource management decisions and align with
significant cultural resources. (Forestwide)                                                       the affirmative management, including protection, of significant cultural resources.               Slightly re-worded.

MA-CRT-11: Develop a database of fire-sensitive sites, structures, and other                       A database of fire-sensitive sites, structures, and other resources will be developed to
resources to facilitate resource protection during fire management. (Forestwide)                   facilitate resource protection during fire management.                                             Slightly re-worded.

MA-CRT-12: Provide opportunities for line officers and Forest Service employees to                 Opportunities will be provided for responsible officials and employees in the agency to
receive training to gain a broader understanding of the unique legal relationship                  receive training to gain a broader understanding of the unique legal relationship between
between the Federal Government and Indian tribes, and to learn about American                      the Federal Government and Indian tribes, and to learn about American Indian law,
Indian law, customs, traditions, and values. (Forestwide)                                          customs, traditions, and values.                                                                   Slightly re-worded.
MA-CRT-13: Through consultation, identify other plants that may be important to
tribes. (Forestwide)                                                                               Consultation will assist in identifying other plants that are important to tribes.                 Slightly re-worded.



                                                                                                                                                                                                      MA re-worded and changed to use the scientific name of osha. Additional
                                                                                                                                                                                                      language regarding collection areas and rotating these areas was originally in the
                                                                                                                                                                                                      draft plan in the ATI and FP management approaches. There is also language in
                                                                                                   Populations of Ligusticum porteri will be mapped (see also Vegetation Management                   the revised plan in the VEG management approaches:
                                                                                                   section). When identifying and mapping Ligusticum porteri, consider setting aside                  Identify and map populations of Ligusticum porteri. Following mapping, consider
MA-CRT-14: Map osha populations. (Forestwide)                                                      collection areas for traditional use. Use of these areas should be rotated over time.              setting aside collection areas for tribal use and rotate use of the areas over time.

MA-CRT-15: Work with tribes to understand community needs and build respectful,                    The Forest intends to work with tribes to understand community needs and build
collaborative relationships to achieve mutually desired conditions. (Forestwide)                   respectful, collaborative relationships to achieve mutually desired conditions.                    Slightly re-worded.
                                                                                                                                                                                                      MA deleted, but similar language is included in Appendix I - Proposed and
                                                                                                                                                                                                      Possible Actions:
MA-CRT-16: Maintain the current heritage database. (Forestwide)                                                                                                                                       • Maintain the current heritage database.




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                                                                                                                                                                                            MA deleted, but similar language is included in Appendix I - Proposed and
                                                                                                                                                                                            Possible Actions:
MA-CRT-17: Properly preserve historic documents, such as photographs and maps,                                                                                                              • Properly preserve historic documents, such as photographs and maps, and
and make them available for research and interpretation. (Forestwide).                                                                                                                      make them available for research and interpretation.
                                                                                                                                                                                            MA deleted, but similar language is included in Appendix I - Proposed and
                                                                                                                                                                                            Possible Actions:
MA-CRT-18: Cultivate economic development opportunities for heritage tourism in                                                                                                             • Cultivate economic development opportunities for heritage tourism in
coordination with local communities. (Forestwide)                                                                                                                                           coordination with local communities.
MA-CRT-19: For activities that are authorized by special use permits and use sites
that are eligible for inclusion in the National Register of Historic Places, the
Operation and Maintenance Plan for the permitted activities will stipulate that the            Operation and maintenance plans for special use permits, including recreation residences,
maintenance and upkeep must maintain the historic characteristics of the site.                 eligible for inclusion on the National Register of Historic Places include stipulations to
(Forestwide)                                                                                   ensure preservation of the historic characteristics of the site.                             Re-worded and combined with MA-CRT-21 into one management approach.

MA-CRT-20: Prescribed burn projects will follow the Culturally Modified Tree
Guidelines developed by fuels specialists and the Forest archaeologist. (Forestwide)                                                                                                        MA deleted.

MA-CRT-21: For recreation residences that are eligible for listing on the National
Register of Historic Places, the operation and maintenance plan for the special use            Operation and maintenance plans for special use permits, including recreation residences,
authorization should stipulate that the maintenance and upkeep must maintain the               eligible for inclusion on the National Register of Historic Places include stipulations to
historic characteristics of the residence. (Forestwide).                                       ensure preservation of the historic characteristics of the site.                             Re-worded and combined with MA-CRT-19 into one management approach.




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Draft Plan                                                                                       Final Plan                                                                                     Comparison
DC-CDT-1: Viewsheds from the Continental Divide National Scenic Trail have high
scenic values. The foreground of the trail is naturally appearing, and generally
appears unaltered by human activities. The potential to view wildlife is high and                                                                                                               DC simplified and excludes parts of the draft DC related to appearing unaltered
evidence of ecological processes such as fire, insects, and diseases exists.                     DC-CDT-1: Viewsheds from the Continental Divide National Scenic Trail have high scenic         by human activities, the potential to view wildlife, and evidence of ecological
(Forestwide)                                                                                     values. The foreground of the trail appears natural. (Forestwide)                              processes.
DC-CDT-2: The landscape of the North Branch of the Old Spanish National Historic
Trail is managed to:
• Maintain its nature and purpose,
• Sustain its historic, rugged, spacious character, and                                          DC-CDT-5: The landscape of the North Branch of the Old Spanish National Historic Trail is
• Preserve the viewshed, cultural landscapes, landmarks, and traditional cultural                managed to maintain its nature and purpose while providing educational opportunities,          DC re-worded, with language added regarding educational opportunties,
properties along the trail. (Forestwide)                                                         promoting stewardship, providing opportunities for heritage tourism, and protecting            promoting stewardship, and heritage tourism, and language originally in the
                                                                                                 traditional cultural properties. (Forestwide)                                                  second and third bullets deleted or changed.
DC-CDT-3: Travelers along the Old Spanish National Historic Trail have opportunities
to learn about the history and significance of the trail, and to experience and
appreciate the cultural and natural environment that traders experienced in their
travels. (Forestwide)                                                                                                                                                                           DC deleted.
DC-CDT-4: Trailside interpretation and related visitor information services enhance
visitor appreciation of the outdoors, natural resources, history, and scenic values
along the Old Spanish National Historic Trail, while also promoting stewardship and
protection of the trail. (Forestwide)                                                                                                                                                           DC deleted.
DC-CDT-5: The management of the Old Spanish National Historic Trail cultivates
economic development opportunities for heritage tourism in coordination with local
communities. (Forestwide)                                                                                                                                                                       DC deleted.

                                                                                                                                                                                                DC deleted. In Appendix I - Proposed and Possible Actions, it lists:
DC-CDT-6: The Old Spanish National Historic Trail is well signed, passable, and safely                                                                                                          • Provide appropriate signage at prominent access points along the Old Spanish
accessible to the public where feasible. (Forestwide)                                                                                                                                           National Historic Trail to enhance trail user experience and safety.

DC-CDT-7: The Continental Divide National Scenic Trail is a well-defined trail that              DC-CDT-2: The Continental Divide National Scenic Trail is a well-defined trail that provides
provides for high-quality primitive hiking and horseback riding opportunities, and               for high-quality primitive hiking and horseback riding opportunities, and other compatible
other compatible nonmotorized trail activities, in a highly scenic setting along the             nonmotorized trail activities, in a highly scenic setting along the Continental Divide. The
Continental Divide. The significant scenic, natural, historic, and cultural resources            significant scenic, natural, historic, and cultural resources along the trail corridor are
along the trail corridor are conserved. Where possible, the trail provides visitors with         conserved. Where possible, the trail provides visitors with expansive views of the natural
expansive views of the natural landscapes along the Continental Divide. (Forestwide)             landscapes along the Continental Divide. (Forestwide)                                          No change.

DC-CDT-8: The setting of the Continental Divide National Scenic Trail corridor is
consistent with or complements a primitive or semiprimitive nonmotorized setting.
The Continental Divide National Scenic Trail may intermittently pass through more-
developed settings to provide for a continuous route. (Forestwide)                                                                                                                              DC deleted.

DC-CDT-9: The Continental Divide National Scenic Trail is accessible from access
points that provide opportunities to select the type of terrain, scenery, and trail              DC-CDT-3: The Continental Divide National Scenic Trail can be accessed from multiple
length, ranging from long distance to day use, that best provide for the compatible              locations, allowing visitors to select the type of terrain, scenery, and trail length (e.g.,
outdoor recreation experiences being sought. Wild and remote backcountry                         ranging from long distance to day use) that best accommodates their desired outdoor
segments of the route provide opportunities for solitude, immersion in natural                   recreation experience(s). Wild and remote backcountry segments provide opportunities
landscapes, and primitive outdoor recreation. Front-country and more easily                      for solitude, immersion in natural landscapes, and primitive outdoor recreation. Easily
accessible trail segments complement local community interests and needs and help                accessible trail segments complement local community interests and needs and help
contribute to a sense of place. (Forestwide)                                                     contribute to a sense of place. (Forestwide)                                                   Small wording changes.
DC-CDT-10: Use conflicts among Continental Divide National Scenic Trail users are
infrequent. (Forestwide)                                                                                                                                                                        DC deleted.




                                                                                                                                                                                                                                                Rvsd Plan - 00001132
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DC-CDT-11: The Continental Divide National Scenic Trail is well maintained, signed,
and passable. Alternative routes are made available in the case of temporary                    DC-CDT-4: The Continental Divide National Scenic Trail is well maintained, signed, and
closures resulting from natural events, such as fire, flood or land management                  passable. Alternative routes are made available in the case of temporary closures resulting
activities. (Forestwide)                                                                        from natural events, such as fire or flood, or land management activities. (Forestwide)         Slight wording correction.
OBJ-CDT-1: Restore or relocate two segments of the Continental Divide National                  OBJ-CDT-1: Restore or relocate one segment of the Continental Divide National Scenic Trail
Scenic Trail to improve scenic viewing opportunities and/or to provide for a                    to improve scenic viewing opportunities and/or to provide for a nonmotorized experience
nonmotorized experience. (Forestwide)                                                           over the next 15 years. (Forestwide)                                                            Objective reduced from two segments to one. Time frame of 15 years added.
S-CDT-1: The congressionally designated trail corridors are not suitable for oil and            S-CDT-1: Do not authorize development of oil and gas, geothermal energy, or other
gas or geothermal energy development, or other leasable mineral activities.                     leasable mineral resources within the Continental Divide National Scenic and the Old
(Forestwide)                                                                                    Spanish National Historic Trail corridor. (Forestwide)                                          Standard re-worded.

S-CDT-2: No common variety mineral extraction (e.g., limestone, gravel, pumice, etc.)           S-CDT-2: Do not authorize common variety mineral extraction (e.g., limestone, gravel,
shall occur on or within the congressionally designated trail corridors. (Forestwide)           pumice, etc.) within the congressionally designated trail corridors. (Forestwide)               Slight wording change.

S-CDT-3: Motorized events and motorized special use permits shall not be permitted
on nonmotorized segments of the Continental Divide National Scenic Trail.
Motorized events and special use permits could be authorized along existing
motorized trail segments not yet converted to nonmotorized use. (Forestwide)                                                                                                                    Standard deleted.

S-CDT-4: Management activities in the congressionally designated trail corridors shall
be consistent with, or make progress toward achieving, high or very high scenic
integrity objectives to protect or enhance scenic qualities. (Forestwide)                                                                                                                       Standard deleted.

G-CDT-1: To retain or promote the character for which the trail was designated, new
or relocated trail segments should be located primarily within settings consistent
with or complementing primitive or semiprimitive nonmotorized recreation
opportunity spectrum classes. To the extent possible, avoid road and motorized trail
crossings and other signs of modern development. (Forestwide)                                                                                                                                   Guideline deleted.

G-CDT-2: To protect or enhance the scenic qualities of the Continental Divide
National Scenic Trail, management activities should be consistent with, or make
progress toward achieving scenic integrity objectives of high or very high within the
foreground of the trail (up to 0.5 mile on either side). (Forestwide)                                                                                                                           Guideline deleted. Also see S-SCNY-1.
G-CDT-3: If forest-health projects result in short-term impacts to the scenic integrity
of the trail, mitigation measures should be included, such as screening to reduce               G-CDT-1: Forest health projects that result in short-term impacts the scenic integrity of the
short term impacts to the scenic integrity from management activities adjacent to               Continental Divide National Scenic Trail should apply mitigation measures, including but
the trail. (Forestwide)                                                                         not limited to screening. (Forestwide)                                                          Guideline wording simplified.
G-CDT-4: In order to promote a nonmotorized setting, the Continental Divide
National Scenic Trail should not be permanently relocated onto routes open to
motor vehicle use. (Forestwide)                                                                                                                                                                 Guideline deleted.
G-CDT-5: Provide adequate trail facilities to accommodate the amount and types of               Management approach: To provide for user safety and health, adequate trail facilities are
use anticipated on any given segment to provide for visitor health and safety.                  provided that accommodate the amount and types of use anticipated on any given trail
Facilities provided should be minimal in order to preserve or promote a setting that            segment. Minimal facilities are provided to preserve or promote a setting that appears
appears natural. (Forestwide)                                                                   natural.                                                                                        Guideline re-worded and changed to management approach.

G-CDT-6: New communication sites, utility corridors, and renewable energy sites
should not be allowed within the visible foreground (up to one-half mile) and middle­
ground viewshed (up to 4 miles) to protect the scenic values of the trail. (Forestwide)                                                                                                         Guideline deleted.
G-CDT-7: Limit linear utilities and rights-of-way to a single trail crossing unless
additional crossings are documented as the only prudent and feasible alternative.
(Forestwide)                                                                                                                                                                                    Guideline deleted.




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G-CDT-8: New temporary or permanent roads or motorized trail construction across              G-CDT-2: To provide for a naturally appearing setting while avoiding impacts from
or adjacent to the Continental Divide National Scenic Trail should be avoided unless          motorized use, no new temporary or permanent roads, or motorized trails, should be
needed for resource protection, private lands access, or to protect public health and         constructed across or adjacent to the Continental Divide National Scenic Trail, unless
safety. This provides for a naturally appearing setting while avoiding visual, aural,         needed for resource protection, private land access, or protection of public health and
and resource impacts from motorized use. (Forestwide)                                         safety. (Forestwide)                                                                            Guideline simplified and re-worded.

G-CDT-9: The use of the Continental Divide National Scenic Trail for landings or as a
temporary road for any purpose should not be allowed to provide for a naturally
appearing setting while avoiding visual, aural, and resource impacts. (Forestwide)                                                                                                            Guideline deleted.
G-CDT-10: Allow hauling or skidding along the trail only when the trail is colocated
with an open road and no other options are available. Apply design criteria to
minimize impacts to trail infrastructure. (Forestwide)                                                                                                                                        Guideline deleted.
G-CDT-11: Manage unplanned fires in the foreground (up to one-half mile) of the
trail using minimum impact suppression tactics, or other appropriate tactics, for the
protection of the congressionally designated trail values. Allow heavy equipment line
construction within the corridor only when necessary for emergency protection of
life and property. (Forestwide)                                                                                                                                                               Guideline deleted.
G-CDT-12: Manage wildfires and prescribed fires within 0.5 mile of trails using
strategies and tactics that will minimize impacts and emphasis protection of the
congressionally designated trail. (Forestwide)                                                                                                                                                Guideline deleted.
G-CDT-13: Management of the Continental Divide Trail shall comply with the most
recent version of the Continental Divide Comprehensive Plan or other current                                                                                                                  Guideline deleted. There is a reference to the Continental Divide National Scenic
direction. (Forestwide)                                                                                                                                                                       Trail Comprehensive Plan in the introduction to the CDT section.

                                                                                              SUIT-CDT-1: The Continental Divide National Scenic Trail and corridor is not suitable for oil
                                                                                              and gas or geothermal energy development or other leasable mineral activity.                    New suitability statement added, similar to S-CDT-1.
                                                                                              SUIT-CDT-2: The Continental Divide National Scenic Trail and corridor is not suitable for
                                                                                              common variety mineral extraction, including but not limited to limestone, gravel, and
                                                                                              pumice.                                                                                         New suitability statement added, similar to S-CDT-2.
MA-CDT-1: Develop appropriate measures to protect high-potential sites and
segments from deterioration due to natural forces, visitor use, vandalism, and other          Appropriate measures are developed to protect high potential sites and segments from
impacts. (Forestwide)                                                                         deterioration due to natural forces, visitor use, vandalism, and other impacts.                 Slight re-wording.

MA-CDT-2: Work to:
• Comprehensively document at least 3 miles of the congressionally designated Old
Spanish National Historic Trail
• Study one paraje (camp)
• Study one new segment that was part of the original feasibility study. (Forestwide)
                                                                                                                                                                                              MA deleted.
MA-CDT-3: Provide appropriate signage at prominent access points along the Old
Spanish National Historic Trail to enhance trail user experience and safety.                  Prominent access points along the Old Spanish National Historic trail will be signed to
(Forestwide)                                                                                  enhance user experience and safety.                                                             Slight re-wording.



                                                                                                                                                                                              MA deleted, but some language included in the introduction of this section:
                                                                                                                                                                                              The Old Spanish National Historic Trail Comprehensive Administrative Strategy
MA-CDT-4: Where applicable, follow the Old Spanish National Historic Trail                                                                                                                    (December 2017) guides management of the trail across six states and a variety
Comprehensive Management Plan in consultation with trail administrators and                                                                                                                   cf ownerships. Trail management and activities will be coordinated across and
across partner Federal agencies. (Forestwide)                                                                                                                                                 adjacent to unit and jurisdictional boundaries.




                                                                                                                                                                                                                                              Rvsd Plan - 00001134
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MA-CDT-5: Plan for, develop, maintain, and manage high potential segments, sites,
and segments under study for the Old Spanish National Historic Trail with trail                The Forest will work with trail administrators, recreation staff, volunteers, and trail
administrators, the recreation program, volunteers, and trail organizations.                   organizers to plan for, develop, maintain, and manage high potential segments, sites, and
(Forestwide)                                                                                   segments under study for the Old Spanish National Historic Trail.                                Slight re-wording.



                                                                                                                                                                                                MA deleted, but some language included in the introduction of this section:
                                                                                                                                                                                                The Old Spanish National Historic Trail Comprehensive Administrative Strategy
                                                                                                                                                                                                (December 2017) guides management of the trail across six states and a variety
MA-CDT-6: Coordinate trail management and activities for consistency across and                                                                                                                 cf ownerships. Trail management and activities will be coordinated across and
adjacent to unit and jurisdictional boundaries. (Forestwide)                                                                                                                                    adjacent to unit and jurisdictional boundaries.

MA-CDT-7: Consult with federally recognized tribal governments, appropriate                    Federally recognized tribes, appropriate Federal, State, and local agencies, and trail
Federal, state, and local agencies, and trail administrators regarding planning and            administrators will be consulted regarding planning and development activities for the Old
development activities for the Old Spanish National Historic Trail. (Forestwide)               Spanish National Historic Trail.                                                                 Slight re-wording.
MA-CDT-8: Encourage trail partners and volunteers to assist in the planning,
development, maintenance, and management of the Continental Divide National                    Consistent with the Continental Divide National Scenic Trail Comprehensive Plan, trail
Scenic Trail, where appropriate and consistent with the Continental Divide National            partners and volunteers will be encouraged to assist in the planning, development,
Scenic Trail Comprehensive Plan. (Forestwide)                                                  maintenance, and management of the trail.                                                        Slight re-wording.
MA-CDT-9: Evaluate proposed relocations or new segment locations for the
Continental Divide National Scenic Trail by using defined optimal location criteria.           Proposed relocations or new segment locations will be evaluated using defined optimal
(Forestwide)                                                                                   location criteria.                                                                               Slight re-wording.

MA-CDT-10: Identify and pursue opportunities to acquire lands or rights-of-way in or           Opportunities to acquire lands or rights-of-way in or adjacent to the Continental Divide
adjacent to the Continental Divide National Scenic Trail corridor. (Forestwide)                National Scenic Trail corridor will be identified and pursued as feasible.                       Slight re-wording. Clarified this will be done "as feasible".
MA-CDT-11: Consider how activities outside the visible foreground may affect
viewsheds and user experiences and mitigate potential impacts to the extent
possible. (Forestwide)                                                                                                                                                                          MA deleted.
MA-CDT-12: Provide consistent signage along the trail corridor at road and trail
crossings to adequately identify the trail and provide interpretive signs at key trail         Consistent signage is provided along the Continental Divide National Scenic Trail at road
entry points and limited historic and/or cultural sites to orient visitors and enhance         and trail crossings to identify the trail. Interpretive signs are provided at key entry points
the visitor experience. (Forestwide)                                                           and at historic and cultural sites to orient visitors and enhance their experience.              Slight re-wording.
MA-CDT-13: Ensure that incident commanders are aware of the Continental Divide
National Scenic Trail as a resource to be protected during wildfire suppression                During emergencies, incident management teams are made aware of the Continental
activities and clearly identify fire suppression rehabilitation and long-term recovery         Divide National Scenic Trail as a resource to be protected. Fire suppression rehabilitation
of the trail corridor as high priorities for incident commanders, Burned Area                  and long-term recovery of the Continental Divide National Scenic Trail corridor are              Re-worded and expanded to cover emergencies instead of only wildfire
Emergency Rehabilitation team leaders, and post-fire rehabilitation efforts.                   identified as high priorities for incident management teams, burned area emergency               suppression activities. Expanded to apply to teams, rather than individual
(Forestwide)                                                                                   recovery teams, and post-fire rehabilitation interdisciplinary teams.                            commanders/team leaders.

MA-CDT-14: Establish appropriate carrying capacities for specific segments of the              Over time, appropriate carrying capacities will be established for specific segments of the
Continental Divide National Scenic Trail, monitoring use and conditions, while taking          Continental Divide National Scenic Trail by monitoring use and conditions. Appropriate
appropriate management actions to maintain or restore the nature and purposes of               management actions are taken to maintain or restore the nature and purposes of the trail
the trail if the results of the monitoring or other information indicate a trend away          if the results of monitoring or other information indicate a trend away from the desired
from the desired condition. (Forestwide)                                                       conditions.                                                                                      Slight re-wording.




                                                                                                                                                                                                                                                   Rvsd Plan - 00001135
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Draft Plan                                                                                      Final Plan                                                                                      Comparison
DC-ATI-1: Areas of tribal importance that include acknowledged Traditional Cultural
Properties are present for their cultural importance and are generally free of impacts          DC-ATI-1: Acknowledged traditional cultural properties are present for their cultural
from other uses. (Forestwide)                                                                   importance and are generally free of impacts from other uses. (Forestwide)                      DC wording simplified.

DC-ATI-2: Access for tribal members is provided for the exercise of treaty rights and
to provide opportunities to practice traditional, cultural, and religious activities, such      DC-ATI-2: Access for tribal members is provided for the exercise of treaty rights and to
as plant gathering and ceremonial activities, that are essential to sustaining their way        allow opportunities to practice traditional, cultural, educational, and religious activities.   DC wording simplified, with examples deleted and "provide
of life, cultural integrity, social cohesion, and economic well-being. (Forestwide)             (Forestwide)                                                                                    opportunities" changed to "allow opportunities".
DC-ATI-3: The significant visual qualities of eligible areas acknowledged as traditional
cultural properties are preserved. (Forestwide)                                                                                                                                                 DC deleted.
DC-ATI-4: The Forest provides a setting for educating tribal youth in culture, history,
and land stewardship, and for exchanging information between tribal elders and
youth. (Forestwide)                                                                                                                                                                             DC deleted.
DC-ATI-5: Traditionally used resources, such as osha, are not depleted and are                  DC-ATI-3: Traditionally used resources are managed sustainably and are available for            Specific reference to osha deleted. "Not depleted" changed to
available for future generations. (Forestwide)                                                  future generations. (Forestwide)                                                                "managed sustainably".

G-ATI-1: Minimize restoration and recreation activities and uses, as well as the                G-ATI-1: To protect areas of tribal importance, such as areas acknowledged as traditional
development of new facilities and infrastructure, near areas of tribal importance,              cultural properties, minimize restoration and recreation activities and uses, as well as the
such as areas acknowledged as traditional cultural properties. (Forestwide)                     development of new facilities and infrastructure, near these areas. (Forestwide)                Re-worded to provide clarification on purpose of guideline.

G-ATI-2: The scenic and physical integrity of sacred sites, areas acknowledged as
Traditional Cultural Properties, or as part of an important cultural landscape, should
be retained when approving, locating, and maintaining activities, including, but not
limited to communication sites and powerlines. (Forestwide)                                                                                                                                     Guideline deleted.
MA-ATI-9: The purposeful excavation, photography, and/or destructive analysis of
human remains for educational purposes, such as research or field schools, is not               G-ATI-2: Purposeful excavation, photography, and destructive analysis of human remains,         MA changed to guideline. Wording changed to provide for
permitted. (Forestwide)                                                                         or any one of these, for educational purposes will be considered only by consulting tribes.     exception given consideration only by consulting tribes.
G-ATI-3: Adhere to and maintain the Intertribal and Interagency San Luis Valley
Native American Graves Protection and Repatriation Act Memorandum of
Understanding, first enacted in 2009. (Forestwide)                                                                                                                                              Guideline deleted.
G-ATI-4: Adhere to and maintain the Brunot Agreement(s) between the State of
Colorado, Ute Mountain, Ute, and Southern Ute Tribes. (Primitive Wilderness
Geographic Area)                                                                                                                                                                                Guideline deleted.

MA-ATI-1: Cooperatively develop interpretive and educational exhibits or other                  Management Approaches
media that focus on the history of Forest lands in collaboration with tribes to provide         Interpretive and educational exhibits and other media focusing on the history of forest
the public with a greater understanding and appreciation of our shared history,                 lands is developed in collaboration with tribes to provide the public with a greater
culture, and traditions. (Forestwide)                                                           understanding and appreciation of shared history, culture, and traditions.




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                                                                                              Management approach in cultural resources:
                                                                                              Populations of Ligusticum porteri will be mapped (see also Vegetation Management
                                                                                              section). When identifying and mapping Ligusticum porteri, consider setting aside
                                                                                              collection areas for traditional use. Use of these areas should be rotated over time.
                                                                                              Consultation will assist in identifying other plants that are important to tribes.

MA-ATI-2: When identifying and mapping for select populations of osha, consider               Management approach in the VEG section:
setting aside collection areas for tribal use that would rotate through time.                 Identify and map populations of Ligusticum porteri. Following mapping, consider setting          MA deleted in ATI section, but covered by the management
(Forestwide)                                                                                  aside collection areas for tribal use and rotate use of the areas over time.                     approaches in the cultural resources and VEG sections.
MA-ATI-3: Relationships with tribes are meaningful, built on trust, and maintained.
(Forestwide)                                                                                  The Forest maintains relationships with tribes that are meaningful and built on trust.           Slight re-wording.
                                                                                                                                                                                               MA deleted, but it is included in Appendix I - Proposed and Possible
                                                                                                                                                                                               Actions.
MA-ATI-4: Develop an interpretive and educational site to help prevent vandalism at                                                                                                            • Develop an interpretive and educational site to help prevent
the Natural Arch. (Specially Designated Geographic Area)                                                                                                                                       vandalism at the Natural Arch.

MA-ATI-5: Develop interpretive and educational site materials in concert with tribes          The Forest intends to work with tribes in developing interpretive and educational
that can aid in protecting areas of tribal importance. (Forestwide)                           materials to aid in protecting areas of tribal importance.                                       Slight re-wording.
MA-ATI-6: Determine eligibility of Mount Blanca as a traditional cultural property to
the National Register of Historic Places in partnership with interested tribes.               The Forest will partner with interested tribes in determining the eligibility of Mount Blanca
(Forestwide)                                                                                  as a traditional cultural property to the National Register of Historic Places.                  Slight re-wording.

MA-ATI-7: Work with staff from the San Luis Valley, Bureau of Land Management,                A management plan will be developed to assist in maintaining cultural values, involving
Pike-San Isabel National Forest, interested tribes, the U.S. Fish and Wildlife Service        staff from the Bureau of Land Management San Luis Valley Field Office, Pike-San Isabel
Sangre de Cristo Conservation Area, and other non-Federal partners to develop a               National Forest, interested tribes, U.S. Fish and Wildlife Service Sangre de Cristo
management plan to assist in maintaining cultural values. (Forestwide)                        Conservation Area, and other non-Federal partners.                                               Slight re-wording.
MA-ATI-8: Confidential and/or sensitive information regarding sacred sites is held in         Confidential and sensitive information, or both, regarding sacred sites is held in the
the strictest confidence. (Forestwide)                                                        strictest confidence.                                                                            Slight re-wording.
MA-ATI-10: Accommodate and facilitate traditional use of areas acknowledged as
traditional cultural properties and other culturally important places that are essential      The Forest intends to accommodate and facilitate traditional use of areas acknowledged
to maintaining the continuing cultural identity of associated communities.                    as traditional cultural properties and other culturally important places that are essential to
(Forestwide)                                                                                  maintaining the continuing cultural identity of associated communities.                          Slight re-wording.
MA-ATI-11: Coordinate with tribes to develop collaborative proposals and
partnerships to implement projects of mutual benefit and/or economic                          In coordination with tribes, develop collaborative proposals and partnerships to
development, using federally authorized or advocated programs where available.                implement projects of mutual benefit and economic development, or both, using federally
(Forestwide)                                                                                  authorized or advocated programs where available.                                                Slight re-wording.
                                                                                                                                                                                               MA deleted, but it is included in Appendix I - Proposed and Possible
                                                                                                                                                                                               Actions:
                                                                                                                                                                                               • Identify, evaluate, and protect areas acknowledged as
MA-ATI-12: Identify, evaluate, and protect areas acknowledged as traditional cultural                                                                                                          traditional cultural properties and work with associated
properties and work with associated communities to collaboratively manage areas                                                                                                                communities to collaboratively manage areas acknowledged as
acknowledged as traditional cultural properties by developing programmatic                                                                                                                     traditional cultural properties by developing programmatic
agreements, management plans, memoranda of understanding, or other                                                                                                                             agreements, management plans, memoranda of understanding, or
management tools. (Forestwide)                                                                                                                                                                 other management tools.




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MA-ATI-13: Consult with tribes at initial planning stages and project design. As          Consultation with tribes occurs at initial planning stages and during project design. As
appropriate, tribal perspectives, needs, and concerns, as well as traditional             appropriate, tribal perspectives, needs, and concerns, as well as traditional knowledge,
knowledge, should be incorporated into project design and decisions, such as areas        should be incorporated into project design and decisions, such as areas acknowledged as
acknowledged as Traditional Cultural Properties. (Forestwide)                             traditional cultural properties.                                                           Slight re-wording.




                                                                                                                                                                                                          Rvsd Plan - 00001138
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Draft Plan                                                                                        Final Plan                                                                                   Comparison
DC-AIR-1: Air quality related values over Class I wilderness areas (La Garita and
Weminuche) include but are not limited to visibility, water and snow chemistry,
precipitation and atmospheric chemistry, soil chemistry, and aquatic and terrestrial
biota. Air quality values meet or exceed state standards. (Primitive Wilderness                   DC-AIR-1: Air quality related values over Class 1 and Class II wilderness areas meet or
Geographic Area)                                                                                  exceed state standards. (Forestwide)                                                         DC-AIR-1 and DC-AIR-2 simplified and combined into one DC.

DC-AIR-2: Air quality over Class II wilderness areas (Sangre de Cristo and South San
Juan) meets or exceeds state standards with respect to pollutant concentrations to
protect human health and the integrity of associated aquatic and terrestrial                      DC-AIR-1: Air quality related values over Class 1 and Class II wilderness areas meet or
ecosystem components. (Primitive Wilderness Geographic Area)                                      exceed state standards. (Forestwide)                                                         DC-AIR-1 and DC-AIR-2 simplified and combined into one DC.
DC-AIR-3: Natural air quality conditions in nearby Class I areas, including the Great
Sand Dunes Wilderness, will be based on information provided by the Federal land
managers about the potentially impacted Class I areas. (Primitive Wilderness
Geographic Area)                                                                                                                                                                               DC deleted.
DC-AIR-4: Dust from projects is limited to reduce impacts of dust-on-snow events.
(Forestwide)                                                                                                                                                                                   DC deleted.
DC-AIR-5: The ecological footprint is minimized to promote sustainable natural
resource management and emit the lowest practicable greenhouse gas emissions.
(Forestwide)                                                                                                                                                                                   DC deleted.
DC-AIR-6: Within agency control, atmospheric deposition of nitrogen and sulfur for
lakes with an acid neutralizing capacity of at least 25 ^eq/L allows for no more than a
10-percent change from established baseline, and for lakes with an acid neutralizing
capacity of less than 25 ^eq/L allows for no more than 1 ^eq/L decrease in acid
neutralizing capacity. (Forestwide)                                                                                                                                                            DC deleted.
G-AIR-1: Use approved dust abatement measures (oils and solvents are not                          G-AIR-1: To protect water quality, oils and solvents should not be used for dust abatement
acceptable). (Forestwide)                                                                         measures. (Forestwide)                                                                       Wording improved, with clear purpose added to the guideline.

G-AIR-2: Prevent or reduce airborne nutrient and mercury deposition impacts to
sensitive high-elevation lakes in Class I wilderness areas over the life of the forest
plan; allow no detectable mercury, no more than 2 ^eq/L of ammonium, and no late
summer nitrate. (Primitive Wilderness Geographic Area)                                                                                                                                         Guideline deleted.




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Draft Plan                                                                                        Final Plan                                                                                     Comparison
DC-SOIL-1: Soil condition is satisfactory, soil functions are sustained, and soil is
functioning properly. The ability of soil to maintain resource values and sustain
outputs is high. (Forestwide)                                                                                                                                                                    DC deleted.
DC-SOIL-2: Vegetation contributes to soil conditions, nutrient cycling, and hydrologic
regimes at natural levels. (Forestwide)                                                                                                                                                          DC deleted.
DC-SOIL-3: Downed woody debris occurs at levels (amount, decay, and size) sufficient
to support soil productivity. (Forestwide)                                                                                                                                                       DC deleted.

DC-SOIL-4: Biological soil crusts are present at sustainable levels where expected
(desert, desert grasslands, pinon-juniper, and sagebrush). (Forestwide)                                                                                                                          DC deleted.
DC-SOIL-5: Soils are free of pollutants that could alter ecosystem integrity or affect
public health. (Forestwide)                                                                                                                                                                      DC deleted.

DC-SOIL-6: Occasional, intermittent, small-scale soil disturbance occurs, allowing
propagation of plant species of conservation concern, including but not limited to                DC-SOIL-1: Occasional, intermittent, small-scale soil disturbance occurs, allowing
Ripley's milkvetch, silky leaf cinquefoil, Rothrock's Townsend daisy (Forestwide)                 propagation of plant species including some species of conservation concern. (Forestwide)      Slight re-wording with specific species references deleted.



S-SOIL-1: Management activities do not create detrimental soil conditions on more
than 15 percent of an activity area. In activity areas where less than 15 percent
detrimental soil conditions exist from prior activities, the cumulative detrimental
effects of the current activity following project implementation and restoration must
not exceed 15 percent. In areas where more than 15 percent detrimental soil
conditions exist from prior activities, the cumulative detrimental effects from project           S-SOIL-1:.Manage land treatments to limit severely burned, compacted, eroded, and
implementation and restoration should not exceed the conditions prior to the planned              displaced soil to no more than 15 percent of an activity area, as described in the Watershed
activity and should move toward a net improvement in soil quality. (Forestwide)                   Condition Handbook (2509.25, Region 2 Supplement). (Forestwide)                                Standard re-worded to align with handbook direction.
G-SOIL-1: On sensitive soils (high erosion or mass movement potential), ground­
disturbing activities should be planned to maintain soil and slope stability and, where           G-SOIL-2: Maintain soil and slope stability where ground-disturbing activities on soils with
practicable, should be avoided on soils with high mass movement potential.                        high erosion rates or mass movement potential are authorized. Where practical, do not
(Forestwide)                                                                                      authorize activities on soils with high mass movement potential. (Forestwide)                  Guideline re-worded.
MA-SOIL-1: Use genetically appropriate, weed-free seed populations of native plant                Forest programs use genetically appropriate, weed-free seed mixes for revegetation to
species for revegetation efforts where technically and economically feasible.                     avoid potential for increasing nonnative invasive species or noxious weeds. Nonnative
Nonnative annuals or sterile perennial species may be used while native perennials                annuals or sterile perennial species can also be used while native perennials become           Re-worded. Revised MA makes purpose clear and deletes "where technically and
are becoming established. (Forestwide)                                                            established.                                                                                   economically feasible."

                                                                                                                                                                                                  Re-worded. Revised MA is focused on identifying and mitigating impacts to
                                                                                                  Forest programs identify and mitigate impacts to soil types that support edaphic plant          particular soil types rather than mapping them. In Appendix I - Proposed and
MA-SOIL-2: All soil types supportive of edaphic plant species of conservation concern             species of conservation concern during project implementation. These soils include volcanic     Possible Actions, it states: Map soil types that support edaphic plant species of
should be mapped. This includes volcanic substrates such as ash-tuffs, latitic lava               substrates such as ash-tuffs, latitic lava flows, rhyolite, and andesitic substrates.          conservation concern. Include volcanic substrates such as ash-tuffs, latitic lava
flows, rhyolite, and andesitic substrates; sedimentary substrates supportive of edaphic           Sedimentary substrates supportive of edaphic species include calcareous substrates such as     flows, rhyolite, and andesitic substrates. Sedimentary substrates supportive of
species include calcareous substrates such as limestone and shale. (Forestwide)                   limestone and shale.                                                                           edaphic species include calcareous substrates such as limestone and shale.
MA-SOIL-3: Project-specific best management practices and project design features
should be incorporated into land management activities as a principle mechanism for
protecting soil resources. (Forestwide)                                                           Soil resources are best protected with site-specific, project-level design and analysis.       Re-worded.
MA-SOIL-4: Following ground-disturbing activities, soil function should be restored to
the extent practicable. (Forestwide)                                                                                                                                                             MA deleted.




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Draft Plan                                                                                        Final Plan                                                                                      Comparison

DC-RNG-1: Management of domestic livestock grazing allows for the perpetuation of
natural landscape diversity (composition, structure, and function). This includes                 DC-RNG-1: Domestic livestock grazing is managed to promote landscape diversity
consideration in a spatial context (what species, what kind of structure, and what                (composition, structure, and function) with both a spatial context (what species, what kind
landscape patterns are natural by ecosystem) and a temporal context (which seral                  of structure, and what landscape patterns are natural for each ecosystem) and a temporal
stages and how may are natural by ecosystem). (Forestwide)                                        context (which seral stages and how many are natural for each ecosystem). (Forestwide)          Wording simplified/clarified.
DC-RNG-2: Forage, browse, and cover needs for wildlife and authorized livestock are               DC-RNG-2: Forage, browse, and cover needs for wildlife and authorized livestock are in
in balance with the available forage. (Forestwide)                                                balance with available forage. (Forestwide)                                                     "the" deleted.
DC-RNG-3: Rangelands sustain biological diversity and ecological processes.
(Forestwide)                                                                                                                                                                                      DC deleted. Some overlap with DC-RNG-1.
DC-RNG-4: Grazed areas trend toward slight to no departure for soil and site stability,
hydrologic function, and biotic integrity. (Forestwide)                                                                                                                                           DC deleted.
DC-RNG-5: Transitory forage on Forest lands is available for grazing within existing,
permitted allotments in coordination with other resource needs, e.g., reforestation.              DC-RNG-3: Temporary forage is available for grazing within existing, permitted allotments in
(Forestwide)                                                                                      coordination with other resource needs, e.g., reforestation. (Forestwide)                       Small wording changes.

DC-RNG-6: Range improvements on grazing allotments should support ecologically
sustainable grazing and benefits for wildlife when opportunities exist. New and                   DC-RNG-4: Range improvements support ecologically sustainable grazing and benefits for
replacement improvements are designed to benefit and allow for passage of aquatic                 wildlife when opportunities exist. New and replacement improvements are designed to
and terrestrial species. (Forestwide)                                                             benefit aquatic and terrestrial species. (Forestwide)                                           Wording clarified. "On grazing allotments" and "And allow for passage" removed.
OBJ-RNG-1: Over the planning period, prioritize and restore at least 150 acres of                                                                                                                 Time frame changed from the planning period to 15 years. Final objective is about
upland ecosystems. (Forestwide)                                                                   OBJ-RNG-1: Restore 150 acres of upland ecosystems over the next 15 years. (Forestwide)          restoring acres, not prioritizing and restoring acres.

G-RNG-1: Develop site- and species-specific vegetation use and residue guidelines                 G-RNG-1: Develop site- and species-specific vegetation use and residue guidelines during
during rangeland planning, and document them in allotment management plans. In                    rangeland planning, and document them in allotment management plans. In the absence of
the absence of updated planning or an approved allotment management plan, the                     updated planning or an approved allotment management plan, the utilization and residue
utilization and residue guidelines in Table 3 and Table 4 will apply. (Forestwide)                guidelines in Table 1 and Table 2 will apply. (Forestwide)                                      Numbering of tables referenced updated.

G-RNG-2: Phase out grazing systems that allow for livestock use in an individual unit             G-RNG-2: Authorized grazing should not occur on an individual unit for the entire vegetative-
during the entire vegetative-growth period, except where determined to achieve or                 growth period. This would be acceptable when the grazing system involves complete rest
maintain the desired plant community. (Forestwide)                                                for that unit for two or more years after a full growing season treatment. (Forestwide)         Re-worded and exception to guideline changed.

G-RNG-3: Allow livestock use of riparian management zones as long as use is in                    G-RNG-3: Authorized grazing in riparian management zones and groundwater dependent
compliance with residual stubble heights identified in Forest Service Technical Report            ecosystems should be in compliance with residual stubble heights identified in Forest
INT 263 Managing Grazing of Riparian Areas in the Intermountain Region (Clary and                 Service Technical Report INT-263, Managing Grazing of Riparian Areas in the Intermountain       Wording changes with edits to include groundwater dependent ecosystems and
Webster 1996), or more recent research. (Forestwide)                                              Region (Clary and Webster 1996). (Forestwide)                                                   deletion of the reference to more recent research.
                                                                                                  G-RNG-4: Authorized grazing in aspen stands should ensure sprouting and sprout survival to
G-RNG-4: Grazing in aspen stands should ensure sprouting and sprout survival                      perpetuate the long-term persistence of the clones, unless elimination of the clone is          Small wording changes and exception for when elimination of the clone is planned
sufficient to perpetuate the long-term persistence of the clones. (Forestwide)                    planned. (Forestwide)                                                                           added.
G-RNG-5: Minimize controlled driving of permitted livestock in designated wilderness.
(Primitive Wilderness Geographic Area)                                                                                                                                                            Guideline deleted.
                                                                                                  SUIT-RNG-1: Grazing in national forest wilderness areas is authorized by the Congressional
                                                                                                  Grazing Guidelines (§108, P.L. 96-560, H.R. Report 96-617 dated 11/14/79). Grazing
                                                                                                  authorizations would be included as part of any legislation on Management Area 1.1a,
                                                                                                  Recommended Wilderness. However, the acres of recommended wilderness are not
                                                                                                  currently grazed.                                                                               Suitability statement added.




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MA-RNG-1: After all other solutions have been extensively considered, remove                       Management Approaches
livestock from the grazing unit or allotment when further utilization on key areas will            When allowable-use criteria, allotment management plan guidance, or annual operating
exceed allowable-use criteria, allotment management plan guidance, or annual                       instructions have been exceeded, all other solutions are extensively considered before
operating instructions. Damage from use can result from many things including but                  removing livestock from the grazing unit or allotment. Damage from allowable use can
not limited to wildlife, recreation, flooding, and livestock grazing, none of which                result from many other factors including but not limited to flooding, recreation, and
should push the use beyond what is allowed. (Forestwide)                                           wildlife. None of these other factors should push use beyond what is allowed.                  Small wording changes.
MA-RNG-2: Rangelands are managed to provide a wide variety of benefits, including
forage for livestock and wildlife, a diversity of plant and animal communities, and high           Rangelands are managed to provide a wide variety of benefits, including forage for livestock
yield of high-quality water. (Forestwide)                                                          and wildlife, a diversity of plant and animal communities, and high-quality water.             Slight re-wording.
                                                                                                   Grazing administration will discourage livestock use in openings created by fire or timber
MA-RNG-3: Discourage livestock use in openings created by fire or timber harvest that              harvest that would delay successful regeneration of the shrubs and trees, and in sensitive     Revised MA has additional language surrounding livestock use in sensitive
would delay successful regeneration of the shrub and tree components. (Forestwide)                 riparian, wetland, and spring ecosystems.                                                      riparian, wetland, and spring ecosystems.
MA-RNG-4: Rangelands are managed to provide a variety of benefits, including forage
for livestock and wildlife, a diversity of plant and animal communities, and high yields           Rangelands are managed to provide a wide variety of benefits, including forage for livestock
of high quality water. (Forestwide)                                                                and wildlife, a diversity of plant and animal communities, and high-quality water.             Slight re-wording.

MA-RNG-5: Work with cooperators, partners, and permittees to prioritize and restore                Work is coordinated with cooperators, partners, and permittees to prioritize and restore
upland ecosystems and rebuild important structural improvements. (Forestwide)                      upland ecosystems and rebuild important structural improvements.                               "is coordinated" added.
                                                                                                   Allotments may be vacated but are generally not closed except in extreme circumstances
                                                                                                   and conditions.                                                                                Management approach added.




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Draft Plan                                                                                           Final Plan                                                                                       Comparison
                                                                                                                                                                                                      Exact management approach was deleted, but covered by other management
MA-INDS-1: Consider potential insect and disease outbreaks so that management                                                                                                                         approach - "Integrated pest management techniques are employed to meet
activities can be designed to meet or enhance resource objectives. (Forestwide)                                                                                                                       resource objectives."
MA-INDS-2: Manage vegetation in high-use recreation areas to ensure public safety
and to improve forest health, as needed to maintain or improve the desired
recreational setting(s). (General Forest Geographic Area, Roadless Geographic Area,                  Vegetation in high-use recreation areas is managed to ensure public safety and improve           Small wording changes. Revised language refers to being in alignment with the
Specially Designated Geographic Area)                                                                forest health in alignment with the desired recreational setting.                                desired recreational setting, rather than maintaining or improving it.

MA-INDS-3: Use integrated pest management techniques, including silvicultural
treatments, to meet resource objectives. Treatment activities will be based on values                Integrated pest management techniques are employed to meet resource objectives.
of, and risks to, adjacent private lands, as well as public land. Priority should be given           Treatment activities consider the values present and risks to adjacent lands, both public and
to areas in which values to be protected exceed the cost of protection. (For example,                private. Priority is given to areas where value to be protected exceeds the costs of
adjacent to subdivisions, recreation sites, or areas of concentrated public use.)                    protection. An example is recreation sites or areas of concentrated public use that are
(General Forest Geographic Area, Specially Designated Geographic Area)                               adjacent to subdivisions.                                                                        Small wording changes.
MA-INDS-4: Design project activities to minimize the risks of spreading existing
infestation, while still providing habitat for those wildlife species dependent on the               Project activities are designed to minimize the risk of spreading existing infestations, while
presence of insects and disease. (General Forest Geographic Area, Specially                          still providing habitat conditions for wildlife and plant species dependent on the presence of
Designated Geographic Area)                                                                          insects and disease.                                                                             Slightly re-worded.




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Draft Plan                                                                                          Final Plan                                                                                     Comparison
DC-NNIS-1: Populations of aquatic and terrestrial nonnative invasive species do not
occur or are low in abundance. Those that do occur do not disrupt ecosystem                         DC-NNIS-1: Populations of aquatic and terrestrial nonnative invasive species do not occur or
function. (Forestwide)                                                                              are low in abundance. Those that do occur do not disrupt ecosystem function. (Forestwide)      No change.
DC-NNIS-2: Native ecosystems are self-sustaining and resistant to invasion by
nonnative invasive species and/or provide habitat for a broad range of species.                     DC-NNIS-2: Native ecosystems are resilient to invasion by nonnative invasive species.          DC changed - removed "self-sustaining", changed "resistant" to "resilient", and
(Forestwide)                                                                                        (Forestwide)                                                                                   deleted " and/or provide habitat for a broad range of species".
OBJ-NNIS-1: Within 10 years of plan approval, reduce terrestrial or aquatic nonnative               OBJ-NNIS-1: Reduce terrestrial or aquatic nonnative invasive species on 5,000 acres over       Timeframe on objective changed from 10 years to 15 years, changed amount from
invasive species on 300 acres. (Forestwide)                                                         the next 15 years. (Forestwide)                                                                300 acres to 5,000 acres.

G-NNIS-1: To reduce and control aquatic nuisance species during wildland fire
operations, as practicable, follow guidelines and best management practices put
forward in Guide to Preventing Aquatic Invasive Species Transport by Wildland Fire
Operations (National Wildfire Coordinating Group 2017). (Forestwide)                                                                                                                               Guideline deleted.
                                                                                                    Management Approaches
                                                                                                    The risk of introducing and spreading nonnative plant and animal species and noxious
                                                                                                    weeds is minimized for all activities, as appropriate. The spread of nonnative invasive
MA-NNIS-1: Reduce and control nonnative and noxious plants Forestwide, with                         species and noxious weeds is mitigated in places where these species are already present.
priority given to research natural areas and designated wilderness. Determine the risk              Special designated areas, including roadless and wilderness areas, will generally be
of nonnative/noxious weed introduction and spread to all proposed projects and                      prioritized for treatment.                                                                     Wording clarified and improved. Priority given to special designated area, not just
activities and implement appropriate mitigation measures. (Forestwide)                                                                                                                             research natural areas and designed wilderness.

                                                                                                    Information from key partners, including the Colorado Department of Agriculture, will be
                                                                                                    incorporated into the Invasive Species Action Plan, which identifies priority species,
                                                                                                    inventory and monitoring, and tools and techniques to address nonnative invasive species.      MA added.

MA-NNIS-2: Coordinate with Colorado Parks and Wildlife staff to reduce the potential                Continued coordination and cooperation with Colorado Parks and Wildlife helps reduce the
for introduction and/or control the spread of aquatic invasive species by recreational              potential to introduce, and to control the spread of, aquatic invasive species. Effective
users of Forest waters by promoting effective prevention and control measures for                   prevention and control methods for aquatic nuisance species are shared with fishermen,
aquatic nuisance species. (Forestwide)                                                              rafters, and other water recreational users.                                                   MA Re-worded.
MA-NNIS-3: Prioritize treatment of cheatgrass among, in, or near sage-grouse habitat.
(Forestwide)                                                                                                                                                                                       MA deleted.
MA-NNIS-4: Mitigate conduits for introductions of nonnative invasive species.
(Forestwide)                                                                                                                                                                                       MA deleted.
                                                                                                    Project implementation minimizes the extent of areas affected by existing populations and
MA-NNIS-5: Areas affected by existing populations, and new introductions, of                        reduces the chance of introducing new species. Timely and effective revegetation of
nonnative invasive species are minimized through project implementation.                            disturbed sites provides protection of soil and water resources that cannot be restored        MA-NNIS-5 and MA-NNIS-6 combined into one management approach. MA re­
(Forestwide)                                                                                        naturally.                                                                                     worded.
                                                                                                    Project implementation minimizes the extent of areas affected by existing populations and
                                                                                                    reduces the chance of introducing new species. Timely and effective revegetation of
MA-NNIS-6: Timely and effective revegetation of disturbed sites provides protection                 disturbed sites provides protection of soil and water resources that cannot be restored        MA-NNIS-5 and MA-NNIS-6 combined into one management approach. Small
to soil and water resources that cannot be restored naturally. (Forestwide)                         naturally.                                                                                     grammatical correction.
                                                                                                    All biological, cultural, and chemical tools are available to reduce or control nonnative
                                                                                                    invasive species and noxious weeds. Technological advances are incorporated into
MA-NNIS-7: All available biological, cultural, and chemical tools are available to reduce           management practices when shown to be equivalent to, or more effective than, existing          Added reference to noxious weeds. Added second sentence regarding
and control nonnative invasive species.                                                             treatments.                                                                                    technological advances.




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Draft Plan                                                                                     Final Plan                                                                                    Comparison
DC-WLDF-1: Habitat conditions are suitable for all resident and migratory birds and
accommodate key life history requirements, such as resting in stop-over habitats,              DC-WLDF-1: Habitat conditions are suitable for resident and migratory birds and               DC simplified, with "all" and "such as resting in stop-over habitats, and nesting."
and nesting. (Forestwide)                                                                      accommodate key life history requirements. (Forestwide)                                       deleted.
DC-WLDF-2: Habitat conditions for bats, including species of conservation concern,             DC-WLDF-2: Habitat conditions for bats are suitable for reproduction and roosting.
are suitable for reproduction and roosting. (Forestwide)                                       (Forestwide)                                                                                  DC simplified, with "including species of conservation concern" deleted.

DC-WLDF-3: Sufficient habitat connectivity is present in each vegetation type to
facilitate species movement within and between daily home ranges, for seasonal                 DC-WLDF-3: Habitat connectivity is provided for to facilitate species movement within and
movements, for genetic interchange among species (including Canada lynx and                    between daily home ranges, for seasonal movements, for genetic interchange, and for
others), and for long-distance movements across boundaries. (Forestwide)                       long distance movements across boundaries. (Forestwide)                                       DC re-worded and simplified.

DC-WLDF-4: Habitat conditions provide the quantity, quality, and spatial                       DC-WLDF-4: Winter range habitat conditions provide the quantity, quality, and spatial
arrangement of forage, cover, and security needed to support mutually desired                  arrangement of forage, cover, and security needed to support population objectives for
population objectives for mule deer, Rocky Mountain elk, pronghorn, and Rocky                  mule deer, pronghorn, Rocky Mountain bighorn sheep, and Rocky Mountain elk.
Mountain bighorn sheep on mapped winter range. (Forestwide)                                    (Forestwide)                                                                                  DC re-worded, with "mutually desired" deleted.
DC-WLDF-5: Security habitat for big game species in winter range is provided.
Motorized and nonmotorized route travel, on and off existing roads, does not                   DC-WLDF-5: Motorized and nonmotorized route travel, on and off existing roads, does not
negatively affect ecological conditions necessary to maintain viable populations of            negatively affect ecological conditions necessary to maintain population objectives for big   First part of DC regarding security habitat deleted. In second part, "viable
species. (Forestwide)                                                                          game species. (Forestwide)                                                                    populations of species" changed to "population objectives for big game species."

DC-WLDF-6: Habitat conditions promote the prevention and control of wildlife-
related pathogens and diseases, such as chronic wasting disease. (Forestwide)                                                                                                                DC deleted.
DC-WLDF-7: Wood legacies, including snag components, occur in adequate numbers,
distribution, and patterns to contribute to landscape connectivity, particularly in
spruce-fir forests highly influenced by spruce beetle outside of developed recreation
sites. (Forestwide)                                                                                                                                                                          DC deleted.

DC-WLDF-8: Manage northern goshawk nesting territories on the basis of nest site,
post-fledging, and foraging area needs. Nest site buffers should encompass 25-30
acres and post-fledging areas 420 acres, with considerations for surrounding foraging
habitat. Refer to Table 24 in Appendix G. (Forestwide)                                                                                                                                       DC deleted.
                                                                                               DC for MA 5 - General Forest and Rangelands - Prescribed road densities of 1 mile per
DC-WLDF-9: Maintain road density of 1.5 miles/per square mile or less in winter                square mile provide for critical wildlife needs, in areas used for winter concentration,      DC deleted but similar direction found in the desired conditions for management
concentration areas, winter range, calving areas, and transition habitat. (Forestwide)         critical winter range, calving areas, and transition habitat.                                 area 5 - General Forest and Rangelands.

DC-WLDF-10: Where possible, retain public ownership of wildlife travelways adjacent
to public highways, or where public lands are identified as a key component in
maintaining the integrity of seasonal movements by wildlife. (Forestwide)                                                                                                                    DC deleted.
DC-WLDF-11: Maintain habitat components of size, quality, and spatial extent
necessary on the landscape to provide for connectivity of movement between
seasonal habitats (i.e., wildlife travelways) as identified and mapped by Colorado
Parks and Wildlife or other science-based partners (e.g., Colorado Natural Heritage
Program). (Forestwide)                                                                                                                                                                       DC deleted.

DC-WLDF-12: Maintain dense, interior riparian willow habitat where needed for
maintenance of suitable nesting habitat conditions for veery and other ground or                                                                                                             DC re-worded and simplified. Last sentence of DC - "Avoid or limit activities that
low-level shrub-nesting riparian species. Avoid or limit activities that increase edge         DC-WLDF-6: Suitable nesting habitat for ground-nesting or low-level shrub-nesting birds is    increase edge habitat and contribute to impacts from cowbird nest parasitism" -
habitat and contribute to impacts from cowbird nest parasitism. (Forestwide)                   provided by dense, interior riparian willow habitat. (Forestwide)                             was deleted.




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DC-WLDF-13: Implement management to restore and improve habitat quality on
important bighorn sheep lambing areas, winter concentration areas, migratory
routes, and movement areas to reduce the potential for disease transmission from
domestic sheep. (Forestwide)                                                                                                                                                                  DC deleted.
OBJ-WLDF-1: Over the planning period, develop and interpret at least one location                OBJ-WLDF-1: Develop and interpret at least one location identified in the Colorado Birding
identified in the Colorado Birding Trail. (Forestwide)                                           Trail over the next 15 years. (Forestwide)                                                   Time frame changed from "over the planning period" to "over the next 15 years".

                                                                                                 Management approach - Bat habitat needs are addressed through the Abandoned Mine
                                                                                                 Lands program. Maintain existing partnerships and seek additional partners for adequate
                                                                                                 underground assessments, as possible, prior to closure. Ensure access for bats and reduce
OBJ-WLDF-2: Evaluate the abandoned mine lands program annually to consider at                    disturbance to resident populations when closing caves and mines. When maintaining or
least one project. Maintain existing partnerships and seek additional partners for               removing facilities or bridges, assess for potential bat roost activity. Schedule work to
adequate underground assessments, as possible, prior to closure. (Forestwide)                    reduce impacts to roosting bats.                                                             Objective deleted, but language is included in a wildlife management approach.
OBJ-WLDF-3: Use vegetation management and habitat improvements, including
prescribed fire, to help achieve and maintain big game winter habitat objectives on              OBJ-WLDF-2: Maintain or improve an average of 500 acres of big game winter habitat
about 500 acres per year. (Forestwide)                                                           annually over the next 15 years. (Forestwide)                                                Objective re-worded and simplified.

S-WLDF-1: Avoid or minimize disturbances as much as possible during the local
nesting season (April 15 - July 1 for most passerine birds). Evaluate the effects of
projects and activities on migratory and resident birds, with a focus on species of
management concern (species of conservation concern, and birds of conservation
concern identified by the U.S. Department of Interior Fish and Wildlife Service).
Consider important life history needs such as nesting requirements, post-fledging
areas, and stop-over habitats. Incorporate conservation measures and principles, as
applicable and needed, from local bird conservation plans (e.g., Colorado Bird
Conservation Plan, Rio Grande National Forest Avian Monitoring Analysis
documents) and/or other references into project design to eliminate or minimize
potential adverse effects. (Forestwide)                                                                                                                                                       Standard deleted.

S-WLDF-2: Mitigate disturbance to bat habitat and reduce the potential for the
introduction of pathogens, such as the fungus that causes white-nose syndrome, by
adhering to current regional guidance regarding disease prevention, pathogen
management, human access management, and protocols for decontamination
requirements, monitoring, etc. (Forestwide)                                                                                                                                                   Standard deleted.

S-WLDF-3: Provide security habitat in winter range, winter concentration areas,
severe winter range, and lambing areas during big game primary use seasons from
December 1 to March 31. Employ access restrictions and seasonal closures as
necessary. Dates may vary depending upon variations in winter use. (Forestwide)                                                                                                               Standard deleted.

S-WLDF-4: Activities, including alteration of vegetation, that may alter the suitability
of the cave or mine should not occur within 500 feet of the entrance of bat swarming
sites, hibernacula, and maternity sites, unless to rehabilitate or maintain the
suitability of the site or install mine safety closures. (Forestwide)                                                                                                                         Standard deleted.
S-WLDF-5: Do not allow management activities to impact selected sites occupied by
bats during the following periods:
• Maternity sites (April 1 to October 1)
• Swarming sites (August 15 through October 15, 30 minutes before sunset to 30
minutes after sunrise)
• Winter hibernaculum (November 1 to April 1). (Forestwide)
                                                                                                                                                                                              Standard deleted.




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S-WLDF-6: Retain residual grass cover from the previous growing season where tall,
dense cover is desired for ground-nesting birds. (Forestwide)                                                                                                                                     Standard deleted.
S-WLDF-7: Manage livestock grazing from April 15 to July 1 provide cover for ground
nesting bird species that prefer undisturbed cover. (Forestwide)                                                                                                                                  Standard deleted.
S-WLDF-8: Limit disturbance, including but not limited to rock climbing and use of
unmanned aerial systems, within one-half mile of:
• Active peregrine and prairie falcon nest sites from April 15 to July 31, to maintain
nest site integrity.                                                                           S-WLDF-1: Do not allow rock climbing within one-half mile of active peregrine and prairie
• Active golden eagle nest sites from December 15 to July 31. (Forestwide)                     falcon nest sites generally from April 15 to July 31 and active golden eagle nest sites            Standard re-worded and changed to only limit rock climbing, and not other
                                                                                               generally from December 15 to July 31. (Forestwide)                                                disturbances such as unmanned aerial systems.

S-WLDF-9: Maintain screening cover to minimize disturbance and harassment of deer
and elk along open roads and around openings on the basis of site conditions. Design
screening cover design consistent with the disturbance regime characteristics of the
forest cover type it is occurring in. (Forestwide)                                                                                                                                                Standard deleted.
S- WLDF-10: Maintain effective separation to minimize the risk of disease
transmission between domestic sheep and bighorn sheep on active grazing                        S-SCC-1: Maintain effective separation of domestic sheep and bighorn sheep on active
allotments. Effective separation is defined as spatial or temporal separation between          grazing allotments to reduce the likelihood and risk of disease transmission. Effective            Standard moved from wildlife section to SCC section. Small wording changes.
bighorn sheep and domestic sheep, resulting in minimal risk of contact and                     separation is defined as spatial or temporal separation between bighorn sheep and                  "minimize the risk of disease transmission" changed to "reduce the likelihood
subsequent transmission of respiratory pathogens between animal groups.                        domestic sheep, resulting in minimal risk of contact and subsequent transmission of                and risk of disease transmission".
(Forestwide)                                                                                   respiratory pathogens between animal groups. (Forestwide)
S-WLDF-11: Mitigate adverse impacts from projects, activities, and uses to bighorn
sheep production areas that may result in disturbance or displacement of bighorn                                                                                                                  Standard moved from wildlife section to SCC section. Re-worded to focus on not
sheep during the critical reproductive period (generally April 15 to July 1).                  S-SCC-2: Do not authorize projects that will result in displacement of bighorn sheep during        authorizing projects instead of mitigating adverse impacts from projects,
(Forestwide)                                                                                   their reproductive period (generally April 15 to July 1). (Forestwide)                             activities, and uses.

S-WLDF-12: Do not authorize actions that reduce the effective use of habitat on                                                                                                                   Standard changed to guideline. Purpose clarified. Areas of application changed
severe winter range and winter concentration areas between approximately                       G-WLDF-1: To reduce stress at a critical point in the lifecycle of big game, restrict activities   from "severe winter range and winter concentration areas" to "winter range".
November 1 and April 15. (Forestwide)                                                          on winter range from approximately December 1 to March 31, as needed. (Forestwide)                 Date range changed from Nov 1 thru April 15 to Dec 1 thru March 31.
S-WLDF-13: Prohibit the use of recreational pack goats in the Sangre de Cristo
Mountains to eliminate potential interactions between pack goats and bighorn                   S-SCC-3: Prohibit the use of recreational pack goats in the Sangre de Cristo Mountains to
sheep. (Forestwide)                                                                            eliminate potential interactions between pack goats and bighorn sheep. (Forestwide)                Standard moved from wildlife section to SCC section.
S-WLDF-14: Maintain effective separation between domestic goats used for                       S-SCC-4: Maintain effective separation between domestic goats used for vegetation
vegetation management and bighorn sheep to minimize risk of contact between                    management and bighorn sheep to reduce the likelihood of contact between animal                    Standard moved from wildlife section to SCC section. Small wording change from
animal groups. (Forestwide)                                                                    groups. (Forestwide)                                                                               "to minimize risk of contact" to "to reduce the likelihood of contact".
G-WLDF-1: Inventory and protect known active raptor nests and nest areas from
disturbance, including owl species. Protect inactive nests as needed depending upon
nest condition, time since last use, and species potential for nest reuse. Refer to
Appendix G for timing considerations and other factors for local raptor species.               When raptors are known to occur in a project area, consult the Colorado Parks and                  Guideline and Appendix B/Design Features for Raptors deleted and replaced with
(Forestwide)                                                                                   Wildlife raptor guidance.                                                                          a new management approach.
G-WLDF-2: In alpine and subalpine willow-dominated riparian areas that provide
winter habitat for white-tailed ptarmigan and snowshoe hare:
• Ensure that heavy metals that enter the food chain do not bioaccumulate above
historically occurring background levels.
• Ensure that areas of contamination do not become limiting factors for wildlife
population.
• Discourage winter recreation and summer vegetation management activities near
timberline that would impact winter habitat. (Forestwide)
                                                                                                                                                                                                  Guideline deleted.




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                                                                                               Bat habitat needs are addressed through the Abandoned Mine Lands program. Maintain
                                                                                               existing partnerships and seek additional partners for adequate underground
                                                                                               assessments, as possible, prior to closure. Ensure access for bats and reduce disturbance
                                                                                               to resident populations when closing caves and mines. When maintaining or removing
MA-WLDF-1: Human safety and bat habitat needs are addressed through                            facilities or bridges, assess for potential bat roost activity. Schedule work to reduce        Management approach expanded/combined with other MAs, though with
implementation of the abandoned mine lands program. (Forestwide)                               impacts to roosting bats.                                                                      "human safety" deleted.

MA-WLDF-2: Pathogens that could cause mortality to bats are detected early and                 Maintain an early detection program for white-nose syndrome in bats. Follow guidance
management is coordinated with Colorado Parks and Wildlife and other partners.                 from the Forest Service Rocky Mountain Regional Office, and continue to coordinate with
(Forestwide)                                                                                   partners and other agencies to protect bats from white-nose syndrome.                          Draft MA re-worded.
MA-WLDF-3: Habitat management for bats is consistent with recommendations from
the Colorado Bat Working Group and the Colorado Bat Conservation Plan.
(Forestwide)                                                                                                                                                                                  Management approach deleted.

MA-WLDF-4: Annual collaboration with staff from Colorado Parks and Wildlife and
other partners ensures that all desired prairie dog colonies receive dusting and/or
vaccinations for plague as needed for maintenance of the colonies. (Forestwide)                                                                                                               Management approach deleted.

MA-WLDF-5: Priority habitats and priority species, as described in the Colorado Bird           Provide a focus on bird conservation by increasing the number of Naturewatch viewing
Conservation Plan, are integrated into management activities on the Forest, as                 sites, and participate in International Migratory Bird Day activities. Consider habitats and
applicable to site-specific conservation needs. (Forestwide)                                   species described in the Colorado Bird Conservation Plan into management activities.           Management approach reworded and combined with another MA.

                                                                                                                                                                                              MA deleted, but reference to continuing to support avian monitoring mentioned
                                                                                                                                                                                              in the following MA:
                                                                                                                                                                                              Continue to participate and support, within the fiscal capacity, recovery and
                                                                                                                                                                                              conservation efforts including but not limited to: conservation agreements for
MA-WLDF-6: Continue to provide support for existing avian monitoring activities                                                                                                               Rio Grande cutthroat trout (RGCTCT 2013), Rio Grande chub and Rio Grande
through the Integrated Monitoring in Bird Conservation Regions Program with the                                                                                                               sucker (RGCSCT 2018), fens, pollinators, Uncompahgre fritillary butterfly, bats,
Bird Conservancy of the Rockies with a goal of providing valid trend data for                                                                                                                 watershed condition priorities, prairie dogs, avian monitoring and conservation,
applicable threatened, endangered, proposed, candidate, and species of                                                                                                                        bighorn sheep, snow willow and alpine conservation, boreal toad, and unique
conservation concern and priority bird species. (Forestwide)                                                                                                                                  and rare plant communities.

                                                                                               Provide a focus on bird conservation by increasing the number of Naturewatch viewing
MA-WLDF-7: Increase the number of Naturewatch viewing sites that focus on bird                 sites, and participate in International Migratory Bird Day activities. Consider habitats and
conservation; participate in events for International Migratory Bird Day. (Forestwide)         species described in the Colorado Bird Conservation Plan into management activities.           Management approach reworded and combined with another MA.

MA-WLDF-8: Establish a maintenance program for existing bat gates. (Forestwide)                                                                                                               Not a MA, but listed in Appendix I - Proposed and Possible Actions.

MA-WLDF-9: Use vegetation management and habitat improvement strategies,
including but not limited to prescribed fire, thinning, building stock ponds, and
guzzler placement, to help achieve and maintain desired conditions for big game
winter habitat (Management Area 5.41). (Forestwide)                                                                                                                                           MA deleted.

MA-WLDF-10: The Forest intends to increase education and awareness of potential
disease transmission between recreation pack goats and bighorn sheep at entry
points into areas known or suspected to be used by bighorn sheep. (Forestwide)                                                                                                                MA re-worded and moved to SCC section.

MA-WLDF-11: In coordination with Colorado Parks and Wildlife and other partners,
continue to asses Forest bighorn sheep populations to understand overall population                                                                                                           MA deleted. Assessing the status and trend of populations of bighorn sheep
status and inform effectiveness of management actions to support the persistence of                                                                                                           populations are a part of monitoring question 1 (MQ1), with data sources listed
bighorn sheep on the Forest. (Forestwide)                                                                                                                                                     as Colorado Parks and Wildlife and Partnership Engagement.




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MA-WLDF-12: Discourage recreational activities that disturb bighorn sheep,
particularly around primary use or reproduction areas. (Forestwide)                                                                                                                        MA deleted.

MA-WLDF-13: Separation response plans should be developed for grazing allotments
determined to have high or moderate risk of contact between domestic sheep and
bighorn sheep. Plans should include a process, protocols, and timelines for
communication and subsequent management action when intervention is needed to
respond to observed or reported interaction between bighorn sheep and domestic
sheep. Plans should be developed cooperatively with the permittees/lessees,
Colorado Parks and Wildlife, tribes, and other affected Federal agencies or units.
Plans should be developed as part of an adaptive management framework that
integrates monitoring information, management activities, and the best available
scientific information. (Forestwide)                                                                                                                                                       MA deleted.
MA-WLDF-14: The Forest intends to observe and report recreational pack goat use
where it might overlap known bighorn sheep range. (Forestwide)                                                                                                                             MA deleted.
MA-WLDF-15: Continued cooperation with partners, support for investigative
research of alpine habitats on the Forest, including snow willow communities, in
regards to potential influences of fluctuations of temperature, frequency, and timing
of weather events. (Forestwide)                                                                                                                                                            MA deleted.

MA-WLDF-16: Provide educational materials and outreach regarding chytrid fungus
to the public and internally. Explore the need to implement decontamination
procedures for all activities within or near sites known to be positive for chytrid
fungus to protect boreal toads and other amphibians. (Forestwide)                                                                                                                          MA moved to SCC section.

MA-WLDF-17: Agency actions should avoid or otherwise mitigate adverse impacts in
unique or rare plant community types that have a biodiversity significance ranking of          Agency actions consider impacts to unique or rare plant community types, particularly
B1 (outstanding) or B2 (very high) (Colorado Natural Heritage Program), or in                  those with a biodiversity significance ranking of B1 (outstanding) or B2 (very high)
riparian area and wetland ecosystems that have plant communities with G1, G2, S1,              according to the Colorado Natural Heritage Program. In riparian areas and wetland
or S2 NatureServe plant community conservation status ranks, to maintain the                   ecosystems containing plants with G1, G2, S1, or S2 NatureServe plant community
ecological integrity of those rare plant communities. (Forestwide)                             conservation ranks, consider impacts to maintain the ecological integrity.                  MA re-worded.
MA-WLDF-18: Ensure access for bats and reduce disturbance to resident populations              G-SCC-5: To maintain habitat for bat species of conservation concern, retain adequate
when considering mine or cave closures. Exclude bats from the site prior to closure            access for bats and reduce disturbance to resident populations when considering mine or
when closing mines. (Forestwide)                                                               cave closures. (Forestwide).                                                                MA changed to a guideline - see G-SCC-5.
MA-WLDF-19: When feasible, pursue formal mineral withdrawal of abandoned mine
sites necessary for conservation of bat species on the species of conservation
concern list. (Forestwide)                                                                                                                                                                 MA deleted.
                                                                                               Bat habitat needs are addressed through the Abandoned Mine Lands program. Maintain
                                                                                               existing partnerships and seek additional partners for adequate underground
MA-WLDF-20: Assess for potential bat roost activity when maintaining or removing               assessments, as possible, prior to closure. Ensure access for bats and reduce disturbance
facilities or bridges. Schedule work to reduce impacts to roosting bats and                    to resident populations when closing caves and mines. When maintaining or removing
incorporate features specific to this use as necessary or as separate wildlife habitat         facilities or bridges, assess for potential bat roost activity. Schedule work to reduce
improvement projects. (Forestwide)                                                             impacts to roosting bats.                                                                   MA re-worded/combined with similar MAs.
MA-WLDF-21: Locate and design wind energy structures to minimize or prevent
wildlife mortality. (Forestwide)                                                                                                                                                           MA deleted.

MA-WLDF-22: Manage off-road travel on big game winter range areas, including over-             S-MA5-1: Off-road travel, including over-the-snow travel, is not allowed on big game
the-snow track machines, during the primary use seasons for big game. Exceptions               winter range areas during the primary use seasons for big game (December 1 - April 15).
may be authorized under special use permit. (Forestwide)                                       Exceptions may be allowed under contract or special use authorizations.                     MA deleted, but there is a standard for MA 5 - General Forest and Rangelands.
MA-WLDF-23: Design management activities to provide forage and cover across the
landscape to sustain ungulate populations and to support state population                      Management approach in management area 5 - Manage forage and cover across the               Forestwide MA deleted, but there is a management approach for MA 5 - General
objectives. (Forestwide)                                                                       landscape to sustain ungulate populations and support population objectives.                Forest and Rangelands.




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MA-WLDF-24: Maintain habitat components necessary to provide for connectivity of
seasonal habitats as mapped by Colorado Parks and Wildlife. (Forestwide)                                                                                                                      MA deleted.

MA-WLDF-25: Retain large, unique, legacy trees where feasible. (Forestwide)                                                                                                                   MA deleted.

MA-WLDF-26: Review direction for consistency when new recovery plans,
conservation agreements, conservation strategies, critical habitat designations, or
regional management directions for threatened, endangered, or sensitive species are
prepared. Use the appropriate authorities to incorporate new direction. (Forestwide)                                                                                                          MA deleted.

MA-WLDF-27: Identify and assess habitat connectivity needs at various spatial scales
when conducting forest management activities at the project level, as necessary, on
the basis of existing landscape patterns and local species concerns. Use a nesting of          Existing landscape patterns and local species concerns are used to identify and assess
hydrologic unit codes at the scale(s) necessary to assess connectivity patterns (e.g.,         habitat connectivity at various spatial scales during design and analysis of forest
8th-level hydrologic unit codes or smaller). Identify and use key stream zones and             management activities. A nest of hydrologic unit codes is used at various scales to assess
topographic features to help facilitate movement across broader landscapes.                    connectivity patterns. Stream zones and topographic features are identified and used to
Movement zones of 400 to 600 feet in width may be sufficient to facilitate                     facilitate movement across the landscape. These areas serve multiple purposes, including
movement for most local species of conservation concern, including large predators,            providing aquatic and terrestrial habitat connectivity and areas for species movement in
in most landscape conditions. (Forestwide)                                                     most landscape conditions.                                                                     MA-reworded.

                                                                                               Continue to participate and support, within the fiscal capacity, recovery and conservation
                                                                                               efforts including but not limited to: conservation agreements for Rio Grande cutthroat
                                                                                               trout (RGCTCT 2013), Rio Grande chub and Rio Grande sucker (RGCSCT 2018), fens,
                                                                                               pollinators, Uncompahgre fritillary butterfly, bats, watershed condition priorities, prairie
                                                                                               dogs, avian monitoring and conservation, bighorn sheep, snow willow and alpine
                                                                                               conservation, boreal toad, and unique and rare plant communities.                              MA added.

MA-PLTR-1: Impacts (positive, negative, or neutral) to pollinators are addressed               The Forest intends to address impacts to pollinators during project analysis through           MA slightly re-worded and moved from the Pollinators section to the Wildlife
when undertaking project design, analysis, and implementation. (Forestwide)                    project design, analysis, and implementation.                                                  section.

MA-PLTR-2: Implement pollinator-friendly best management practices for Federal
lands to improve pollinator habitat and protect pollinators when taking management             Pollinator-friendly best management practices for Federal lands are implemented to
actions. Actions can include the following:                                                    improve pollinator habitat and protect these species when implementing management
• Design projects to maintain or improve pollinator habitat while still meeting                actions. Actions are not limited to the following:
resource objectives                                                                            • Design projects to maintain or improve pollinator habitat while meeting resource
• Include local pollinator species in project seed mixtures                                    objectives;
• When using insecticide, consider and mitigate impacts to pollinating insects to the          • Include plants that are desirable to pollinator species in project seed mixtures;
greatest extent possible                                                                       • Mitigate impacts to pollinator insects when applying insecticide;
• Include creation or maintenance of pollinator habitat in project rationale                   • Include creation and maintenance of pollinator habitat in project design; and
• Implement best management practices when managing roads. (Forestwide)                        • Implement best management practices for pollinator habitat when managing roads.
                                                                                                                                                                                              MA reworded and moved from the Pollinators section to wildlife section.




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Draft Plan                                                                                         Final Plan                                                                                   Comparison

DC-SCC-1: A healthy sagebrush steppe ecosystem meets the needs of sagebrush                        DC-SCC-1: Structure, composition, and function of sagebrush ecosystems meet the needs        DC re-worded and made more general, with reference to Brewer's sparrow
obligate species including, but not limited to, Brewer's sparrow. (Forestwide)                     of associated species, including species of conservation concern. (Forestwide)               deleted.

DC-SCC-2: Habitat diversity along reaches or sections of perennial stream includes
tall, undisturbed grass cover and large, woody riparian complexes. Livestock access is
limited in these areas to protect habitat for small, at-risk mammal species, such as
the New Mexico meadow jumping mouse. Habitat refugia is available for small
mammals that are sensitive to management activities. (Forestwide)                                                                                                                               DC deleted.
DC-SCC-3: Talus slopes provide habitat for many plants listed as species of
conservation concern, including:
• Gray's draba
• Rocky mountain draba
• Rothrock's Townsend daisy
• Colorado tansy aster
• Colorado larkspur
• Stonecrop gilia                                                                                  DC-SCC-5: Structure, composition, and function of alpine ecosystems, including cushion
• Smith's draba (Forestwide)                                                                       plant communities, snow willow, alpine fell fields, and talus slopes, meet the needs of      DC re-written to more generally apply to alpine ecosystems and with specific
                                                                                                   associated species, including species of conservation concern. (Forestwide)                  reference to particular SCC species deleted.

DC-SCC-4: Plant species that are necessary for species of conservation concern as
food (including grazing, forage, and nectar for pollinators) or structure are identified
and occur in numbers viable enough to fulfill that function. This includes snow willow
(necessary for the Uncompahgre fritillary butterfly), flowering plants (nectar
producing species for the Western bumblebee) and many other species. (Forestwide)                                                                                                               DC deleted.

DC-SCC-5: Large log (generally greater than 18” diameter) components contribute to
the downed woody material remaining in the post-treatment environment. Log
decks and slash piles provide supplementary habitat features for marten and other                  DC-SCC-6: Snags and decaying wood processes meet the needs of associated species,            DC re-worded and made more general, with reference to marten deleted.
forest species. (General Forest Geographic Area)                                                   including species of conservation concern. (Forestwide)                                      Revised DC applies Forestwide.

DC-SCC-6: Gunnison's prairie dog colonies continue to expand and occupy historic                   DC-SCC-7: Structure, composition, and function of montane grasslands meet the needs of       DC re-worded and made more general, with reference to Gunnison's prairie dog
habitat areas as an integral component of montane grasslands. (Forestwide)                         associated species, including species of conservation concern. (Forestwide)                  colonies deleted.

DC-SCC-7: Natural openings and grasslands provide habitat beneficial to small                      DC-SCC-7: Structure, composition, and function of montane grasslands meet the needs of       Draft DC deleted. Revised DC-SCC-7 is more general and applies to the structure,
mammal species that depend on grassland cover and diversity. (Forestwide)                          associated species, including species of conservation concern. (Forestwide)                  composition, and function of montane grasslands.
DC-SCC-8: Manage soils to maintain soil health and productivity, while taking into
consideration plant species of conservation concern that grow in association with
specific soil and geologic characteristics or edaphic plant communities (Table 2).
(Forestwide)                                                                                                                                                                                    DC deleted.
DC-SCC-9: Maintain ecological conditions necessary to contribute to ensuring viable
populations of both plant and animal species of conservation concern during forest
management activities in fens, patches of snow willow, alpine cushion plant                        DC-SCC-5: Structure, composition, and function of alpine ecosystems, including cushion
communities, talus slopes, alpine fellfields, and floating vegetation mats.                        plant communities, snow willow, alpine fell fields, and talus slopes, meet the needs of      Draft DC deleted. Revised DC-SCC-5 is similar, but does not include references to
(Forestwide)                                                                                       associated species, including species of conservation concern. (Forestwide)                  fens or floating vegetation mats.
                                                                                                   DC-SCC-2: Structure, composition, and function of coniferous forests, including late seral
                                                                                                   forests, meet the needs of associated species, including species of conservation concern.
                                                                                                   (Forestwide)                                                                                 DC added.




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                                                                                                   DC-SCC-3: Structure, composition, and function of riparian areas, including streams, willow
                                                                                                   thickets, and cottonwood galleries, meet the needs of associated species, including species
                                                                                                   of conservation concern. (Forestwide)                                                          DC added.

                                                                                                   DC-SCC-4: Structure, composition, and function of aspen-dominated forests meet the
                                                                                                   needs of associated species, including species of conservation concern. (Forestwide)           DC added.

                                                                                                                                                                                                   DC added to SCC section. Similar language was in draft plan in wildlife section:
                                                                                                                                                                                                  DC-WLDF-13: Implement management to restore and improve habitat quality on
                                                                                                                                                                                                  important bighorn sheep lambing areas, winter concentration areas, migratory
                                                                                                                                                                                                  routes, and movement areas to reduce the potential for disease transmission
                                                                                                   DC-SCC-8: Improve or maintain habitat for bighorn sheep. (Forestwide)                          from domestic sheep. (Forestwide)
                                                                                                                                                                                                   DC added. Similar language was in draft plan in wildlife section:
                                                                                                                                                                                                  DC-WLDF-13: Implement management to restore and improve habitat quality on
                                                                                                                                                                                                  important bighorn sheep lambing areas, winter concentration areas, migratory
                                                                                                                                                                                                  routes, and movement areas to reduce the potential for disease transmission
                                                                                                                                                                                                  from domestic sheep. (Forestwide)
                                                                                                                                                                                                  S- WLDF-10: Maintain effective separation to minimize the risk of disease
                                                                                                                                                                                                   transmission between domestic sheep and bighorn sheep on active grazing
                                                                                                                                                                                                  allotments. Effective separation is defined as spatial or temporal separation
                                                                                                   DC-SCC-9: Maintain effective separation to reduce the likelihood of interaction and risk of    between bighorn sheep and domestic sheep, resulting in minimal risk of contact
                                                                                                   disease transmission between domestic sheep and bighorn sheep on active grazing                and subsequent transmission of respiratory pathogens between animal groups.
                                                                                                   allotments. (Forestwide)                                                                        (Forestwide)

                                                                                                   Management approach - Forest programs mitigate impacts to insect species that are listed
                                                                                                   as species of conservation concern and their habitat, or that are necessary to those species
                                                                                                   as pollinators or as food, from applications of insecticide or other pesticides. To inform
OBJ-SCC-1: Mitigate impacts to insect species that are listed as species of                        project-level planning on avoiding impacts to these species, the range and distribution of
conservation concern, or that are necessary to those species as pollinators or as                  at-risk insect species (threatened, endangered, proposed, or candidate species and species     Objective and management approach (see below) combined into one
food, from applications of insecticide or other pesticides. (Forestwide)                           of conservation concern) is assessed.                                                          management approach. "And their habitat" added.
OBJ-SCC-2: Mitigate impacts to plant species that are listed as species of                         Management approach - Forest programs mitigate impacts to plant species that are listed
conservation concern, or that are necessary for those species as food (including                   as species of conservation concern and their habitat, or that are necessary for those
grazing, forage, and nectar for pollinators) or cover, from herbicide or other                     species as food (including grazing, forage, and nectar for pollinators) or cover, from
pesticides. (Forestwide)                                                                           herbicide or other pesticides).                                                                Objective changed to a management approach. "And their habitat" added.
S-SCC-1: Avoid disturbance to species of conservation concern that would affect
ecological conditions necessary to maintain viable populations of species of
conservation concern. The protection may vary depending on the species,
disturbance type and potential, topography, and other pertinent factors. Special
attention will be given during breeding, young rearing, and other times that are
important to survival. (Forestwide)                                                                                                                                                               Standard deleted.
S-SCC-2: Avoid or mitigate impacts to boreal toad breeding sites and winter
hibernacula within 100 feet from May 15 to September 30.
• Consider management actions related to the protection and maintenance of
potential summer movements of adult boreal toads away from the sites.
• Ensure that sites are identified in the wildland fire decision support system to avoid
exposure from retardant. (Forestwide)
                                                                                                                                                                                                  Standard deleted.




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S- WLDF-10: Maintain effective separation to minimize the risk of disease
transmission between domestic sheep and bighorn sheep on active grazing                               S-SCC-1: Maintain effective separation of domestic sheep and bighorn sheep on active
allotments. Effective separation is defined as spatial or temporal separation between                 grazing allotments to reduce the likelihood and risk of disease transmission. Effective         Standard moved from wildlife section to SCC section. Small wording changes.
bighorn sheep and domestic sheep, resulting in minimal risk of contact and                            separation is defined as spatial or temporal separation between bighorn sheep and               "minimize the risk of disease transmission" changed to "reduce the likelihood
subsequent transmission of respiratory pathogens between animal groups.                               domestic sheep, resulting in minimal risk of contact and subsequent transmission of             and risk of disease transmission".
(Forestwide)                                                                                          respiratory pathogens between animal groups. (Forestwide)
S-WLDF-11: Mitigate adverse impacts from projects, activities, and uses to bighorn
sheep production areas that may result in disturbance or displacement of bighorn                                                                                                                      Standard moved from wildlife section to SCC section. Re-worded to focus on not
sheep during the critical reproductive period (generally April 15 to July 1).                         S-SCC-2: Do not authorize projects that will result in displacement of bighorn sheep during     authorizing projects instead of mitigating adverse impacts from projects,
(Forestwide)                                                                                          their reproductive period (generally April 15 to July 1). (Forestwide)                          activities, and uses.
S-WLDF-13: Prohibit the use of recreational pack goats in the Sangre de Cristo
Mountains to eliminate potential interactions between pack goats and bighorn                          S-SCC-3: Prohibit the use of recreational pack goats in the Sangre de Cristo Mountains to
sheep. (Forestwide)                                                                                   eliminate potential interactions between pack goats and bighorn sheep. (Forestwide)             Standard moved from wildlife section to SCC section.
S-WLDF-14: Maintain effective separation between domestic goats used for                              S-SCC-4: Maintain effective separation between domestic goats used for vegetation
vegetation management and bighorn sheep to minimize risk of contact between                           management and bighorn sheep to reduce the likelihood of contact between animal                 Standard moved from wildlife section to SCC section. Small wording change from
animal groups. (Forestwide)                                                                           groups. (Forestwide)                                                                            "to minimize risk of contact" to "to reduce the likelihood of contact".

                                                                                                      G-SCC-1: To maintain ecological conditions to support a viable population of species of          Guideline added. Draft plan had a standard:
                                                                                                      conservation concern insects and plants, minimize negative impacts to pollinators when          S-PLTR1-1: Mitigate impacts to insect species that are listed as species of
                                                                                                      applying pesticides. (Forestwide)                                                                conservation concern, or that are necessary to those species as pollinators or as
                                                                                                                                                                                                      food, from applications of insecticide or other pesticides. (Forestwide)



                                                                                                      G-SCC-2: To maintain ecological conditions to support a viability of species of conservation
                                                                                                      concern, roads and other permanent ground-disturbing structures and other authorized
                                                                                                      activities should not degrade vegetation within 100 feet of where plants that are listed as
                                                                                                      species of conservation concern are known to occur. Such barren or rocky areas include,
                                                                                                      but are not limited to, alpine fell fields, alpine cushion plant communities, talus slopes at
G-SCC-1: Avoid road construction and other permanent ground-disturbing activities                     any elevation, rock fields, boulder gardens, cliff faces, recently disturbed soils, exposed
in and around the perimeter of alpine fell fields and talus rock fields, or activities that           shale, gypsum, volcanic, or adobe soils, and other sparsely vegetated areas within other
would degrade the vegetation within 100 feet of these features. (Forestwide)                          ecosystems. (Forestwide)                                                                        Guideline re-worded and expanded.

G-SCC-2: Avoid impacts to shale and gypsum soils where plant species of
conservation concern occur to ensure ecological conditions necessary to maintain                                                                                                                      Guideline deleted. Specific protections for shale and gypsum soils added to the
viable populations of these species of conservation concern. (Forestwide)                                                                                                                             revised G-SCC-2.
G-SCC-3: Reduce project-related impacts to known or potential flammulated owl
nesting territories by:
• Retaining large-diameter snags at or near reference conditions for the primary
forest cover type
• Retaining large-diameter snags within 300 feet of nesting locations
• Maintaining adjacent upland areas in open stand conditions within the context of
the natural range of variation. (Forestwide)
                                                                                                                                                                                                      Guideline deleted.

G-SCC-4: Avoid impacts to Brewer's sparrow habitat by:
• Mitigating fragmentation of sagebrush by motorized and mechanized activities
• Use grazing systems that discourage fragmentation and promote and maintain late
seral understory plant composition
• Maintaining large patches of sagebrush that provide suitable habitat and display a                  G-SCC-3: To maintain viability of species of conservation concern, reduce habitat
variety of structural conditions. (Forestwide)                                                        fragmentation and maintain structural conditions of sagebrush ecosystems through design         Guideline re-worded and simplified, with specific reference to Brewer's sparrow
                                                                                                      of management activities. Patch sizes should not be less than 5 acres. (Forestwide)             deleted.



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G-SCC-5: Maintain and restore Gunnison's prairie dog habitat in montane grasslands
by:
• Discouraging recreational shooting
• Livestock grazing
• Improving public understanding of prairie dog roles
• Avoiding the use of poison to control of eliminate prairie dogs
• Working with partners to translocate prairie dogs. (Forestwide)
                                                                                                                                                                                              Guideline deleted.

                                                                                             G-SCC-4: To maintain ecological conditions to support alpine-related species of
                                                                                             conservation concern, avoid road construction and other permanent ground-disturbing
                                                                                             activities within 100 feet of alpine fell and talus rock fields, and alpine bogs. (Forestwide)   Guideline added.
                                                                                             G-SCC-5: To maintain habitat for bat species of conservation concern, retain adequate
                                                                                             access for bats and reduce disturbance to resident populations when considering mine or
                                                                                             cave closures. (Forestwide).                                                                     Guideline added.
                                                                                             Forest programs mitigate impacts to insect species that are listed as species of
                                                                                             conservation concern and their habitat, or that are necessary to those species as
                                                                                             pollinators or as food, from applications of insecticide or other pesticides. To inform
MA-SCC-1: The Forest intends to map populations of insect species that are species           project-level planning on avoiding impacts to these species, the range and distribution of
of conservation concern, threatened, endangered, proposed, or candidate species so           at-risk insect species (threatened, endangered, proposed, or candidate species and species
that interdisciplinary teams can use the information to design projects to avoid             of conservation concern) is assessed.                                                            Objective (see above) and management approach combined into one
impacts to these species. (Forestwide)                                                                                                                                                        management approach. "And their habitat" added.

MA-SCC-2: Continue to support the Interagency Recovery Team efforts for the
Uncompahgre fritillary butterfly, as necessary, to provide for the recovery of the
species and the protection of the alpine habitat components that support it and
other high-elevation alpine pollinators. (Forestwide)                                                                                                                                         MA deleted.
MA-SCC-3: Resource advisors should assist wildland fire and other emergency
incident commanders, allowing them to accomplish their tasks with minimal harm to
species of conservation concern or threatened, endangered, proposed, and
candidate species. (Forestwide)                                                                                                                                                               MA deleted.

                                                                                             Forest programs mitigate impacts to fish and aquatic species that are listed as species of
                                                                                             conservation concern and their habitat, or that are necessary for those species to maintain
                                                                                             aquatic organism passage and minimize fragmentation of habitat except when needed to
                                                                                             protect populations from undesired nonnative fish.                                               MA added.
                                                                                             Provide education and awareness information regarding potential disease transmission
                                                                                             between recreational pack goats and bighorn sheep at entry points to areas of known
                                                                                             bighorn sheep use. Areas of overlapping pack goat and bighorn sheep use is observed over
                                                                                             time.                                                                                            MA re-worded and moved from Wildlife section.

                                                                                             Boreal toad education and outreach materials is provided regarding chytrid fungus. Where
                                                                                             the fungus has been detected, determine the need to implement decontamination
                                                                                             procedures to protect boreal toads and other amphibians.                                         MA re-worded, simplified, and moved from Wildlife section.




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Draft Plan                                                                                                                                          Final Plan                                                                                   Comparison
DC-TEPC-1: Occupied or potential Gunnison sage-grouse habitat is maintained for habitat integrity and diversity using information provided by
the local interagency working group and/or Range-wide Conservation Plan. (Forestwide)                                                                                                                                                            DC deleted.
DC-TEPC-2: Occupied or potential Gunnison sage-grouse habitat provides for habitat integrity and diversity using information provided by the
local interagency working group and/or Range wide Conservation Plan. (Forestwide)                                                                                                                                                                DC deleted.
                                                                                                                                                    DC-TEPC-1: Maintain or improve habitat conditions that contribute to either stability or
                                                                                                                                                    recovery, or both, for threatened, endangered, proposed, and candidate species.
                                                                                                                                                    (Forestwide)
                                                                                                                                                    Desired conditions related to habitat for Canada lynx are specified in the Southern
                                                                                                                                                    Rockies Lynx Amendment.
                                                                                                                                                                                                                                                 DC added.
S-TEPC-1: Management actions shall maintain or improve habitat conditions for all at-risk species, contributing to the stability and/or recovery
of these species. (Forestwide)                                                                                                                                                                                                                   Standard deleted.

                                                                                                                                                    S-TEPC-1: The Southern Rockies Lynx Amendment direction (Appendix E), as amended
                                                                                                                                                    and modified by the forest plan record of decision, shall be applied. (Forestwide)           New standard.

Standard VEG S7 (S-LYNX-7):
Where and to what this standard applies: Standard VEG S7 applies to all vegetation management practices within lynx habitat in conifer forests
that no longer meet the definition for Standard VEG S6 (multi-story mature or late successional conifer forests) due to the extensive bark beetle
outbreaks. These stands may no longer contain at least two layers of live vegetative structure and do not have a live mature overstory that
provides at least 40 percent canopy closure. However, these stands may still represent quality habitat important to the persistence of Canada
lynx in these vastly changed landscapes and are characterized by understory vegetation that provides dense horizontal cover for snowshoe
hares. Conifer stands that meet the Standard VEG S7 definition may also continue to support secondary prey species, particularly when live
green vegetative structure is present.
Standard VEG S7 stands are identified by:
1. Total live canopy cover of less than 40 percent.
2. Understory densities that contain at least 35 percent dense horizontal cover in winter foraging habitat condition for snowshoe hares (i.e.,
about 1 to 3 meters above average snow depth).
The standard does not apply to fuel treatment projects within the wildland-urban interface as defined by the Healthy Forest Restoration Act,
subject to the following limitation:
(Wildland-urban interface fuels exemption): Fuel treatment projects within the wildland urban interface that do not meet Standards VEG S1,
VEG S2, VEG S5, VEG S6, or VEG S7 shall occur on no more than 3 percent (cumulatively) of lynx habitat on each administrative unit (a national
forest, or administratively combined national forests).
For fuel treatment projects within the wildland-urban interface see Guideline VEG G10.
The Standard:                                                                                                                                       S-TEPC-2 (VEG S7): Salvage activities in stands that represent high quality lynx habitat
Vegetation management activities that occur in conifer stands that qualify as VEG S7 with potential to reduce high-quality winter snowshoe          may occur in up to 7 percent of the high-probability lynx use area (95 percent lynx use
hare habitat shall occur only:                                                                                                                      areas shown on the High Probability Lynx Use Area Map) that overlaps the suitable
1. Within 200 feet of administrative sites, dwellings, outbuildings, recreation sites, and special use permit improvements, including               timber base 15 years from the date on the forest plan decision. Salvage activities in VEG
infrastructure within permitted ski area boundaries; or                                                                                             S7 stands in combination with all vegetation management activities, including incidental     Revised direction is focused on the High Probability Lynx Use Areas/95 percent
2. For salvage harvest activities when incidental damage to understory and standing green trees is minimized. Pre-project projections of            damage resulting in either Stand Initiation Structural Stage conditions, a reduction of      lynx use areas and where these areas overlap the suitable timber base and limit
incidental damage will be validated by implementation monitoring and will be documented in administrative records. (Forestwide)                     horizontal cover, or both, are tracked for 15 years from the decision date for this forest   salvage activities in stands that represent high quality lynx habitat to 7% of the
                                                                                                                                                    plan decision.                                                                               area and are tracked for 15 years.
                                                                                                                                                    S-TEPC-3: Southern Rockies Lynx Amendment standards VEG S1 and VEG S2 do not apply
                                                                                                                                                    on lynx analysis units that have no overlap, either wholly or partially, with the high
MA-LYNX-1: The Forest intends to use existing lynx habitat baseline conditions or other existing information, new science, data, and/or analysis    probability lynx use areas shown on the High Probability Lynx Use Area Map. All other
tools to assess whether a lynx analysis unit meets Southern Rockies Lynx Amendment standards S1 (30 percent total unsuitable limit) and S2 (15      management direction (excluding VEG S1 and VEG S2) in the Southern Rockies Lynx              MA deleted. Direction for VEG S1 and VEG S2 has changed. New standard says
percent management induced unsuitable limit over 10-year period). If the limit for either standard is attained, further conversion to unsuitable    Amendment applies to areas outside of the high probability lynx use areas (95 percent        that VEG S1 and VEG S2 do not apply on LAUs outside the high probability lynx
(stand initiation) cannot occur unless a site-specific plan amendment is developed. (Forestwide)                                                    use area).                                                                                   use areas.
                                                                                                                                                    G-TEPC-1: To avoid or minimize adverse effects to listed species and their habitat,
G-TEPC-1: Reduce impacts to the abundance and distribution of willows to maintain or improve the ecological integrity of riparian area and          management actions should be designed with attention to threatened, endangered,              1 of 4 guidelines specific to individual TEPC species deleted and replaced with a
wetland ecosystems for southwestern willow flycatchers and other sensitive woody-riparian associated birds. (Forestwide)                            proposed, or candidate species and their habitats. (Forestwide)                              single, more general guideline.

G-TEPC-3: To limit impacts to Gunnison sage-grouse habitat:
• Design projects or activities to mitigate or avoid the direct or indirect loss of habitat necessary for maintenance of the local population.
• Manage riparian areas and wet meadows to meet proper functioning condition while striving to attain reference state vegetation relative to
the ecological site description.
• Ensure livestock grazing is compatible with nesting and brood-rearing objectives in sage habitats and riparian areas.
• Design fuels treatment objectives to protect existing sagebrush ecosystems, modify fire behavior, restore native plants, and create landscape     G-TEPC-1: To avoid or minimize adverse effects to listed species and their habitat,
patterns that benefit habitat. (Forestwide)                                                                                                         management actions should be designed with attention to threatened, endangered,              1 of 4 guidelines specific to individual TEPC species deleted and replaced with a
                                                                                                                                                    proposed, or candidate species and their habitats. (Forestwide)                              single, more general guideline.




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G-TEPC-4: Management approaches to recreation and ground-disturbing activities in snow willow habitats occupied by the Uncompahgre
fritillary butterfly:
• Be consistent with recovery plan objectives, as necessary and in accordance with site-specific needs
• Avoid new trail development within occupied colony sites, and manage existing trails and access as necessary to discourage off-trail use.        G-TEPC-1: To avoid or minimize adverse effects to listed species and their habitat,
(Forestwide)                                                                                                                                       management actions should be designed with attention to threatened, endangered,            1 of 4 guidelines specific to individual TEPC species deleted and replaced with a
                                                                                                                                                   proposed, or candidate species and their habitats. (Forestwide)                            single, more general guideline.
                                                                                                                                                   G-TEPC-1: To avoid or minimize adverse effects to listed species and their habitat,
G-TEPC-5: Avoid impacts to the southwestern willow flycatcher in riparian willow stream reaches and reference sites where browse-related           management actions should be designed with attention to threatened, endangered,            1 of 4 guidelines specific to individual TEPC species deleted and replaced with a
issues suggest a management concern. (Forestwide)                                                                                                  proposed, or candidate species and their habitats. (Forestwide)                            single, more general guideline.
G-TEPC-2: Maintain habitat availability and quality for threatened, endangered, proposed, and candidate species by incorporating conservation
strategies and species habitat needs. Follow higher level direction when species are listed, delisted, or proposed in compliance with U.S.
Department of Interior Fish and Wildlife Service direction. (Forestwide)                                                                                                                                                                      Guideline deleted.
                                                                                                                                                   From Appendix E - Southern Rockies Lynx Amendment Direction:
                                                                                                                                                   Objective HU O6
                                                                                                                                                   Reduce adverse highway18 effects on lynx by working cooperatively with other agencies
                                                                                                                                                   to provide for lynx movement and habitat connectivity16, and to reduce the potential for
OBJ-LYNX-1: Over the planning period, reduce adverse highway effects on Canada lynx by working with other agencies to provide for movement         lynx mortality.
and habitat connectivity, and to reduce the potential for mortality. (Forestwide)                                                                                                                                                             Objective deleted, but similar objective is part of the SRLA direction.
MA-LYNX-2: Definitions used to determine suitable versus unsuitable lynx habitat due to the conditions associated with the spruce beetle
outbreak are:
• Unsuitable habitat: stands with less than 25 percent live (green) canopy without understory that provides at least 20 percent horizontal
density (e.g., 1 to 3 meters above average snow depth or snowshoe hare winter foraging habitat condition).
• Suitable habitat: stands that have greater than 25 percent live canopy with or without understory, or stands that contain 0 to 25 percent live
canopy and understory trees that provide at least 20 percent horizontal density in winter snowshoe hare foraging habitat condition.
(Forestwide)
                                                                                                                                                                                                                                              MA deleted.
MA-LYNX-3: Prioritize the placement of snag clumps and/or other leave areas around good or high quality winter foraging habitat to meet
multiple wildlife habitat objectives. (Forestwide)                                                                                                                                                                                            MA deleted.
MA-LYNX-4: Under the landscape conditions associated with the spruce beetle outbreak, additional considerations may be needed to provide
for habitat connectivity within and between lynx analysis units. These considerations include:
• Assessing habitat connectivity at multiple scales at the project level. Recommended foundation for assessment is an established sub-basin
(e.g. 8th-level hydrologic unit code).                                                                                                                                                                                                         MA deleted. Some overlap with a management approach in the wildlife
• Use remaining and recently changed late successional stands as foundations for connectivity patches. Recognize that both stand and                                                                                                          section:
landscape-level patches may be influential.                                                                                                                                                                                                   Existing landscape patterns and local species concerns are used to identify and
• Consider using some stream corridors for movement within and between the planning area and lynx analysis units. Stream corridors that are                                                                                                   assess habitat connectivity at various spatial scales during design and analysis of
intended to provide functional habitat connectivity for lynx and other meso-carnivores should be at least 400 to 600 feet wide in total, and                                                                                                  forest management activities. A nest of hydrologic unit codes is used at various
designed to promote movement within and between suitable habitat patches, sub watersheds, and lynx analysis units, where desired based on                                                                                                     scales to assess connectivity patterns. Stream zones and topographic features
existing landscape conditions.                                                                                                                                                                                                                are identified and used to facilitate movement across the landscape. These areas
• Recognize contiguous understory patches of 0.5 acre or larger as particularly valuable to snowshoe hare densities. (Forestwide)                                                                                                             serve multiple purposes, including providing aquatic and terrestrial habitat
                                                                                                                                                                                                                                              connectivity and areas for species movement in most landscape conditions.

                                                                                                                                                   In Appendix I - Proposed and Possible Actions:
MA-LYNX-5: Evaluate and update current lynx linkage areas with agency partners to provide the desired habitat connectivity functions, as           • Evaluate and update current lynx linkage areas with partners to provide the desired      MA deleted, but similar language included in Appendix I - Proposed and Possible
practical and needed based on available resources. (Forestwide)                                                                                    habitat connectivity functions, as practical and needed based on available resources.      Actions
MA-LYNX-6: Where desired, based on use information or other local conservation criteria, provide additional considerations for lynx denning
habitat and/or known current or past denning areas. These considerations include:
• Use existing den site layer to inform historic and potential denning activity during management activities, as needed.
• Use local denning model to inform presence and extent of potential denning habitat. Combine with local knowledge and field review to define
potential high-quality denning habitat.
• Protect known or potential high quality denning habitat through considerations for habitat connectivity, snag patch leave areas, or through
suitable lynx habitat retention needs.
• Recognize that lynx may use several maternal den sites in the vicinity of a natal den until the post-denning period (August).
• Provide for continuing availability of lynx foraging habitat in proximity to denning habitat where applicable.
                                                                                                                                                                                                                                              MA deleted.




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Addition of Supplement to Standard S1:
1. To maintain the amount and distribution of lynx foraging habitat over time, manage so that no more than 30 percent of the lynx habitat in a
lynx analysis unit is in an early stand initiation structural stage or has been silviculturally treated to remove horizontal cover (i.e., does not
provide winter snowshoe hare habitat). Emphasize sustaining snowshoe hare habitat in a lynx analysis unit. If more than 30 percent of the lynx
habitat in a lynx analysis unit is in early stand initiation structural stage or has been silviculturally treated to remove horizontal cover (e.g.,
clearcuts, seed tree harvest, pre-commercial thinning, or understory removal), no further increase as a result of vegetation management
projects should occur on Federal lands. (Forestwide)
                                                                                                                                                                                                            Supplement to Standard S1 has been deleted.




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                                                                                            DC-RMZ-1: Riparian areas and wetlands are healthy, fully functioning ecosystems that are resilient and
                                                                                            able to withstand natural and human disturbances that include flood, fire, drought, changes in frequency
DC-RMZ-1: Riparian areas and wetlands are healthy, fully functioning ecosystems.            and timing of weather events, recreation, and herbivory. Aquatic ecosystems, riparian ecosystems, and
Vegetation consists of desirable native species and age classes. Populations of             watersheds exhibit high ecological integrity. The vegetation consists of desirable native species and age
riparian vegetation are diverse, vigorous, and self-perpetuating. Invasive species,         classes and meets the needs of resident amphibians, fish, and migratory birds. Populations of riparian
including plants and animals, in riparian and wetland ecosystems are rare. There is         vegetation are diverse, vigorous, and self-perpetuating. Invasive species, including plants and animals, in
sufficient vegetative cover to provide bank stability, trap and retain sediment,            riparian and wetland ecosystems are rare. There is sufficient vegetative cover to provide bank stability,
regulate temperature, and contribute to floodplain function. Riparian ecosystem             trap and retain sediment, regulate temperature, and contribute to floodplain function. Riparian
composition, structure, and function can generally be restored and enhanced by              ecosystem composition, structure, and function can generally be restored and enhanced by beaver               4 DCs (DC-RMZ-1, DC-RMZ-2, DC-RMZ-4, and DC-RMZ-5) were combined and
beaver habitat. (Forestwide)                                                                habitat. (Forestwide)                                                                                         slightly re-worded into one DC (revised DC-RMZ-1).
DC-RMZ-2: Aquatic ecosystems, riparian ecosystems, and watersheds exhibit high                                                                                                                            4 DCs (DC-RMZ-1, DC-RMZ-2, DC-RMZ-4, and DC-RMZ-5) were combined and
ecological integrity. (Forestwide)                                                          See DC-RMZ-1.                                                                                                 slightly re-worded into one DC (revised DC-RMZ-1).
DC-RMZ-3: Hydrologic regimes of riparian and wetland ecosystems contribute to
appropriate channel and floodplain development, maintenance, and function.                  DC-RMZ-2: Hydrologic regimes of riparian and wetland ecosystems contribute to appropriate channel and
(Forestwide)                                                                                floodplain development, maintenance, and function. (Forestwide)                                               No change.

DC-RMZ-4: Riparian and wetland ecosystems are resilient and withstand disturbance
from natural and management activities, including flood, fire, drought, changes in                                                                                                                        4 DCs (DC-RMZ-1, DC-RMZ-2, DC-RMZ-4, and DC-RMZ-5) were combined and
timing and frequency of weather events, recreation, and herbivory. (Forestwide)             See DC-RMZ-1.                                                                                                 slightly re-worded into one DC (revised DC-RMZ-1).
DC-RMZ-5: Habitats sensitive to management activities, such as riparian
management zone vegetation, meet the needs of resident amphibians, fish, and                                                                                                                              4 DCs (DC-RMZ-1, DC-RMZ-2, DC-RMZ-4, and DC-RMZ-5) were combined and
migratory birds. (Forestwide)                                                               See DC-RMZ-1.                                                                                                 slightly re-worded into one DC (revised DC-RMZ-1).

OBJ-RMZ-1: Over the planning period, work with cooperators to prioritize and                                                                                                                              Time frame changed from "over the planning period" to "over the next 15 years".
restore at least 300 acres of riparian and/or wetland areas. (Forestwide)                   OBJ-RMZ-1: Restore at least 300 acres of riparian or wetland areas over the next 15 years. (Forestwide)       Revised language removed "work with cooperators to prioritize".
                                                                                            S-RMZ-1: Management activities may have short-term impacts (generally less than 5 years) to
S-RMZ-1: Management activities within the riparian management zones must                    composition, function, and structure of riparian areas and fish habitat. Over the long term (generally
maintain or restore the connectivity, composition, function, and structure of riparian      greater than 20 years), projects shall not impair connectivity, composition, function, and structure.         Standard re-worded and clarified with regard to short-term vs long-term
and wetland areas over the long term. (Forestwide)                                          (Forestwide)                                                                                                  impacts.

G-RMZ-1: To maintain ecological integrity and connectivity, limit the construction of       G-RMZ-1: To maintain ecological integrity and connectivity, new system roads and infrastructure should
roads and infrastructure in the riparian management zone. (Forestwide)                      not be constructed in the riparian management zone. (Forestwide)                                              Guideline re-worded and clarified.

G-RMZ-2: Grazing and other management activities in the riparian management zone
should provide healthy willow carrs, which can provide the structural nesting habitat       G-RMZ-2: To provide for the structural nesting habitat requirements for riparian-associated birds, design
requirements for riparian-associated birds. (Forestwide)                                    management activities to avoid healthy willow carrs. (Forestwide)                                             Guideline re-worded and clarified.
G-RMZ-3: Grazing, grazing infrastructure, and other activities in the riparian
management zone should prevent or minimize the introduction and spread of
cowbirds in riparian willow systems. (Forestwide)                                                                                                                                                         Guideline deleted.




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                                                                                                   DC-WA-1: Physical channel characteristics are in dynamic equilibrium and are
                                                                                                   commensurate with the natural ranges of discharge and sediment load provided to a
                                                                                                   stream. Streams have the most probable form and the expected native riparian vegetation
DC-WA-1: Physical channel characteristics are in dynamic equilibrium and are                       composition within the valley landforms that they occupy; they function correctly without
commensurate with the natural ranges of discharge and sediment load provided to a                  management intervention. Historically disturbed and degraded stream channels recover
stream. Streams have the most probable form and the expected native riparian                       through floodplain development and establishment of riparian vegetation, and demonstrate
vegetation composition within the valley landforms that they occupy; they function                 stable channel geomorphic characteristics. Beaver reintroduction, and the persistence of
correctly without management intervention. Historically disturbed and degraded                     beaver habitat, can contribute to channel recovery and floodplain function. Upland areas
stream channels recover through floodplain development and establishment of                        function properly and do not contribute to stream-channel degradation. Roads, trails, and
riparian vegetation, and demonstrate stable channel geomorphic characteristics.                    impervious surfaces minimally affect hydrologic processes within watersheds. The sediment
Beaver reintroduction, and the persistence of beaver habitat, can contribute to                    regime within water bodies is within the natural range of variation. Elements of the
channel recovery and floodplain function. Roads, trails, and impervious surfaces                   sediment regime include the timing, volume, rate, and character of sediment input, storage,       Language from 3 DCs (DC-WA-1, DC-WA-2, DC-WA-3) combined into 1 DC (DC-WA-
minimally affect hydrologic processes within watersheds. (Forestwide)                              and transport. (Forestwide)                                                                       1).

                                                                                                                                                                                                     Language from 3 DCs (DC-WA-1, DC-WA-2, DC-WA-3) combined into 1 DC (DC-WA-
                                                                                                                                                                                                     1). Specifically the first part of this DC ("Aquatic systems and riparian habitats
DC-WA-2: Aquatic systems and riparian habitats express physical integrity, including                                                                                                                 express physical integrity, including physical integrity of shorelines, banks, and
physical integrity of shorelines, banks, and bottom configurations, within their natural                                                                                                             bottom configurations, within their natural range of variation.") was deleted and
range of variation. Upland areas function properly and do not contribute to stream­                                                                                                                  the second part ("Upland areas function properly and do not contribute to stream­
channel degradation. (Forestwide)                                                                  See DC-WA-1.                                                                                      channel degradation.") was left in.

DC-WA-3: The sediment regime within water bodies is within the natural range of
variation. Elements of the sediment regime include the timing, volume, rate, and                                                                                                                     Language from 3 DCs (DC-WA-1, DC-WA-2, DC-WA-3) combined into 1 DC (DC-WA-
character of sediment input, storage, and transport. (Forestwide)                                  See DC-WA-1.                                                                                      1).

DC-WA-4: Within the constraints of existing water rights decrees, the timing and                   DC-WA-2: Within the constraints of existing water rights decrees, the timing and magnitude
magnitude of flood events is within the natural range of variation. Floodplains are                of flood events is within the natural range of variation. Floodplains are accessible to water
accessible to water flow and sediment deposits. Overbank floods allow floodplain                   flow and sediment deposits. Overbank floods allow floodplain development and support
development and support healthy riparian and aquatic habitats. Floods also allow the               healthy riparian and aquatic habitats. Floods also allow the propagation of flood-associated
propagation of flood-associated riparian plant and animal species. (Forestwide)                    riparian plant and animal species. (Forestwide)                                                   No change.
DC-WA-5: State water quality standards are met and State-classified water uses are                 DC-WA-3: State water quality standards are met and State-classified water uses are
supported for all water bodies. Water quality for those water bodies listed as impaired            supported for all federal water bodies. Water quality for those water bodies listed as
on the State of Colorado 303(d) list move toward fully supporting State-classified uses.           impaired on the State of Colorado 303(d) list move toward fully supporting State-classified
(Forestwide)                                                                                       uses. (Forestwide)                                                                                Clarified to apply to "federal" water bodies.
DC-WA-6: Aquifers maintain natural conditions of recharge, discharge, and
groundwater quality, especially where they are important to surface features                       DC-WA-4: Aquifers maintain natural conditions of recharge, discharge, and groundwater
dependent on groundwater for their existence (including but not limited to caves,                  quality, especially where they are important to surface features dependent on groundwater
springs, seeps, lakes, riparian areas, wetland ecosystems, fens, and intermittent and              for their existence (including but not limited to caves, springs, seeps, lakes, riparian areas,
perennial streams). (Forestwide)                                                                   wetland ecosystems, fens, and intermittent and perennial streams). (Forestwide)                   No change.

DC-WA-7: Watersheds provide clean, safe water suitable for public consumption after                DC-WA-5: Watersheds provide clean, safe water suitable for public consumption after
adequate and appropriate water treatment. (Forestwide)                                             adequate and appropriate water treatment. (Forestwide)                                            No change.
OBJ-WA-1: Improve condition class on at least one identified priority watershed, as                OBJ-WA-1: Improve condition class on at least one identified priority watershed, as defined
defined by the national Watershed Condition Framework, within 10 years of plan                     by the national Watershed Condition Framework within 5 years of the date on the forest            Time frame changed from "within 10 years of plan approval" to "within 5 years of
approval. (Forestwide)                                                                             plan decision. (Forestwide)                                                                       the date on the forest plan decision."
OBJ-WA-2: Over the planning period, conduct the necessary data collection to
evaluate the need to move instream flow quantification points to the current Forest
boundary. (Forestwide)                                                                                                                                                                               Objective deleted.




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OBJ-WA-3: Over the next 5 years, quantify minimum instream flows at new                          OBJ-WA-2: Quantify minimum instream flows at new quantification points for stream
quantification points for stream reaches impacted by federal land acquisitions such as           reaches impacted by federal land acquisitions for the Baca Tract over the next 5 years.        Slight re-wording, with clarification that this is to be done specifically for stream
the Baca Tract. (Forestwide)                                                                     (Forestwide)                                                                                   reaches impacted by acquisitions for the Baca Tract.

S-WA-1: Incorporate project-specific best management practices described in FS 990A              S-WA-1: Incorporate direction included in the National Core Best Management Practices (FS
or as updated in land-use and project plans as a principle mechanism to maintain or              990A) and Watershed Conservation Practices Handbook (FSH 2509.25), to develop project­         Standard re-worded. Reference to the Watershed Conservation Practices
restore water quality and meet desired watershed conditions. (Forestwide)                        specific best management practice prescriptions in project plans. (Forestwide)                 Handbook (FSH 2509.25) added.

G-WA-1: Management activities should maintain or restore water quality to meet                   G-WA-1: Maintain or restore water quality by assuring that activities meet State of Colorado
State of Colorado water quality standards. In watersheds where State of Colorado                 water quality standards. Management activities in watersheds where State of Colorado
303(d) listed impaired water bodies exist, management activities should assist in                303(d) listed impaired water bodies exist should assist in achieving State water quality
achieving State water quality standards. (Forestwide)                                            standards. (Forestwide)                                                                        Re-worded.
G-WA-2: Management actions should not cause long-term degradation to water
resources, including lakes, streams, wetlands, and groundwater. Particular attention             G-WA-2: Management actions should not cause long-term degradation to water resources,
should be paid to public water supplies, sole source aquifers, and source water                  including lakes, streams, wetlands, and groundwater. Particular attention should be paid to
protection areas. (Forestwide)                                                                   public water supplies, sole source aquifers, and source water protection areas. (Forestwide)   No change.




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Draft Plan                                                                                  Final Plan                                                  Comparison




                                                                                                                                                        Objective deleted. Pollinator guidance has been moved to management
                                                                                                                                                        approaches in wildlife section. There is no longer a pollinator section. MA in
                                                                                                                                                        wildlife section:
                                                                                                                                                        Pollinator-friendly best management practices for Federal lands are implemented
                                                                                                                                                        to improve pollinator habitat and protect these species when implementing
                                                                                                                                                        management actions. Actions are not limited to the following:
                                                                                                                                                        • Design projects to maintain or improve pollinator habitat while meeting
                                                                                                                                                        resource objectives;
                                                                                                                                                        • Include plants that are desirable to pollinator species in project seed mixtures;
                                                                                                                                                        • Mitigate impacts to pollinator insects when applying insecticide;
                                                                                                                                                        • Include creation and maintenance of pollinator habitat in project design; and
                                                                                                                                                        • Implement best management practices for pollinator habitat when managing
OBJ-PLTR-1: Restore or enhance 65,000 acres of pollinator habitat over the planning                                                                     roads.
period. (Forestwide)

                                                                                                                                                        Draft Standard deleted. New guideline in SCC section:
S-PLTR1-1: Mitigate impacts to insect species that are listed as species of conservation                                                                G-SCC-1: To maintain ecological conditions to support a viable population of
concern, or that are necessary to those species as pollinators or as food, from                                                                         species of conservation concern insects and plants, minimize negative impacts to
applications of insecticide or other pesticides. (Forestwide)                                                                                           pollinators when applying pesticides. (Forestwide)
                                                                                            Impacts to pollinators are addressed during project
MA-PLTR-1: Impacts (positive, negative, or neutral) to pollinators are addressed when       analysis through project design, analysis, and              Final plan does not have a pollinator section - pollinator guidance has been moved
undertaking project design, analysis, and implementation. (Forestwide)                      implementation.                                             to the wildlife section. MA slightly re-worded.

                                                                                            Management Approach in wildlife section:
                                                                                            Pollinator-friendly best management practices for
                                                                                            Federal lands are implemented to improve pollinator
                                                                                            habitat and protect these species when implementing
                                                                                            management actions. Actions are not limited to the
                                                                                            following:
MA-PLTR-2: Implement pollinator-friendly best management practices for Federal              • Design projects to maintain or improve pollinator
lands to improve pollinator habitat and protect pollinators when taking management          habitat while meeting resource objectives;
actions. Actions can include the following:                                                 • Include plants that are desirable to pollinator species
• Design projects to maintain or improve pollinator habitat while still meeting             in project seed mixtures;
resource objectives                                                                         • Mitigate impacts to pollinator insects when applying
• Include local pollinator species in project seed mixtures                                 insecticide;
• When using insecticide, consider and mitigate impacts to pollinating insects to the       • Include creation and maintenance of pollinator habitat
greatest extent possible                                                                    in project design; and                                      Management approach moved to the wildlife section. Wording
• Include creation or maintenance of pollinator habitat in project rationale                • Implement best management practices for pollinator        clarified/corrected in spots. For example, "include creation or maintenance of
• Implement best management practices when managing roads. (Forestwide)                     habitat when managing roads.                                pollinator habitat in project rationale" was changed to "include creation and
                                                                                                                                                        maintenance of pollinator habitat in project design."




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Draft Plan                                                                                                                 Final Plan                                                                                                    Comparison

                                                                                                                           DC-FISH-1: Connectivity of habitat for native and desired nonnative fish and aquatic species is maintained
DC-FISH-1: Populations of native and desired nonnative fish and other aquatic species are distributed, or are              or enhanced by the design and implementation of management actions. Populations are expanding into
expanding into previously occupied habitat, with interconnectivity among and within metapopulations. The                   previously occupied habitat, and interconnectivity is maintained within metapopulations. To maintain
amount, distribution, and characteristics of life-stage habitats are suitable to maintain or reach viable populations      sustainable populations, critical life stages are distributed and abundant. Habitat conditions are not a
of native and desired nonnative species. Habitat conditions are not a primary factor in listing of species under the       primary factor in species being proposed or listed under the Endangered Species Act or for adding species
Endangered Species Act or adding species to the species of conservation concern list. (Forestwide)                         as a species of conservation concern.                                                                         5 draft DCs were simplified and combined into 2 DCs.
DC-FISH-2: Aquatic populations during critical life stages are distributed and abundant. (Forestwide)                      See DC-FISH-1.                                                                                                5 draft DCs were simplified and combined into 2 DCs.
DC-FISH-3: Healthy aquatic habitat provides for sustainable fish populations for recreational and cultural
significance. (Forestwide)                                                                                                 See DC-FISH-1 and DC-FISH-2.                                                                                  5 draft DCs were simplified and combined into 2 DCs.
                                                                                                                                                                                                                                         5 draft DCs were simplified and combined into 2 DCs. Some aspects of
DC-FISH-4: Fish populations have adequate habitat and water quality to thrive in lakes and streams on the Forest.          DC-FISH-2: Habitat and water quality in lakes and streams allow fish populations to thrive, and habitat is    draft DCs were eliminated, such as "Natural fish habitat is preferred and
Natural fish habitat is preferred and promoted over human-made habitat. (Forestwide)                                       not fragmented by management activities.                                                                      promoted over human-made habitat."
DC-FISH-5: Habitat for native and desired nonnative fish species is not fragmented by the design and
implementation of management actions. (Forestwide)                                                                         See DC-FISH-2.                                                                                                5 draft DCs were simplified and combined into 2 DCs.
OBJ-FISH-1: Restore connectivity in currently fragmented habitat where the risk of genetic contamination,
predation, or competition from undesired nonnative fish species is not a concern by completing 10 fish                                                                                                                                   Objective simplified, with implementation timeframe changed from
connectivity projects (combination of removing 10 barriers and/or replacing 10 aquatic organism passage                    OBJ-FISH-1: Complete 10 fish connectivity projects (combination of removing barriers or constructing          "over the life of the plan" to "over the next 15 years", and eliminating
structures) over the life of this plan. Prioritize improvements to existing culverts, bridges, and stream crossings        aquatic organism passage structures) over the next 15 years.                                                  prioritization strategy for improvements to existing culverts, bridges, and
identified for fish passage based on the Rio Grande cutthroat trout conservation strategy and Rio Grande chub and                                                                                                                        stream crossings.
OBJ-FISH-2: Take action to maintain or restore structure, composition, or function of habitat for fisheries and            OBJ-FISH-2: Maintain or restore structure, composition, or function of habitat for fisheries and other
other aquatic species along 30 to 50 miles of stream total over a 10-year period, with a focus on larger individual        aquatic species along 30 miles of stream, with a focus on larger individual stream segments when possible     Objective adjusted to lower restorative amount to 30 miles of stream
stream segments when possible (i.e., 3 to 5 miles annually). (Forestwide)                                                  over the next 15 years. (Forestwide)                                                                          over 15 years, rather than 30-50 miles of stream over a 10 year period.

                                                                                                                                                                                                                                         Wording changed to clarify that the standard applies to proposed and
S-FISH-1: When authorizing new surface diversions in fish-bearing waters, provide upstream and downstream                  S-FISH-1: When authorizing new surface diversions in fish-bearing waters, provide upstream and                candidate species, but not to sensitive species. New version provides
passage designed for all fish species that are threatened, endangered, or sensitive, and for species of conservation       downstream passage designed for all fish species that are threatened, endangered, proposed or candidate       clear exception for when barriers are needed as a result of undesired
concern, and if needed, include either fish screens or other means to prevent fish entrapment/entrainment.                 species, and for species of conservation concern except when barriers are needed to protect from              nonnative fish. New wording eliminated need for fish
(Forestwide)                                                                                                               undesired nonnative fish. (Forestwide)                                                                        screens/prevention of fish entrapment.


G-FISH-1: New surface diversions in intermittent and perennial streams should provide passage and habitat for              G-FISH-1: New surface diversions should provide passage for native and desired nonnative aquatic species      Guideline simplified and adjusted to focus on passage, rather than
native and desired nonnative aquatic species. Flows in intermittent and perennial non-fish-bearing waters that are         to maintain connectivity except when barriers are needed to protect from undesired nonnative fish.            passage and habitat. New language provides clear exception for when
adequate for fish to pass would also be sufficient for other aquatic species to pass. (Forestwide)                         (Forestwide)                                                                                                  barriers are needed to protect from undesired nonnative fish.
G-FISH-2: Habitat should be determined for aquatic threatened, endangered, and sensitive species, and for species
of conservation concern, within or near the planning area. Surveys to determine presence should be conducted for
those species with suitable habitat. (Forestwide)                                                                                                                                                                                        Guideline deleted.

G-FISH-3: Construct perennial stream crossings and aquatic organism passages to allow natural streamflow, and              G-FISH-2: Newly constructed perennial stream crossings and aquatic organism passages allow natural            Guideline expanded to include "other wildlife" rather than just "other
bidirectional movement of adult and juvenile fish and other aquatic species. (Forestwide)                                  streamflow, and bidirectional movement of adult and juvenile fish and other wildlife. (Forestwide)            aquatic species".

                                                                                                                           G-FISH-3: Fisheries activity period maps (Appendix XX) should be consulted during project development
                                                                                                                           and design, including recreational dredging. Date ranges associated with stream classes identified on the
                                                                                                                           map are listed in Table 9_.see also Table 9 and 2 paragraphs that follow it.                                  New guideline regarding use of fisheries activity period maps.
                                                                                                                           Management Approaches
                                                                                                                           Annually, the Forest works with signatories of the Conservation Agreements for Rio Grande cutthroat
MA-FISH-1: The Forest intends to continue to cooperate, coordinate, meet objectives, and share data among the              trout (RGCTCT 2013) and the Rio Grande chub and Rio Grande sucker (RGCSCT 2018). Shared data
signatories with management responsibility for Rio Grande cutthroat trout, Rio Grande chub, and Rio Grande                 maintains and updates species occurrences, and the fisheries activity period maps facilitate consistent and
sucker and their habitat and related community assemblages. Fisheries activity period maps (contained on the               effective implementation of the agreements for use during project-level analysis and in guidance specific     Clarified that this is done annually and added specific reference to use of
DVD located at the back of this document) facilitate a consistent and effective implementation of conservation             to recreational dredging.                                                                                     fisheries activity period maps in guidance specific to recreational
strategies and agreements. (Forestwide)                                                                                                                                                                                                  dredging.
MA-FISH-2: Coordinate with staff from the Colorado Parks and Wildlife on fish stocking programs to ensure                  The Forest coordinates with staff from Colorado Parks and Wildlife on fish stocking programs. This
benefits and reduce degrading effects on native and desired nonnative fish and aquatic species. Provide Colorado           ensures benefits and reduces degrading effects on native and desired nonnative fish and aquatic species.
Parks and Wildlife recreational fish stocking reports annually by June 15 or as they become available to Forest            Recreational fish stocking reports are provided to Colorado Parks and Wildlife by June 15, or as they
media outlets, including all district offices. (Forestwide)                                                                become available.                                                                                             Slight re-wording.




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Draft Plan                                                                       Final Plan                                                                       Comparison

DC-GDE-1: Fens are identified and continue to accumulate peat and
provide habitat for species of conservation concern, including:
• Little grapefern,
• Mud sedge,
• Colorado woodrush, and                                                         DC-GDE-1: Identified groundwater-dependent ecosystems provide habitat            Revised DC was expanded to cover SCC and other native species, with
• Spiny-spore quillwort. (Forestwide)                                            for species of conservation concern and other native species. Fens continue      references to specific species eliminated. DC broadened to cover GDEs
                                                                                 to accumulate peat. (Forestwide)                                                 and not just fens. Eliminated requirement to identify fens.

G-GDE-1: Protect the functions and services of groundwater-dependent
ecosystems, including fens. Provide special emphasis to large-size fens,                                                                                          Two draft guidelines replaced with one standard and one guideline.
unusual kinds of fens (such as iron fens and calcareous fens), and fens                                                                                           Standard provides stronger protection of the hydrology of
in especially pristine condition—along with the hydrologic features              S-GDE-1: Do not authorize management actions that alter the hydrology of         groundwater-dependent habitat features. Removed special emphasis
influencing them. (Forestwide)                                                   groundwater-dependent habitat features. (Forestwide)                             on large, unusual, or pristine fens.

                                                                                                                                                                  Broadened to cover GDEs rather than simply fens. Expanded language
G-GDE-2: Design projects to avoid impacting the function or ecological           G-GDE-1: To maintain ecosystem diversity and function, design projects to        to include mitigating negative impacts, rather than just avoiding
services of fens. Rehabilitate and restore damaged fen resources and             avoid or mitigate negative impacts to the ecological services that               impacts. Eliminated requirement to rehabilitate and restore damaged
the ecological conditions that sustain them. (Forestwide)                        groundwater-dependent ecosystems provide. (Forestwide)                           fen resources and the ecological conditions that sustain them.

                                                                                 Management Approaches
MA-GDE-1: The conservation of fens is promoted through cooperative                                                                                                Expanded to cover all groundwater-dependent ecosystems. Eliminated
work with other state and Federal agencies and adjoining private                 The Forest collaboratively works with other agencies and adjacent                statement regarding addition research on the effects of use and
landowners. The effects of use and management on fens is researched              landowners in the conservation of groundwater-dependent ecosystems.              management on fens. New language clarifies that inventory and
to improve approaches to conservation. (Forestwide)                              Fens will continue to be inventoried and evaluated as feasible.                  evaluation of fens will depend on feasibility.

MA-GDE-2: Fens and watershed conditions that support healthy fens                Fens and watershed conditions that support healthy fens provide
present an irreplaceable ecological feature on the landscape. These              irreplaceable ecological functions. As Forest capacity allows, these areas are
areas are inventoried and evaluated as a management objective for                inventoried and evaluated, thereby enabling managers to maintain healthy         Re-worded. New language clarifies that inventory and evaluation of
maintaining healthy watersheds and aquatic resources. (Forestwide)               watersheds and aquatic resources.                                                fens will depend on capacity.




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Draft Plan                                                                                                      Final Plan                                                                                      Comparison




DC-VEG-1: Timber harvest prescriptions should identify distribution of coarse woody debris and snags,
as well as live green replacement trees for future snags. The minimum requirements for adequate
wildlife habitat and ecosystem function are shown in Table 5.
In each forest type, maintain late-successional and old forest conditions (see Appendix A) that provide
key ecological components for wildlife. Snags are important for cavity-nesting birds and other wildlife,
including species of conservation concern. These legacy components are an important key ecosystem
characteristic for many species.
Snags are also an important component in the maintenance of habitat connectivity. Particularly in
spruce-fir forest types, a focus on habitat components including snags, down wood, and understory
patches of regeneration would maintain and restore habitat connectivity. Snag retention strategies
provide a variety of snag heights for species such as bats and the olive-sided flycatcher. Snag height
ranges from less than 25 feet to taller than the surrounding habitat.
Available hollow trees, snags, and longs are retained to provide unique habitat components that
supplement the snag and downed wood recommendations. Downed wood retention provides whole
logs in the largest size class. Unless they pose a safety risk, soft snags are retained during management.      G-VEG-1: Snag densities are related to disturbance regimes of various forest systems.
Downed wood, i.e., woody materials greater than 3 inches in diameter, is important for retaining                Snags suitable for nesting and denning (typically larger sizes) are present across the Forest
moisture, trapping soil movement, providing microsites for plant establishment, and cycling soil                contributing to the diversity of forest structure and maintenance of habitat components
nutrients in ecosystems. A wide variety of downed wood size classes is preferred.                               important to the persistence of snag-associated wildlife species. Snags provide an
Recommended snag and downed wood criteria for wildlife habitat and ecosystem processes are shown                important habitat component in the maintenance of habitat connectivity. Snag-retention          DC changed to a guideline and simplified. Eliminated language surrounding live
in Table 5. At least the minimum number of snags and amount of downed wood in the planning unit                 should represent a variety of snag heights. At least 50 percent of the retained snags should    green replacement trees, late-successional and old forest conditions, retention of
should be maintained. At least 50 percent of the snags retained should represent the largest size classes       represent the larger size classes available. Where larger snags are not available, trend        soft snags, and some background information. Change from General Forest GA
available. If larger snags are not present, a greater number in the smaller size classes should be              toward a greater number of smaller snags. Snags are not required to be maintained on            to Forestwide. Table of snag and down wood retention values had changes
retained. Snags do not need to be retained on every acre. (General Forest Geographic Area)                      every acre. (Forestwide)                                                                        including collapsing the 3 mixed-conifer types into one row.
                                                                                                                                                                                                                DC deleted, but there is a similar management approach in scenery:
DC-VEG-2: Vegetation management strategies are consistent with historical succession and disturbance                                                                                                            Management practices are designed to produce forest composition, structure,
regimes where possible and consistent with other land management objectives. (General Forest                                                                                                                    and patterns similar to those that would have occurred under natural
Geographic Area, Specially Designated Geographic Area)                                                                                                                                                          disturbance regimes, where feasible.

DC-VEG-3: Vegetation management occurs on lands identified as not suitable for timber production, for
other multiple-use purposes, and these areas have an irregular, unscheduled timber harvest program.             DC-VEG-1: Commercial timber harvest occurs on lands identified as not suitable for timber
These harvests meet management direction and desired conditions for these areas and may provide                 to meet multiple use objectives and for safety and health. These harvests are not part of
services and benefits to people. (General Forest Geographic Area, Roadless Geographic Area, Specially           the regularly scheduled harvest program. These activities meet management direction and
Designated Geographic Area)                                                                                     desired conditions and may provide other services and benefits. (Forestwide)                    Small wording changes.



                                                                                                                                                                                                                DC deleted. However, this language is in the lynx management approaches:
                                                                                                                                                                                                                During salvage project design, late-successional forest patches that are expected
DC-VEG-4: In spruce-fir forests where the mature forest canopy has reached 60 percent or more                                                                                                                   to remain green or mostly green in the next 15 years are identified for retention
mortality from bark beetles, remaining mature and late-successional forest patches that are expected to                                                                                                         during project implementation. Foresters and wildlife biologists determine the
remain green or mostly green during the life of the plan are retained where they are considered integral                                                                                                        optimal landscape heterogeneity objectives that include retention, opening
to ecosystem or species habitat-related goals. (General Forest Geographic Area, Specially Designated                                                                                                            patch size, and configuration. Project objectives should be considered at a
Geographic Area)                                                                                                                                                                                                watershed or sub-watershed scale, using the best available science.
DC-VEG-5: Late-successional/old-forest conditions (see Appendix A) are maintained or enhanced to
provide ecological conditions necessary to maintain viable populations of at-risk species. (General
Forest Geographic Area, Specially Designated Geographic Area)                                                                                                                                                   DC deleted.
DC-VEG-6: Cottonwood riparian areas and wetland ecosystem communities display moderate to high
canopy cover (greater than 20 percent) of young, middle-aged, and old cottonwood trees. (General
Forest Geographic Area, Specially Designated Geographic Area)                                                                                                                                                   DC deleted.




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DC-VEG-7: Habitat structure in Gambel oak communities provides for species assemblage associated                DC-VEG-2: Habitat structure in Gambel oak communities provides for the needs of
with this habitat. (General Forest Geographic Area, Specially Designated Geographic Area)                       associated species. (Forestwide)                                                               Small wording change/clarification.
                                                                                                                DC-VEG-3: All development stages of the forested terrestrial ecosystems are well
DC-VEG-8: All development stages of the forested terrestrial ecosystems are well represented at the             represented at the landscape scale and occur Forestwide within the ranges identified in
landscape scale and occur Forestwide within the ranges identified in Table 6. (Forestwide)                      Table 6. (Forestwide)                                                                          No change.
DC-VEG-9: When salvaging timber following wildfire, retain tall snags for snag-associated species and
snag location in the riparian management zone. (Forestwide)                                                                                                                                                    DC deleted.
OBJ-VEG-1: Diversify the structure class distribution for various forest types via management on 100            OBJ-VEG-1: Diversify the structure class distribution for various forest types by managing
acres annually in the first decade and 1,200 acres in the second decade, to work toward or maintain the         800 acres annually in years 4 and 5 of the planning period and 1,200 acres in years 6
desired conditions in Table 6, above. (General Forest Geographic Area, Specially Designated Geographic          through 20 of the planning period, to work toward or maintain the desired conditions in
Area)                                                                                                           Table 6. (Forestwide)                                                                          Objective updated to match revised timber program under Alt B Modified.
OBJ-VEG-2: Annually restore 150-300 acres of dry mixed-conifer and ponderosa pine areas to move                 OBJ-VEG-2: Annually restore 150 to 300 acres of dry mixed-conifer and ponderosa pine
these forest types toward a species composition and landscape pattern where fire can function in its            areas to move these forest types toward a species composition and landscape pattern
natural role. (General Forest Geographic Area)                                                                  where fire can function in its natural role. (Forestwide)                                      Change form General Forest GA to Forestwide.
                                                                                                                OBJ-VEG-3: Salvage harvest approximately 62,800 CCF (hundred cubic feet) of spruce-fir
                                                                                                                annually for the first 3 years of the planning period. (Forestwide)
OBJ-VEG-3: Annually, for the first decade, salvage harvest about 3,000 acres per year of spruce fir to          OBJ-VEG-4: Salvage harvest an estimated 20,000 CCF of spruce-fir annually during years 4
provide for economic sustainability within the region. (General Forest Geographic Area)                         and 5 of the planning period. (Forestwide)                                                     Objective updated to match revised timber program under Alt B Modified.

                                                                                                                OBJ-VEG-5: Offer timber for sale at an average timber sale quantity of 8,000 CCF per year
                                                                                                                for years 4 and 5 of the planning period. Offer timber for sale at an average timber sale
                                                                                                                quantity of 12,000 CCF per year for years 6 through 20. (Forestwide)
                                                                                                                Additional note added: Specific to Objectives OBJ-VEG-3, OBJ-VEG-4, and OBJ-VEG-5:
                                                                                                                Estimates of timber outputs may be larger or smaller on an annual basis, or over the life of
OBJ-VEG-4: Annually, for the second decade, offer timber for sale at an average potential timber sale           the plan, if legal authorities, management efficiencies, or unanticipated constraints change   Objective updated to match revised timber program under Alt B Modified.
quantity of 8,400 CCF (hundred cubic feet). (General Forest Geographic Area)                                    in the future.                                                                                 Additional note provides clarification.
OBJ-VEG-5: Annually, for the second decade of the plan, offer commercial timber and other products
for sale at an average annual potential wood sale quantity of 15,600 CCF. (General Forest Geographic
Area)                                                                                                                                                                                                          Objective deleted.

                                                                                                                                                                                                               In the draft plan, this plan component was in the Forest Products section: OBJ-FP-
                                                                                                                                                                                                               1: Over the planning period, identify and map a minimum of five select
                                                                                                                                                                                                               populations of osha and other ethnobotanically important plants for tribes in
                                                                                                                OBJ-VEG-6: Identify and map a minimum of five select populations of ethnobotanically           concert with the heritage, botany, and timber programs. (Forestwide). There are
                                                                                                                important plants for tribes in concert with the heritage, botany, and timber programs over     small changes from that plan component, including using a time frame of 15
                                                                                                                the next 15 years. (Forestwide)                                                                years rather than the planning period and not calling out osha in particular.
                                                                                                                                                                                                               In the draft plan, this plan component was in the Fire section:
                                                                                                                                                                                                               OBJ-FIRE-1: Over the life of the plan, complete an average of 100 acres of
                                                                                                                                                                                                               hazardous fuels reduction per year in areas adjacent to private development
                                                                                                                OBJ-VEG-7: Average 100 acres of hazardous fuels reduction per year in areas adjacent to        and/or critical infrastructure. (Forestwide). Time frame changed to 15 years
                                                                                                                private development, critical infrastructure, or both over the next 15 years. (Forestwide)     rather than over the life of the plan.
                                                                                                                                                                                                               In the draft plan, this plan component was in the FIRE section:
                                                                                                                                                                                                               OBJ-FIRE-2: Over the life of the plan, complete an average of 2,000 acres of fuels
                                                                                                                                                                                                               reduction and resource enhancement per year using fire managed for resource
                                                                                                                                                                                                               benefit and/or prescribed fire on Forest lands. (Forestwide) Time frame changed
                                                                                                                OBJ-VEG-8: Average 2,000 acres of fuels reduction per year using fire managed for              to 15 years rather than over the life of the plan. Final objective eliminated "and
                                                                                                                resource benefit or prescribed fire on Forest lands over the next 15 years. (Forestwide)       resource enhancement".
                                                                                                                S-VEG-1: Timber may not be harvested for the purpose of timber production on lands not
S-VEG-1: Timber may not be harvested for the purpose of timber production on lands not suited for               suited for timber production. Timber harvest may occur on these lands for the following
timber production. Timber harvest may occur on these lands for the following purposes: protecting               purposes: protecting other multiple-use values, protecting or enhancing biodiversity or
other multiple-use values, protecting or enhancing biodiversity or wildlife habitat, scenic-resource            wildlife habitat, scenic-resource management, research, or administrative studies
management, research or administrative studies consistent with geographic or management area                    consistent with geographic or management area direction, and salvage, sanitation, public
direction, and salvage, sanitation, public health, or safety. (General Forest Geographic Area)                  health, or safety. (Forestwide)                                                                Changed to Forestwide




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S-VEG-2: Timber shall not be harvested on lands where soil, slope, or other watershed conditions may             S-VEG-2: Timber shall not be harvested on lands where soil, slope, or other watershed
be irreversibly damaged, as identified in project-specific findings. (General Forest Geographic Area,            conditions may be irreversibly damaged, as identified in project-specific findings.
Roadless Geographic Area, Specially Designated Geographic Area)                                                  (Forestwide)                                                                                    Changed to Forestwide



S-VEG-3: Conduct harvest to assure that the technology and knowledge exist to restock these areas
adequately with trees within 5 years after final harvest.
Minimum restocking levels for suitable timber lands are defined in Table 7. Exceptions to these levels
are allowed if supported by a project-specific determination of adequate restocking.
Restocking levels for nonsuitable timber lands must be specified with the silvicultural prescription.
Project-specific determination of adequate stocking must be based on the plan’s desired conditions and           S-VEG-3: Timber harvest shall be conducted to assure that the technology and knowledge
objectives applicable to the area and project and be consistent with all other applicable plan                   exist to restock these areas adequately with trees within 5 years after final harvest.
components. (General Forest Geographic Area, Roadless Geographic Area, Specially Designated                      (Forestwide)
Geographic Area)                                                                                                 Minimum restocking levels for suitable timber lands are defined in Table 7. Exceptions to
Minimum seedling height requirements are not specified. Seedlings must have survived a minimum of                these levels are allowed if supported by a project-specific determination of adequate
one growing season and be expected (on the basis of research and experience) to be able to produce               restocking.
the desired stand condition specified for this area in the forest plan. The numbers of seedlings in Table        Restocking levels for unsuitable timber lands must be specified with the silvicultural
7 represent the minimum number of seedlings needed to meet resource objectives. To assure that                   prescription. Project-specific determination of adequate stocking must be based on the
adequate restocking of openings created as a result of final harvest is accomplished, as a minimum,              plan’s desired conditions and objectives applicable to the area and project and be
stocking surveys are conducted at the end of the first and third growing seasons following regeneration          consistent with all other applicable plan components. (Forestwide)                              Slight re-wording of first half of the standard with a change to Forestwide.
treatment. Adequate stocking cannot be certified until after the third-year growing-season survey.                                                                                                               Second half of the standard ("Minimum seedling heights") has been deleted.
S-VEG-4: Select harvest systems to achieve desired conditions and objectives or to meet site specific
project needs, not primarily for the greatest dollar return or timber output. (General Forest Geographic         S-VEG-4: Select harvest systems to achieve desired conditions and objectives or to meet
Area)                                                                                                            site specific project needs, not primarily for the greatest dollar return or timber output.

                                                                                                                 S-VEG-5: Clearcutting may be used where it has been determined to be the optimum
S-VEG-5: Clearcutting may be used where it has been determined to be the optimum method, and other               method, and other types of even-aged harvest shall be used only where determined to be
types of even-aged harvest shall be used only where determined to be appropriate. Determinations                 appropriate following interdisciplinary review. Determinations shall be based on site­
shall be based on site-specific conditions and the desired conditions for vegetation, wildlife habitat,          specific conditions and the desired conditions for vegetation, wildlife habitat, scenery, and
scenery, and other resources. (General Forest Geographic Area)                                                   other resources. (Forestwide)                                                                   Changed to Forestwide. Added "following interdisciplinary review."

S-VEG-6: Openings will not be created larger than 40 acres, regardless of forest type. Openings larger           S-VEG-6: Openings larger than 40 acres may only be created under one of the following
than 40 acres may be created when one of the following is true:                                                  conditions:
• Proposals for larger openings have been approved by the regional forester, following a 60 day public           • Proposals for larger openings have been approved by the regional forester, following a
review,                                                                                                          60 day public review,
• Larger openings are the result of natural catastrophic conditions (including those resulting from fire,        • Areas harvested as a result of natural catastrophic conditions (including those resulting
insect or disease attack, or windstorm), or                                                                      from fire, insects, diseases, and windstorms, or
• When the area that is cut does not meet the definition of created openings. (General Forest                    • When the area that is cut does not meet the definition of openings. (Forestwide)
Geographic Area)                                                                                                                                                                                                 Slight re-wording. Changed to Forestwide.

                                                                                                                 S-VEG-7: The quantity of timber that may be sold per decade will be less than or equal to
S-VEG-7: The quantity of timber that may be sold per decade will be less than or equal to the sustained          the sustained yield limit of 737,490 CCF per decade with the following exceptions: salvage
yield limit of 73,749 CCF per year or 737,490 CCF per decade with the following exceptions: salvage or           or sanitation harvesting of timber stands that are substantially damaged by fire,
sanitation harvesting of timber stands that are substantially damaged by fire, windthrow, or other               windthrow, or other catastrophe or that are in imminent danger from insect or disease
catastrophe or that are in imminent danger from insect or disease attack. Salvage harvest of trees               attack. Salvage harvest of trees substantially damaged by fire, windthrow, or other
substantially damaged by fire, windthrow, or other catastrophe or in imminent danger from insect or              catastrophe or in imminent danger from insect or disease attack may be harvested over
disease attack may be harvested over and above the sustained yield limit, consistent with desired                and above the sustained yield limit, consistent with desired conditions for terrestrial and     Clarified that SYL is a decadal limit, and not an annual limit. Changed to
conditions for terrestrial and aquatic ecosystems. (General Forest)                                              aquatic ecosystems. (Forestwide)                                                                Forestwide.

S-FP-1: When there is a shortage of any special forest products for tribal use, commercial permits are           S-VEG-8: When there is a shortage of any special forest products for tribal use, commercial
issued only to the extent that the tribal use can be accommodated. (Forestwide)                                  permits are issued only to the extent that tribal use can be accommodated. (Forestwide)         This standard was moved from the Forest Products section to the VEG section.




                                                                                                                                                                                                                                                               Rvsd Plan - 00001166
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                                                                                                               G-VEG-2: Even-aged stands shall generally have reached or surpassed culmination of mean
G-VEG-1: Even-aged stands shall generally have reached or surpassed culmination of mean annual                 annual increment (achieving 95 percent of culmination of mean annual increment, as
increment (achieving 95 percent of culmination of mean annual increment, as measured by cubic                  measured by cubic volume) prior to regeneration harvest, unless the following conditions
volume) prior to regeneration harvest, unless the following conditions have been identified during             have been identified during project development:
project development:                                                                                           • When such harvesting would modify fire behavior to protect identified resource, social,
a) When such harvesting would modify fire behavior to protect identified resource, social or economic          or economic values
values                                                                                                         • When harvesting of stands will trend landscapes toward desired conditions
b) When harvesting of stands will trend landscapes toward desired conditions                                   • When harvest uses uneven-aged silvicultural systems, thinning, or other intermediate
c) When harvest uses uneven-aged silvicultural systems, thinning, or other intermediate stand                  stand treatments that do not regenerate even-aged or two-aged stands
treatments that do not regenerate even-aged or two-aged stands                                                 • When harvest is for sanitation or salvage of timber stands that have been substantially
d) When harvest is for sanitation or salvage of timber stands that have been substantially damaged by          damaged by fire, windthrow, or other catastrophe, or that are in imminent danger from
fire, wind-throw, or other catastrophe or that are in imminent danger from insect or disease attack            insect or disease attack
e) When harvest is on lands not suited for timber production and the type and frequency of harvest is          • When harvest is on lands not suited for timber production and the type and frequency of
due to the need to protect or restore multiple use values other than timber production. (General Forest        harvest is due to the need to protect or restore multiple use values other than timber
Geographic Area)                                                                                               production. (Forestwide)
                                                                                                                                                                                                               Changed to Forestwide. Edited to use bullet points.

G-VEG-2: Even-aged harvest openings should be irregularly shaped and blend with the natural terrain.           G-VEG-3: To maintain scenic resources, even-aged harvest openings should be irregularly         Purpose of guideline added. "to the extent practicable" added. Changed to
(General Forest Geographic Area)                                                                               shaped and blend with the natural terrain to the extent practicable. (Forestwide)               Forestwide.
                                                                                                               G-VEG-4: To maintain ecosystem conditions for continued persistence, permit the
                                                                                                               collection of species of conservation concern plants only for scientific, educational, or
                                                                                                               conservation purposes and only to the level that persistence of the species is maintained.
                                                                                                               (Forestwide)                                                                                    Guideline added.



                                                                                                               G-VEG-5: Old forest, or late-successional stage forest, is often deferred from harvest to
                                                                                                               maintain biotic diversity across the landscape. To maintain old forest components across
                                                                                                               the landscape and move toward desired conditions (defined in Table 6) prioritize retention
                                                                                                               of old forest stands as follows:
                                                                                                               • Older stands that have not been manipulated are more desirable than younger ones.
                                                                                                               • Stands with limited use and access are better suited to maintain old forest conditions.
                                                                                                               • Stands that provide habitat for threatened, endangered, or proposed species, species of
                                                                                                               conservation concern.
                                                                                                               • Stands exhibiting a variety of attributes such as diverse canopy layers, decadence in live
                                                                                                               trees, standing or downed dead, or both, and patchiness.
                                                                                                                                                                                                               Guideline added - changed from a management approach.

                                                                                                               SUIT-VEG-1: Lands are identified as suitable for timber production in management area
                                                                                                               direction contained in Chapter 3. Even though lands may be identified as suitable for
                                                                                                               timber production, those lands may not be feasible for harvest. Feasibility is determined at
                                                                                                               the site specific, project level. An estimated 499,936 acres of lands on the Forest have
                                                                                                               been determined as may be suitable for timber harvest.                                          Suitability statement added.

MA-VEG-1: The scientifically defined silvicultural systems shown by forest cover type in Table 8, which        The scientifically defined silvicultural systems shown by forest cover type in Table 5 meet
meet the management objectives for the landscape or individual stands of trees within a landscape              the management objectives for the landscape or individual stands of trees within a
setting, are acceptable. Both even-aged and uneven-aged management systems can be used and                     landscape setting. Both even-aged and uneven-aged management systems can be used
applied at scales ranging from a few acres to many hundreds of acres. These silvicultural systems are to       and applied at scales ranging from a few acres to many hundreds of acres. These
be applied in a manner that will create conditions favorable for natural regeneration. Artificial              silvicultural systems are to be applied in a manner that will create conditions favorable for
regeneration will be considered when necessary to meet minimum stocking standards. The silvicultural           natural regeneration. Artificial regeneration will be considered when necessary to meet
systems identified in Table 8 can be used to convert uneven-aged stands to even-aged management                minimum stocking standards. The silvicultural systems identified in Table 5 can be used to
and even-aged stands to uneven-aged management. (General Forest Geographic Area, Specially                     convert uneven-aged stands to even-aged management and even-aged stands to uneven­
Designated Geographic Area)                                                                                    aged management.                                                                                Slight re-wording.




                                                                                                                                                                                                                                                           Rvsd Plan - 00001167
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                                                                                                                  Encourage and promote aspen on the landscape. When regenerating aspen, prioritize
                                                                                                                  treatment within seral aspen clones using the following criteria:
                                                                                                                  • Identify stands with large standing and down dead basal area (about 20 percent dead)
MA-VEG-2: Maintain aspen on the landscape. When regenerating aspen, prioritize treatment within                   that are single-storied and showing signs of animal barking (gnawing and bark stripping) or
seral aspen clones using the following criteria:                                                                  disease. Multistoried stands that have several hundred sapling-size suckers per acre under
• Identify stands with large standing and down dead basal area (about 20 percent dead) that are single­           them, or that show little sign of canker disease or animal barking, are lower priority for
storied and showing signs of animal barking (gnawing and bark stripping) or disease. Multistoried                 any management intervention.
stands that have several hundred sapling-size suckers per acre under them, or that show little sign of            • Identify conifer stands with a small minority of live aspen basal area (less than 20
canker disease or animal barking, are lower priority for any management intervention.                             percent live basal area). (Aspen is likely to disappear from these stands within several
• Identify conifer stands with a small minority of live aspen basal area (less than 20 percent live basal         decades without intervention).
area). (Aspen is likely to disappear from these stands within several decades without intervention).              • Identify isolated clones and stands in areas frequented by animals and in riparian areas,
• Identify isolated clones and stands in heavy animal-use area and riparian area, and those at low                and those at low elevations. Any stands in these situations that meet the criteria above
elevations. Any stands in these situations that meet the criteria above should be given the highest               should be given the highest priority for regeneration. (These stands will be at greatest risk
priority for regeneration. (These stands will be at greatest risk of disappearing and will be the toughest        of disappearing and will be the toughest to regenerate successfully. Protection of
to regenerate successfully. Protection of treatment areas from browsing animals may be needed to                  treatment areas from browsing animals may be needed to achieve successful
achieve successful regeneration.)                                                                                 regeneration.)
• Identify stands that are more cost efficient and not impacted by heavy animal use to treat and                  • Identify stands that are more cost efficient and not impacted by frequent animal use to
contribute positively to the distribution of aspen. (General Forest Geographic Area)                              treat and contribute positively to the distribution of aspen.                                   "Maintain aspen on the landscape" changed to "encourage and promote aspen
                                                                                                                                                                                                                  on the landscape." Slight re-wording of third and fourth bullet points.

MA-VEG-3: Base the size of the uncut forest areas between openings on project-level objectives for the
landscape unit being analyzed. If objectives include creating a mix of vegetation types to benefit wildlife
associated with early successional stages and edges, the uncut units can be small. If project-level
objectives include provisions for late-successional dependent wildlife species, the uncut units could be
large enough to function as an ecological system not overly influenced by edge. (General Forest                   The size of uncut forest areas between openings is based on project-level management            MA simplified and slightly re-worded, with second and third sentences of draft
Geographic Area, Specially Designated Geographic Area)                                                            objectives for the landscape being analyzed.                                                    MA deleted.
MA-VEG-4: Except for treatments designed to enhance, maintain, and restore meadows, avoid
alteration of the edge of a natural opening, dependent on the surrounding forest type and assessed on
site-specific conditions and habitat needs. (Forestwide)                                                          Treatments generally avoid alteration of the edge of natural openings.                          MA simplified and re-worded.

MA-VEG-5: To restore or maintain genetic diversity when thinning, use practices that consider genetic             When thinning, restore or maintain genetic diversity by using practices that consider
diversity and competition for water, nutrients, and light among the trees. The frequency of thinning              genetic diversity and competition for water, nutrients, and light among the trees. The
should depend upon species, financial efficiency, and growing conditions of the site (as commonly                 frequency of thinning is dependent on species, financial efficiency, and growing conditions
measured by site index). (General Forest Geographic Area)                                                         of the site, commonly measured by site index.                                                   Slight re-wording.
                                                                                                                  Presence of old forest is determined during project-level planning based on criteria in
MA-VEG-6: Determine if old forest is present (see Appendix A for criteria) during planning, and make              Appendix A. The habitat is assessed for quality and distribution and retained as necessary      MA re-worded. Revised MA has additional language regarding old forest being
assessments of quality and distribution. (Forestwide)                                                             for vegetative diversity.                                                                       "retained as necessary for vegetative diversity."
MA-VEG-7: Preserve or defer from harvest some old-forest/late-successional stands to maintain biotic
diversity within the landscape/watershed. Assess size, distribution, abundance and the degree of
habitat variation among old-forest stands. Consider the following in selecting old forest stands that to
be retained:
• Older stands that have not been manipulated are more desirable than younger ones.
• Stands with limited use and access are better to maintain old-growth characteristics.
• Stands that are habitat for threatened, endangered, or proposed species, species of conservation
concern, or Colorado Natural Heritage Program Species of Special Concern.
• Stands exhibiting a great variety of attributes, such as diverse canopy layers, decadence in live trees,
standing and/or downed dead, patchiness, etc. (Forestwide)
                                                                                                                                                                                                                  MA re-worded and changed to a guideline - see G-VEG-5




                                                                                                                                                                                                                                                              Rvsd Plan - 00001168
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MA-VEG-8: Openings created by management are no longer considered openings when the trees reach
a height and density that meet management objectives. The default criteria are when the minimum
stocking standards for the forest vegetation type are met and average height is 6 feet or greater with at
least a 70-percent distribution for conifer species and 10 feet or greater with at least a 70-percent
distribution for aspen. The criteria will be validated and may be modified in accordance with local
conditions encountered during implementation. Criteria to consider in determining when an opening is
no longer an opening include:
• Visual sensitivity of the area
• The character of the landscape
• The abundance, quality, and need for cover for big game; other vegetation that may be present (i.e.,
tall shrubs)
• Forest health                                                                                                   Management-created openings are no longer considered openings when the trees reach a
• The need for seed sources                                                                                       height and density that meet management objectives. The default criteria are when the
• The need for interior forest area                                                                               minimum stocking standards for the forest vegetation type on suitable lands are met and
• The production of wood fiber                                                                                    average height is 6 feet or greater with at least a 70 percent distribution for conifer
• Watershed and riparian area protections. (General Forest Geographic Area)                                       species, and 10 feet or greater with at least a 70 percent distribution for aspen. The
                                                                                                                  criteria is validated and may be modified in accordance with local conditions.                  MA re-worded and simplified. Bulleted criteria to consider were deleted.

MA-VEG-9: Forest vegetation management that results in, among other objectives, meeting needs or                  Forest vegetation management that results in meeting the needs or demand for forest
demands for forest product offerings (commercial, personal, or other use) is done in a manner that                product offerings, for commercial, personal, or other use, is done in a manner that
supports one or more of the following:                                                                            supports one or more of the following:
• Maintains or improves ecosystem function, resilience, and sustainability,                                       • Maintains or improves ecosystem function, resilience, and sustainability,
• Supports a sustainable level of economic activity in the local timber industry,                                 • Supports a sustainable level of economic activity in the local timber industry,
• Provides economic or social support to local communities,                                                       • Provides economic or social support to local communities,
• Ensures current and future needs for American Indian tribal use, including that associated with special         • Ensures current and future needs for American Indian tribal use, including that
forest products (e.g., teepee poles),                                                                             associated with special forest products (e.g., teepee poles),
• Uses, to the fullest extent practicable, potential products including sawtimber, poles, topwood, or             • Uses, to the fullest extent practicable, potential products including saw timber, poles,
slash (e.g., limbs, foliage),                                                                                     top wood, or slash,
• Supports innovation in utilization, including conversion of cut-tree mass into biofuels, pellets, biochar,      • Supports innovation in utilization, including conversion of cut tree mass into biofuels,
or other useful products,                                                                                         pellets, biochar, or other useful products,
• Efficiently balances or reduces costs of implementation of treatment activities, and                            • Efficiently balances or reduces costs of implementation of treatment activities, and
• Anticipates climate-related plant succession changes (such as favoring heat- or drought-resistant tree          • Anticipates climate-related change in plant succession, such as favoring heat- or drought­
species as leave trees). (General Forest Geographic Area)                                                         resistant tree species as leave trees.
                                                                                                                                                                                                                  Slight re-wording. "Among other objectives" deleted from first sentence.
MA-VEG-10: In areas suitable for timber production, dead or dying trees (due to fire, insects, disease)           In areas suitable for timber production, dead or dying trees due to fire, insects, or disease   MA simplified, with references to downed woody material, habitat, snags, and
are salvaged to recover the economic value of the wood while providing for ecosystem function,                    are salvaged to recover the economic value of the wood while providing for ecosystem            public safety removed. Language added to clarified that salvaging dead or dying
including but not limited to retention of downed woody material, habitat, and snags as well as public             function. This will be the primary focus of the timber program for the first 3 years of the     trees will be the primary focus of the timber program for the firest 3 years of the
safety. (General Forest Geographic Area)                                                                          planning period.                                                                                planning period.

                                                                                                                  Special forest products include materials that are not traditional timber and fiber
                                                                                                                  products, such as sawtimber or house logs. Special forest products are permitted (or
                                                                                                                  contracted) for removal from public lands for commercial, personal, Native American
                                                                                                                  tribal, educational, or scientific purposes. Plan components in this section cover a variety
                                                                                                                  of special forest products, including but not limited to firewood, building rock, herb and
                                                                                                                  vegetable products, medicinal and pharmaceutical products, wild edible mushrooms, wild          MA added, although this language was in the draft plan in the introduction of the
                                                                                                                  berries and fruit, landscaping products, craft products, and floral and greenery products.      Forest Products section.




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                                                                                                                                                                                                              MA added to the VEG section. Draft plan had similar management approaches in
MA-FP-1: When identifying and mapping for select populations of osha, it is expected that private and                                                                                                         the Forest Products and Areas of Tribal Importance sections.
rotating collection areas would be set aside for tribal use behind closed gates for privacy during
ceremony. Areas would change through time. (Forestwide)                                                                                                                                                       See also management approach in cultural resources section of the final plan:
                                                                                                                                                                                                              Populations of Ligusticum porteri will be mapped (see also Vegetation
MA-ATI-2: When identifying and mapping for select populations of osha, consider setting aside                                                                                                                 Management section). When identifying and mapping Ligusticum porteri,
collection areas for tribal use that would rotate through time. (Forestwide)                                                                                                                                  consider setting aside collection areas for traditional use. Use of these areas
                                                                                                              Continues to identify and map populations of Ligusticum porteri. Following mapping,             should be rotated over time. Consultation will assist in identifying other plants
                                                                                                              consider setting aside collection areas for tribal use and rotate use of the areas over time.   that are important to tribes.




                                                                                                                                                                                                                                                            Rvsd Plan - 00001170
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  National Forest Management Act of 1976                                                                           1


                  National Forest Management Act Of 1976
  *Sec. 1. Title
  * Sec. 2. Findings
  * Sec. 3. Reports on Fiber Potential, Wood Utilization by Mills, Wood
          Wastes and Wood Product Recycling
  * Sec. 4. Reforestation
  * Sec. 5. Renewable Resource Program
  * Sec. 6. National Forest System Resource Planning
  * Sec. 7. National Participation
  * Sec. 8 Transportation System
  * Sec. 9. National Forest System
  * Sec. 10. Renewable Resources
  * Sec. 11, 13. Limitations on Timber Removal
  * Sec. 14. Public Participation and Advisory Boards
  * Sec. 15, 16. Regulations and Severability
  * Sec. 12. Conforming Amendments to the Forest and Rangeland Renewable Resources
          Planning Act of 1974
  * Sec. 13. Amendment to the Organic Act.
  * Sec. 14. Timber Sales on National Forest System Lands
  * Sec. 15. Validation of Timber Sales Contracts
  * Sec. 16. Payments to States for Schools and Roads
  * Sec. 17. Acquisition of National Forest System Lands
  * Sec. 18. Amendment to the Knutson-Vandenberg Act
  * Sec. 19. Amendment to the Act of June 12, 1960
  * Sec. 20. Plan for Control of Dutch Elm Disease
  * Sec. 21. Severability



   * Act of October 22, 1976 (P.O. 94-588, 90 Stat. 2949, as amended; 16
    U.S.C.
   * 472A, 476, 500, 513-516, 518, 521b, 528(note), 576B, 594-2(note),
    1600(note), 1601(note), 1600-1602, 1604, 1606, 1608-1614)

  Title

  Sec. 1. This Act may be cited as the "National Forest Management Act of 1976". (16 U.S.C. 1600(note))

  Findings

  Sec. 2. The Forest and Rangeland Renewable Resources Planning Act of 1974 (88 Stat. 476; 16 U.S.C. 1601­
  1610) is amended by redesignating sections 2 through 11 as sections 3 through 12, respectively; and by
  adding a new section 2 as follows:

  Sec. 2. Findings.-The Congress finds that-

  "(1) the management of the Nation's renewable resources is highly complex and the uses, demand for, and
  supply of the various resources are subject to change over time;

  "(2) the public interest is served by the Forest Service, Department of Agriculture, in cooperation with other
  agencies, assessing the Nation's renewable resources, and developing and preparing a national renewable
  resource and program, which is periodically reviewed and updated;

  "(3) to serve the national interest, the renewable resource program must be based on a comprehensive
  assessment of present and anticipated uses, demand for, and supply of renewable resources from the




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  National Forest Management Act of 1976                                                                           2

  Nation's public and private forests and rangelands, through analysis of environmental and economic
  impacts, coordination of multiple use and sustained yield opportunities as provided in the Multiple-Use,
  Sustained-Yield Act of 1960 (74 Stat. 215; 16 U.S.C. 528-531), and public participation in the development of
  the program;

  "(4) the new knowledge derived from coordinated public and private research programs will promote a
  sound technical and ecological base for effective management, use, and protection of the Nation's renewable
  resources;

  "(5) inasmuch as the majority of the Nation's forests and rangeland is under private, State, and local
  governmental management and the Nation's major capacity to produce goods and services is based on these
  nonfederally managed renewable resources, the Federal Government should be a catalyst to encourage and
  assist these owners in the efficient long-term use and improvement of these lands and their renewable
  resources consistent with the principles of sustained yield and multiple use;

  "(6) the Forest Service, by virtue of its statutory authority for management of the National Forest System,
  research and cooperative programs, and its role as an agency in the Department of Agriculture, has both a
  responsibility and an opportunity to be a leader in assuring that the Nation maintains a natural resource
  conservation posture that will meet the requirements of our people in perpetuity; and

  "(7) recycled timber product materials are as much a part of our renewable forest resources as are the trees
  from which they originally came, and in order to extend our timber and timber fiber resources and reduce
  pressures for timber production from Federal lands, the Forest Service should expand its research in the use
  of recycled and waste timber product materials, develop techniques for the substitution of these secondary
  materials for primary materials, and promote and encourage the use of recycled timber product materials."
  (16 U.S.C. 1600)

  Reports On Fiber Potential, Wood Utilization By Mills, Wood Wastes And Wood
  Product Recycling

  Sec. 3. Section 3 of the Forest and Rangeland Renewable Resources Planning Act of 1974, as redesigned by
  section 2 of this Act, is amended by adding at the end thereof a new subsection (c) as follows:

  (c) The Secretary shall report in the 1979 and subsequent Assessments on:

  "(1) the additional fiber potential in the National Forest System including, but not restricted to, forest
  mortality, growth, salvage potential, potential increased forest products sales, economic constraints,
  alternate markets, contract considerations, and other multiple use considerations;

  "(2) the potential for increased utilization of forest and wood product wastes in the National Forest Systems
  and on other lands, and of urban wood wastes and wood product recycling, including recommendations to
  the Congress for actions which would lead to increased utilization of material now being wasted both in the
  forests and in manufactured products; and

  "(3) the milling and other wood fiber product fabrication facilities and their location in the United States,
  noting the public and private forested areas that supply such facilities, assessing the degree of utilization into
  product form of harvested trees by such facilities, and setting forth the technology appropriate to the
  facilities to improve utilization either individually or in aggregate units of harvest trees and to reduce wasted
  wood fibers. The Secretary shall set forth a program to encourage the adoption by these facilities of these
  technologies for improving wood fiber utilization.

  "(d) In developing the reports required under subsection (c) of this section, the Secretary shall provide
  opportunity for public involvement and consult with other interested governmental departments and
  agencies." (16 U.S.C. 1601)




                                                                                 Rvsd Plan - 00001172
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  National Forest Management Act of 1976                                                                         3

  Reforestation

  Sec. 4. Section 3 of the Forest and Rangeland Renewable Resources Planning Act of 1974, as redesignated by
  section 2 of this Act, is amended by adding at the end thereof of new subsections (d) and (e) as follows:

  "(d)(1) It is the policy of the Congress that all forested lands in the National Forest System shall be
  maintained in appropriate forest cover with species of trees, degree of stocking, rate of growth, and
  conditions of stand designed to secure the maximum benefits of multiple use sustained yield management in
  accordance with land management plans. Accordingly, the Secretary is directed to identify and report to the
  Congress annually at the time of submission of the President's budget together with the annual report
  provided for under section 8 (c) of this Act, beginning with submission of the President's budget for fiscal
  year 1978, the amount and location by forests and States and by productivity class, where practicable, of all
  lands in the National Forest System where objectives of land management plans indicate the need to reforest
  areas that have been cut-over or otherwise denuded or deforested, and best potential rate of growth. All
  national forest lands treated from year to year shall be examined after the first and third growing seasons
  and certified by the Secretary in the report provided for under this subsection as to stocking rate, growth rate
  in relation to potential and other pertinent measures. Any lands not certified as satisfactory shall be returned
  to the backlog and scheduled for prompt treatment. The level and types of treatment shall be those which
  secure the most effective mix of multiple use benefits.

  "(2) Notwithstanding the provisions of section 9 of this Act, the Secretary shall annually for eight years
  following the enactment of this subsection, transmit to the Congress in the manner provided in this
  subsection an estimate of the sums necessary to be appropriate, in addition to the funds available from other
  sources, to replant and otherwise treat an acreage equal to the acreage to be cut over that year, plus a
  sufficient portion of the backlog within the eight-year period. After such eight-year period, the Secretary
  shall transmit annually to the Congress an estimate of the sums necessary to replant and otherwise treat all
  lands being cut over and maintain planned timber production on all other forested lands in the National
  Forest System so as to prevent the development of a backlog of needed work larger than the needed work at
  the beginning of the fiscal year. The Secretary's estimate of sums necessary, in addition to the sums available
  under other authorities, for accomplishment of the reforestation and other treatment of National Forest
  System lands under this section shall be provided annually for inclusion in the President's budget and shall
  also be transmitted to the Speaker of the House and the President of the Senate together with the annual
  report provided for under section 8(c) of this Act at the time of submission of the President's budget to the
  Congress beginning with the budget for fiscal year 1978. The sums estimated as necessary for reforestation
  and other treatment shall include moneys needed to secure seed, grow seedlings, prepare sites, plant trees,
  thin, remove deleterious growth and underbrush, build fence to exclude livestock and adverse wildlife from
  regeneration areas and otherwise establish and improve growing forests to secure planned production of
  trees and other multiple values.

  "(3) Effective for the fiscal year beginning October 1, 1977, and each fiscal year thereafter, there is hereby
  authorized to be appropriated for the purpose of reforesting and treating lands in the National Forest System
  $200,000,000 annually to meet requirements of this subsection (d). All sums appropriated for the purposes
  of this subsection shall be available until expended.

  "(e) The Secretary shall submit an annual report to the Congress on the amounts, types, and uses of
  herbicides and pesticides used in the National Forest System, including the beneficial or adverse effects of
  such uses (16 U.S.C. 1601)

  Renewable Resource Program

  Sect. 5. Section 4 of the Forest and Rangeland Renewable Resources Planning Act of 1974, as redesignated by
  section 2 of this Act, is amended by striking out the word "and" at the end of paragraph (3); striking out the
  word "satisfy" and inserting in lieu thereof "implement and monitor" in paragraph (4); striking out the
  period at the end of paragraph (4) and inserting in lieu thereof a semicolon and the word "and"; and by
  adding a new paragraph (5) as follows:

  "(5) Program recommendations which-




                                                                               Rvsd Plan - 00001173
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  National Forest Management Act of 1976                                                                            4


  "(A) evaluated objectives for the major Forest Service programs in order that multiple-use and sustained-
  yield can be determined;

  "(B) explain the opportunities for owners of forests and rangeland to participate in programs to improve and
  enhance the condition of the land and the renewable resource products therefrom;

  "(C) recognize the fundamental need to protect and where appropriate, improve the quality of soil, water,
  and air resources;

  "(D) state national goals that recognize the interrelationships between and
  interdependence within the renewable resources; and

  "(E) evaluate the impact of the export and import of raw logs upon domestic timber supplies and prices". (16
  U.S.C. 1602)

  National Forest System Resource Planning

  Sec. 6. Section 6 of the Forest and Rangeland Renewable Resources Planning Act of 1974, as redesignated by
  section 2 of this Act, is amended by adding at the end thereof new subsections (c) through (m) as follows:
  "(c) The Secretary shall begin to incorporate the standards and guidelines required by this section in plans
  for units of the National Forest System as soon as practicable after enactment of this subsection and shall
  attempt to complete such incorporation for all such units by no later than September 30, 1985. The Secretary
  shall report to the Congress on the progress of such incorporation in the annual report required by section
  8(c) of this Act. Until such time as a unit of the National Forest System is managed under plans developed in
  accordance with this Act, the management of such unit may continue under existing land and resource
  management plans.

  "(d) The Secretary shall provide for public participation in the development, review, and revision of land
  management plans including, but not limited to, making the plans or revisions available to the public at
  convenient locations in the vicinity of the affected unit for a period of at least three months before final
  adoption, during which period the Secretary shall publicize and hold public meetings or comparable
  processes at locations that foster public participation in the review of such plans or revisions.

  "(e) In developing, maintaining, and revising plans for units of the National Forest System pursuant to this
  section, the Secretary shall assure that such plans-

  "(1) provide for multiple use and sustained yield of the products and services obtained therefrom in
  accordance with the Multiple-Use, Sustained-Yield Act of 1960, and in particular, include coordination of
  outdoor recreation, range, timber, watershed, wildlife and fish, and wilderness; and timber, watershed,
  wildlife and fish, and wilderness; and

  "(2) determine forest management systems, harvesting levels, and procedures in the light of all of the uses
  set forth in subsection (c)(1), the definition of the terms 'multiple use' and 'sustained yield' as provided in the
  Multiple-Use, Sustained-Yield Act of 1960, and the availability of lands and their suitability for resource
  management.

  "(f) Plans developed in accordance with this section shall-

  "(1) form one integrated plan for each unit of the National Forest System, incorporating in one document or
  one set of documents, available to the public at convenient locations, all of the features required by this
  section;

  "(2) be embodied in appropriate written material, including maps and other descriptive documents,
  reflecting proposed and possible actions, including the planned timber sale program and the proportion of
  probable methods of timber harvest within the unit necessary to fulfill the plan;




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  "(3) be prepared by an interdisciplinary team. Each team shall prepare its plan based on inventories of the
  applicable resources of the forest;

  "(4) be amended in any manner whatsoever after final adoption after public notice, and, if such amendment
  would result in a significant change in such plan, in accordance with the provisions of subsections (e) and (f)
  of this section and public involvement comparable to that required by subsection (d) of this section; and

  "(5) be revised (A) from time to time when the secretary finds conditions in a unit have significantly
  changed, but at least every fifteen years, and (B) in accordance with the provisions of subsections (e) and (f)
  of this section and public involvement comparable to that required by subsection (d) of this section.

  "(g) As soon as practicable, but not later than two years after enactment of this subsection, the Secretary
  shall in accordance with the procedures set forth in section 553 of title 5, United States Code, promulgate
  regulations, under the principles of the Multiple-Use, Sustained-Yield Act of 1960, that set out the process
  for the development and revision of the land management plans, and the guidelines and standards
  prescribed by this subsection. The regulations shall include, but not be limited to-

  "(1) specifying procedures to insure that land management plans are prepared in accordance with the
  National Environmental Policy Act of 1969, including, but not limited to, direction on when and for what
  plans an environmental impact statement required under section 102(2) (c) of that Act shall be prepared;

  "(2) specifying guidelines which-

  "(A) require the identification of the suitability of lands for resource management

  "(B) provide for obtaining inventory data on the various renewable resources, and soil and water, including
  pertinent maps, graphic material, and explanatory aids; and

  "(C) provide for methods to identify special conditions or situations involving hazards to the various
  resources and their relationship to alternate activities;

  "(3) specifying guidelines for land management plans developed to achieve the goals of the Program which-

  "(A) insure consideration of the economic and environmental aspects of various systems of renewable
  resource management, including the related systems of silviculture and protection of forest resources, to
  provide for outdoor recreation (including wilderness), range, timber, watershed, wildlife, and fish;

  "(B) provide for diversity of plant and animal communities based on the suitability and capability of the
  specific land area in order to meet overall multiple-use objectives, and within the multiple-use objectives of a
  land management plan adopted pursuant to this section, provide, where appropriate, to the degree
  practicable, for steps to be taken to preserve the diversity of tree species similar to that existing in the region
  controlled by the plan;

  "(C) insure research on and (based on continuous monitoring and assessment in the field evaluation of the
  effects of each management system to the end that it will not produce substantial and permanent
  impairment of the productivity of the land;

  "(D) permit increases in harvest levels based on intensified management practices, such as reforestation,
  thinning, and tree improvement if (i) such practices justify increasing the harvests in accordance with the
  Multiple-Use, Sustained-Yield Act of 1960, and (ii) such harvest levels are decreased at the end of each
  planning period if such practices cannot be successfully implemented or funds are not received to permit
  such practices to continue substantially as planned;

  "(E) insure that timber will be harvested from National Forest System lands only where-

  "(i) soil, slope, or other watershed conditions will not not be irreversibly damaged;




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  "(ii) there is assurance that such lands can be adequately restocked within five years after harvest;

  "(iii) protection is provided for streams, stream-banks, shorelines, lakes, wetlands, and other bodies of water
  from detrimental changes in water temperatures, blockages of water courses, and deposits of sediment,
  where harvests are likely to seriously and adversely affect water conditions or fish habitat;

  and

  "(iv) the harvesting system to be used is not selected primarily because it will give the greatest dollar return
  or the greatest unit output of timber; and

  "(F) insure that clearcutting, seed tree cutting, shelterwood cutting, and other cuts designed to regenerate
  and even-aged stand of timber will be used as a cutting method on National Forest System lands only where-

  "(i) for clearcutting, it is determined to be the optimum method, and for other such cuts it is determined to
  be appropriate, to meet the objectives and requirements of the relevant land management plan;

  "(ii) the interdisciplinary review as determined by the Secretary has been completed and the potential
  environmental, biological, esthetic, engineering, and economic impacts on each advertised sale area have
  been assessed, as well as the consistency of the sale with the multiple use of the general area;

  "(iii) cut blocks, patches, or strips are shaped and blended to the extent practicable with the natural terrain;

  "(iv) there are established according to geographic areas, forest types, or other suitable classifications the
  maximum size limits for areas to be cut in one harvest operation, including provision to exceed the
  established limits after appropriate public notice and review by the responsible Forest Service officer one
  level above the Forest Service officer who normally would approve the harvest proposal: Provided, That such
  limits shall not apply to the size of areas harvested as a result of natural catastrophic conditions such as fire,
  insect and disease attack, or windstorm; and

  "(v) such cuts are carried out in a manner consistent with the protection of soil, watershed, fish, wildlife,
  recreation, and esthetic resources, and the regeneration of the timber resource.

  "(h)(1) In carrying out the purposes of subsection (g) of this section, the Secretary of Agriculture shall
  appoint a committee of scientists who are not officers or employees of the Forest Service. The committee
  shall provide scientific and technical advice and counsel on proposed guidelines and procedures to assure
  that an effective interdisciplinary approach is proposed and adopted. The committee shall terminate upon
  promulgation of the regulations. The views of the committees shall be included in the public information
  supplied when the regulations are proposed for adoption.

  "(2) Clerical and technical assistance, as may be necessary to discharge the duties of the committee, shall be
  provided from the personnel of the Department of Agriculture.

  "(3) While attending meetings of the committee, the members shall be entitled to receive compensation at a
  rate of $100 per diem, including travel time, and while away from their homes or regular places of business
  they may be allowed travel expenses, including per diem in lieu of subsistence, as authorized by section 5703
  of title 5, United States Code, for persons in the Government service employed intermittently.

  "(i) Resource plans and permits, contracts, and other instruments for the use and occupancy of National
  Forest System lands shall be consistent with the land management plans. Those resource plans and permits,
  contracts, and other such instruments currently in existence shall be revised as soon as practicable to be
  made consistent with such plans. When land management plans are revised, resource plans and permits,
  contracts, and other instruments, when necessary, shall be revised as soon as practicable. Any revision in
  present or future permits, contracts, and other instruments made pursuant to this section shall be subject to
  valid existing rights.




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  "(j) Land management plans and revisions shall become effective thirty days after completion of public
  participation and publication of notification by the Secretary as required under section 6(d) of this Act.

  "(k) In developing land management plans pursuant to this Act, the Secretary shall identify lands within the
  management area which are not suited for timber production, considering physical, economic, and other
  pertinent factors to the extent feasible, as determined by the Secretary, and shall assure that, except for
  salvage sales or sales necessitated to protect other multiple-use values, no timber harvesting shall occur on
  such lands for a period of 10 years. Lands once identified as unsuitable for timber production shall continue
  to be treated for reforestation purposes, particularly with regard to the protection of other multiple-use
  values. The Secretary shall review his decision to classify these lands as not suited for timber production at
  least every 10 years and shall return these lands to timber production whenever he determines that
  conditions have changed so that they have become suitable for timber production.

  "(l) The Secretary shall-

  "(1) formulate and implement, as soon as practicable, a process for estimating long-term costs and benefits
  to support the program evaluation requirements of this Act. This process shall include requirements to
  provide information on a representative sample basis of estimated expenditures associated with the
  reforestation, timber stand improvement, and sale of timber from the National Forest System, and shall
  provide a comparison of these expenditures to the return to the Government resulting from the sale of
  timber; and

  "(2) include a summary of data and findings resulting from these estimates as a part of the annual report
  required pursuant to section 8(c) of this Act, including an identification on a representative sample basis of
  those advertised timber sales made below the estimated expenditures for such timber as determined by the
  above cost process; and

  the Secretary shall establish-

  "(1) standards to insure that, prior to harvest, stands of trees throughout the National Forest System shall
  generally have reached the culmination of mean annual increment of growth (calculated on the basis of cubic
  measurement or other methods of calculation at the discretion of the Secretary): Provided, That these
  standards shall not preclude the use of sound silvicultural practices, such as thinning or other stand
  improvement measures: Provided further, That these standards shall not preclude the Secretary from
  salvage or sanitation harvesting of timber stands which are substantially damaged by fire, windthrow or
  other catastrophe, or which are in imminent danger from insect or disease attack; and

  "(2) exceptions to these standards for the harvest of particular species of trees in management units after
  consideration has been given to the multiple uses of the forest including, but not limited to, recreation,
  wildlife habitat, and range and after completion of public participation processes utilizing the procedures of
  subsection (d) of this section." (16 U.S.C. 1604)

  National Participation

  Sec. 7. Section 8 of the Forest and Rangeland Renewable Resources Planning
  Act of 1974, as redesignated by section 2 of this Act, is amended­

  * (a) by striking out "sixty" in the second sentence of subsection (a) and inserting in lieu thereof the word
  "ninety"; and by striking out "sixty-day period" in the third sentence of subsection (a) and inserting in lieu
  thereof of "ninety-day period"; and

  * (b) by adding a new sentence at the end of subsection (c) as follows:

  "With regard to the research component of the program, the report shall include, but not be limited to, a
  description of the status of major research programs, significant findings, and how these findings will be
  applied in National Forest System management." (16 U.S.C. 1606)




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  Transportation System

  Sec. 8. Section 10 of the Forest and Rangeland Renewable Resources Planning Act of 1974, as redesignated
  by section 2 of this Act, is amended by inserting "(a)" immediately before the words "The Congress" and
  inserting at the end thereof new subsections (b) and (c) as follows:

  "(b) Unless the necessity for a permanent road is set forth in the forest development road system plan, any
  road construction on land of the National Forest System in connection with a timber contract or other
  permit or lease shall be designed with the goal of reestablishing vegetative cover on the roadway and areas
  where vegetative cover has been disturbed by the construction of the road, within ten years after the
  termination of the contract, permit, or lease either through artificial or natural means. Such action shall be
  taken unless it is later determined that the road is needed for use as a part of the National Forest
  Transportation System."

  "(c) Roads constructed on National Forest System lands shall be designed to standards appropriate for the
  intended uses, considering safety, cost of transportation, and impacts on land and resources." (16 U.S.C.
  1608)

  National Forest System

  Sec. 9. Section 11(a) of the Forest and Rangeland Renewable Resources Planning Act of 1974, as redesignated
  by section 2 of this Act, is amended by adding at the end thereof the following new sentence:
  "Notwithstanding the provisions of the Act of June 4, 1897 (30 Stat. 34; 16 U.S.C. 473), no land now or
  hereafter reserved or withdrawn from the public domain as national forests pursuant to the Act of March 3,
  1891 (26 Stat. 1103; 16 U.S.C. 471), or any act supplementary to and amendatory thereof, shall be returned to
  the public domain except by an act of Congress." (16 U.S.C. 1609)

  Renewable Resources

  Sec. 10. Section 12 of the Forest and Rangeland Renewable Resources Planning Act of 1974, as redesignated
  by section 2 of this Act, is amended by striking out the period at the end of that section and inserting in lieu
  thereof the following: "and on the date of enactment of any legislation amendatory or supplementary
  thereto." (16 U.S.C. 1610)

  Limitations On Timber Removal; Public Participation And Advisory Boards;
  Regulations; Severability

  Sec. 11. The Forest and Rangeland Renewable Resources Planning Act of 1974 is amended by adding at the
  end thereof new sections 13 through 16 as follows:

  "Sec. 13. Limitations on Timber Removal.--(a) The Secretary of Agriculture shall limit the sale of timber from
  each national forest to a quantity equal to or less than a quantity which can be removed from such forest
  annually in perpetuity on a sustained-yield basis: Provided, That, in order to meet overall multiple-use
  objectives, the Secretary may establish an allowable sale quantity for any decade which departs from the
  projected long-term average sale quantity that would otherwise be established: Provided further, That any
  such planned departure must be consistent with the multiple-use management objectives of the land
  management plan. Plans for variations in the allowable sale quantity must be made with public participation
  as required by section 6(d) of this Act. In addition, within any decade, the Secretary may sell a quantity in
  excess of the annual allowable sale quantity established pursuant to this section in the case of any national
  forest so long as the average sale quantity of timber from such national forest over the decade covered by the
  plan do not exceed such quantity limitation. In those cases where a forest has less than two hundred
  thousand thousand acres of commercial forest land, the Secretary may use two or more forests for purposes
  of determining the sustained yield.

  "(b) Nothing in subsection (a) of this section shall prohibit the Secretary from salvage or sanitation
  harvesting of timber stands which are substantially damaged by fire, windthrow, or other catastrophe, or
  which are in imminent danger from insect or disease attack. The Secretary may either substitute such timber




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  for timber that would otherwise be sold under the plan or, if not feasible, sell such timber over and above the
  plan volume. (16 U.S.C. 1611)

  Public Participation And Advisory Boards

  "Sec. 14. Public Participation and Advisory Boards.--(a) In exercising his authorities under this Act and other
  laws applicable to the Forest Service, the Secretary, by regulation, shall establish procedures, including
  public hearings where appropriate, to give the Federal, State, and local governments and the public adequate
  notice and an opportunity to comment upon the formulation of standards, criteria, and guidelines applicable
  to Forest SErvice programs.

  "(b) In providing for public participation in the planning for and management of the National Forest System,
  the Secretary, pursuant to the Federal advisory Committee Act (86 Stat. 770) and other applicable law, shall
  establish and consult such advisory boards as he deems necessary to secure full information and advice on
  the execution of his responsibilities. The membership of such boards shall be representative of a cross
  section of groups interested in the planning for and management of the National Forest System and the
  various types of use and enjoyment of the lands thereof." (16 U.S.C. 1612)

  "Sec. 15. Regulations.-The Secretary of Agriculture shall prescribe such regulations as he determines
  necessary and desirable to carry out the provisions of this Act. (16 U.S.C. 1613)

  "Sec. 16. Severability.-If any provision of this Act or the application thereof to any person or circumstances is
  held invalid, the validity of the remainder of the Act and of the application of such provision to other persons
  and circumstances shall not be affected thereby." (16 U.S.C. 1614)

  Conforming Amendments To The Forest And Rangeland Renewable Resources
  Planning Act of 1974

  Sec. 12. The Forest and Rangeland Renewable Resources Planning Act of 1974
  is amended as follows:

   (a) Section 6(a), as redesignated by section 2 of this Act, is amended by striking out "section 3" and inserting
  in lieu thereof "section 4". (16 U.S.C. 1604)

  (b) Section 8, as redesignated by section 2 of this Act, is amended-

  (1) by striking out "section 2" and "section 3" in the first sentence of subsection (a) and inserting in lieu
  thereof "section 3" and "section 4", respectively;

  (2) by striking out "section 3" in subsection (c) and inserting in lieu thereof "section 4"; and

  (3) by striking out "section 3" in the first sentence of subsection (d) and inserting in lieu thereof "section 4".
  (16 U.S.C. 1606)

  Amendment To The Organic Act

  Sec. 13. The twelfth undesignated paragraph under the heading "SURVEYING THE PUBLIC LANDS" in the
  Act of June 4, 1897 (30 Stat. 35, as amended; 16 U.S.C. 476), is hereby repealed. (16 U.S.C. 476)

  Timber Sales On National Forest System Lands

  Sec. 14. (a) For the purpose of achieving the policies set forth in the Multiple-Use, Sustained-Yield Act of
  1960 (74 Stat. 215; 16 U.S.C. 528-531) and the Forest and Rangeland Renewable Resources Planning Act of
  1974 (88 Stat. 476; 16 U.S.C. 1601-1610), the Secretary of Agriculture, under such rules and regulations as he
  may prescribe, may sell, at not less than appraised value, trees, portions of trees, or forest products located
  on National Forest System lands.




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  (b) All advertised timber sales shall be designated on maps, and a prospectus shall be available to the public
  and interested potential bidders.

  (c) The length and other terms of the contract shall be designed to promote orderly harvesting consistent
  with the principles set out in section 6 of the Forest and Rangeland Renewable Resources Planning Act of
  1974, as amended. Unless there is a finding by the Secretary of Agriculture that better utilization of the
  various forest resources (consistent with the provisions of the Multiple-Use, Sustained-Yield Act of 1960)
  will result, sales contracts shall be for a period not to exceed ten years: Provided, That such period may be
  adjusted at the discretion of the Secretary to provide additional time due to time delays caused by an act of
  an agent of the United States or by other circumstances beyond the control of the purchaser. The Secretary
  shall require the purchaser to file as soon as practicable after execution of a contract for any advertised sale
  with a term of two years or more, a plan of operation, which shall be subject to concurrence by the Secretary.
  The Secretary shall not extend any contract period with an original term of two years or more unless he finds
  (A) that the purchaser has diligently performed in accordance with an approved plan of operation or (B) that
  the substantial overriding public interest justifies the extension.

  (d) The Secretary of Agriculture shall advertise all sales unless he determines that extraordinary conditions
  exist, as defined by regulation, or that the appraised value of the sale is less than $10,000. If, upon proper
  offering, no satisfactory bid is received for a sale, or the bidder fails to complete the purchase, the sale may
  be offered and sold without further advertisement.

  (e)(1) In the sale of trees, portions of trees, or forest products from National Forest System lands (hereinafter
  referred to in this subsection as "national forest materials"), the Secretary of Agriculture shall select the
  bidding method or methods which-

  (A) insure open and fair competition;

  (B) insure that the Federal Government receive not less than the appraised value as required by subsection
  (a) of this section;

  (C) consider the economic stability of communities whose economies are dependent on such national forest
  materials, or achieve such other objectives as the Secretary deems necessary; and

  (D) are consistent with the objectives of this Act and other Federal statutes.

  The Secretary shall select or alter the bidding method or methods as he determines necessary to achieve the
  objectives stated in clauses (A), (B), (C) and (D) of this paragraph.

  (2) In those instances when the Secretary selects oral auction as the bidding method for the sale of any
  national forest materials, he shall require that all prospective purchasers submit written sealed qualifying
  bids. Only prospective purchasers whose written sealed qualifying bids are equal to or in excess of the
  appraised value of such national forest materials may participate in the oral bidding process.

  (3) The Secretary shall monitor bidding patterns involved in the sale of national forest materials. If the
  Secretary has a reasonable belief that collusive bidding practices may be occurring, then-

  (A) he shall report any such instances of possible collusive bidding or suspected collusive bidding practices
  to the Attorney General of the United States with any and all supporting data;

  (B) he may alter the bidding methods used within the affected area; and

  (C) he shall take such other action as he deems necessary to eliminate such practices with the affected area.

  (f) The Secretary of Agriculture, under such rules and regulations as he may prescribe, is authorized to
  dispose of, by sale or otherwise, trees, portions of trees, or other forest products related to research and
  demonstration projects.




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  (g) Designation, marking when necessary, and supervision of harvesting of trees, portions of trees, or forest
  products shall be conducted by persons employed by the Secretary of Agriculture. Such persons shall have no
  personal interest in the purchase or harvest of such products and shall not be directly or indirectly in the
  employment of the purchaser thereof.

  (h) The Secretary of Agriculture shall develop utilization standards, methods of measurement, and
  harvesting practices for the removal of trees, portions of trees, or forest products to provide for the optimum
  practical use of the wood material. Such standards, methods, and practices shall reflect consideration of
  opportunities to promote more effective wood utilization, regional conditions, and species characteristics
  and shall be compatible with multiple use resource management objectives in the affected area. To
  accomplish the purpose of this subsection in situations involving salvage of insect-infested, dead, damaged,
  or down timber, and to remove associated trees for stand improvement, the Secretary is authorized to
  require the purchaser of such timber to make monetary deposits, as a part of the payment for the timber, to
  be deposited in a designated fund from which sums are to be used, to cover the cost to the United States for
  design, engineering, and supervision of the construction of needed roads and the cost for Forest Service sale
  preparation and supervision of the harvesting of such timber. Deposits of money pursuant to this subsection
  are to be available until expended to cover the cost to the United States of accomplishing the purposes for
  which deposited: Provided, That such deposits shall not be considered as moneys received from the national
  forests within the meaning of sections 500 and 501 of title 16, United States Code: And provided further,
  That sums found to be in excess of the cost of accomplishing the purposes for which deposited on any
  national forest shall be transferred to miscellaneous receipts in the Treasury of the United States.

  (1) For sales of timber which include a provision for purchaser credit for construction of permanent roads
  with an estimated cost in excess of $20,000, the Secretary of Agriculture shall promulgate regulations
  requiring that the notice of sale afford timber purchasers qualifying as "small business concerns" under the
  Small Business Act, as amended, and the regulations issued thereunder, an estimate of the cost and right,
  when submitting a bid, to elect that the Secretary build the proposed road: Provided, That the provision of
  this subsection shall not apply to sales of timber on National Forest System lands in the State of Alaska.

  If the purchaser makes such an election, the price subsequently paid for the timber shall include all of the
  estimated cost of the road. In the notice of sale, the Secretary of Agriculture shall set a date when such road
  shall be completed which shall be applicable to either construction by the purchaser or the Secretary,
  depending on the election. To accomplish requested work, the Secretary is authorized to use from any
  receipts from the sale of timber a sum equal to the estimate for timber purchaser credits, and such additional
  sums as may be appropriated for the construction of roads, such funds to be available until expended, to
  construct a road that meets the standards specified in the notice of sale. The provisions of this subsection
  shall become effective on October 1, 1976. (16 U.S.C. 472a)

  Validation Of Timber Sales Contracts

  Sec. 15. (a) Timber sales made pursuant to the Act of June 4, 1897 (30 Stat. 35, as amended; 16 U.S.C. 476),
  prior to the date of enactment of this section shall not be invalid if the timber was sold in accord with Forest
  Service silvicultural practices and sales procedures in effect at the time of the sale, subject to the provisions
  of subsection (b) of this section. (16 U.S.C. 476(note))

  (b) The Secretary of Agriculture is directed, in developing five-year operating plans under the provisions of
  existing fifty-year timber sales contracts in Alaska, to revise such contracts to make them consistent with the
  guidelines and standards provided for in the Forest and Rangeland Renewable Resources Planning Act of
  1974, as amended, and to reflect such revisions in the contract price of timber. Any such action shall not be
  inconsistent with valid contract rights approved by the final judgment of a
  court of competent jurisdiction. (16 U.S.C. 1601(note))

  Payments To States For Schools And Roads

  Sec. 16. The sixth paragraph under the heading "FOREST SERVICE" in the Act of May 23, 1908, as
  amended, and section 13 of the Act of March 1, 1911, as amended (35 Stat. 260, 36 Stat. 963, as amended; 16
  U.S.C. 500), are each amended by adding at the end thereof, respectively, the following new sentence:




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  "Beginning October 1, 1976, the term 'moneys received' shall include all collections under the Act of June 9,
  1930, and all amounts earned or allowed any purchaser of national forest timber and other forest products
  within such State as purchaser credits, for the construction of roads on the National Forest Transportation
  System within such national forests or parts thereof in connection with any Forest Service timber sales
  contract. The Secretary of Agriculture shall, from time to time as he goes through his process of developing
  the budget revenue estimates, make available to the States his current projections of revenues and payments
  estimated to be made under the Act of May 23, 1908, as amended, or any other special Acts making
  payments in lieu of taxes, for their use for local budget planning purposes." (16 U.S.C. 500)

  Acquisition Of National Forest System Lands

  Sec. 17. (a) The Act of March 1, 1911 (36 Stat. 961), as amended (16 U.S.C. 480, 500, 513-517, 517a, 518, 519,
  521, 552, 563), is amended as follows:

  (1) Section 4, as amended, is repealed, and all function of the National Forest Reservation Commission are
  transferred to the Secretary of Agriculture. (16 U.S.C. 513)

  (2) Section 5 is repealed. (16 U.S.C. 513)

  (3) Section 6 is amended to read as follows: "The Secretary of Agriculture is hereby authorized and directed
  to examine, locate, and purchase such forested, cut-over, or denuded lands within the watersheds of
  navigable streams as in his judgment may be necessary to the regulation of the flow of navigable streams or
  the production of timber. No deed or other instrument of conveyance of lands referred to herein shall be
  accepted or approved by the Secretary of Agriculture under this Act until the legislature of the State in which
  the land lies shall have consented to the acquisition of such land by the United States for the purpose of
  preserving the navigability of navigable streams." (16 U.S.C. 515)

  (4) Section 7, as amended, is amended to read as follows: "When the public interests will be benefited
  thereby, the Secretary of Agriculture is hereby authorized, in his discretion, to accept on behalf of the United
  States title to any lands within the exterior boundaries of national forests which, in his opinion, are chiefly
  valuable for the purposes of this Act, and in exchange therefore to convey by deed not to exceed an equal
  value of such national forest land in the same State, or he may authorize the grantor to cut and remove an
  equal value of timber within such national forest in the same State, the values in each case to be determined
  by him: Provided, That before any such exchange is effected notice of the contemplated exchange reciting the
  lands involved shall be published once each week for four successive weeks in some newspaper of general
  circulation in the county or counties in which may be situated the lands to be accepted, and in some like
  newspaper published in any county in which may be situated any lands or timber to be given in such
  exchange. Timber laws and regulations relating to such national forests, and under the direction and
  supervision and in accordance with the requirements of the Secretary of Agriculture shall, upon acceptance,
  become parts of the national forests within whose exterior boundaries they are located, and be subjected to
  all provisions of this Act." (16 U.S.C. 516)

  (5) Section 9, as amended, is amended by striking out the following language in the first sentence: "the
  National Forest Reservation Commission and". (16 U.S.C. 518)

  (6) Section 14, as amended, is repealed. (16 U.S.C. 514)

  (b) For purposes of providing information that will aid the Congress in its oversight responsibilities and
  improve the accountability of expenditures for the acquisition of forest land, the Secretary of Agriculture
  may not hereafter enter into any land purchase or exchange relating to the National Forest System of
  $25,000 or more for the types of lands which have been heretofore approved by the National Forest
  Reservation Commission until after 30 days from the date upon which a detailed report of the facts
  concerning such proposed purchase or transfer is submitted to the Committee on Agriculture and Forestry of
  the Senate or such earlier time as may be approved by both such committees. Such report shall contain at
  least the following:

  (1) guidelines utilized by the Secretary in determining that the land should be acquired;




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  National Forest Management Act of 1976                                                                         13


  (2) the location and size of the land;

  (3) the purchase price of the land and the criteria used by the Secretary in determining such price; and

  (4) the person from whom the land is being acquired. (16 U.S.C. 521b)

  Amendment To The Knutson-Vandenberg Act

  Sec. 18. Section 3 of the Act of June 9, 1930 (46 Stat. 527; 16 U.S.C. 576b), is amended-

  (a) by striking out the word "or" immediately before "(3)" in the first sentence thereof; and

  (b) by striking out in the first sentence thereof the colon preceding the proviso and all that follows down
  through "three years" and inserting in lieu thereof the following: ", or (4) protecting and improving the
  future productivity of the renewable resources of the forest land on such sale area, including sale area
  improvement operations, maintenance and construction, reforestation and wildlife habitat management".
  (16 U.S.C. 576b)

  Amendment To The Act Of June 12, 1960

  Sec. 19. The Act of June 12, 1960 (74 Stat. 215; 16 U.S.C. 528-531), is amended by adding at the end thereof
  the following new section:

  "Sec. 5. This Act may be cited as the 'Multiple-Use Sustained-Yield Act of 1960'." (16 U.S.C. 528(note))

  Plan For Control Of Dutch Elm Disease

  Sec. 20. The Secretary of Agriculture, in consultation with officials of both the State and political
  subdivisions thereof, shall conduct a study of the incidence of Dutch elm disease and evaluate methods of
  controlling the spread of such disease. The Secretary shall prepare and submit to the President and both
  Houses of the Congress on or before March 1, 1977, a report which includes-

  (1) the results of such study;

  (2) plans for further research into the control of Dutch elm disease; and

  (3) an action plan which includes a program of outreach and public information about the disease, and
  recommendations for controlling the spread of the disease (16 U.S.C. 594-2(note))

  Severability

  Sec. 21. If any provision of this Act or the application thereof to any person or circumstances is held invalid,
  the validity of the remainder of the Act and of the application of such provision to other persons and
  circumstances shall not be affected thereby. (16 U.S.C. 1600(note))




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                                       FOREST SERVICE MANUAL
                                   ROCKY MOUNTAIN REGION (REGION 2)
                                            DENVER, CO



     FSM 2600 - WILDLIFE, FISH, AND SENSITIVE PLANT HABITAT MANAGEMENT

    CHAPTER 2670 - THREATENED, ENDANGERED AND SENSITIVE PLANTS AND
                                ANIMALS

   Supplement No.: 2600-2011-1

   Effective Date: May 25, 2011

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   Approved: MICHAEL J. HOLIFIELD                                Date Approved: 06/10/2011
             Acting Regional Forester, Resources

   Posting Instructions: Supplements are numbered consecutively by Title and calendar year.
   Post by document; remove entire document and replace it with this supplement. Retain this
   transmittal as the first page(s) of this document. The last supplement to this title was
   2600-2009-1 to FSM 2670.

   New Document(s):                 2670                                                   23 Pages

   Superseded Document(s) by        2670 (Supplement 2600-2009-1, 06/09/2009)              23 Pages
   Issuance Number and
   Effective Date

   Digest:
   2672.11 Exhibit 01 - Updates the list of species designated by the Regional Forester. New
   additions to the list include one mammal, hoary bat (Lasiurus cinereus), and one plant, Draba
   weberi (Weber’s draba). Species removed from the previous (2009) list are one bird, American
   three-toed woodpecker (Picoides dorsalis), and four plants, Astragalus wetherelli, Botrychium
  furcatum, Cirsium perplexans, and Oenothera harringtonii. One mammal, the grizzly bear
   (Ursus arctos horribilis), is removed due to its Court-ordered re-listing as a Threatened species.
   Two plants, Ipomposis polyanthus and Phacelia scopulina var. submutica are removed because
   they are now proposed for listing under the Endangered Species Act.




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   2670.2 - OBJECTIVES

   2670.22 - Sensitive Species

          3. Develop and implement conservation strategies for sensitive species and their habitats,
   in coordination with other Forest Service units, managing agencies, and landowners.

           4. Coordinate management objectives to conserve sensitive species with state and federal
   agencies, tribes and other cooperators as appropriate. Approaches may include collaboratively
   developing individual species or multi-species conservation strategies, formalizing interagency
   conservation agreements, and incorporating recommendations into management direction set
   forth in Land and Resource Management Plans.

   2670.3 - POLICY

   2670.32 - Sensitive Species

           6. Integrate available scientific information, including Regional species evaluations,
   species and ecosystem assessments, and conservation strategies, into Forest Service planning and
   implementation.

           7. Conduct appropriate inventories and monitoring of sensitive species to improve
   knowledge of distribution, status, and responses to management activities, coordinating efforts
   within the Region and with other agencies and partners where feasible.

           8. Analyze and manage for sensitive species in groups and habitat complexes, when
   feasible, to realize efficiencies and ecological soundness of multi-species and ecosystem
   management approaches.

   2670.45 - Forest Supervisors

           7. In accordance with guidance in FSM 2672.42, designate journey level biologists and
   botanists who are qualified to review biological evaluations, specifying the type(s) of organisms
   (fish and aquatic invertebrates, wildlife, terrestrial invertebrates, and plants) for which the
   individual is qualified. Qualifications include: meeting the Office of Personnel Management
   Qualification Standards for General Schedule Positions for the appropriate job series (0482,
   0486, 0430) at the GS-9 level or above; sufficient training in procedural and substantive
   requirements for biological evaluations, including knowledge of the Endangered Species Act and
   Forest Service policy in this FSM; and one year or more of experience in conducting biological
   evaluations that meet professional standards (FSM 2672.42 and 2672.43). Use expert level
   staffing to assess adequacy of training and experience (FSM 2604.21 paragraph 5). Provide a list
   of personnel qualified to review biological evaluations to the Regional Office annually or as
   updates are completed.




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   2670.5 - Definitions

          Action. All activities or programs authorized, funded or carried out, in whole or in part,
   by Federal agencies in the United States or upon the high seas (50 CFR 402.02). Both
   programmatic and project level proposals are considered to be actions subject to the Endangered
   Species Act.

          Biological Assessment. Information prepared to comply with Section 7 of the
   Endangered Species Act for major construction activities to determine whether listed and
   proposed species and designated and proposed critical habitat may be present in the action area,
   and the evaluation of potential effects of the action on such species and habitat. A “major
   construction activity” is a major Federal action significantly affecting the quality of the human
   environment, that is, for which an Environmental Impact Statement is prepared (50 CFR 402.02).
   A Biological Assessment may be prepared for any project for which formal consultation is
   required.

           Biological Evaluation. A documented Forest Service review of Forest Service actions in
   sufficient detail to: 1) comply with the requirements of the Endangered Species Act; 2) ensure
   that actions do not contribute to loss of viability of native or desired non-native plant or animal
   species, or cause a trend towards listing under the ESA; and 3) provide a standard by which to
   ensure that endangered, threatened, proposed, and sensitive species and critical habitats receive
   full consideration in Forest Service decision-making. A biological evaluation may be used to
   satisfy consultation requirements for a biological assessment (FSM 2672.4).

           Conserve. The use of all methods and procedures necessary to bring an endangered
   species or threatened species to the point at which the protections pursuant to the ESA are no
   longer necessary, or to avoid causing a species to become threatened or endangered, or to
   maintain viable populations in the planning area.

           Conservation Strategy. A document that establishes conservation objectives and
   identifies the management actions necessary to conserve a species, species group or ecosystem.
   The strategy can be incorporated into Forest Service plans through the NEPA process with
   appropriate line officer approval.

           Conservation Agreement. A formal agreement with cooperating or regulatory agencies
   that identifies how a conservation strategy will be implemented.

           Programmatic Consultation. A generic term encompassing several different types of
   ESA Section 7 consultations: 1) evaluation of strategic management plans that may establish
   objectives, standards, guidelines, or design criteria to which future actions must adhere; 2)
   evaluation of an overall Federal “program”; or 3) evaluation of a group of similar proposed
   actions, or different types of actions proposed within a specific geographic area. Three
   commonly used approaches for documenting programmatic consultations are tiered, appended,
   and batched Biological Opinions.



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   2671 - COOPERATION

   2671.44 - Determination of Effects on Listed or Proposed Species

   Seek to improve the efficiency and effectiveness of consultations and conferences under Section
   7 of the Endangered Species Act and to enhance the conservation of imperiled species by using a
   streamlining process as appropriate. Streamlining is accomplished by emphasizing coordination
   and communication during informal consultation. Streamlining actions may include:
   development of criteria or screens to improve consistency in effects analysis and determinations;
   identification of design criteria intended to benefit particular species; standardizing the format
   used to present information and analysis; recommending alternative approaches, such as
   programmatic consultations, to handle consultation workloads; and establishing procedures to
   expedite dispute resolution.

   2672 - PLANNING FOR MANAGEMENT AND RECOVERY

   2672.11 - Identification of Sensitive Species

          1. Species identified as Candidates by the U.S. Fish and Wildlife Service will
   automatically be placed on the sensitive species list in Region 2.

           4. To be eligible for designation by the Regional Forester as sensitive, the species (or
   subspecies, variety or stock) must be recognized by taxonomic experts, and must be known or
   likely to occur on National Forest System lands within the Rocky Mountain Region. Sensitive
   species status applies throughout the range of the species on National Forest System lands within
   the Rocky Mountain Region. The Regional Forester's sensitive species list for the Rocky
   Mountain Region is shown in exhibit 01.

         5. The evaluation criteria used to determine whether a species warrants sensitive status
   (FSM 2670.5) are shown in exhibit 02.

            6. The list of sensitive species is reviewed and updated periodically. Forest Supervisors
   may recommend additions or deletions to the list based on the criteria in exhibit 02.
   Recommendations from other interested agencies, groups, and individuals with information
   pertinent to sensitive species are considered in the revision process. A species will be removed
   from the sensitive list when sensitive status is superseded by listing or proposed listing under the
   Endangered Species Act. A species that is removed from listing under the ESA because
   recovery criteria have been met is automatically added to the sensitive species list for a period of
   at least 5 years to ensure that its recovery is maintained and monitored.

          7. For newly designated sensitive species, current or planned Forest Service actions that
   are well underway (or are completed) at the time an updated sensitive species list goes into effect
   are exempt from requirements to conduct a biological evaluation for that species. This
   exemption is intended to enable actions that have been planned using the previous sensitive



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   species list to go forward. Exemption in these instances does not relieve the responsible official
   from compliance with other statutory and regulatory mandates, including: 1) National
   Environmental Policy Act requirements to evaluate significant new circumstances or information
   relevant to environmental concerns and bearing on the proposed action or its impacts (40 CFR
   1502.9, FSH 1909.15 sec. 18), and 2) National Forest Management Act requirements specify
   guidelines when developing, maintaining and revising plans to provide for diversity of plant and
   animal communities based on the suitability and capability of the specific land area in order to
   meet overall multiple-use objectives (16 USC 1600).

   2672.4 - Biological Evaluations

   2672.41 - Objectives of the Biological Evaluation

           1. To ensure that Forest Service actions do not contribute to loss of viability of
   threatened, endangered, proposed, or sensitive plant and animal species, or contribute to a trend
   towards Federal listing under the Endangered Species Act of any species.

           4. To incorporate concerns for sensitive species throughout the planning process,
   identifying opportunities for enhancement and reducing any potential negative impacts.

   2672.42 - Standards for Biological Evaluations

            1. A list of endangered, threatened, and proposed species and critical habitat known or
   likely to occur in the action area may be requested from the U.S. Fish and Wildlife Service
   (FWS), or a list may be submitted to FWS for concurrence.

          2. Coordinate mapping of habitat with the FWS and other management agencies as
   appropriate.

           3. An analysis of the direct, indirect, and cumulative effects of the actions under all
   alternatives considered through the NEPA process on federally listed, proposed, or sensitive
   species, or habitat required for recovery or to meet Forest Service objectives.

           5. A determination of the effects or impacts on each species, and summary of the
   rationale for each determination.

                 a. For federally listed species, or species proposed for such listing, and for critical
                 habitat or proposed critical habitat, use the determination statements specified in ESA
                 Section 7 regulations (50 CFR 402) and in accordance with FSM 2671.43 through
                 2671.45).

                 b. For Region 2 sensitive species make a determination of:

                 (1) "No impact";




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                 (2) "Beneficial impact";

                 (3) "May adversely impact individuals, but not likely to result in a loss of viability in
                 the Planning Area, nor cause a trend toward federal listing"; or

                 (4) "Likely to result in a loss of viability in the Planning Area, or in a trend toward
                 federal listing."

   2672.43 - Procedure for Conducting Biological Evaluations

   The intensity and detail of the biological evaluation may vary and should be commensurate with
   the risk associated with the action and the vulnerability of the species involved. Document the
   biological evaluation in accordance with the standards established in FSM 2672.42. When a
   recovery plan or conservation strategy exists for a species and is applicable to the actions being
   analyzed, evaluate and document consistency of the action with the recovery plan or
   conservation strategy.

            Step 1. Prefield Review.
   Follow current direction in FSM 2672.42 to identify all federally listed or proposed species.
   Review records and contact knowledgeable Forest Service employees and other experts for
   known occurrences, distribution maps, and habitat information. As appropriate, contact state and
   federal wildlife, fish, and plant management agencies, Natural Heritage Programs, research
   stations, universities, or other organizations about species occurrence and habitat requirements.
   Document all sensitive species and their habitats that are known or likely to be present in the
   analysis area, or that the proposed action potentially affects.

   Briefly summarize the habitat needs and ecological requirements of the species. Identify
   seasonal patterns and recommend when field surveys can be conducted to evaluate species
   and/or habitat presence, if needed. Describe management direction applicable to habitat that
   may be affected, such as Forest Plan standards and guidelines. FSM 2672.43 Exhibit 01 outlines
   the procedure to use during the Prefield Review (Step 1) to determine whether Field
   Reconnaissance (Step 2) is needed to complete the biological evaluation.

            Step 2. Field Reconnaissance.
   The purpose of this step is to gain a more specific understanding of which habitats and species
   exist in the action area, and to gather information that will help to evaluate the significance of the
   area to the species. The need for and extent of field reconnaissance should be commensurate
   with the risk associated with the proposal, the degree of certainty desired, and the level of
   knowledge already at hand.
   Identify and describe all habitats known to be important for the species in the analysis area. As
   needed, design and conduct field surveys to confirm species’ presence and habitat suitability
   assess accuracy of remote sensing data, and collect any other data deemed necessary. Assess and



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   refine knowledge of how habitats exist on the landscape and how species occupy and use their
   habitats.

            Step 3. Analysis of Effects and Determination.
   The purpose of this analysis for federally listed or proposed species is to determine whether the
   action may affect the species or critical habitat. The purpose of this analysis for sensitive species
   is to determine whether the action will contribute toward federal listing or loss of viability in the
   Planning Area. As part of the interdisciplinary process of designing alternatives under NEPA,
   develop design criteria to meet objectives for threatened, endangered, proposed, and sensitive
   species, and identify any necessary mitigation measures. The analysis must consider direct,
   indirect, and cumulative effects of the proposed action and any alternatives on the species and its
   habitat.

   Factors that may be considered in the analysis of effects include: the proportion of the species’
   total population and range that is in the analysis area or is affected by the action; whether the
   habitat affected by the action is necessary for critical life functions (for example, feeding,
   breeding, nesting); timing, frequency and duration of human activity, especially as it relates to
   significant behavioral modification; any anticipated reductions in numbers or distribution of the
   species; and the potential of the species to recover from short-term impacts.
   Based on the analysis, make a determination of the effects of each of the alternatives on federally
   listed or proposed species and critical habitat, and on Region 2 sensitive species. Use the
   appropriate language for each federally listed species, critical habitat, proposed species, proposed
   critical habitat (FSM 2671.43 through 2671.45), and sensitive species, and summarize the
   rationale for each.

            Step 4. Documentation.
   The purpose of this step is to check the documentation record that has been compiled.
   Documentation is essential to the biological evaluation process and is to be conducted as the
   biological evaluation proceeds, rather than after the fact.

   Documentation may be referenced or included as part of the appropriate NEPA document,
   contained in the biological evaluation itself, or held in district or forest files. Ensure that all
   requirements and mitigation measures are included in the decision document and implementation
   plans or contracts.
   Documentation should include contacts with agencies, especially the FWS, individuals, and
   organizations, (dates, names of people and organizations, summary of information), and sources
   of data used in developing the biological evaluation. The list of species considered must be
   documented. Indicate species, for which surveys were conducted, describe the survey methods
   used, provide maps showing which areas were surveyed, record the date(s) of survey(s) and the
   people who conducted the survey(s), and provide the results. Enter new data into appropriate
   corporate databases, and notify Natural Heritage Programs and other cooperating agencies as



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   appropriate. Use literature citations to support conclusions on effects, habitat relationships,
   species ecology, and recommendations for removing or avoiding adverse effects.




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                                              2672.11 - Exhibit 01
                                      R2 Regional Forester’s Sensitive Species

   ANIMALS

   MAMMALS______________________
   Conepatus leuconotus                                              American hog-nosed skunk
   Corynorhinus townsendii                                           Townsend’s big-eared bat
   Cynomys gunnisoni                                                 Gunnison’s prairie dog
   Cynomys leucurus                                                  white-tailed prairie dog
   Cynomys ludovicianus                                              black-tailed prairie dog
   Euderma maculatum                                                 spotted bat
   Gulo gulo                                                         wolverine
   Lasiurus cinereus                                                 hoary bat
   Lontra canadensis                                                 river otter
   Martes americana                                                  American marten
   Microtus richardsoni                                              water vole
   Myotis thysanodes                                                 fringed myotis
   Ovis canadensis canadensis                                        Rocky Mountain bighorn sheep
   Ovis canadensis nelsoni                                           desert bighorn sheep
   Sorex hoyi                                                        pygmy shrew
   Thomomys clusius                                                  Wyoming pocket gopher
   Vulpes macrotis                                                   kit fox
   Vulpes velox                                                      swift fox
   Zapus hudsonius luteus                                            New Mexican meadow jumping mouse
   Zapus hudsonius preblei (Wyoming SPR)                             Preble’s meadow jumping mouse

   BIRDS
   Accipiter gentilis                                                    northern goshawk
   Aegolius funereus                                                     boreal owl
   Aimophila cassinii                                                    Cassin’s sparrow
   Ammodramus savannarum                                                 grasshopper sparrow
   Amphispiza belli                                                      sage sparrow
   Asio flammeus                                                         short-eared owl
   Athene cunicularia                                                    burrowing owl
   Botaurus lentiginosus                                                 American bittern
   Buteo regalis                                                         ferruginous hawk
   Calcarius mccownii                                                    McCown’s longspur
   Calcarius ornatus                                                     chestnut-collared longspur
   Centrocercus minimus                                                  Gunnison sage-grouse
   Centrocercus urophasianus                                             greater sage-grouse
   Charadrius montanus                                                   mountain plover
   Chlidonias niger                                                      black tern



                                                                                        Rvsd Plan - 00001192
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                                           2672.11 - Exhibit 01—Continued

   Circus cyaneus                                                        northern harrier
   Coccyzus americanus                                                   yellow-billed cuckoo
   Contopus cooperi                                                      olive-sided flycatcher
   Cygnus buccinator                                                     trumpeter swan
   Cypseloides niger                                                     black swift
   Falco peregrinus anatum                                               American peregrine falcon
   Haliaeetus leucocephalus                                              bald eagle
   Histrionicus histrionicus                                             harlequin duck
   Lagopus leucura                                                       white-tailed ptarmigan
   Lanius ludovicianus                                                   loggerhead shrike
   Melanerpes lewis                                                      Lewis’s woodpecker
   Numenius americanus                                                   long-billed curlew
   Otus flammeolus                                                       flammulated owl
   Picoides arcticus                                                     black-backed woodpecker
   Progne subis                                                          purple martin
   Spizella breweri                                                      Brewer’s sparrow
   Tympanuchus cupido                                                    greater prairie-chicken
   Tympanuchus pallidicinctus                                            lesser prairie-chicken
   Tympanuchus phasianellus columbianus                                  Columbian sharp-tailed grouse

   AMPHIBIANS
   Anaxyrus boreas boreas                                                boreal toad
   Lithobates blairi                                                     plains leopard frog
   Lithobates luteiventris                                               Columbia spotted frog pop. 4 (Bighorn
                                                                                 Mountain spotted frog)
   Lithobates pipiens                                                    northern leopard frog
   Lithobates sylvatica                                                  wood frog

   REPTILES
   Sistrurus catenatus edwardii                                          desert massasauga rattlesnake
   Storeria occipitomaculata pahasapae                                   Black Hills red-bellied snake

   FISHES
   Catostomus discobolus                                                 bluehead sucker
   Catostomus latipinnis                                                 flannelmouth sucker
   Catostomus platyrhynchus                                              mountain sucker
   Catostomus plebeius                                                   Rio Grande sucker
   Couesius plumbeus                                                     lake chub




                                                                                       Rvsd Plan - 00001193
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                                           2672.11 - Exhibit 01—Continued

   Gila pandora                                                          Rio Grande chub
   Gila robusta                                                          roundtail chub
   Hybognathus placitus                                                  plains minnow
   Macrhybopsis gelida                                                   sturgeon chub
   Margariscus margarita                                                 pearl dace
   Nocomis biguttatus                                                    hornyhead chub
   Oncorhynchus clarkii bouvieri                                         Yellowstone cutthroat trout
   Oncorhynchus clarkii pleuriticus                                      Colorado River cutthroat trout
   Oncorhynchus clarkii virginalis                                       Rio Grande cutthroat trout
   Phoxinus eos                                                          northern redbelly dace
   Phoxinus erythrogaster                                                southern redbelly dace
   Phoxinus neogaeus                                                     finescale dace
   Platygobio gracilis                                                   flathead chub

   INSECTS
   Hesperia ottoe                                                    Ottoe skipper
   Ochrotrichia susanae                                              Susan’s purse-making caddisfly
   Somatochlora hudsonica                                            Hudsonian emerald
   Speyeria idalia                                                   regal fritillary
   Speyeria nokomis nokomis                                          Nokomis fritillary or Great Basin silverspot

   MOLLUSCS
   Acroloxus coloradensis                                                Rocky Mountain capshell
   Oreohelix pygmaea                                                     pygmy mountainsnail
   Oreohelix strigosa cooperi                                            Cooper’s Rocky Mountainsnail

   PLANTS

   NONVASCULAR PLANTS
   Sphagnum angusti_folium
   Sphagnum balticum

   FERNS & ALLIES_______
   Botrychium ascendens
   Botrychium campestre
   Botrychium lineare
   Botrychium paradoxum
   Lycopodium complanatum
   Selaginella selaginoides




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                                           2672.11 - Exhibit 01—Continued

   MONOCOTS_________________________________________
   Amerorchis rotund,_folia
   Calochortus flexuosus
   Carex alopecoidea
   Carex diandra
   Carex livida
   Cypripedium montanum
   Cypripedium parviflorum
   Eleocharis elliptica
   Epipactis gigantea
   Eriophorum altaicum var. neogaeum
   Eriophorum chamissonis
   Eriophorum gracile
   Festuca hallii
   Kobresia simpliciuscula
   Liparis loeselii
   Malaxis brachypoda
   Platanthera orbiculata
   Ptilagrostis porteri
   Schoenoplectus hallii
   Triteleia grand,flora

   DICOTS_____________________________________________
   Aliciella sedifolia
   Aquilegia chrysantha var. rydbergii
   Aquilegia laramiensis
   Armeria maritima ssp. sibirica
   Asclepias uncialis
   Astragalus barrii
   Astragalus leptaleus
   Astragalus missouriensis var. humistratus
   Astragalus proximus
   Astragalus ripleyi
   Braya glabella
   Chenopodium cycloides
   Cuscuta plattensis
   Descurainia torulosa
   Draba exunguiculata
   Draba grayana
   Draba smithii
   Draba weberi



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                                           2672.11 - Exhibit 01—Continued

   Drosera anglica
   Drosera rotund,fol/a
   Eriogonum brandegeei
   Eriogonum exil,/folium
   Eriogonum visheri
   Gutierrezia elegans
   Ipomopsis aggregata ssp. weberi
   Lesquerella fremontii
   Lesquerella pruinosa
   Machaeranthera coloradoensis
   Mimulus gemmiparus
   Neoparrya lithophila
   Oreoxis humilis
   Parnassia kotzebuei
   Penstemon absarokensis
   Penstemon caryi
   Penstemon degeneri
   Penstemon harringtonii
   Physaria didymocarpa var. lanata
   Physaria pulvinata
   Physaria scrotiformis
   Potentilla rupincola
   Primula egaliksensis
   Pyrrocoma carthamoides var. subsquarrosa
   Pyrrocoma clementis var. villosa
   Pyrrocoma integrifolia
   Ranunculus karelinii
   Rubus arcticus ssp. acaulis
   Salix arizonica
   Salix barrattiana
   Salix candida
   Salix myrtillifolia
   Salix serissima
   Sanguinaria canadensis
   Shoshonea pulvinata
   Thalictrum heliophilum
   Townsendia condensata var. anomala
   Utricularia minor
   Viburnum opulus var. americanum
   Viola selkirkii




                                                                            Rvsd Plan - 00001196
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                                                   2672.11 - Exhibit 02

                                       R2 Sensitive Species Evaluation Criteria

   Eight criteria (below) are considered in evaluating whether a species merits sensitive status. The
   combination of all eight factors, including uncertainty rankings, should be considered and
   synthesized in formulating the recommendation for sensitive status. Although information may
   not be complete for all 8 criteria, the available information must provide a compelling argument
   that population viability is of concern as evidenced by known or predicted downward trends. A
   species merits inclusion on the Regional list if it is at risk over a substantial part of its range.

   1. Geographic distribution within the Rocky Mountain Region. All else being equal, species
   that are present in only a few locations within the Rocky Mountain Region have a higher risk of
   extirpation, than those that have a broad distribution. Generally, species with the widest
   breeding distributions are the least vulnerable to deleterious environmental changes and
   catastrophic events. Species with restricted distribution and limited interchange of individuals
   between subpopulations and subpopulations are more vulnerable to local events (for example
   disease, storms) that may cause extirpation. Similarly, species associated with geographically
   limited habitats may be more extinction prone. Finally, if the current distribution pattern differs
   significantly from historical distribution, this change should be considered in evaluating the
   influence of geographic distribution on species persistence.

       Rankings for geographic distribution within the Rocky Mountain Region:
       A = Scarce OR isolated. If a population or habitat meets any of the following conditions:
            1. Habitat is very scarce throughout the Region, indicating strong potential for
               extirpations, and little likelihood of recolonization. Or,
            2. Habitat or population connectivity is very limited due to factors such as
               environmental gradients, introduced species, disease, and habitat loss or
               degradation. Dispersal among patches is limited or not possible. Or,
            3. Habitat is naturally distributed as isolated patches, with limited opportunity for
               dispersal among patches. Some local populations may be extirpated and rates of
               recolonization will likely be slow. Or, pictorially if populations or habitat look like
               any of the following:




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                                           2672.11 - Exhibit 02—Continued

       B = Patchy OR gaps. If a population or habitat meets any of the following conditions:
             1. Habitat exists primarily as patches, some of which are small or isolated to the degree that
                species interactions are limited by movements between patches. Local sub-populations in
                most of the species’ range interact as a metapopulation1 or patchy population, but some
                patches are so disjunct that sub-populations in those patches are essentially isolated from
                other populations. Or,
            2. Habitat is broadly distributed across the planning area but gaps exist within this
                distribution. Disjunct patches of habitat are typically large enough and close enough
                together to other patches to permit dispersal among patches and to allow species to interact
                as a metapopulation. Or, pictorially if populations or habitat look like any of the following:




       C = Contiguous. If a population or habitat meets the following conditions:
            1. Habitat is broadly distributed across the Region with opportunity for continuous or nearly
                continuous occupation by species, little or no limitation on interaction among populations.
                Or, pictorially if populations or habitat look like either of the following:




       D = Insufficient information to draw inferences about criterion

   2. Geographic distribution outside of the Rocky Mountain Region. Species (or subspecies/ varieties)
   that occur only in the Rocky Mountain Region warrant a higher level of concern. A species (or
   subspecies/variety) that is mostly restricted to the Rocky Mountain Region with a limited distribution
   outside of the Rocky Mountain Region would have a moderate level of concern. The risk of extinction
   associated with activities in the Rocky Mountain Region can be moderated by the potential for
   recolonization from populations existing elsewhere, although low recruitment from outside populations
   would reduce effectiveness of the rescue effect. A species with wide distribution outside the Rocky
   Mountain Region would generally have a substantially reduced risk as a result of activities in the Rocky
   Mountain Region.

   1 Many spatially structured populations will not function as metapopulations. (The degree to which a particular
   species occurs as a metapopulation, or several, in the Region will be unknown for most taxa).




                                                                                    Rvsd Plan - 00001198
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                                           2672.11 - Exhibit 02—Continued

       Rankings for geographic distribution outside the Rocky Mountain Region:
       A = Only within the boundaries of the Rocky Mountain Region (meaning local or regional
           endemics)
       B = Limited distribution outside the Rocky Mountain Region, or widely disjunct taxa for
           which the main distribution is at a significant distance from the Rocky Mountain Region
       C = Wide distribution outside the Rocky Mountain Region
       D = Insufficient information to draw inferences about criterion

   3. Capability of the species to disperse. Dispersal of individuals from a population may be
   limited because a species has low vagility or because barriers to dispersal exist. All else being
   equal, species that do not disperse readily across large areas of unsuitable habitat are at greater
   risk of extinction, than species that disperse readily across a variety of habitats. Movements of
   aquatic species may be limited by barriers such as culverts, impoundments, or discontinuous
   stream networks. The ability of plant species to disperse can depend on seed dispersal agents
   and reproductive strategy. Species that are mobile and for which dispersal is not limited will be
   assigned a value of no concern. Species that are able to disperse only within suitable habitat will
   be assigned a moderate level of concern. Species for which dispersal is limited by behavioral
   patterns or physical capability will be assigned a high level of concern.

   In evaluating this criterion, the importance of dispersal to the life history of the species will be
   considered. For instance, dispersal is a critical characteristic of the life history of species that
   occupy ephemeral habitats or that occur early in succession after disturbance. In contrast,
   dispersal plays a less significant role in the population dynamics of some species that occupy
   stable habitats (such as cave dwelling insects).

       Rankings for capability to disperse:
       A = Very limited dispersal ability (restricted dispersal capability coupled with ephemeral
           habitats)
       B = Disperses only through suitable habitat (dispersal areas may or may not be corridors)
       C = Readily disperses across landscapes with few habitat-related limitations
       D = Insufficient information to draw inferences about criterion

   4. Abundance of the species in the Rocky Mountain Region. Population density or
   abundance is a primary factor in determining whether a species will persist following habitat
   loss. All other things being equal, the lower the abundance or density, the greater the risk of
   extinction. Rankings will be based on categorical estimates of abundance relative to the
   expected abundance of that species in good habitat. This approach avoids problems associated
   with using population estimates or abundance estimates for widely diverse species. Base ranking
   on overall condition, but rationale should draw any contrasts between abundance on NFS lands
   vs. other ownerships.




                                                                            Rvsd Plan - 00001199
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                                           2672.11 - Exhibit 02—Continued

       Rankings for abundance in the Rocky Mountain Region:
       A = Rare - current abundance (estimated number of individuals or populations) is low
           enough that stochastic and other factors lead to potential imperilment
       B = Uncommon - current abundance (estimated number of individuals or populations) is
           large enough that demographic stochasticity is not likely to lead to rapid extinction, but,
           in combination with highly variable environmental factors, could pose a threat
       C = Common - current abundance (estimated number of individuals or populations) is large
           enough that species persistence is not threatened by demographic stochasticity, in
           combination with environmental variation
       D = Insufficient information to draw inferences about criterion

   5. Population trend in the Rocky Mountain Region. Another primary factor indicating that
   viability may be at risk is a persistent downward trend in population size. Consistently declining
   populations are an indication of concern even if current population size is large. All species can
   be expected to have smaller population numbers at times. In fact, variability is the rule in
   populations and therefore, short-term declines should be interpreted cautiously. Alternatively,
   what could appear to be a downward trend may be part of a cyclic population and would not be
   considered a consistent downward trend. An example may be snowshoe hares, which have
   population highs and lows over about a 10 - 15 year period. For this species, the pattern of
   population abundance may need to be considered over 3-4 cycles, before a population trend
   could be established. Results of local and national monitoring programs may be used to assign
   values for this criterion.
       Rankings for population trend in the Rocky Mountain Region:
       A = Significant downward or suspected downward population trend
       B = Stable population
       C = Upward population trend
       D = Insufficient information to draw inferences about criterion

   6. Habitat trend in the Rocky Mountain Region. Another primary factor indicating that
   viability may be at risk is a persistent downward trend in habitat quality or quantity. Trends in
   quantity and/or quality of the species’ habitat can often be indicative of population trends, if
   actual species trend data are unavailable. Base ranking on overall condition, but rationale should
   draw any contrasts between abundance on NFS lands vs. other ownerships. Terrestrial, aquatic,
   wetland, and riparian ecosystem assessments may provide insights into habitat trends.

       Rankings for habitat trend in the Rocky Mountain Region:
       A = Decline in habitat quality or quantity
       B = Stable amounts of suitable or potential habitat, relatively unchanged habitat quality
       C = Improving habitat quality or increasing amounts of suitable or potential habitat
       D = Insufficient information to draw inferences about criterion




                                                                            Rvsd Plan - 00001200
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                                           2672.11 - Exhibit 02—Continued

   7. Vulnerability of habitats in the Rocky Mountain Region. Anthropogenic modifications of
   habitat in the Rocky Mountain Region include urban and rural development, vegetation
   management, mining, water diversions, and road construction. Ecosystem assessments may be
   useful in providing insights into natural patterns and dynamics of ecosystems, the processes that
   influence current habitat conditions, and the degree to which management actions mimic natural
   disturbances and fall within the historical range of variation. This criterion will evaluate recent
   and potential effects of habitat modification on wildlife and plant species. Base ranking on
   overall extent of habitat modifications and resiliency to modification.
       Rankings for vulnerability of habitats in the Rocky Mountain Region:
       A = Substantial modification of habitat has occurred or is anticipated with conditions
           departing from HRV, and/or habitat is impacted by modern stressors such as herbicides,
           nonnative invasive species, water diversions and dams, and so forth
       B = Habitat modification is likely to fall within the range of historical conditions, but is being
           impacted by modern stressors
       C = Habitat resilient, changes are within HRV, and modern stressors not significant
       D = Insufficient information to draw inferences about criterion

   8. Life history and demographic characteristics of the species. Life history factors such as
   reproductive rate, relationship with disease organisms, interaction with mutualists or symbionts,
   food web dynamics, relationship with predators, or relationship with competitors, can affect
   population size and ability to rebound from stochastic or anthropogenic population reductions.
   For vertebrates, examples of characteristics that viability risk include: number of reproductive
   cycles/year, average number of young produced/breeding cycle, minimum age of first
   reproduction, age specific survival rates, and social organization. Life history characteristics that
   affect viability in plants include lifespan and variation in life span of individuals (for example
   annual vs. perennial), seed dispersal strategy, variation in germination rates, relationship with
   pollination agents, and susceptibility to herbivory. Annual variation in vital rates can also be
   important.

   Species with strong mutualistic relationships, with low reproductive rates and which are highly
   susceptible to negative effects of disease, predation or competition may have less ability to
   recover from population declines. Those species will be assigned a high level of concern.
   Species with higher reproductive rates have a greater ability to recover from losses caused by
   predation, disease, or competition. Viability risk is also higher for populations depressed by
   introduced diseases or competitors, or that are susceptible to genetic introgression or inbreeding.

       Rankings for life history and demographic characteristics:
       A = Low reproductive rate and high mortality (for example, susceptible to disease, predation,
           or competition); OR life history characteristics suggest populations may not recover
           rapidly from disturbance events or other demographic risk factors are of concern




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                                           2672.11 - Exhibit 02—Continued

       B = Low reproductive rate or high mortality (for example, susceptible to disease, predation,
           or competition), but not both; OR life history characteristics suggest populations have an
           intermediate ability to recover from disturbance events and no other demographic risk
           factors are known
       C = High reproductive rate and not especially susceptible to disease, predation, or
           competition; OR species has life history characteristics that suggest populations will
           have a high ability to recover from disturbance events and no other demographic risk
           factors are known
       D = Insufficient information to draw inferences about criterion.




                                                                            Rvsd Plan - 00001202
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                                                    2672.43 - Exhibit 01


     Does the species have potential to                                    Site-specific inventory is not
     occur in the area affected by the                           No        needed. Document rationale and
     project, based on species range and                         ^         sources of information.
     habitat associations?

            ^ Yes or Unsure


     Has an adequate site-specific inventory                               Additional inventory is not
     of the area affected by the project                         Yes       needed. Use existing inventory
     already been conducted, using                               ^         information to analyze effects.
     accepted (if available) protocols?

            ^ No or Unsure

     Is the project expected to have no                                    Assume species is present, then
     effects or wholly beneficial effects                        Yes       analyze and document expected
     regardless of the number or location of                     ^         effects.
     individuals in the area affected?

            ^ No or Unsure


     Would information on presence or                                      Assume species is present, then
     relative abundance of the species                           No        analyze and document expected
     improve design and/or application of                        ^         effects.
     mitigation to reduce adverse effects, or
     allow better assessment of effects?


            ^ Yes or Unsure

     Are inventory methods feasible and                                    Assume species is present, and
     effective for providing information on                      No        analyze expected effects.
     presence/absence or number and                              ^         Document why inventory is not
     location of individuals?                                              feasible.

            ^ Yes
      Conduct site-specific inventory to
      inform analysis of effects.




                                                                                  Rvsd Plan - 00001203
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   2676.1 - Grizzly Bear

   In the Greater Yellowstone recovery zone, as a result of sustained and coordinated management
   across agencies and land ownerships, all grizzly bear recovery criteria have been met since 1998.
   The Final conservation Strategy for the Grizzly Bear in the Greater Yellowstone Area was signed
   by the Regional Foresters in 2003.

   2676.11 - Authority

           4. Conservation Strategy for Grizzly Bear in the Greater Yellowstone Area. The
   Conservation Strategy identifies a Primary Conservation Area (PCA) where occupancy by
   grizzly bears is anticipated and acceptable, and provides guidance for coordinated management
   and monitoring within and outside the PCA upon de-listing of the grizzly bear. The
   Memorandum of Understanding Detailing Agency Agreement to Implement the Conservation
   Strategy, included as pages 12-13 of the Conservation Strategy, was signed by the affected
   Regional Foresters in 2003. The Conservation Strategy is available at:
   http://www.fs.fed.us/r1/wildlife/igbc/ConservationStrategy/replacement cs.pdf.

   2676.12 - Objectives

           1. To maintain or enhance grizzly bear habitat conditions on National Forest System
   lands as compared to the 1998 baseline, in accordance with the goals established in the
   Conservation Strategy and the goals, standards and guidelines in National Forest Resource
   Management Plans.

   2676.14 - Responsibility

   2676.14a - Regional Forester

           11. Ensure that the grizzly bear is added to the Regional Forester’s list of sensitive
   species immediately upon de-listing under the Endangered Species Act.

   2676.14 b - Forest Supervisor

          1. As assigned, the Forest Supervisor of the Shoshone NF shall serve as a member of the
   IGBC ecosystem management subcommittee. Upon de-listing, the Forest Supervisor shall serve
   as a member of the Yellowstone Grizzly Coordinating Committee, which has the responsibility
   for implementing the Conservation Strategy.

           2. Work cooperatively with State wildlife agencies to meet population and habitat goals
   established in the Conservation Strategy.

           3. Ensure interagency coordination at appropriate levels and maintain contact with
   interested publics.




                                                                         Rvsd Plan - 00001204
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          4. Work together with State agencies to explore options to address impacts from private
   land development on conservation of the grizzly bear on National Forest System lands, while
   recognizing that State and Federal agencies do not have authority over private lands.

   2676.15 - Planning

   2676.15 a - Habitat Analysis

           1. Complete a biological evaluation for all projects potentially affecting the grizzly bear,
   inside and outside the PCA, to determine if habitat standards in the Conservation Strategy will be
   met. Modify projects as necessary to meet the habitat standards in the Conservation Strategy.

        2. Evaluate grizzly bear habitat connectivity within and between ecosystems through the
   NEPA process for new road construction or reconstruction.

   2676.15 f - Monitoring

         5. Cooperate in interagency monitoring and evaluation of the effectiveness of the
   Conservation Strategy.

   2676.16 - Management and Other Resources

   Where habitat use by grizzly bears is likely, all contracts, special use permits, easements, annual
   operating plans and allotment management plans, and other authorizations shall include, as terms
   and conditions, feasible and effective measures to meet goals and objectives for grizzly bear
   conservation, including specifications for food storage and garbage disposal to comply with food
   storage orders. Full cooperation by permittees is a condition for receiving and holding permits.

   2676.16 d - Livestock Grazing

           2. Where habitat use by grizzly bears is likely, allotment management plans or annual
   operating instructions must specify feasible measures for the timely removal, destruction, or
   treatment of livestock carcasses to provide for public safety or to prevent positive conditioning of
   grizzly bears to livestock carrion as food.




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DEPARTMENT OF AGRICULTURE                   USDA based this decision on the              Introduction and Background
                                            analyses presented in the Final                The mission of the Forest Service is
Forest Service                              Programmatic Environmental Impact            to sustain the health, diversity, and
                                            Statement, National Forest System Land       productivity of the Nation’s forests and
36 CFR Part 219                             Management Planning (USDA, Forest            grasslands to meet the needs of present
RIN 0596-AD02                               Service, 2011) (PEIS). The PEIS was          and future generations. Responsible
                                            prepared in accordance with the              officials for each national forest,
National Forest System Land                 National Environmental Policy Act of         grassland, and prairie will follow the
Management Planning                         1969 (NEPA).                                 direction of the planning rule to
AGENCY:  Forest Service, USDA.                 For the reasons set out in the            develop, amend, or revise their land
                                            discussion that follows, the Department      management plans.
ACTION: Final rule and record of
                                            hereby promulgates a regulation                The new planning rule provides a
decision.
                                            establishing a National Forest System        process for planning that is adaptive
SUMMARY: The U.S. Department of             land management planning rule as             and science-based, engages the public,
Agriculture is adopting a new National      described in Modified Alternative A of       and is designed to be efficient, effective,
Forest System land management               the National Forest System Land              and within the Agency’s ability to
planning rule [planning rule). The new      Management Planning Rule Final               implement. It meets the requirements
planning rule guides the development,       Programmatic Environmental Impact            under the National Forest Management
amendment, and revision of land             Statement (USDA Forest Service, 2011)        Act (NFMA), the Multiple-Use
management plans for all units of the       with clarifications, and the supporting      Sustained-Yield Act (MUSYA), and the
National Forest System (NFS),               record. The planning rule describes the      Endangered Species Act, as well as all
consisting of 155 national forests, 20      process the Forest Service will use for      other legal requirements. It was also
grasslands, and 1 prairie.                  development, amendment, and revision         developed to ensure that plans are
  This planning rule sets forth process     of national forest and grassland plans. It   consistent with and complement
and content requirements to guide the       also sets out requirements for the           existing, related Agency policies that
development, amendment, and revision        structure of those plans and includes        guide management of resources on the
of land management plans to maintain        requirements for their content.              National Forest System (NFS), such as
and restore NFS land and water                 This planning rule replaces the final     the Climate Change Scorecard, the
ecosystems while providing for              2000 land management planning rule           Watershed Condition Framework, and
ecosystem services and multiple uses.       (2000 rule) as reinstated in the Code of     the Sustainable Recreation Framework.
The planning rule is designed to ensure     Federal Regulations on December 18,            The planning rule framework
that plans provide for the sustainability   2009 (74 FR 67062).                          includes three phases: Assessment, plan
of ecosystems and resources; meet the                                                    development/amendment/revision, and
need for forest restoration and             Outline                                      monitoring. The framework supports an
conservation, watershed protection, and                                                  integrated approach to the management
                                               The following outline shows the           of resources and uses, incorporates the
species diversity and conservation; and     contents of the preamble which states
assist the Agency in providing a                                                         landscape-scale context for
                                            the basis and purpose of the rule,           management, and will help the Agency
sustainable flow of benefits, services,     includes responses to comments
and uses of NFS lands that provide jobs                                                  to adapt to changing conditions and
                                            received on the proposed rule, and           improve management based on new
and contribute to the economic and          serves as the record of decision for this
social sustainability of communities.                                                    information and monitoring. It is
                                            rulemaking.                                  intended to provide the flexibility to
DATES: Effective Date: This rule is
effective May 9, 2012.                      Introduction and Background                  respond to the various social, economic,
                                            Purpose and Need for the New Rule            and ecologic needs across a very diverse
ADDRESSES: For more information,            Public Involvement                           system, while including a consistent set
including a copy of the final PEIS, refer   Summary of Alternatives Considered by the    of process and content requirements for
to the World Wide Web/Internet at:               Agency                                  NFS land management plans. The
http://www.fs.usda.gov/planningrule.        The Environmentally Preferred Alternative    Department anticipates that the Agency
More information may be obtained on         Decision and Rationale
                                                                                         will use the framework to keep plans
written request from the Director,          Compliance with the Endangered Species Act
                                                 of 1973, as Amended                     current and respond to changing
Ecosystem Management Coordination
                                            Response to Comments                         conditions and new information over
Staff, Forest Service, USDA Mail Stop
                                            Regulatory Certifications                    time.
1104, 1400 Independence Avenue SW.,                                                        The planning rule requires the use of
Washington, DC 20250-1104.                    • Regulatory Planning and Review
                                              • Agency Cost Impacts                      best available scientific information to
FOR FURTHER INFORMATION CONTACT:                                                         inform planning and plan decisions. It
                                              • Efficiency and Cost-Effectiveness
Ecosystem Management Coordination                Impacts                                 also emphasizes providing meaningful
staff’s Assistant Director for Planning       • Distributional Impacts                   opportunities for public participation
Ric Rine at (202) 205-1022 or Planning        • Proper Consideration of Small Entities   early and throughout the planning
Specialist Regis Terney at (202) 205­         • Energy Effects                           process, increases the transparency of
0895.                                         • Environmental Impacts                    decision-making, and provides a
                                              • Controlling Paperwork Burdens on the     platform for the Agency to work with
SUPPLEMENTARY INFORMATION:
                                                 Public
                                                                                         the public and across boundaries with
Decision                                      • Federalism
                                              • Consultation with Indian Tribal          other land managers to identify and
   This document records the decision            Governments                             share information and inform planning.
that the U.S. Department of Agriculture       • Takings of Private Property                The final planning rule reflects key
(USDA) reached in determining the             • Civil lustice Reform                     themes expressed by members of the
alternative that best meets the purpose       • Unfunded Mandates                        public, as well as experience gained
and need for a new planning rule. The         • Environmental Justice                    through the Agency’s 30-year history


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with land management planning. It is        part 219), which sets requirements for        Regulations and made technical
intended to create a more efficient and     land management planning and content          amendments to update transition
effective planning process and provide      of plans.                                     provisions as an interim measure to be
an adaptive framework for planning.            In 1979, the Department issued the         in effect until a new planning rule was
   This final planning rule requires that   first regulations to comply with this         issued (74 FR 67062).
land management plans provide for           statutory requirement. The 1979                 The instability created by these past
ecological sustainability and contribute    regulations were superseded by the            planning rule efforts has caused delays
to social and economic sustainability,      1982 planning rule, which has formed          in planning and confused the public. At
using public input and the best             the basis for all existing Forest Service     the same time, the vastly different
available scientific information to         land management plans.                        context for management and improved
inform plan decisions. The rule contains       In 1989, the Agency initiated a            understanding of science and
a strong emphasis on protecting and         comprehensive Critique of Land                sustainability that have evolved over the
enhancing water resources, restoring        Management Planning, which identified         past three decades have created a need
land and water ecosystems, and              a number of adjustments that were             for an updated planning rule that will
providing ecological conditions to          needed to the 1982 planning rule. The         help the Agency respond to new
support the diversity of plant and          Critique found that the 1982 planning         challenges in meeting management
animal communities, while providing         rule process was complex, costly,             objectives for NFS lands.
for ecosystem services and multiple         lengthy, and cumbersome for the public          This final rule is intended to ensure
uses.                                       to provide input. The recommendations         that plans respond to the requirements
   The 1982 planning rule procedures        in the Critique and the Agency’s own          of land management that the Agency
have guided the development,                experiences with planning led to the          faces today, including the need to
amendment, and revision of all existing     Agency issuing an advance notice of           provide sustainable benefits, services,
Forest Service land management plans.       proposed rulemaking for a new                 and uses, including recreation; the need
However, since 1982 much has changed        planning rule in 1991 and proposing a         for forest restoration and conservation,
in our understanding of land                new, revised rule initially in 1995 and       watershed protection, and wildlife
management planning. The body of            again in 1999.                                conservation; and the need for sound
science that informs land management           The Department worked with a               resource management under changing
planning in areas such as conservation      committee of scientists to develop a          conditions. The new rule sets forth a
biology and ecology has advanced            final rule, which was issued in 2000.         process that is adaptive, science-based,
considerably, along with our                The 2000 revision of the planning rule        collaborative, and within the Agency’s
understanding of the values and benefits    described a new agenda for NFS                capability to carry out on all NFS units.
of NFS lands, and the challenges and        planning; made sustainability the             Finally, the new rule is designed to
stressors that may impact them.             foundation for NFS planning and               make planning more efficient and
   Because planning under the               management; required the consideration        effective.
procedures of the 1982 rule is often time   of the best available scientific
consuming and cumbersome, it has been       information during the planning and           Purpose and Need for the New Rule
a challenge for responsible officials to    implementation process; and set forth            The NFMA requires regulations
keep plans current. Instead of amending     requirements for implementation,              consistent with the principles of the
plans as conditions on the ground           monitoring, evaluation, amendment,            Multiple-Use Sustained-Yield Act of
change, responsible officials often wait    and revision of land management plans.        1960, that set out the process for the
and make changes all at once during the     However, a review in the spring of 2001       development and revision of the land
required revision process. The result       found that the 2000 rule was costly,          management plans and the guidelines
can be a drawn-out, difficult, and costly   complex, and procedurally burdensome.         and standards the Act prescribes (16
revision process. Much of the planning      The results of the review led the             U.S.C. 1604(g)). The Forest Service’s
under the 1982 rule procedures focused      Department to issue a new planning rule       experience, evolving scientific
on writing plans that would mitigate        in 2005 and a revised version again in        understanding of approaches to land
negative environmental impacts. The         2008; however, the U.S. District Court        management, changing social demands,
protective measures in the 1982 rule        for Northern District of California           and new challenges such as changing
were important, but the focus of land       invalidated each of those rules on            climate have made clear the need for a
management has changed since then           procedural grounds {Citizens for Better       revised rule to more effectively fulfill
and the Agency needs plans that do          Forestry V. USDA, 481 F. Supp.2d 1059         NFMA’s mandate.
more than mitigate harm. The Agency         (N.D. Cal. 2007) (2005 rule); Citizens for       On August 14, 2009, Agriculture
needs a planning process that leads to      Better Forestry V. USDA, 632 F. Supp.2d       Secretary Tom Vilsack outlined his
plans that contribute to ecological,        968 (N.D. Cal. 2009) (2008 rule)).            vision for the future of our nation’s
social, and economic sustainability to         This final rule replaces the 2000 rule.    forests, setting forth a direction for
protect resources on the unit and           Because the 2000 rule was the last            conservation, management, and
maintain the flow of goods and services     promulgated planning rule to take effect      restoration of NFS lands. Secretary
from NFS lands on the unit over time.       and not be set aside by a court, the 2000     Vilsack stated that; “It is time for a
   The NFMA requires the Agency to          rule is the rule currently in effect. While   change in the way we view and manage
develop a planning rule “under the          the 2000 planning rule replaced the           America’s forestlands with an eye
principles of the Multiple-Use              1982 rule in the Code of Federal              towards the future. This will require a
Sustained-Yield Act of 1960, that set[s]    Regulations, the transition section of the    new approach that engages the
out the process for the development and     2000 rule allowed units to use the 1982       American people and stakeholders in
revision of the land management plans,      planning rule procedures for plan             conserving and restoring both our
and the guidelines and standards” (16       amendments and revisions until a new          National Forests and our privately-
U.S.C. 1604(g)). The Forest Service         planning rule was issued. After the 2008      owned forests.” The Secretary
fulfills this requirement by codifying a    rule was invalidated, on December 18,         emphasized that the Forest Service
planning rule at Title 36, Code of          2009, the Department reinstated the           planning process provides an important
Federal Regulations, part 219 (36 CFR       2000 rule in the Code of Federal              means for integrating forest restoration.


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climate resilience, watershed protection,    and efficiently respond to social,            Public Involvement
wildlife conservation, opportunities to      economic, and ecological conditions.
                                                                                           Public Involvement in the Development
contribute to vibrant local economies,          The Secretary of Agriculture is vested     of the Proposed Rule and Draft
and the collaboration necessary to           with broad authority to make rules “to        Environmental Impact Statement (DEIS)
manage our national forests. “Our best       regulate occupancy and use and to
opportunity to accomplish this is in the     preserve [the forests] from destruction”        The Department and the Agency
developing of a new forest planning rule     (16 U.S.C. 551). The MUSYA authorizes         engaged in an extensive public outreach
for our national forests.”                   and directs that the national forests be      and participation process
   The NFS currently consists of 127         managed under the principles of               unprecedented for the development of a
land management plans, 68 of which are       multiple use and to produce sustained         planning rule. A Notice of Intent (NOI)
past due for revision. Most plans were       yield of products and services. NFMA          to prepare a new planning rule and an
developed between 1983 and 1993 and          directs the Secretary to promulgate           accompanying draft environmental
should have been revised between 1998        regulations for the development and           impact statement (DEIS) was published
and 2008, based on NFMA direction to         revision of land management plans and         in the Federal Register on December 18,
revise plans at least once every 15 years.   prescribes a number of provisions that        2009 (74 FR 67165). The NOI solicited
The efforts to produce a new planning        the regulations shall include, but not be     public comments on the proposal until
rule over the past decade have               limited to (16 U.S.C. 1600(g)). Based on      February 16, 2010. The notice presented
contributed to the delay in plan             the principles of the MUSYA, the              a series of substantive and procedural
revisions. With clarity and stability in     requirements of NFMA, the Secretary’s         principles to guide development of a
planning regulations, land management        direction and nearly three decades of         new planning rule. Under each
planning can regain momentum and             land management planning experience,          principle, the notice posed several
units will be able to complete revisions     the Department and the Forest Service         questions to stimulate thoughts and
more efficiently.                            find that a planning rule must address        encourage responses. The Forest Service
   As explained in the Introduction and      the following eight purposes and needs:       received over 26,000 comments in
Background section of this document,                                                       response to the notice.
                                                1. Emphasize restoration of natural
the present planning rule is the 2000                                                        The Agency held a science forum on
                                             resources to make our NFS lands more
planning rule. Under the transition          resilient to climate change, protect          March 29 and 30, 2010, in Washington,
provisions of that rule, the Agency can                                                    DC to ground development of a new
                                             water resources, and improve forest
choose to use either the procedures of                                                     planning rule in science and to foster a
                                             health.
the 2000 rule or the planning                                                              collaborative dialogue with the
procedures of the 1982 rule to develop,         2. Contribute to ecological, social, and   scientific community. Panels made up
amend, or revise land management             economic sustainability by ensuring that      of 21 scientists drawn from academia,
plans. Based on the concerns about           all plans will be responsive and can          research organizations, non-government
implementing the 2000 rule procedures,       adapt to issues such as the challenges of     organizations, industry, and the Federal
the Forest Service has been relying upon     climate change; the need for forest           Government presented the latest science
the 2000 rule’s transition provision to      restoration and conservation, watershed       on topics relevant to the development of
develop, amend, and revise land              protection, and species conservation;         a new rule for developing land
management plans under the 1982              and the sustainable use of public lands       management plans. The format was
procedures until a new planning rule is      to support vibrant communities.               designed to encourage scientists and
in place.                                       3. Be consistent with NFMA and             practitioners to share the current state of
   The Forest Service and the                MUSYA.                                        knowledge in key areas and to
Department conclude that the                    4. Be consistent with Federal policy       encourage open dialogue with interested
procedures of neither the 2000 rule nor      on the use of scientific information and      stakeholders.
the 1982 rule meet the needs of the          the Agency’s expertise and experience           The Forest Service convened a series
Agency today or fulfill the Secretary’s      gained in over thirty years of land           of four national roundtables held in
vision. Moreover, the Department and         management planning.                          Washington, DC during the course of
the Forest Service have determined that         5. Provide for a transparent,              developing the proposed planning rule.
the 2000 rule is beyond the Agency’s         collaborative process that allows             The intent was to have a national-level
capability to implement. Even though         effective public participation.               dialogue around the concepts for
the Agency has had the option to use                                                       development of the Forest Service
the procedures in the 2000 rule, no line        6. Ensure planning takes place in the      proposed planning rule, to get public
                                             context of the larger landscape by taking     input prior to developing the proposed
officer has chosen to use the 2000 rule
to revise or amend a land management         an “all-lands approach.”                      rule. The Forest Service also held 33
plan because the 2000 rule is too costly,       7. Be within the Agency’s capability       regional roundtables during April and
complex, and procedurally burdensome.        to implement on all NFS units; be clear;      May 2010 in the following States:
At the same time, the 1982 rule              provide an efficient framework for            Alaska, Arizona, California, Colorado,
procedures are not current with regard       planning; and be able to be                   Georgia, Idaho, Illinois, Montana,
to science, knowledge of the                 implemented within the financial              Nevada, New Mexico, Oregon, South
environment, practices for planning and      capacity of the Agency.                       Dakota, Utah, and Wyoming.
adaptive management, or social values,          8. Be effective by requiring a               Additionally, the Forest Service
and are also too complex, costly,            consistent approach to ensure that all        Webcast many of the national and
lengthy, and cumbersome.                     plans address the issues outlined by the      regional roundtables, posted materials
   The purpose of, and the need for, a       Secretary and yet allow for land              and summaries of the roundtables
new planning rule is to provide the          management plans to be developed and          online, and hosted a blog to further
direction for National Forests and           implemented to address social,                encourage participation. In all, more
Grasslands to develop, amend, and            economic, and ecological needs across         than 3,000 members of the public
revise land management plans that will       the diverse and highly variable systems       participated in these opportunities to
enable land managers to consistently         of the National Forest System.                provide their input.


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Public Involvement in the Development      recognized Tribes and 29 Alaska Native        alternatives is available in Chapter 2 of
of the Final Rule and Final                Corporations to begin government-to-          the PEIS.
Programmatic Environmental Impact          government consultation on the
                                                                                         Alternative A (Proposed Action and
Statement (PEIS)                           proposed planning rule. The Agency
                                                                                         Proposed Planning Rule)
  The Department and the Agency used       held 16 consultation meetings across the
                                           country with designated Tribal officials         Alternative A uses an adaptive
the input provided by the public in                                                      framework. The framework consists of a
response to the NOI and during the         in November and December, 2010, prior
                                           to the publication of the proposed rule       three-part learning and planning
roundtables to inform the development                                                    framework to assess conditions and
of the proposed rule and DEIS. The         in February, 2011. Tribal consultation
                                           continued following the release of the        stressors; develop, amend, or revise land
proposed planning rule and draft                                                         management plans based on the need
programmatic environmental impact          proposed rule, with additional
                                           opportunities for Tribal consultation         for change; and monitor to test
statement (PEIS) were published for                                                      assumptions, detect changes, and
comment on February 14, 2011 (76 FR        provided in 2011.
                                             During the public comment period on         evaluate whether progress is being made
8480). The comment period ran for 90                                                     toward desired outcomes.
                                           the proposed rule the Forest Service
days through May 16, 2011. The                                                              Alternative A would make the
Department received nearly 300,000         held a Tribal teleconference to discuss
                                           with Tribes how their previous                supervisor of the national forest,
comments during the comment period.                                                      grassland, prairie, or other comparable
  Early in the comment period, the         comments were addressed in the
                                           proposed rule. Sixteen Tribes                 administrative unit the responsible
Agency held a series of public meetings                                                  official for approving new plans, plan
that provided opportunities for            participated in the discussion and had
                                           the opportunity to have their questions       amendments, and plan revisions.
interested persons to ask questions                                                         This alternative would require the
about the proposed rule. The intent of     answered by members of the rule
                                                                                         responsible official to take science into
the meetings was to explain the            writing team, the Ecosystem
                                                                                         account in the planning process and
proposed rule and provide information      Management Coordination Director, and
                                                                                         would require documentation as to how
to the public as they developed their      the Associate Chief of the Forest
                                                                                         science was considered.
comments on the proposed rule.             Service. Additionally consultation with          This alternative would require the
Between March 10, 2011, and April 7,       Tribes continued at the local level.          responsible official to provide
                                              Summaries of public involvement            opportunities for public participation
2001, the Agency held 1 national and 28
                                           may be viewed at http://                      throughout all stages of the planning
regional forums, which reached 72
                                           www.fs.usda.gov/planningrule.                 process, and includes requirements for
satellite locations across the country.
The national meeting was held in           Issues Identified in the Programmatic         outreach. Tribal consultation, and
Washington, DC. Regional and satellite     Environmental Impact Statement (PEIS)         coordination with other planning
meetings were held in the following                                                      efforts. This alternative would require
                                              Based on public comments, an
States: Alabama, Alaska, Arizona,                                                        responsible officials to provide formal
                                           interdisciplinary team identified a list of
Arkansas, California, Colorado, Florida,                                                 public notification at various points in
                                           issues to analyze:
Georgia, Idaho, Illinois, Indiana,            • Ecosystem Restoration.                   the process and to post all notifications
Kentucky, Michigan, Minnesota,                • Watershed Protection.                    online. This alternative requires the
Mississippi, Missouri, Montana,               • Diversity of Plant and Animal            responsible official to encourage
Nevada, New Hampshire, New Mexico,         Communities.                                  participation by youth, low-income, and
New York, North Carolina, Ohio,               • Climate Change.                          minority populations. Alternative A
Oregon, Pennsylvania, Puerto Rico,            • Multiple Uses.                           would explicitly require the responsible
South Carolina, South Dakota,                 • Efficiency and Effectiveness.            official to provide the opportunity to
Tennessee, Texas, Utah, Vermont,              • Transparency and Collaboration.          undertake consultation with federally
Virginia, Washington, West Virginia,          • Coordination and Cooperation             recognized Indian Tribes and Alaska
Wisconsin and Wyoming.                     beyond NFS Boundaries.                        Native Corporations and require the
                                              The PEIS analyzes six fully developed      responsible official to encourage
Tribal Involvement                                                                       participation by interested or affected
                                           alternatives (A, Modified A, and B
  To ensure Tribes and Alaska Native       through E), and considered nine               federally recognized Indian Tribes and
Corporations were heard in a way that      additional alternatives that were             Alaska Native Corporations. As part of
gave recognition to their special and      eliminated from detailed study (40 CFR        Tribal participation and consultation,
unique relationship with the Federal       1502.14(a)). The six fully developed          the responsible official would invite
Government, the Agency provided            alternatives, with the exception of           Tribes to share native knowledge during
opportunities for participation and        Alternative B (No Action), meet all           the planning process. Alternative A
consultation throughout the process.       aspects of the purpose and need to            would require that the responsible
  To get input early in the process, the   varying degrees and are described             official coordinate planning with the
Agency hosted two national Tribal          below. The additional alternatives            equivalent and related planning efforts
roundtables conducted via conference       (Alternatives F through N) were               of other Federal agencies. State and
call in May and August, 2010.              considered but eliminated from detailed       local governments, and Indian Tribes.
Additionally, six Tribal roundtables       study because they did not meet some             Alternative A would require
were held in California, Arizona, and      of the aspects of the purpose and need.       assessments to identify and evaluate
New Mexico. Tribes and Alaska Native       Chapter 2 of the PEIS provides a more         information needed to understand and
Corporations also participated in many     complete discussion of the disposition        assess existing and potential future
of the national and regional roundtables   of these alternatives.                        conditions on NFS lands in the context
prior to development of the proposed                                                     of the broader landscape. These
rule.                                      Summary of Alternatives Considered by         assessments would include a review of
  On September 23, 2010, the Deputy        the Agency                                    relevant information from other
Chief for the National Forest System         The following summaries describe            governmental or non-governmental
sent a letter inviting 564 federally       each alternative. A comparison of the         assessments, plans, reports, and studies.


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   Alternative A would require plans to       any substantive change to plan               responds to the significant issues
include five plan components—desired          components, and for administrative           displayed in the PEIS in a manner very
conditions, objectives, standards,            changes to make corrections or changes       similar to Modified Alternative A. The
guidelines, and suitability of areas for      to parts of the plan other than the plan     Department received a large number of
resource management. Plans could also         components.                                  public comments on Alternative A
include goals as option plan                     Alternative A requires plan-level and     including suggestions about how to
components. Alternative A includes            broader-scale monitoring, to inform          change Alternative A, improve clarity,
direction for other content required in       adaptive management.                         and better align the text of the
the plan, including the monitoring               Alternative A would require an            alternative with the Department’s intent
program.                                      environmental impact statement for new       as described in the preamble for the
   Alternative A would require plan           plans and plan revisions. Plan               proposed rule. The Department
components to provide for the                 amendments would require either an           developed Modified Alternative A after
maintenance or restoration of the             environmental impact statement or an         considering public comments. Modified
structure, function, composition, and         environmental assessment, or could be        Alternative A is described below.
connectivity of healthy and resilient         categorically excluded from                  Alternative A was not selected because
aquatic ecosystems and watersheds in          documentation, based on the                  the Agency developed Modified
the plan area. In addition. Alternative A     significance of effects pursuant to          Alternative A in response to public
would include plan components to              Agency NEPA procedures.                      comment. For this reason. Alternative A
guide the unit’s contribution to social          Alternative A would require that the      was not selected as the final rule.
and economic sustainability.                  decision document for the plan include
   Under Alternative A, plan                  the rationale for approval, an               Modified Alternative A (Final Rule)
components for ecological sustainability      explanation of how the plan                     Modified Alternative A, with
would be required to take into account        components meet the requirements for         clarifications, was selected as the final
air quality, landscape-scale integration      sustainability and diversity, best           rule, (see the Decision and Rationale
of ecosystems, system drivers and             available scientific information             section of this document].
stressors including climate change, and       documentation, and direction for project        Modified Alternative A includes the
opportunities to restore fire adapted         application.                                 same concepts and underlying
ecosystems. Plan components would                Alternative A requires that projects      principles as Alternative A, and retains
also be designed to maintain, protect         and activities must be consistent with       much of the same content. However, a
and restore various ecosystem elements        the plan components, and provides            number of changes to the rule text and
including soil, water, and riparian areas.    direction for determining consistency. It    organization have been made, based on
   Alternative A would require plan           also requires that other resource plans      public comment on the proposed rule
components for the conservation of all        that apply to the plan area be consistent    (Alternative A] and the DEIS. The Forest
native aquatic and terrestrial species        with the plan components.                    Service considered the available option
with the aim of providing the ecological         The responsible official initiating a     of replacing the text of Alternative A
conditions to contribute to the recovery      plan revision or development of a new        with the text of Modified Alternative A
of federally listed threatened and            plan before Alternative A went into          in the PEIS. However, because Modified
endangered species, conserve candidate        effect would have the option to              Alternative A looks different than
species, and maintain viable                  complete the plan revision or                Alternative A, the Agency included it as
populations of species of conservation        development of the new plan under the        a new alternative for transparency and
concern. Alternative A would also             prior rule or conform to the                 for the ease of the reviewer in
require monitoring of select ecological       requirements of the final rule after         comparing the proposed rule with the
and watershed conditions and focal            providing notice to the public. All plan     final preferred alternative.
species to assess progress towards            revisions or new plans initiated after the      Modified Alternative A uses an
meeting diversity and ecological              effective date of the final rule would       adaptive framework for planning. The
sustainability requirements.                  have to conform to the new planning          framework consists of a three-part
   Alternative A would require that           requirements.                                learning and planning framework to
plans provide for multiple uses and              Alternative A includes a severability     assess information relevant to the plan
ecosystem services, considering a full        provision, stating if parts of Alternative   area, develop, amend, or revise land
range of resources, uses, and benefits        A are separately found invalid in            management plans based on the need
relevant to the unit, as well as stressors,   litigation, individual provisions of the     for change, and monitor to test
and other important factors.                  rule could be severed and the other          assumptions, detect changes, and
   Alternative A would require plan           parts of the rule could continue to be       evaluate whether progress is being made
components for sustainable recreation,        implemented.                                 toward desired outcomes.
considering opportunities and access for         Alternative A provides a pre-                Modified Alternative A would make
a range of uses. Recreational                 decisional administrative review             the supervisor of the national forest,
opportunities could include non­              (objection] process for proposed plans,      grassland, prairie, or other comparable
motorized, motorized, developed, and          plan amendments, and plan revisions.         administrative unit the responsible
dispersed recreation on land, water, and      The objection process is based on the        official for approving new plans, plan
air. In addition, plans should identify       objection regulations for certain            amendments, and plan revisions. The
recreational settings and desired             proposed hazardous fuel reduction            Chief would be required to establish a
conditions for scenic landscape               projects, found at 36 CFR part 218, and      national oversight process for
character.                                    is intended to foster continued              consistency and accountability.
   Alternative A includes requirements        collaboration in the administrative             Modified Alternative A would require
for plan components for timber,               review process.                              the responsible official to use the best
consistent with the requirements of              The complete text of Alternative A is     available scientific information to
NFMA.                                         provided in Appendix A of the PEIS.          inform the planning process, plan
   Alternative A provides an efficient           Reason for non-selection: Alternative     components, and other plan content
process for amendments, required for          A meets the purpose and need and             including the monitoring program, and


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includes requirements for                       Under Modified Alternative A, plan        environmental impact statement or an
documentation of how the hest available      components for ecological integrity          environmental assessment, or could be
scientific information was used to           would be required to take into account       categorically excluded from
inform the plan decision.                    the interdependence of ecosystems,           documentation, based on the
  Modified Alternative A would require       impacts from and to the broader              significance of effects pursuant to
the responsible official to provide          landscape, system drivers and stressors      Agency NEPA procedures.
opportunities for public participation       including climate change, and                   Modified Alternative A would require
throughout all stages of the planning        opportunities to restore fire adapted        that the decision document for the plan
process, and includes requirements for       ecosystems and for landscape scale           include the rationale for approval; an
outreach, Tribal consultation, and           restoration. Plan components would be        explanation of how the plan
coordination with other planning             also be required to maintain or restore      components meet the requirements for
efforts. Modified Alternative A requires     air, soil and water resources, and to        sustainability, diversity, multiple use
the responsible official to encourage        maintain or restore the ecological           and timber; best available scientific
participation by youth, low-income, and      integrity of riparian areas.                 information documentation; and
minority populations. Modified                  Modified Alternative A would require      direction for project application.
Alternative A would explicitly require       that plans use a complementary                  Modified Alternative A requires that
the responsible official to provide the      ecosystem and species-specific               projects and activities must be
opportunity to undertake consultation        approach to provide for the diversity of     consistent with the plan components,
with federally recognized Indian Tribes      plant and animal communities and             and provides direction for determining
and Alaska Native Corporations and           maintain the persistence of native           consistency. It also requires that other
require the responsible official to          species in the plan area. Ecosystem plan     resource plans that apply to the plan
encourage participation by interested or     components would be required for             area be consistent with the plan
affected federally recognized Indian         ecosystem integrity and diversity, along     components.
Tribes and Alaska Native Corporations.       with additional, species-specific plan          Modified Alternative A would require
As part of Tribal participation and          components where necessary to provide        responsible officials to provide formal
consultation, the responsible official       the ecological conditions to contribute      public notification at various points in
would invite Tribes to share native          to the recovery of federally listed          the process and to post all notifications
knowledge during the planning process.       threatened and endangered species,           online.
Modified Alternative A would require         conserve proposed and candidate                 The responsible official initiating a
that the responsible official coordinate     species, and maintain viable                 plan revision or development of a new
planning with the equivalent and             populations of species of conservation       plan before Modified Alternative A
related planning efforts of other Federal    concern. Modified Alternative A would        went into effect would have the option
agencies, State and local governments,       also require monitoring of select            to complete the plan revision or
and Indian Tribes.                           ecological and watershed conditions          development of the new plan under the
  Modified Alternative A would require       and focal species to assess progress         prior rule or conform to the
assessments to rapidly identify and          towards meeting diversity and                requirements of the final rule after
evaluate existing information relevant to    ecological sustainability requirements.      providing notice to the public. All plan
                                                Modified Alternative A would require
the plan area to understand and assess                                                    revisions or new plans initiated after the
                                             that plans provide for ecosystem
existing and potential future conditions                                                  effective date of the final rule would
                                             services and multiple uses, considering
on NFS lands in the context of the                                                        have to conform to the new planning
                                             a full range of resources, uses, and
broader landscape, focused on a set of                                                    requirements.
                                             benefits relevant to the unit, as well as
topics that relate to the requirements for                                                   Modified Alternative A includes a
                                             stressors and other important factors.
plan components and other plan                  Modified Alternative A would require      severability provision, stating if parts of
content. These assessments would             plan components for sustainable              Alternative A are separately found
include a review of relevant information     recreation, including recreation settings,   invalid in litigation, individual
from other governmental or non­              opportunities, access; and scenic            provisions of the rule could be severed
governmental assessments, plans,             character. Recreational opportunities        and the other parts of the rule could
reports, and studies.                        could include non-motorized,                 continue to be implemented.
  Modified Alternative A would require       motorized, developed, and dispersed             Modified Alternative A provides a
plans to include five plan components—       recreation on land, water, and air.          pre-decisional administrative review
desired conditions, objectives,                 Modified Alternative A includes           (objection) process for proposed plans,
standards, guidelines, and suitability of    requirements for plan components for         plan amendments, and plan revisions.
areas for resource management. Plans         timber management, consistent with the       The objection process is based on the
could also include goals as option plan      requirements of NFMA.                        objection regulations for certain
components. Modified Alternative A              Modified Alternative A provides an        proposed hazardous fuel reduction
includes direction for other content         efficient process for amendments,            projects, found at 36 CFR part 218, and
required in the plan, including the          required for any substantive change to       is intended to foster continued
monitoring program.                          plan components, and for                     collaboration in the administrative
  Modified Alternative A would require       administrative changes to make               review process.
plan components to provide for the           corrections or changes to parts of the          As is clear from this summary.
maintenance or restoration of the            plan other than the plan components.         Modified Alternative A includes the
ecological integrity of terrestrial and         Modified Alternative A requires plan­     same concepts and underlying
aquatic ecosystems and watersheds in         level and broader-scale monitoring to        principles as Alternative A, and retains
the plan area. In addition. Modified         inform adaptive management.                  much of the same content. However, a
Alternative A would include plan                Modified Alternative A would require      number of changes to the rule text and
components to guide the unit’s               an environmental impact statement for        organization were made based on public
contribution to social and economic          new plans and plan revisions. Plan           comment on the proposed rule
sustainability.                              amendments would require either an           (Alternative A) and the DEIS.


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   Many people commented that the            (March 23, 1981)). The “No Action”             Reason for non-selection: Alternative
proposed rule lacked clarity and was         alternative is the 2000 planning rule,      B is the no action alternative. The 1982
ambiguous in places. Others felt that the    which, since the 2008 rule was set aside    rule procedures are not current with
intent stated in the preamble of the         by court order, is the current rule (see    regard to science, knowledge of the
proposed rule was at times not reflected     74 FR 67059 (December 18, 2009)). If the    environment, practices for planning and
in the actual text of the proposed rule      Department chooses to take no action,       adaptive management, or social values,
itself. They were concerned that this        the 2000 rule would remain in effect.       and are unduly complex, costly,
ambiguity would lead to inconsistent         However, the “present course of action”     lengthy, and cumbersome. For those
implementation of the rule and that the      under the 2000 rule is not to use the       reasons, the Agency has actively been
intent as expressed in the preamble          2000 rule in its entirety but to use its    trying to promulgate a new planning
would not be realized. Modified              transition provisions at 36 CFR 219.35,     rule to replace the 1982 planning
Alternative A rewords the text in a          which allow use of the 1982 rule            procedures for over a decade (see
number of places to improve clarity and      procedures to develop, amend, and           Introduction and Background section
better reflect the Department’s intent as    revise land management plans until a        above).
stated in the preamble to the proposed       new planning rule is in place. Since           Many plans recently revised under
rule.                                        identifying a set of issues with the 2000   the 1982 planning procedures reflect
   There are also a number of changes to     rule provisions, as explained in the PEIS   elements of the purpose and need such
the process and content requirements of      at Chapter 1 and in the discussion          as emphasizing restoration, addressing
Alternative A, to address certain            section of Alternative F, the Forest        climate change, using a coarse-filter/
concerns raised by the public, reduce        Service has been relying upon the 2000      fine-filter approach for maintaining
process, and make other modifications        rule’s transition wording at § 219.35 to    species diversity, and using a
in response to public comments. A            use the 1982 rule procedures to develop,    collaborative approach to planning.
complete description of these changes is     amend, and revise land management           However, the 1982 planning procedures
provided in the Response to Comments         plans.                                      do not require consideration of these
section of this document.                       The 1982 rule, as amended, is in         and other important elements in
   A detailed analysis was conducted to      Appendix B of the PEIS. However, only       planning that reflect current science.
determine if there were any difference       the provisions of that rule applicable to   Agency expertise, and best practices in
in programmatic effects between              the development, amendment, and             planning. This has resulted in
Alternative A and Modified Alternative       revision of land management plans are       inconsistent incorporation of the
A. Because Modified Alternative A was        available for use pursuant to 36 CFR        elements of the purpose and need in
developed to reflect the intent of           219.35 of the current (2000) rule. The      plans.
Alternative A, there were very few           1982 rule procedures require integration
differences in programmatic effects                                                         Alternative B reflects an approach to
                                             of natural resource planning for national
between the two alternatives. The few                                                    land management planning that focused
                                             forests and grasslands, by including
differences in programmatic effects                                                      on producing outputs (for example,
                                             requirements for integrated management
between Alternative A and Modified                                                       board feet of timber, recreation visitor
                                             of timber, range, fish and wildlife,
Alternative A were to plan content and       water, wilderness, and recreation           days, and animal months of grazing) and
the planning process (requirements for       resources, with resource protection         mitigating the effects of management
assessments, documentation,                  activities such as fire management, and     activities on other resources. The
notification, plan components] or to the     the use of other resources such as          Agency recognizes and supports the
costs of implementation. Any                 minerals.                                   importance, value, and legal
differences in effects to resources cannot      An appeal process has been used          responsibility of providing for multiple
be determined at this programmatic           throughout the life of the 1982 planning    use purposes. Timber, grazing,
level. However, the Department               rule. Under § 219.35 of the current         recreation, and other multiple uses
concludes the added clarity in Modified      (2000) rule, responsible officials have     supported on NFS lands provide jobs
Alternative A will lead to more              the option of using either a post-          and income to local communities, and
consistent implementation of the rule.       decisional appeal process or a pre-         products used by all Americans.
   The full text of Modified Alternative     decisional objection process for            However, land management planning
A can be found in Appendix I of the          challenging plan approval decisions.        today focuses on managing toward
PEIS and is set out as the final rule           The 1982 rule procedures require         desired conditions, or outcomes, rather
below. A detailed description of             regional foresters to be the responsible    than focusing simply on outputs.
changes to Alternative A that led to         official for approval of new plans and         Outcome-based planning shifts the
Modified Alternative A can be found in       plan revisions.                             focus from how to get something done
the Response to Comments section of             Alternative B would continue to          to why it is done. In contemporary
this document and in Appendix O of the       require an environmental impact             planning, outputs are services that are
PEIS. An analysis of the effects of          statement for new plans and plan            generated as projects and activities are
Modified Alternative A has been              revisions. Documentation for plan           carried out that lead to desired
included in Chapter 3 of the PEIS.           amendments would continue to be             outcomes on the ground. Outcome
                                             determined by the significance of effects   based planning is well supported by the
Alternative B (No Action)                    pursuant to Agency NEPA procedures          Agency’s experience in land
  The “No Action” alternative, as stated     and could, therefore, range from            management planning. This approach to
by the Council on Environmental              categorical exclusions to environmental     planning is also well supported by other
Quality, “may be thought of in terms of      impact statements.                          land and urban planning agencies at all
continuing with the present course of           Rule text for this alternative is        scales—from urban planning for small
action until that action is changed”         provided in Appendices B, C, and D of       cities to international level planning
(Council on Environmental Quality,           the PEIS, which contain planning            efforts. It is also extensively used in the
Forty Most Asked Questions Concerning        provisions, transition provisions, and      fields of education, health care,
CEQ’s National Environmental Policy          administrative review provisions            economics, and others. Outcome based
Act Regulations, 46 FR 18026, 18027          respectively.                               planning can and does occur under


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Alternative B. However, this approach is    do not recognize that there are                 (3) Examples of circumstances that are
not required under this alternative.        limitations on the Agency’s authority        not consistent with the inherent
   Alternative B does not meet several      and the inherent capability of the land.     capability of the plan area that limit the
elements of the purpose and need.           In addition, these requirements do not       Agency’s ability to manage fish and
Alternative B does not:                     reflect the most current science. For        wildlife habitat to insure the
   • Emphasize restoration of natural       example:                                     maintenance of a viable population of a
resources to make our NFS lands more           ( 1] At times, circumstances that are     species within the plan area include:
resilient to climate change, protect        not within the authority of the Agency          • Where a species is inherently rare
water resources, and improve forest         limit the Agency’s ability to manage fish    because its members occur at low
health.                                     and wildlife habitat to insure the           numbers and are wide ranging
   • Ensure all plans will he responsive    maintenance of a viable population of a      individuals. For such a species the
to issues such as the challenges of         species within the plan area, such as:       number of breeding individuals that
climate change; the need for forest            • Forest clearing in South America—       may occur on an individual national
restoration and conservation, and           South American forests provide               forest may be too small to be considered
watershed protection.                       important wintering areas for many           a viable population. The wolverine of
   • Be consistent with Federal policy      Neotropical birds that nest in North         the northern Rocky Mountains is such a
on the use of scientific information and    America. The clearing of these forests       species.
the Agency’s expertise and experience       for agricultural purposes poses a serious       • Plan areas that lack sufficient land
gained in more than 30 years of land        threat to the long-term viability of the     area with the ecological capacity to
management planning.                        Cerulean warbler and the ability of          produce enough habitat to maintain a
   • Ensure planning takes place in the     national forests in the southern             viable population within the plan area.
context of the larger landscape by taking   Appalachian Mountains to maintain            An example is the Kisatchie National
an “all-lands approach.”                    populations of this species.                 Forest’s inability to maintain a viable
   Alternative B has also proven costly        • Hydropower facilities in the Pacific    population of swallow-tailed kite on the
to implement. The 1982 planning             Northwest and off-shore fishing harvest      Forest due to very limited amounts of
procedures require complex analysis         practices—These facilities and practices     land area ecologically capable of
processes, such as benchmark analysis,      are primary downstream threats to            producing broad bottomland hardwood
resulting in plan revisions that have, on   Chinook salmon populations whose             and cypress swamp habitats.
average, taken 5 to 7 years to complete.    spawning beds may occur on stream               • Water quality conditions in
In 1989, the Forest Service, with the       reaches within national forests in the       Appalachian Mountain streams that
assistance of the Conservation              Intermountain West, thus affecting the       provide habitat for eastern brook trout
Foundation, conducted a                     ability of national forests within this      have been altered through acid
comprehensive review of the planning        salmon’s range to maintain viable            deposition, due to past and current acid
process and published the results in a      populations of this species on their         rain, rendering many of them unsuitable
summary report, “Synthesis of the           respective units.                            for brook trout and compromising the
Critique of Land Management Planning”          • Land use patterns on private lands      ability of some Appalachian national
{http://www.fs.usda.gov/Internet/           within and adjacent to NFS units, such       forests to maintain viable populations of
FSE_DOCUMENTS/                              as the continuing agricultural uses and      this species.
steIprdb5127602.pdfj. The Critique          urbanization that is occurring east of the      (4) Sometimes a combination of a lack
found that the planning process of the      Rocky Mountains—habitat                      of authority and the inherent capability
1982 rule was very complex, had             fragmentation as a result of these           of the land limit the Agency’s ability to
significant costs, took too long, and was   changes reduces available habitat and        manage fish and wildlife habitat to
too cumbersome.                             further isolates existing swift fox          “insure [a vertebrate species’] continued
   Finally, Alternative B includes          populations. This affects the ability of     existence is well distributed in the
planning procedures that do not reflect     national grasslands in eastern Colorado      planning area,” for example, a federally
current science or result in unrealistic    to maintain viable populations of this       listed threatened or endangered species
or unattainable expectations because of     species.                                     may face a combination of stressors
circumstances outside of the Agency’s          (2) At times, it may be beyond the        such that a population may no longer be
control, particularly for maintaining the   Agency’s authority to manage habitat to      viable and whose recovery, in most
diversity of plant and animal species.      insure the maintenance of a viable           cases, cannot be achieved within the
The 1982 rule at 36 CFR 219.19 requires     population of a species within the plan      boundaries of a single unit.
that fish and wildlife habitat shall be     area, given that the Agency must                (5) An example of an approach
managed to maintain viable populations      comply with all applicable laws and          included in the 1982 requirements that
of existing native and desired non­         regulations. An example would be when        is no longer supported by the best
native vertebrate species in the planning   efforts to maintain the habitat              available scientific information is the
area. For planning purposes, a viable       conditions necessary for a viable            concept of management indicator
population shall be regarded as one         population of one species would              species (MlSj. The 1982 rule is largely
which has the estimated numbers and         jeopardize an endangered or threatened       reliant on the ability of selected MIS
distribution of reproductive individuals    species, in violation of the Agency’s        and their associated habitat conditions
to insure its continued existence is well   statutory obligations under the ESA.         to adequately represent all other
distributed in the planning area. In        Another example would be when                vertebrates in the plan area for assessing
order to insure that viable populations     maintaining the habitat conditions           vertebrate species viability. Even though
will be maintained, habitat must be         necessary for a viable population of one     the process of assessing and selecting
provided to support, at least, a            species would consume the resources          MIS has evolved, the ability of a species
minimum number of reproductive              available to a unit to the point of          or species group, on its own, to
individuals and that habitat must be        precluding other activities from             adequately represent all associated
well distributed so that those              occurring on the unit that are necessary     species that rely on similar habitat
individuals can interact with others in     to comply with independent statutory or      conditions is now largely unsupported
the planning area. These requirements       regulatory requirements.                     in the scientific literature.


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  For these reasons Alternative B was       greater uncertainty as to what the effects   plans that meet the Department’s full
not selected as the final rule.             on plan content and the planning             objectives.
                                            process would be and as a result, greater      For these reasons. Alternative C was
Alternative C                                                                            not selected as the final rule.
                                            uncertainty as to potential effects to
   Alternative C was developed to meet      resources over time.
the minimum requirements of NFMA,                                                        Alternative D
                                               Under Alternative C, the Agency
with additional provisions narrowly         would expect a range of results: The            The full text of Alternative D is
designed to meet the purpose and need       range might vary from an expedited           displayed in Appendix F of the PEIS.
for this rule-making effort.                planning process producing very              This alternative consists of Alternative
   Provisions to meet the purpose and       streamlined plans on some units to a         A with additional and substitute
need, hut not otherwise required by         planning process and plans that are          direction focused on coordination
NFMA, were included in this alternative     similar to those plans that have been        requirements at § 219.4, assessment
to ensure that plans would be               recently revised using the 1982              requirements at § 219.6, sustainability
responsive to the challenges of climate     planning procedures on other units.          requirements at § 219.8, species
change, the need for forest restoration,    There would be no certainty with regard      requirements at § 219.9, monitoring
and to ensure the sustainable use of NFS    to the inclusion of any plan components      requirements at § 219.12, and some
lands to support vibrant communities.       beyond the minimum required by this          additional and alternative definitions at
The full text of Alternative C is           Alternative, and a potential lack of         §219.19.
displayed in Appendix E of the PEIS.        consistency across the National Forest          This alternative was designed to
Specifically, the multiple uses provision   System.                                      evaluate additional protections for
in this alternative at § 219.10 requires       A similar approach of developing a        watersheds and an alternative approach
plan components to include guidance to      streamlined planning rule and relying        to addressing the diversity of plant and
identify and consider climate change,       on the Forest Service directives for         animal communities. These approaches
forest restoration and conservation, and    details of implementation was used for       were addressed together because they
social and economic elements of             the 2008 planning rule. The uncertainty      both involve requirements for
sustainability to support vibrant rural     of this approach generated a great deal      substantive plan content for resource
communities. Provisions were also           of distrust by many members of the           protection, as opposed to other issues
added to ensure that plans would be         public who felt the full intent of           that are concerned with procedural
developed in a collaborative manner.        management direction related to              requirements.
The public participation provision in       planning should be reflected in the rule.       Unlike Alternative A, this alternative
this alternative at § 219.4 requires the       Alternative C does not expressly          requires establishment of riparian
responsible official to use a               include an adaptive management               conservation areas and key watersheds,
collaborative and participatory             framework. The Department concludes          prescribes a 100-foot width for riparian
approach to land management planning.       that the adaptive management                 conservation areas, and places the
The same provisions for pre-decisional      framework of assessing, revising,            highest restoration priority on road
objections found in Alternative A are       amending, and monitoring provides a          removal in watersheds. Watershed
also included in this alternative.          scientifically supported foundation for      assessments would be required to
   Unlike the other alternatives            addressing uncertainty, understanding        provide information for defining
considered in detail, this alternative      changes in conditions that are either the    riparian conservation area boundaries
would not explicitly require preparation    result of management actions or others       and developing watershed monitoring
of an environmental impact statement        factors, and keeping plans current and       programs. The alternative would require
for development of a new plan or for a      relevant.                                    the identification of key watersheds to
plan revision. Instead, this alternative       This is the least costly of all of the    serve as anchor points for the
would rely on Agency NEPA                   alternatives and that is an important        protection, maintenance, and restoration
implementing procedures at 36 CFR part      consideration. However, there are other      of habitat for species dependent on
220 to determine the level of               alternatives that would reduce the           aquatic habitat. It would also require
environmental analysis and                  current costs of planning, have broader      plans to provide spatial connectivity
documentation. Similar to other             based public support, and that, in the       among aquatic and upland habitats.
alternatives considered in detail,          Department’s view, provide for a more           This alternative would take a
documentation for plan amendments           appropriate balance between                  somewhat different approach than
would be determined by the                  prescriptive and non-prescriptive            Alternative A for maintaining viable
significance of effects pursuant to         approaches to planning.                      populations within the plan area. It
Agency NEPA procedures and could,              Even though Agency costs are lower        would require an assessment prior to
therefore, range from categorical           under Alternative C compared to other        plan development or revision that
exclusions to environmental impact          alternatives, the Department is              identifies: current and historic
statements.                                 uncertain whether plans will be              ecological conditions and trends,
   Reason for non-selection: Alternative    developed, amended, or revised to the        including the effects of global climate
C imposes the fewest specific               high standards of excellence the             change; ecological conditions required
requirements for the planning process       Department expects. All units would          to support viable populations of native
and plan content of all alternatives        comply with the requirements of this         species and desired non-native species
analyzed in detail. This alternative        alternative. However, there is higher        within the planning area; and current
reflects the opposite end of the            uncertainty associated with selecting an     expected future viability of focal species
spectrum from Alternative E (the most       alternative with few requirements as the     within the planning area. It would also
prescriptive of the alternatives). Under    final rule. The level of uncertainty         require that the unit monitoring
Alternative C the process of plan           results in a higher risk that the level of   program establish critical values for
development, amendment, and revision        compliance with such important               ecological conditions and focal species
would be largely guided by the Forest       elements as monitoring, public               that trigger reviews of planning and
Service Directives System. The result of    participation, species conservation, or      management decisions to achieve
having few requirements in a rule is        watershed protection may not lead to         compliance with the provision for


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maintaining viable populations within       conditions, or type of water bodies.          made at the individual plan and project
the plan area.                              However, to expand the default width          levels where the effects to the resources,
   See Appendix F of the PEIS for           beyond 100 feet will require a “burden        to the users, and to communities can be
Alternative D text in a side-by-side        of proof” during the planning process         better determined within the context of
comparison with Alternative A.              that some units may not be willing or         overall watershed restoration and the
   Reason for non-selection: Alternative    able to accomplish, which could lead to       maintenance and restoration of the
D meets the purpose and need in a           the width being under inclusive for           ecological integrity of riparian areas in
manner similar to Alternative A.            riparian areas in the plan area.              the plan area.
Alternative D includes additional              Alternative D requires standards to           None of the individual elements of
requirements for watershed and species      restore sediment regimes to within a          Alternative D is inconsistent with the
protection and collaboration that           natural range of variability. While an        final planning rule and they could be
provide among the highest levels of         understanding of the natural range of         incorporated at the plan level into plan
watershed and species conservation of       variability in sediment regime could          direction where they are determined to
all alternatives. However, Alternative D    provide important context for sediment        be applicable and effective for those
has the second highest planning and         reduction activities, standards to restore    units. In fact, many current plans
monitoring costs of all alternatives, and   sediment regimes to a natural range of        already incorporate elements of this
there are several requirements of           variability might be impractical as they      alternative. However, requiring
Alternative D that would be difficult to    require information on historical flow        incorporation of all elements of
implement or not appropriate across all     regimes that might not be applicable to       Alternative D does not provide enough
NFS units.                                  future conditions. Historical ranges of       flexibility for effective and efficient
   This alternative capitalizes on          variation as standards or guidelines for      resource management on all units of the
approaches for watershed management         restoration may be inappropriate in the       NFS.
that have been demonstrated to be           face of changing hydrologic conditions           For these reasons Alternative D was
effective in some areas of the country—     brought about by climate change. The          not selected as the final rule.
largely the Pacific Northwest. However,     added requirements are likely not
a single, prescriptive approach may not     appropriate for all NFS units, will be        Alternative E
be effective for improving watershed        data intensive, and might constrain or          The full text of Alternative E is
conditions across the highly diverse        delay other management actions that           displayed in Appendix G of the PEIS.
watersheds of the NFS.                      could address known sediment                  This alternative consists of the proposed
   For example, it is unlikely that the     problems.                                     rule (Alternative A) with additional and
requirements of this Alternative that all      This alternative requires that road        substitute direction focused on
plans establish watershed networks that     removal or remediation in riparian            prescriptive requirements for public
can serve as anchor points for the          conservation areas and key watersheds         notification at § 219.4, assessment
protection, maintenance, and restoration    be considered a top restoration priority.     requirements at § 219.6, and monitoring
of broad-scale processes and recovery of    Setting one primary national restoration      requirements at § 219.12.
broadly distributed species and to          priority for all units does not take into       This alternative prescribes an
maintain spatial connectivity within or     account the high variability of               extensive list of monitoring and
between watersheds would be an              conditions and stressors across NFS           assessment questions and requires plan
effective management strategy for           lands. Also, it does not take into            monitoring programs to identify signals
improving watershed conditions on           account changing conditions. While            for action for each question and its
certain units, for example, where the       road remediation in riparian areas will       associated indicator.
percentage of NFS land ownership in a       likely be the highest priority in some          This alternative specifies performance
given watershed is very low. Such           places or at some times, it might not be      accountability for line officers’
requirements also may not be the most       for all units and across the entire life of   management of unit monitoring and
effective means of maintaining or           a plan. For example, it might be more         adds responsibility for the Chief to
restoring watershed health on these or      important to shift restoration focus to       conduct periodic evaluations of unit
other units, and attempting to meet this    control a new occurrence of invasive          monitoring programs and the regional
requirement may preclude other more         species before it becomes pervasive in a      monitoring strategies.
effective management options.               watershed, or to reduce hazardous fuels         Alternative E adds more prescriptive
   Alternative D includes a national        to reduce the risk of negative effects to     requirements for public participation in
standard for a minimum 100 foot default     soil and water of uncharacteristic or         the planning process. To help connect
width for riparian conservation areas.      extreme wildfire events.                      people to the outdoors, this alternative
Based on the analysis in the PEIS, a           Finally, Alternative D requires that,      also includes requirements for plans to
national standard setting a minimum         with limited exceptions, only                 provide for conservation education and
default width applicable to all types of    management activities for restoration         volunteer programs.
waterbodies and in all geomorphic           would be allowed in riparian areas. The          See Appendix G of the PEIS for
settings is not consistent with the         Department understands the importance         Alternative E text in a side-by-side
preponderance of scientific literature      and supports the protection of healthy        comparison with Alternative A.
which largely argues for scalable           functioning riparian areas for water            Reason for non-selection: Alternative
widths, widths tailored to geomorphic       quality, water quantity, and aquatic and      E requires more evaluation of ecological
settings or an adaptable approach           terrestrial habitat. The Department also      conditions and possible scenarios
matched to resource characteristics. The    understands the potential negative            during assessment for plan revisions
national standard does provide certainty    effects that management activities or         and more monitoring of specific
or assurance that all riparian areas of     uses such as dispersed or developed           conditions and responses to restoration.
100 feet or less would be fully             recreation, grazing, and water level          The use of signal points could
incorporated within the riparian            management can have on riparian areas.        potentially make land managers more
conservation area, even where narrower      However, the Department concludes             aware and responsive when monitoring
widths would be more appropriate            that decisions regarding management           results are outside of expected levels.
based on geomorphic features.               activities in riparian areas are better       However, the difficulty of establishing


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statistically and temporally significant     environmentally preferred alternative       requiring strict adherence to their terms,
signal points related to restoration,        (40 CFR 1505.2(bll. This is interpreted     while guidelines allow for flexibility so
especially where there is insufficient       to mean the alternative that will           long as the purpose for the guideline is
data and where conditions are changing,      promote the national environmental          achieved.
will increase the complexity of              policy as expressed in NEPA’s section          (2) Changes made to § 219.9(b)(1) to
planning. The prescriptive nature of the     101 and that would cause the least          clarify that the responsible official must
monitoring requirements could increase       damage to the biological and physical       determine whether the plan components
the ahility to aggregate and compare         components of the environment. The          of paragraph (a) provide the necessary
data between units or at higher scales       environmentally preferred alternative       ecological conditions, or whether
but could also result in the costly          best protects, preserves, and enhances      additional, species-specific plan
collection of data that is not necessarily   historic, cultural, and natural resources   components must be included in the
relevant to the management of particular     (Council on Environmental Quality,          plan.
individual units or ecological               Forty Most Asked Questions Concerning          (3) Changes made to the definition of
conditions.                                  CEQ’s National Environmental Policy         designated areas in § 219.19 to clarify
   Requirements to identify possible         Act Regulations (46 FR 18026, 18028         that the examples of designated areas
scenarios in assessments would have          (March 23, 1981)).                          included in Modified Alternative A
short-term cost increases with possible         The two alternatives that best meet      were not intended to be exclusive.
long-term gains in efficiency. Additional    these criteria are Alternative D (if it        (4) Changes throughout Subpart B to
requirements regarding coordination in       could be fully implemented) and             clarify that organizations. States and
the assessment and monitoring process        Modified Alternative A. Alternative D       Tribes are among the entities that may
would increase initial costs, but            provides the highest level of resource      object, pursuant to the other
consistent coordination might also           protection, particularly for water and      requirements in Subpart B.
result in more cost-effective long-term                                                     This decision is based on the
                                             riparian resources. Some requirements
planning efforts to meet viability                                                       Programmatic Environmental Impact
                                             of this alternative would be difficult to
objectives. However, while additional                                                    Statement—National Forest System
                                             implement across the entire NFS, add
requirements for standardized                                                            Land Management Planning, USDA
                                             increased cost and complexity to the
collaboration methods might work well                                                    Forest Service, 2011, and its supporting
                                             planning process for little benefit, and
for some units, other units might find                                                   record. This decision is not subject to
                                             may not always represent the best
that some required steps are not relevant                                                Forest Service appeal regulations.
                                             approach for the resource. The                 Nearly 300,000 comments were
to their local public involvement needs.     additional funds spent on the planning
Based on the analysis in the PEIS,                                                       received on the DEIS and the proposed
                                             process would not be available for other    rule. The Agency also consulted with
collaboration strategies tailored to a       management activities including
unit’s particular needs are often more                                                   Indian Tribes, the US Fish and Wildlife
                                             restoration and habitat improvement.        Service and the National Marine
effective than very prescriptive                Modified Alternative A also provides
approaches to collaboration.                                                             Fisheries Service. The Department has
                                             high levels of resource protection and
   The PEIS points out potential benefits                                                reviewed and considered these
                                             can be effectively implemented across       comments, the results of the
of more prescriptive requirements for        all units. It does not preclude
assessment, monitoring, and                                                              consultations, and worked with Agency
                                             incorporation of elements of Alternative
collaboration. But, the PEIS also points                                                 managers in concluding that the
                                             D into plans where they are most suited     proposed rule would be improved by
out the drawbacks, particularly in trying    to meet resource conditions.
to efficiently apply a “one-size-fits-all”                                               clarifying the proposed wording and
                                                The approval of a planning rule to
approach to such things as monitoring                                                    incorporating the changes reflected in
                                             guide development, revision, and
or collaboration across highly diverse                                                   Modified Alternative A into the final
                                             amendment of land management plans
resources conditions and communities                                                     rule.
                                             is a broad policy decision. Accordingly,       This decision does not authorize any
associated with NFS Units. This              impacts described in the PEIS reflect
Alternative also has the highest                                                         projects or activities. The planning rule
                                             issues concerning effects over a broad      describes the process the Forest Service
implementation costs of all alternatives.    geographic and time horizon. The depth
The Department does not believe that                                                     will use for development, amendment,
                                             and detail of impact analysis is            and revision of land management plans
the potential gains in effectiveness         necessarily broad and general because a
warrant the increased costs.                                                             for national forests and grasslands, and
                                             planning rule is two steps removed from     includes requirements for the structure
   None of the individual elements of
                                             site-specific projects and activities.      and content of those plans. Any
Alternative E are inconsistent with the
                                             Quantitative, site-specific effects can     commitment of resources takes place
final planning rule and any of them can
                                             only be predicted with any certainty        only after (1) a land management plan
be incorporated into plan direction
                                             when site-specific actions are proposed.    is approved under the provisions of the
where they are determined to be
applicable and effective for those units.    Decision and Rationale                      final rule (including the completion of
However, requiring incorporation of all                                                  the appropriate NEPA process), and (2)
                                             Decision                                    the Forest Service proposes projects or
elements of Alternative E does not
provide enough flexibility for effective       Modified Alternative A, with              activities, analyzes their effects in the
and efficient resource management on         clarifications, is selected as the final    appropriate NEPA process, determines
all units of the NFS. For these reasons      planning rule. A few clarifications were    consistency with the applicable land
Alternative E was not selected as the        made to better represent the                management plan, and authorizes the
final rule.                                  Department’s intent, and do not             final projects or activities.
                                             substantively change Modified                  Sometimes projects or activities may
The Environmentally Preferred                Alternative A. They include:                be authorized at the same time and in
Alternative                                    (1) Changes made to § 219.7(e)(l)(iv)     the same decision document when
  Under the Council on Environmental         and § 219.15(d)(3) to clarify that          approving a plan, plan amendment, or
Quality’s (CEQ) NEPA regulation, the         compliance with both standards and          plan revision. One example might be
Department is required to identify the       guidelines is mandatory, with standards     opening or closing trails to the use of


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off-highway vehicles. In these cases, the     Response to Purpose and Need                 planning process. The Department
part of the decision associated with the         All of the alternatives analyzed in       concludes that the collaborative
project or activity would represent a         detail, with the exception of Alternative    approach required by Modified
commitment of resources.                      B, meet the purpose and need to varying      Alternative A will result in improved
                                              degrees. No single alternative can           relationships and plans that better meet
Rationale for the Decision                                                                 the needs of diverse communities,
                                              maximize all of the elements of the
  The following paragraphs outline the        purpose and need. The Department             which in turn will translate into more
rationale for the decision, including         finds that Modified Alternative A            successful projects and activities
how Modified Alternative A meets the          provides the best planning framework         developed under the plans.
purpose and need and addresses the                                                            6. Ensures planning takes place in the
                                              for meeting the various elements of the
significant issues described in the final                                                  context of the larger landscape by taking
                                              purpose and need by creating a rule
PEIS.                                                                                      an “all-lands approach.’’ Modified
                                              that:
  The Department determined Modified                                                       Alternative A uses an “all-lands
                                                 1. Emphasizes restoration of natural
Alternative A best meets the purpose                                                       approach” to consider conditions
                                              resources to make NFS lands more
and need for a new planning rule.                                                          beyond the plan area and how they
                                              resilient to climate change, protect
Modified Alternative A provides a                                                          might influences resources within the
                                              water resources, and improve forest
process for planning that is adaptive                                                      plan area as well as how actions on the
                                              health. The Department concludes that        NFS might affect resources and
and science-based, engages the public,        Modified Alternative A will result in
and is designed to be efficient, effective,                                                communities outside of the plan area. It
                                              plans that are adaptive and therefore        also requires that responsible officials
and within the Agency’s ability to            more likely to remain relevant and
implement. It is designed to ensure that                                                   coordinate with entities with equivalent
                                              implementable, including by providing        and related planning efforts.
plans provide for the sustainability of       an adaptive framework that will help
ecosystems and resources; meet the                                                            7. Is within the Agency’s capability to
                                              responsible officials to respond to          implement on all NFS units. It is clear
need for forest restoration and               changing conditions and new                  and provides an efficient framework for
conservation, watershed protection, and       information.                                 planning, and is able to be implemented
species diversity and conservation; and          2. Contributes to ecological, social,     within the financial capacity of the
assist the Agency in providing a              and economic sustainability by ensuring      Agency.
sustainable flow of benefits, services,       that all plans will be responsive to            The Department concludes that
and uses of NFS lands that contribute to      issues such as the challenges of climate     Modified Alternative A provides an
the economic and social sustainability        change; the need for forest restoration      appropriate balance between the
of communities.                               and conservation, watershed protection,      flexibility needed to address issues
  The paragraphs below describe how           and species conservation; and the            unique to the plan area and the need for
Modified Alternative A meets the              sustainable use of public lands to           consistent requirements and a
purpose and need for a new planning           support vibrant communities.                 consistent approach. Modified
rule. Many of the requirements                   3. Is consistent with NFMA and            Alternative A reduces planning costs
described for each element can be found       MUSYA. The Department intends that           and the time needed for a plan revision
in one or more of the alternatives            the requirements of Modified                 from current levels.
analyzed in the PEIS. However, the            Alternative A will be integrated into the
Department concludes that the                 development or revision of a plan in a       Response to the Issue of Ecosystem
combination of requirements provided          manner that provides for the long-term       Restoration
in Modified Alternative A provide the         ecological sustainability of the plan area      As many respondents correctly noted,
best approach for developing,                 while sustaining ecosystem services and      not all NFS lands are in need of
amending, and revising plans. Modified        providing for multiple uses.                 restoration and, in fact, NFS lands often
Alternative A is clearer than Alternative        4. Is consistent with Federal policy on   provide among the highest quality
A, better reflects the Department’s intent    the use of scientific information and the    habitat and the cleanest water of all
as described in the preamble for the          Agency’s expertise and experience            lands in the country. The final rule
proposed rule, and reflects public            gained in more than 30 years of land         provides for the maintenance of those
comments and suggestions for                  management planning. Responsible             lands. There is also widespread
improving the proposed rule. Unlike           officials will use the best available        consensus that some NFS lands are
Alternative B, it meets the purpose and       scientific information to inform the plan    degraded or are at risk of becoming
need for a new planning rule. It is also      components and the monitoring                degraded. From large scale pine beetle
more implementable and less costly            program. The Department concludes            outbreaks in the Intermountain West to
than Alternatives D and E, and allows         that Modified Alternative A requires a       watersheds across NFS lands with
greater flexibility to develop plans that     planning process that is science-based       poorly sited or maintained roads that
best meet the ecological, social, and         and additionally recognizes the value of     cause sedimentation or block the
economic needs of units across the very       local knowledge, the Agency                  movement of fish and aquatic
diverse National Forest System. The           experience, knowledge, and information       organisms, there are many restoration
Department concludes that the                 of other land managers, and indigenous       needs on NFS lands. Modified
combination of provisions in Modified         knowledge.                                   Alternative A addresses the need for
Alternative A best meets the purpose             5. Provides for a transparent,            ecosystem maintenance and restoration.
and need for a new planning rule and          collaborative process that allows               Modified Alternative A incorporates
provides assurance that the                   effective public participation. Modified     the concept of ecological integrity. This
Department’s objectives will be met.          Alternative A includes requirements to       concept is defined in the scientific
  For those reasons, Modified                 engage the public. Tribes, other             literature as a means of evaluating
Alternative A provides the best balance       government agencies, and groups and          ecological conditions in terms of their
among the alternatives to meet the            communities that have been at times          sustainability. The concept of ecological
purpose and need for a new planning           under-represented in planning, such as       integrity is also used by the U.S.
rule.                                         youth and minorities, throughout the         Department of the Interior’s National


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Park Service and Bureau of Land              the 1982 rule, but goes beyond the 1982        NFS lands provide some of the
Management. Aligning approaches              rule in requiring a proactive approach       highest quality water in the country and
across the broader landscape will            for maintaining or restoring terrestrial     are important sources of drinking water,
facilitate an all-lands approach to          and aquatic ecosystems and watersheds        but there are streams that do not meet
ecological sustainability.                   in the plan area.                            State water quality standards. Modified
   Under Modified Alternative A,                Under Modified Alternative A,             Alternative A requires that the Chief of
information relevant for ecosystem           information relevant to watersheds,          the Forest Service establish
maintenance and restoration will be          aquatic ecosystems, and water resources      requirements for best management
identified and evaluated during the          will be identified and evaluated during      practices for water quality, and that
assessment phase. Plan components are        the assessment phase. Plans will be          plans ensure implementation of those
required for the maintenance and             required to identify priority watersheds     practices.
restoration of the ecological integrity of   for maintenance or restoration. Plan           The Department concludes that
riparian areas and air, soil, and water      components are required for the              Modified Alternative A appropriately
resources. Responsible officials will        maintenance and restoration of the           elevates the emphasis on the
consider opportunities to restore fire       ecological integrity of aquatic              conservation of water and riparian
adapted ecosystems and for landscape         ecosystems and watersheds, water             resources, can be implemented on all
scale restoration. The monitoring            quality, and water resources in the plan     NFS units, and is soundly supported by
program will track ecological and            area, including lakes, streams, wetlands,    recent advances in conservation biology
watershed conditions and measure             and sources of drinking water.               and ecology.
progress towards meeting desired                Plan components are also required for     Response to the Issue of Diversity of
conditions and objectives.                   the maintenance and restoration of the       Plant and Animal Communities
   Modified Alternative A captures
                                             ecological integrity of riparian areas,         Perhaps no other aspect of the
many of the concepts of “best practices”
                                             including structure, function,               proposed planning rule has sparked as
in restoration that are already occurring
                                             composition, and connectivity; taking        much interest or generated as much
on NFS lands. Examples of such best
                                             into account a number of factors; and        debate as the requirement to provide for
practice efforts include the
                                             plan components must establish widths        plant and animal diversity. In
Collaborative Forest Landscape
                                             for riparian management zones. Because       particular, there is disagreement
Restoration Program established under
                                             riparian resources across NFS units are      between those who believe that without
section 4003(a) of Title IV of the
Omnibus Public Land Management Act           very diverse. Modified Alternative A         strong, specific requirements in the rule
of 2009, {http://www.fs.fed.us/              retains the 1982 rule requirements to        for maintaining species diversity and
restoration/CFLR/index.shtml) , which        give special attention to land and           viability, the persistence of many
promotes healthier, safer, and more          vegetation within approximately 100          species will be at increased risk, and
productive public lands through              feet of all perennial streams and lakes      those who believe that putting specific
partnership efforts, and the Four Forest     and prevent management practices that        requirements in the rule will result in
Restoration Initiative to accomplish         have serious or adverse impacts, but         endless litigation that will keep the
landscape scale restoration of ponderosa     does not require a single national width     Agency from moving forward with
pine ecosystems in the Southwest.            for riparian management zones.               planning and with projects and
These restoration efforts bring people       Riparian areas may be forested or open,      activities.
together to work across ownerships,          they are connected with all types of            The Department’s intent is to provide
restore ecosystems, increase                 streams, lakes and wetlands, and they        for the diversity of plant and animal
organizational capacity, and in the          vary widely in existing condition and        communities, and keep common native
process create jobs and economic             types of use. Modified Alternative A         species common, contribute to the
opportunities that contribute to             allows for the requirements to be            recovery of threatened and endangered
sustainable economies. Modified              tailored to specific conditions on the       species, conserve proposed and
Alternative A provides a platform for        plan area. The set of requirements           candidate species, and maintain species
working with the public and other land       included in Modified Alternative A for       of conservation concern within the plan
managers to identify restoration needs       riparian areas is more implementable         area, within Agency authority and the
across the landscape and manage NFS          and less costly than the requirements in     inherent capability of the land.
lands to support meeting shared              Alternative D, and will lead to a more          Modified Alternative A requires that
restoration objectives.                      effective and appropriate set of plan        future plans be based on a
                                             components across a diverse system.          complementary ecosystem and species­
Response to the Issue of Watershed              Under Modified Alternative A,             specific approach to provide for the
Protection                                   responsible officials must ensure that       diversity of plant and animal
   Watersheds and water resources on         projects and activities in riparian areas    communities in the plan area and the
NFS lands are important for many             are consistent with plan requirements        long-term persistence of native species
reasons: For example, they are the           for maintaining or restoring riparian        in the plan area. This approach is often
source of drinking water for one in five     areas, do not seriously or adversely         referred to as the coarse-filter/fine-filter
Americans, provide important species         affect water resources, are suitable uses,   approach.
habitat for terrestrial and aquatic          and are compatible with desired                 The ecosystem integrity and diversity
species, and support recreation              conditions for those lands. The              requirements in Modified Alternative A
opportunities in the plan area.              consistency requirement places the           are meant to provide a coarse-filter
   Modified Alternative A includes a         decision about what types of projects or     designed to maintain biological
strong set of requirements associated        activities may or may not be allowed         diversity. By working toward diverse,
with maintaining and restoring               and what management direction will           connected ecosystems with ecological
watersheds and aquatic ecosystems,           guide these activities at the plan level.    integrity, the Agency expects that over
water resources, and riparian areas in       The Department concludes that this is        time, management will create ecological
the plan area. It incorporates the           the appropriate level at which to make       conditions which support the
protection or mitigation requirements of     these decisions.                             abundance, distribution, and long-term


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persistence of most native species            provides a three-fold treatment of all       provided under the 1982 rule, while
within a plan area, as well as provide        native species.                              meeting restoration goals and the
for diversity of plant and animal                First, Modified Alternative A requires    mandate of multiple use.
communities. The fine-filter provisions       coarse-filter plan components for the           Modified Alternative A recognizes
are intended to provide a safety net for      maintenance and restoration of the           that there are limits to the Agency’s
those species whose specific habitat          ecological integrity and diversity of        authority and the inherent capability of
needs or other influences on their life       ecosystems in the plan area. Plan            the land, whereas the 1982 rule required
requirements may not be fully met             components will support the long-term        management prescriptions to “[pjrovide
under the coarse-filter provisions.           persistence of most native species in the    for adequate fish and wildlife habitat to
   The coarse-filter/fine-filter approach     plan area, including providing for           maintain viable populations of [all]
is a well-developed concept in the            species that are common or secure.           existing native vertebrate species,” (See
scientific literature and has broad              Second, species that are federally        1982 rule at § 219.27 (a)(6)) regardless of
support from the scientific community         recognized species under ESA                 whether there are circumstances outside
and many stakeholders. It incorporates        (threatened, endangered, proposed, and       of the authority or the control of the
the considerable advances of the past         candidate species) may not have viable       Agency. Examples of circumstances that
three decades in understanding of             populations on NFS lands and whose           may be outside of the Agency’s
biological and conservation science. The      recovery, in most cases, cannot be           authority or the inherent capability of
coarse-filter/fine-filter approach is         achieved on a single NFS plan area.          the plan area are provided above in the
already incorporated into many recently       Modified Alternative A requires the          rationale for non-selection of
revised plans and is yielding positive        responsible official to develop coarse-      Alternative B.
results. For example, restoration of          filter plan components, and fine-filter         The Department concludes the
longleaf pine in the South is resulting in    plan components where necessary, to          management emphasis on species of
increases in red-cockaded woodpecker          contribute to the recovery of listed         conservation concern is more focused
populations, and restoration of               species and conserve proposed and            than the viability provisions under the
watersheds and instream habitat in the        candidate species.                           1982 rule, which included all vertebrate
Pacific Northwest is yielding benefits           Third, Modified Alternative A             species whether there was concern
for salmon.                                   requires the responsible official to         about their persistence in the plan area
   The provisions in Modified                 develop coarse-filter plan components,       or not. Since these species may be wide
Alternative A recognize the importance        and fine-filter plan components where        ranging or may occur on multiple units,
of maintaining biological diversity of        necessary, to provide the desired            the regional forester, in coordination
native species on each national forest        ecological conditions necessary to           with the responsible official, will
and grassland, and the compositional,         maintain viable populations of species       identify species of conservation
structural, and functional components         of conservation concern within the plan      concern. Requiring that the regional
that comprise the biological diversity on     area, or to contribute to maintaining a      forester identify species of conservation
each NFS unit, and recognize the              viable population of a species of            concern will increase consistency across
importance of native species and their        conservation concern across its range        units and build efficiency into the
contributions to maintaining the              where it is not within the Agency’s          Agency’s collective efforts to maintain
ecological integrity of ecosystems.           authority or is beyond the inherent          the diversity of plant and animal
   Considering habitat needs for non­         capability of the plan area to provide the   communities.
vertebrates is not new to the Forest          ecological conditions to maintain a             The Department also considered the
Service. Non-vertebrate species can be        viable population of that species within     challenges the Forest Service has faced
federally recognized as threatened or         the plan area.                               in monitoring management indicator
endangered. In addition, the Agency has          Species of conservation concern are       species (MIS) under the 1982 rule. MIS
developed and maintained a list of            those plant and animal species whose         monitoring has been the subject of much
regional forester sensitive species           long-term persistence within the plan        of the legal debate around the species
(RFSS) for over two decades. An RFSS          area is of known conservation concern.       provisions of the 1982 rule. Modified
list can include any native plant or          The rule requires that species of            Alternative A does not include
animal species. RFSS are those plant          conservation concern must be “known          requirements to designate MIS or
and animal species identified by a            to occur in the plan area” and that the      monitor their population trends. The
regional forester for which population        regional forester identify the species of    concept of MIS as a surrogate for the
viability is a concern, as evidenced by:      conservation concern for which “the          status of other species is not supported
significant current or predicted              best available scientific information        by current science, and population
downward trends in population                 indicates substantial concern about the      trends are difficult and sometimes
numbers or density or significant             species’ capability to persist over the      impossible to determine within the
current or predicted downward trends          long term in the plan area.”                 lifespan of a plan.
in habitat capability that would reduce          The Department has considered the            In the final rule, MIS monitoring has
a species’ existing distribution. RFSS        concerns raised by many that the             been replaced with monitoring of focal
are thus similar to species of                requirement for maintaining viable           species. The concept of focal species is
conservation concern. The conservation        populations of species of conservation       well supported in the scientific
and management of many RFSS has               concern on the plan area is an               literature and community. Focal species
been a part of many land management           impossible task and that attempting to       are not surrogates for the status of other
plans and projects and activities for         meet this requirement will come at the       species. Focal species monitoring
decades.                                      cost of all other management of the NFS      provides information regarding the
   The Department intends to provide          lands. The Department concludes that         effectiveness of the plan in providing
for the persistence of all native species     Modified Alternative A provides a more       the ecological conditions necessary to
by the use of the coarse-filter/fine-filter   holistic, consistent, realistic, and         maintain the diversity of plant and
approach, within Forest Service               effective approach to maintaining native     animal communities and the persistence
authority and the inherent capability of      fish, wildlife, and plant species on         of native species in the plan area.
the plan area. Modified Alternative A         national forests and grasslands than         Modified Alternative A does not require


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or prohibit monitoring of population          approach to providing for diversity of      climate change National Roadmap and
trends of focal species. Instead, it allows   plant and animal communities on             Performance Scorecard, the Watershed
the use of any existing or emerging           national forests and grasslands, while      Condition Framework and ecological
approaches for monitoring the status of       meeting restoration goals and the           restoration and sustainability policies.
focal species that are supported by           mandate of multiple use and sustained       The climate change roadmap directs
current science. Monitoring methods for       yield.                                      national forests and grasslands to
evaluating the status of focal species                                                    develop climate change vulnerability
                                              Response to the Issue of Climate Change
may include measures of abundance,                                                        assessments and identifies monitoring
distribution, reproduction, presence/            Consideration of changing conditions     strategies. Elements in the scorecard
absence, area occupied, survival rates,       including climate in planning is not        will help the Agency to determine
or others.                                    new to the Forest Service. The Climate      whether assessments and monitoring are
   The Department expects that                Change Resource Center has been             being developed in a way that will help
monitoring key ecosystem and                  developed as a reference for Forest         inform decisionmaking at the unit level.
watershed conditions along with               Service resource managers and decision      The scorecard includes requirements
monitoring the status of a set of well-       makers who need information and tools       that complement or are complemented
chosen focal species will provide timely      to address climate change in planning       by requirements in Modified Alternative
information regarding the effectiveness       and project implementation on NFS           A. The climate change roadmap and
of plan components related to plant and       lands. For more than 20 years. Forest       scorecard are available online at
animal diversity.                             Service scientists have been studying       http://www.fs.fed. us/climatechange/
   The requirements in Modified               and assessing climate change effects on     advisor/.
Alternative A regarding sustainability        forests and rangelands. Forest Service         The national watershed condition
and diversity of plant and animal             Research and Development provides           framework (WCF) approach uses an
communities are part of the planning          long term research, scientific              annual outcome-based performance
framework cycle that requires public          information, and tools that can be used     system to measure progress toward
participation, assessments, and               by managers and policymakers to             improving watershed condition on NFS
monitoring. Additionally, provisions in       address climate change impacts to           lands. The WCF improves the way the
these sections require the responsible        forests and rangelands. Climate change-     Forest Service approaches watershed
official to coordinate with other land        related activities are carried out within   restoration by targeting the
owners. These requirements support            research stations covering the whole        implementation of integrated suites of
cooperation and an all-lands approach         country. In 2009, the Agency issued         activities in those watersheds that have
to ecosystem and species diversity and        guidance for climate change                 been identified as priorities for
conservation.                                 considerations to provide the Agency        restoration. A short description of the
   Under plans developed under                with the support needed to incorporate      framework is discussed in Chapter 3 of
Modified Alternative A, the Department        climate change into land management         the final PEIS under watershed
expects NFS lands to more consistently        planning and project-level NEPA             protection and a Forest Service
provide the ecological conditions             documentation. Recent plan revisions        publication is available at http://
necessary to maintain the diversity of        include consideration of climate change.    www.fs.fed. us/publications/watershed/
plant and animal communities and the             Modified Alternative A incorporates a    Wa tersh ed_Condi tion_Fram e work.pdf.
persistence of native species. Over time,     strategic framework for adaptive               Modified Alternative A capitalizes on
the Department expects habitat quantity       management: assess conditions on the        existing Agency work such as the
to increase and habitat quality to            ground using readily available              baseline carbon assessments conducted
improve for most native species across        information, build plan components          under the Climate Change Scorecard,
the NFS including aquatic and riparian        recognizing that conditions may be          the assessment and monitoring
species. The Department also expects          changing, and monitor to determine if       conducted under the Watershed
ecological conditions for many federally      there are measurable changes related to     Condition Framework, and the
listed species, species proposed, and         climate change and other stressors on       monitoring of climate change indicators
candidates for listing and species of         the plan area.                              occurring in the Forest Inventory and
conservation concern to improve within           Under Modified Alternative A,            Analysis program, by ensuring
and among plan areas because Modified         responsible officials will identify and     integration of these activities into the
Alternative A gives emphasis to               evaluate information relevant to            land management planning process.
maintaining and restoring ecological          understanding ecological conditions            In selecting Modified Alternative A,
conditions needed by these species. The       and trends and to forming a baseline        the Department considered the present
final rule provides for collaborative         assessment of carbon stocks. Plans will     capability of the Agency to address
approaches to addressing the range­           include plan components to maintain or      climate change in planning. The
wide concerns of species whose range          restore ecological integrity, so that       Department also considered existing
and long term viability is associated         ecosystems can resist change, are           Agency policy on climate change and
with lands beyond the plan area.              resilient under changing conditions, and    the ways in which the different
   The Department concludes that the          are able to recover from disturbance.       alternatives could be integrated
combination of requirements in                Modified Alternative A also requires        effectively with those policies. The
Modified Alternative A reflects a strong,     monitoring measurable changes on the        Department concludes that the
implementable approach to providing           plan area related to climate change and     requirements for addressing climate
for the diversity of plant and animal         other stressors that may be affecting the   change in the final rule can be carried
communities and the persistence of            plan area. Taken together, the planning     out on all NFS units.
native species in the plan area, and is       framework and these requirements will
supported by the scientific literature        ensure that information related to          Response to the Issue of Multiple Uses
and community. This approach meets            climate change will be addressed in a         Modified Alternative A embraces the
the requirements of NFMA and                  consistent and strategic fashion.           multiple use mandate of the Multiple­
MUSYA, and provides a holistic,                  Modified Alternative A is consistent     Use Sustained-Yield Act and recognizes
consistent, realistic, and effective          with and complements the Agency’s           the importance of multiple uses in many


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sections of the alternative. Recreation,     Alternative A emphasizes the                procedures are considered the baseline
timber, grazing, and other multiple uses     importance of the continued delivery of     for comparing changes in cost and time
provide jobs and income to local             sustainable recreation. Providing high      for plan revisions because, until a new
communities, help to maintain social         quality recreation opportunities and a      planning rule is in place, the 1982 rule
cultures and long standing traditions,       range of access to NFS lands creates jobs   procedures are being used as permitted
connect people to the land, and              and income and connects people to the       by the transition provision of the 2000
contribute to the quality of life for many   land.                                       rule to develop, revise, and amend all
Americans.                                     Under Modified Alternative A, plans       plans.
   The Agency has reported that              must contribute to economic and social         According to the Agency’s regulatory
spending by recreation visitors in areas     sustainability and must provide for         impact analysis and cost-benefit
within 50 miles of national forests and      ecosystem services and multiple uses in     analysis under Modified Alternative A,
grasslands amounts to nearly $13 billion     the plan area. Responsible officials will   the Agency estimates that land
each year. Those dollars sustain more        use an integrated resource management       management planning will cost an
than 224,000 full and part-time jobs.        approach to provide for multiple uses       estimated $97.7 million per year, which
Recreation accounts for more than half       and ecosystem services in the plan area,    is $6.3 million per year less than it
of all job and income effects attributable   considering a full range of resources,      currently costs to conduct planning
to Forest Service programs. Harvest of       uses, and benefits relevant to the unit,    under the 1982 procedures. More
timber and other forest products from        as well as stressors and other important    significantly, under Modified
NFS lands contributed to more than           factors. As part of the multiple use        Alternative A, the Agency estimates that
44,000 full- and part-time jobs with         requirements. Modified Alternative A        plan revisions will take, on average, 3 to
labor income totaling more than $2           will require plan components for            4 years as compared to 5 to 7 years
billion in 2009. Livestock grazing on        sustainable recreation, including           under Alternative B, and will cost, on
NFS lands contributes to an estimated        recreation settings, opportunities,         average, $3 to $4 million as compared
3,695 jobs and labor income totaling         access, and scenic character. Modified      to $5 to $7 million. As a result of these
$91.9 million per year.                      Alternative A also includes                 savings and efficiencies, the Forest
   Timber harvest on NFS lands has           requirements for plan components for        Service will be able to revise
declined from over 12 billion board feet     timber management, consistent with the      significantly more plans during the 15-
in 1985 to approximately 2 billion board     requirements of NFMA.                       year revision cycle, than under the
feet in 2009. In 1985, there were over 8       Information relevant to multiple uses     current planning structure.
million cattle, sheep, and other             and their contributions to local,              Beyond cost and time savings, there
domestic animals grazing on NFS lands.       regional, and national economies, along     are important ancillary benefits to
In 2009, this number dropped to              with information about the benefits         increasing the efficiency of the planning
approximately 6 million. In contrast,        (ecosystem services) people obtain from     revision process. Under shorter time
recreation visits to NFS lands have          the plan area, will be identified and       frames it will be easier for the public to
increased over this same period. There       evaluated in the assessment phase.          remain engaged throughout the revision
are many factors that influence the            Monitoring will track progress            process. One of the common concerns
levels of timber harvest, grazing, and       towards meeting desired conditions and      expressed by members of the public is
recreation, as well as other individual      objectives for recreation and other         that there is a significant amount of
multiple uses of the NFS. These factors      multiple uses. Broad and unit scale         turnover in key Agency staff during the
include increasing population, changing      monitoring may provide information on       long timeframes required for plan
cultural and social values, greater access   resource and social concerns and            revision under the current planning
to NFS lands, changing rural and global      conflicts before they result in             process. This can cause disruption and
economies, NFS budgets, and competing        insurmountable challenges. Most             confusion as established relationships
resource concerns. It is difficult to        importantly, the Department concludes       are severed and time and effort is
predict at this programmatic level the       that the requirements in Modified           needed to develop new relationships.
extent to which a new planning rule is       Alternative A for encouraging public           The new rule’s requirements for
likely to affect specific multiple uses in   participation, working across               increased collaboration and monitoring
the future. As a result, the Department      boundaries, and engaging other Federal      will lead to higher costs than are
considered how each of the alternatives      agencies. State, local, and Tribal          projected under Alternative B, but are
in the PEIS provides a framework for         governments, will help identify             expected to increase the effectiveness
supporting the continued delivery of         multiple uses in the plan area, resolve     and relevance of land management
ecosystem services and multiple uses         conflicts, and facilitate the forward       plans. Increased collaboration provides
from the NFS.                                movement of effective land management       benefits throughout the planning
   Modified Alternative A considers          activities.                                 process and well into implementation.
ecological, economic, and social               The Department concludes that             Analysis time may be shortened,
sustainability as equal and                  Modified Alternative A meets the            administrative objections and the time
interdependent factors. Modified             Agency’s multiple-use and sustained-        needed to resolve them may be reduced,
Alternative A emphasizes restoration of      yield obligations under MUSYA and           and projects developed under the
ecosystems so that they are capable of       provides an effective framework for         resulting plans may be better
sustaining multiple uses over time.          sustaining the flow of goods and            understood and supported. Monitoring
Restoration activities will produce jobs     services from NFS lands over time.          is important for adaptive management,
and income; at the same time; restored,                                                  and can help the Agency to test
functioning ecosystems can support           Response to the Issue of Efficiency and     assumptions, track changing conditions,
species diversity while allowing             Effectiveness                               and measure management effectiveness
multiple uses to continue. Under               Under Modified Alternative A, the         over time. However, the Agency has
Modified Alternative A, timber               Department expects that individual plan     long recognized that monitoring efforts
production and grazing will continue to      revisions will cost less money and          when viewed across the Agency as a
provide jobs, income, and ways of life       consume less time than they do under        whole have often lacked consistency
for many Americans. Modified                 the 1982 rule procedures. The 1982 rule     and, at times, credibility. The


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monitoring requirements of Modified         provide additional guidance and more            Modified Alternative A allows
Alternative A complement broader            detailed interpretation to ensure            flexibility at the local level to determine
Agency efforts to increase the efficiency   consistent and effective implementation      the most appropriate method and scale
and effectiveness of its inventory,         of the rule. These directives will be        of the public involvement. Much of the
monitoring and assessment programs,         available for public review and              literature on building effective
and make better use of the money            comment before they are finalized.           collaboration discusses the need for
currently spent on monitoring.              Plans developed, revised and amended         flexibility to select public involvement
   While the cost of each requirement is    under the rule will be consistent with       methods appropriate for the unique
included in the total cost estimate of      the rule and the directives.                 needs of specific situations and
Modified Alternative A, many of the                                                      participants.
requirements involve work that is           Response to the Issue of Transparency           Modified Alternative A is consistent
already occurring and that will continue    and Collaboration                            with current practice on effective public
to occur regardless of whether this, or        Modified Alternative A supports a         engagement and incorporates
another alternative is selected as the      transparent and collaborative approach       approaches that have proven successful
final rule. Modified Alternative A was      to planning. As described in the PEIS,       and implementable on NFS units.
developed as part of an integrated          best practices in public involvement            The requirements for public
Agency framework to manage the NFS          and collaboration emphasize the              participation, notification, and
lands more efficiently. Other initiatives   importance of engaging a broad               documentation required in Modified
and Agency priorities that will             spectrum of participants. Participants       Alternative A support transparency in
complement and support the                  might live close to a plan area or not.      planning. This alternative’s
implementation of the new land              What matters is they care about that area    requirements to consider the
management planning process and             for some reason, can contribute to an        accessibility of the process and of
address critical NFS resource issues        understanding of relevant issues, can        information, to use contemporary tools
include the Watershed Condition             help get planning or project work done,      to engage the public and to post all
Framework, Climate Change Scorecard,        and can help increase organizational         notifications online further increase
landscape scale restoration, an all lands   and community capacity. A plan               transparency.
approach, and a new system for              revision or amendment process that
                                                                                         Response to the Issue of Coordination
inventory, monitoring, and assessment       offers a broad spectrum of participation
                                                                                         and Cooperation Beyond NFS
work that addresses core resource           opportunities is much more likely to
                                                                                         Boundaries
information and data needs at all levels    produce a meaningful, shared
of the Agency.                              understanding of the social, economic,         Ecological and social systems are not
   Modified Alternative A is neither the    or ecological factors of importance in       confined within NFS unit boundaries.
least nor the most costly of the            the plan area. Forests and grasslands        Ecosystem services produced by
alternatives the Department considered.     that already engage a broad spectrum of      national forests and grasslands affect
Modified Alternative A reduces the          public interests early and often report      and are affected by land management
costs and time required for plan            that their proposed projects and plans       activities on adjacent private. State,
development, amendment, and revision.       more accurately incorporate public           local, and other Federal Government
However, the Department does not            vision and interests. They further report    lands.
believe that selecting the least costly     that upfront public involvement builds         Under Modified Alternative A, the
alternative should be the overriding        more understanding of proposed               responsible official will consider the
criterion. Planning is an important         actions, and that people typically           landscape-scale context for management
investment. The requirements in             respond more positively to these             and will look across boundaries
Modified Alternative A are designed to      proposals.                                   throughout the assessment, plan
lead to more effective plans, to yield         Under Modified Alternative A,             development/revision, and monitoring
greater efficiencies over time by           responsible official will be required to     phases of the planning process. The
ensuring a consistent approach to           provide meaningful opportunities for         assessment phase will provide
planning, to build on existing              public participation in each phase of the    information about conditions and trends
information, to facilitate adaptive         planning framework. Modified                 relevant to management of the plan area
management, and to allow the use of         Alternative A includes requirements for      in the context of the broader landscape.
amendments and administrative               outreach. Tribal consultation, and           Responsible officials will take an all­
changes to keep plans current so that       coordination with other planning             lands approach into account when
future revisions are less costly.           efforts. Responsible officials will          developing plan components for
   The Department recognizes that some      continue to engage State and local           ecological sustainability and multiple
of the definitions, concepts, and terms     governments. Tribes, private                 uses and ecosystem services. Plan and
used in Modified Alternative A are new      landowners, other Federal agencies, and      broader-scale monitoring, along with
or broadly worded. This Alternative sets    the public at large, but additionally will   direction to engage the public and other
forth process and content requirements      encourage participation by youth, low-       land managers in each phase, will also
to guide the development, amendment,        income and minority populations, who         support an all-lands approach.
and revision of land management plans       have traditionally been                      Responsible officials will leverage their
across very diverse national forests and    underrepresented in the planning             resources and knowledge with those of
grasslands and over a long period of        process. Having the forest or grassland      other agencies to increase effectiveness
time. By setting out substantive and        supervisor as the responsible official       and gain efficiency in planning and
procedural requirements, the rule           provides greater opportunity for people      future implementation of their plans.
establishes the decision space within       to interact directly with the decision         The PEIS includes several examples
which the planning process is to be         maker than under current rule                of landscape scale planning, projects,
carried out and within which plan           procedures. Use of a pre-decisional          and assessments that are currently using
content must fit. The Forest Service will   review (objection) process is also           an all-lands approach in planning,
develop directives (the Forest Service      consistent with a more collaborative         assessment and monitoring. They have
Manual and Handbook) that will              approach.                                    resulted from an increased recognition


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that NFS land management must be              Endangered Species Act under section        country, using an independent
considered in the broader landscape and       7(a)(1).                                    facilitator to run the roundtables and
that only this kind of approach can              Copies of the biological assessment,     capture public feedback.
address problems such as maintaining          its addendum, and the biological               The purpose of the public forums
watershed conditions, conserving wide-        opinions are in the project record and      before publication of the proposed rule
ranging species, and providing for            can be viewed online at: http://www.fs.     was to openly and transparently discuss
effective transportation and                  usda.gov/planningrule.                      possible content of the proposed rule.
infrastructure on and off NFS lands. The                                                  Participants in the meetings were
                                              Response to Comments
Department concludes that Modified                                                        invited to suggest specific topics and
Alternative A incorporates these best            The following is a description of        specific wording during the sessions.
practices and provides a framework for        specific comments received on the           Materials and summaries from the
continuing and expanding them.                proposed rule, responses to comments,       roundtables were posted online. Many
                                              and changes made in response to             roundtables used video teleconferencing
Compliance With the Endangered                comments. Each comment received             or Webcasts to provide for participation
Species Act of 1973, as Amended               consideration in the development of the     by members of the public unable to
   Beginning in September, 2010 and           final rule. In addition, following the      attend in person. This use of technology
continuing through the development of         publication of the PEIS, the Department     also provided opportunities for the
the final rule and its accompanying final     received comments on the PEIS and the       public to participate from their local
programmatic environmental impact             preferred alternative. These comments       Forest Service office. The Agency also
statement (PEIS), representatives from        were also considered by the Department      hosted a blog site for people to engage
the U.S. Fish and Wildlife Service            in the development of the final rule, and   in dialogue and provide feedback, as
(USFWS) and the National Oceanic and          any changes made in response to those       well as participate remotely in the
Atmospheric Administration (NOAA)             comments are described below. A             national roundtables. More than 3,000
Fisheries (the reviewing agencies) met        response to comments on the draft EIS       members of the public participated in
regularly with members of the Forest          and the proposed rule may be found in       these sessions and provided important
Service to discuss Endangered Species         the response to comments appendix of        feedback that the Agency used in
Act of 1973 issues related to the final       the EIS located online (see ADDRESSES).     developing the proposed rule.
                                                                                             After the proposed rule was
rule. During that time, the three             General Comments                            published, the Agency hosted 28
agencies worked closely together to              The Department received the              regional public forums and one national
identify the relevant issues and              following comments not specifically         public forum to answer questions and
appropriate level of analysis associated      tied to a particular section of the 2011    help the public understand what was in
with this rule and the environmental          proposed rule.                              the proposed rule. These sessions were
analysis for it. They collaborated on a
                                              General Comments on Rulemaking              attended by more than 1,350 people and
consultation process and on the
                                              Effort                                      reached 72 satellite locations across the
biological assessment (BA). The Agency
                                                                                          country. These forums were intended to
requested consultation under section             Comment: Use of public forums for        help the public submit informed
7(a)(1) and 7(a)(2) of the Endangered         rule development and meeting                comments during the comment period
Species Act of 1973 with the reviewing        locations. A respondent was critical of     for the proposed rule, but the Agency
agencies in July, 2011. Additionally, the     the public forums, as the forum they        did not accept public comments directly
Agency requested conferencing on the          attended was full of private sector         at the forums because of the need to
potential effects of the rule on all          representatives and not members of the      have a consistent way of accepting and
species that are proposed for Federal         public. Another respondent felt there       recording comments.
listing and currently occur on NFS            were not enough public meetings held           After the public comment period
lands, and those that are candidates for      on the East Coast. A respondent felt        closed, the Agency used the more than
Federal listing that occur on or are          after scoping, the proposed rule was        300,000 comments received to inform
suspected to occur on NFS lands. A            developed “behind closed doors.” The        development of this final rule.
summary of the consultation meetings          respondent felt the meetings on the            Comment: Proposed rule commenting
between the Forest Service, NOAA              proposed rule were not opportunities to     process. A respondent felt there was no
Fisheries, and the USFWS can be found         discuss specific rule wording.              convenient way for the everyday person
in Appendix E of the final PEIS.                 Response: The public engagement          to provide comments on the proposed
   NOAA Fisheries and USFWS have              effort prior to development of the          rule.
each prepared a biological opinion            proposed rule was the most extensive,          Response: Multiple avenues for the
pursuant to section 7(a)(2) of the            transparent and participatory process       public to submit comments on the
Endangered Species Act including a            ever used to develop a proposed             proposed rule were provided, including
conservation review pursuant to section       planning rule. The Department began by      submitting comments electronically via
7(a)(1) Act (16 U.S.C. 1536(a)(1) and (2)).   using the Notice of Intent (NOI) to         the respondent’s choice of two Web
Each agency issued a biological opinion       solicit initial public input, rather than   sites, or submitting comments using
that adoption of the final planning rule      going out with an already developed         mail or fax. Information on how to
is not likely to jeopardize the continued     proposal. This decision was made in         submit comments was posted on the
existence of the endangered or                recognition of the level of public          Forest Service Web site, distributed at
threatened species under its jurisdiction     interest in this rule-making effort, and    public meetings, and published in the
and is not likely to destroy or adversely     in a desire to build a proposed rule        Federal Register notice. Additionally,
modify any of those species’ critical         based on public input. The Department       interested parties could sign up for a
habitat. Each agency’s biological             received 26,000 comments on the NOI.        listserv that provided updates via email.
opinion also concluded that the               Following the NOI, the Department              Comment: Lack of responses. A
planning rule would set forth a system        hosted a science forum, 4 national          respondent felt the 26,000 comments
for land use plans that would further the     roundtables, and 9 regional roundtables     received during the comment period for
conservation purposes of the                  which reached 35 locations around the       the notice of intent (NOI) to develop a


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new planning rule meant the                  oral presentation of data or views. The      agencies to “give interested persons an
Department must undertake further            Forest Service hosted open public            opportunity to participate in the
efforts to ensure the public is              forums in Washington, DC, and across         rulemaking through submission of
sufficiently involved in the planning        the country to answer questions about        written data, views, or arguments with
process and further ensure that actions      the proposed rule during the public          or without opportunity for oral
taken as a result of the rule are            comment period. The Forest Service           presentation” (5 U.S.C. 553(c)). Due to
supported and understood by the              held these forums to help the public         the anticipated volume of public
public.                                      understand the content of the proposed       comments, and in the interest of
   Response: In addition to the 26,000       rule. The Forest Service did not,            efficiency and accuracy in accepting
comments received in response to the         however, accept written formal public        and reviewing comments, the
NOI, the Department engaged more than        comments at the forums or provide an         Department did not accept comments
3,000 people around the country in           opportunity to record oral comments,         over the telephone. It is not standard
public forums to receive input between       due to the anticipated volume of public      practice to accept telephone comments.
the NOI and the proposed rule, and           comments, to ensure proper                   Opportunities to provide comment were
received more than 300,000 public            documentation and consideration of all       amply provided through the
comments during the 90-day comment           comments, and in the interest of             respondent’s choice of two Web sites,
period for the proposed rule. After          efficiency and accuracy in accepting         mail or fax.
publication of the final rule, public        and reviewing comments. All comments            The planning rule Web site does
participation in planning at the unit        on the proposed rule and DEIS had to         contain a site map link on the left-hand
level is mandated by § 219.4, which          be submitted in writing during the 90-       menu on the main page. The
requires the responsible official to offer   day comment period by postal system,         Department appreciates feedback on our
meaningful opportunities for public          fax, or one of two Web sites.                Web design and seeks to continuously
involvement and participation early and         Comment: Personal comments. A             improve our Web presence.
throughout the development of a land         respondent expressed concern that their         Comment: Verification comments
management plan or plan revision. The        scoping comments were not                    received. Some respondents wanted to
Agency is also exploring ways to engage      incorporated into the proposed rule.         verify that their comments on the
more broadly with the public to                 Response: No rule can satisfy the         planning rule were received.
implement this final rule.                   entire spectrum of opinion. The final           Response: Respondents are able to
   Comment: Cooperating status for           rule seeks to balance different, and often   verify that their comments were
rulemaking. Some respondents                 competing, public needs and                  received by reviewing the public
expressed concern that their requests for    perspectives on planning into a process      reading room for the planning rule at
cooperating agency status were not           that is practical, workable, based on        http://contentan alysisgro up. com /fsrd/.
granted by the Department.                   science, and reflective of overall public    To ensure transparency, comments
   Response: The National                    and Agency values and input.                 submitted during the comment period
Environmental Policy Act (NEPA)                 Comment: Incorrect or missing             were posted to the reading room for
allows for cooperating agency status for     address for submission of comments,          public review.
States, local governments, and Tribes        phone contact, and Web site utility.            Comment: List serv. A respondent felt
with jurisdiction or special expertise for   Some respondents expressed confusion         the Department should use a listserv to
the development of an environmental          on why the Department did not provide        keep the public apprised of the status of
document. Several States or local            an email address for comments to be          the planning rule.
governments requested cooperating            sent to. Others expressed frustration that      Response: A planning rule listserv
agency status. However, a national rule      the contact phone number was                 was announced in June 2010, and has
requires a broader look beyond an            published incorrectly in the DEIS, and       been used since then to communicate
individual State’s or local government’s     expressed a desire to submit comments        with the public. Members of the public
expertise. The Agency also took a            or ask questions by phone. Some              may request to be added to the planning
unique and unprecedented collaborative       wanted a better sitemap on the Forest        rule listserv on the planning rule Web
and open approach in reaching out to         Service planning Web site to help            site, or directly at http://www.fs.fed.us/
the public, governments, and Tribal          navigation through the site.                 news/pr-Iistserv-subscribe.html.
entities in developing the rule.                Response: Instead of an email address,       Comment: Requests for extension of
Therefore, requests for cooperating          the Department provided the addresses        the comment period. Some respondents
agency status during development of the      of two Web sites the public could            requested an extension of the comment
planning rule were not granted. The          choose from to submit comments, in           period because some members of the
Department recognizes the valuable role      addition to mail or fax options. Because     public were not able to participate in
of local and State governments and           of the volume of anticipated comments,       Agency meetings addressing the
Tribes in the planning process and           the Department concluded that                proposed rule. Other respondents
provided multiple opportunities for          comments submitted via a Web site            requested an extension of the comment
their involvement throughout the             would be more efficient to manage than       deadline because of the late release of a
country during the collaboration efforts     an electronic mail in-box, and would         scientific review. Some respondents
for the planning rule, in addition to the    reduce costs and the risk of human           said that the public did not have enough
formal public comment periods.               error. In addition, comments are more        time to comment on the science review
   Comment: Oral comments. Several           efficiently and rapidly placed in the        before the comment period closed.
respondents felt oral comments during        record and made available for public            Response: The Department went
the public forums on the proposed rule       inspection when submitted via a Web          through extraordinary lengths to
should have been allowed.                    site rather than email.                      facilitate the ability of the public to
   Response: When applicable, the               After being made aware of the             understand and comment on the
Administrative Procedures Act directs        incorrect phone number published in          proposed rule and proposed
that agencies provide an opportunity for     the DEIS, the Department corrected the       environmental impact statement. In fact,
written comment, but allows agencies         contact information immediately. The         the Administration identified this rule
the discretion whether or not to allow       Administrative Procedure Act requires        as a flagship for open government


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within the U.S. Department of                contained background information on          follow the National Forest Management
Agriculture. The Department published        the proposed rule as well as summaries       Act (NFMA) requirements in setting up
in the Federal Register a notice of intent   of the various collaboration and public      a committee of scientists.
to propose a new rule and prepare its        involvement activities held during the         Response: The external science
accompanying environmental impact            preparation of the proposed rule. Also,      review of the DEIS did not violate
statement on December 18, 2009, and          the DEIS was posted on that Web site,        FACA. FACA applies when a Federal
took public comment on that notice for       as published in the Federal Register         agency establishes, controls, or manages
60 days. The proposed rule was               notification. In order to proactively        a group that provides the Agency with
informed by approximately 26,000             facilitate commenting, the Forest            consensus advice or recommendations.
comments to the notice of intent, a          Service provided multiple options for        The external science review of the DEIS
science forum, regional and national         members of the public to submit              was conducted by seven non-Federal
roundtables held in 35 locations with        comments: two Web sites, by hard copy        scientists, each of whom separately
over 3,000 people in attendance,             mail, and by facsimile.                      conducted an independent evaluation of
national and regional Tribal                    In addition, the Department               whether appropriate scientific
roundtables, 16 Tribal consultation          contracted with a neutral third party to     information, content, and rigor had been
meetings. Forest Service employee            arrange an independent review of the         considered, analyzed, and synthesized
feedback, and over 300 comments              DEIS by respected and well known             in the DEIS. These scientists did not
posted to the planning rule blog.            scientists outside of the Forest Service     operate as a group; they were not
Throughout that process, the Agency          to ensure that the science behind the        established, controlled or managed as a
shared a clear timeline with the public,     proposed rule and environmental              group by the Agency; and they did not
including our intent to publish the final    analysis is current, relevant, accurate,     provide the Agency with consensus
rule by the end of 2011.                     and appropriately applied. In order to       advice or recommendations.
   The Department considered all the         ensure the integrity and independence        Accordingly, the external science
public input, science, and the Agency’s      of the review process, the identity of the   review was not subject to FACA’s
expertise to develop the proposed rule       reviewers and the content of their           requirements.
and draft environmental impact               individual analysis were kept                  A committee of scientists was not
statement (DEIS). The proposed rule and      confidential by the third party, until the   required for this rulemaking effort under
notice of availability for the DEIS were     review was completed. In keeping with        the NFMA: a committee of scientists
published in the Federal Register and        our open and transparent process, the        was required only for the 1979 planning
included a 90-day comment period             Agency committed to make the reviews         rule, and that committee terminated
ending on May 16, 2011. A 90-day             in their entirety public and did so          upon promulgation of that regulation.
comment period was used because of           within 3 business days of receiving          The NFMA states that the Secretary
the importance of the proposed               them. The Agency posted the reviews          may, from time to time, appoint similar
planning rule. This was 30 days more         on the Internet on April 26, 2011. The       committees when considering revisions
than the Agency’s customary comment          summary of the reviews and each              of the regulations, but the Secretary
period for rulemaking and is 45 days         independent review can be found on the       need not do so (16 U.S.C. 1604(h)(1)).
more than the review and comment             Internet at http://www.fs.usda.gov/             Comment: External science review
period for draft environmental impact        planningrule. Neither requesting the         and public comment. Some respondents
statements required by National              review nor sharing the result of the         were concerned that science review
Environmental Policy Act regulations.        review was legally required. The Forest      meetings of the external reviewers were
   The Department reached well beyond        Service considered the science reviews,      not open to the public, and that the
its normal practices to provide the          along with public comments, in               documents considered and produced
public with information to assist in the     preparing the final programmatic             were not available to the public. Some
public comment phase of this                 environmental impact statement (PEIS)        respondents were concerned that the
rulemaking. During March and April,          and final rule.                              Agency did not make the reviews public
2011, after the notices were published          The Department believes the public        when the proposed rule was published
in the Federal Register, the Forest          had sufficient time to review these          for comment on February 14, 2011.
Service hosted 29 national and regional      materials and consider them when               Response: There were no “science
public forums to provide stakeholders        commenting on the proposed planning          review” meetings held by the external
with information about the proposed          rule. The Department decided not to          reviewers. The Agency did not provide
rule and respond to questions. The           extend the 90-day comment period             the external reviewers with any
forums were attended by almost 1,350         because extra time had been provided         documents that were not available to the
members of the public and reached 74         for comments beyond the customary            public. Neither the public nor the
locations across the country through         practices and an unprecedented amount        Department knew the identities of the
video and teleconferencing. The              of information and access to the Agency      reviewers, nor was there interaction
National Forum was held within 3             employees to assist the public in            between Department personnel and the
weeks of the opening of the comment          understanding that information was           reviewers during the review phase. It
period and a video of the forum and          provided to the public via Web site and      was only after the reviews were
forum materials were posted on the           public meetings.                             completed, during the public comment
planning rule Web site. The regional            Comment: External science review          phase, that the Department learned the
forums were also held early in the           and Federal Advisory Committee Act.          identities of the reviewers and the
comment period. While the forums were        Some respondents were concerned that         substance of their reviews. Within 3
designed to assist the public in             the external science review of the DEIS      business days of the Department’s
understanding the proposed rule and          violated the Federal Advisory                receipt of that information, each of the
foster informed comments, it was not         Committee Act (FACA) because they            reviews (unedited), the contractor’s
necessary for any member of the public       believed the Agency set up an advisory       summary of the reviews, and the
to attend a forum to develop and submit      committee but did not follow the FACA        identities of the reviewers were made
comments. The Forest Service ensured         requirements. Some respondents were          public. The reviews were not available
that the planning rule Web site              concerned that the Agency did not            in February because the reviewers


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received the DEIS for review at the same     guidance at http://ceq.hss.doe.gov/              The Department recognizes that there
time as the rest of the public.              nepa/regs/guidance.html. Furthermore,         may be significant differences in
   Comment: External science review          scientific literature from decades ago        circumstances across the NFS that make
and the rule. Some respondents were          may still be relevant and even                specific national standards unworkable
concerned that the scientists reviewed       considered the best science that is           or not reflective of the best available
the rule and not the DEIS, as appeared       available on some topics. Some classic        scientific information for a given plan
evident from their reviews.                  literature from well known scientists         area. The final rule balances the need
   Response: The basic charge to the         still is used frequently (for example,        for national consistency with the need
science reviewers was to evaluate how        Pickett et al. 1978) and was used in the      for local flexibility to reflect conditions
well the proposed planning rule’s draft      DEIS.                                         and information on each unit.
environmental impact statement (DEIS)           Comment: Some respondents                  Additional direction will be included in
considered the best available science.       commented that a concerted effort be          the Forest Service Directives System,
The contractor gave each science             made to address the issues raised by the      and a new requirement was added to
reviewer three key questions to address,     science reviewers.                            § 219.2 that requires the Chief to
regarding scientific caliber, treatment of      Response: The planning rule team           establish a national oversight process for
uncertainty, and comprehensiveness of        considered and responded to the               accountability and consistency of
the DEIS. The reviewers were not asked       comments made by the science                  planning under this part.
to review the proposed planning rule or      reviewers, along with other comments             Comment: Advocacy for a particular
to comment on the alternatives.              submitted by the public. The issues           outcome or regulatory wording. Some
However, the text of the proposed            raised in the reviews informed the final      respondents expressed general support
planning rule and alternatives was           PEIS, along with the other feedback           for or opposition to the proposed rule.
included in the appendices of the DEIS       received during the public comment            Among the items respondents
that was posted online and made
                                             period.                                       supporting the proposed rule listed are
available to the public as well as the
                                                Comment: Some respondents were             the following: the use of larger
science reviewers. Some of the
                                             concerned that only the Science Review        ecological regions to provide context for
reviewers chose to provide feedback on
                                             summary was posted online.                    forest, grassland and prairie units;
the proposed rule and alternatives,
although they were not asked to                 Response: The Science Review report        cooperation between the Agency and
comment on those parts.                      included a summary of the science             adjacent governmental entities in
   Comment: External science reviewers.      review and the full and unedited              planning and plan revision processes;
Some respondents were concerned that         reviews of each of the science reviewers.     public participation opportunities in the
the background of the reviewers did not      The report was prepared by RESOLVE            decision making process; the approach
include expertise that they felt was         and was posted on the Forest Service          on ecological sustainability, watershed
important to include, including mining,      Web site without any changes or               restoration and protection, and
timber, or recreation. Some suggested        omissions.                                    recognition of ecosystem services.
that the reviewers were biased in their                                                    Supportive respondents also were in
                                             General Proposed Rule Comments
reviews.                                                                                   favor of the emphasis on recreational
   Response: The Department contracted          Comment: Degree of compliance or           uses and users; the streamlining and
with RESOLVE to administer the               restriction. Some respondents said the        simplifying of the planning process the
science reviews to ensure the                rule should provide more discretion and       use of active management techniques;
independence of the reviews. RESOLVE         flexibility to develop a forest plan by       the continued emphasis on multiple use
is a non-partisan organization that          reducing the use of “shalls” and              purposes including economic impacts
serves as a neutral, third-party in policy   “musts.” Other respondents felt phases        and benefits; the use of best available
decisionmaking. One of RESOLVE’S             “take into account” and “consider”            science; and the appropriate use of
specialties is helping to incorporate        should be removed and replaced with           regulations and management strategies
technical and scientific expertise into      more prescriptive terminology as these        to mitigate climate change effects. Those
policy decisions. The Agency provided        terms left implementation largely to the      respondents expressing a general
the contractor with a draft of the DEIS      discretion of the responsible official.       opposition to the proposed rule felt the
and required it to select the reviewers         Response: The wording in the final         way it was written and the requirements
and provide their responses to the           rule was chosen to reflect the degree of      it contained were vague, complex,
Agency.                                      structure the Department decided as           unrealistic, and needed clarification.
   Comment: External science review          appropriate for various aspects of the        They felt it would invite litigation;
and CEQ documents. Some respondents          rule. The Department’s goal in creating       would not provide adequate protection
commented that the CEQ report from           the final rule was to create an               for wildlife and resources; or would
1982 should not be used because it is        implementable framework for planning          limit public access, use, rights, and
too old. Also, some respondents              along with a structure and set of             participation. Some felt the proposed
suggested that other references used in      requirements for plan components and          rule was inappropriate because they felt
the DEIS were too old to use.                other plan content that would support         it allowed for continued timber,
   Response: The references to which the     the purpose of the final rule. In             livestock, mining, and special interest
comment referred were the “Forty Most        addition, the Department allows               groups’ use; wasted tax dollars; would
Asked Questions Concerning CEQ’s             flexibility for plans to reflect the          harm economic benefits for rural
National Environmental Policy Act            different unique circumstances across         communities; failed to incorporate the
Regulations,” which was published in         the National Forest System (NFS),             multiple use mandate; failed to include
the Federal Register in 1981 (46 FR          including in response to best available       sound science in planning and
18026 (March 23, 1981)) and the April        scientific information, public input, and     measurable tools for management; failed
30, 1981 memorandum from the                 information about changing conditions         to incorporate and analyze Tribal
Executive Office of the President on         at the unit level. The Department             interests and activities; allowed too
scoping. Both are current and still          believes that the final rule strikes a good   much discretion to the responsible
relevant; see the CEQ Web site on NEPA       balance.                                      official; failed to give recreational uses


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a greater priority; or failed to address     the wording of the proposed rule for        changing, or eliminating regulations for
cumulative effects these regulations         forest protection, compliance, and          specific activities. These activities
would cause. Additionally, they              consistency; inclusion of protection of     included, but are not limited to, NEPA
expressed concerns over inclusion of         access to land for recreation; and          implementation, grazing, mining,
climate change requirements. Some            allowing natural processes to occur.        logging, road construction and
respondents expressed endorsement of         They felt an effective planning rule will   maintenance, special use permits,
comments submitted by other                  reflect the aspirations of diverse          hunting, certain recreational activities,
organizations or individuals, or referred    communities.                                trail use conflicts, wildland fire
to attachments submitted in support of          Response: The Department has             suppression, fuels management,
their comments.                              revised the proposed wording on             educational opportunities, cultural and
   Response: The Department has              sustainability, diversity of plant and      historic resources, as well as protections
reviewed all of these comments and           animal communities, multiple uses, and      for wild horses and burros.
enclosures, and appreciates the degree       timber requirements as well as wording         Response: The Department agrees the
of public interest in the proposed rule.     in other sections of the final rule to      issues raised are important. However,
Where changes have been made in the          reflect public comments and better          these comments have been determined
final rule, these discussions can be         ensure the needs of present and future      to be outside the scope of development
found in the following section-by-           generations. See discussions under the      of a planning rule. The final rule is
section discussions. Responses to these      section-by-section response to              intended to provide overall direction for
comments and their relationship with         comments.                                   how plans are developed, revised, and
the supporting final programmatic               Comment: References to individual        amended and for required plan
environmental impact statement (PEIS)        forests, projects, and individuals. Some    components and other plan content. The
can be found in Appendix M of the final      respondents commented on issues             final rule and alternatives found in the
PEIS.                                        important to them, but not related to       supporting final PEIS do not provide
   Comment: Preservation of the              this rulemaking effort. Examples of such    regulatory direction for the management
national forests for future generations.     concerns include the use of DDT,
                                                                                         of any specific resource, except for the
Some respondents stated a desire for the     Millennium Ecosystem Assessment,
                                                                                         NFMA timber requirements. Agency
rule to mandate stronger standards to        issues with rental housing, sustainable
                                                                                         regulations for specific uses can be
ensure wildlife and wildlife habitats are    living, a tornado in southeast
                                                                                         found in other sections of 36 CFR parts
healthy and resilient; for greater forests   Tennessee, a vital wildlife crossing in
                                                                                         200-299, which govern management of
protections, and better integration of       Montana, Willamette National Forest
                                                                                         the national forests, grasslands, and
environmental, economic, and/or social       timber harvest levels, and a suggested
                                                                                         prairie. For example, part 212 regulates
sustainability into future plans and         wolf/gorilla/elephant/chimpanzee/lion/
                                                                                         administration of the forest
future generations. Some wanted              giraffe sanctuary.
                                                Response: These and other similar        transportations system (roads and
inclusion of guidelines for responsible/
                                             comments have been determined to be         trails), part 222 regulates range
sustainable recreation, more restrictions
on mining and logging activities, and        outside the scope of the development of     management, including wild horses and
                                             a planning rule, because they discuss       burros, and part 223 regulates the sale
provisions to limit access to preserve
land.                                        aspects unique to specific forests,         and disposal of NFS timber. Additional
   Response: The Department agrees that      grasslands, or municipalities. Many of      direction may be found in individual
the preservation of our national forests     the concerns raised would be more           plans or in project or activity decision
and grasslands is vital to meet the needs    properly addressed in specific forest       documents. Those communities, groups,
of present and future generations. These     and grassland plans themselves, or in       or persons interested in these important
comments were reviewed and changes           the subsequent decisions regarding          issues can influence plan components,
are discussed in the section-by-section      projects and activities on a particular     plan monitoring programs, or
responses below. The final rule sets the     national forest, grassland, prairie, or     subsequent projects or activities by
stage for a planning process that can be     other administrative unit, or may be        becoming involved in unit planning
responsive to the desires and needs of       outside the scope of NFS planning.          efforts throughout the process, and by
present and future generations of               Comment: Wilderness evaluation           submitting comments on the Forest
Americans for the multiple uses of NFS       procedures. Several respondents felt        Service Directives System during
lands. The final rule does not make          “sights and sound” should be removed        opportunities for public comment.
choices between the multiple uses of a       Forest Service directives as a criterion       Comment: Funding and staffing
plan area. The unit plans developed          for wilderness inventories.                 levels. Some respondents suggested
under the final rule will provide               Response: Criteria for the evaluation    increased funding and staffing for the
guidance for future projects and             of areas for wilderness                     enforcement of protection and
activities.                                  recommendations are in Forest Service       mitigation standards; the collection of
   Comment: General action to protect        directives, which are in the process of     fees from and licensing requirements for
national forests and grasslands. Some        being revised. There will be an             users; bonding to ensure restoration
respondents expressed the need for the       opportunity for public comment on the       activities; sustainable funding for fuel
Forest Service to protect and not destroy    directives before they are finalized. The   reduction activities; and the retention or
the national forests. They expressed the     Department encourages members of the        creation of specific Agency positions.
importance of protection for wildlife,       public to provide comment on issues            Response: These comments have been
diverse ecosystems, riparian areas,          specific to the directives during their     determined to be outside the scope of
priority watersheds, aquatic resources,      revision.                                   the development of a planning rule. The
clean drinking water, endangered                Comment: Changes to other Forest         U. S. Congress determines Agency
species, climate change and air              Service regulations. Some respondents       funding levels under its budgetary
pollution, access for socioeconomic          commented about which resource uses         process. Staffing issues are more
purposes, cultural and traditional           or activities should be supported or not    properly addressed by specific forest
resource use, and the natural beauty of      supported by the Department on NFS          and grasslands, or regional and national
the land. They suggested strengthening       lands. They requested requiring.            offices.


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   Comment: Transparency and                   and dynamics of the communities             Federal laws governing the management
collaboration. Some respondents                surrounding each planning area differ,      of the national forests. Some examples
wanted the public process of land              and because the level of interest in        cited include the National Heritage
management planning to be kept clear           decisionmaking may vary, the final rule     Preservation Act, the Organic Act, the
and transparent. Others commented that         provides the responsible official with      General Mining Act of 1872, the
in addition to transparency, the specific      the flexibility to select the public        Wilderness Act, the Endangered Species
science being used should be shared.           participation methods that best fit         Act of 1973 (ESA), the Alaska National
Some respondents were concerned that           specific planning needs.                    Interest Lands Conservation Act
collaboration would result in too much            Land management planning for NFS         (ANILCA), and the Tongass Timber
input from local interests and groups. A       lands falls under Forest Service            Reform Act (TTRA). Some were
respondent stated there is no clear            authority and is a responsibility of the    concerned with the influence of court
definition of collaboration in the DEIS.       Agency. As such. Agency employees are       decisions on the scope of the rule.
Another respondent felt the public             responsible for the preparation of the         Response: All alternatives in the final
participation requirements will not            actual planning documents. Section          PEIS are faithful to and require
result in collaboration and the Forest         219.5(bl states that interdisciplinary      compliance with all laws governing the
Service staff would still be doing all of      teams will be established to prepare        Forest Service, including ANILCA,
the planning work.                             assessments; new plans, plan                TTRA, and the other laws identified by
   Response: The Department agrees the         amendments, plan revisions, and unit        respondents. This is reaffirmed in the
public process for land management             monitoring programs. However, under         final rule, § 219.1(f), which states that
planning must be clear and transparent.        § 219.4, the public will have numerous      plans must comply with all applicable
Section 219.3 of the final rule requires       opportunities to participate in the         laws and regulations—some, but not all,
the responsible official to document           process and contribute to the content of    of which are mentioned as examples.
how the best available scientific              those documents.                               The Secretary has clear authority to
information was used to inform the                Comment: Tribal activities. Some         promulgate the final rule, and the final
assessment, plan decision, and design of       respondents felt the rule should support    rule does not conflict with existing law
the monitoring program. Such                   Tribal activities on NFS land because of    and policy. The foundation for any
documentation must: identify what              important Tribal historical, cultural,      exercise of power by the Federal
information was determined to be the           sacred areas located there; should          Government is the U.S. Constitution.
best available scientific information,         facilitate the Tribes’ exercise of treaty   The Constitutional provision that
explain the basis for that determination,      hunting, fishing and gathering rights;      provides authority for management of
and explain how the information was            and should require partnering with          public lands is the Property Clause
applied to the issues considered. This         Tribal entities in the planning process.    (Article IV, Section 3). The Property
requirement will provide transparency             Response: The final rule recognizes      Clause states that Congress has the
and an explanation to the public as to         and does not change the unique              power to dispose of and make all
how the best available scientific              government-to-government relationship       needful rules and regulations respecting
information was used to inform how the         between the United States and Indian        land or other property belonging to the
responsible official arrived at important      Tribes. The final rule recognizes and       United States. Using this authority.
decisions. Section 219.14 includes             does not modify prior existing Tribal       Congress entrusted the Secretary of
additional requirements for the plan           rights, including those involving           Agriculture with broad powers to
decision document to increase                  hunting, fishing, gathering, and            protect and administer the National
transparency and explain the rationale         protecting cultural and spiritual sites.    Forest System by passing laws, such as
for decisionmaking.                            The rule requires the Agency to work        the Organic Administration Act of 1897
   Section 219.4 of the final rule lists the   with federally recognized Indian Tribes,    (the Organic Act), the Multiple-Use
minimum specific points during the             government-to-government, as provided       Sustained-Yield Act of 1960 (MUSYA),
planning process when opportunities            in treaties and laws, and consistent with   and the National Forest Management
for public participation will be               Executive orders when developing,           Act of 1976 (NFMA).
provided, and includes direction to            amending, or revising plans. The final         The duties that Congress assigned to
provide meaningful opportunities for           rule encourages Tribal participation in     the Secretary include regulating the
public engagement and share                    NFS planning. Further, the rule             occupancy and use of National Forest
information with the public in an open         recognizes the responsibility of Forest     System lands and preserving the forests
way. To meet these requirements, the           Service officials to consult early with     from destruction (16 U.S.C. 551).
responsible official must be proactive in      Tribal governments and to work              Through the MUSYA, Congress directed
considering who may be interested in           cooperatively with them where               the Secretary to administer the National
the plan, those who might be affected by       planning issues affect Tribal interests.    Forest System for multiple use and
a plan or a change to a plan, and how          Nothing in the final rule should be         sustained yield of renewable resources
to encourage various constituents and          construed as eliminating public input or    without impairment of the productivity
entities to engage, including those            Tribal consultation requirements for        of the land (16 U.S.C. 528-531), thus
interested at the local, regional, and         future projects. The final rule requires    establishing multiple-use as the
national levels. All members of the            consideration of cultural and historic      foundation for management of national
public will be provided opportunities to       resources, ecosystem services including     forests and grasslands. The statute
participate in the planning process.           cultural services, areas of Tribal          defines “multiple use’’ broadly, calling
Section 219.16 provides requirements           importance, and habitat conditions          for management of the various uses in
for public notification to ensure that         needed for public uses such as hunting,     the combination that will best meet the
information about the planning process         fishing and subsistence, in addition to     needs of the American people (16 U.S.C.
reaches the public in a timely and             input from Tribes and Alaska Native         531). Under this framework, courts have
accessible manner.                             Corporations.                               recognized that the MUSYA does not
   Section 219.19 of the final rule               Comment: Compliance with Federal         envision that every acre of National
includes definitions for participation         laws and regulations. Some respondents      Forest System land be managed for
and collaboration. Because the make-up         raised concerns over compliance with        every multiple use, and does envision


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some lands being used for less than all      amended by the Small Business                lands. In recognition of this interaction,
of the resources. As a consequence, the      Regulatory Enforcement Fairness Act of       the final rule requires the responsible
Agency has wide discretion to weigh          1986 (5 U.S.C. 601 et seq.), as              official to look beyond the unit
and decide the proper uses within any        documented in the “Forest Service            boundary and develop an understanding
area. (ItV          USDA, 661 F.3d,          Planning—Proposed Rule:                      of management issues on the plan area
1209, 1267-1268 (10th Cir. 2011];            Opportunities for Small Entities Report”     within the context of the broader
Perkins v. Bergland, 608 F.2d 803, 806­      (09/22/2010). The Department has             landscape, and coordinate with and
807 (9th Cir. 1979); and City & Cnty. of     determined that the rule will not have       encourage participation of other
Denver V. Bergland, 695 F.2d 465, 476        a significant economic impact on a           relevant land or resource managers.
(10th Cir. 1982)). In passing the            substantial number of small business         These requirements are found in § 219.4
MUSYA, which directs the Forest              entities as defined by the RFA.              (public participation), § 219.6
Service to administer the national           Therefore, a full regulatory flexibility     (assessment), § 219.8 (sustainability),
forests for “sustained yield of the          analysis is not required. The                § 219.9 (diversity), and § 219.10
several products and services obtained       Department recognizes a large number         (multiple use) of the final rule.
therefrom.” Congress also affirmed the       of small businesses use, extract, or            Specific requirements that were
application of sustainability to the broad   otherwise benefit from access to forest      brought up by respondents, such as
range of resources the Forest Service        resources. The background information        consultation or coordination with the
manages, and did so without limiting         provided in the “affected environment”       U.S. Fish and Wildlife Service for
the Agency’s broad discretion in             in the “Efficiency and Effectiveness”        species listed under the Endangered
determining the appropriate resource         section of Chapter 3 in the PEIS             Species Act of 1973 or with State Air
emphasis and mix of uses.                    describes contributions of NFS lands to      Quality Boards for air quality
   The NFMA reaffirmed multiple use          small rural and wildland dependent           management under the Air Quality Act,
and sustained yield as the guiding           communities, including contributions to      are addressed elsewhere in Agency
principles for land management               jobs and income.                             regulation and policy. The final rule
planning of National Forest System              The rule imposes no requirements on       does not include or reiterate existing
lands (16 U.S.C. 1600, 1604). Together       small or large entities, nor does it         direction provided elsewhere.
with other applicable laws, the NFMA         impose requirements or costs on                 Comment: Public input on subsequent
authorizes the Secretary of Agriculture      specific types of industries or              planning directives. Some respondents
to promulgate regulations governing the      communities. Rather, the proposed rule       felt the development of the planning
administration and management of the         sets out a planning process that is          directives should be open to public
National Forest Transportation System        designed to provide more opportunities       comment.
(16 U.S.C. 1608) and other such              for all affected parties to collaborate in     Response: It is the intent of the
regulations as the Secretary determines      all phases of planning. These                Department that the Agency continue to
necessary and desirable to carry out the     opportunities will increase capacity to      move forward with the open and
provisions of the NFMA (16 U.S.C.            consider the needs and desires of small      collaborative approach taken to
1613). These laws complement the             entities and reduce the potential for        developing the proposed and final rules.
longstanding authority of the Secretary      adverse economic impacts. For example,       The Agency will provide a public
to regulate the occupancy and use of the     under the final rule, requirements for       comment period for the planning
National Forest System (16 U.S.C. 551).      considering ecosystem sustainability         directives.
Forest Service regulations governing         and contributing to social and economic      Efficiency and Effectiveness Comments
subsistence management regulations for       sustainability should facilitate             on the Proposed Rule
public lands in Alaska under the             restoration activities and help sustain
ANILCA are found at 36 CFR part 242,         economic opportunities linked to local         Comment: Process. A respondent said
and changes to those regulations are         or rural communities. Further                there are too many mandates in the rule
outside the scope of the development of      discussion of compliance with RFA is         for the responsible official to follow,
a planning rule.                             found in this document under the             thus making the proposed rule
   Some of the Agency’s past decisions       heading Proper consideration of small        burdensome and difficult to implement.
have been challenged in court, leading       entities.                                    Another respondent felt the amount of
to judicial decisions interpreting the          Comment: Cooperation beyond NFS           process requirements and paperwork in
extent of Forest Service discretion, or      boundaries. Some respondents were            the proposed rule would slow down the
judgment, in managing National Forest        concerned that the “all lands” approach      planning process.
System lands. Courts have routinely          is not within the Forest Service’s             Response: The final rule uses an
held that the Forest Service has wide        authority.                                   adaptive management framework that
discretion in deciding the proper mix of        Response: The final rule provides the     will facilitate an efficient and
uses within any area of National Forest      framework for the development,               implementable planning process.
System lands. In the words of the Ninth      amendment, or revision of land               Overall, there are fewer procedural
Circuit Court of Appeals, the Agency’s       management plans for national forests,       requirements in this final rule than were
authority pursuant to the MUSYA              grasslands, prairies, or other               required by the 1982 planning
“breathes discretion at every pore.”         administrative units of the NFS. It does     procedures, and the Agency expects that
{Perkins v. Bergland, 608 F.2d 803, 806      not provide the Forest Service with          individual plans will take less time and
(9th Cir. 1979)).                            authority to make management                 cost less money to complete. There are
   Comment: Regulatory Flexibility Act       decisions for lands that are not NFS         a number of analysis and procedural
(RFAj compliance. A respondent               lands or activities that are not occurring   requirements under the 1982 Planning
questioned whether this rulemaking is        on NFS units. The Department                 Rule that will no longer be required
in compliance with the RFA and the           recognizes that conditions, resources        under the final rule, which will save
rule’s capacity to respond to the needs      and the management of NFS lands can          considerable time, effort, and money.
of small governments.                        influence, or be influenced by, the          The 1982 planning rule places a great
   Response: The rule has been               ecological, social and economic              deal of emphasis on using economic
considered in light of the RFA, as           conditions and management of non-NFS         analyses to find the solution to planning


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problems and challenges. However, the            Response: The analysis in the              as comprehensive monitoring
final rule emphasizes public                  “Efficiency and Effectiveness” section        (§ 219.12(b)), development of plans to
participation and science. Examples of        of the DEIS and final PEIS focused            sustain multiple uses (§§ 219.1(b) and
requirements from the 1982 rule not           primarily on evaluations of                   219.10), and accounting for ecosystem
included in the final are: planning           programmatic planning efficiency.             services when guiding unit
criteria, required benchmark                  Additional details about the potential        contributions to sustainability
alternatives as part of the analysis of the   for specific planning costs and cost          (§ 219.8(b)) are accounted for in the
management situation, the projections         effectiveness to change under the final       discussion of contributions to overall
of demand using both price and non­           rule is provided in the final PEIS and        planning efficiency in the “Efficiency”
price information, alternative criteria       Appendix A of the Cost Benefit Analysis       section of Chapter 3 of the final PEIS as
including Resources Planning Act              Report (Nov. 17, 2011) for the final rule.    well as the “Cost Benefit Analysis” for
Program alternative, present net value        Although overall planning costs for the       the final rule (2011).
analysis, comparison of final plan to         Agency under the new rule are not                As identified by the definition of
maximizing present net value                  projected to be substantially different       ecosystem services in § 219.19 of the
alternative, identification of the            from the 1982 rule, the projected cost        final rule, benefits from provision of
management intensity for timber               per plan is expected to be lower than         ecosystem services are from
production for each category of land          under the 1982 rule, the time it takes to     provisioning services (for example,
which results in the largest excess of        revise a plan is projected to be shorter,     timber, forage, clean water, and so
discounted benefits less discounted           and it is expected that more plans will       forth), regulating services (for example,
costs, vegetation management practices        be revised in a 15-year period. In            water filtration, soil stabilization,
chosen for each vegetation type and           addition, it is anticipated that units will   carbon storage, and so forth), supporting
circumstances, and projections of             have greater capacity to maintain the         services (for example, nutrient cycling,
changes in practices for at least four        currency and reliability of plans to meet     pollination and so forth), and cultural
decades.                                      the objectives of the MUSYA, the              services (for example, spiritual, heritage,
   The framework will facilitate more         NFMA, and the planning rule                   recreational experience, and so forth).
                                              (§ 219.1(b)/(c)), thereby improving the          As noted in the Cost Benefit Analysis
collaboration with the public and an
                                              quality of plans and therefore the            for the final rule in the “Efficiency and
efficient amendment process. The rule
                                              efficiency of the planning process.           Effectiveness Impacts” section, the
allows administrative changes to plan
                                                 Comment: Economic impacts such as          programmatic benefits of
content other than plan components to
                                              minerals. Some respondents felt that the      comprehensive monitoring include
help the responsible official adapt to
                                              Forest Service failed to assess economic      improved capacity to gather information
changing conditions, while requiring
                                              impacts that reflect renewable and non­       and reduce uncertainty for a number of
the responsible official to notify the
                                              renewable resource sectors (for example,      integrated and broader-scale conditions,
public.
                                              minerals) as well as other sector-specific    trends, drivers, and stressors—including
   Comment: Significance of the rule.                                                       capacity to detect effects of management
                                              impacts.
Some respondents felt that the Forest            Response: Economic impacts in terms        within unit boundaries as well as
Service fails to address the rule as          of numbers of jobs and labor income           stressors beyond unit boundaries that
“significant” under E.O. 12866;               supported by NFS lands, by program,           affect (or are affected by) unit conditions
   Response: The proposed rule was            are provided for 2009 in Appendix M of        and action. Emphasis on coordination
designated as significant by the Office of    the final PEIS, accounting for direct,        between unit and broader-scale
Management and Budget and, therefore          indirect, and induced effects. Though         monitoring is expected to help reduce
subject to the Office of Management and       economic impacts are not estimated.           redundancy and ensure information is
Budget review. The Agency reviewed            Appendix C in the Cost Benefit Analysis       complementary and consistent.
this proposed rule under the                  report for the final rule (2011) provides        Comment: Collaboration costs. Some
Department procedures and Executive           a limited qualitative discussion of           respondents felt that the Forest Service
Order (E.O.) 12866 issued September 30,       potential indirect effects related to         did not properly identify that
1993, as amended by E.O. 13563 on             timber, rangeland, and recreation             collaboration is not always efficient or
Regulatory Planning and Review (76 FR         opportunities under baseline                  cost-effective, may not result in
3821 (Jan. 21, 2011)). The Agency             conditions. Jobs and income for               planning efficiency, and that its use
prepared two Cost Benefit Analysis            minerals activity have been included in       should be based on risk assessments.
reports (Jan. 25, 2011 for the proposed       baseline impact analysis, recognizing            Response: Collaboration and public
rule, Nov. 17, 2011 for the final rule).      that minerals management is                   participation costs are projected to
The reports discuss the regulatory            administered jointly between the              increase from approximately $1 million
impact analysis requirements associated       Department of the Interior and the            annually under the 1982 rule
with E.O. 12866 and 13563 and OMB             Forest Service. Impacts of the final rule     provisions, to $11 million annually
circulars. In comparison to the “no           to jobs within specific industry sectors      under this final rule. This increase
action” alternative, which would              as compared to the other alternatives in      reflects the requirements in the final
continue to use the 1982 procedures           the PEIS have not been evaluated as           rule for public participation
currently allowed under the transition        these impacts cannot be determined in         opportunities at various stages of
provisions of the 2000 rule, the final        the absence of on-the-ground project          planning. The final rule also states that
rule is not considered an economically        activity at the unit level.                   outreach and collaborative processes
significant rule.                                Comment: Economic benefits of              should be used where feasible and
   Comment: Cost-benefit analysis. Some       monitoring and ecosystem services.            appropriate (§ 219.4(a)). The Department
respondents felt that the Forest Service      Some respondents felt that the Forest         recognizes that gains in effectiveness
did not account for a sufficient range of     Service should identify benefits from         and planning efficiency from
costs and benefits, including the costs,      comprehensive monitoring and                  collaboration may vary across units and
benefits, and economic impacts                provision of ecosystem services.              be reflective of existing collaborative
resulting from implementation of                 Response: The programmatic benefits        capacity. The Agency realizes
revised or new plans.                         of planning tasks or requirements such        collaboration cannot guarantee a


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successful planning process; however,        related to planning occurs at the project    demonstrate that plans will maximize
the Department and the Agency believe        level, and it is difficult to separate out   net public benefits or require valuation
that the increased investment in public      litigation costs for land management         of economic efficiency or require
participation will likely result in a more   planning from other Agency expenses.         present net value analysis as the 1982
effective and ultimately more efficient      Though litigation costs are not included     rule did. The Department believes the
planning process, by building support        in the efficiency analysis, it is expected   focus should be on collaboration,
early in the process. Details on             that the pre-decisional objection process    science, and sustainability, rather than
assumptions relevant to the                  contained in subpart B of the final rule     the extensive analysis that was done
consideration of the costs of                and the investments in public                under the 1982 rule procedures. The
collaboration can be found in the final      participation will lower litigation costs    Department decided the purpose and
PEIS section on Efficiency in Chapter 3.     compared to the former post-decisional       applicability of the final rule (§ 219.1) is
   Comment: Cost of collaboration,           appeal process and fewer opportunities       to produce plans under which the
diversity, and litigation. Some              for public input under the 1982 rule         Forest Service will manage NFS lands to
respondents felt that the Forest Service     procedures.                                  sustain multiple uses in perpetuity
omitted costs associated with                   Comment: Efficiency analysis during       while maintaining long-term health and
amendments, litigation, involvement by       plan revision. Some respondents felt it      productivity of the land. Plans are
non-Federal participants, and                important that shifts in resources in the    intended to guide management of NFS
requirements related to viability and        planning process should not adversely        lands so they are ecologically
diversity so that these are not accurately   affect or preclude analysis of impacts       sustainable and contribute to social and
reflected or underestimated. Some            and effects. They further emphasized         economic sustainability while providing
respondents also felt that the Forest        that analysis of effects including           people and communities with a range of
Service projections about planning           efficiency analysis are still needed to      benefits, consistent with MUSYA and
efficiency and cost effectiveness gains      evaluate plan alternatives. Some             NFMA. Under the final rule, responsible
are incorrect, particularly when             respondents felt the rule should outline     officials have the discretion to decide
considering viability requirements,          a planning process that reduces costs of     what analysis is useful to inform the
litigation, and use of collaborative         planning and should require that plan        public about the effects of plans, plan
processes.                                   alternatives be economically efficient. A    amendments, and plan revisions.
   Response: As noted in § 219.13 of the     respondent suggested that the Agency            Comment: Diverting offunds from
final rule, the requirements for             keep the goal of “maximizing net public      projects. Some respondents felt that the
amendments are simpler than                  benefits” from the 1982 planning             rule must weigh the resources devoted
requirements for plan development or         procedures because the respondent            to planning against the need to provide
revision. The final rule allows              believes that goal is necessary to insure    a foundation for management. In other
amendments to be proposed without            consideration of economic and                words, excessive planning costs divert
completing an assessment. As a               environmental aspects of renewable           funds away from land management and
consequence, the amount of resources         resource management. The respondent          projects.
associated with amendments is                suggested the planning rule require             Response: Overall, the cost and time
expected to be substantially less than       evaluation of economic efficiency by a       of completing an individual plan,
that required for plan development or        full accounting of all costs and benefits    revision, or amendment is expected to
revision in many cases. Amendments           (especially non-market) using dollars        be less than that needed using the 1982
allow for plans to be changed more           and present net value.                       rule procedures. Under the final rule the
quickly to respond to changing                  Response: The Department believes         Department: (1) Applies flexibility
conditions on the ground than plan           that the framework for adaptive              within a clearly defined national-level
revisions.                                   management provided in the final rule        framework, and (2) requires plans to be
   The Department expects that the           is efficient, effective, and will reduce     developed in a more cooperative context
adoption of new approaches under the         the cost and time needed for                 with both community and scientific
final rule for addressing species            development, revision, and amendment         involvement, thereby building
viability and diversity within plan          of individual plans. The final rule          stakeholder trust. In addition, as
components, while recognizing local          provides direction that the planning         compared to the 1982 rule, the final rule
land and unit capabilities and limits,       process and plan components and other        changes the planning process and
will increase the feasibility as well as     plan content should be within the            reallocates resources to improve the
the effectiveness of responding to           Agency’s authority and the fiscal            currency, reliability, and legitimacy of
species and ecosystem diversity,             capability of the unit (§ 219.1(g)).         plans. This attention to building support
sustainability and recovery needs.              Analyses will focus on outcomes and       early and throughout the process is
Further it is expected the final rule will   analysis of impacts and effects.             intended to improve the effectiveness of
increase overall planning efficiency for     Analyses will in no way be eliminated        plans and the Agency’s ability to
both plan management planning and            or discouraged during the planning           implement projects developed under
project-level analysis.                      process under this new rule. Under the       plans.
   Estimates of the Agency’s costs do not    NEPA process during plan revisions and          Comment: Non-market values. Some
account for litigation costs. The costs of   plan amendments, responsible officials       respondents felt that the rule should
litigation are not included in the           will evaluate potential tradeoffs among      require the need to determine non­
estimates of annual average Agency           alternatives as they relate to ecological,   market values to comply with NFMA
costs in the “Efficiency and                 social, and economic sustainability and      requirements to consider economic
Effectiveness’’ section in Chapter 3 of      environmental effects.                       aspects of various systems of renewable
the final PEIS. The sources of                  The Department has chosen to              resources.
information used to estimate planning        emphasize a rule that supports                  Response: The NFMA requires a
costs, including past cost benefit           ecological, social, and economic             planning rule to insure consideration of
analyses completed for previous              sustainability as the primary goal for       the economic and environmental
planning rules, did not include              management of NFS lands. The final           aspects of the various systems of
litigation costs. Much of the litigation     rule does not include requirements to        renewable resource management (16


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U.S.C. 1604(g)(3)A). The rule requires        the rule (see Chapter 3 of the final PEIS,   actions to more accurately compare plan
consideration of economic aspects in          “Staged Decisionmaking and                   alternatives and plan components. Some
the requirements for an assessment and        Environmental Analysis’’). It is not         respondents felt that the planning rule
when developing plan components.              appropriate to give guidance about what      must require the estimates of present net
However, the NFMA does not require            planning activities may be reduced in        value (PNV) for plan alternatives and
the responsible official to determine         the event of budget shortfalls in the        projects and include all costs and
non-market values or to quantify non­         national planning rule, since budgets,       benefits. Some respondents felt that the
market benefits. Because of the difficult     staffing, program emphasis, and              planning rule must require that the
nature of quantifying and valuing non­        planning needs differ among the units.       dollar cost of impacts on non-timber
market goods and services, the                However, the final rule does provide         industries be estimated and included in
Department has decided not to require         direction that the planning process and      estimates of PNV.
those calculations as a part of planning      plan components and other plan content          Response: Section 219.5(a)(2)(i) of the
under the final rule. The rule requires       should be within the Agency’s authority      final rule states that a new plan or plan
plan components to contribute to              and the fiscal capability of the unit        revision requires preparation of an
economic sustainability, which includes       (§ 219.1(g)).                                environmental impact statement. The
consideration of market and non-market           Comment: Budget expectations. Some        NFMA gives considerable discretion to
benefits. Additionally, in a number of        respondents felt that the rule should        the Agency when considering physical,
sections, the rule requires consideration     require estimates of budget expectations     economic, and other pertinent factors.
of ecosystem services and multiple uses,      in analysis of efficiency and                The Department does not want the
including provisioning, regulating, and       effectiveness, and plan alternatives.
                                                                                           planning rule to prescribe specific
cultural services, all of which involve          Response: The final rule recognizes
                                                                                           processes for assessing and evaluating
numerous non-market goods and                 potential financial constraints by
                                                                                           economic efficiency. Cost-benefit
services (for example. Assessment—            requiring the responsible official to
                                              ensure that the planning process, plan       analyses, or net present value
§ 219.6(b); Social and economical                                                          estimation, are not required when
sustainability—§ 219.8(b); and Multiple       components, and other plan content be
                                              within the fiscal capability of the unit     evaluating plan alternatives; however,
use—§ 219.10(a)). These requirements,                                                      such an analysis (quantitative and/or
in combination with public                    (§ 219.1(g)). In the context of developing
                                              alternative plan components,                 qualitative) may be useful in some cases
participation early and throughout the
                                              § 219.7(e)(l)(ii) of the rule states that    to satisfy the NEPA objectives (42 U.S.C.
planning process (§ 219.4), are expected
                                              “Objectives should be based on               Sec 4331, 101 and 102(2)) and to
to improve Agency capacity to
                                              reasonably foreseeable budgets.” Also        demonstrate fulfillment of MUSYA
acknowledge the relative values of both
                                              the final rule sets out the requirements     goals (for example, “management of all
market and non-market goods and
                                              for developing plan monitoring program       the various renewable surface resources
services. Under NEPA requirements, the
                                              within the financial and technical           of the national forests so that they are
responsible official will carry out effects
                                              capabilities of the Agency                   utilized in the combination that will
analyses for significant issues and the
                                              (§ 219.12(a)(4)(ii)). The effects of plan    best meet the needs of the American
environmental documents will discuss
the comparative benefits and tradeoffs        alternatives such as budgetary effects       people;” (16 U.S.C. 531(a))). The Forest
                                              will be disclosed when preparing an          Service handbook for NEPA (FSH
associated with non-market ecosystem
services.                                     environmental impact statement for           1909.15, chapter 20, section 22.32)
   Comment: Pilot testing. One                each new plan or plan revision.              states that if a cost benefit analysis is
respondent noted that the rule should            Comment: Secured appropriations.          being considered for a proposed action
be pilot tested on a sample of units.         Some respondents felt that a lack of         (for example, proposed plan revision), it
  Response: The Agency intends on             secured appropriations for planning          must be incorporated by reference or
phasing in the implementation of the          rendered the rule ineffective. Some          appended to the environmental impact
new rule by starting several plan             respondents felt that future budgets are     statement as an aid in evaluating the
revisions in 2012. This initial phase of      unlikely to provide full funding for         environmental consequences. The
implementation will provide                   planning.                                    Forest Service Handbook (FSH
opportunities for the Agency to adapt to         Response: If severe reductions or         1909.15.section 22.32) as well as NEPA
and refine directives and technical           elimination of funding for land              regulations (40 CFR 1502.23) state that
advice for planning under the new rule.       management planning were to occur, it        for purposes of complying with the
Units selected for the initial phase of       would delay or reduce the Agency’s           [NEPA], the weighing of the merits and
implementation of the final rule              ability to amend and revise plans. It is     drawbacks of the various alternatives
represent a broad spectrum of                 important to note that the estimated         need not be displayed in a monetary
conditions and are geographically             costs for the new rule (Table 6 in the       cost-benefit analysis and should not be
representative. The final rule is             final PEIS) are within the historic range    when there are important qualitative
intended to provide a flexible planning       of aggregate planning, inventory, and        considerations. The Handbook and
framework that allows for continuous          monitoring annual budgets (1995-2010).       NEPA regulations also state that an
learning and improvement in                      Comment: Economic analysis for plan       environmental impact statement should
implementation.                               revisions. Some respondents felt that the    at least indicate those considerations,
   Comment: Budget shortfalls. Some           rule should require the NEPA analysis        including factors not related to
respondents felt that the rule should         for the plan to include a fiscal analysis    environmental quality, that are likely to
contain guidance for planning in the          of each alternative’s implementation         be relevant and important to a decision.
event of budget shortfalls.                   and mitigation costs and require that the    Those considerations and factors may
  Response: Uncertainties at all levels       cost of inspections, enforcement, and        include a variety of quantified or
of decisionmaking, due to changing            monitoring be included in the plan           qualitative descriptions of costs and
conditions outside the Agency’s control       NEPA analysis. Several respondents felt      benefits that are linked to significant
as well as budget allocations, will affect    that the planning rule should include a      issue determinations for a particular
implementation. These uncertainties           requirement for explicit disclosure of a     forest plan. The Department requires
also influence anticipated outcomes of        variety of costs and benefits of Agency      that land management plans will be


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within the fiscal capability of the unit     1982 procedures. However, it is                  Comment: Least burden to society.
(§ 219.1(g)). The rule requires that         anticipated that overall planning             Some respondents felt the Forest
objectives be based on reasonably            efficiency will be improved as other          Service should develop the rule in a
foreseeable budgets (§ 219.7(e)(l)(ii))      planning activities such as analyzing         way that imposes the least burden on
and that the monitoring program be           and revising plan components are              society, businesses, and communities.
within the financial and technical           anticipated to be streamlined. It is also       Response: The Department believes
capabilities of the Agency                   expected that increased participation         that the final rule supports management
(§ 219.12(a){4)(ii)). Clarifications about   and collaboration throughout the              of the NFS to contribute to social and
disclosure of costs and benefits, as well    planning process will increase support        economic sustainability. The rule does
as use of cost-benefit (or PNV) analysis     for eventual plan implementation.             not directly regulate individuals,
are more appropriately included in the          Comment: fobs and income. Some             individual businesses, or other entities
Agency directives.                           respondents felt that the proposed rule       such as local or State governments.
   Comments: Collaboration costs. Many       could have a significant effect on jobs,      Impacts to small entities are addressed
respondents supported public                 labor income, production, and                 in the Regulatory Flexibility Analysis
participation opportunities in the           competition of a particular resource          (as summarized in the Regulatory
decisionmaking process. Some                 during plan revision and plan                 Certifications section of the preamble
respondents felt collaboration will not      amendment.                                    for the final rule).
be cost effective. Some felt that               Response: The Department recognizes           Comment: Costs of cumulative
coordination, as mandated by law, is         that plans developed, revised, or             regulations. Some respondents felt the
effective and will save time and expense     amended under the final rule will guide       Forest Service should consider the costs
in planning, implementation, and             projects that could in turn affect            of cumulative regulations.
management. They said increased costs        distribution of employment, income,             Response: The potential effects of the
for collaboration are foreseeable. Some      and payments to local governments.            rule in combination with other broad
respondents felt the assumptions that        Impacts to jobs within specific industry      Agency actions and strategies (for
collaboration will reduce monitoring         sectors due to the final rule compared        example, roadless rules, strategic plans
costs and bring broader support and          to the other alternatives have not been       and other Agency goals, NEPA
resolution of issues with their critics      evaluated in detail as these impacts          procedures, transition to implementing
were faulty. They felt the final PEIS        cannot be determined in the absence of        the final rule, management planning
should explain how collaboration will        on-the-ground project activity at the         direction by other agencies, and
lead to cost savings and document            unit level. Direct effects on the levels of   collaboration) are presented in the
savings expected from each alternative.      goods, services, and uses to which NFS        “Cumulative Effects” section of the final
   Response: The Department believes         lands contribute are the end-results of
                                                                                           PEIS.
that involving the public early on           on-the-ground projects or activities.
                                                                                              Comment: Costs to States
through a participatory, open, and              The effects of plan proposals as well
                                                                                           (Federalism). Some respondents felt the
meaningful process is the best way to        as proposed projects will continue to be
                                             evaluated in accordance with NEPA;            Forest Service incorrectly concludes
approach planning. The final rule sets
                                                                                           that the rule will not impose direct or
out a planning process that is designed      impacts to employment, income, and
                                             payments will likewise continue to be         compliance costs on States (that is.
to provide more opportunities for the
                                             evaluated as appropriate to the need to       Federalism).
public to collaborate with the Agency
                                             address plan or project-specific                Response: Executive Order 13132
and to become more involved in all
                                             significant issues. The Department does       (that is. Federalism) establishes
phases of planning, including
                                             not want the planning rule to prescribe       requirements the Federal Government
monitoring, assessment, and
                                             specific processes for assessing and          must follow as it develops and carries
development of alternatives for land
management plan revisions or                 evaluating economic effects. Such             out policy actions that affect State or
amendments. Section 219.4 of the final       direction, guidance, advice, or               local governments. The Department
rule requires the responsible official to    approaches for effects analysis in            concludes that the rule would not
engage the public in early and               general are found in the Agency               impose compliance costs on the States
meaningful opportunities for                 directives (for example FSM 1970 and          (or local governments) and would not
participation during the planning            FSH1909.17).                                  have substantial direct effects on the
process and to coordinate with other            Comment: Site-specific project costs.      States.
public planning efforts, including State     Some respondents felt that the Agency         Section-By-Section Explanation of the
and local governments. However, the          incorrectly assumes that the site-specific    Final Rule
final rule gives the responsible official    project costs are not affected by the
discretion to tailor the scope, scale, and   proposed rule.                                  The following section-by-section
types of participation opportunities to         Response: The Agency did not assume        descriptions are provided to explain the
be congruent with the need and level of      that the site-specific project costs are      approach taken in the final rule to NFS
interest, subject to the requirements of     not affected by the proposed rule.            land management planning.
section 219.4. Collaborative processes       However, the proposed rule cost and           Subpart A—National Forest System
would be used where feasible and             benefit analysis did not estimate the         Land Management Planning
appropriate.                                 effects of the rule on site-specific
   The final PEIS does not demonstrate       projects developed under land                 Section 219.1—Purpose and
that collaboration will lead to Forest       management plans, because site-specific       Applicability
Service cost savings in planning.            project costs are a function of unknown         This section of the final rule describes
Because of the public participation and      future site-specific plan or project          the purpose of the rule and its
collaboration throughout the planning        proposals occurring under new, revised,       applicability to units of the NFS. This
process, the Department expects that the     or amended plans under the final rule;        section affirms the multiple-use,
cost for collaboration and engaging the      it is, therefore, not possible to estimate    sustained-yield mandate of the Forest
public during the planning process           or characterize changes in project­           Service, and states that the purpose of
would be higher than that under the          specific costs.                               this part is to guide the collaborative


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and science-based development,               from § 219.1(b), added to § 219.1(c), and   tangible objectives and intangible
amendment, and revision of land              revised throughout the final rule;          benefits. Under § 219.4, the final rule
management plans that promote the            however, the final rule retains reference   sets forth an open process for public
ecological integrity of national forests     to “ecosystem services.” The final rule     collaboration, participation, and
and grasslands and other administrative      states that plans must “provide for         coordination to inform desired
units of the NFS. The NFMA requires          ecosystem services and multiple uses”       conditions and objectives for NFS lands.
the Agency to have a planning rule           instead of “provide for multiple uses,      The words “spiritual sustenance” in
developed under the principles of the        including ecosystem services” as it was     § 219.1(c) of the proposed rule have
Multiple-Use Sustained-Yield Act of          stated in the proposed rule. The            been changed to “spiritual...benefits” in
1960 (MUSYA). The planning rule sets         Department believes this revised            this final rule because the word
requirements for land management             wording is consistent with the MUSYA,       “sustenance” was confusing.
planning and content of plans and            which recognizes both resources and            Comment: Valid existing rights. A
applies to all units in the NFS.             services. The MUSYA requires the            respondent felt the rule should require
   The requirements in the final rule        Forest Service is to “administer the        plans to expressly state that their
should increase Agency and plan area         renewable surface resources of the          provisions cannot affect valid existing
capacity for adapting management plans       national forests for multiple use and       rights established by statute or legal
to new and evolving information about        sustained yield of the several products     instrument.
stressors, changing conditions, and          and services obtained therefrom.” (16          Response: Whether the plan expressly
management effectiveness. The                U.S.C. 529). The Act defines “multiple      states it or not, a land management plan
Department’s intent is for responsible       use” as “the management of all the          cannot affect treaty rights or valid
officials to use the planning framework      various renewable surface resources of      existing rights established by statute or
to keep plans and management activity        the national forests so that they are       legal instruments. For clarity, the final
current, relevant, and effective.            utilized in the combination that will       rule acknowledges this fact in
                                             best meet the needs of the American         § 219.1(d).
Section 219.1—Response to Comments                                                          Comments: Inclusion of other laws.
                                             people; making the most judicious use
  Many comments on this section              of the land for some or all of these        Some respondents requested that the list
focused on consistency with MUSYA,           resources or related services” (16 U.S.C.   of laws at § 219.1 include the ANILCA,
compliance with or applicability of          531(a)). The Department believes            the Alaska Native Claims Settlement
valid existing rights, treaties, and         MUSYA anticipated changing                  Act, the FLPMA of 1976, the General
applicable laws, and the cost of the         conditions and needs, and the meaning       Mining Law of 1872, the National
process for implementing the rule. The       of “several products and services           Heritage Preservation Act, the Tongass
Department modified the wording of the       obtained” from the national forests and     Timber Reform Act, amongst others.
proposed rule to move a reference to         grasslands incorporates all values,            Response: The list of laws in § 219.1
“ecosystem services” from paragraph (a)      benefits, products, and services            is not intended to be a complete list of
of this section to paragraph (c); add at     Americans know and expect the NFS to        laws and regulations requiring Agency
paragraph (c) “clean air” as a benefit       provide. Resources like clean air and       compliance. The Department did not
provided by ecosystem services and           water are among the many ecosystem          choose to include an exhaustive list of
replace the term “healthy and resilient”     services these lands provide.               applicable laws and regulations, as the
with “ecological integrity;” move               Comment: Objective of planning.          Agency is obligated to comply with all
direction about the Forest Service           Some respondents felt the MUSYA             applicable laws and regulations
Directives System previously in              refers expressly to five tangible           regardless of whether it is referenced in
paragraph (d) of this section in the         objectives for forest management            the text of the final rule. All plans and
proposed rule to § 219.2(b)(5); and make     (recreation, range, timber, watershed,      planning decisions must comply with
other clarifications for readability.        wildlife and fish, and wilderness), and     applicable laws and regulations.
These changes are not changes in             does not include intangibles such as           Comment: Use of fiscal capability.
requirements; they are just clarifications   “spiritual sustenance.” They felt           Some respondents felt the MUSYA does
and reorganizations.                         intangibles should be removed from          not allow the fiscal capability or
  The Department added direction at          objectives.                                 economic analysis to limit management
paragraph (g) of this section to ensure        Response: The Department believes         as discussed in §§ 219.10 and 219.11 of
that the planning process, plan              the mandate under the NFMA and              the proposed rule, while others felt
components and other plan content are        MUSYA is not exclusive to a single          these concepts should be applied to all
within Forest Service authority, the         resource or use, and that sustained yield   requirements.
inherent capability of the plan area, and    applies to all multiple use purposes,          Response: Congress determines the
the fiscal capability of the unit. In the    including outdoor recreation, range,        annual fiscal allocation to the Agency.
proposed rule we had similar wording         timber, watershed, wildlife and fish,       The Department concludes that
in §§ 219.8 through 219.11. Adding this      and wilderness. Development of              responsible officials must constrain the
requirement in paragraph (g) is a change     balanced plans for national forests and     development of management direction
because the requirement now applies          grasslands is a complex undertaking,        within the plan and planning process
more broadly to the process and content      and often there are diverse opinions on     within a unit’s expected fiscal
requirements of the final rule.              the desired conditions and objectives set   capability. The Department came to this
  Comment: Ecosystem services. Some          in these plans. The rule sets up a          conclusion because if a responsible
respondents objected to the use of           process so individual forests and           official develops a plan beyond a unit’s
“ecosystem services” in § 219.1(b) and       grasslands are managed with a balanced      fiscal capability, then management
throughout the rule. One respondent felt     approach to best meet the needs of          towards the plan objectives and thus
the term diluted the congressionally         present and future generations of           plan desired conditions will not be
honored and sanctioned “multiple use”        Americans. The Department recognizes        realistic or possible. The Department
mission of the national forests.             Americans expect a range of benefits        removed the phrase “and the fiscal
  Response: The use of the term              and services from the National Forest       capability of the unit” from § 219.10 and
“ecosystem services” has been removed        System, which can include both              § 219.11, and added at § 219.1(g) that


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the responsible official shall ensure that     various renewable resources, as well as       rule and other Agency planning
the planning process, plan components          soil and water will be obtained to            requirements on units within the region.
and other plan content are within Forest       respond to 16 U.S.C. 1604(g)(2)(B).             The final rule includes other
Service authority, the inherent                   The addition of the oversight              requirements at § 219.4 for public
capability of the plan area, and the fiscal    requirement in (ii) is a minor change in      participation and coordination with
capability of the unit. This requirement       requirements in response to the               other planning efforts. The final rule
at § 219.l(g] applies to all sections of the   comments received. The other changes          also requires in § 219.15 that other
rule, including sections 219.8, 219.9,         are not changes in requirements, they         resource plans be consistent with the
219.10, and 219.11.                            are just clarifications.                      plan components. The Department
                                                  Comment: Level of responsible official     anticipates that the final rule will be
Section 219.2—Levels of Planning and                                                         implemented in the context of a mosaic
Responsible Official                           and consistency with regional or
                                               national programs. Some respondents           of other Agency programs, for example,
  Planning occurs at three levels—             felt the proposed change from regional        the Climate Change Roadmap and
national strategic planning, NFS unit          forester to forest supervisor for the level   Scorecard, the Watershed Condition
planning, and project or activity              of responsible official would make the        Framework, and the Sustainable
planning. Section 219.2 of the final rule      plan more responsive to local situations.     Recreation Framework. The Department
describes these levels of Agency               Others felt this change would result in       expects that these programs and
planning, identifies the responsible           inconsistencies across unit boundaries,       requirements will be mutually
official, and describes specific attributes    limit collaborators, and reduce the           supportive and will contribute to good
and requirements for unit-level                accountability provided by a higher           land management.
planning. This section also provides the                                                        Comment: Scale of planning. Some
                                               level responsible official. Several
basic authorities and direction for                                                          respondents expressed different
                                               respondents felt the discretion given to
developing, amending, or revising a                                                          opinions about the scale of planning.
                                               local responsible officials in the
plan. In addition, it identifies the                                                         Some suggested larger or smaller scales
                                               proposed rule could lead to individual
responsibilities of the Chief for                                                            than the proposed administrative unit
                                               forest and grassland level plans that are
oversight, leadership, and direction.                                                        level. One respondent felt the rule
                                               inconsistent with neighboring unit
  Some people wanted to see very                                                             should consider a level of planning by
                                               plans and with regional or national
detailed requirements in the rule, such                                                      resource. Some respondents felt the rule
                                               programs.
as monitoring methods and protocols,                                                         should require use of the U.S. Geologic
                                                 Response: The responsible official          Survey 5th field hydrologic unit as the
while others emphasized the need to
                                               will usually be the forest or grassland       minimum size needed to conduct
keep the rule simple, so it would endure
                                               supervisor, who is most familiar with         ecological coarse-filter assessments.
and could be implemented across
                                               the resources, issues, and the people           Response: The final rule allows
different landscapes within the NFS.
                                               relevant to and interested in the unit.       planning at the most appropriate scale
This section ensures that the Agency
                                               However, § 219.2(b)(3) provides the           to address issues and resource concerns
will establish additional needed details
                                               option for higher-level officials to act as   specific to that unit. The final rule does
in the Directives for effective
                                               the responsible official for a plan, plan     set forth requirements to consider other
implementation of the planning rule,
                                               amendment, or plan revision across a          scales while developing plans. Section
while allowing rule wording to remain
                                               number of plan areas. Regardless of           219.7(f)(l)(ii) requires the responsible
relevant even as conditions change.
                                               what level they are, the responsible          official to describe the distinctive roles
Section 219.2—Response to Comments             official must develop, amend, or revise       and contributions of the plan area
  Many comments on this section                plans within the framework set out by         within the context of a broader
focused on the level of the responsible        this final rule and is accountable for        landscape. Section 219.7(f)(l)(i),
official, the appropriate scale for            compliance with the rule and the              specifically discusses priority
planning, and consistency of plans             multitude of relevant laws and policies.      watersheds. Section 219.7(d) requires
across the NFS. The Department                 To ensure compliance, the final rule          the use of management or geographic
modified the wording from the                  wording identifies in § 219.2(b) the          areas for a smaller scale geographic
proposed rule to address concerns              Chief as responsible for leadership in        context and identification of
raised by the public and other                 carrying out the NFS land management          management requirements that may be
regulatory agencies that more specific         planning program, establishment of            needed at the smaller scale. The final
requirements were needed to ensure             planning direction, and administration        rule also provides that two or more
consistent implementation of the rule.         of a national oversight process for           responsible officials may undertake
The Department moved wording                   accountability and consistency.               joint planning for their units.
formally in section 219.1 of the                  There are also a number of places in         Planning at the resource level would
proposed rule to this section and added        the final rule that call for coordination     not comply with the NFMA
paragraph (bXS] that requires the Chief:       with other staff in the Agency, including     requirements for interdisciplinary
   (i) To establish direction for NFS land     the appropriate research station              approach to achieve integration of all
management planning under this part in         director. The Department anticipates          resources to achieve integrated
the Forest Service Directives System           that the regional forester and regional       consideration of physical, biological,
(what was formerly § 219.1(d) in the           office planning and resource specialists      economic, and other sciences to develop
proposed rule);                                will continue to be involved and              one integrated plan.
   (ii) To establish and administer a          provide an additional level of oversight,       Requirements for broader-scale
national performance oversight and             including reviewing draft and final           assessments and assessments for each
accountability process to review NFS           products developed during the planning        individual watershed are not included
land management planning under this            process and participating in the              in the final rule. Adding these
part; and                                      development of those products.                requirements would add more
   (iii) To establish procedures in the        Regional office engagement will help to       preliminary steps to planning that may
Forest Service Directives System               provide consistency in interpretation         further delay completion of plan
(Directives) to guide how data on              and implementation of the planning            revisions or amendments and may not


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be necessary for the planning process.       available scientific information to          decisionmaking, and are the appropriate
The assessments envisioned in the            inform the planning process and plan         focus for the requirement to ensure that
planning rule are focused on gathering       decisions, and provides requirements         the responsible official uses scientific
and evaluating existing information          for documenting the use of the best          information to inform plan-related
relevant to the plan or the specific plan    available scientific information (BASI).     decisions.
area.                                        The intent of this requirement is to             The Department eliminated
  The 1982 rule required the                 ensure that the responsible official uses    paragraphs (a), (b), and (c) of § 219.3 of
preparation of a regional guide and a        BASI to inform planning, plan                the proposed rule. The remaining
planning process for the development of      components, and other plan content,          paragraph was modified to require the
that guide. The final rule does not          that decisions are based on an               responsible official to document how
include a requirement for regional           understanding of the BASI and that the       the best available scientific information
planning. After several years of             rationale for decisions is transparent to    was used to inform the assessment, the
developing and using regional guides,        the public. The Department also expects      plan decision, and the monitoring
the Agency found that they added an          that this requirement will increase the      program. Changing these requirements
additional and time-consuming layer of       responsible official’s understanding of      is responsive to public comments about
planning that often delayed progress of      risks and uncertainties and improve          the process associated with meeting the
unit planning. Regional plans also           assumptions made in the course of            requirements of this section.
tended to remain static and did not          decisionmaking.                                  Comment: Best available scientific
change as new information or science                                                      information. A respondent felt the term
became available.                            Section 219.3—Response to Comments           “best available scientific information”
   Comment: Relationship of plan                Many people provided comments on          used in the proposed rule is value laden
decisions to project-level plans and         this section of the proposed rule. Most      and implies judgment that cited
decisions. Several respondents felt the      comments focused on whether or not to        scientific information is potentially
relationship between plan decisions and      include a requirement for use of the         superior to other scientific information
subsequent project-level decisions was       BASI, discretion about how science           on the topic. This respondent felt using
unclear. A respondent felt the rule          should be used, and the potential            the term would put responsible officials
should explicitly state a programmatic       procedural burdens created by this           in the position of choosing one scientist
decision is being made for the planning      requirement. The Department modified         over another. Additionally, the concern
unit.                                        the wording of the proposed rule as          was expressed that the lack of a clear
  Response: The final rule sets the          follows: (1) To clarify how scientific       definition of “best available scientific
framework for the development,               information is to be used in the             information” in the rule could allow a
amendment, and revision of unit plans:       planning process; (2) to clarify the level   responsible official to use poorly
The requirements set forth in the final      of discretion the responsible official has   constructed or subjective information to
rule are for plans, not for projects or      in using scientific information; and (3)     inform planning decisions. Still other
activities that are developed under the      to manage the potentially burdensome         respondents felt the proposed rule was
plan. Section 219.15 requires projects       requirements for documentation.              unclear on who should determine what
and activities carried out under the            The Department clarified how BASI         the best available scientific information
plans developed under the final rule to      will be used in the planning process;        is.
be consistent with the plans. Unit plans     changing the wording from “the                   Response: The Department decided to
may establish constraints on projects        responsible official shall take into         retain the term “best available scientific
and identify possible activities;            account the best available scientific        information” (BASI) from the proposed
however, plans do not authorize              information,” to “the responsible            rule, and to require that such
activities or projects. Forest Service       official shall use the best available        information be used to inform the
NEPA procedures must be followed             scientific information to inform the         assessment, the planning process, and
when developing, revising, or amending       planning process.” This clarification is     plan components and other plan
plans. In addition, the Forest Service       consistent with the Department’s intent      content, including the monitoring
NEPA procedures must be followed for         as described in the preamble to the          program. The responsible official must
proposed site-specific projects or           proposed rule. This clarification is in      determine what information is the most
activities developed under the               response to public comments expressing       accurate, reliable, and relevant with
requirements of the unit plan. Section       concern that the proposed rule wording       regard to the issues being considered. In
219.15(d) of the final rule identifies how   would allow the responsible official to      some circumstances, the BASI would be
project and activities must be consistent    ignore best available scientific             that which is developed using the
with plan components.                        information. This wording makes clear        scientific method, which includes
   Comment: Repeating of laws and            that the responsible official must use the   clearly stated questions, well designed
regulations. Several respondents felt        BASI to inform the process and               investigations, and logically analyzed
proposed § 219.2(b)(2) should clearly        decisions made during the planning           results, documented clearly and
state plans “may reference, but should       process.                                     subjected to peer review. However, in
not repeat” laws, regulations, and so           The Department also modified the          other circumstances the BASI for the
forth.                                       requirement that the responsible official    matter under consideration may be
  Response: The final rule does not          “determine what information is the           information from analyses of data
prohibit referencing laws, regulations,      most accurate, reliable, and relevant to     obtained from a focal area, or studies to
or Forest Service directives if the          a particular decision or action” to a        address a specific question in one area.
responsible official feels that doing so     requirement that the responsible official    In other circumstances, the BASI could
will add clarity.                            “determine what information is the           be the result of expert opinion, panel
                                             most accurate, reliable, and relevant to     consensus, or observations, as long as
Section 219.3—Role of Science in             the issues being considered.” This           the responsible official has a reasonable
Planning                                     change focuses the requirement on the        basis for relying on that information.
  This section requires that the             issues being considered, because the             The Department recognizes often
responsible official use the best            underlying issues form the basis for         there is uncertainty in science, and


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there may be differing or inconclusive     1909.12—Land Management Planning,            rule as it would only create delays and
scientific information. Different          Chapter 40—Science and Sustainability.       legal challenges.
disciplines, including the social and         The final rule is consistent with           Response: The Agency is already
economic sciences as well as ecologic      USDA policy that requires agencies to        required to take relevant scientific
science, may provide scientific            meet science quality standards when          information into account in
information that is the best available for developing and reviewing scientific          decisionmaking. The Agency already
the issues being considered. Gathering a research information and disseminating         has a fundamental legal requirement to
range of scientific information and        it to the public. Also, the final rule is    consider relevant factors, including
acknowledging potential uncertainties is consistent with the recent Executive           relevant scientific information, and
critical to adequately inform the          Order 13563 (2011) that states “when         explain the basis for its decisions.
responsible official as well as the public scientific or technological information is     This section is not intended to impose
during the planning process.               considered in policy decisions, the          a higher standard for judicial review
   The Agency already has a                information should be subject to well-       than the existing “arbitrary and
fundamental legal requirement to           established scientific processes,            capricious” standard. The requirements
consider relevant factors, including the   including peer review where                  of this final rule section are also
relevant scientific information, and       appropriate.” Responsible officials will     separate from those of the Council on
explain the basis for its decisions. The   rely upon the USDA Office of the Chief       Environmental Quality’s NEPA
Department included this section in the    Information Officer guidance to              regulations, (40 CFR 1502.22(b)), which
rule, with its explicit requirements for   determine when the Office of                 in some circumstances require the
determining and documenting the use of Management and Budget (OMB)                      responsible official to seek out missing
the best available scientific information, Information Quality Bulletin on Peer         or incomplete scientific information
to inform the planning process and to      Review applies. USDA guidelines are          needed for an environmental impact
help to ensure a consistent approach       found at http://www.ocio.usda.gov/           statement, unless the costs of doing so
across the National Forest System.         qi_guide/index.htinl.                        are prohibitive. This final rule section
   To respond to comments about the           Comment: Weight of scientific             does not change that requirement. The
level of documentation for individual      information. Some respondents felt the       requirements in section 219.3 are
units, the requirements for                proposed rule allowed science to be          focused on ensuring the responsible
documentation were changed from the        weighed more heavily than other              official uses the BASI that is already
proposed rule. The Department              relevant information. Some respondents       available to inform the planning
eliminated paragraphs (a), (b), and (c) of felt the proposed rule allows decisions      process. Thus, while an assessment
§ 219.3 of the proposed rule, and          to be made based on politics or special      report or monitoring evaluation report
replaced them with the requirement that interests rather than science. Some             may identify gaps or inconsistencies in
the responsible official document how      respondents felt the proposed rule           data or scientific knowledge, the final
the best available scientific information  requirement for the best available           rule does not impose the affirmative
was used to inform the assessment, the     science to be taken into account was not     duty that the CEQ regulation applies to
plan decision, and the monitoring          strong enough, and suggested the rule        EISs—that is, to engage in new studies
program. Section 219.14(a)(4) requires     require decisions to conform to the best     or develop new information, or to
that the plan decision document must       science. Other respondents felt the          document that the costs of seeking new
document how the best available            proposed rule made use of science            information are prohibitive.
scientific information was used to         mandatory rather than discretionary.           Including this section in the rule,
inform planning, plan components, and         Response: The Department never            with its explicit requirements, for
other plan content, including the          intended that the responsible official       determining and documenting the use of
monitoring program. The remaining          could have the discretion to disregard       the BASI to inform planning the
paragraph was modified to require the      best available scientific information        planning process, will help to ensure a
responsible official to document how       (BASI) in making a decision. To clarify      consistent approach across the National
the best available scientific information  the Department’s intent, the final rule      Forest System that will lead to more
was used to inform the design of the       requires the responsible official to use     credible and supportable plan decisions.
monitoring program, rather than in         the BASI to inform the planning process         Comment: Transparency of science
every monitoring report, because the       rather than take BASI into account.          used. Some respondents felt an addition
monitoring results are scientific          While the BASI must inform the               of a requirement for the disclosure of
information. In addition, the new          planning process and plan components,        what science was being used would
documentation requirements call for the it does not dictate what the decision           enhance transparency.
responsible official to explain the basis  must be: BASI may lead a responsible           Response: Section 219.3 of the final
for the determination, and explain how     official to a range of possible options.     rule requires the responsible official to
the information was applied to the         There also may be competing scientific       document how the BASI was used to
issues considered.                         perspectives and uncertainty in the          inform the assessment, plan decision,
   The Forest Service Directives System    science. Furthermore, scientific             and design of the monitoring program.
will contain further detail on how to      information is one of the factors relevant   Such documentation must: identify
document the use of the best available     to decisionmaking. Other factors             what information was determined to be
scientific information, including          include budget, legal authority, local       the BASI, explain the basis for that
identifying the sources of data such as    and indigenous knowledge. Agency             determination, and explain how the
peer reviewed articles, scientific         policies, public input, and the              information was applied to the issues
assessments, or other scientific           experience of land managers.                 considered. This requirement will
information. In addition, the Forest          Comment: Funding for BASI. Some           provide both transparency and an
Service Directives System will contain     respondents felt the requirements to use     explanation to the public as to how
further detail on the Forest Services’     the best available scientific information    BASI was used by responsible officials
information quality guidelines.            were going to be too financially             to arrive at their decisions.
Direction about science reviews may be     burdensome. Other respondents suggest           Comment: Risk, uncertainty, and the
found in Forest Service Handbook           the term should be removed from the          precautionary principle. A respondent


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stated the words “risk” and                  assessment phase. Section                   governments and planning efforts, and
“uncertainty” found throughout the           219.8(a)(lKiv) requires climate change      Tribal consultation. This section was
preamble and DEIS are missing from the       be taken into account when the              reorganized and new paragraph
rule itself. The respondent felt the rule    responsible official is developing plan     headings were assigned to increase
should include wording about risks and       components for ecological                   clarity. Wording affirming that the
uncertainties and require techniques for     sustainability. When providing for          Forest Service retains decisionmaking
assisting responsible officials in           ecosystem services and multiple uses,       authority and responsibility for all
evaluating risks and uncertainties. Some     the responsible official is required by     decisions was moved from the
respondents felt the rule should adopt       § 219.10(a)(8) to consider climate          definition of collaboration of the
the “precautionary principle” in             change. Measureable changes to the          proposed rule to paragraph (a) of this
planning on the NFS to account for           plan area related to climate change and     section. The Department also listed
uncertainty. One respondent also felt        other stressors affecting the plan area     State fish and wildlife agencies, and
the wording “lack of full scientific         are to be monitored under                   State foresters in paragraph
certainty shall not be used as a reason      § 219.12(a)(5)(vi). Combined with the       § 219.4(a)(l)(iv) as illustrative examples
for postponing a cost-effective measure      requirements of the Forest Service          of relevant State agencies.
to prevent environmental degradation”        Climate Change Roadmap and                     The Department modified the
should be added.                             Scorecard, these requirements will          wording about trust responsibilities in
   Response: The Department concludes        ensure that Forest Service land             § 219.4(a)(2) that was designated at
that the adaptive management                 management planning addresses climate       § 219.4(a)(5) of the proposed rule. The
framework of assessment, revision or         change and supports adaptive                proposed rule said: the Department
amendment, and monitoring in this            management to respond to new                recognizes the Federal Government’s
final rule provides a scientifically         information and changing conditions.        trust responsibility for federally
supported process for decisionmaking                                                     recognized Indian Tribes. The final rule
in the face of uncertainty and               Section 219.4—Requirements for Public       says: the Department recognizes the
particularly under changing conditions.      Participation                               Federal Government has certain trust
The intent of this framework is to create      This section of the final rule requires   responsibilities and a unique legal
a responsive planning process and            the responsible official to provide         relationship with federally recognized
allows the Forest Service to adapt to        meaningful opportunities for public         Indian Tribes. This change was made to
changing conditions and improve              participation throughout the planning       ensure accurate recognition of the
management based on new information.         process. It gives direction for providing   relationship between the Federal
Monitoring provides the feedback for         such opportunities, including for           Government and federally recognized
the planning cycle by testing                outreach. Tribal consultation, and          Tribes.
assumptions, tracking relevant               coordination with other public planning        The Department deleted the phrase,
conditions over time, and measuring          efforts. The intent of this section is to   “to the extent practicable and
management effectiveness.                    emphasize the importance of active          appropriate,” from the end of paragraph
   The assessment report will document       public engagement in planning and to        § 219.4(b) for coordination with other
information needs relevant to the topics     provide direction for the responsible       public planning efforts, in response to
of the assessment and the best available     official to take an active, modern          public comment. The change is
scientific information that will be used     approach to getting public input,           intended to make clear that the
to inform the planning process.              including recognition of the need for       requirements for coordination with
   The science of risk management is         accessibility of the process and            other public planning efforts have not
rapidly evolving. To require specific        engagement of all publics, the              been reduced from previous rules.
techniques or methodologies would risk       responsibility for Tribal consultation,     However, this change is not intended to
codifying approaches that may soon be        and engagement with other land              require the Agency’s planning efforts to
outdated. The responsible official will      managers as part of an all lands            tier to, or match the timing of other
inform the public about the risks and        approach. The outcomes of public            public planning efforts. These changes
uncertainties in the environmental           participation can include a greater         are not changes in requirements, they
impact statements and environmental          understanding of interests underlying       are clarifications.
assessments for plans, plan revisions,       the issues, a shared understanding of          Comment: Specific requirements for
and plan amendments.                         the conditions on the plan area and in      public engagement. Some respondents
   Comment: Climate change and               the broader landscape that provide the      felt that the rule should allow
climate science. Some respondents felt       context for planning, the development       responsible officials to have the
the rule should require use of climate       of alternatives that can accommodate a      discretion to determine public outreach
change science in decisionmaking.            wide range of interests, and the            methods, while others felt the rule
Others felt the rule should address and      potential development of a shared           should contain specific method and
implement regulations for mitigation of      vision for the plan area, as well as an     process requirements for public
climate change while others felt the rule    understanding of how and why                engagement because vague requirements
should not address climate change.           planning decisions are made. Engaging       could result in courts second-guessing
   Response: The rule sets forth an          the public early and throughout the         whether the public participation was
adaptive land management planning            process is expected to lead to better       sufficient. Others felt the public
process informed by both a                   decisionmaking and plans that have          participation opportunities held during
comprehensive assessment and the best        broader support and relevance.              planning need to be flexible and
available scientific information. Section                                                accommodate the people living and
219.6(bK3)-(4) requires responsible          Section 219.4—Response to Comments          working in the area. Others requested
officials to identify and evaluate             Many comments on this section             specific recreation clubs and
information on climate change and            focused on the requirements for the         organizations be added to proposed
other stressors relevant to the plan area,   kinds and level of participation            § 219.4(a)(2). A respondent felt the
along with a baseline assessment of          opportunities and outreach,                 responsible official should be required
carbon stocks, as a part of the              coordination with local and State           to identify other non-traditional means


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of engagement and to identify in             and amended. Some respondents felt           will provide further guidance and
advance the participation of specific        their local Forest Service office is         clarification for how the public
populations in each area with historical     already collaborating with the public        participation requirements of the final
and traditional connections to the land,     and that the proposed rule would             rule will be implemented.
including forestry workers, their            discourage the unit from continuing             Comment: Time and cost of public
associations, and specific communities       with methods already working locally.        involvement. Some respondents felt the
who retain or wish to retain historic           Response: This final rule contains a      proposed public participation
connections to the land. Some                balanced approach that requires the          requirements are cumbersome and
respondents felt individuals and             responsible official to engage a diverse     unrealistic in regards to time and cost
organizations engaged in forest planning     array of people and communities              and the ability for individuals to fully
should be limited to either economic         throughout the planning process.             participate. Others felt the public
stakeholders or those with an existing       Participation opportunities must be          participation requirements would not
interest in forest management as the         provided throughout all stages of the        result in a more efficient planning
Forest Service cannot make individuals       land management planning process,            process.
or groups with no interest or economic       including during plan revision and              Response: The final rule directs the
stake in national forests participate in     amendment.                                   responsible official to take the
forest planning, regardless of the effort       The CEQ publication Collaboration in      accessibility of the process,
the Agency puts into targeted scoping.       NEPA—A Handbook for NEPA                     opportunities, and information into
   Response: The rule requires the           Practitioners at: http://ceq.hss.doe.gov/    account when designing opportunities
responsible official to engage and           ntf/Collaboration_in_NEPA_Oct_2007.          for public participation, precisely
encourage participation by a diverse         pdf describes a spectrum of                  because individuals may vary in their
array of people and communities              engagement, including the categories of      ability to engage, including in how
throughout the planning process. This        inform, consult, involve, and                much time and money they have to
includes those interested at the local,      collaborate. Each of these categories is     spend on participating in the process.
regional, and national levels and covers     associated with a set of tools, from         Likewise, the final rule directs the
all groups and organizations that are        traditional activities such as notice and    responsible official to consider the cost,
interested in the land management            comment on the inform end of the             time, and available staffing when
planning process. The Department             spectrum, to consensus building, or a        developing opportunities for public
recognizes the need to engage a full         Federal advisory committee on the            participation that meet needs and
range of interests and individuals in the    collaborative end of the spectrum.           constraints specific to the plan area.
planning process. The national forests       Because the term “collaboration” is          This is to ensure that the process is
and grasslands belong to all Americans       often associated with only those             feasible and efficient. In addition,
and not just those who have economic         activities on one end of the public          § 219.1(g) requires that the planning
or previously expressed interest. The        engagement spectrum, the Department          process be within the authority of the
Department concluded it was important        chose to retain the term “public             Forest Service and the fiscal capability
for the final rule to recognize that         participation” in the final rule to make     of the unit.
opportunities for public participation in    clear that the full spectrum of tools for       However, the rule does place a strong
the planning process must be fair and        public engagement can be used in the         emphasis on developing opportunities
accessible, while recognizing and taking     planning process. Every planning             early and throughout the planning
into account the diverse interests,          process will involve traditional scoping     process, with costs of planning
responsibilities, and jurisdictions of       and public comment; in addition, the         projected to be redirected toward
interested and affected parties. The final   responsible official will determine the      collaboration, assessment, and
rule does not require participation from     combination of additional public             monitoring activities and away from
any specific group. The rule also allows     participation strategies that would best     development and analysis of
flexibility in the methods of offering       engage a diverse set of people and           alternatives, as compared to the 1982
opportunities for engagement,                communities in the planning process.         procedures. The public participation
recognizing that the best way to engage         The final rule absolutely provides the    requirements are expected to improve
will vary at different times and in          flexibility to support the use of already    plans and increase planning efficiency
different places. The responsible official   working processes, including existing        in a variety of ways. Collaborative
has the discretion to determine the          collaborative processes. Because the         efforts during the early phases of
scope, timing, and methods for               make-up and dynamics of the                  planning are expected to result in
participation opportunities necessary to     communities surrounding each                 improved analysis and decisionmaking
address local, regional, and national        planning area differ, and because the        efficiency during the latter stages of
needs, while meeting the requirements        level of interest in decisionmaking may      planning; lead to improved capacity to
of §219.4.                                   vary, based on the scope and potential       reduce uncertainty by gathering,
   The planning procedures established       impact of the decision being                 verifying, and integrating information
for land management planning in the          contemplated, the responsible official       from a variety of sources; reduce the
Forest Service Directives System will        needs the flexibility to select the public   need for large numbers of plan
also provide further direction to ensure     participation methods that would best        alternatives and time needed for plan
consistent implementation of the             meet the needs of interested people and      revisions; potentially offset or reduce
requirements of the final rule.              communities. The wording “feasible           monitoring costs as a result of
   Comment: Clarification on                 and appropriate” provides the                collaboration during monitoring;
collaborative process. Some                  responsible official the flexibility         improve perceptions regarding
respondents felt the rule should clarify     needed to develop effective                  legitimacy of plans and the planning
when a collaborative process would or        participation opportunities, including       process; increase trust in the Agency,
would not be “feasible and                   using existing opportunities for             and potentially reduce the costs of
appropriate.” A respondent felt the rule     collaboration.                               litigation as a result of receiving public
should ensure public participation              Planning procedures established in        input before developing and finalizing
occurs when forest plans are revised         the Forest Service Directives System         decisions. Overall, it is the Department’s


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view that investment in providing            previously in the definition for             should be directed at the general public
opportunities for public engagement          collaboration in the proposed rule.          and not focus on participation from
will lead to stronger and more effective        Comment: Specific requirements for        specific segments of the population.
and relevant plans.                          youth, low-income, and minority              Other respondents felt the proposed rule
  Comment: Undocumented knowledge.           populations. Some respondents                only provides participation
A respondent felt the planning process       supported requirements to engage             opportunities for State and local
should take into account other forms of      youth, low-income and minority               governments. A respondent felt
knowledge besides written                    populations, and advocated including         comments or recommendations by a
documentation, and this knowledge            additional requirements. One                 local Board of Supervisors should be
should be shared with all interests and      respondent felt that references to youth,    given equal consideration as to those
individuals throughout the planning          low-income, and minority populations         comments received from State and
process.                                     should be removed. A respondent felt         Federal agencies.
  Response: The Department recognizes        the rule should integrate elements              Response: Section 219.4(a)(l)(iv) of
that other forms of information besides      related to equitable recreation access for   the final rule clarifies the responsible
written documentation, such as local         youth, low-income, and minority              official’s duty for outreach to other
and indigenous knowledge and public          populations into the assessment,             government agencies to participate in
experiences, should also be taken into       planning, and monitoring elements of         planning for NFS lands, including State
account. Opportunities for the public to     the rule.                                    fish and wildlife agencies. State
provide information during the                  Response: Many people discussed the       foresters, and other relevant State
assessment phase will help the               need for the Forest Service to make a        agencies, local governments including
responsible official to capture other        stronger effort to engage groups and         counties, and other Federal agencies.
forms of knowledge, and to reflect that      communities that traditionally have          However, a successful planning process
information in the assessment report         been underrepresented in land                must be inclusive in order to adequately
that will be available to the public. This   management planning. This is reflected       reflect the range of values, needs, and
section of the final rule requires the       in the requirement that responsible          preferences of society. All members of
responsible official to encourage public     officials encourage the participation of     the public would be provided
participation, thus sharing knowledge,       youth, low-income populations, and           opportunities to participate in the
ideas, and resources. In addition,           minority populations in the planning         planning process. Section 219.4(a) of the
paragraph (a)(3) of this section requires    process and in the requirements to be        final rule lists specific points during the
the responsible official to request          proactive and use contemporary tools to      planning process when opportunities
information about native knowledge,          reach out to the public and consider the     for public participation would be
land ethics, cultural issues, and sacred     accessibility of the process to interested   provided. To meet these requirements,
and culturally significant sites.            groups and individuals. The Department       the responsible official must be
  Comment: Participation requirements        recognizes the need to engage a full         proactive in considering who may be
accountability. Some respondents felt        range of interests and individuals in the    interested in the plan, those who might
the rule should contain measures             planning process and the responsibility      be affected by the plan or a change to
ensuring the responsible officials meet      to promote environmental justice. To         the plan, and how to encourage various
the public participation requirements.       encourage wide-ranging participation,        constituents and entities to engage.
  Response: To ensure accountability in      the final rule retains the requirement for   Responsible officials will encourage
implementation for all of the                the responsible official to seek             participation by interested individuals
requirements in the final rule, the          participation opportunities for              and entities, including those interested
Department added § 219.2(b)(5)               traditionally underrepresented groups        at the local, regional, and national
requiring the Chief to administer a          like youth, low-income populations,          levels.
national oversight process for               and minority populations.                       Comment: Coordination with State
accountability and consistency of NFS           The Department added requirements         and local governments. Some
land management planning. In addition,       in §§ 219.8 and 10 to take into account      respondents felt the proposed rule
the planning procedures established in       opportunities to connect people with         downplayed requirements to coordinate
the Forest Service Directives System         nature when developing plan                  with State and local governments and
will provide further guidance and            components to contribute to social and       that public participation is elevated over
clarification for how the public             economic sustainability and for              coordination. Other respondents felt
participation requirements of the final      multiple uses, including recreation, in      State wildlife agencies should
rule will be implemented.                    addition to the requirements for             specifically be coordinated with when
  Comment: Decisionmaking authority.         outreach to youth, low-income, and           designing and implementing plans, on-
Some respondents felt the rule must          minority populations included in this        the-ground management activities,
disclose the Forest Service retains full     section. Specific issues regarding           monitoring, and survey design. Some
decisionmaking authority.                    recreation access on a unit will be          respondents felt the rule should use the
  Response: While § 219.4 of the rule        addressed at the local level during the      wording from § 219.7 of the 1982
commits the Agency to public                 planning process.                            planning rule regarding coordination
participation requirements and                  Comment: Predominance of local or         with State and local governments.
encourages collaboration, by law the         national input. Some respondents felt        Others felt wording from Alternative D
Forest Service must retain final             the proposed § 219.4 did not place           of the DEIS should be included. Some
decisionmaking authority and                 enough emphasis on input from the            respondents felt forest plans should be
responsibility throughout the planning       local community, while others felt the       written in partnership with the States in
process. Paragraph (a) of this section has   proposed collaboration process would         which the national forest or grassland is
been modified to include the sentence        result in too much input from local          located. A respondent supported the
“The Forest Service retains                  interests and groups. Other respondents      review of county planning and land use
decisionmaking authority and                 felt the public participation process        policies and documentation of the
responsibility for all decisions             needs to be all-inclusive, including at      review in the draft EIS as stated in
throughout the process,” which was           the local. State, and national levels and    proposed § 219.4(b)(3). Several


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respondents noted the 1982 planning          Alternative D. The final rule does           opportunities to resolve or reduce
rule at § 219.7(b) requires county           require the responsible official to          conflicts where they exist. The review
governments to be given direct notice of     coordinate to the extent practicable with    would consider the objectives of
forest plan revisions and oppose the         other Federal, State, Tribal, and private    federally recognized Indian Tribes, and
proposed elimination of the requirement      land managers having management              other Federal, State, and local
in the proposed rule. A respondent           authority over lands relevant to a           governments, as expressed in their plans
stated input from local governments is       population of species of conservation        and policies, and would assess the
required by NFMA’s mandate for               concern (§ 219.9(b)(2)(ii)). To discuss      compatibility and interrelated impacts
coordination with local agencies that        the role of the Forest Service unit in the   of these plans and policies. In addition,
acknowledges the contributions and           broader landscape, final rule                responsible officials in the assessment
responsibilities unique to local agencies,   §§ 219.4(a)(1), 219.6(a), 219.7(c)(1), and   phase are required to identify and
including planning responsibilities for      219.12(a) require coordination with          consider relevant existing information,
the private lands that fall under the “all   other levels and deputy areas within the     which may include relevant neighboring
lands” umbrella.                             Agency as well as the public,                land management plans and local
   Response: Many of the coordination        appropriate Federal agencies. States,        knowledge. This information may
requirements of the 1982 planning rule       local governments, and other entities        include State forest assessments and
have been carried forward into               throughout the planning process. The         strategies, ecoregional assessments,
§ 219.4(b)(1) and (2) of the final rule.     final rule recognizes that participants      nongovernmental reports. State
Section 219.4(b)(3) clarifies                have different roles, responsibilities,      comprehensive outdoor recreation
requirements for coordination efforts.       and jurisdictions, which the responsible     plans, community wildfire protection
   Under § 219.4(a), the final rule          official will take into account in           plans, public transportation plans, and
requires the responsible official to         designing opportunities for                  State wildlife action plans, among
encourage participation by other Federal     participation. The final rule does not       others.
agencies. Tribes, States, counties, and      adopt the requirement of the 1982 rule          However, plans are not required to be
local governments, including State fish      to meet with a designated State official     consistent with State forest assessments
and wildlife agencies, State foresters       and representatives of Federal agencies      or strategies or plans of State and local
and other relevant State agencies. The       and local governments because people         governments under the final rule. The
final rule also requires the responsible     can often collaborate together without a     Forest Service must develop its own
official to encourage federally              face-to-face conference. The Department      assessment and plans related to the
recognized Tribes, States, counties, and     expects responsible officials to             conditions of the specific planning unit
other local governments to seek              effectively engage States, Tribes, and       and make decisions based on Federal
cooperating agency status in the NEPA        local officials and other representatives    laws and considerations that may be
process for planning, where appropriate,     in collaborative planning processes.         broader than the State or local plans.
and makes clear that the responsible            Comment: Commitments to and               Requiring land management plans to be
official may participate in their            consistency with local plans. Some           consistent with local government plans
planning efforts.                            respondents felt the rule needs a            would not allow the flexibility needed
   Under § 219.4(b) of the final rule, the   stronger commitment to local                 to address the diverse management
responsible official must coordinate         government plans, including statewide        needs on NFS lands and could hamper
planning efforts with the equivalent and     forest assessments and resource              the Agency’s ability to address regional
related planning efforts of federally        strategies. Some respondents felt            and national interests on Federal lands.
recognized Indian Tribes, Alaska Native      proposed § 219.4(b)(3) wording “nor          In the event of conflict with Agency
Corporations, other Federal agencies,        will the responsible official conform        planning objectives, consideration of
and State and local governments. The         management to meet non-Forest Service        alternatives for resolution within the
Department deleted the phrase, “to the       objectives or policies” should be            context of achieving NFS goals or
extent practicable and appropriate,”         removed because it may contradict with       objectives for the unit would be
from the end of paragraph § 219.4(b), in     the purpose of coordinating with local       explored. The final rule does not repeat
response to public comment. This             government. Others felt the primary goal     legal requirements found in public law,
change is not intended to require the        of coordination should be achieving          such as NEPA and NFMA, but § 219.1(f)
Agency’s planning efforts to tier to, or     consistency between Federal and local        would require plans to comply with all
match the timing of other public             plans within the legal mandates              applicable laws and regulations.
planning efforts. It was made to make        applicable to all entities. Some                Comment: Cooperating agencies for
clear that the requirements for              respondents felt the analysis must           unit plan development. A respondent
coordination with other public planning      document there is no superior                felt the rule should identify State,
efforts have not been reduced from           alternative to a proposed plan or action     Tribal, and local governments as
previous rules.                              as required by NEPA.                         cooperating agencies. Other respondents
   The requirement for coordination             Response: When revising plans or          asked why a Tribe would request
from the 1982 rule to identify and           developing new plans, under § 219.4(b)       cooperating agency status and what the
consider other information is found in       the responsible official must review the     benefit would be. Another respondent
§ 219.6(a) of the final rule. Section        existing planning and land use policies      felt the role of State and local
219.6(a) of the final rule requires          of State and local governments, other        governments is compromised, because
consideration of relevant information in     Federal agencies, and federally              the propose rule allows a responsible
assessments of other governmental or         recognized Tribes and Alaska Native          official to decide when cooperating
non-governmental assessments, plans,         Corporations, where relevant to the plan     agency status would be allowed. A
monitoring evaluation reports, and           area, and document the results of the        respondent noted the Forest Service
studies. The final rule does not adopt       review in the draft EIS. Section 219.4(b)    should be willing to share information
the coordination requirements of             requires that review to consider a           and not impose cost-prohibitive barriers
Alternative D of the DEIS because the        number of things, including                  to such information, and the proposed
coordination requirements are part of        opportunities for the unit plan to           rule does not allow cooperating agency
the species viability requirements of        contribute to joint objectives and           status for State and local governments.


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because the process folds them into the         Comment: Coordination with Tribal          The framework requires a three-part
public at large. Several organizations       land management programs. Some              learning and planning cycle: (1)
commented on the preferred alternative       respondents felt the responsible official   Assessment; (2) plan development, plan
that the final rule should require           should actively engage in coordination      revision, or plan amendment; and (3)
responsible officials to grant cooperating   with Tribal land management programs        monitoring. This framework is science­
agency status under NEPA to entities if      and that the proposed rule weakens          based (§ 219.3), and provides a blueprint
federally recognized Tribes, States,         requirements to coordinate planning         for an open and participatory land
counties, or local governments               with Tribes. One respondent requested       management process (§§ 219.4 and
appropriately apply for such status.         that the Tribal coordination provisions     219.16). It is intended to create a better
  Response: The responsible official         from the Federal Land Policy and            understanding of the landscape-scale
will encourage federally recognized          Management Act of 1976 (43 U.S.C.           context for management and support an
Tribes, States, counties, and other local    1712(b)) be included in the final rule.     integrated and holistic approach to
governments to seek cooperating agency          Response: The final rule provides        management that recognizes the
status where appropriate. The final rule     participation, consultation, and            interdependence of ecological resources
does not preclude any eligible party         coordination opportunities for Tribes       and processes, and of social, ecological,
from seeking cooperating agency status;      during the land management planning         and economic systems. The framework
rather, it provides direction to Forest      process, under § 219.4. This section also   creates a structure within which land
Service responsible officials to             states at § 219.4(b) that the responsible   managers and partners will work
encourage such engagement where              official shall coordinate land              together to understand what is
appropriate. Cooperating agency status       management planning with the                happening on the land. It is intended to
under NEPA is determined under the           equivalent and related planning efforts     establish a responsive process that
Council of Environmental Quality (CEQ)       of federally recognized Indian Tribes       would allow the Agency to adapt
requirements for cooperating status (40      and Alaska Native Corporations. A           management to changing conditions and
CFR 1501.6). Further guidance may be         citation for 43 U.S.C. 1712(b) has been     improve management based on new
found at http://www.fs.fed.us/emc/           added to the final rule at § 219.4(b)(2).   information and monitoring, using
nepa/index.htm. The final rule does not      Participation in a collaborative process    narrower, more frequent amendments to
affect that process. For federally           would be voluntary and would                keep plans current between revisions.
recognized Tribes, cooperating agency        supplement, not replace consultation.
status does not replace or supersede the                                                 Section 219.5—Response to Comments
                                                Comment: Government-to-government           Many comments on this section
trust responsibilities and requirements
                                             relationship. One respondent felt the       focused on the need for more clarity in
for consultation also recognized and
                                             proposed rule does not go far enough in     the framework. The Department made
included in the final rule. Any request
for cooperating agency status will be        identifying the unique government-to-       changes to § 219.5(a)(1) to describe the
                                             government relationship between Tribes      assessment and emphasize that the
considered pursuant to the CEQ
requirements and Agency policy.              and the Forest Service.                     assessment process is intended to be
   Comment: Tribal consultation. Some           Response: The Department recognizes      rapid, and use existing information
respondents felt that Alaska Native          the unique government-to-government         related to the land management plan
Corporations should not be given the         relationship that the Federal               within the context of the broader
same status as federally recognized          Government has with Tribes, and has         landscape. The Department removed the
Indian Tribes, while another respondent      engaged Tribes throughout the               discussion about the preliminary need
felt that the final rule should recognize    rulemaking process. The final rule          to change the plan from paragraph (a)(1)
and provide for consultation with            includes requirements for engaging          because the discussion has been
affected Alaska Native Corporations and      Tribes during the land management           removed from the assessment (§ 219.6)
Tribal organizations. Several Tribes and     planning process. At § 219.4(a)(2) the      and discussed in paragraph (a)(2) of this
Alaska Native Corporations are               final rule states that the responsible      section and in § 219.7. The Department
concerned about keeping information          official shall honor the government-to-     removed the introductory text of
confidential to protect sites from           government relationship between             paragraph (a)(2) of this section because
vandalism.                                   federally recognized Indian Tribes and      it was redundant to paragraph (a)(2)(i) of
  Response: The final rule                   the Federal Government, in accordance       this section and to § 219.7(b). Section
acknowledges the Federal Government’s        with Executive Order 13175.                 219.5(a)(2)(ii) was slightly modified to
unique obligations and responsibilities      Additionally, § 219.4 requires that the     clarify that the first step to amend a plan
to Indian Tribes and Alaska Native           responsible official provide                is to identify a preliminary need to
Corporations in the planning process.        opportunities for participation and         change the plan. Additional edits were
The statute, 25 U.S.C. 450 note, requires    consultation for federally recognized       made for clarity. The changes to this
that Federal agencies consult with           Indian Tribes and Alaska Native             section are not changes in requirements,
Alaska Native Corporations on the same       Corporations.                               they are just clarifications.
basis as Indian Tribes under Executive                                                      Comment: Planning framework. Some
                                             Section 219.5—Planning Framework
Order 13175. While the final rule                                                        respondents felt more clarity was
requires consultation and participation        This section provides an overview of      needed on the three phases of the
opportunities for Alaska Native              the framework for land management           framework (assessment, development,
Corporations, the Department engages in      planning, and identifies what occurs        and monitoring). Further clarity was
a government-to-government                   during each phase. It also includes the     sought on how the phases are
relationship only with federally             requirement for the establishment of an     interrelated.
recognized Indian Tribes, consistent         interdisciplinary team for planning.           Response: This section was included
with Executive Order 13175.                  This framework reflects key themes          to provide clarity with regard to each
Responsible officials will protect           heard from the public, as well as           phase of the framework and how they
confidentiality regarding information        experience gained through the Agency’s      are interrelated. Detailed requirements
given by Tribes in the planning process      30-year history with land management        and relationships for each phase are
and may enter into agreements to do so.      planning.                                   provided in other sections of the rule. In


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addition to the descriptions of what        interdisciplinary team for preparation of   concerns were valid, and made a
occurs during each phase provided in        assessments; new plans, plan                number of changes to this section in
this section, changes were made to          amendments, or plan revisions; and          response. The Department reorganized
§§ 219.6, 219.7 and 219.12 to make clear    plan monitoring programs. Because           the section to clarify the process and
that information from each phase            planning efforts are based on an            direction for assessments.
should be used to inform each of the        identified need for change, it would not       In the introductory paragraph, the
other phases. In § 219.6, assessments are   be appropriate to require the same          Department removed the description of
required for new plan development and       disciplines to be represented on every      what an assessment is, and provided a
plan revision, and a new list of topics     interdisciplinary team. Also, individual    cross-reference to description of the
for the assessment was included to more     team members often have broad areas of      assessment in § 219.5(a)(1). This change
closely link the assessment                 expertise and may represent multiple        was made to avoid redundancy, and is
requirements to the requirements for        disciplines.                                not a change in requirements. Changes
plan components and other plan                                                          to the description of the assessment in
                                            Section 219.6—Assessments                   § 219.5(a)(1) were made to focus on the
content. The responsible official must
identify and consider relevant                 This section sets out both process and   use of existing information in a rapid
information contained in monitoring         content requirements for assessments. In    process. This change reflects the intent
reports during the assessment phase.        the assessment phase, responsible           for this phase as stated in the preamble
These monitoring evaluation reports are     officials will rapidly identify and         to the proposed rule, and makes that
developed in the monitoring phase as        evaluate relevant and existing              intent clear in the final rule. Additional
required in § 219.12(d), which requires     information to provide a solid base of      changes to reflect this focus were made
that they be used to inform adaptive        information and context for plan            throughout this section. These changes
management. Section 219.7 requires the      decisionmaking, within the context of       reflect the preamble discussion of the
responsible official to review relevant     the broader landscape. The final rule       proposed rule about rapid assessments;
information from the assessment and         identifies and provides examples of         therefore, these changes are
monitoring to identify a preliminary        sources of information to which the         clarifications based on public comments
need for change and to inform the           responsible official should refer,          to make the assessment more efficient.
development of plan components and          requires coordination and participation        In paragraph (a) of the final rule the
other plan content, including the           opportunities, and requires                 Department made several changes,
monitoring program. In this way, the        documentation of the assessment in a        including:
framework builds on information             report to be made available to the             (1) Removed specific requirements for
gathered and developed during each          public. This phase is intended to be        formal notification and encouragement
phase of the planning process and           rapid, and changes were made to the         of various parties to participate in the
supports adaptive management for            final rule to improve the efficiency of     assessment (designated at § 219.6(a)(1)
informed and efficient planning.            the assessment process. The Department      and (a)(2) of the proposed rule); these
   Comment: Resource exclusion. Some        expects the assessment required by the      specific requirements were removed in
respondents felt the proposed rule          final rule will take about 6 months to      response to public comments.
allows too much discretion to the           complete.                                   Requirements for public participation
responsible official to exclude resources      The content of assessments will be       and notification during this phase are
or uses of interest under the three         used to inform the development of plan      still present in §§ 219.4 and 219.16. This
phases of the planning framework.           components and other plan content,          is a change in requirements that is based
   Response: There are numerous             including the monitoring questions, and     on public comments to make the
opportunities throughout the process for    to provide a feedback loop. The final       assessment more efficient.
the public to identify resources and uses   rule narrows and clarifies the                 (2) Moved the type of information to
that are of interest to them, along with    requirements for the content of plan        identify and consider from paragraph
information about those resources or        assessments, to increase efficiency and     (b)(2) of this section of the proposed
uses relevant to the plan area. If a        provide a clearer link to the               rule to paragraph (a)(1) in this section.
resource or use is identified as of         requirements for plan components and        The Department added public
interest, it will be considered during of   other plan content in the other sections    transportation plans and State wildlife
the planning process. The responsible       of the final rule. During the assessment    data to the list of example documents to
official must meet all the requirements     phase, the public will have the             consider contained in paragraph (a)(1).
contained in the final rule, including      opportunity to bring forward relevant       The Department further clarified in this
the requirement to identify resources       information. Gathering and evaluating       paragraph that relevant local knowledge
present in the plan area and consider       existing, relevant information will help    will be considered if publicly available
them when developing plan                   both the responsible official and the       or voluntarily provided. These additions
components for §§ 219.8 through             public form a clear base of information     are not changes in requirements as they
219.11, including for ecological            related to management issues and            clarify the Department’s intent.
sustainability, diversity, and multiple     decisions that will be made later in the       (3) Changed the description of the
use.                                        planning process.                           report at paragraph (a)(3) from a set of
   Comment: Composition of planning                                                     reports to a single assessment report;
interdisciplinary teams. Several            Section 219.6—Response to Comments          changed discussion of additional
respondents felt the rule should specify      Many comments on this section             information needs to clarify that they
the composition of the interdisciplinary    focused on concerns about the               should be noted in the assessment
teams required under proposed               assessment phase in the proposed rule       report, but that new information need
§ 219.5(b).                                 being too open ended, lengthy and           not be developed during the assessment
   Response: The Department concluded       costly, and/or not closely enough linked    phase; and changed the requirement
that the responsible official should have   to the requirements for plan                from documenting how science was
the discretion to determine the             components and monitoring in the other      “taken into account” to how the best
disciplines, or areas of expertise, to be   phases of the framework. The                available scientific information was
represented on the Agency                   Department determined that these            “used to inform” the assessment for


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consistency with § 219.3. These changes       Performance Scorecard for measuring          through an environmental impact
reflect public comments on making the         progress to achieve USDA strategic goals     statement.
assessment phase more efficient, as well      (USDA Forest Service 2010d, 2010)).             The final rule stresses the assessment
as public comments on § 219.3.                The roadmap describes the Agency’s           as an information gathering and
   (4) Removed the requirement for the        strategy to address climate change and       evaluation process specifically linked to
assessment to identify the need to            the scorecard is an annual reporting         the development of plan components
change the plan from this section and         mechanism to check the progress of           and other plan content, in the context of
added that requirement as an early step       each NFS unit.                               the broader landscape. The final rule
in the planning process in § 219.7. The          The requirements for the assessment       requires information about the list of
Department moved the requirement to           to identify distinctive roles and            topics in § 219.6(b) to be identified and
§ 219.7 because after reading the public      contributions and potential monitoring       evaluated in the assessment. The
comments it was decided that                  questions previously included in             inclusion of this list as opposed to the
identifying a need to change the plan in      paragraph (b) were removed from this         broader direction included in the
the assessment phase may cause                section of the rule because they implied     proposed rule is intended to make the
confusion with the NEPA process. The          there would be decisions in the              process both more efficient, and more
planning rule continues to emphasize a        assessment phase that should be made         clearly focused on the specific
“need for change” approach to planning        as part of the plan decision. Both           information needed to inform the
but this now begins with a preliminary        requirements are still present in other      development of plan components and
identification of the need to change the      sections of the final rule; therefore, the   other plan content as required by other
plan identified in the beginning of plan      removal of these requirements from this      sections of the final rule.
development (§ 219.7) within the formal       section of the rule is a minor change.          The requirement of the proposed rule
NEPA process.                                    At § 219.6(c) the Department removed      to find a “need to change” during the
   Paragraph (b) describes the content of     requirements for plan amendments that        assessment phase of planning has been
assessments for plan development or           were consolidated with requirements for      removed to clarify that the assessment is
plan revision. The Department added a         plan amendments in § 219.13(b)(1) for        not a decisionmaking process and does
specific listing of 15 topics that would      clarity and to avoid duplication. In         not require a NEPA document to be
be identified and evaluated relevant to       addition, the Department changed the         prepared. Changes to § 219.7 clarify that
the plan area, and removed the                word “issue” to “topic” to avoid             the responsible official must review
requirement in the proposed rule that         confusion with the term “issues” as          material gathered during the assessment
the assessment report identify and            used in the NEPA process. These              to identify a preliminary need to change
evaluate information related to the           changes are not changes in                   the existing plan and to inform the
substantive sections of the plan              requirements, they are just                  development of the plan components
(§§ 219.7, 219.8, 219.9, 219.10, and          clarifications.                              and other plan content. The information
219.11). This change was made in                 Comment: Assessment process. Some         may be used and referenced in the
response to comments that the                 respondents felt the proposed                planning process, including
assessment phase needed to be both            assessment process should be removed         environmental documentation under
more efficient and more narrowly and          from the rule as it is an added and          NEPA. However, the assessment report
specifically focused on the information       potentially costly step to the planning      is not a decision document.
needed to form a basis for developing         process. They felt it would be more             The responsible official is required to
plan components and other plan                efficient and effective if assessments       provide public participation
content. These changes represent a            used to justify an amendment or plan         opportunities to all interested parties
change in requirements. Changes made          revision were combined into one              during the assessment process, and
to § 219.7 provide additional clarity to      document for the proposed amendment          must provide notice of such
link the two phases.                          or revision. They also felt the rule         opportunities, as well as the availability
   One term in the list of 15 items may       should provide more guidance and             of the assessment report. The public
be unfamiliar to the reader: baseline         parameters for the decisionmaking            will have a formal opportunity to
assessment of carbon stocks. The final        occurring along with assessment              comment on information derived from
rule requires that the responsible official   reports. Other respondents felt the          the assessment later in the NEPA
use existing information to do a baseline     proposed rule requirements were vague        process of the plan development,
assessment of carbon stocks. Carbon           on the nature of assessments and more        amendment, or revision.
stocks are the amount of carbon stored        standards or guidelines for determining         The Department decided to retain the
in the ecosystem, in living biomass, soil,    proper time frames, content, and need        flexibility provided in the proposed rule
dead wood, and litter. This requirement       for assessment is necessary. Others were     for the responsible official to determine
was included in response to public            concerned that the assessments should        when an assessment prior to plan
comments to ensure that information           be more comprehensive, that too much         amendment is needed, along with the
about baseline carbon stocks is               discretion was given to the responsible      scope, scale, process, and content for
identified and evaluated before plan          official to determine what to include in     plan amendments, in order to keep the
revision or development, and to link          the assessment, and the responsible          amendment process flexible.
this phase to the requirements of the         official should be required to use, not      Amendments can be broad or they can
Forest Service Climate Change Roadmap         just consider, the information.              be narrow and focused only on a subset,
and Scorecard. The Department’s                  Response: Section 219.6 of the final      or even on a single one, of the topics
expectation is that this information          rule changes the requirements for            identified in the list of 15 in the final
would be generated via implementation         assessments. A single document               rule, or on something not on the list. Or
of the Roadmap and Scorecard prior to         identifying and evaluating key               the amendment could take place while
planning efforts on a unit, and that the      information for a plan revision or           the information in the assessment done
assessment phase would use that               amendment will serve as an important         for the plan revision or initial
information to meet the direction in          source to set the stage for planning in      development is still up-to-date, such
§ 219.6(b)(4). The Forest Service has         both the development of the plan and in      that a new assessment would not be
developed a National Roadmap and              the evaluation of environmental effects      needed. The circumstances and


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considerations for when a plan               universities, and should consider best           Comment: Assessments and
amendment assessment should occur            available science.                            performance. Some respondents pointed
are too variable to specify in the final        Response: The list in § 219.6(b)           out that the rule should link the
rule.                                        includes the topics identified in these       assessment process with the Agency’s
   Comment: Use of existing                  comments. The Department accepts that         integrated management reviews to
information. Some respondents felt the       the list included in the final rule           assess performance in implementation
rule should clarify that the responsible     represents a focused set of topics            of plan priorities.
official need only consider existing         relevant to the development of plan              Response: While management reviews
information during the assessment            components and other plan content             can be a tool to assess plan progress
phase. The concern raised was that if a      required in other sections of the final       toward meeting the intended results, the
responsible official had to develop new      rule. The final rule requires that the best   final rule does not require management
information such as new scientific           available scientific information be used      review be linked with the assessment
studies to fill gaps in the existing         to inform all phases of the planning          process. Management reviews are part of
science, the planning process would be       process. Documents submitted by               the management process for all mission
further delayed. Others expressed that       universities would be accepted by the         areas, and are broader in scope, looking
limiting the assessment to rapid             Agency and considered as part of the          at many issues. The final rule is limited
evaluation of existing information may       assessment.                                   in scope to the planning process to
result in lack of input from the public         Comment: Annual regional                   develop, amend, or revise plans.
or actually be of little use when the        evaluations. Some respondents                    Comment: Notification of scientists.
Forest Service has very little               indicated the proposed assessment             Some respondents stated the proposed
information.                                 process needs to provide for regular          rule’s requirement to encourage and
   Response: The Department agrees the       over-arching investigations of potential      notify scientists to participate in the
assessment phase needs to be efficient       need to change issues above the               process was unwieldy.
and effective. The Department focused        individual forest level. Some suggested          Response: The detailed notification
the final rule on rapidly gathering and      the final rule should provide for annual      requirements previously included in
evaluating existing information on the       evaluations by each Forest Service            this section have been removed in order
topics identified in paragraph (b) of the    region for developing information             to make the process more efficient and
final rule. The intent is for the            affecting broader-scale factors and how       clearer. However, the final rule still
responsible official to develop in the       the information may indicate a need to        requires that the responsible official
assessment phase a clear understanding       initiate forest plan revisions or             coordinate with Forest Service Research
of what is known about the plan area,        amendments.                                   and Development, identify and evaluate
in the context of the broader landscape,        Response: The final rule does not          information from relevant scientific
in order to provide a solid context for      require annual evaluations of                 studies and reports, provide
decision-making required during the          monitoring results by each region or for      participation opportunities to the
planning phase. The Forest Service will      the broader-scale monitoring strategy.        public, and use best available scientific
use relevant existing information from a     The three-part planning cycle of              information to inform the planning
variety of sources, both internal to the     assessments, planning, and monitoring         process.
Agency and from external sources. The        will provide a framework to identify             Comment: Public comment and
responsible official is required to          changing conditions and respond with          participation on assessment reports.
provide public participation                 adaptive management. Broader-scale            Some respondents felt the rule should
opportunities to all interested parties      monitoring will help to identify and          provide the public with the opportunity
during the assessment process. The           track changing conditions beyond the          to review, comment, and provide
Department concludes that engaging the       individual forest level. The final rule       additional information during the
public to inform the assessment report       requires consideration of information         assessment phase. Other respondents
will help the responsible official and the   from both the broader and plan scales of      felt the proposed rule was not clear as
interested public to develop a common        monitoring. This information would be         to what role the public would play in
base of information to use in the            described in the biennial plan                determining the scope of the
planning phase, increasing the               monitoring report for each unit if            assessment. The desire was also
legitimacy and integrity of future           applicable to plan area. Annual               expressed for the opportunity to appeal
decisions.                                   investigations and review, in addition to     the development or use of the
   Comment: Additional assessment            what is provided for in the rule, would       assessment report.
considerations. Some respondents noted       be procedurally difficult and was                Response: The rule requires the
reasonably foreseeable conditions,           deemed not necessary.                         responsible official to provide
stressors, and opportunities (for               Comment: Assessments versus                opportunities for the public to
example forecasts for continued              monitoring. Some respondents                  participate in and provide information
urbanization and ecological changes          remarked that the rule needs to state the     for the assessment process. For a new
resulting from climate change) need to       Agency cannot rely on one-time                plan or plan revision, the final rule
be considered when measuring present         assessments in lieu of monitoring data.       specifies the minimum scope of the
conditions, stressors, and opportunities.       Response: The Department does not          assessment. For a plan amendment
The respondents implied this                 intend for assessments to replace             assessment, the need for and scope of
information should be calculated and         monitoring. The final rule requires           the assessment will be determined by
considered during the assessment phase       monitoring and biennial monitoring            the responsible official based on the
of land management planning. Still           reports. Results from monitoring will be      circumstances. The assessment is an
others indicated there should be             considered when developing an                 informational document, not a decision
requirements for water quality,              assessment and during the planning            document; therefore, a formal comment
minerals, historic, social, economic, and    phase, just as the information gathered       period is not required. As such, an
other resources. Others mentioned the        during the assessment phase will inform       opportunity to appeal or object to an
responsible official should be required      the planning phase, including                 assessment report is not required by the
to accept material submitted by              development of the monitoring program.        final rule. Other opportunities for


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formal comment and objection are             Section 219.7—Plan Development or            component and NEPA requirements.
provided in the rule for plan decisions.     Plan Revision                                The Department retains the 2011
   Comment: Distinctive roles and               This section sets out requirements for    proposed rule wording in the final rule
contributions. Some respondents felt the     how to develop a new plan or revise an       except for minor changes and the
requirement for assessments to identify      existing plan. This section has two          following:
“distinctive roles and contributions of                                                      (1) At paragraph (c)(2)(i) of this
                                             primary topics: (1) The process for
the unit within the broader landscape”                                                    section, the Department consolidated
                                             developing or revising plans and (2)
should be retained; while others felt it                                                  the requirement to identify a
                                             direction to include plan components
should be removed.                                                                        preliminary need to change the plan
                                             and other content in the plan. The
                                                                                          from § 219.6(a) and § 219.7(a). This
   Response: The final removes this          intent of this section is to set forth a
                                                                                          change is not a change in requirement
requirement from the assessment as it        process for planning that reflects public
                                                                                          for the planning process, but moves this
implies a decision that should be made       input and Forest Service experience.         requirement from the assessment phase
when approving the distinctive roles         The process set forth in the final rule      to the start of the planning phase. Also,
and contributions of the unit as part of     requires the use of the best available       in this paragraph, the Department
the other plan content (§ 219.7(f)). It is   scientific information to inform             modified the wording to make the link
retained in the requirement for other        planning (§ 219.3), and requires public      between the assessment and monitoring
plan content in § 219.7 of the final rule.   participation early and throughout the       phases with the plan phase clearer: the
                                             process (§ 219.4). By conducting an          final rule requires that the responsible
   Comment: Assessments and plan
                                             assessment using a collaborative             official review relevant information
components. A respondent suggested
                                             approach before starting a new plan or       from the assessment and monitoring to
assessments should include
                                             plan revision, and by working with the       identify a preliminary need to change
development of plan components to
                                             public to develop a proposal for a new       the plan and to inform the development
meet the substantive requirements of
                                             plan or plan revision, the Department        of plan components and other plan
other rule provisions such as water
                                             expects that the actual preparation of a     content. This change reflects the intent
quality standards.
                                             plan would be much less time                 of the Department as stated in the
   Response: Assessments do not              consuming then under the 1982 rule           preamble to the proposed rule and
develop plan components, but only            procedures, and that plans will be better    responds to public comment. It is a
gather and evaluate existing information     supported. These requirements                change in requirement.
that can be used later in the                incorporate the best practices learned          (2) At paragraph (c)(2)(ii) of this
development of plan components.              from the past 30 years of planning, and      section, the Department added a
   Comment: Information gaps or              the Department concludes these               requirement to consider the goals and
uncertainties. Some respondents              practices can be carried out in an           objectives of the Forest Service strategic
declared the rule should require a           efficient and effective manner.              plan. The Department added this
component in the assessment                     This section also sets out                requirement to respond to public
identifying information gaps or              requirements for plan components.            comments and to address the
uncertainties.                               These plan components are based on           requirement of 16 U.S.C. 1604(g)(3) to
   Response: Section 219.6(a)(3) of the      techniques widely accepted and               specify guidelines for land management
final rule requires the assessment to        practiced by planners, both inside and       plans developed to achieve the goals of
document in the report information           outside of government. The set of plan       the “Program.” Today the “Program” is
needs related to the list of topics in       components must meet the substantive         equivalent to the Forest Service strategic
paragraph (b) as part of the assessment      requirements for sustainability (§ 219.8),   plan. This is an additional requirement
report. Adding a requirement for the         plant and animal diversity (§ 219.9),        to implement the NFMA.
responsible official to document all         multiple use (§ 219.10), and timber             (3) At, paragraph (c)(2)(v) of this
information gaps or uncertainties could      requirements based on the NFMA               section, the Department edited the
become burdensome and was                    (§ 219.11) as well as other requirements     wording regarding whether to
inconsistent with the rapid evaluation       laid out in the plan. Except to correct      recommend any additional area for
of existing information.                     clerical errors, plan components can         wilderness to remove the confusing
                                             only be changed through plan                 term “potential wilderness areas.” The
   Comment: Cumulative effects               amendment or revision. Plan                  paragraph was also edited to clarify that
disclosure. Some respondents stated          components themselves cannot compel          lands that may be suitable, as well as
proposed § 219.6(b)(3) should                Agency action or guarantee specific          lands that are recommended for
specifically address the need to             results. Instead, they provide the vision,   wilderness designation, must be
document cumulative effects to the           strategy, objectives, and constraints        identified. These changes clarify the
condition of lands, water, and               needed to move the unit toward               proposed rule and respond to public
watersheds.                                  ecological, social, and economic             comment.
   Response: The final rule does not add     sustainability                                  (4) At paragraph (c)(2)(vii), the
a cumulative effects requirement to the         In addition to the plan components,       Department added a new requirement to
assessment. The assessment identifies        this section includes requirements for       identify existing designated areas other
and evaluates information on conditions      other plan content. Other required plan      than wilderness or wild and scenic
and trends related to the land               content differs from plan components in      rivers, and determine whether to
management plan. This will include           that an amendment or revision is not         recommend any additional areas for
influences beyond the plan area and          required for changes to be made that         designation. The changes make clear
influences created by the conditions and     reflect new information or changed           that if the responsible official has the
trends in the plan area. Cumulative          conditions.                                  delegated authority to designate a new
effects analysis is part of the NEPA                                                      area or modify an existing area, then the
process and disclosed in the                 Section 219.7—Response to Comments           responsible official may designate such
environmental documentation for                Many comments on this section              lands when approving the plan, plan
planning or project decisionmaking.          focused on aspects of the plan               revision, or plan amendment. Based on


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public comment, the Department added        of issues that have arisen in the            discuss an efficient amendment process
this requirement to clarify the             planning process. This is a clarification    in the proposed rule. Another
requirement of § 219.10(bKl)(vil of the     of the proposed rule paragraph (d)(l)(v)     respondent proposed § 219.7(e)(l)(iv) be
proposed rule.                              to carry out the intent of the proposed      rewritten to clarify any aspect of any
   (5) At paragraph (c)(3) the Department   rule.                                        planning document are proposals
added the requirement for the regional         Comment: Alternate plans. A               subject to NEPA.
forester to identify species of             respondent said wording contained in            Response: The final rule requires the
conservation concern for the plan area      the 1982 rule at § 219.12(f)(5) requiring    preparation of an EIS for plan revisions
in coordination with the responsible        the Agency to develop alternatives to        and new plans. Plan amendments must
official in paragraph (c)(2) of this        address public concerns should be            be consistent with Forest Service NEPA
section. The Department added this          restored.                                    procedures, which require an EIS, an
requirement in response to public             Response: The rule requires                EA, or a CE, depending on the scope
comment to provide more consistency         preparation of an EIS as part of the plan    and scale of the amendment. Projects
and accountability in selecting the         revision process. The NEPA requires          and activities will continue to be
species of conservation concern. This is    development of a range of reasonable         conducted under Forest Service NEPA
a new requirement.                          alternatives in the EIS. Therefore, a        procedures. The Department believes
   (6) At paragraph (d) of this section,    duplicative requirement in the rule is       the NEPA analysis requirements are
the Department clarified that               not necessary.                               appropriate to inform the public and
management areas or geographic areas           Comment: Requests for revision. A         help responsible officials make
are required in every plan. This is a       respondent said there should be a            decisions based on the environmental
clarification of paragraph (d) of the       process for others to request plan           consequences. The requirements for
proposed rule and reflects the              revisions. The responsible official          public participation are described in
Department’s intent for the proposed        would retain the option of determining       § 219.4 and notifications in § 219.16.
rule. Under the proposed rule, inclusion    whether such a request would warrant         The Department retained the wording
of management and/or geographic areas       starting the assessment process.             on combining notifications where
was implied by paragraph (d); the             Response: The public may request a         appropriate to allow for an efficient
change to the final rule makes clear that   plan revision at any time. The public        amendment process while continuing
every plan must include management          does not need special process to make        requiring public notice.
areas or geographic areas or both, to       this request.                                   The NEPA regulations at 40 CFR
which plan components would apply as           Comment: Combining multiple               1508.23 provides that a proposal “exists
described in paragraph (e) of the final     national forests under one plan. Some        at that stage in the development of an
rule. The Department removed the            respondents felt a multi-forest plan         action when an agency subject to the
provision of the proposed rule that         would need separate tailored                 Act has a goal and is actively preparing
stated every project and activity must be   requirements for the different               to make a decision on one or more
consistent with the applicable plan         ecosystems, landscapes, landforms,           alternative means of accomplishing that
components, because § 219.15(b) and (d)     forest types, habitats, and stream types     goal and the effects can be meaningfully
also state this, and this statement would   that exist in each of the national forests   evaluated.” Not all aspects of planning
be redundant. These changes are not         affected.                                    and planning documentation fall under
changes in requirements; they are             Response: The final rule allows the        this definition, and the Department
clarifications.                             responsible official the discretion to       considers classifying every aspect of
   (7) At paragraph (e)(l)(iv), the         determine the appropriateness of             every planning document as a
Department clarified the wording in the     developing a multi-forest plan, or a         “proposal” subject to NEPA would be
description of a guideline to respond to    separate plan for each designated unit.      an unnecessary and burdensome
comments on the preferred alternative.      Plan components would be designed as         requirement on the Agency.
The Department changed the word             appropriate for those units to meet the         Comment: Additional coordination
“intent” to “purpose.” The final            requirements of the final rule, whether      requirements. Some respondents
wording is: “a guideline is a constraint    for a single or a multi-forest plan.         suggested additional coordination
on project and activity decisionmaking         Comment: Environmental Policy Act         requirements for noxious weed
that allows for departure from its terms,   compliance and plan development,             management, reduction of the threat of
so long as the purpose of the guideline     amendment, or revision (NEPAf Some           wildland fire, assessment of existing
is met.” In addition, in the second         respondents felt plans should be as          aircraft landing sites, and guidelines to
sentence of paragraph (e)(l)(iv).           simple and programmatic as possible          ensure project coordination across forest
Department added the words “or              and that the preparation of an EIS for a     and grassland boundaries where
maintain” because guidelines, like          new plan or plan revision is not             discrepancies between individual unit
standards, may be established to help       appropriate. NEPA compliance should          plans may occur.
achieve or maintain a desired               occur only at the project level. One            Response: The Department agrees the
conditions or conditions.                   respondent wanted a clear commitment         issues raised are important. The final
   (8) At paragraph (e)(l)(v), the          for preparation of an EIS for forest plan    rule does emphasize an all lands
Department clarified that plans will        revisions. Another respondent said           approach precisely to address issues
include identification of specific lands    categorical exclusions should be used        like these. This emphasis is in each
as suitable or not suitable for various     for minor amendments, environmental          phase of planning: in the assessment
multiple uses and activities, in response   assessments for more significant             phase, responsible officials are directed
to public comment on this section. It       amendments, and EISs should be               to identify and evaluate relevant
retains the wording that makes clear        reserved for major scheduled plan            information in the context of the
that the suitability of an area need not    revisions. A respondent said responsible     broader landscape; in § 219.8, the final
be identified for every use or activity,    officials should not be allowed to           rule requires that the responsible official
and adds clarifying wording stating that    combine NEPA and planning associated         consider management and resources
suitability identifications may be made     public notifications (§ 219.16). A           across the landscape; and in § 219.4 the
after consideration of historic uses and    respondent said to please consider and       responsible official is directed to


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consider opportunities for the plan to        Plan Components                            how the responsible official determines
address the impacts identified or                Comment: Plan component wording,        desired conditions.
contribute to joint objectives across                                                       Response: Desired conditions are a
                                              standards, and guidelines. A respondent
jurisdictions. Section 219.12 provides a                                                 way to identify a shared vision for a
                                              remarked that it was unclear if plans
framework for coordination and                                                           plan area. In some instances, desired
                                              could meet the requirements in this
broader-scale monitoring. However, the                                                   conditions may only be achievable in
                                              section for plan components by
rule provides overall direction for plan                                                 the long-term. At times, the desired
                                              including only one of each of the
components and other plan content, and                                                   conditions may be the same as existing
                                              different kinds of plan components, or
for how plans are developed, revised,                                                    conditions. Desired conditions may be
                                              whether the Agency is making a binding
and amended. More specific guidance                                                      stated in terms of a range of conditions.
                                              commitment to include more than one
with regard to particular resources is                                                   Other plan components would provide
                                              standard, which the respondent
properly found in the plans themselves,                                                  the strategy and guidance needed to
                                              believed to be more binding than
or in the subsequent decisions regarding                                                 achieve that vision. Plans must meet the
                                              desired conditions or guidelines.          requirements of §§ 219.8 through
projects and activities on a particular         Response: This section of the rule
national forest, grassland, prairie, or                                                  219.11, including to provide for
                                              identifies what plan components are,
other comparable administrative unit.                                                    ecological sustainability. Projects and
                                              and requires that every plan contain
Those communities, groups, or persons                                                    activities must be consistent with
                                              desired conditions, objectives,            desired conditions as described in
interested in these important issues can      standards, guidelines, and suitability.
influence plan components and plan                                                       § 219.15. The Forest Service Directives
                                              The intent of the Department in the        System will describe how desired
monitoring programs by becoming               proposed rule was that the responsible
involved in planning efforts throughout                                                  conditions should be written and
                                              official would determine the best mix of   developed.
the process, including the development        plan components to address the rule’s
and monitoring of the plan, as well as                                                      States do have responsibilities for
                                              substantive requirements. However,         managing fish and wildlife, but the rule
the development of proposed projects          some respondents were concerned that
and activities under the plan.                                                           requires plans to include plan
                                              the rule could be interpreted to require   components for ecological conditions
   Comment: Scope of the responsible          only one of each kind of plan              (habitat and other conditions) to
official’s discretion. Some respondents       component for every plan. Therefore,       maintain diversity of fish and wildlife
raised concerns over the responsible          the final rule includes changes to the     species, as required by NFMA.
official’s discretion to determine            wording in sections 219.8-11 to require    Responsible officials will continue to
conditions on a unit have changed             that plans include “plan components,       coordinate with Federal, State, and local
significantly so a plan must be revised,      including standards or guidelines.”        governments and agencies on other
because the proposed rule fails to define        Comment: Desired Future Condition       public planning efforts.
significant and does not include an           plan component. A respondent felt             Comment: Procedures for analysis.
opportunity for public involvement in         desired future condition should be         Some respondents suggested that the
this determination. Other respondents         included as a plan component, as it is     final rule should include specific
felt use of the terms “consider” and          more than the sum total of the             procedures for analysis. These include
“appropriate,” as in proposed                 individual desired conditions for each     specific economic indicators for the
§ 219.7(c)(2)(ii) are vague, too              of the important ecological, social, and   economic analysis part of the planning
discretionary, and could mean the             economic resources on the forest and       process, the model paradigm for social
official would look at conditions and         causes individual desired conditions to    and economic resources important to
trends, but then fail to address them,        occur somewhat in sync.                    rural communities, and means of
leading to a poor assessment and                Response: Plans under the rule will      weighing relative values of multiple
planning.                                     identify the forest or grassland’s         uses.
   Response: A primary goal of the new        distinctive roles and contributions           Response: Such guidance is not
rule is to create a framework in which        within the broader landscape and the       included in this final rule. Analysis
new information is identified and used        desired conditions for specific social,    methods and technical procedures are
to support adaptive management. The           economic, and ecological characteristics   constantly changing; the planning rule
Department expects the new rule to            of the plan area. The Department           would quickly be outdated if specific
facilitate, over time, the increased use of   believes those requirements, combined      methods were mandated. Additional
the amendment process to react more           with the requirements for public           guidance with regard to social and
quickly to changing conditions. Placing       participation and integrated resource      economic resource analysis is more
overly prescriptive requirements in this      management, will result in plans that      appropriate in the Forest Service
section could inhibit the responsible         reflect an overall vision for the future   Directives System, and revisions to the
official’s ability to adaptively manage       desired condition of the plan area as a    Forest Service directives will be
within the planning rule framework.           whole.                                     available for public comment.
Section 219.7(c)(2)(ii) in the proposed          Comment: Desired conditions. Some          Comment: Objectives. Several
rule, now (cK2)(iii) in the final rule, is    respondents stated defining a desired      respondents supported clear,
simply intended as a process step to          condition as specific social, economic,    measurable, and specific objectives to
identify the relevant resources present       and/or ecological conditions may           enhance transparency and
in plan area for the purpose of               continue ecologically unsustainable        accountability. Several respondents felt
developing plan components. This is           social and economic practices leading to   basing objectives on reasonable
not intended to be a new assessment,          unsustainable outcomes. A respondent       foreseeable budgets unduly constrains
but is linked to the requirements for the     commented that States are responsible      planning analysis. Another respondent
assessment in section 219.6(b) of the         for setting fish and wildlife population   thought a desired condition without
final rule. Sections 219.8-219.11             objectives and the wording must be         objectives is completely meaningless.
contain the requirements for developing       changed to prevent the Agency from            Response: The rule uses objectives to
plan components to address those              taking on the role of the States. Other    support measureable progress toward a
resources.                                    respondents wanted more direction on       desired condition. Objectives will lead


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to the development of a proactive             regarding the identification of lands as      respondents felt the rule should not
program of work to achieve the desired        suitable for resource management              imply the Agency has regulatory or
condition by describing the focus of          activities, such as timber harvest. In        administrative authority to determine
management in the plan area. Objectives       addition, the respondent stated this          which portions of NFS lands are
will be based on achieving and                wording may be inconsistent with              suitable for mineral exploration and
monitoring progress toward desired            proposed § 219.7(d)(l)(v) wording that a      development as such a determination
conditions, and will be stated in             “plan may also identify lands within the      would be a de facto withdrawal not in
measurable terms with specific time           plan area as not suitable for uses that are   accordance with existing laws.
frames. Objectives based on budgets and       not compatible with desired conditions           Response: Responsible officials
other assumptions help set realistic          for those lands.”                             should not make suitability
expectations for achievement of plan            Response: Determining the suitability       determinations for any resource such as
objectives over the life of the plan and      of a specific land area for a particular      minerals where another entity has
assist in building public trust in the        use or activity is usually based upon the     authority over the disposal or leasing.
Agency being able to make progress            desired condition for that area and the       Congress has given the Secretary of the
towards achieving desired conditions          inherent capability of the land to            Interior authorities over the disposal of
and objectives.                               support the use or activity. NFMA does        locatable minerals (gold, silver, lead,
   Comment: Goals. Several respondents        not impose a requirement to make              and so forth) and leasable minerals (oil,
felt goals should be mandatory because        suitability determinations for all            gas, coal, geothermal, among others).
broad general goal statements describe        multiple uses. The NFMA requires that         The Secretary of Agriculture has
how the desired future conditions will        plans “determine * * * the availability       authority over saleable minerals (sand,
be achieved and create the overall            of lands and their suitability for            gravel, pumice, among others). The final
framework for the other plan                  resource management” (16 U.S.C.               rule or a plan developed under the final
components. Others felt they should be        1604(e)(2).                                   rule cannot make a de facto withdrawal.
optional. Another respondent suggested          The Department clarified the wording        Withdrawals occur only by act of
inclusion of a goal to connect youth,         of paragraph (e)(l)(v) to make clear that     Congress or by the Secretary of the
minority, and urban populations to the        plans will include identification of          Interior through a process under 43 CFR
national forest or grassland to better        specific lands as suitable or not suitable    2300. The Forest Service minerals
assure required plan components               for various multiple uses and activities,     regulation at 36 CFR 228.4(d) govern
incorporate and reflect the needs of          in response to public comment on this         how the Agency makes decisions about
diverse populations.                          section; however, the Department              the availability of lands for oil and gas
   Response: The proposed wording for         decided not to require determinations in      leasing, and those decisions are not
goals is unchanged in the final rule          every plan for specific uses other than       suitability determinations. Decisions
because the proposed optional use of          timber. The final rule retains the            about availability of lands for oil and
goals allows responsible officials to         wording that makes clear that the             gas leasing under 36 CFR 228.4(d), have
determine whether or not they are a           suitability of an area need not be            been made for most national forests and
useful plan component in addressing           identified for every use or activity, and     grasslands. Decisions about the
the local situation. Inclusion of a goal      adds clarifying wording stating that          availability of lands for oil and gas
for youth, minority, and urban                suitability identifications may be made       leasing under 36 CFR 228.4(d) are not
populations is not required in the final      after consideration of historic uses and      plan components; however, availability
rule because the final rule requires the      of issues that have arisen in the             decisions may be made at the same time
responsible official to encourage             planning process. The responsible             as plan development, plan amendment,
participation of youth, low-income            official will determine when to identify      or plan revision; but that is not required.
populations, and minority populations         suitability for various uses and activities      Comment: Guidelines. One
throughout the planning process, and to       as part of the set of plan components         respondent noted the preamble for the
consider opportunities to connect             needed to meet the requirements of            proposed rule stated that guidelines are
people with nature as well as to              §§219.8-219.11.                               requirements, but felt guidelines should
contribute to social and economic               The identification of suitability is not    be optional. Another respondent felt the
sustainability when developing plan           de facto regulation of those uses.            proposed rule eliminates the distinction
components. See §§219.4, 219.8(b), and        However, responsible officials may, and       between plan guidelines and standards,
219.10(a).                                    often do, develop closure orders to help      making guidelines legally enforceable
   Comment: Suitability for uses other        achieve desired conditions. If a              standards with which all projects must
than timber. Some respondents felt the        responsible official were to develop a        comply. The respondent felt that
rule should require suitability               closure order, that closure order is a        making guidelines enforceable in the
determinations for multiple uses. In          regulation of uses and would prohibit or      same way as standards eliminates what
addition to suitability for timber use as     constrain public use and occupancy.           the respondent believed to be the
required under NFMA, a respondent felt        Such prohibitions are made under Title        Department’s that guidelines are
suitability of lands for livestock grazing,   36, Code of Federal Regulations, Part         discretionary to provide management
fire suppression, energy developments,        261—Prohibitions, Subpart B—                  flexibility. One respondent policy
mineral leasing, and off highway              Prohibitions in Areas Designated by           advocated making guidelines binding,
vehicles should be required to meet the       Order. Issuance of a closure order may        because if they are discretionary, why
Act. Another respondent felt economics        be made contemporaneously with the            include them. Several respondents
should be a part of the analysis and land     approval of a plan, plan amendment, or        commented on the preferred alternative
suitability determinations. A respondent      plan revision.                                that the Department should remove the
felt identification of lands where               Comment: Suitability for mineral           discretion to meet the rule’s substantive
specific uses are not allowed is de facto     materials. Several respondents felt the       mandates through either standards “or”
regulation of those uses, and proposed        determination of the suitability of lands     guidelines by requiring “standards and
§ 219.2(b)(2) wording “a plan does not        for energy developments, leasing and          guidelines.”
regulate uses by the public” appears          extraction, mineral exploration, or              Response: The final rule retains the
inconsistent with NFMA direction              mineral leasing must be required. Other       proposed rule’s distinction between


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standards and guidelines. Under the         has been modified to clarify that             Land Management Planning Handbook,
final rule, standards and guidelines are    “standards or guidelines” must be part        Chapter 70—Wilderness Evaluation.
both mandatory—projects and activities      of the set of plan components required        Chapter 70 is part of the Forest Service
must be consistent with the applicable      by each of those sections. However, the       Directives System being revised
standards and guidelines. Consistency       Department does not agree there should        following the final rule and the public
with a standard is determined by strict     be specific national standards for each       is encouraged to participate in the
adherence to the specific terms of the      of the resources or uses mentioned in         upcoming public comment period for
standard, while consistency with a          the comment, because significant              those directives. The wilderness
guideline allows for either strict          differences in circumstances across the       evaluation requirement in the rule is not
adherence to the terms of the guideline,    National Forest System could make             in conflict with the law. In addition,
or deviation from the specific terms of     specific national standards unworkable        many State wilderness acts require the
the guideline, so long as the purpose for   or not reflective of the best available       Forest Service to review the wilderness
which the guideline was included in the     scientific information for a given plan       option when the plans are revised. The
plan is met (§ 219.15). This approach to    area. The final rule balances the need        Utah Wilderness Act of 1984 is one
guidelines allows for flexibility as        for national consistency with the need        example. Public Law 98-428.
circumstances warrant, for example,         for local flexibility to reflect conditions   § 201(b)(2); 98 Stat. 1659.
when there is more than one way to          and information on each unit.                    Comment: Roadless area management
achieve the intended purpose, or new        Additional direction will be included in      and inventory. Some respondents noted
information provides a better way to        the Forest Service Directives System,         that direction should be added to
meet the purpose, without lessening         and a new requirement was added to            identify, evaluate, and protect
protections. Guidelines included in         § 219.2 that require the Chief to             inventoried roadless areas, and a
plans pursuant to this final rule must be   establish a national oversight process for    requirement to remove these areas from
written clearly and without ambiguity,      accountability and consistency of             lands suitable for timber production.
so the purpose is apparent and project      planning under this part.                     Some respondents suggested inclusion
or activity consistency with guidelines        Comment: Management areas and              of “unroaded areas,” as defined in
can be easily determined.                   special areas. Some respondents               § 219.36 of the 2000 planning rule, in
   The final rule retains the preferred     indicated management areas and                evaluation of lands that may be suitable
alternative’s wording of “standards or      prescriptions should be required plan         for potential wilderness and protocols
guidelines” throughout sections 219.8­      components and identification of areas        for such evaluation be included in the
219.11. While every set of plan             with remarkable qualities for special         rule. An organization commented on the
components developed to meet a              designation should be required as part        preferred alternative that the
substantive requirement of the rule must    of the planning process.                      Department should clarify that the
include standards or guidelines,              Response: The final rule requires each      intended starting point for the
including both may not be appropriate       plan to include management areas or           wilderness evaluation is a full inventory
in every circumstance.                      geographic areas, allows for the plan to      of all unroaded lands.
   Comment: Use of standards and            identify designated or recommended               Response: Agency management
guidelines to promote action. A             areas as management areas or                  direction for inventoried roadless areas
respondent suggested standards and          geographic areas, allows the responsible      is found at 36 CFR part 294—Special
guidelines should be used to promote or     official to identify or recommend new         Areas, and plans developed pursuant to
mandate certain management actions,         designated areas, and clarifies the term      the final rule must comply with all
like managing suitable timberlands          “designated area” under § 219.19, in          applicable laws and regulations
towards the desired future condition or     response to public comment.                   (§ 219.1(f)).
reducing fuels around wildland-urban           Comment: Potential wilderness area            The wording of § 219.7(c)(2)(v) was
interface areas.                            evaluation and management. Some               changed in the final rule to clarify that
   Response: The Department expects         respondents found the term “potential         areas that may be suitable for inclusion
that the set of plan components             wilderness area” confusing or                 in the National Wilderness System must
developed in response to one or more        inadequate, and the wilderness                be identified as part of the planning
requirements in the rule will facilitate    evaluation process unclear or in conflict     process, along with recommendations
management to move the unit towards         with congressional action.                    for wilderness designation. This change
one or more desired conditions.               Response: The final rule wording            makes clear that each unit will identify
Standards and guidelines set out design     removes the term “potential wilderness        an inventory of lands that may be
criteria which are applied to projects      areas” from the final rule in response to     suitable as a starting point for evaluating
and activities, but do not by themselves    public comments. The wording in               which lands to recommend. Inventories
result in specific management actions       § 219.7 clarifies that the Agency will        of lands that may be suitable for
taking place.                               identify and evaluate lands that may be       inclusion in the National Wilderness
   Comment: Mandatory standards.            suitable for inclusion in the National        Preservation System will be conducted
Some respondents stated the final rule      Wilderness Preservation System and            following direction in Forest Service
must include measurable standards for       determine whether to recommend them           Handbook 1909.12—Land Management
specific resources such as climate          for wilderness designation. Section           Planning Handbook, Chapter 70
change, species viability, sustainable      219.10(b)(iv) wording has also been           Wilderness evaluation, which also
recreation, valid existing rights, or       changed to clarify that areas                 includes criteria for evaluation. Chapter
watershed management, in order to           recommended for wilderness                    70 is part of the Forest Service
implement the intent of the rule and to     designation will be managed to protect        Directives System which will be revised
ensure consistency. Others were             and maintain the ecological and social        following the promulgation of this rule.
opposed to the use of standards and         characteristics that provide the basis for    The public is encouraged to participate
guidelines.                                 their suitability for wilderness              in the upcoming public comment period
   Response: The rule includes specific     designation. Direction for the evaluation     for those directives. It is currently
requirements for plan components in         process and inventory criteria is listed      Agency policy that unless otherwise
§§ 219.8 through 219.11. The final rule     in Forest Service Handbook 1909.12—           provided by law, all roadless.


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undeveloped areas that satisfy the          the requirement will bias and polarize      partnership opportunities or
definition of wilderness found in           the planning process in favor of some       coordination activities as part of the
section 2(c) of the Wilderness Act of       uses, products, and services and against    plan is optional content for a plan. The
1964 be evaluated and considered for        others. Other respondents felt the unit’s   Department did not require specific
recommendation as potential wilderness      distinctive roles should be plan            maps as part of the final rule.
areas during plan development or            components requiring a plan                    Comment: Priority Watersheds. Some
revision (FSM 1923).                        amendment to change, or the wording         respondents asked what process is used
   Comment: Time limit on                   strengthened to require assessment of       to identify priority watersheds and why
Congressional action. A respondent          underrepresented ecosystems and             priority watersheds are not a plan
suggested the rule should include a 10-     successional classes across the broader     component. Some respondents noted
year time limit for Wild and Scenic         landscape.                                  the proposed rule requirement to
River or Wilderness recommendations            Response: Under the public               identify priority watersheds for
to be acted upon by Congress or the         participation process, the Department       maintenance and restoration did not
Agency’s recommendation is                  believes the development of the             include specific criteria for selecting
withdrawn.                                  distinctive roles and contributions,        watersheds and did not prescribe what
   Response: The Constitution does not      while not required by NFMA, will be a       activities or prohibitions would occur in
grant the U.S. Department of Agriculture    unifying concept helping define the         priority watersheds.
authority to set time limits on             vision for the plan area within the            Response: Section 219.7(f)(l)(i)
Congressional action. The Department        broader landscape. The preferred vision     requires identification of priority
decided it is not going to require          is expected to assist the responsible       watersheds for restoration. This will
responsible officials to withdraw any       official in developing plan components      focus integrated restoration of
such recommendations.                       for the multiple uses. However, projects    watershed conditions. Setting priorities
                                            and activities would not be required to     can help ensure that investments
Other Plan Content
                                            be consistent with the plan area’s          provide the greatest possible benefits.
   Comment: Forest vegetation               distinctive roles and contributions, so     The Department realizes that priority
management practices. Some                  the Department decided to keep this         areas for potential restoration activities
respondents requested clarification of      description as other plan content.          could change quickly due to events such
proposed § 219.7(f)(l)(iv) phrase              Comment: Additional plan                 as wildfire, hurricanes, drought, or the
“proportion of probable methods of          components and content. Some                presence of invasive species. Therefore,
forest vegetation management practices      respondents suggested additional            this requirement is included as “other
expected” as it is unclear what type of     required plan components like               required content” in § 219.7(f)(l)(i)
management practices must be                partnership opportunities, coordination     rather than as a required plan
undertaken to successfully satisfy this     activities, monitoring program, or          component, allowing an administrative
requirement.                                specific maps.                              change (§ 219.13) to be used when
  Response: Section 16 U.S.C. 1604(f)(2)       Response: Plan components are the        necessary to quickly respond to changes
of the NFMA requires plans to “be           core elements of plans. Projects and        in priority. Any changes would require
embodied in appropriate written             activities must be consistent with plan     notification.
material * * * reflecting proposed and      components (§ 219.15), and an                  The Department intends to use the
possible actions, including the planned     amendment or revision is required to        Watershed Condition Framework
timber sale program and the proportion      change plan components. Plan                (WCF), http://www.fs.fed.us/
of probable methods of timber harvest       components in the rule are usually          p u blica tions/wa tersh ed/Wa tersh e d_
within the unit necessary to fulfill the    reserved for ecological, social, or         Condition_Framework.pdf, for
plan.” Therefore, under the final rule      economic aspects of the environment,        identifying priority watersheds,
and Forest Service Directives System,       but the responsible official has            developing watershed action plans and
the Department expects plans to display     discretion in developing plan               implementing projects to maintain or
the expected acres of timber harvest by     components to meet the requirements of      restore conditions in priority
the categories, such as: regeneration       the final rule.                             watersheds. However, the WCF is a
cutting (even- or two-aged), uneven­           Some items like a monitoring program     relatively new tool that will be adapted
aged management, intermediate harvest,      are included as other required content      as lessons are learned from its use, as
commercial thinning, salvage/               in the plan, but not as a required plan     new information becomes available, or
sanitation, other harvest cutting,          component. The final rule allows the        as conditions change on the ground.
reforestation, and timber stand             responsible official to add other plan      Therefore, because the criteria for
improvement in an appendix. Examples        content for unit issues and conditions.     selecting watersheds may change in the
of such exhibits are displayed in Forest    Other plan content can be other             future, it is not appropriate to codify
Service Handbook 1909.12, Land              information that may be useful to Forest    such criteria in a rule. The adaptive
Management Planning, Chapter 60,            Service employees when designing            management approach incorporated in
Forest Vegetation Resource Planning is      projects and activities under the plan      the WCF provides the best opportunity
available at http://www.fs.fed.us/im/       components. The other content in the        and most efficient way to prioritize
directives/fsh/1909.12/1909.12_60.doc.      plan (§ 219.7(f)) differs from plan         watersheds for restoration or
The list of proposed and possible           components in that an amendment or          maintenance. The Department expects
actions may also include recreation and     revision would not be required for          that implementation of the final rule
wildlife projects. The final rule allows    changes to be made to reflect new           and the WCF will be mutually
the list to be updated through an           information or changed conditions.          supportive.
administrative change (§ 219.13(c)).        Monitoring is not included as a plan
   Comment: Distinctive roles and           component, so the monitoring program        Section 219.8—Sustainability
contributions. Some respondents said        can be refined and updated without a          The requirements of this section of
there is no legal requirement for           plan amendment in response to new           the final rule are linked to the
identification of a forest or grassland’s   information or changing conditions.         requirements in the assessment (§ 219.6)
distinctive roles and contributions, and    Listing of specific methods for             and monitoring (§ 219.12). In addition.


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this section provides a foundation for      scientifically supported term, has            concept of protection is incorporated as
the next three sections regarding           established metrics for measurement,          part of how a responsible official
diversity of plant and animal               and is used by both the National Park         accomplishes the direction to maintain
communities (§ 219.9), multiple use         Service and the Bureau of Land                or restore individual resources. These
(§ 219.10), and timber requirements         Management. Requirements included in          changes are not changes in
based on the NFMA (§ 219.11). Together      this section, as well as in § 219.9 require   requirements, they are clarifications.
these sections of the final rule require    plans to include plan components                 5. At paragraph (a)(2) the Department
plans to include plan components            designed to “maintain or restore              reorganized the elements that plan
designed to maintain or restore             ecological integrity.”                        components are designed to maintain or
ecological conditions to provide for           3. The Department modified the list of     restore. The Department removed the
ecological sustainability and to            factors the responsible official must take    provisions about terrestrial elements
contribute to social and economic           into account when developing plan             and rare plant communities from
sustainability.                             components at paragraph (a)(l)(i)-(v).        paragraph (a)(2); these items are now
   The requirements of this section, and    The Department removed the term               discussed in § 219.9(a) of the rule. At
all sections of the rule, are limited by    “landscape scale integration” and             paragraph (a)(2)(iv) the Department
the Agency’s authority and the inherent     replaced it with a requirement for the        combined the wording about aquatic
capability of the plan area. This           responsible official to take into account     elements and public water supplies of
limitation arises from the fact that some   the interdependence of terrestrial and        paragraphs (a)(2)(i) and (a)(2)(iv) of the
influences on sustainability are outside    aquatic ecosystems, the contributions of      proposed rule. The wording about water
the Agency’s control, for example,          the plan area to the broader landscape,       temperatures changes, blockages of
climate change, national or global          and the conditions of the broader             water courses, and deposits was
economic or market conditions, and          landscape that influence the plan area.       removed from this paragraph and is now
urbanization on lands outside of or         The Department also added a                   more appropriately discussed with
adjacent to NFS lands. Given those          requirement to take into account              riparian areas at paragraph (a)(3)(i) of
constraints, the Department realizes it     opportunities for landscape scale             this section.
cannot guarantee ecological, economic,      restoration. The additional wording              6. Paragraph (a)(3) adds specific
or social sustainability. It is also        clarifies the Department’s intent that the    requirements to the proposed rule to
important to note that plan components      planning framework be designed to             maintain or restore riparian areas. It
themselves do not compel agency action      ensure that managers understand the           provides that plan components must
or guarantee specific results. Instead,     landscape-scale context for                   maintain or restore the ecological
they provide the vision, strategy,          management, and the interdependence           integrity of riparian areas, including
guidance, and constraints needed to         of ecosystems and resources across the        “structure, function, composition and
move the plan area toward                   broader landscape.                            connectivity,” to make clear that the
sustainability. The final rule should be       The Department removed air quality         plan must provide direction for
read with these constraints in mind.        from paragraph (a)(1) and added air           proactive management of riparian areas.
   Additional requirements for              quality to paragraph (a)(2). This change      Paragraph (a)(3) also sets out a list of
contributing to social and economic         is in response to public comment that         elements relevant to riparian areas that
sustainability are found in § 219.10 and    requested that air resources be treated in    must be considered when developing
§219.11.                                    a similar manner to soil and water            plan components to maintain or restore
                                            resources. Additionally, the paragraph        ecological integrity, and it changes the
Section 219.8—Response to Comments          was modified to add the term                  proposed rule’s requirement for a
  Many comments on this section             “standards or guidelines” to clarify here     “default width” for riparian areas to a
focused on the concepts of ecological       and in similar sentences throughout           requirement for a riparian management
health, resilience and integrity,           §§219.8 through 219.11 that standards         zone. These changes respond to public
requirements for riparian area              or guidelines must be part of the set of      comment to provide more clear and
management, the relationship between        plan components developed to comply           specific direction for riparian areas. In
social, ecological, and economic            with requirements throughout the rule.        addition, at paragraph (a)(3), the
sustainability, and the requirements for    Except for the change for air quality,        Department added a requirement to give
social and economic sustainability. The     these changes to paragraph (a)(1) are not     special attention to the area 100 feet
Department reorganized this section to      changes in requirements, because they         from the edges of perennial streams and
improve clarity, and made the following     reflect the Department’s intent as stated     lakes; and a requirement that plan
changes in response to public comment.      in the preamble for the proposed rule,        components must ensure that no
  1. The Department changed the order       and provide additional clarity.               management practices causing
of the wording of the introductory             4. At paragraph (a)(2) of this section,    detrimental changes in water
paragraph.                                  the Department changed the caption            temperature or chemical composition,
  2. At paragraph (a)(1) of this section,   “Ecosystem elements” to “Air, soil, and       blockages of water courses, or deposits
the Department changed the caption          water.” This reorganized paragraph            of sediment that seriously and adversely
“Ecosystem plan components” to              requires the plan to have plan                affect water conditions or fish habitat
“Ecosystem Integrity.” In addition, the     components, including standards or            shall be permitted within the zones or
Department replaced the phrase              guidelines, to maintain or restore the        the site-specific delineated riparian
“healthy and resilient” to “ecological      elements of air, soil, and water              areas. These requirements are carried
integrity” in this paragraph and            resources. The Department also changed        forward from the 1982 rule. These
throughout this subpart. The                the phrase “maintain, protect, or             additional requirements were added
Department also modified additional         restore” of the proposed rule to              because public comments suggested the
wording of this section to reflect this     “maintain or restore” here and                proposed rule was too vague or too open
change. This change responds to public      throughout the final rule. This change is     to interpretation with regard to
concern about how to define and             in response to public comment, and to         minimum requirements.
measure “health” and “resilience.”          make the rule consistent throughout the          7. At paragraph (a)(4), the Department
Ecosystem integrity is a more               sections, and recognizes that the             added a requirement for the Chief to


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establish requirements for national best      inherent in maintaining resources that         These changes and the requirements
management practices for water quality        are in good condition and restoring         in this and other sections reflect the
in the Forest Service directives and for      those that are degraded, damaged, or        intent as stated in the preamble of the
plan components to ensure                     destroyed. The Department did not           proposed rule to place a strong
implementation of these practices. The        intend to imply that plan components        emphasis on water resources and
public will have an opportunity to            would not “protect” resources where         develop a framework that will support
comment on these Forest Service               the word “protect” was not part of the      watersheds, aquatic ecosystems, and
directives. The Department added this         phrase. Maintenance and restoration         water resources throughout the National
requirement to respond to comments            may include active or passive               Forest System.
that the rule needed provisions to            management and will require different          Comment: Riparian area management
protect water quality and other               levels of investment based on the           zone size. Some respondents felt the
comments about the use of best                difference between the desired and          rule should include a minimum default
management practices.                         existing conditions of the system.          width for riparian areas ranging from
   8. At paragraph (b) of this section, the      Comment: Best management practices       100 feet to 300 feet or to the width of
Department requires plan components           and specificity for water sustainability.   the 100 or 200-year flood plain. Without
to guide the unit’s contribution to social    Some respondents felt the requirements      specific requirements, respondents felt
and economic sustainability. The              for maintaining and restoring               there would be inconsistent
Department modified this paragraph to:        watersheds, sources of drinking water,      implementation of the rule. Others
   (i) Add reference to “standards or         and riparian areas of the proposed rule     preferred the riparian area default width
guidelines,” consistent with changes in       lacked the specificity necessary to         vary depending on ecological or
other sections.                               consistently implement the rule. A          geomorphic characteristics approach
   (ii] Remove wording about distinctive      respondent said the rule should             used in the proposed rule.
roles and contributions contained in the                                                     Response: The Department added
                                              reemphasize a commitment to
proposed rule, because the requirement        maintaining water quality standards—        wording at § 219.8(a)(3) to require
is in § 219.7. This is not a change in        through the limitation of uses              special attention to land and vegetation
requirements.                                                                             for approximately 100 feet from the
                                              incompatible with clean water,
   (iii) Add scenic character, recreation                                                 edges of all perennial streams and lakes.
                                              management for restoration of water
settings, and access in response to                                                       The Department decided to make this
                                              quality, and the mandatory use of best
public comment about recreation. This                                                     change to respond to public comment
                                              management practices. One respondent
change reflects the intent of the                                                         and retain the special attention
                                              suggested that plans may list best
Department as stated in the preamble to                                                   provided in the 1982 rule, but decided
                                              management practices that a project is
the proposed rule.                                                                        not to require a minimum default width
   (iv) Add a new requirement to take         required to adopt. Other respondents
                                                                                          because the scientific literature states
into account opportunities to connect         said the final planning rule should also
                                                                                          riparian area widths are highly variable
people with nature to respond to public       require monitoring for water quality
                                                                                          and may range from a few feet to
comments about the need to connect            standard compliance and
                                                                                          hundreds of feet. The final rule requires
Americans, especially young people and        implementation and effectiveness of
                                                                                          the responsible official to use the best
underserved communities, with the             best management practices.                  available scientific information (§ 219.3)
NFS. This additional requirement adds           Response: Wording was added to            to inform the establishment of the width
specificity to the proposed rule              § 219.8 of the final rule to clarify and    of riparian management zones around
direction to contribute to social             add detail to the requirements for plan     all lakes, perennial and intermittent
sustainability and provide for ecosystem      components for watersheds, aquatic          streams, and open water wetlands. Plan
services as defined in the proposed rule.     ecosystems, water quality, water            components to maintain or restore the
   (v) Make additional edits for clarity.     resources including drinking water          ecological integrity of riparian areas will
   Comment: Maintain, protect, or             resources, and riparian areas, in           apply within that zone, or within a site­
restore. Some respondents did not             response to public comment.                 specific delineation of the riparian area.
understand why in some sections of the          Wording was also added to require            Comment: Management activities in
rule (such as § 219.9) the phrase             that the Chief establish requirements for   riparian areas. Some respondents felt
“maintain or restore” was used and in         national best management practices          the riparian area guidance in the
other sections (such as § 219.8) the          (BMPs) for water quality in the Forest      proposed rule represented a weakening
phrase “maintain, protect, or restore”        Service Directives System, and that plan    of protection from the 1982 rule and
was used. They questioned whether the         components ensure implementation of         wanted to see stronger national
two phrases were intended to mean             those practices. The relevant directives    standards. They felt some management
different things or provide different         (FSM 2532 and FSH 2509.22) are              activities, like grazing and off-highway
levels of protection.                         currently under development and will        vehicle (OHV) use, should be prohibited
   Response: The use of the two different     be published for public comment. At         or limited in riparian areas as they can
phrases in the proposed rule was              this time, the Department anticipates       be harmful to riparian area health.
unintended. There was no intent to            that the proposed directives will require   Others felt management activities in
impart differing levels of protection or      the use of the national core BMPs           riparian areas should be left to only
different requirements by the use of the      [National Core BMP Technical Guide,         restoration efforts. Some respondents
two phrases. After review of the              FS-990a, in press).                         felt the riparian management
proposed rule and the preamble, it is           The final rule does not require           requirements in the proposed rule were
apparent that the two phrases are used        monitoring of implementation and            vague or too open to interpretation.
interchangeably and often                     effectiveness of best management            Others felt the proposed rule may
inconsistently. To avoid future               practices, but does require monitoring of   preclude active management within
confusion, the phrase “maintain and           select watershed and ecosystem              riparian areas.
restore” has been used consistently           conditions, as well as progress toward         Response: Section 219.8 has been
throughout §§ 219.8 and 219.9. The            meeting the plan’s desired conditions       revised in the final rule to address these
Department believes that “protection” is      and objectives.                             concerns. The final rule requires the


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responsible official to give special             Comment: Sustainability and multiple      unit to ecological conditions within the
attention to land and vegetation for          use. Some respondents felt the proposed      broader landscape influenced by the
approximately 100 feet from the edges         rule did not adequately recognize the        plan area and conditions in the broader
of all perennial streams and lakes and        importance of the multiple use mandate       landscape that may influence the
further requires that plan components         because the proposed rule at § 219.8         sustainability of resources and
must ensure that no management                omitted any reference to multiple use.       ecosystems, as well as opportunities for
practices causing detrimental changes in         Response: The proposed rule and the       landscape scale restoration. These
water temperature or chemical                 final rule both explicitly recognize         changes clarify the former requirement
composition, blockages of water               multiple uses in § 219.8(b), with            in the proposed rule and strengthen the
courses, or deposits of sediment that         additional direction provided in             planning framework by ensuring
seriously and adversely affect water          §219.10 with regard to management for        responsible officials understand the
conditions or fish habitat shall be           multiple uses.                               interdependence of ecosystems in the
permitted within the riparian                    Comment: Maintain ecological              plan area, as well as the role and
management zones or the site-specific         conditions. Some respondents felt the        contribution of their units and the
delineated riparian areas. The                proposed requirements to maintain or         context for management within the
Department expects projects and               restore ecological conditions in §§ 219.8    broader landscape.
activities, including restoration projects,   and 219.9 would allow for the Agency            Comment: Invasive species. Some
will occur in riparian areas. Plans may       to develop plan components                   respondents felt the rule should have
allow for projects and activities in          maintaining current degraded ecological      more explicit requirements on how
riparian areas that may have short term       conditions.                                  invasive species management would be
or localized adverse impacts in order to         Response: The intent of the rule is for   included in plans.
achieve or contribute to a plan’s desired     plan components to maintain desired             Response: It is clear that the
conditions or objectives, so long as they     conditions, and restore conditions           introduction of invasive species to
                                              where they are degraded. However, the        national forest and grassland ecosystems
do not seriously and adversely affect
                                              Department recognizes in some                has had, and is continuing to have,
water conditions or fish habitat.
                                              instances it may be impracticable or         profound effects on the ecological
   These requirements are similar to the      impossible to restore all degraded,          integrity of these ecosystems. The final
requirements of the 1982 rule. They are       damaged or destroyed systems that may        rule explicitly addresses invasive
in addition to the final rule                 be present in a plan area because of cost,   species in § 219.6, which requires
requirements in § 219.8(a)(3) that plans      unacceptable tradeoffs between other         information about stressors such as
must include plan components,                 resource and restoration needs, or where     invasive species to be identified and
including standards or guidelines, to         restoration is outside the capability of     evaluated, and in corresponding
maintain or restore the ecological            the land or Forest Service authority.        requirements in §§ 219.8 and 219.10.
integrity of riparian areas in the plan       There are also degraded areas on NFS         Plan components are required to
area, including plan components to            lands where the tools or methods are         maintain or restore ecological integrity
maintain or restore structure, function,      not currently available to effectively       under §§ 219.8, taking into account
and composition. The changes to the           restore them to desired conditions. The      stressors including invasive species, and
proposed rule make clear that plans           Department recognizes that at times,         the ability of the ecosystems on the unit
must provide for the ecological integrity     management activities maintaining            to adapt. Plan components for multiple
of riparian areas in the plan area, and       existing, less than desirable conditions     uses must also consider stressors,
must include a set of plan components,        in the short-term may be critical to         including invasive species, and the
including standards or guidelines, to do      preventing further degradation and for       ability of the ecosystems on the unit to
so. The responsible official must also        successful restoration towards desired       adapt.
take into account water temperature and       conditions over the long-term. For
chemical composition, blockages of                                                         Social and Economic Sustainability
                                              example, the primary management
water courses, deposits of sediment,          emphasis in some areas may be                  Comment: Relationship between
aquatic and terrestrial habitats,             controlling the spread of invasive           ecological, social and economic
ecological connectivity, restoration          species when eradication is not              sustainability. Some respondents felt
needs, and floodplain values and risk of      currently feasible.                          ecological sustainability should be
flood loss when developing these plan                                                      prioritized over social and economic
components. These requirements are in         Ecological Integrity                         sustainability, whereas other felt that
addition to the requirements in                  Comment: Integration of terrestrial       economic sustainability should be
§ 219.8(a)(2) to include plan                 and aquatic ecosystems. Some                 prioritized. Others felt NFS lands
components to maintain or restore water       respondents felt the proposed rule was       should be managed primarily for
quality and water resources, and the          unclear in the requirement that the          multiple uses that contribute to
requirement in § 219.7(f) to identify         responsible official take into account the   economic and social sustainability.
priority watersheds for restoration or        integration of terrestrial and aquatic       Some respondents felt the proposed rule
maintenance.                                  ecosystems in the plan area when             incorrectly prioritizes plan components
   The Department believes that these         creating plan components to maintain or      by use of “maintain or restore” elements
requirements provide strong direction         restore the health and resilience of         of ecological sustainability over the use
for proactive management (active and          terrestrial and aquatic ecosystems and       of the term “to contribute” for social
passive) of water resources beyond what       watersheds in the plan area.                 and economic sustainability. Some
was required in the 1982 rule, while            Response: The final rule adds              respondents expressed differing
allowing the responsible official to use      clarifying wording to § 219.8. The word      opinions about the relative importance
the best available scientific information,    “integration” was changed to                 of ecological, social, and economic
public input, and information about           “interdependence” to better reflect the      sustainability in relation to multiple
local conditions to inform development        Department’s intent, and new wording         uses. A respondent felt social and
of plan components in response to these       was added requiring the responsible          economic sustainability should not be
requirements.                                 official to consider contributions of the    included in the rule, while another felt


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ecological sustainability should not be      enjoyment by future generations. In an       guide unit contributions to social
included. Some respondents felt social,      increasingly urbanized society, they felt    sustainability.
environmental, and economic                  access to NFS lands is necessary for            Comment: Local economies,
considerations are not competing values      people to visit, learn, recreate, and        communities, and groups. Some
but interdependent and all play a role       generate their livelihood.                   respondents felt the rule should require
in management. Some respondents                 Response: Section 219.8(b)(6) of the      coordination with or participation of
disagreed with the concept that the          final rule requires the responsible          focal communities. Some respondents
Agency has more control over ecological      official take into account opportunities     felt the rule should recognize that how
sustainability than social and economic      to connect people with nature.               units are managed can greatly influence
sustainability. Some respondents felt           Comment: Cultural sustainability.         focal communities and economies.
the proposed rule definition of              Some respondents felt the rule should        Some respondents felt the rule should
sustainability was not clear.                include management of cultural               include maintaining “vibrant
  Response: The MUSYA requires               resources as a separate aspect of            communities.” Some respondents felt
“harmonious and coordinated                  sustainability. A respondent felt            the proposed rule preamble discussion
management of the various resources,         proposed § 219.8(b)(4) should be             about the Agency’s relative influence
each with the other, without                 expanded to include “cultural                over ecological as compared with social
impairment of the productivity of the        landscapes.”                                 and economic sustainability was
land, with consideration being given to         Response: The final rule does not         incorrect, as the Agency has more
the relative values of the various           create a separate aspect of sustainability   influence or impact on focal
resources, and not necessarily the           for management of cultural resources,        communities than the preamble
combination of uses that will give the       but does address cultural resources and      implied. A respondent felt the rule
greatest dollar return or greatest unit      uses. The definition in the final rule of    should consider all communities, not
output” (16 U.S.C. 531). Under this final    “social sustainability” recognizes the       just local. A respondent felt the
rule, ecological, social, and economic       “relationships, traditions, culture, and     proposed rule inappropriately allows
systems are recognized as                    activities that connect people to the        the Agency to dictate social and
interdependent, without one being a          land and to one another, and support         economic sustainability of local
priority over another. The rule requires     vibrant communities.” In addition:           communities.
the consideration of ecological, social,     Section 219.1(c) recognizes that NFS           Response: Nothing in the final rule
and economic factors in all phases of        lands provide people and communities         would dictate the social or economic
the planning process. However, the final     with a wide array of benefits, including     sustainability of local communities—to
rule recognizes that the Agency              “cultural benefits.” Section 219.4           the contrary, the rule recognizes that
generally has greater influence over         requires opportunities for public and        plans cannot dictate social or economic
ecological sustainability on NFS lands       Tribal participation and coordination        sustainability. However, the Department
than over broader social or economic         throughout the planning process.             recognizes that management of NFS
sustainability, although it cannot           Section 219.4(a)(3) requires that the        lands can influence local communities
guarantee sustainability for any of three.   responsible official request “information    as well as persons and groups outside of
The Department recognizes that               about native knowledge, land ethics,         these communities, and that some local
management of NFS lands can influence        cultural issues, and sacred and              economies may be more dependent on
social and economic conditions relevant      culturally significant sites” during         the management of the plan area and
to a planning area, but cannot ensure        consultation and opportunities for           NFS resources than others. Section
social and economic sustainability           Tribal participation. Section 219.6(b)       219.4 requires the responsible official to
because many factors are outside of the      requires the assessment to include           engage focal communities, as well as
control and authority of the responsible     identification and evaluation of             those interested at the regional and
official. For that reason, the final rule    information about cultural conditions        national levels, as well as to coordinate
requires that the plan components            and cultural and historic resources and      with other public planning efforts,
contribute to social and economic            uses. Section 219.8 in the final rule        including State and local governments,
sustainability, and provide for              recognizes cultural aspects of               and Tribes. Section 219.6(b) requires in
ecological sustainability, within Forest     sustainability by requiring “cultural and    the assessment phase that responsible
Service authority and the inherent           historic resources and uses” be taken        officials identify and evaluate existing
capability of the plan area.                 into account when designing plan             relevant information about social,
  Ecological sustainability will help        components to guide contributions to         cultural, and economic conditions,
provide people and communities with a        social and economic sustainability.          benefits people obtain from the NFS
range of social, economic, and               Section 219.10(b)(l)(ii) of the rule         planning area, and multiple uses and
ecological benefits now and in the           requires “plan components * * * for a        their contribution to the focal, regional,
future. In addition, plan components         new plan or plan revision must provide       and national economies. Section 219.8
will provide directly for a range of         for protection of cultural and historic      requires that plans provide plan
multiple uses to contribute to social and    resources,” and “management of areas         components to contribute to economic
economic sustainability. The final rule      of Tribal importance.” The final rule        and social sustainability, and section
includes a modified definition of            also includes recognition of and             219.10 requires plans to provide for
sustainability by defining the terms         requirements for “ecosystem services,”       ecosystem services and multiple uses.
ecological sustainability, economic          which include “cultural heritage             Section 219.12 requires monitoring
sustainability, and social sustainability    values.” These requirements, in              progress toward meeting the desired
as part of the definition of                 combination with the requirement that        conditions and objectives in the plan,
sustainability.                              plan content include descriptions of a       including for providing multiple use
   Comment: Connecting people to             unit’s roles and contributions within the    opportunities. These requirements will
nature. Some respondents felt the rule       broader landscape under § 219.7(e),          help plans contribute to vibrant
should contain wording to encourage a        ensure the cultural aspects of               communities.
sense of value for public lands              sustainability will be taken into account       Comment: Specific processes for
necessary in maintaining these lands for     when developing plan components that         assessing social and economic


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sustainability. Some respondents felt        those species that are vulnerable paired     vulnerable across their ranges or within
the final rule should include specific       with a focus on overall ecosystem            the plan area.
processes for assessing social and           integrity and diversity. The final rule         For example, by maintaining or
economic sustainahility, such as             requires the use of the best available       restoring the composition, structure,
analyzing the role of forest receipts        scientific information to inform the         processes, and ecological connectivity
(Federal revenues that are shared with       development of the plan components           of longleaf pine forests, national forests
states and counties) on local economies.     including the plan components for            in the Southeast provide ecological
A respondent felt the proposed rule          diversity. It also recognizes limits to      conditions that contribute to the
required less involvement hy social and      agency authority and the inherent            recovery of the red-cockaded
economic experts than by other types of      capability of the plan area.                 woodpecker (an endangered species)
experts or scientists.                         The Department’s intent in providing       and conservation of the gopher tortoise
   Response: The final rule provides a       the requirements in this section is to       (a threatened species), in addition to
framework for plan development,              provide for diversity of plant and           supporting common species that depend
amendment, and revision with                 animal communities, and provide              on the longleaf pine ecosystem.
sufficient flexibility to accommodate the    ecological conditions to keep common            Similarly, maintaining or restoring
continuously evolving range of social        native species common, contribute to         shortgrass prairies on national
and economic conditions across the           the recovery of threatened and               grasslands in the Great Plains
Forest Service administrative units. The     endangered species, conserve candidate       contributes to the conservation of black­
final rule does not prescribe a specific     and proposed species, and maintain           tailed prairie dogs (regional forester
process for assessing and evaluating         viable populations of species of             sensitive species (RFSS) of the Rocky
social and economic sustainability, nor      conservation concern within the plan         Mountain Region), mountain plovers
does it include descriptions of area         area.                                        (proposed threatened), and burrowing
boundaries for social and economic             The premise behind the coarse-filter       owls (RFSS), in addition to supporting
impact analysis. Such direction,             approach is that native species evolved      common species that depend on the
guidance, or advice, is more appropriate     and adapted within the limits                shortgrass prairie ecosystem.
in the Forest Service directives. The        established by natural landforms,            Maintaining or restoring watershed,
public will be given an opportunity to       vegetation, and disturbance patterns         riparian, and aquatic conditions in the
review and comment on any Forest             prior to extensive human alteration.         national forests in the Northeast
Service Manual or Forest Service             Maintaining or restoring ecological          contributes to the conservation of the
Handbook revision associated with land       conditions similar to those under which      eastern brook trout (RFSS), in addition
management planning. Social,                 native species have evolved therefore        to supporting common species that
economic, and ecologic experts are all       offers the best assurance against losses     depend on functioning riparian areas
welcome to participate in the planning       of biological diversity and maintains        and aquatic ecosystems in the area.
process: This final rule does not            habitats for the vast majority of species       The final rule would further require
discriminate or give more weight to one      in an area, subject to factors outside of    additional, species-specific plan
group or kind of expert over another.        the Agency’s control, such as climate        components, as a “fine-filter,” to
                                             change. The final rule recognizes the        provide for additional specific habitat
Section 219.9—Diversity of Plant and         importance of maintaining the                needs or other ecological conditions of
Animal Communities                           biological diversity of each national        certain categories of species, when the
   This section of the final rule fulfills   forest and grassland, and the integrity of   responsible official determines those
the diversity requirement of the NFMA,       the compositional, structural, and           needs are not met through the coarse-
which directs the Forest Service to          functional components comprising the         filter. The species for which the rule
“provide for diversity of plant and          ecosystems on each NFS unit.                 requires fine-filter plan components,
animal communities based on the                The coarse-filter requirements of the      when necessary, are federally listed
suitability and capability of the specific   rule are set out as requirements to          threatened and endangered (T&E)
land area in order to meet multiple-use      develop plan components designed to          species, proposed and candidate
objectives, and within the multiple-use      maintain or restore ecological               species, and species of conservation
objectives of a land management plan         conditions for ecosystem integrity and       concern. If the responsible official
adopted pursuant to this section [of this    ecosystem diversity in the plan area.        determines that compliance with the
Act], provide, where appropriate, to the     Based upon the current science of            coarse-filter approach is insufficient to
degree practicable, for steps to be taken    conservation biology, by working             provide the ecological conditions
to preserve the diversity of tree species    toward the goals of ecosystem integrity      necessary to contribute to the recovery
similar to that existing in the region       and ecosystem diversity with connected       of federally listed threatened and
controlled by the plan” (16 U.S.C.           habitats that can absorb disturbance, the    endangered species, conserve species
1604(g)(3)(B)).                              Department expects that over time,           that are proposed or candidates to
   The final rule adopts a                   management would maintain and                Federal listing, or maintain within the
complementary ecosystem and species­         restore ecological conditions which          plan area a viable population of a
specific approach to provide for the         provide for diversity of plant and           species of conservation concern, then
diversity of plant and animal                animal communities and support the           additional species-specific plan
communities and the long-term                abundance, distribution, and long-term       components that would do so are
persistence of native species in the plan    persistence of native species. These         required, within Agency authority and
area. Known as a coarse-filter/fine-filter   ecological conditions should be              the inherent capability of the land.
approach, this is a well-developed           sufficient to sustain viable populations        Species-specific plan components
concept in the scientific literature and     of native plant and animal species           provide the fine-filter complement to
has broad support from the scientific        considered to be common or secure            the coarse-filter approach. For example,
community and many members of the            within the plan area. These coarse-filter    while coarse-filter requirements to
public. This requirement retains the         requirements are also expected to            restore longleaf pine ecosystems may
strong species conservation intent of the    support the persistence of many species      provide most of the necessary ecological
1982 rule but with a strategic focus on      currently considered imperiled or            conditions for the endangered red-


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